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                                           No. 19-2005

                         UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT


                            STUDENTS FOR FAIR ADMISSIONS, INC.,
                                               Plaintiff-Appellant,

                                                  v.

                       PRESIDENT AND FELLOWS OF HARVARD COLLEGE,
                                              Defendant-Appellee.


                        On Appeal from the United States District Court
                              for the District of Massachusetts


                                      JOINT APPENDIX
                                         VOLUME I


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                                                                                                          APPEAL
                                      United States District Court
                                  District of Massachusetts (Boston)
                           CIVIL DOCKET FOR CASE #: 1:14−cv−14176−ADB

        Students for Fair Admissions, Inc. v. President and Fellows of   Date Filed: 11/17/2014
        Harvard College et al                                            Date Terminated: 09/30/2019
        Assigned to: Judge Allison D. Burroughs                          Jury Demand: Plaintiff
        Case in other court: USCA − First Circuit, 15−01823              Nature of Suit: 440 Civil Rights: Other
                             USCA − First Circuit, 19−02005              Jurisdiction: Federal Question
        Cause: 28:1331 Federal Question: Other Civil Rights
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                                                             Felicia H. Ellsworth
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        Defendant
        The Honorable and Reverend The
        Board of Overseers
        TERMINATED: 01/12/2015

        Intervenor Defendant
        Sarah Cole                             represented by Brenda Shum
                                                              Lawyers Committee For Civil Rights
                                                              Under Law
                                                              1500 K Street NW, Suite 9
                                                              Washington, DC 20005
                                                              202−662−8332
                                                              Email: bshum@lawyerscommittee.org
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                                             JA5
Case: 19-2005   Document:  00117621824
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                                                             PM EST     6 of 105 Entry ID: 6356383
                                                            LEAD ATTORNEY
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                                                            Emma Katherine Dinan
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Case: 19-2005   Document:  00117621824
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                                     As of:     19
                                            02/11/2020Date Filed:
                                                       11:26      07/29/2020
                                                             PM EST     7 of 105 Entry ID: 6356383
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                                                            Rahsaan D. Hall
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        Intervenor Defendant
        Fadhal Moore                           represented by Brenda Shum
                                                              (See above for address)
                                                              TERMINATED: 05/17/2019
                                                              LEAD ATTORNEY
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                            Christopher Lapinig
                                                            (See above for address)
                                                            LEAD ATTORNEY

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Case: 19-2005   Document:  00117621824
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                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Emma Katherine Dinan
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Genevieve Bonadies Torres
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                                                            LEAD ATTORNEY
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                                                            Laboni Hoq
                                                            (See above for address)
                                                            TERMINATED: 12/09/2019
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Lawrence Culleen
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Nancy L. Perkins
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                                                            LEAD ATTORNEY
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                                                            Rahsaan D. Hall
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                                                            LEAD ATTORNEY

                                                            Steven L. Mayer
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Matthew M. Cregor
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Oren M. Sellstrom
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Priya A. Lane
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Case: 19-2005   Document:  00117621824
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                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

        Intervenor Defendant
        Arjini Kumari Nawal                    represented by Brenda Shum
                                                              (See above for address)
                                                              TERMINATED: 05/17/2019
                                                              LEAD ATTORNEY
                                                              PRO HAC VICE
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                                                            Christopher Lapinig
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Emma Katherine Dinan
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                                                            LEAD ATTORNEY
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                                                            Genevieve Bonadies Torres
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Jon M. Greenbaum
                                                            (See above for address)
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                                                            Laboni Hoq
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                                                            TERMINATED: 12/09/2019
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                                                            Lawrence Culleen
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                                                            Nancy L. Perkins
                                                            (See above for address)
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                                                            Rahsaan D. Hall
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                                                            LEAD ATTORNEY

                                                            Steven L. Mayer
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Case: 19-2005   Document: 00117621824
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                                                            Matthew M. Cregor
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Oren M. Sellstrom
                                                            (See above for address)
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                                                            Priya A. Lane
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        Intervenor Defendant
        Itzel Vasquez−Rodriguez                represented by Brenda Shum
                                                              (See above for address)
                                                              TERMINATED: 05/17/2019
                                                              LEAD ATTORNEY
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                            Christopher Lapinig
                                                            (See above for address)
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                                                            Emma Katherine Dinan
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                                                            LEAD ATTORNEY
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                                                            Genevieve Bonadies Torres
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Jon M. Greenbaum
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Laboni Hoq
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                                                            TERMINATED: 12/09/2019
                                                            LEAD ATTORNEY
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                                                            Lawrence Culleen
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                                                            Nancy L. Perkins
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Rahsaan D. Hall

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Case: 19-2005   Document: 00117621824
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                                                            (See above for address)
                                                            LEAD ATTORNEY

                                                            Steven L. Mayer
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                                                            LEAD ATTORNEY
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                                                            ATTORNEY TO BE NOTICED

                                                            Matthew M. Cregor
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Oren M. Sellstrom
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Priya A. Lane
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

        Intervenor Defendant
        Keyanna Wigglesworth                   represented by Brenda Shum
                                                              (See above for address)
                                                              TERMINATED: 05/17/2019
                                                              LEAD ATTORNEY
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                            Christopher Lapinig
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Emma Katherine Dinan
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
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                                                            Genevieve Bonadies Torres
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                                                            LEAD ATTORNEY
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                                                            Jon M. Greenbaum
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                                                            Laboni Hoq
                                                            (See above for address)
                                                            TERMINATED: 12/09/2019
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Lawrence Culleen
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE

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Case: 19-2005   Document: 00117621824
                Case: 1:14-cv-14176 As of:Page: 24
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                                                            ATTORNEY TO BE NOTICED

                                                            Nancy L. Perkins
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                                                            LEAD ATTORNEY
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                                                            ATTORNEY TO BE NOTICED

                                                            Rahsaan D. Hall
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                                                            Steven L. Mayer
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                                                            Matthew M. Cregor
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Oren M. Sellstrom
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                                                            Priya A. Lane
                                                            (See above for address)
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        Intervenor Defendant
        M. B.                                  represented by Brenda Shum
                                                              (See above for address)
                                                              TERMINATED: 05/17/2019
                                                              LEAD ATTORNEY
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                            Christopher Lapinig
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Emma Katherine Dinan
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                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Genevieve Bonadies Torres
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                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Jon M. Greenbaum
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                                                            ATTORNEY TO BE NOTICED

                                                            Laboni Hoq
                                                            (See above for address)

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Case: 19-2005   Document: 00117621824
                Case: 1:14-cv-14176 As of:Page: 25
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                                                            TERMINATED: 12/09/2019
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Lawrence Culleen
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                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
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                                                            Nancy L. Perkins
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
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                                                            Nicole K. Ochi
                                                            (See above for address)
                                                            TERMINATED: 06/05/2019
                                                            LEAD ATTORNEY
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                                                            Rahsaan D. Hall
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                                                            Steven L. Mayer
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                                                            Oren M. Sellstrom
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                                                            ATTORNEY TO BE NOTICED

                                                            Priya A. Lane
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

        Intervenor Defendant
        K. C.                                  represented by Brenda Shum
                                                              (See above for address)
                                                              TERMINATED: 05/17/2019
                                                              LEAD ATTORNEY
                                                              PRO HAC VICE
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                                                            Christopher Lapinig
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                                                            LEAD ATTORNEY
                                                            PRO HAC VICE

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Case: 19-2005   Document: 00117621824
                Case: 1:14-cv-14176 As of:Page: 26
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                                                                ATTORNEY TO BE NOTICED

                                                                Genevieve Bonadies Torres
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                                                                LEAD ATTORNEY
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                Jon M. Greenbaum
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                Laboni Hoq
                                                                (See above for address)
                                                                TERMINATED: 12/09/2019
                                                                LEAD ATTORNEY
                                                                PRO HAC VICE
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                                                                Lawrence Culleen
                                                                (See above for address)
                                                                LEAD ATTORNEY
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                                                                Nancy L. Perkins
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                                                                Nicole K. Ochi
                                                                (See above for address)
                                                                TERMINATED: 06/05/2019
                                                                LEAD ATTORNEY
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                                                                ATTORNEY TO BE NOTICED

                                                                Rahsaan D. Hall
                                                                (See above for address)
                                                                LEAD ATTORNEY

                                                                Steven L. Mayer
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                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                Matthew M. Cregor
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                Oren M. Sellstrom
                                                                (See above for address)
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                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

        Intervenor Defendant
        Y. D.                                  represented by

                                             JA14
Case: 19-2005   Document: 00117621824
                Case: 1:14-cv-14176 As of:Page: 27
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                                                            Brenda Shum
                                                            (See above for address)
                                                            TERMINATED: 05/17/2019
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Christopher Lapinig
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
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                                                            Emma Katherine Dinan
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
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                                                            Genevieve Bonadies Torres
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Jon M. Greenbaum
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Laboni Hoq
                                                            (See above for address)
                                                            TERMINATED: 12/09/2019
                                                            LEAD ATTORNEY
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                                                            Lawrence Culleen
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Nancy L. Perkins
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Nicole K. Ochi
                                                            (See above for address)
                                                            TERMINATED: 06/05/2019
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
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                                                            Rahsaan D. Hall
                                                            (See above for address)
                                                            LEAD ATTORNEY

                                                            Steven L. Mayer
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
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Case: 19-2005   Document: 00117621824
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                                                            ATTORNEY TO BE NOTICED

                                                            Matthew M. Cregor
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Oren M. Sellstrom
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Priya A. Lane
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

        Intervenor Defendant
        G. E.                                  represented by Brenda Shum
                                                              (See above for address)
                                                              TERMINATED: 05/17/2019
                                                              LEAD ATTORNEY
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                            Christopher Lapinig
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Emma Katherine Dinan
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Genevieve Bonadies Torres
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
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                                                            Jon M. Greenbaum
                                                            (See above for address)
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                                                            Laboni Hoq
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                                                            Lawrence Culleen
                                                            (See above for address)
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                                                            Nancy L. Perkins
                                                            (See above for address)
                                                            LEAD ATTORNEY
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                                                            Nicole K. Ochi
                                                            (See above for address)
                                                            TERMINATED: 06/05/2019
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Rahsaan D. Hall
                                                            (See above for address)
                                                            LEAD ATTORNEY

                                                            Steven L. Mayer
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                                                            ATTORNEY TO BE NOTICED

                                                            Matthew M. Cregor
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Oren M. Sellstrom
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Priya A. Lane
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

        Intervenor Defendant
        A. G.                                  represented by Brenda Shum
                                                              (See above for address)
                                                              TERMINATED: 05/17/2019
                                                              LEAD ATTORNEY
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                            Christopher Lapinig
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
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                                                            Emma Katherine Dinan
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                                                            Genevieve Bonadies Torres
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                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Jon M. Greenbaum
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Laboni Hoq
                                                            (See above for address)

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Case: 19-2005   Document: 00117621824
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                                                            TERMINATED: 12/09/2019
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
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                                                            Lawrence Culleen
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                                                            LEAD ATTORNEY
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                                                            Nancy L. Perkins
                                                            (See above for address)
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                                                            Nicole K. Ochi
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                                                            TERMINATED: 06/05/2019
                                                            LEAD ATTORNEY
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                                                            Rahsaan D. Hall
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                                                            Steven L. Mayer
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                                                            Matthew M. Cregor
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                                                            Oren M. Sellstrom
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                                                            Priya A. Lane
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                                                            ATTORNEY TO BE NOTICED

        Intervenor Defendant
        I. G.                                  represented by Brenda Shum
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                                                            Christopher Lapinig
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Case: 19-2005   Document: 00117621824
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                                                                ATTORNEY TO BE NOTICED

                                                                Genevieve Bonadies Torres
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                                                                Jon M. Greenbaum
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                                                                Laboni Hoq
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                                                                TERMINATED: 12/09/2019
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                                                                Lawrence Culleen
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                                                                Nicole K. Ochi
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        Intervenor Defendant
        R. H.                                  represented by

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Case: 19-2005   Document: 00117621824
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                                                            Brenda Shum
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                                                            Genevieve Bonadies Torres
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                                                            Nicole K. Ochi
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Case: 19-2005   Document: 00117621824
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                                                            ATTORNEY TO BE NOTICED

                                                            Matthew M. Cregor
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        Intervenor Defendant
        J. L.                                  represented by Brenda Shum
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                                                            Genevieve Bonadies Torres
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                                                            Nicole K. Ochi
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                                                            Steven L. Mayer
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                                                            Matthew M. Cregor
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        Intervenor Defendant
        R. S.                                  represented by Brenda Shum
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                                                              TERMINATED: 05/17/2019
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                                                            Christopher Lapinig
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                                                            Genevieve Bonadies Torres
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                                                            Jon M. Greenbaum
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                                                            Laboni Hoq
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Case: 19-2005     Document: 00117621824
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                                                              Lawrence Culleen
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                                                              Nancy L. Perkins
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                                                              Rahsaan D. Hall
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                                                              Steven L. Mayer
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                                                              Matthew M. Cregor
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Case: 19-2005    Document: 00117621824
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        Columbia University                     represented by Seth B. Orkand
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        Cornell University                      represented by Seth B. Orkand
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        Amicus
        Dartmouth College                       represented by
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Case: 19-2005    Document: 00117621824
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                                                             Seth B. Orkand
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        Duke University                          represented by Seth B. Orkand
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        Emory University                         represented by Seth B. Orkand
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        George Washington University             represented by Seth B. Orkand
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        Amicus
        John Hopkins University                  represented by Seth B. Orkand
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        Princeton University                     represented by Seth B. Orkand
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        Stanford University                      represented by Seth B. Orkand
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        Vanderbilt University                    represented by Seth B. Orkand
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Case: 19-2005    Document: 00117621824
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        Amicus
        Walter Dellinger

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                                                             Kathryn Rebecca Cook
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        Amicus
        Kuumba Singers of Harvard College       represented by Cara McClellan
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                                                             Earl A. Kirkland , III
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                                                             Janai S. Nelson
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        Amicus
        Fuerza Latina of Harvard                represented by Cara McClellan
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        Amicus
        Native Americans At Harvard College     represented by Cara McClellan
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                                                             Earl A. Kirkland , III

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Case: 19-2005    Document: 00117621824
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        Amicus
        Harvard−Radcliffe Asian American        represented by Cara McClellan
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                                                             Earl A. Kirkland , III
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        Amicus
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        Women's Association                                    (See above for address)
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                                                             Earl A. Kirkland , III
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        Amicus
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        Amicus
        Harvard Vietnamese Association          represented by Cara McClellan
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                                                             Earl A. Kirkland , III
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        Amicus
        Harvard−Radcliffe Chinese Students      represented by Cara McClellan
        Association                                            (See above for address)
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                                                             Earl A. Kirkland , III
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        Amicus
        Harvard Korean Association              represented by Cara McClellan
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                                                             Earl A. Kirkland , III
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                                                             Janai S. Nelson

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        Amicus
        Harvard Japan Society                   represented by Cara McClellan
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                                                             Earl A. Kirkland , III
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        Amicus
        Harvard South Asian Association         represented by Cara McClellan
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        Amicus
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                                                             Kenneth N. Thayer
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        Amicus
        Task Force on Asian and Pacific         represented by Cara McClellan
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                                                             Janai S. Nelson
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                                                             Jennifer A. Holmes
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        Amicus
        Harvard Phillips Brooks House           represented by Cara McClellan
        Association                                            (See above for address)
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        Amicus
        Harvard Minority Association of         represented by Cara McClellan
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        Amicus
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        Amicus
        First Generation Harvard Alumni         represented by Cara McClellan
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        Amicus
        Native American Alumni of Harvard       represented by Cara McClellan
        University                                             (See above for address)
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                                                             Earl A. Kirkland , III
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        Amicus
        Harvard University Muslim Alumni        represented by Cara McClellan
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                                                             Earl A. Kirkland , III
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        Amicus
        Harvard Latino Alumni Alliance          represented by Cara McClellan
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                                                             Madeleine K. Rodriguez
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        Amicus
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        Amicus
        21 Colorful Crimson                     represented by Cara McClellan
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                                                               Jin Hee Lee
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Kenneth N. Thayer
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Michaele N. Turnage Young
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Rachel M. Kleinman
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Samuel Spital
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

                                                               Sherrilyn A. Ifill
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

        Amicus
        American Civil Liberties Union          represented by Sarah Hinger
        125 Broad Street                                       American Civil Liberties Union
        18th Fl.                                               Foundation
        New York, NY 10004                                     125 Broad St.
        212−519−7882                                           18th floor
                                                               New York, NY 10004
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                                                               Fax: (212) 549−2654
                                                               Email: shinger@aclu.org
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

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        American Civil Liberties Union          represented by Sarah Hinger
        Foundation of Massachusetts, Inc.                      (See above for address)
        211 Congress Street                                    LEAD ATTORNEY
                                              JA52
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        3rd Fl.                                               PRO HAC VICE
        Boston, MA 02110                                      ATTORNEY TO BE NOTICED
        617−482−3170
                                                              Matthew Segal
                                                              American Civil Liberties Union
                                                              211 Congress Street
                                                              Boston, MA 02110
                                                              617−482−3170
                                                              Fax: 617−451−0009
                                                              Email: msegal@aclum.org
                                                              ATTORNEY TO BE NOTICED

        Amicus
        Southeastern Legal Foundation           represented by Douglass C. Lawrence
                                                               Curran Antonelli, LLP
                                                               22 Boston Wharf Road
                                                               7th Floor
                                                               Boston, MA 02210
                                                               617−207−8670
                                                               Fax: (857) 263−5215
                                                               Email: dlawrence@curranantonelli.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                              John J. Park , Jr.
                                                              Strickland Brockington Lewis LLP
                                                              Midtown Proscenium Suite 2200
                                                              1170 Peachtree Stree NE
                                                              Atlanta, GA 30309
                                                              678−347−2208
                                                              Fax: 678−347−2210
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

        Amicus
        Center for Equal Opportunity            represented by Douglass C. Lawrence
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                              John J. Park , Jr.
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

        Amicus
        Reason Foundation                       represented by Douglass C. Lawrence
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                              John J. Park , Jr.
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

        Amicus
        Lawrence Crawford
        also known as
        JahJah Tishbite
        also known as
        Jonah Gabriel

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        also known as
        JahJah Al Mahdi

        Interested Party
        United States                                      represented by Matthew J. Donnelly
                                                                          United States Department of Justice
                                                                          950 Pennsylvania Avenue
                                                                          Washington, DC 20530
                                                                          202−617−2788
                                                                          Email: matthew.donnelly@usdoj.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED


         Date Filed     #     Docket Text
         11/17/2014        1 COMPLAINT against All Defendants Filing fee: $ 400, receipt number
                             0101−5281571 (Fee Status: Filing Fee paid), filed by Students for Fair Admissions,
                             Inc.. (Attachments: # 1 Exhibit A, # 2 Civil Cover Sheet, # 3 Category Form)(Sanford,
                             Paul) (Entered: 11/17/2014)
         11/17/2014        2 NOTICE of Appearance by Paul M Sanford on behalf of Students for Fair Admissions,
                             Inc. (Sanford, Paul) (Entered: 11/17/2014)
         11/17/2014        3 NOTICE of Appearance by Benjamin C. Caldwell on behalf of Students for Fair
                             Admissions, Inc. (Caldwell, Benjamin) (Entered: 11/17/2014)
         11/17/2014        4 CORPORATE DISCLOSURE STATEMENT by Students for Fair Admissions, Inc..
                             (Sanford, Paul) (Entered: 11/17/2014)
         11/17/2014        5 MOTION for Leave to Appear Pro Hac Vice for admission of William S. Consovoy,
                             Thomas R. McCarthy and J. Michael Connolly Filing fee: $ 300, receipt number
                             0101−5281670 by Students for Fair Admissions, Inc.. (Attachments: # 1 Cert. of
                             Attorney Consovoy, # 2 Cert. of Attorney McCarthy, # 3 Cert. of Attorney Connolly, #
                             4 Text of Proposed Order)(Sanford, Paul) (Entered: 11/17/2014)
         11/17/2014        6 ELECTRONIC NOTICE of Case Assignment. Judge Denise J. Casper assigned to
                             case. If the trial Judge issues an Order of Reference of any matter in this case to a
                             Magistrate Judge, the matter will be transmitted to Magistrate Judge Judith G. Dein.
                             (Abaid, Kimberly) (Entered: 11/17/2014)
         11/17/2014        7 Summons Issued as to All Defendants. Counsel receiving this notice electronically
                             should download this summons, complete one for each defendant and serve it in
                             accordance with Fed.R.Civ.P. 4 and LR 4.1. Summons will be mailed to
                             plaintiff(s) not receiving notice electronically for completion of service. (Abaid,
                             Kimberly) (Entered: 11/17/2014)
         11/18/2014        8 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 5 Motion for Leave
                             to Appear Pro Hac Vice Added William S. Consovoy, Thomas R. McCarthy and John
                             Michael Connolly. Attorneys admitted Pro Hac Vice must register for electronic
                             filing if the attorney does not already have an ECF account in this district. To
                             register go to the Court website at www.mad.uscourts.gov. Select Case
                             Information, then Electronic Filing (CM/ECF) and go to the CM/ECF
                             Registration Form. (Maynard, Timothy) (Entered: 11/18/2014)
         12/04/2014        9 WAIVER OF SERVICE Returned Executed by Students for Fair Admissions, Inc..
                             President and Fellows of Harvard College waiver sent on 11/20/2014, answer due
                             1/19/2015. (Sanford, Paul) (Entered: 12/04/2014)
         12/19/2014     10 NOTICE of Appearance by Felicia H. Ellsworth on behalf of President and Fellows of
                           Harvard College (Ellsworth, Felicia) (Entered: 12/19/2014)
         12/19/2014     11 CORPORATE DISCLOSURE STATEMENT by President and Fellows of Harvard
                           College. (Ellsworth, Felicia) (Entered: 12/19/2014)
         12/19/2014     12 Assented to MOTION for Extension of Time to February 18, 2015 to Respond to the
                           Complaint by President and Fellows of Harvard College.(Ellsworth, Felicia) (Entered:

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                          12/19/2014)
         12/19/2014   13 Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Seth P.
                         Waxman, Paul R.Q. Wolfson, and Debo P. Adegbile Filing fee: $ 300, receipt number
                         0101−5332406 by President and Fellows of Harvard College. (Attachments: # 1
                         Certification of Seth P. Waxman, # 2 Certification of Paul R.Q. Wolfson, # 3
                         Certification of Debo P. Adegbile)(Ellsworth, Felicia) (Entered: 12/19/2014)
         12/22/2014   14 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 12 Motion for
                         Extension of Time to Answer to 2/18/15 by President and Fellows of Harvard College
                         (Hourihan, Lisa) (Entered: 12/22/2014)
         12/23/2014   15 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 13 Motion for
                         Leave to Appear Pro Hac Vice Added Debo P. Adegbile. Attorneys admitted Pro
                         Hac Vice must register for electronic filing if the attorney does not already have
                         an ECF account in this district. To register go to the Court website at
                         www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                         (CM/ECF) and go to the CM/ECF Registration Form. (Maynard, Timothy)
                         (Entered: 12/23/2014)
         01/09/2015   16 STIPULATION of Dismissal as to Defendant The Board of Overseers of Harvard
                         College Only by Students for Fair Admissions, Inc.. (Sanford, Paul) (Entered:
                         01/09/2015)
         02/18/2015   17 ANSWER to 1 Complaint, by President and Fellows of Harvard College.(Waxman,
                         Seth) (Entered: 02/18/2015)
         02/19/2015   18 NOTICE of Scheduling Conference Scheduling Conference set for 3/23/2015 02:30
                         PM in Courtroom 11 before Judge Denise J. Casper. (Hourihan, Lisa) (Entered:
                         02/19/2015)
         02/19/2015   19 Judge Denise J. Casper: ORDER entered. Standing Order Re: Courtroom
                         Opportunities for Relatively Inexperienced Attorneys(Hourihan, Lisa) (Entered:
                         02/19/2015)
         03/02/2015   20 MOTION to Continue Rule 16 Initial Scheduling Conference (UNOPPOSED) by
                         Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 03/02/2015)
         03/03/2015   21 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 20 Motion to
                         Continue Scheduling Conference set for 4/13/2015 02:00 PM in Courtroom 11 before
                         Judge Denise J. Casper. (Hourihan, Lisa) (Entered: 03/03/2015)
         03/12/2015   22 ELECTRONIC NOTICE of Reassignment. Judge Allison D. Burroughs added. Judge
                         Denise J. Casper no longer assigned to case. (Abaid, Kimberly) (Entered: 03/12/2015)
         03/13/2015   23 ELECTRONIC NOTICE OF RESCHEDULING Scheduling Conference RESET for
                         4/23/2015 10:30 AM in Courtroom 17 before Judge Allison D. Burroughs. (Folan,
                         Karen) (Entered: 03/13/2015)
         03/16/2015   24 Assented to MOTION to Continue Intial Scheduling Conference to 04/30/2015 by
                         President and Fellows of Harvard College.(Ellsworth, Felicia) (Entered: 03/16/2015)
         03/18/2015   25 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 24 Motion to
                         Continue. Scheduling Conference reset for 4/30/2015 02:00 PM in Courtroom 17
                         before Judge Allison D. Burroughs. (Folan, Karen) (Entered: 03/18/2015)
         04/23/2015   26 JOINT STATEMENT of counsel pursuant to Federal Rule 26(f) and Local Rule
                         16.1(d). (Sanford, Paul) (Entered: 04/23/2015)
         04/23/2015   27 CERTIFICATION pursuant to Local Rule 16.1 (d)(3). (Ellsworth, Felicia) (Entered:
                         04/23/2015)
         04/23/2015   28 CERTIFICATION pursuant to Local Rule 16.1 . (Sanford, Paul) (Entered: 04/23/2015)
         04/29/2015   29 ELECTRONIC NOTICE OF RESCHEDULING Scheduling Conference reset for
                         4/30/2015 02:00 PM in Courtroom 4 before Judge Allison D. Burroughs. NOTICE IS
                         FOR COURTROOM LOCATION CHANGE ONLY.(Folan, Karen) (Entered:
                         04/29/2015)


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         04/29/2015   30 MOTION to Intervene In Defense of Harvard's Admission Policy by Sarah Cole,
                         Fadhal Moore, Arjini Kumari Nawal, Itzel Vasquez−Rodriguez, Keyanna
                         Wigglesworth, M. B., K. C., Y. D., G. E., A. G., I. G., R. H., J. L., R. S..(Hall,
                         Rahsaan) (Entered: 04/29/2015)
         04/29/2015   31 MEMORANDUM in Support re 30 MOTION to Intervene In Defense of Harvard's
                         Admission Policy filed by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J.
                         L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez−Rodriguez, Keyanna
                         Wigglesworth. (Attachments: # 1 Exhibit Declarations of Proposed
                         Defendant−Intervenors, # 2 Exhibit Proposed Answer)(Hall, Rahsaan) (Entered:
                         04/29/2015)
         04/29/2015   32 MOTION for Leave to Appear Pro Hac Vice for admission of Jon M. Greenbaum
                         Filing fee: $ 100, receipt number 0101−5535156 by M. B., K. C., Sarah Cole, Y. D.,
                         G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                         Vasquez−Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit A −
                         Certificate of Good Standing, # 2 Exhibit B − Affidavit)(Hall, Rahsaan) (Entered:
                         04/29/2015)
         04/29/2015   33 NOTICE of Appearance by Rahsaan D. Hall on behalf of M. B., K. C., Sarah Cole, Y.
                         D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                         Vasquez−Rodriguez, Keyanna Wigglesworth (Hall, Rahsaan) (Entered: 04/29/2015)
         04/30/2015   34 ELECTRONIC Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                         Scheduling Conference held on 4/30/2015. Colloquy re: motion to intervene.
                         Responses will be filed within 2 weeks. Colloquy re: applications. Colloquy re:
                         discovery schedule. Scheduling order to issue. (Court Reporter: James Gibbons at
                         jmsgibbons@yahoo.com.)(Attorneys present: Sanford, Consovoy, Caldwell, Waxman,
                         Ellsworth) (Folan, Karen) (Entered: 04/30/2015)
         05/04/2015   35 Judge Allison D. Burroughs: ORDER entered. SCHEDULING ORDER: Status
                         Conference set for 7/9/2015 02:00 PM in Courtroom 17 before Judge Allison D.
                         Burroughs. Amended Pleadings due by 9/25/2015. Discovery to be completed by
                         4/1/2016 Motions due by 10/13/2016(Folan, Karen) (Entered: 05/04/2015)
         05/13/2015   36 NOTICE of Appearance by Patrick Strawbridge on behalf of Students for Fair
                         Admissions, Inc. (Strawbridge, Patrick) (Entered: 05/13/2015)
         05/13/2015   37 MEMORANDUM in Opposition re 30 MOTION to Intervene In Defense of Harvard's
                         Admission Policy filed by Students for Fair Admissions, Inc.. (Consovoy, William)
                         (Entered: 05/13/2015)
         05/13/2015   38 RESPONSE to Motion re 30 MOTION to Intervene In Defense of Harvard's
                         Admission Policy filed by President and Fellows of Harvard College. (Waxman, Seth)
                         (Entered: 05/13/2015)
         05/15/2015   39 MOTION for Leave to File REPLY MEMORANDUM IN SUPPORT OF THE
                         MOTION TO INTERVENE by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R.
                         H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez−Rodriguez,
                         Keyanna Wigglesworth. (Attachments: # 1 Exhibit Proposed Reply)(Hall, Rahsaan)
                         (Entered: 05/15/2015)
         05/15/2015   40 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 39 Motion for
                         Leave to File Document ; Counsel using the Electronic Case Filing System should now
                         file the document for which leave to file has been granted in accordance with the
                         CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                         (date of order)− in the caption of the document. (Folan, Karen) (Entered: 05/15/2015)
         05/18/2015   41 CERTIFICATE OF SERVICE pursuant to LR 5.2 by Students for Fair Admissions,
                         Inc. re 36 Notice of Appearance of Patrick Strawbridge. (Strawbridge, Patrick)
                         (Entered: 05/18/2015)
         05/18/2015   42 REPLY to Response to 39 MOTION for Leave to File REPLY MEMORANDUM IN
                         SUPPORT OF THE MOTION TO INTERVENE filed by M. B., K. C., Sarah Cole, Y.
                         D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                         Vasquez−Rodriguez, Keyanna Wigglesworth. (Hall, Rahsaan) (Entered: 05/18/2015)



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         05/19/2015   43 Transcript of Status Conference held on April 30, 2015, before Judge Allison D.
                         Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                         the public terminal, or viewed through PACER after it is released. Court Reporter
                         Name and Contact Information: James Gibbons at jmsgibbons@yahoo.com Redaction
                         Request due 6/9/2015. Redacted Transcript Deadline set for 6/19/2015. Release of
                         Transcript Restriction set for 8/17/2015. (Scalfani, Deborah) (Entered: 05/19/2015)
         05/19/2015   44 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                         the court reporter in the above−captioned matter. Counsel are referred to the Court's
                         Transcript Redaction Policy, available on the court website at
                         http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                         (Entered: 05/19/2015)
         05/26/2015   45 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 32 Motion for
                         Leave to Appear Pro Hac Vice Added Jon M. Greenbaum. Attorneys admitted Pro
                         Hac Vice must register for electronic filing if the attorney does not already have
                         an ECF account in this district. To register go to the Court website at
                         www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                         (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                         83.5.3, local counsel shall also file an appearance in this matter. Further, local counsel
                         shall review all filings and shall personally appear in Court for any hearings or
                         conferences, unless expressly excused by the Court for good cause. (Folan, Karen)
                         (Entered: 05/26/2015)
         05/26/2015   46 MOTION for Leave to Appear Pro Hac Vice for admission of Lawrence Culleen
                         Filing fee: $ 100, receipt number 0101−5572007 by M. B., K. C., Sarah Cole, Y. D.,
                         G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                         Vasquez−Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit Certificate of
                         Good Standing, # 2 Exhibit Affidavit)(Hall, Rahsaan) (Entered: 05/26/2015)
         05/26/2015   47 MOTION for Leave to Appear Pro Hac Vice for admission of Nancy L. Perkins Filing
                         fee: $ 100, receipt number 0101−5572061 by M. B., K. C., Sarah Cole, Y. D., G. E.,
                         A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                         Vasquez−Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit Certificate of
                         Good Standing, # 2 Exhibit Af)(Hall, Rahsaan) (Entered: 05/26/2015)
         05/26/2015   48 MOTION for Leave to Appear Pro Hac Vice for admission of Steven L. Mayer Filing
                         fee: $ 100, receipt number 0101−5572070 by M. B., K. C., Sarah Cole, Y. D., G. E.,
                         A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                         Vasquez−Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit Certificate of
                         Good Standing, # 2 Exhibit Affidavit)(Hall, Rahsaan) (Entered: 05/26/2015)
         05/27/2015   49 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 46 Motion for
                         Leave to Appear Pro Hac Vice Added Lawrence Culleen. Attorneys admitted Pro
                         Hac Vice must register for electronic filing if the attorney does not already have
                         an ECF account in this district. To register go to the Court website at
                         www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                         (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                         83.5.3, local counsel shall also file an appearance in this matter. Further, local counsel
                         shall review all filings and shall personally appear in Court for any hearings or
                         conferences, unless expressly excused by the Court for good cause. (Folan, Karen)
                         (Entered: 05/27/2015)
         05/27/2015   50 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 47 Motion for
                         Leave to Appear Pro Hac Vice Added Nancy L. Perkins. Attorneys admitted Pro
                         Hac Vice must register for electronic filing if the attorney does not already have
                         an ECF account in this district. To register go to the Court website at
                         www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                         (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                         83.5.3, local counsel shall also file an appearance in this matter. Further, local counsel
                         shall review all filings and shall personally appear in Court for any hearings or
                         conferences, unless expressly excused by the Court for good cause. (Folan, Karen)
                         (Entered: 05/28/2015)
         05/27/2015   51 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 48 Motion for
                         Leave to Appear Pro Hac Vice Added Steven L. Mayer. Attorneys admitted Pro Hac
                         Vice must register for electronic filing if the attorney does not already have an

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                          ECF account in this district. To register go to the Court website at
                          www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                          (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                          83.5.3, local counsel shall also file an appearance in this matter. Further, local counsel
                          shall review all filings and shall personally appear in Court for any hearings or
                          conferences, unless expressly excused by the Court for good cause. (Folan, Karen)
                          (Entered: 05/28/2015)
         06/15/2015   52 Judge Allison D. Burroughs: ORDER enteredMEMORANDUM AND ORDER ON
                         PROPOSED DEFENDANT−INTERVENORS' MOTION TO INTERVENE the
                         Proposed Intervenors Motion to Intervene 30 is DENIED; however, the Proposed
                         Intervenors are granted leave to participate in this action as amici curiae. (Montes,
                         Mariliz) (Entered: 06/15/2015)
         06/25/2015   53 Joint MOTION for Protective Order (Stipulated) by President and Fellows of Harvard
                         College.(Waxman, Seth) (Entered: 06/25/2015)
         06/25/2015   54 Judge Allison D. Burroughs: ELECTRONIC ORDER entered The parties' Joint
                         Motion for Protective Order 53 is hereby ALLOWED, and the parties' Stipulated
                         Protective Order is approved. However, given the lack of specificity in Paragraphs 10
                         and 13 regarding the use of protected documents during public proceedings, the Court
                         reserves the right to allow, after notice to the parties, the disclosure of any document or
                         information covered by the Protective Order or to modify the Protective Order at any
                         time in the interests of justice and to ensure that any proceeding before this Court is
                         fair, efficient, and consistent with the public interest. (Montes, Mariliz) (Entered:
                         06/25/2015)
         06/25/2015   55 Judge Allison D. Burroughs: ORDER entered. STIPULATION PROTECTIVE
                         ORDER REGARDING DISCLOSURE AND USE OF DISCOVERY
                         MATERIALS(Montes, Mariliz) (Entered: 06/25/2015)
         06/30/2015   56 MOTION to Continue Status Conference (UNOPPOSED) by Students for Fair
                         Admissions, Inc..(Caldwell, Benjamin) (Entered: 06/30/2015)
         07/01/2015   57 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 56 Motion to
                         Continue. Status Conference reset for 7/21/2015 02:00 PM in Courtroom 17 before
                         Judge Allison D. Burroughs. (Folan, Karen) (Entered: 07/01/2015)
         07/06/2015   58 MOTION to Stay by President and Fellows of Harvard College.(Waxman, Seth)
                         (Entered: 07/06/2015)
         07/06/2015   59 MEMORANDUM in Support re 58 MOTION to Stay filed by President and Fellows
                         of Harvard College. (Attachments: # 1 Exhibit A)(Waxman, Seth) (Entered:
                         07/06/2015)
         07/13/2015   60 NOTICE OF APPEAL as to 52 Order on Motion to Intervene, by M. B., K. C., Sarah
                         Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R.
                         S., Itzel Vasquez−Rodriguez, Keyanna Wigglesworth Filing fee: $ 505, receipt number
                         0101−5656193 Fee Status: Not Exempt. NOTICE TO COUNSEL: A Transcript
                         Report/Order Form, which can be downloaded from the First Circuit Court of Appeals
                         web site at http://www.ca1.uscourts.gov MUST be completed and submitted to the
                         Court of Appeals. Counsel shall register for a First Circuit CM/ECF Appellate
                         Filer Account at http://pacer.psc.uscourts.gov/cmecf. Counsel shall also review
                         the First Circuit requirements for electronic filing by visiting the CM/ECF
                         Information section at http://www.ca1.uscourts.gov/cmecf. US District Court
                         Clerk to deliver official record to Court of Appeals by 8/3/2015. (Hall, Rahsaan)
                         (Entered: 07/13/2015)
         07/14/2015   61 Certified and Transmitted Abbreviated Electronic Record on Appeal to US Court of
                         Appeals re 60 Notice of Appeal. (Paine, Matthew) (Entered: 07/14/2015)
         07/14/2015   62 USCA Case Number 15−1823 for 60 Notice of Appeal filed by G. E., K. C., R. S.,
                         Keyanna Wigglesworth, Sarah Cole, Itzel Vasquez−Rodriguez, Fadhal Moore, M. B.,
                         Y. D., Arjini Kumari Nawal, I. G., R. H., A. G., J. L.. (Paine, Matthew) (Entered:
                         07/14/2015)
         07/15/2015   63 NOTICE TO COUNSEL: The clerk's office has received a request to video record this
                         hearing as part of the "Cameras in the Courtroom" project. Counsel are directed to the
                                                    JA58
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                          district court web site at http://www.mad.uscourts.gov/general/cameras.html to
                          determine if they wish to consent to video recording. Responses are due July 20, 2015.
                          A RESPONSE FROM EACH PARTY IS REQUIRED. (Hurley, Virginia) (Entered:
                          07/15/2015)
         07/16/2015   64 MOTION to Compel Production by Students for Fair Admissions, Inc..(Caldwell,
                         Benjamin) (Entered: 07/16/2015)
         07/16/2015   65 MEMORANDUM in Support re 64 MOTION to Compel Production filed by Students
                         for Fair Admissions, Inc.. (Caldwell, Benjamin) (Main Document 65 replaced on
                         2/9/2016) (Montes, Mariliz). (Entered: 07/16/2015)
         07/16/2015   66 DECLARATION re 65 Memorandum in Support of Motion to Compel Production by
                         Students for Fair Admissions, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                         Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Caldwell, Benjamin) (Entered: 07/16/2015)
         07/17/2015   67 MOTION to Seal Exhibit and Unredacted Memorandum of Law Associated with
                         Motion to Compel by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                         (Entered: 07/17/2015)
         07/17/2015   70 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 67 Motion to
                         Seal (Montes, Mariliz) (Entered: 07/17/2015)
         07/20/2015   71 Opposition re 58 MOTION to Stay filed by Students for Fair Admissions, Inc..
                         (Strawbridge, Patrick) (Entered: 07/20/2015)
         07/21/2015   72 MOTION to Seal by President and Fellows of Harvard College.(Ellsworth, Felicia)
                         (Entered: 07/21/2015)
         07/21/2015   73 MOTION for Leave to File Reply Memorandum In Support Of Motion To Stay by
                         President and Fellows of Harvard College. (Attachments: # 1 Exhibit A, # 2 Exhibit
                         B)(Ellsworth, Felicia) (Entered: 07/21/2015)
         07/21/2015   74 ELECTRONIC NOTICE OF RESCHEDULING Status Conference set for 7/21/2015
                         02:00 PM in Courtroom 16 before Judge Allison D. Burroughs. NOTICE IS FOR
                         COURTROOM LOCATION CHANGE ONLY.(Folan, Karen) (Entered: 07/21/2015)
         07/21/2015   75 NOTICE of Withdrawal of Appearance by Rahsaan D. Hall (Hall, Rahsaan) (Entered:
                         07/21/2015)
         07/21/2015   76 NOTICE of Appearance by Priya A. Lane on behalf of M. B., K. C., Sarah Cole, Y.
                         D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                         Vasquez−Rodriguez, Keyanna Wigglesworth (Lane, Priya) (Entered: 07/21/2015)
         07/21/2015   77 ELECTRONIC Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                         granting 72 Motion to Seal; granting 73 Motion for Leave to File Document ; Status
                         Conference held on 7/21/2015; (Court Reporter: Carol Scott at
                         carollynnscott@cs.com.)(Attorneys present: Sanford, Consovoy, Strawbridge,
                         Waxman, Ellsworth, Gershengorn) (Folan, Karen) (Entered: 07/23/2015)
         07/23/2015   78 REPLY to Response to 58 MOTION to Stay filed by President and Fellows of Harvard
                         College. (Ellsworth, Felicia) (Entered: 07/23/2015)
         07/23/2015   79 DECLARATION re 78 Reply to Response to Motion to Stay by President and Fellows
                         of Harvard College. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Ellsworth, Felicia)
                         (Entered: 07/23/2015)
         07/28/2015   82 NOTICE by President and Fellows of Harvard College re 58 MOTION to Stay −
                         Supplemental Submission (Ellsworth, Felicia) (Entered: 07/28/2015)
         07/28/2015   83 Supplemental Opposition re 58 MOTION to Stay filed by Students for Fair
                         Admissions, Inc.. (Strawbridge, Patrick) (Entered: 07/28/2015)
         07/30/2015   84 Transcript of Status Conference held on July 21, 2015, before Judge Allison D.
                         Burroughs. COA Case No. 15−1823. The Transcript may be purchased through the
                         Court Reporter, viewed at the public terminal, or viewed through PACER after it is
                         released. Court Reporter Name and Contact Information: Carol Scott at
                         carollynnscott@cs.com Redaction Request due 8/20/2015. Redacted Transcript
                         Deadline set for 8/31/2015. Release of Transcript Restriction set for 10/28/2015.

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                           (Scalfani, Deborah) (Entered: 07/30/2015)
         07/30/2015    85 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                          the court reporter in the above−captioned matter. Counsel are referred to the Court's
                          Transcript Redaction Policy, available on the court website at
                          http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                          (Entered: 07/30/2015)
         07/30/2015    86 MEMORANDUM in Opposition re 64 MOTION to Compel Production filed by
                          President and Fellows of Harvard College. (Ellsworth, Felicia) (Entered: 07/30/2015)
         07/30/2015    87 DECLARATION re 86 Memorandum in Opposition to Motion to Compel (McCrary)
                          by President and Fellows of Harvard College. (Ellsworth, Felicia) (Main Document 87
                          replaced on 7/31/2015) (Montes, Mariliz). (Additional attachment(s) added on
                          7/31/2015: # 1 Addendum) (Montes, Mariliz). (Entered: 07/30/2015)
         07/30/2015    88 DECLARATION re 86 Memorandum in Opposition to Motion to Compel (McGrath)
                          by President and Fellows of Harvard College. (Ellsworth, Felicia) (Entered:
                          07/30/2015)
         07/31/2015    89 Notice of correction to docket made by Court staff. Correction: Docket 87 corrected by
                          detaching Addendum from Declaration and re−filing it as an attachment. (Montes,
                          Mariliz) (Entered: 07/31/2015)
         08/05/2015    90 MOTION to Stay Proceedings Pending Appeal by M. B., K. C., Sarah Cole, Y. D., G.
                          E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                          Vasquez−Rodriguez, Keyanna Wigglesworth.(Lane, Priya) (Entered: 08/05/2015)
         08/05/2015    91 MEMORANDUM in Support re 90 MOTION to Stay Proceedings Pending Appeal
                          filed by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore,
                          Arjini Kumari Nawal, R. S., Itzel Vasquez−Rodriguez, Keyanna Wigglesworth. (Lane,
                          Priya) (Entered: 08/05/2015)
         08/06/2015    92 MOTION for Leave to File Reply Memorandum in Support of Motion to Compel by
                          Students for Fair Admissions, Inc.. (Attachments: # 1 Proposed Reply Memo, # 2
                          Declaration of Patrick Strawbridge)(Caldwell, Benjamin) (Entered: 08/06/2015)
         08/07/2015    93 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 92 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                          (date of order)− in the caption of the document. (Montes, Mariliz) (Entered:
                          08/07/2015)
         08/07/2015    94 REPLY to Response to 64 MOTION to Compel Production filed by Students for Fair
                          Admissions, Inc.. (Caldwell, Benjamin) (Entered: 08/07/2015)
         08/07/2015    95 DECLARATION re 94 Reply to Response to Motion to Compel by Students for Fair
                          Admissions, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Caldwell, Benjamin)
                          (Entered: 08/07/2015)
         08/07/2015    96 CERTIFICATE OF SERVICE pursuant to LR 5.2 by Students for Fair Admissions,
                          Inc. re 95 Declaration re 94 Reply to Response to Motion to Compel by Students for
                          Fair Admissions, Inc... (Caldwell, Benjamin) (Entered: 08/07/2015)
         08/14/2015    97 MOTION for Leave to File A Sur−Reply Memorandum In Opposition to SFFA's
                          Motion to Compel by President and Fellows of Harvard College. (Attachments: # 1
                          Exhibit A)(Ellsworth, Felicia) (Entered: 08/14/2015)
         08/14/2015    98 Opposition re 90 MOTION to Stay Proceedings Pending Appeal filed by Students for
                          Fair Admissions, Inc.. (Strawbridge, Patrick) (Entered: 08/14/2015)
         08/17/2015    99 RESPONSE to Motion re 90 MOTION to Stay Proceedings Pending Appeal filed by
                          President and Fellows of Harvard College. (Ellsworth, Felicia) (Entered: 08/17/2015)
         08/18/2015   100 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 97 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on

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                            (date of order)− in the caption of the document. (Folan, Karen) (Entered: 08/18/2015)
         08/18/2015   101 SUR−REPLY to Motion re 64 MOTION to Compel Production filed by President and
                          Fellows of Harvard College. (Ellsworth, Felicia) (Entered: 08/18/2015)
         09/01/2015   102 Letter/request (non−motion) from SFFA Requesting Telephonic Conference .
                          (Strawbridge, Patrick) (Entered: 09/01/2015)
         09/28/2015   103 MOTION for Leave to Appear Pro Hac Vice Filing fee: $ 100, receipt number
                          0101−5765135 by Students for Fair Admissions, Inc.. (Attachments: # 1 Exhibit
                          Certification of Michael H. Park, # 2 Exhibit Proposed Order)(Sanford, Paul) (Entered:
                          09/28/2015)
         09/30/2015   104 Emergency MOTION for Protective Order by President and Fellows of Harvard
                          College. (Attachments: # 1 Declaration in Support of Motion, # 2 Exhibit Exhibit 1 to
                          Ellsworth Declaration, # 3 Exhibit Exhibit 2 to Ellsworth Declaration, # 4 Exhibit
                          Exhibit 3 to Ellsworth Declaration)(Ellsworth, Felicia) Modified on 10/1/2015
                          (Montes, Mariliz). (Entered: 09/30/2015)
         09/30/2015   107 MEMORANDUM in Support re 104 Emergency MOTION for Protective Order filed
                          by President and Fellows of Harvard College. (Montes, Mariliz) (Entered: 10/01/2015)
         10/01/2015   105 Opposition re 104 Emergency MOTION for Protective Order filed by Students for Fair
                          Admissions, Inc.. (Strawbridge, Patrick) (Entered: 10/01/2015)
         10/01/2015   106 DECLARATION re 105 Opposition to Motion for Protective Order by Students for
                          Fair Admissions, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                          Exhibit 4)(Strawbridge, Patrick) (Entered: 10/01/2015)
         10/01/2015   108 Notice of correction to docket made by Court staff. Correction: Docket 104 corrected
                          by detaching Memorandum and re−filing it as a separate docket entry. (Montes,
                          Mariliz) (Entered: 10/01/2015)
         10/07/2015   109 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 103 Motion for
                          Leave to Appear Pro Hac Vice Added Michael H. Park. Attorneys admitted Pro Hac
                          Vice must register for electronic filing if the attorney does not already have an
                          ECF account in this district. To register go to the Court website at
                          www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                          (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                          83.5.3, local counsel shall also file an appearance in this matter. Further, local counsel
                          shall review all filings and shall personally appear in Court for any hearings or
                          conferences, unless expressly excused by the Court for good cause. (Folan, Karen)
                          (Entered: 10/07/2015)
         10/09/2015   110 Judge Allison D. Burroughs: ORDER entered The Proposed Defendant−Intervenors
                          Motion to Stay [ECF No. 90] is ALLOWED IN PART and DENIED IN PART, and
                          Harvards Motion to Stay [ECF No. 58] is also ALLOWED IN PART and DENIED IN
                          PART, as set forth in the accompanying Order. And in light of the Court's ruling,
                          Harvards Emergency Motion for a Protective Order and a Temporary Stay of
                          Depositions [ECF No. 104] is DENIED AS MOOT. (Montes, Mariliz) (Entered:
                          10/09/2015)
         10/23/2015   111 RESPONSE TO COURT ORDER by President and Fellows of Harvard College
                          Regarding The Proposed Scope Of Discovery During A Stay Pending Resolution Of
                          Fisher II. (Ellsworth, Felicia) (Entered: 10/23/2015)
         10/23/2015   112 RESPONSE TO COURT ORDER by Students for Fair Admissions, Inc. re 110 Order
                          on Motion to Stay,, Order on Motion for Protective Order,,, . (Strawbridge, Patrick)
                          (Entered: 10/23/2015)
         10/30/2015   113 Judge Allison D. Burroughs: ELECTRONIC ORDER entered Plaintiff's Motion to
                          Compel Production (ECF No. 64) is DENIED as MOOT with leave to renew. The
                          issue of whether a sample of alumni interviewers should be identified and/or deposed
                          will be addressed at a status conference to be held shortly following the First Circuit's
                          decision regarding intervention. (Montes, Mariliz) (Entered: 10/30/2015)
         12/09/2015   114 OPINION of USCA as to 60 Notice of Appeal filed by G. E., K. C., R. S., Keyanna
                          Wigglesworth, Sarah Cole, Itzel Vasquez−Rodriguez, Fadhal Moore, M. B., Y. D.,

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                            Arjini Kumari Nawal, I. G., R. H., A. G., J. L.. (Paine, Matthew) (Entered:
                            12/10/2015)
         12/09/2015   115 USCA Judgment as to 60 Notice of Appeal filed by G. E., K. C., R. S., Keyanna
                          Wigglesworth, Sarah Cole, Itzel Vasquez−Rodriguez, Fadhal Moore, M. B., Y. D.,
                          Arjini Kumari Nawal, I. G., R. H., A. G., J. L. AFFIRMED. (Paine, Matthew)
                          (Entered: 12/10/2015)
         12/31/2015   116 MANDATE of USCA as to 60 Notice of Appeal filed by G. E., K. C., R. S., Keyanna
                          Wigglesworth, Sarah Cole, Itzel Vasquez−Rodriguez, Fadhal Moore, M. B., Y. D.,
                          Arjini Kumari Nawal, I. G., R. H., A. G., J. L.. Appeal 60 Terminated (Paine,
                          Matthew) (Entered: 01/04/2016)
         01/07/2016   117 ELECTRONIC NOTICE of Hearing. Status Conference set for 1/28/2016 10:00 AM
                          in Courtroom 17 before Judge Allison D. Burroughs. (Folan, Karen) (Entered:
                          01/07/2016)
         01/27/2016   118 Letter/request (non−motion) from SFFA to Judge Burroughs . (Caldwell, Benjamin)
                          (Main Document 118 replaced on 2/9/2016) (Montes, Mariliz). (Entered: 01/27/2016)
         01/27/2016   119 MOTION to Seal Document (SFFA's Letter to Judge Burroughs) by Students for Fair
                          Admissions, Inc..(Caldwell, Benjamin) (Entered: 01/27/2016)
         01/27/2016   120 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 119 Motion to
                          Seal Document. (Folan, Karen) (Entered: 01/27/2016)
         01/27/2016   121 Letter/request (non−motion) from Harvard In Response to Letter/request (non−motion)
                          from SFFA . (Ellsworth, Felicia) (Entered: 01/27/2016)
         01/28/2016   123 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                          Status Conference held on 1/28/2016. Colloquy re: discovery. ( Further Status
                          Conference set for 2/25/2016 11:00 AM in Courtroom 17 before Judge Allison D.
                          Burroughs.). (Court Reporter: Carol Scott at carollynnscott@cs.com.)(Attorneys
                          present: Park, Caldwell, Strawbridge, Waxman, Ellsworth) (Folan, Karen) (Entered:
                          01/28/2016)
         02/01/2016   124 Letter/request (non−motion) from SFFA to Judge Burroughs . (Caldwell, Benjamin)
                          (Main Document 124 replaced on 2/9/2016) (Montes, Mariliz). (Entered: 02/01/2016)
         02/01/2016   125 MOTION to Seal Document (SFFA's letter to Judge Burroughs dated 2.1.16) by
                          Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 02/01/2016)
         02/02/2016   126 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 125 Plaintiff's
                          Motion to Seal Document (Montes, Mariliz) (Entered: 02/02/2016)
         02/03/2016   128 Transcript of Status Conference held on January 28, 2016, before Judge Allison D.
                          Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                          the public terminal, or viewed through PACER after it is released. Court Reporter
                          Name and Contact Information: Carol Scott at carollynnscott@cs.com Redaction
                          Request due 2/24/2016. Redacted Transcript Deadline set for 3/7/2016. Release of
                          Transcript Restriction set for 5/3/2016. (Scalfani, Deborah) (Entered: 02/03/2016)
         02/03/2016   129 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                          the court reporter in the above−captioned matter. Counsel are referred to the Court's
                          Transcript Redaction Policy, available on the court website at
                          http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                          (Entered: 02/03/2016)
         02/05/2016   130 MOTION to Seal Response to SFFA's Jan. 27, 2016 Letter by President and Fellows
                          of Harvard College.(Ellsworth, Felicia) (Entered: 02/05/2016)
         02/08/2016   131 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 130 Motion to
                          Seal (Folan, Karen) (Entered: 02/08/2016)
         02/09/2016   132 Notice of correction to docket made by Court staff. Correction: Dockets 65 , 118 and
                          124 corrected: documents were replaced by counsel with identical documents, as he
                          noticed the redacted material (from the original documents), was compromised as a
                          result of hidden metadata. (Montes, Mariliz) (Entered: 02/09/2016)


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         02/10/2016   134 MOTION to Seal Document (SFFA's Reply to Harvard's February 5, 2016 Letter) by
                          Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Additional attachment(s)
                          added on 2/10/2016: # 1 Exhibit) (Folan, Karen). (Entered: 02/10/2016)
         02/10/2016   135 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 134 Motion to
                          Seal Document. (Folan, Karen) (Entered: 02/10/2016)
         02/22/2016   136 Letter/request (non−motion) from Harvard regarding SFFA's February 1, 2016 Letter .
                          (Ellsworth, Felicia) (Entered: 02/22/2016)
         02/25/2016   137 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                          Status Conference held on 2/25/2016. Colloquy re: production of documents,
                          protective order. (Further Status Conference set for 3/30/2016 10:00 AM in Courtroom
                          17 before Judge Allison D. Burroughs.). (Court Reporter: Carol Scott at
                          carollynnscott@cs.com.)(Attorneys present: Park, Caldwell, Strawbridge, Ellsworth,
                          Fox) (Folan, Karen) (Entered: 02/25/2016)
         02/29/2016   138 MOTION to Seal Document Feb. 29, 2016 Letter to Court regarding Database Fields
                          by President and Fellows of Harvard College.(Ellsworth, Felicia) (Entered:
                          02/29/2016)
         03/01/2016   139 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 138
                          Defendant's Motion to File Under Seal Harvard's February 29, 2016 letter (Montes,
                          Mariliz) (Entered: 03/01/2016)
         03/02/2016   141 MOTION to Seal Document (SFFA's Reply to Harvard's February 29, 2016 Letter) by
                          Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 03/02/2016)
         03/03/2016   142 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 141 Motion to
                          Seal Document (Folan, Karen) (Entered: 03/03/2016)
         03/04/2016   143 Transcript of Status Conference held on February 25, 2016, before Judge Allison D.
                          Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                          the public terminal, or viewed through PACER after it is released. Court Reporter
                          Name and Contact Information: Carol Scott at carollynnscott@cs.com Redaction
                          Request due 3/25/2016. Redacted Transcript Deadline set for 4/4/2016. Release of
                          Transcript Restriction set for 6/2/2016. (Scalfani, Deborah) (Entered: 03/04/2016)
         03/04/2016   144 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                          the court reporter in the above−captioned matter. Counsel are referred to the Court's
                          Transcript Redaction Policy, available on the court website at
                          http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                          (Entered: 03/04/2016)
         03/11/2016   146 Judge Allison D. Burroughs: STAY ORDER entered. ( Status Conference set for
                          4/25/2016 02:00 PM in Courtroom 17 before Judge Allison D. Burroughs.)(Folan,
                          Karen) (Entered: 03/11/2016)
         04/15/2016   147 Letter/request (non−motion) from Harvard Regarding Discovery of SFFA .
                          (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                          5)(Ellsworth, Felicia) (Entered: 04/15/2016)
         04/21/2016   148 MOTION to Continue Status Conference of April 25, 2016 to April 29, 2016
                          (UNOPPOSED) by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered:
                          04/21/2016)
         04/22/2016   149 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 148 Motion to
                          Continue Status Conference set for 4/29/2016 02:30 PM in Courtroom 17 before Judge
                          Allison D. Burroughs. (Folan, Karen) (Entered: 04/22/2016)
         04/29/2016   150 Letter/request (non−motion) from Students for Fair Admissions . (Attachments: # 1
                          Affidavit Ex A, # 2 Exhibit Ex B, # 3 Affidavit Ex C, # 4 Affidavit Ex D, # 5 Affidavit
                          Ex E)(Consovoy, William) (Entered: 04/29/2016)
         04/29/2016   151 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                          Status Conference held on 4/29/2016. Parties will have two weeks after Fisher to file a
                          letter to the court. Colloquy re: discovery dispute. (Court Reporter: Cheryl Dahlstrom
                          at cheryldahlstrom@comcast.net.)(Attorneys present: various) (Folan, Karen)
                          (Entered: 05/03/2016)

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         05/10/2016   152 Transcript of Status Conference held on April 29, 2016, before Judge Allison D.
                          Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                          the public terminal, or viewed through PACER after it is released. Court Reporter
                          Name and Contact Information: Cheryl Dahlstrom at cheryldahlstrom@comcast.net
                          Redaction Request due 5/31/2016. Redacted Transcript Deadline set for 6/10/2016.
                          Release of Transcript Restriction set for 8/8/2016. (Scalfani, Deborah) (Entered:
                          05/10/2016)
         05/10/2016   153 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                          the court reporter in the above−captioned matter. Counsel are referred to the Court's
                          Transcript Redaction Policy, available on the court website at
                          http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                          (Entered: 05/10/2016)
         05/18/2016   154 Letter/request (non−motion) from Harvard Regarding Discovery of SFFA.
                          (Attachments: # 1 Exhibit Yoga Source v. Choudhury, # 2 Exhibit SFFA Articles of
                          Incorporation and Bylaws)(Ellsworth, Felicia) (Entered: 05/18/2016)
         06/17/2016   155 NOTICE of Appearance by William F. Lee on behalf of President and Fellows of
                          Harvard College (Lee, William) (Entered: 06/17/2016)
         06/27/2016   156 ELECTRONIC NOTICE of Hearing. Status Conference set for 7/20/2016 03:15 PM in
                          Courtroom 17 before Judge Allison D. Burroughs. (Folan, Karen) (Entered:
                          06/27/2016)
         07/08/2016   157 MOTION to Seal Letter by President and Fellows of Harvard College.(Ellsworth,
                          Felicia) (Entered: 07/08/2016)
         07/08/2016   158 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 157
                          Defendant's Motion to File Under Seal Defendant's Unredacted Letter Regarding
                          Implication of Fisher II for this Litigation. (Montes, Mariliz) (Entered: 07/08/2016)
         07/08/2016   159 MOTION to Seal Document (SFFA's letter to Judge Burroughs dated 7.8.16) by
                          Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 07/08/2016)
         07/08/2016   160 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 159 Motion to
                          Seal Document. (Folan, Karen) (Entered: 07/08/2016)
         07/11/2016   161 NOTICE of Appearance by Matthew M. Cregor on behalf of M. B., K. C., Sarah Cole,
                          Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                          Vasquez−Rodriguez, Keyanna Wigglesworth (Cregor, Matthew) (Entered:
                          07/11/2016)
         07/19/2016   164 Assented to MOTION to Seal Unredacted Letter by President and Fellows of Harvard
                          College.(Ellsworth, Felicia) (Entered: 07/19/2016)
         07/19/2016   165 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 164 Motion to
                          Seal. (Folan, Karen) (Entered: 07/19/2016)
         07/20/2016   166 MOTION to Seal SFFA's Unredacted Letter to J. Burroughs by Students for Fair
                          Admissions, Inc..(Caldwell, Benjamin) (Entered: 07/20/2016)
         07/20/2016   167 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 166 Motion to
                          Seal SFFA's Unredacted Letter to J. Burroughs by Students for Fair Admissions, Inc.
                          (Montes, Mariliz) (Entered: 07/20/2016)
         07/20/2016   170 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                          Status Conference held on 7/20/2016. Colloquy re: discovery. (Court Reporter: Carol
                          Scott at carollynnscott@cs.com.)(Attorneys present: Consovoy, Ellsworth, Waxman,
                          Strawbridge, Cregor) (Folan, Karen) (Entered: 07/21/2016)
         07/27/2016   171 Letter/request (non−motion) from Harvard regarding Scope of Discovery. (Ellsworth,
                          Felicia) (Entered: 07/27/2016)
         07/28/2016   172 Letter/request (non−motion) from SFFA to Judge Burroughs responding to Harvard's
                          7.27.16 Letter . (Strawbridge, Patrick) (Entered: 07/28/2016)
         08/04/2016   173 Transcript of Status Conference held on July 20, 2016, before Judge Allison D.
                          Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                          the public terminal, or viewed through PACER after it is released. Court Reporter
                                                     JA64
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                            Name and Contact Information: Carol Scott at carollynnscott@cs.com Redaction
                            Request due 8/25/2016. Redacted Transcript Deadline set for 9/5/2016. Release of
                            Transcript Restriction set for 11/2/2016. (Scalfani, Deborah) (Entered: 08/04/2016)
         08/04/2016   174 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                          the court reporter in the above−captioned matter. Counsel are referred to the Court's
                          Transcript Redaction Policy, available on the court website at
                          http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                          (Entered: 08/04/2016)
         08/11/2016   175 Letter/request (non−motion) from Students for Fair Admissions, Inc. . (Strawbridge,
                          Patrick) (Entered: 08/11/2016)
         08/29/2016   176 ELECTRONIC NOTICE of Hearing. Status Conference set for 9/6/2016 09:30 AM in
                          Courtroom 17 before Judge Allison D. Burroughs. Status Conference to address
                          disputed issues with respect to Harvard's production of various databases.(Folan,
                          Karen) (Entered: 08/29/2016)
         08/30/2016   177 Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Daniel
                          Winik Filing fee: $ 100, receipt number 0101−6270154 by President and Fellows of
                          Harvard College.(Ellsworth, Felicia) (Entered: 08/30/2016)
         08/31/2016   178 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 177 Motion for
                          Leave to Appear Pro Hac Vice Added Daniel Winik. Attorneys admitted Pro Hac
                          Vice must register for electronic filing if the attorney does not already have an
                          ECF account in this district. To register go to the Court website at
                          www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                          (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                          83.5.3, local counsel shall also file an appearance in this matter. Further, local counsel
                          shall review all filings and shall personally appear in Court for any hearings or
                          conferences, unless expressly excused by the Court for good cause. (Montes, Mariliz)
                          (Entered: 08/31/2016)
         09/01/2016   179 NOTICE of Appearance by Oren M. Sellstrom on behalf of M. B., K. C., Sarah Cole,
                          Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                          Vasquez−Rodriguez, Keyanna Wigglesworth (Sellstrom, Oren) (Entered: 09/01/2016)
         09/01/2016   180 Judge Allison D. Burroughs: ORDER entered. AMENDED SCHEDULING ORDER:
                          Amended Pleadings due by 9/15/2016; Fact Discovery to be completed by 6/20/2017
                          Dispositive Motions due by 3/2/2018. (Montes, Mariliz) (Entered: 09/02/2016)
         09/06/2016   182 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                          Status Conference held on 9/6/2016. Colloquy re: pending motion, discovery issues,
                          depositions, confidentiality designations. (Court Reporter: Carol Scott at
                          carollynnscott@cs.com.)(Attorneys present: various) (Folan, Karen) (Entered:
                          09/09/2016)
         09/07/2016   181 Judge Allison D. Burroughs: ORDER on Various Discovery Disputes entered.
                          (Montes, Mariliz) (Entered: 09/07/2016)
         09/22/2016   183 Assented to MOTION to Seal Memorandum and Supporting Materials in Support of
                          Defendant's Motion to Dismiss by President and Fellows of Harvard
                          College.(Ellsworth, Felicia) (Entered: 09/22/2016)
         09/23/2016   184 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 183 Motion to
                          Seal (Folan, Karen) (Entered: 09/23/2016)
         09/23/2016   185 MOTION for Judgment on the Pleadings on Counts IV and VI by President and
                          Fellows of Harvard College.(Waxman, Seth) (Entered: 09/23/2016)
         09/23/2016   186 MEMORANDUM in Support re 185 MOTION for Judgment on the Pleadings on
                          Counts IV and VI filed by President and Fellows of Harvard College. (Waxman, Seth)
                          (Entered: 09/23/2016)
         09/23/2016   187 MOTION to Dismiss for Lack of Jurisdiction by President and Fellows of Harvard
                          College.(Waxman, Seth) (Entered: 09/23/2016)



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         09/23/2016   188 DECLARATION re 187 MOTION to Dismiss for Lack of Jurisdiction by President
                          and Fellows of Harvard College. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                          Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, #
                          9 Exhibit I)(Ellsworth, Felicia) (Additional attachment(s) added on 9/27/2016: # 10
                          Exhibit A (unredacted), # 11 Exhibit B (unredacted), # 12 Exhibit C (unredacted), # 13
                          Exhibit E (unredcted), # 14 Exhibit F (unredacted), # 15 Exhibit G (unredacted))
                          (Montes, Mariliz). (Entered: 09/23/2016)
         09/26/2016   189 Letter/request (non−motion) from SFFA in response to motions filed by Harvard.
                          (Strawbridge, Patrick) (Entered: 09/26/2016)
         09/26/2016   190 MEMORANDUM in Support re 187 MOTION to Dismiss for Lack of Jurisdiction
                          (Redacted) filed by President and Fellows of Harvard College. (Waxman, Seth)
                          (Additional attachment(s) added on 9/27/2016: # 1 (Unredacted) Memorandum in
                          Supp.) (Montes, Mariliz). (Entered: 09/26/2016)
         09/29/2016   191 Letter/request (non−motion) from Harvard in response to SFFA's letter/request (Dkt.
                          189). (Waxman, Seth) (Entered: 09/29/2016)
         09/30/2016   192 Letter/request (non−motion) from SFFA in Response to Harvard's Letter of September
                          29, 2016. (Strawbridge, Patrick) (Entered: 09/30/2016)
         10/03/2016   193 Transcript of Status Conference held on September 6, 2016, before Judge Allison D.
                          Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                          the public terminal, or viewed through PACER after it is released. Court Reporter
                          Name and Contact Information: Carol Scott at carollynnscott@cs.com Redaction
                          Request due 10/24/2016. Redacted Transcript Deadline set for 11/3/2016. Release of
                          Transcript Restriction set for 1/2/2017. (Scalfani, Deborah) (Entered: 10/03/2016)
         10/03/2016   194 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                          the court reporter in the above−captioned matter. Counsel are referred to the Court's
                          Transcript Redaction Policy, available on the court website at
                          http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                          (Entered: 10/03/2016)
         10/05/2016   196 STIPULATION re 187 MOTION to Dismiss for Lack of Jurisdiction , 185 MOTION
                          for Judgment on the Pleadings on Counts IV and VI (Stipulation to Enlarge Time to
                          File an Opposition) by Students for Fair Admissions, Inc.. (Caldwell, Benjamin)
                          (Entered: 10/05/2016)
         10/06/2016   197 ELECTRONIC ENDORSEMENT APPROVING 196 Stipulation to Enlarge Time to
                          File an Opposition, filed by Students for Fair Admissions, Inc. (Folan, Karen)
                          (Entered: 10/06/2016)
         10/19/2016   199 MEMORANDUM in Support re 185 MOTION for Judgment on the Pleadings on
                          Counts IV and VI filed by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J.
                          L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez−Rodriguez, Keyanna
                          Wigglesworth. (Culleen, Lawrence) (Entered: 10/19/2016)
         10/20/2016   200 Letter/request (non−motion) from Harvard regarding document production.
                          (Ellsworth, Felicia) (Entered: 10/20/2016)
         10/20/2016   201 Assented to MOTION to Seal Document (Opposition Memorandums and Supporting
                          Materials) by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered:
                          10/20/2016)
         10/21/2016   202 MEMORANDUM in Opposition re 185 MOTION for Judgment on the Pleadings on
                          Counts IV and VI (Redacted) filed by Students for Fair Admissions, Inc.. (Consovoy,
                          William) (Additional attachment(s) added on 10/27/2016: # 1 Sealed− Memorandum
                          in Opposition for Judgment on the Pleadings) (Montes, Mariliz). (Entered:
                          10/21/2016)
         10/21/2016   203 DECLARATION re 202 Memorandum in Opposition to Motion by Students for Fair
                          Admissions, Inc.. (Attachments: # 1 Exhibit A (Redacted))(Consovoy, William)
                          (Additional attachment(s) added on 10/27/2016: # 2 Exhibit Sealed Exhibit to the
                          Declaration of William S. Consovoy) (Montes, Mariliz). (Entered: 10/21/2016)



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         10/21/2016   204 MEMORANDUM in Opposition re 187 MOTION to Dismiss for Lack of Jurisdiction
                          (Redacted) filed by Students for Fair Admissions, Inc.. (Consovoy, William)
                          (Additional attachment(s) added on 10/27/2016: # 1 Sealed MEMORANDUM in
                          Opposition 187 MOTION to Dismiss) (Montes, Mariliz). (Entered: 10/21/2016)
         10/21/2016   205 DECLARATION re 204 Memorandum in Opposition to Motion (Redacted) by
                          Students for Fair Admissions, Inc.. (Attachments: # 1 Exhibit A (Redacted), # 2
                          Exhibit B (Redacted), # 3 Exhibit C (Redacted), # 4 Exhibit D (Redacted), # 5 Exhibit
                          E (Redacated), # 6 Exhibit F, # 7 Exhibit G (Redacted), # 8 Exhibit H, # 9 Exhibit I, #
                          10 Exhibit J (Redacted), # 11 Exhibit K (Redacted), # 12 Exhibit L (Redacted), # 13
                          Exhibit M (Redacted), # 14 Exhibit N (Redacted), # 15 Exhibit O (Redacted), # 16
                          Exhibit P (Redacted), # 17 Exhibit Q (Redacted), # 18 Exhibit R (Redacted), # 19
                          Exhibit S (Redacted), # 20 Exhibit T (Redacted), # 21 Exhibit U)(Consovoy, William)
                          (Additional attachment(s) added on 10/27/2016: # 22 Sealed Version: Plaintiff's
                          Opposition to Defendant's Motion to Dismiss, # 23 Exhibit Sealed Exhibit A to
                          Declaraiton of W. S. Convoy, # 24 Exhibit Sealed Exhibit B to Declaraiton of W. S.
                          Convoy, # 25 Exhibit Sealed Exhibit C to Declaraiton of W. S. Convoy, # 26 Exhibit
                          Sealed Exhibit D to Declaraiton of W. S. Convoy, # 27 Exhibit Sealed Exhibit E to
                          Declaraiton of W. S. Convoy, # 28 Exhibit Sealed Exhibit F to Declaraiton of W. S.
                          Convoy, # 29 Exhibit Sealed Exhibit G to Declaraiton of W. S. Convoy, # 30 Exhibit
                          Sealed Exhibit H to Declaraiton of W. S. Convoy, # 31 Sealed Exhibit I to Declaration
                          of W. S. Convoy, # 32 Exhibit Sealed Exhibit J to Declaration of W. S. Convoy, # 33
                          Exhibit Sealed Exhibit K to Declaration of W. S. Convoy, # 34 Exhibit Sealed Exhibit
                          L to Declaration of W. S. Convoy, # 35 Exhibit Sealed Exhibit M to Declaration of W.
                          S. Convoy, # 36 Exhibit Sealed Exhibit N to Declaration of W. S. Convoy, # 37
                          Exhibit Sealed Exhibit O to Declaration of W. S. Convoy, # 38 Exhibit Sealed Exhibit
                          P to Declaration of W. S. Convoy, # 39 Exhibit Sealed Exhibit Q to Declaration of W.
                          S. Convoy, # 40 Exhibit Sealed Exhibit R to Declaration of W. S. Convoy, # 41
                          Exhibit Sealed Exhibit S to Declaration of W. S. Convoy, # 42 Exhibit Sealed Exhibit
                          T to Declaration of W. S. Convoy, # 43 Exhibit Sealed Exhibit U to Declaration of W.
                          S. Convoy) (Montes, Mariliz). (Entered: 10/21/2016)
         10/24/2016   206 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 201 Motion to
                          Seal Document (Folan, Karen) (Entered: 10/24/2016)
         11/01/2016   209 Assented to MOTION to Seal SFFA's Unredacted Letter to J. Burroughs and
                          accompanying documents by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                          (Entered: 11/01/2016)
         11/01/2016   210 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 209 Motion to
                          Seal (Folan, Karen) (Entered: 11/01/2016)
         11/03/2016   211 MOTION for Leave to File Reply Memorandum in Support of Motion for Judgment on
                          the Pleadings by President and Fellows of Harvard College.(Waxman, Seth) (Entered:
                          11/03/2016)
         11/03/2016   212 MOTION for Leave to File Reply Memorandum in Support of Motion to Dismiss by
                          President and Fellows of Harvard College.(Waxman, Seth) (Entered: 11/03/2016)
         11/03/2016   213 MOTION to Seal Document Reply Memorandum and Exhibit in Support of Motion to
                          Dismiss by President and Fellows of Harvard College.(Ellsworth, Felicia) (Entered:
                          11/03/2016)
         11/03/2016   215 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 211 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                          (date of order)− in the caption of the document. (Folan, Karen) (Entered: 11/03/2016)
         11/03/2016   216 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 212 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                          (date of order)− in the caption of the document. (Folan, Karen) (Entered: 11/03/2016)
         11/03/2016   217 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 213 Motion to
                          Seal Document (Folan, Karen) (Entered: 11/03/2016)

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         11/04/2016   218 REPLY to Response to 185 MOTION for Judgment on the Pleadings on Counts IV
                          and VI filed by President and Fellows of Harvard College. (Waxman, Seth) (Entered:
                          11/04/2016)
         11/04/2016   219 DECLARATION re Reply Memorandum in Support of Motion to Dismiss by President
                          and Fellows of Harvard College. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                          Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Ellsworth, Felicia) (Additional attachment(s)
                          added on 11/8/2016: # 6 Exhibit A (sealed)) (Montes, Mariliz). (Entered: 11/04/2016)
         11/08/2016   220 REPLY to Response to 187 MOTION to Dismiss for Lack of Jurisdiction (Redacted)
                          filed by President and Fellows of Harvard College. (Waxman, Seth) (Additional
                          attachment(s) added on 11/8/2016: # 1 Sealed Reply Memorandum in Support of
                          Defendant's Motion to Dismiss) (Montes, Mariliz). (Entered: 11/08/2016)
         12/01/2016   222 Assented to MOTION to Seal SFFA's Motions to Compel by Students for Fair
                          Admissions, Inc..(Caldwell, Benjamin) (Entered: 12/01/2016)
         12/05/2016   223 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 222 Motion to
                          Seal (Folan, Karen) (Entered: 12/05/2016)
         12/12/2016   228 MOTION for Leave to Appear Pro Hac Vice for admission of Nicole Gon Ochi Filing
                          fee: $ 100, receipt number 0101−6410623 by M. B., K. C., Sarah Cole, Y. D., G. E.,
                          A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                          Vasquez−Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit Certificate of
                          Good Standing, # 2 Exhibit Declaration)(Cregor, Matthew) (Entered: 12/12/2016)
         12/12/2016   229 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 228 Motion for
                          Leave to Appear Pro Hac Vice Added Nicole K. Ochi. Attorneys admitted Pro Hac
                          Vice must register for electronic filing if the attorney does not already have an
                          ECF account in this district. To register go to the Court website at
                          www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                          (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                          83.5.3, local counsel shall also file an appearance in this matter. Further, local counsel
                          shall review all filings and shall personally appear in Court for any hearings or
                          conferences, unless expressly excused by the Court for good cause. (Montes, Mariliz)
                          (Entered: 12/12/2016)
         12/12/2016   230 MOTION for Leave to File to Participate as Amici Curiae by M. B., K. C., Sarah
                          Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R.
                          S., Itzel Vasquez−Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit, # 2
                          Exhibit)(Culleen, Lawrence) (Entered: 12/12/2016)
         12/19/2016   231 MOTION to Seal Oppositions to SFFA's Motions to Compel by President and Fellows
                          of Harvard College.(Ellsworth, Felicia) (Entered: 12/19/2016)
         12/19/2016   232 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 231 Motion to
                          Seal (Folan, Karen) (Entered: 12/19/2016)
         12/22/2016   236 Assented to MOTION for Leave to File Reply Memoranda in Support of SFFA's Two
                          Pending Motions to Compel by Students for Fair Admissions, Inc..(Caldwell,
                          Benjamin) (Entered: 12/22/2016)
         12/22/2016   237 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 236 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                          (date of order)− in the caption of the document. (Folan, Karen) (Entered: 12/22/2016)
         01/03/2017   238 Assented to MOTION to Seal Reply Memoranda in Support of SFFA's Two Pending
                          Motions to Compel by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                          (Entered: 01/03/2017)
         01/03/2017   239 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 238 Motion to
                          Seal (Folan, Karen) (Entered: 01/03/2017)
         01/05/2017   240 Letter/request (non−motion) from SFFA regarding discovery matters. (Strawbridge,
                          Patrick) (Entered: 01/05/2017)


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         01/18/2017   244 Judge Allison D. Burroughs: ELECTRONIC ORDER entered 230 Motion for Leave to
                          Participate As Amici Curiae is GRANTED. The students J.F. and M.A. are allowed to
                          participate in this matter as amici curiae alongside the current amici curiae and under
                          the same terms and conditions. [ECF No. 52]. (Montes, Mariliz) (Entered: 01/18/2017)
         02/02/2017   245 Joint MOTION to Seal Letters Regarding Production Of Reviewer Comments by
                          President and Fellows of Harvard College.(Ellsworth, Felicia) (Entered: 02/02/2017)
         02/03/2017   246 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 245 Motion to
                          Seal (Folan, Karen) (Entered: 02/03/2017)
         02/08/2017   249 NOTICE of Appearance by Andrew S. Dulberg on behalf of President and Fellows of
                          Harvard College (Dulberg, Andrew) (Entered: 02/08/2017)
         02/08/2017   250 NOTICE of Appearance by Elizabeth C. Mooney on behalf of President and Fellows
                          of Harvard College (Mooney, Elizabeth) (Entered: 02/08/2017)
         03/13/2017   251 Assented to MOTION for Order to Produce Applicant Files by President and Fellows
                          of Harvard College. (Attachments: # 1 Text of Proposed Order Proposed Order for
                          Application Files)(Ellsworth, Felicia) (Entered: 03/13/2017)
         03/13/2017   252 Judge Allison D. Burroughs: ORDER entered granting 251 Motion for Order. (Folan,
                          Karen) (Entered: 03/13/2017)
         03/13/2017   253 Assented to MOTION to Seal Motion to Quash Subpoenas and Deposition Notices or
                          for a Protective Order by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                          (Entered: 03/13/2017)
         03/15/2017   254 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 253 Motion to
                          Seal (Folan, Karen) (Entered: 03/15/2017)
         03/21/2017   258 Assented to MOTION to Seal Motion for a Protective Order and to Quash Deposition
                          Notices by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered:
                          03/21/2017)
         03/21/2017   259 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 258 Motion to
                          Seal (Folan, Karen) (Entered: 03/21/2017)
         03/28/2017   263 Assented to MOTION to Seal Document Opposition to SFFA's Motion to Quash
                          Subpoenas and Deposition Notices or For a Protective Order by President and
                          Fellows of Harvard College.(Ellsworth, Felicia) (Entered: 03/28/2017)
         03/29/2017   264 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 263 Motion to
                          Seal Document (Folan, Karen) (Entered: 03/29/2017)
         03/31/2017   265 Assented to MOTION for Leave to File Reply Memorandum in Support of SFFA's
                          Motion to Quash Subpoenas and Deposition Notices or for a Protective Order by
                          Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 03/31/2017)
         04/03/2017   267 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 265 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                          (date of order)− in the caption of the document. (Folan, Karen) (Entered: 04/03/2017)
         04/03/2017   268 Assented to MOTION to Seal Document Harvard's Opposition to SFFA's Motion for a
                          Protective Order and to Quash Deposition Notices by President and Fellows of
                          Harvard College.(Ellsworth, Felicia) (Entered: 04/03/2017)
         04/03/2017   269 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 268 Motion to
                          Seal Document (Folan, Karen) (Entered: 04/03/2017)
         04/03/2017   270 Assented to MOTION to Seal Document SFFA's Reply in Support of its Motion to
                          Quash Subpoenas and Deposition Notices or for a Protective Order by Students for
                          Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 04/03/2017)
         04/03/2017   271 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 270 Motion to
                          Seal Document (Folan, Karen) (Entered: 04/03/2017)


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         04/06/2017   272 First MOTION to Quash Plaintiff's Subpoena to BLS by Boston Public Schools.(Seich,
                          Jennifer) (Main Document 272 replaced on 4/10/2017) (Montes, Mariliz). (Entered:
                          04/06/2017)
         04/06/2017   276 MEMORANDUM in Support of 272 First MOTION to Quash Plaintiff's Subpoena to
                          BLS filed by Boston Public Schools. (Attachments: # 1 Exhibit 1)(Montes, Mariliz)
                          (Entered: 04/10/2017)
         04/07/2017   275 Assented to MOTION to Seal SFFA's Motions to Compel by Students for Fair
                          Admissions, Inc..(Caldwell, Benjamin) (Entered: 04/07/2017)
         04/10/2017   277 Notice of correction to docket made by Court staff. Correction: Docket 272 corrected
                          by detaching memorandum and it's exhibit and re−docketing as a separate docket
                          entry. (Montes, Mariliz) (Entered: 04/10/2017)
         04/10/2017   278 Assented to MOTION for Leave to File Reply Memorandum in Support of SFFA's
                          Motion for a Protective Order and to Quash Deposition Notices by Students for Fair
                          Admissions, Inc..(Caldwell, Benjamin) (Entered: 04/10/2017)
         04/10/2017   279 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 275
                          Assented−To Motion to Under Seal Two Motions to Compel; granting 278 Plaintiff's
                          Assented−To Motion for Leave to File a Reply Memorandum in Support of Its Motion
                          for a Protective Order and to Quash Deposition Notices ; Counsel using the Electronic
                          Case Filing System should now file the document for which leave to file has been
                          granted in accordance with the CM/ECF Administrative Procedures. Counsel must
                          include − Leave to file granted on (date of order)− in the caption of the document.
                          (Montes, Mariliz) (Entered: 04/10/2017)
         04/10/2017   280 Assented to MOTION to Seal Reply Memorandum in Support of SFFA's Motion for a
                          Protective Order and to Quash Deposition Notices by Students for Fair Admissions,
                          Inc..(Caldwell, Benjamin) (Entered: 04/10/2017)
         04/10/2017   281 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 280 Plaintiff's
                          Assented−to Motion to File Under Seal Reply Memorandum in Support of Motion for
                          a Protective Order and to Quash Deposition Notices (Montes, Mariliz) (Entered:
                          04/10/2017)
         04/11/2017   282 Assented to MOTION to Seal SFFA's Letter Motion Regarding Depositions and
                          Custodians by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered:
                          04/11/2017)
         04/11/2017   283 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 282 Plaintiff's
                          Assented−To Motion to File Under Seal Plaintiff's Letter Motion Regarding
                          Depositions and Custodians. (Montes, Mariliz) (Entered: 04/11/2017)
         04/12/2017   288 Letter/request (non−motion) from SFFA to Judge Burroughs Requesting Conference.
                          (Strawbridge, Patrick) (Entered: 04/12/2017)
         04/14/2017   291 Letter/request (non−motion) from Harvard in Response to Letter from SFFA (Dkt.
                          288). (Ellsworth, Felicia) (Entered: 04/14/2017)
         04/18/2017   292 Assented to MOTION to Seal Document Harvard's Oppositions to SFFA's Motions to
                          Compel Production of Unredacted Documents and Application Files by President and
                          Fellows of Harvard College.(Ellsworth, Felicia) (Entered: 04/18/2017)
         04/19/2017   293 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 292 Harvard's
                          Assented− Motion to File Under Seal Harvard's Oppositions to SFFA's Motions to
                          Compel (Montes, Mariliz) (Entered: 04/19/2017)
         04/20/2017   294 Opposition re 272 First MOTION to Quash Plaintiff's Subpoena to BLS filed by
                          Students for Fair Admissions, Inc.. (Attachments: # 1 Notice of Subpoena to Boston
                          Latin School, # 2 Notice of Subpoena to Thomas Jefferson High School for Science
                          and Technology, # 3 Notice of Subpoena to Stuyvesant High School, # 4 Notice of
                          Subpoena to Monta Vista High School)(Strawbridge, Patrick) (Entered: 04/20/2017)
         04/26/2017   295 Assented to MOTION for Leave to File Reply Memoranda in Support of SFFA's Two
                          Pending Motions to Compel by Students for Fair Admissions, Inc..(Caldwell,
                          Benjamin) (Entered: 04/26/2017)


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         04/27/2017   298 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 295 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                          (date of order)− in the caption of the document. (Folan, Karen) (Entered: 04/27/2017)
         04/27/2017   299 Assented to MOTION to Seal Reply Memoranda in Support of SFFA's Two Pending
                          Motions to Compel by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                          (Entered: 04/27/2017)
         04/28/2017   300 Assented to MOTION to Seal Document Harvard's Response Letter to SFFA's April
                          12, 2017 Letter Motion re Depositions and Custodians by President and Fellows of
                          Harvard College.(Ellsworth, Felicia) (Entered: 04/28/2017)
         04/28/2017   301 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 299 Motion to
                          Seal (Folan, Karen) (Entered: 04/28/2017)
         05/01/2017   302 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 300 Motion to
                          Seal Document (Folan, Karen) (Entered: 05/01/2017)
         05/02/2017   303 Letter/request (non−motion) from SFFA to Judge Burroughs Requesting Status
                          Conference This Week to Address Urgent Discovery Matters . (Strawbridge, Patrick)
                          (Entered: 05/02/2017)
         05/05/2017   304 Assented to MOTION to Seal SFFA's Emergency Application by Students for Fair
                          Admissions, Inc..(Caldwell, Benjamin) (Entered: 05/05/2017)
         05/05/2017   305 Judge Allison D. Burroughs: ELECTRONIC ORDER entered. SFFAs motions to
                          quash certain subpoenas [ECF Nos. 255, 260] are DENIED. SFFA failed to meet its
                          burden under Fed. R. Civ. P. 45(d)(3). Because of the broad understanding of what
                          constitutes relevant discovery, it is very unusual for a court to prohibit the taking of a
                          deposition altogether. Green v. Cosby, 152 F. Supp. 3d 31, 35 (D. Mass. 2015),
                          modified on reconsideration on other grounds, 160 F. Supp. 3d 431 (D. Mass. 2016)
                          (quoting E.E.O.C. v. FreudenbergNOK Gen. P'ship, No. 07 Civ. 406, 2009 WL
                          909571, at *3 (D.N.H. Apr. 3, 2009)). Moreover, at this stage, the Court will not
                          unduly fetter the parties ability to develop a complete factual record. (Folan, Karen)
                          (Entered: 05/05/2017)
         05/05/2017   306 Judge Allison D. Burroughs: ELECTRONIC ORDER entered denying as moot 304
                          Motion to Seal. (Folan, Karen) (Entered: 05/05/2017)
         05/09/2017   307 Judge Allison D. Burroughs: ELECTRONIC ORDER entered Boston Latin's motion
                          to quash SFFA's subpoena to BLS [ECF No. 272] is GRANTED IN PART and
                          DENIED IN PART. BLS will not be required to produce documents or information
                          that were prepared by or shared with Harvard. However, BLS is hereby ordered to
                          produce the following: (1) documents from the Relevant Period prepared by BLS
                          concerning the racial composition of applicants, admitted persons, or enrollees to
                          Harvard, excluding documents that merely aggregate statistical information; (2) all
                          internal communications from the Relevant Period by or among BLS employees or
                          agents regarding Harvard's use of race in the admissions process; (3) any documents
                          from the Relevant Period that describe any alleged discrimination by Harvard against
                          persons of Asian descent in the college admissions process; and (4) all non−privileged
                          communications during the Relevant Period concerning SFFA or this litigation.
                          Furthermore, SFFA may depose a BLS representative. The motion to quash is
                          otherwise granted. This is meant to minimize the burden on non−party BLS, while also
                          ensuring the availability of information and the integrity of the discovery process.
                          (Montes, Mariliz) Modified on 5/9/2017 NEF Regenerated.(Montes, Mariliz).
                          (Entered: 05/09/2017)
         05/10/2017   311 Assented to MOTION to Seal SFFA's Reply in Support of its Letter Motion Regarding
                          Depositions and Custodians by Students for Fair Admissions, Inc..(Caldwell,
                          Benjamin) (Entered: 05/10/2017)
         05/11/2017   312 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 311 Motion to
                          Seal (Folan, Karen) (Entered: 05/11/2017)
         05/19/2017   314 Assented to MOTION to Seal SFFA'S Letter Motion Requesting Production of
                          Performance Reports by Students for Fair Admissions, Inc..(Caldwell, Benjamin)

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                            (Entered: 05/19/2017)
         05/19/2017   315 Letter/request (non−motion) from SFFA requesting stay of discovery deadlines.
                          (Strawbridge, Patrick) (Entered: 05/19/2017)
         05/22/2017   316 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 314 Motion to
                          Seal (Folan, Karen) (Entered: 05/22/2017)
         05/23/2017   318 Letter/request (non−motion) from Harvard in Response to the May 19, 2017 Letter 315
                          from SFFA. (Ellsworth, Felicia) (Entered: 05/23/2017)
         05/24/2017   319 Letter/request (non−motion) from SFFA in response to Harvard's letter of May 23
                          regarding stay of discovery deadlines. (Strawbridge, Patrick) (Entered: 05/24/2017)
         05/26/2017   320 STIPULATION re 307 Order on Motion to Quash,,,,, (Joint Stipulation between SFFA
                          and Boston Latin School re: SFFA's Subpoena for Documents and Testimony) by
                          Boston Public Schools, Students for Fair Admissions, Inc.. (Attachments: # 1 Text of
                          Proposed Order)(Caldwell, Benjamin) (Entered: 05/26/2017)
         05/30/2017   321 Judge Allison D. Burroughs: ORDER entered re 320 Stipulation, filed by Boston
                          Public Schools, Students for Fair Admissions, Inc. (Folan, Karen) (Entered:
                          05/30/2017)
         05/31/2017   322 Assented to MOTION to Seal Document Harvard's Response Letter to SFFA's Letter
                          Motion regarding Performance Reports by President and Fellows of Harvard
                          College.(Ellsworth, Felicia) (Entered: 05/31/2017)
         05/31/2017   323 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 322 Motion to
                          Seal Document (Folan, Karen) (Entered: 05/31/2017)
         06/02/2017   324 Judge Allison D. Burroughs: ORDER entered. MEMORANDUM AND ORDER.
                          "...Accordingly, Harvards motion to dismiss for lack of subject matter jurisdiction
                          [ECF No. 187] is DENIED. SO ORDERED."(Folan, Karen) (Entered: 06/02/2017)
         06/02/2017   325 Judge Allison D. Burroughs: ORDER entered. MEMORANDUM AND ORDER.
                          "...Accordingly, Harvards motion for partial judgment on the pleadings as to Count IV
                          and VI [ECF No. 185] is GRANTED. SO ORDERED."(Folan, Karen) (Entered:
                          06/02/2017)
         06/16/2017   327 Assented to MOTION to Seal SFFA's Reply Letter in support of its Letter Motion
                          regarding Performance Reports by Students for Fair Admissions, Inc..(Caldwell,
                          Benjamin) (Entered: 06/16/2017)
         06/16/2017   329 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 327 Motion to
                          Seal (Folan, Karen) (Entered: 06/16/2017)
         06/21/2017   331 Assented to MOTION to Seal Document Harvard's Letter to the Court regarding June
                          6, 2017 Discovery Order by President and Fellows of Harvard College.(Ellsworth,
                          Felicia) (Entered: 06/21/2017)
         06/21/2017   332 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 331 Motion to
                          Seal Document (Folan, Karen) (Entered: 06/21/2017)
         06/27/2017   334 Joint MOTION to Amend September 1, 2016 Amended Scheduling Order by President
                          and Fellows of Harvard College.(Ellsworth, Felicia) (Entered: 06/27/2017)
         06/27/2017   335 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 334 Motion to
                          Amend. In light of the Court's extension of the fact discovery deadline until August 4,
                          2017 [ECF No. 326], the September 1, 2016 Scheduling Order [ECF No. 180] is
                          amended as follows. Plaintiffs experts shall be designated and the information required
                          by Fed. R. Civ. P. 26(a)(2) shall be disclosed by October 3, 2017. Defendants experts
                          shall be designated and the information required by Fed. R. Civ. P. 26(a)(2) shall be
                          disclosed by December 2, 2017. Plaintiffs rebuttal expert reports shall be disclosed by
                          January 16, 2018. Defendants rebuttal expert reports shall be disclosed by February 26,
                          2018. All expert discovery, including expert depositions, shall be completed by May 1,
                          2018. All dispositive motions under Fed. R. Civ. P. 56 shall be filed by June 15, 2018.
                          Opposition briefs shall be filed by July 30, 2018. Reply briefs shall be filed by August
                          30, 2018. (Folan, Karen) (Entered: 06/27/2017)


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         06/28/2017   336 Reset Scheduling Order Deadlines: Fact Discovery to be completed by 8/4/2017,
                          Dispositive Motions due by 6/15/2018, Oppositions due by 7/30/2018, Replies due by
                          8/30/2018. (Montes, Mariliz) (Entered: 06/28/2017)
         07/07/2017   338 Letter/request (non−motion) from SFFA to Judge Burroughs (Emergency Request for
                          Judicial Intervention and Relief re: scheduling dispute) . (Strawbridge, Patrick)
                          (Entered: 07/07/2017)
         07/11/2017   339 Judge Allison D. Burroughs: ELECTRONIC ORDER entered. On July 7, 2017, SFFA
                          requested that the Court order certain witness depositions to be taken on a weekend or,
                          alternatively, that those depositions be quashed. [ECF No. 338]. Although the Court
                          strongly urges the parties to work to accommodate witness schedules, the Court will
                          not require that depositions be taken on a weekend over the objection of either party.
                          Further, an unwillingness to take depositions over a weekend does not justify quashing
                          the depositions in their entirety.(Folan, Karen) (Entered: 07/11/2017)
         08/01/2017   340 Assented to MOTION to Seal SFFA's Request for Judicial Intervention and Relief by
                          Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 08/01/2017)
         08/02/2017   341 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 340 Motion to
                          Seal (Folan, Karen) (Entered: 08/02/2017)
         08/02/2017   342 Assented to MOTION to Seal Document Harvard's Response to SFFA's August 1,
                          2017 Letter by President and Fellows of Harvard College.(Ellsworth, Felicia)
                          (Entered: 08/02/2017)
         08/02/2017   343 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 342 Motion to
                          Seal Document (Folan, Karen) (Entered: 08/02/2017)
         08/03/2017   345 Assented to MOTION to Seal SFFA's Reply in Support of its August 1, 2017 Request
                          for Judicial Intervention and Relief by Students for Fair Admissions, Inc..(Caldwell,
                          Benjamin) (Entered: 08/03/2017)
         08/03/2017   346 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 345 Motion to
                          Seal (Folan, Karen) (Entered: 08/03/2017)
         08/07/2017   349 Assented to MOTION to Seal SFFA's Letter Motion Regarding Summary Sheets by
                          Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 08/07/2017)
         08/07/2017   350 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 349 Plaintiff's
                          Assented−To Motion to File Under Seal Plaintiff's Letter Motion Regarding Summary
                          Sheets (Montes, Mariliz) (Entered: 08/07/2017)
         08/07/2017   351 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                            The Court is very reluctant to allow SFFA the additional deposition that it now seeks.
                            [ECF No. 344]. The discovery period has ended. Further, the potential deponent
                            clearly qualifies as a party, and SFFA has used all of its allotted party depositions. The
                            testimony sought seems largely duplicative of information already obtained and of
                            marginal utility. The Court would be well within its bounds to decline the request for
                            the above reasons as well as other reasons set forth by Harvard in its opposition [ECF
                            No. 347]. That being said, the Court is equally reluctant to force this case to go
                            forward without a fully developed factual record, particularly where there is only one
                            additional deposition sought and where Harvard arguably should have disclosed the
                            name of the deponent earlier. Out of an abundance of caution and trying to fairly
                            balance the interests of the parties, the Court will allow the deposition to go forward
                            under the following conditions: the deposition will be limited to two (2) hours and will
                            take place at a location and time convenient for the deponent and Harvard, with SFFA
                            to bear all the costs of the deposition, including reasonable attorneys fees and costs
                            incurred by Harvard. See San Francisco Health Plan v. McKesson Corp., 264 F.R.D.
                            20, 21 (D. Mass. 2010) (ordering party seeking additional depositions to pay
                            associated costs because a balance must be struck between upholding the limitations of
                            the rule and the reasons for those limitations on the one hand and counsel's judgment
                            as to the needs of his or her case on the other). Alternatively, the parties can agree on a
                            different format, including allowing the deponent to respond to written questions.
                            (Montes, Mariliz) (Entered: 08/07/2017)


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         08/11/2017   353 MOTION to Seal Document Harvard's Response to SFFA's Letter Motion regarding
                          Summary Sheets by President and Fellows of Harvard College.(Ellsworth, Felicia)
                          (Entered: 08/11/2017)
         08/11/2017   354 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 353 Motion to
                          Seal Document (Folan, Karen) (Entered: 08/11/2017)
         08/23/2017   355 Letter/request (non−motion) from SFFA . (Strawbridge, Patrick) (Entered:
                          08/23/2017)
         08/25/2017   357 Assented to MOTION to Seal SFFA's Reply in Support of its Letter Motion Regarding
                          Summary Sheets by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered:
                          08/25/2017)
         08/28/2017   358 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 357 Motion to
                          Seal (Folan, Karen) (Entered: 08/28/2017)
         08/31/2017   359 Letter/request (non−motion) from Harvard in Response to Aug. 23, 2017 Letter from
                          SFFA . (Ellsworth, Felicia) (Entered: 08/31/2017)
         08/31/2017   360 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                           The Court is in receipt of letters from both parties. [ECF Nos. 355, 359]. Despite the
                           fact that discovery had closed and SFFA had used all of its allotted party depositions,
                           the Court allowed one additional deposition to go forward with the understanding that
                           SFFA would bear all of the reasonable associated expenses, including Harvard's
                           attorneys' fees. [ECF No. 351]. SFFA has not presented compelling grounds to
                           reconsider that decision. The estimate provided by Harvard is not unreasonable on its
                           face. SFFA may challenge the reasonableness of the fees and costs after they have
                           accrued or forego the deposition, which again appears to seek information that is
                           marginal, duplicative, and disproportionate.(Montes, Mariliz) (Entered: 08/31/2017)
         09/20/2017   363 Joint MOTION to Amend 335 Order on Motion to Amend,,, Scheduling Order by
                          Students for Fair Admissions, Inc..(Strawbridge, Patrick) (Entered: 09/20/2017)
         09/22/2017   364 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 363 Motion to
                          Amend scheduling order (Folan, Karen) (Entered: 09/22/2017)
         12/21/2017   365 Assented to MOTION to Seal SFFA's Motion to Compel Regarding Harvard's
                          Privilege Log by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered:
                          12/21/2017)
         12/22/2017   366 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 365 Motion to
                          Seal (Folan, Karen) (Entered: 12/22/2017)
         12/27/2017   369 STIPULATION to Enlarge Time to file an Opposition to Plaintiff's Motion to Compel
                          by President and Fellows of Harvard College. (Ellsworth, Felicia) (Entered:
                          12/27/2017)
         12/28/2017   370 ELECTRONIC ENDORSEMENT APPROVING 369 Stipulation to extend time to file
                          opposition to motion to compel filed by President and Fellows of Harvard College
                          (Folan, Karen) (Entered: 12/28/2017)
         01/17/2018   371 Assented to MOTION to Seal Document Harvard's Opposition to SFFA's Motion to
                          Compel Production of Documents Withheld or Redacted by President and Fellows of
                          Harvard College.(Ellsworth, Felicia) (Entered: 01/17/2018)
         01/17/2018   372 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 371 Motion to
                          Seal Document (Folan, Karen) (Entered: 01/17/2018)
         01/23/2018   375 Assented to MOTION for Leave to File Reply Memorandum in Support of SFFA's
                          Motion to Compel by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                          (Entered: 01/23/2018)
         01/23/2018   376 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 375 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                          (date of order)− in the caption of the document. (Folan, Karen) (Entered: 01/23/2018)

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         01/24/2018   377 ELECTRONIC NOTICE of Hearing.Motion Hearing on Motion to compel set for
                          2/7/2018 02:30 PM in Courtroom 17 before Judge Allison D. Burroughs. Defendant to
                          provide the court with unredacted copies of all documents at issue noting the proposed
                          redactions 7 days prior to hearing.(Folan, Karen) (Entered: 01/24/2018)
         01/25/2018   378 Assented to MOTION to Seal Reply Memorandum in Support of SFFA's Motion to
                          Compel by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered:
                          01/25/2018)
         01/25/2018   379 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 378 Motion to
                          Seal (Folan, Karen) (Entered: 01/25/2018)
         01/29/2018   380 Receipt of Defendant's unredacted documents for in camera review, pursuant to 377
                          Order. (Montes, Mariliz) (Entered: 01/30/2018)
         02/07/2018   382 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                          Hearing held on 2/7/2018. Order to issue. (Court Reporter: Joan Daly at
                          joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 02/12/2018)
         02/21/2018   384 Transcript of Hearing held on February 7, 2018, before Judge Allison D. Burroughs.
                          The Transcript may be purchased through the Court Reporter, viewed at the public
                          terminal, or viewed through PACER after it is released. Court Reporter Name and
                          Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction Request due
                          3/14/2018. Redacted Transcript Deadline set for 3/26/2018. Release of Transcript
                          Restriction set for 5/22/2018. (Scalfani, Deborah) (Entered: 02/21/2018)
         02/21/2018   385 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                          the court reporter in the above−captioned matter. Counsel are referred to the Court's
                          Transcript Redaction Policy, available on the court website at
                          http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                          (Entered: 02/21/2018)
         03/09/2018   386 STATUS REPORT (Joint Status Report on behalf of all parties) by Students for Fair
                          Admissions, Inc.. (Consovoy, William) (Entered: 03/09/2018)
         03/14/2018   387 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                            Upon review of the parties' joint status report filed on March 9, 2018 ECF No. 386 ,
                            the Court orders the following:

                            1. Dispositive motions shall be filed and briefed in accordance with the operative
                            scheduling order ECF No. 363 .

                            2. Amicus briefs in support of a dispositive motion shall be filed by July 13, 2018.
                            Amicus briefs in opposition to a dispositive motion shall be filed by August 17, 2018.
                            3. The parties shall meet and confer regarding the treatment of confidential materials
                            to narrow the areas of dispute. The parties shall file letter briefs on the outstanding
                            issues by March 30, 2018, and a hearing is scheduled for April 10, 2018 at 9:00 AM in
                            Courtroom 17 before Judge Allison D. Burroughs.

                            4. By the agreement of the parties, the Court will bifurcate the issues of liability and
                            remedies. Remedies will be addressed after the disposition of dispositive motions
                            and/or trial on liability.

                            5. The Court is considering scheduling trial for four weeks beginning the week of
                            January 2, 2019. The parties may address the trial schedule at the hearing on April 10,
                            2018.

                            (McDonagh, Christina) (Entered: 03/14/2018)
         03/30/2018   388 Letter/request (non−motion) from SFFA re: Treatment of Materials Marked
                          Confidential . (Consovoy, William) (Entered: 03/30/2018)
         03/30/2018   389 Letter/request (non−motion) from Harvard Regarding Confidential Materials.
                          (Ellsworth, Felicia) (Entered: 03/30/2018)


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         04/06/2018   390 Amicus Curiae APPEARANCE entered by Sigmund David Schutz on behalf of New
                          England First Amendment Coalition; Reporters Committee for Freedom of the Press;
                          Massachusetts Newspaper Publishers Association; GateHouse Media, LLC. (Schutz,
                          Sigmund) (Entered: 04/06/2018)
         04/06/2018   391 MOTION for Leave to File as Amicus Curiae by New England First Amendment
                          Coalition; Reporters Committee for Freedom of the Press; Massachusetts Newspaper
                          Publishers Association; GateHouse Media, LLC. (Attachments: # 1 Exhibit A − Letter
                          Brief)(Schutz, Sigmund) (Entered: 04/06/2018)
         04/06/2018   392 NOTICE of Appearance by Eric G. Penley on behalf of New England First
                          Amendment Coalition; Reporters Committee for Freedom of the Press; Massachusetts
                          Newspaper Publishers Association; GateHouse Media, LLC (Penley, Eric) (Entered:
                          04/06/2018)
         04/06/2018   393 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 391 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                          (date of order)− in the caption of the document. (Folan, Karen) (Entered: 04/06/2018)
         04/06/2018   394 Leave to file granted on April 6, 2018 Letter/request (non−motion) from Amici Curiae
                          . (Schutz, Sigmund) (Entered: 04/06/2018)
         04/06/2018   395 NOTICE by United States of Interest in Public Access to Summary Judgment Briefing
                          and Materials (Donnelly, Matthew) (Entered: 04/06/2018)
         04/06/2018   396 Response by Students for Fair Admissions, Inc. to 389 Letter/request (non−motion) .
                          (Consovoy, William) (Entered: 04/06/2018)
         04/09/2018   397 Letter/request (non−motion) from Harvard Regarding Confidential Materials. (Lee,
                          William) (Entered: 04/09/2018)
         04/09/2018   398 Letter/request (non−motion) from Students, Amici Curiae Regarding Confidential
                          Materials. (Greenbaum, Jon) (Entered: 04/09/2018)
         04/10/2018   399 NOTICE of Withdrawal of Appearance by Benjamin C. Caldwell (Caldwell,
                          Benjamin) (Entered: 04/10/2018)
         04/11/2018   400 MOTION for Leave to Appear Pro Hac Vice for admission of Adam K. Mortara and
                          John M. Hughes Filing fee: $ 200, receipt number 0101−7090675 by Students for Fair
                          Admissions, Inc.. (Attachments: # 1 Cert. of Attorney Mortara, # 2 Cert. of Attorney
                          Hughes, # 3 Text of Proposed Order)(Strawbridge, Patrick) (Entered: 04/11/2018)
         04/12/2018   401 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 400 Motion for
                          Leave to Appear Pro Hac Vice Added Adam K. Mortara & John M. Hughes. Pursuant
                          to Local Rule 83.5.3, local counsel shall also file an appearance in this matter.
                          Further, local counsel shall review all filings and shall personally appear in Court
                          for any hearings or conferences, unless expressly excused by the Court for good
                          cause. Attorneys admitted Pro Hac Vice must register for electronic filing if the
                          attorney does not already have an ECF account in this district. To register go to
                          the Court website at www.mad.uscourts.gov. Select Case Information, then
                          Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form.
                          (McDonagh, Christina) (Entered: 04/12/2018)
         04/12/2018   402 Transcript of Status Conference held on April 10, 2018, before Judge Allison D.
                          Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                          the public terminal, or viewed through PACER after it is released. Court Reporter
                          Name and Contact Information: Richard Romanow at bulldog@richromanow.com
                          Redaction Request due 5/3/2018. Redacted Transcript Deadline set for 5/14/2018.
                          Release of Transcript Restriction set for 7/11/2018. (Scalfani, Deborah) (Entered:
                          04/12/2018)
         04/12/2018   403 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                          the court reporter in the above−captioned matter. Counsel are referred to the Court's
                          Transcript Redaction Policy, available on the court website at
                          http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                          (Entered: 04/12/2018)

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         05/23/2018   404 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                            As discussed at the hearing held on April 10, 2018 ECF No. 402 , the Court orders the
                            following:

                            1. The deadlines for amicus briefing on dispositive motions ECF No. 387 are amended
                            as follows. Amicus briefs in support of a dispositive motion shall be filed by July 30,
                            2018. Amicus briefs in opposition to a dispositive motion shall be filed by August 30,
                            2018.

                            2. Prior to June 15, 2018, the parties shall meet and confer and propose a procedure for
                            the Court to determine whether any dispositive motion briefing and/or exhibits filed
                            under seal should remain sealed.

                            (McDonagh, Christina) (Entered: 05/23/2018)
         05/23/2018   405 Judge Allison D. Burroughs: ORDER entered. PROCEDURAL ORDER re
                          pretrial/trial Final Pretrial Conference set for 10/3/2018 10:00 AM in Courtroom 17
                          before Judge Allison D. Burroughs. Bench Trial set for 10/15/2018 10:00 AM in
                          Courtroom 17 before Judge Allison D. Burroughs.(McDonagh, Christina) (Entered:
                          05/23/2018)
         06/08/2018   406 Joint MOTION for Leave to File Excess Pages by Students for Fair Admissions,
                          Inc..(Strawbridge, Patrick) (Entered: 06/08/2018)
         06/11/2018   407 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 406 Motion for
                          Leave to File Excess Pages. Parties are nonetheless encouraged to adhere to the limits
                          set forth in Local Rule 7.1(b)(4) to the extent possible and to limit repetition between
                          the various briefs. Further, given the potential volume of the submissions and the
                          impending trial date, the court further orders as follows: a summary judgment motion
                          shall include a separately filed Statement of Undisputed Facts which details, in
                          numbered paragraphs, the material facts that the moving party contends are undisputed
                          and entitle the movant to judgment as a matter of law. Only those facts which bear on
                          dispositive material issues shall be included in this statement. Oppositions shall
                          include a separate filing of a statement of material facts, responding to each numbered
                          paragraph in the movants Statement of Undisputed Facts, which the respondent
                          contends present genuine issues for trial. The responding party shall also set forth, in
                          separate numbered paragraphs, any additional facts which the respondent contends
                          preclude the entry of summary judgment. Statements of material facts in support of or
                          in opposition to a motion for summary judgment shall include specific references to
                          the parts of the record that support each stated fact. Each stated fact shall cite the
                          source relied upon, including the page of any document or line and page number of
                          any deposition to which reference is made. If both parties are moving for summary
                          judgment, the parties may also submit one joint Statement of Undisputed Facts or
                          include a separate joint submission of facts that are truly undisputed to the extent that
                          that may make sense. In light of the number of pages that are likely to be submitted
                          and the scheduled trial date, the parties are encouraged to work together to find ways
                          in which the information, particularly undisputed facts, can be presented to the court as
                          efficiently as possible. (Folan, Karen) (Entered: 06/11/2018)
         06/12/2018   408 JOINT STATEMENT re scheduling conference . (Ellsworth, Felicia) (Entered:
                          06/12/2018)
         06/12/2018   409 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 408 JOINT
                          scheduling motion. (Folan, Karen) (Entered: 06/12/2018)
         06/13/2018   410 Joint MOTION to Seal Certain Information Filed in Connection with the Parties'
                          Summary Judgment Motions by President and Fellows of Harvard College.(Ellsworth,
                          Felicia) (Entered: 06/13/2018)
         06/14/2018   411 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 410 Motion to
                          Seal (Folan, Karen) (Entered: 06/14/2018)
         06/15/2018   412 MOTION for Summary Judgment by Students for Fair Admissions, Inc..(Consovoy,
                          William) (Entered: 06/15/2018)



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         06/15/2018   413 MEMORANDUM in Support re 412 MOTION for Summary Judgment filed by
                          Students for Fair Admissions, Inc.. (Consovoy, William) (Additional attachment(s)
                          added on 6/18/2018: # 1 Unredacted version of Memorandum in Support) (Montes,
                          Mariliz). (Additional attachment(s) added on 7/13/2018: # 2 Updated Redacted
                          Version of Memorandum of Reasons in Support of Motion for Summary Judgment)
                          (McDonagh, Christina). (Entered: 06/15/2018)
         06/15/2018   414 Statement of Material Facts L.R. 56.1 re 412 MOTION for Summary Judgment filed
                          by Students for Fair Admissions, Inc.. (Consovoy, William) (Additional attachment(s)
                          added on 6/18/2018: # 1 Unredacted version of Statement of Material Facts) (Montes,
                          Mariliz). (Additional attachment(s) added on 7/13/2018: # 2 Updated Redacted
                          Version of Plaintiff's Statement of Undisputed Material Facts) (McDonagh, Christina).
                          (Additional attachment(s) added on 10/3/2018: # 3 Updated(10/3/2018) Revised
                          Redacted Statement) (McDonagh, Christina). (Entered: 06/15/2018)
         06/15/2018   415 DECLARATION re 412 MOTION for Summary Judgment by Students for Fair
                          Admissions, Inc.. (Attachments: # 1 Exhibit Expert Report, # 2 Exhibit Rebuttal
                          Expert Report, # 3 Errata Errata)(Consovoy, William) (Additional attachment(s) added
                          on 6/18/2018: # 4 Unredacted version of Declaration of P. Arcidiacono, # 5 Exhibit
                          A− unredacted version, # 6 Exhibit B−unredacted version) (Montes, Mariliz).
                          (Additional attachment(s) added on 7/13/2018: # 7 Updated Redacted Version of
                          Declaration of Peter Arcidiacono, # 8 Updated Redacted Version of Exhibit 1, # 9
                          Updated Redacted Version of Exhibit 2) (McDonagh, Christina). (Entered:
                          06/15/2018)
         06/15/2018   416 DECLARATION re 412 MOTION for Summary Judgment by Students for Fair
                          Admissions, Inc.. (Attachments: # 1 Exhibit Expert Report, # 2 Exhibit Rebuttal
                          Expert Report, # 3 Exhibit Supplemental Report)(Consovoy, William) (Additional
                          attachment(s) added on 6/18/2018: # 5 Exhibit A− unredacted version) (Montes,
                          Mariliz). (Entered: 06/15/2018)
         06/15/2018   417 MOTION for Summary Judgment by President and Fellows of Harvard
                          College.(Waxman, Seth) (Entered: 06/15/2018)
         06/15/2018   418 MEMORANDUM in Support re 417 MOTION for Summary Judgment filed by
                          President and Fellows of Harvard College. (Waxman, Seth) (Additional attachment(s)
                          added on 7/2/2018: # 1 Unredacted version of Memorandum in Support) (Montes,
                          Mariliz). (Additional attachment(s) added on 7/10/2018: # 2 Updated Redacted
                          Version) (McDonagh, Christina). (Entered: 06/15/2018)
         06/15/2018   419 DECLARATION re 417 MOTION for Summary Judgment by President and Fellows
                          of Harvard College. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                          Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10
                          Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15
                          Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20
                          Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25
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                          Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35
                          Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40
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                          Exhibit 90, # 91 Exhibit 91, # 92 Exhibit 92, # 93 Exhibit 93, # 94 Exhibit 94, # 95
                          Exhibit 95, # 96 Exhibit 96, # 97 Exhibit 97)(Ellsworth, Felicia) (Additional
                          attachment(s) added on 7/2/2018: # 98 Unredacted version of Declaration) (Montes,
                          Mariliz). (Additional attachment(s) added on 7/2/2018: # 99 Exhibit 1 (filed under
                          seal), # 100 Exhibit 3 (filed under seal), # 101 Exhibit 4 (filed under seal), # 102
                          Exhibit 5 (filed under seal), # 103 Exhibit 6 (filed under seal), # 104 Exhibit 7 (filed
                          under seal), # 105 Exhibit 8 (filed under seal), # 106 Exhibit 9 (filed under seal), # 107

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                            Exhibit 10 (filed under seal), # 108 Exhibit 11 (filed under seal), # 109 Exhibit 12
                            (filed under seal), # 110 Exhibit 13 (filed under seal), # 111 Exhibit 14 (filed under
                            seal), # 112 Exhibit 15 (filed under seal), # 113 Exhibit 16 (filed under seal), # 114
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                            (filed under seal), # 117 Exhibit 20 (filed under seal), # 118 Exhibit 21 (filed under
                            seal), # 119 Exhibit 22 (filed under seal), # 120 Exhibit 23 (filed under seal), # 121
                            Exhibit 24 (filed under seal), # 122 Exhibit 25 (filed under seal), # 123 Exhibit 26
                            (filed under seal), # 124 Exhibit 27 (filed under seal), # 125 Exhibit 29 (filed under
                            seal), # 126 Exhibit 30 (filed under seal), # 127 Exhibit 40 (filed under seal), # 128
                            Exhibit 43 (filed under seal), # 129 Exhibit 52 (filed under seal), # 130 Exhibit 53(filed
                            under seal), # 131 Exhibit 54 (filed under seal), # 132 Exhibit 55 (filed under seal), #
                            133 Exhibit 56 (filed under seal), # 134 Exhibit 57 (filed under seal), # 135 Exhibit 61
                            (filed under seal), # 136 Exhibit 62 (filed under seal), # 137 Exhibit 63 (filed under
                            seal), # 138 Exhibit 65 (filed under seal), # 139 Exhibit 93 (filed under seal)) (Montes,
                            Mariliz). (Attachment 1 replaced on 7/10/2018) (McDonagh, Christina). (Attachment 9
                            replaced on 7/10/2018) (McDonagh, Christina). (Additional attachment(s) added on
                            7/10/2018: # 140 Updated Redacted Version of Exhibit 31, # 141 Updated Redacted
                            Version of Exhibit 33, # 142 Updated Redacted Version of Exhibit 35, # 143 Updated
                            Redacted Version of Exhibit 37) (McDonagh, Christina). (Entered: 06/15/2018)
         06/15/2018   420 Statement of Material Facts L.R. 56.1 re 417 MOTION for Summary Judgment filed
                          by President and Fellows of Harvard College. (Waxman, Seth) (Additional
                          attachment(s) added on 7/2/2018: # 1 Unredacted version of Statement of Undisputed
                          Material Facts) (Montes, Mariliz). (Entered: 06/15/2018)
         06/15/2018   421 DECLARATION re 412 MOTION for Summary Judgment by Students for Fair
                          Admissions, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                          4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit
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                          136 Exhibit 136, # 137 Exhibit 137, # 138 Exhibit 138, # 139 Exhibit 139, # 140
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                          149 Exhibit 149, # 150 Exhibit 150, # 151 Exhibit 151, # 152 Exhibit 152, # 153
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                         253 Exhibit 253, # 254 Exhibit 254, # 255 Exhibit 255, # 256 Exhibit 256, # 257
                         Exhibit 257, # 258 Exhibit 258, # 259 Exhibit 259, # 260 Exhibit 260, # 261 Exhibit
                         261)(Consovoy, William) (Additional attachment(s) added on 6/18/2018: # 262
                         Unredacted version of Declaration, # 263 Exhibit 1 (filed under seal), # 264 Exhibit 2
                         (filed under seal), # 265 Exhibit 5 (filed under seal), # 266 Exhibit 6 (filed under seal),
                         # 267 Exhibit 7 (filed under seal), # 268 Exhibit 8 (filed under seal), # 269 Exhibit 9
                         (filed under seal), # 270 Exhibit 10 (filed under seal)) (Montes, Mariliz). (Additional
                         attachment(s) added on 6/18/2018: # 271 Exhibit 11 (filed under seal), # 272 Exhibit
                         12(filed under seal), # 273 Exhibit 13 (filed under seal), # 274 Exhibit 14 (filed under
                         seal), # 275 Exhibit 16 (filed under seal), # 276 Exhibit 17(filed under seal), # 277
                         Exhibit 18(filed under seal), # 278 Exhibit 19 (filed under seal), # 279 Exhibit 20 (filed
                         under seal), # 280 Exhibit 22 (filed under seal), # 281 Exhibit 23 (filed under seal), #
                         282 Exhibit 24 (filed under seal), # 283 Exhibit 25(filed under seal), # 284 Exhibit 26
                         (filed under seal), # 285 Exhibit 28 (filed under seal), # 286 Exhibit 29 (filed under
                         seal), # 287 Exhibit 31 (filed under seal), # 288 Exhibit 32 (filed under seal), # 289
                         Exhibit 33 (filed under seal), # 290 Exhibit 35 (filed under seal), # 291 Exhibit 36
                         (filed under seal), # 292 Exhibit 37 (filed under seal), # 293 Exhibit 38(filed under
                         seal), # 294 Exhibit 39 (filed under seal), # 295 Exhibit 40 (filed under seal), # 296
                         Exhibit 41, # 297 Exhibit 42 (filed under seal), # 298 Exhibit 43 (filed under seal), #
                         299 Exhibit 44(filed under seal), # 300 Exhibit 45 (filed under seal), # 301 Exhibit 46
                         (filed under seal), # 302 Exhibit 47 (filed under seal), # 303 Exhibit 48 (filed under
                         seal), # 304 Exhibit 51 (filed under seal)) (Montes, Mariliz). (Additional attachment(s)
                         added on 7/2/2018: # 305 Exhibit 52 (filed under seal), # 306 Exhibit 53 (filed under
                         seal), # 307 Exhibit 54 (filed under seal), # 308 Exhibit 55 (filed under seal), # 309
                         Exhibit 56 (filed under seal), # 310 Exhibit 57 (filed under seal), # 311 Exhibit 58
                         (filed under seal), # 312 Exhibit 59 (filed under seal), # 313 Exhibit 60 (filed under
                         seal), # 314 Exhibit 61 (filed under seal), # 315 Exhibit 62 (filed under seal), # 316
                         Exhibit 63 (filed under seal), # 317 Exhibit 64 (filed under seal), # 318 Exhibit 65
                         (filed under seal), # 319 Exhibit 66 (filed under seal), # 320 Exhibit 67 (filed under
                         seal), # 321 Exhibit 68 (filed under seal), # 322 Exhibit 69 (filed under seal), # 323
                         Exhibit 70 (filed under seal), # 324 Exhibit 71 (filed under seal), # 325 Exhibit 72
                         (filed under seal), # 326 Exhibit 73 (filed under seal), # 327 Exhibit 74 (filed under
                         seal), # 328 Exhibit 75 (filed under seal), # 329 Exhibit 76(filed under seal), # 330
                         Exhibit 77 (filed under seal), # 331 Exhibit 78 (filed under seal), # 332 Exhibit 79
                         (filed under seal), # 333 Exhibit 80 (filed under seal), # 334 Exhibit 81 (filed under
                         seal), # 335 Exhibit 82 (filed under seal), # 336 Exhibit 83 (filed under seal), # 337
                         Exhibit 84 (filed under seal), # 338 Exhibit 85 (filed under seal), # 339 Exhibit 86
                         (filed under seal), # 340 Exhibit 87 (filed under seal), # 341 Exhibit 88 (filed under
                         seal), # 342 Exhibit 89 (filed under seal), # 343 Exhibit 90 (filed under seal), # 344
                         Exhibit 91 (filed under seal)) (Montes, Mariliz). (Additional attachment(s) added on
                         7/2/2018: # 345 Exhibit 92 (filed under seal), # 346 Exhibit 93 (filed under seal), # 347
                         Exhibit 95 (filed under seal), # 348 Exhibit 96 (filed under seal), # 349 Exhibit 97
                         (filed under seal), # 350 Exhibit 99 (filed under seal), # 351 Exhibit 100 (filed under
                         seal), # 352 Exhibit 101 (filed under seal), # 353 Exhibit 103 (filed under seal), # 354
                         Exhibit 104 (filed under seal), # 356 Exhibit 108 (filed under seal), # 357 Exhibit 109
                         (filed under seal), # 358 Exhibit 110 (filed under seal), # 359 Exhibit 111 (filed under
                         seal), # 360 Exhibit 113 (filed under seal), # 361 Exhibit 114 (filed under seal), # 362
                         Exhibit 117 (filed under seal), # 363 Exhibit 118 (filed under seal), # 364 Exhibit 119

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                           (filed under seal), # 365 Exhibit 120 (filed under seal)) (Montes, Mariliz). (Additional
                           attachment(s) added on 7/2/2018: # 366 Exhibit 121 (filed under seal), # 367 Exhibit
                           122 (filed under seal), # 368 Exhibit 124 (filed under seal), # 369 Exhibit 125 (filed
                           under seal), # 370 Exhibit 126 (filed under seal), # 371 Exhibit 127 (filed under seal),
                           # 372 Exhibit 128 (filed under seal), # 373 Exhibit 129 (filed under seal), # 374
                           Exhibit 130 (filed under seal), # 375 Exhibit 131 (filed under seal), # 376 Exhibit 132
                           (filed under seal), # 377 Exhibit 134 (filed under seal), # 378 Exhibit 135 (filed under
                           seal), # 379 Exhibit 136 (filed under seal), # 380 Exhibit 137 (filed under seal), # 381
                           Exhibit 138 (filed under seal), # 382 Exhibit 139 (filed under seal), # 383 Exhibit 140
                           (filed under seal), # 384 Exhibit 141 (filed under seal), # 385 Exhibit 142 (filed under
                           seal), # 386 Exhibit 144 (filed under seal), # 387 Exhibit 146 (filed under seal), # 388
                           Exhibit 147 (filed under seal), # 389 Exhibit 151 (filed under seal), # 390 Exhibit 152
                           (filed under seal), # 391 Exhibit 153 (filed under seal), # 392 Exhibit 158 (filed under
                           seal), # 393 Exhibit 159 (filed under seal), # 394 Exhibit 160 (filed under seal), # 395
                           Exhibit 161 (filed under seal), # 396 Exhibit 162 (filed under seal), # 397 Exhibit 163
                           (filed under seal), # 398 Exhibit 169 (filed under seal), # 399 Exhibit 170 (filed under
                           seal), # 400 Exhibit 171 (filed under seal), # 401 Exhibit 172 (filed under seal), # 402
                           Exhibit 173 (filed under seal), # 403 Exhibit 174 (filed under seal), # 404 Exhibit 175
                           (filed under seal)) (Montes, Mariliz). (Additional attachment(s) added on 7/2/2018: #
                           405 Exhibit 176 (filed under seal), # 406 Exhibit 177 (filed under seal), # 407 Exhibit
                           178 (filed under seal), # 408 Exhibit 179 (filed under seal), # 409 Exhibit 180 (filed
                           under seal), # 410 Exhibit 181 (filed under seal), # 411 Exhibit 182 (filed under seal),
                           # 412 Exhibit 183, # 413 Exhibit 184 (filed under seal), # 414 Exhibit 187 (filed under
                           seal), # 415 Exhibit 188 (filed under seal), # 416 Exhibit 189 (filed under seal), # 417
                           Exhibit 192 (filed under seal), # 418 Exhibit 194 (filed under seal), # 419 Exhibit 195
                           (filed under seal), # 420 Exhibit 196 (filed under seal), # 421 Exhibit 197 (filed under
                           seal), # 422 Exhibit 198 (filed under seal), # 423 Exhibit 199 (filed under seal), # 424
                           Exhibit 200 (filed under seal)) (Montes, Mariliz). (Additional attachment(s) added on
                           7/2/2018: # 425 Exhibit 202 (filed under seal), # 426 Exhibit 205 (filed under seal), #
                           427 Exhibit 206 (filed under seal), # 428 Exhibit 207 (filed under seal), # 429 Exhibit
                           220 (filed under seal), # 430 Exhibit 223 (filed under seal), # 431 Exhibit 224 (filed
                           under seal), # 432 Exhibit 225 (filed under seal), # 433 Exhibit 226 (filed under seal),
                           # 434 Exhibit 227 (filed under seal), # 435 Exhibit 228 (filed under seal), # 436
                           Exhibit 229 (filed under seal), # 437 Exhibit 230 (filed under seal), # 438 Exhibit 231
                           (filed under seal), # 439 Exhibit 233 (filed under seal), # 440 Exhibit 234 (filed under
                           seal)) (Montes, Mariliz). (Additional attachment(s) added on 7/2/2018: # 441 Exhibit
                           236 (filed under seal), # 442 Exhibit 252 (filed under seal), # 443 Exhibit 253, # 444
                           Exhibit 254 (filed under seal), # 445 Exhibit 255 (filed under seal), # 446 Exhibit 256
                           (filed under seal), # 447 Exhibit 258 (filed under seal), # 448 Exhibit 259 (filed under
                           seal), # 449 Exhibit 260 (filed under seal), # 450 Exhibit 261 (filed under seal))
                           (Montes, Mariliz). Modified to fix docket text on 7/30/2018 (McDonagh, Christina).
                           (Entered: 06/15/2018)
         06/22/2018   422 MEMORANDUM in Support re 410 Joint MOTION to Seal Certain Information Filed
                          in Connection with the Parties' Summary Judgment Motions filed by President and
                          Fellows of Harvard College. (Attachments: # 1 Declaration of Robin
                          Worth)(Ellsworth, Felicia) (Entered: 06/22/2018)
         06/27/2018   423 Letter/request (non−motion) from Sean D. Reyes Utah Attorney General. (McDonagh,
                          Christina) (Entered: 06/27/2018)
         06/27/2018   424 Assented to MOTION to Seal Portions of SFFA's Opposition to Harvard's Motion to
                          Seal by Students for Fair Admissions, Inc..(Strawbridge, Patrick) (Entered:
                          06/27/2018)
         06/28/2018   425 MOTION to Unseal Document by President and Fellows of Harvard
                          College.(Ellsworth, Felicia) (Entered: 06/28/2018)
         06/29/2018   426 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 424 Motion to
                          Seal (Folan, Karen) (Entered: 06/29/2018)
         06/29/2018   427 Opposition re 410 Joint MOTION to Seal Certain Information Filed in Connection
                          with the Parties' Summary Judgment Motions filed by Students for Fair Admissions,
                          Inc.. (Consovoy, William) (Additional attachment(s) added on 7/2/2018: # 1 SEALED
                          Memorandum of Law (unredacted)) (McDonagh, Christina). (Entered: 06/29/2018)


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         07/02/2018   428 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 425 Motion to
                          Unseal Document (Folan, Karen) (Entered: 07/02/2018)
         07/24/2018   429 JOINT STATEMENT of counsel Regarding the Submission of Amicus Briefs.
                          (Strawbridge, Patrick) (Entered: 07/24/2018)
         07/24/2018   430 MOTION to Seal Certain Information Filed in Connection with Harvard's Opposition
                          to Plaintiff's Motion for Summary Judgment by President and Fellows of Harvard
                          College.(Ellsworth, Felicia) (Entered: 07/24/2018)
         07/24/2018   431 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 430 Motion to
                          Seal (Folan, Karen) (Entered: 07/24/2018)
         07/24/2018   432 Judge Allison D. Burroughs: ELECTRONIC ORDER entered. In response to the
                          parties' joint statement regarding the submission of amicus briefs [ECF No. 429], the
                          Court hereby grants leave for any interested party to file an amicus brief on the
                          pending dispositive motions, in accordance with the deadlines set forth in the Court's
                          order dated May 23, 2018 [ECF No. 404]. (Folan, Karen) (Entered: 07/24/2018)
         07/26/2018   433 Assented to MOTION to Seal by Students for Fair Admissions, Inc..(Strawbridge,
                          Patrick) (Entered: 07/26/2018)
         07/26/2018   434 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 433 Motion to
                          Seal (Folan, Karen) (Entered: 07/26/2018)
         07/27/2018   435 MEMORANDUM in Opposition re 412 MOTION for Summary Judgment filed by
                          President and Fellows of Harvard College. (Waxman, Seth) (Additional attachment(s)
                          added on 7/30/2018: # 1 SEALED Oppostion to Motion for Summary Judgment)
                          (McDonagh, Christina). (Entered: 07/27/2018)
         07/27/2018   436 Amicus Curiae APPEARANCE entered by Dwight G. Duncan on behalf of National
                          Association of Scholars. (Duncan, Dwight) (Entered: 07/27/2018)
         07/27/2018   437 Counter Statement of Material Facts L.R. 56.1 re 412 MOTION for Summary
                          Judgment filed by President and Fellows of Harvard College. (Waxman, Seth)
                          (Additional attachment(s) added on 7/30/2018: # 1 SEALED Response to Statement of
                          Material Facts) (McDonagh, Christina). (Entered: 07/27/2018)
         07/27/2018   438 DECLARATION Declaration of Felicia H. Ellsworth ISO Defendant's Opposition to
                          Plaintiff's Motion for Summary Judgment by President and Fellows of Harvard
                          College. (Attachments: # 1 Exhibit 98, # 2 Exhibit 99, # 3 Exhibit 100, # 4 Exhibit
                          101, # 5 Exhibit 102, # 6 Exhibit 103, # 7 Exhibit 104, # 8 Exhibit 105, # 9 Exhibit
                          106, # 10 Exhibit 107, # 11 Exhibit 108, # 12 Exhibit 109, # 13 Exhibit 110, # 14
                          Exhibit 111, # 15 Exhibit 112, # 16 Exhibit 113, # 17 Exhibit 114, # 18 Exhibit 115, #
                          19 Exhibit 116, # 20 Exhibit 117, # 21 Exhibit 118, # 22 Exhibit 119, # 23 Exhibit
                          120, # 24 Exhibit 121, # 25 Exhibit 122, # 26 Exhibit 123, # 27 Exhibit 124, # 28
                          Exhibit 125, # 29 Exhibit 126, # 30 Exhibit 127, # 31 Exhibit 128, # 32 Exhibit 129, #
                          33 Exhibit 130, # 34 Exhibit 131, # 35 Exhibit 132, # 36 Exhibit 133, # 37 Exhibit
                          134, # 38 Exhibit 135, # 39 Exhibit 136, # 40 Exhibit 137, # 41 Exhibit 138, # 42
                          Exhibit 139, # 43 Exhibit 140, # 44 Exhibit 141, # 45 Exhibit 142, # 46 Exhibit 143, #
                          47 Exhibit 144, # 48 Exhibit 145, # 49 Exhibit 146, # 50 Exhibit 147, # 51 Exhibit
                          148, # 52 Exhibit 149, # 53 Exhibit 150, # 54 Exhibit 151, # 55 Exhibit 152, # 56
                          Exhibit 153, # 57 Exhibit 154, # 58 Exhibit 155, # 59 Exhibit 156, # 60 Exhibit 157, #
                          61 Exhibit 158)(Ellsworth, Felicia) (Additional attachment(s) added on 7/30/2018: #
                          62 SEALED Declaration of Felicia H. Ellsworth in Support of Defendant's Opposition
                          to Plaintiff's Motion for Summary Judgment, # 63 Exhibit 98 Unredacted Version, #
                          64 Exhibit 101 Unredacted Version, # 65 Exhibit 102 Unredacted Version)
                          (McDonagh, Christina). (Additional attachment(s) added on 7/30/2018: # 66 Exhibit
                          105 Unredacted Version, # 67 Exhibit 119 Unredacted Version, # 68 Exhibit 128
                          Unredacted Version, # 69 Exhibit 151 Unredacted Version, # 70 Exhibit 158
                          Unredacted Version) (McDonagh, Christina). (Entered: 07/27/2018)
         07/30/2018   439 AMICUS BRIEF filed by National Association of Scholars . (Duncan, Dwight)
                          (Entered: 07/30/2018)
         07/30/2018   440 MEMORANDUM in Support re 417 MOTION for Summary Judgment filed by M. B.,
                          K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari
                          Nawal, R. S., Itzel Vasquez−Rodriguez, Keyanna Wigglesworth. (Attachments: # 1

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                           Exhibit Student Declarations)(Culleen, Lawrence) (Entered: 07/30/2018)
         07/30/2018   441 Amicus Curiae APPEARANCE entered by Natashia Tidwell on behalf of American
                          Council on Education. (Tidwell, Natashia) (Entered: 07/30/2018)
         07/30/2018   442 AMICUS BRIEF filed by American Council on Education and 36 Other Higher
                          Education Organizations in Opposition to Plaintiff's Motion for Summary Judgment
                          and in Support of Defendant's Motion for Summary Judgment. (Tidwell, Natashia)
                          (Entered: 07/30/2018)
         07/30/2018   443 Amicus Curiae APPEARANCE entered by Seth B. Orkand on behalf of Brown
                          University, Case Western Reserve University, Columbia University, Cornell
                          University, Dartmouth College, Duke University, Emory University, George
                          Washington University, John Hopkins University, Massachusetts Institute of
                          Technology, Princeton University, Stanford University, University of Pennsylvania,
                          Vanderbilt University, Washington University in St. Louis, Yale University. (Orkand,
                          Seth) (Entered: 07/30/2018)
         07/30/2018   444 MOTION for Leave to Appear Pro Hac Vice for admission of Matthew S. Hellman
                          Filing fee: $ 100, receipt number 0101−7251217 by Brown University, Case Western
                          Reserve University, Columbia University, Cornell University, Dartmouth College,
                          Duke University, Emory University, George Washington University, John Hopkins
                          University, Massachusetts Institute of Technology, Princeton University, Stanford
                          University, University of Pennsylvania, Vanderbilt University, Washington University
                          in St. Louis, Yale University. (Attachments: # 1 Affidavit of Matthew S.
                          Hellman)(Orkand, Seth) (Entered: 07/30/2018)
         07/30/2018   445 AMICUS BRIEF filed by Brown University, Case Western Reserve University,
                          Columbia University, Cornell University, Dartmouth College, Duke University,
                          Emory University, George Washington University, John Hopkins University,
                          Massachusetts Institute of Technology, Princeton University, Stanford University,
                          University of Pennsylvania, Vanderbilt University, Washington University in St.
                          Louis, Yale University in Support of Defendants. (Orkand, Seth) (Entered:
                          07/30/2018)
         07/30/2018   446 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 444 Motion for
                          Leave to Appear Pro Hac Vice Added Matthew S. Hellman. Pursuant to Local Rule
                          83.5.3, local counsel shall also file an appearance in this matter. Further, local
                          counsel shall review all filings and shall personally appear in Court for any
                          hearings or conferences, unless expressly excused by the Court for good cause.
                          Attorneys admitted Pro Hac Vice must register for electronic filing if the attorney
                          does not already have an ECF account in this district. To register go to the Court
                          website at www.mad.uscourts.gov. Select Case Information, then Electronic
                          Filing (CM/ECF) and go to the CM/ECF Registration Form. (McDonagh,
                          Christina) (Entered: 07/30/2018)
         07/30/2018   447 BRIEF by Walter Dellinger (Brief For Walter Dellinger As Amicus Curiae In Support
                          Of Defendant On The Issue Of Standing). (Wisner, Joanne) (Entered: 07/30/2018)
         07/30/2018   448 Amicus Curiae APPEARANCE entered by Randall B. Clark on behalf of Amici
                          Curiae Economists Michael Keane et al., in Support of Students for Fair Admissions.
                          (Clark, Randall) Modified to correct docket text on 7/30/2018 (McDonagh, Christina).
                          (Entered: 07/30/2018)
         07/30/2018   449 MEMORANDUM in Opposition re 417 MOTION for Summary Judgment filed by
                          Students for Fair Admissions, Inc.. (Consovoy, William) (Additional attachment(s)
                          added on 7/31/2018: # 1 Memorandum of Reasons in Opposition to Harvard's Motion
                          For Summary Judgment (Unredacted and Sealed)) (McDonagh, Christina). (Entered:
                          07/30/2018)
         07/30/2018   450 AMICUS BRIEF filed by Amici Curiae Economists Michael Keane et al., in Support
                          of Students for Fair Admissions . (Attachments: # 1 Exhibit)(Clark, Randall) (Entered:
                          07/30/2018)
         07/30/2018   451 MOTION for Leave to Appear Pro Hac Vice for admission of C. Boyden Gray,
                          Andrew R. Varcoe, Adam R.F. Gustafson, James R. Conde Filing fee: $ 400, receipt
                          number 0101−7251970 by Amici Curiae Economists Michael Keane et al., in Support

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                           of Students for Fair Admissions.(Clark, Randall) (Entered: 07/30/2018)
         07/30/2018   452 Counter Statement of Material Facts L.R. 56.1 re 417 MOTION for Summary
                          Judgment filed by Students for Fair Admissions, Inc.. (Consovoy, William)
                          (Additional attachment(s) added on 7/31/2018: # 1 Unredacted Version of Plaintiff's
                          Response to Defendant's Statement of Undisputed Material Facts (Filed under Seal))
                          (McDonagh, Christina). (Additional attachment(s) added on 10/3/2018: # 2 Updated
                          (10/3/2018) Redacted Response) (McDonagh, Christina). (Entered: 07/30/2018)
         07/30/2018   453 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 451 Motion for
                          Leave to Appear Pro Hac Vice Added James R. Conde, Adam R.F. Gustafson, C.
                          Boyden Gray, Andrew R. Varcoe. Pursuant to Local Rule 83.5.3, local counsel shall
                          also file an appearance in this matter. Further, local counsel shall review all
                          filings and shall personally appear in Court for any hearings or conferences,
                          unless expressly excused by the Court for good cause. Attorneys admitted Pro
                          Hac Vice must register for electronic filing if the attorney does not already have
                          an ECF account in this district. To register go to the Court website at
                          www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                          (CM/ECF) and go to the CM/ECF Registration Form. (McDonagh, Christina)
                          (Entered: 07/30/2018)
         07/30/2018   454 DECLARATION of Michael Connolly in Support of SFFA's Opposition to Harvard's
                          Motion for Summary Judgment by Students for Fair Admissions, Inc.. (Attachments: #
                          1 Exhibit 262, # 2 Exhibit 263, # 3 Exhibit 264, # 4 Exhibit 265, # 5 Exhibit 266, # 6
                          Exhibit 267, # 7 Exhibit 268, # 8 Exhibit 269, # 9 Exhibit 270, # 10 Exhibit 271, # 11
                          Exhibit 272, # 12 Exhibit 273, # 13 Exhibit 274, # 14 Exhibit 275, # 15 Exhibit 276, #
                          16 Exhibit 277, # 17 Exhibit 278, # 18 Exhibit 279, # 19 Exhibit 280, # 20 Exhibit
                          281, # 21 Exhibit 282, # 22 Exhibit 283, # 23 Exhibit 284, # 24 Exhibit
                          285)(Consovoy, William) (Additional attachment(s) added on 7/31/2018: # 25
                          Unredacted DECLARATION of Michael Connolly in Support of SFFA's Opposition
                          to Harvard's Motion for Summary Judgment (Filed Under Seal), # 26 Exhibit 262
                          (Filed Under Seal), # 27 Exhibit 263 (Filed Under Seal), # 28 Exhibit 264 (Filed Under
                          Seal), # 29 Exhibit 265 (Filed Under Seal), # 30 Exhibit 266 (Filed Under Seal), # 31
                          Exhibit 267 (Filed Under Seal), # 32 Exhibit 268 (Filed Under Seal), # 33 Exhibit 269
                          (Filed Under Seal), # 34 Exhibit 270 (Filed Under Seal), # 35 Exhibit 271 (Filed Under
                          Seal), # 36 Exhibit 272 (Filed Under Seal), # 37 Exhibit 273 (Filed Under Seal), # 38
                          Exhibit 274 (Filed Under Seal), # 39 Exhibit 275 (Filed Under Seal), # 40 Exhibit 276
                          (Filed Under Seal), # 41 Exhibit 277 (Filed Under Seal), # 42 Exhibit 278 (Filed Under
                          Seal), # 43 Exhibit 279 (Filed Under Seal), # 44 Exhibit 280 (Filed Under Seal), # 45
                          Exhibit 281 (Filed Under Seal), # 46 Exhibit 282 (Filed Under Seal), # 47 Exhibit 283
                          (Filed Under Seal), # 48 Exhibit 284 (Filed Under Seal), # 49 Exhibit 285 (Filed Under
                          Seal)) (McDonagh, Christina). (Entered: 07/30/2018)
         07/30/2018   455 MOTION for Leave to File to Participate as Amici Curiae by Harvard−Radcliffe
                          Black Students Association, Kuumba Singers of Harvard College, Fuerza Latina of
                          Harvard, Native Americans At Harvard College, Harvard−Radcliffe Asian American
                          Association, Harvard−Radcliffe Asian American Women's Association, Harvard Asian
                          American Brotherhood, Harvard Vietnamese Association, Harvard−Radcliffe Chinese
                          Students Association, Harvard Korean Association, Harvard Japan Society, Harvard
                          South Asian Association, Harvard Islamic Society, Task Force on Asian and Pacific
                          American Studies at Harvard College, Harvard Phillips Brooks House Association,
                          Harvard Minority Association of Pre−Medical Students, Coalition for a Diverse
                          Harvard, First Generation Harvard Alumni, Native American Alumni of Harvard
                          University, Harvard University Muslim Alumni, Harvard Latino Alumni Alliance.
                          (Attachments: # 1 Exhibit Amicus Brief by Harvard Student and Alumni
                          Organizations in Support of Defendants' Motion for Summary Judgment, # 2 Exhibit
                          Declaration, # 3 Exhibit Declaration, # 4 Exhibit Declaration, # 5 Exhibit Declaration,
                          # 6 Exhibit Declaration, # 7 Exhibit Declaration, # 8 Exhibit Declaration, # 9 Exhibit
                          Declaration, # 10 Exhibit Declaration, # 11 Exhibit Declaration, # 12 Exhibit
                          Declaration, # 13 Exhibit Declaration, # 14 Exhibit Declaration, # 15 Exhibit
                          Declaration, # 16 Exhibit Declaration, # 17 Exhibit Declaration)(Thayer, Kenneth)
                          (Entered: 07/30/2018)
         07/30/2018   456 NOTICE of Appearance by Kenneth N. Thayer on behalf of Coalition for a Diverse
                          Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian
                          American Brotherhood, Harvard Islamic Society, Harvard Japan Society, Harvard
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                            Korean Association, Harvard Latino Alumni Alliance, Harvard Minority Association
                            of Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                            Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                            Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                            Asian American Women's Association, Harvard−Radcliffe Black Students
                            Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                            Harvard College, Native American Alumni of Harvard University, Native Americans
                            At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                            College (Thayer, Kenneth) (Entered: 07/30/2018)
         07/30/2018   457 MOTION for Leave to Appear Pro Hac Vice for admission of Sherrilyn A. Ifill, Janai
                          S. Nelson, Samuel Spital, Jin Hee Lee, Rachel M. Kleinman, Michaele N. Turnage
                          Young, Jennifer A. Holmes, and Cara McClellan by Coalition for a Diverse Harvard,
                          First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                          Brotherhood, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                          Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                          Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                          Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                          Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                          Asian American Women's Association, Harvard−Radcliffe Black Students
                          Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                          Harvard College, Native American Alumni of Harvard University, Native Americans
                          At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                          College. (Attachments: # 1 Certification of Attorney Ifill, # 2 Certification of Attorney
                          Nelson, # 3 Certification of Attorney Spital, # 4 Certification of Attorney Lee, # 5
                          Certification of Attorney Kleinman, # 6 Certification of Attorney Turnage Young, # 7
                          Certification of Attorney Holmes, # 8 Certification of Attorney McClellan)(Thayer,
                          Kenneth) (Entered: 07/30/2018)
         07/30/2018   458 NOTICE of Appearance by Kathryn Rebecca Cook on behalf of Coalition for a
                          Diverse Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard
                          Asian American Brotherhood, Harvard Islamic Society, Harvard Japan Society,
                          Harvard Korean Association, Harvard Latino Alumni Alliance, Harvard Minority
                          Association of Pre−Medical Students, Harvard Phillips Brooks House Association,
                          Harvard South Asian Association, Harvard University Muslim Alumni, Harvard
                          Vietnamese Association, Harvard−Radcliffe Asian American Association,
                          Harvard−Radcliffe Asian American Women's Association, Harvard−Radcliffe Black
                          Students Association, Harvard−Radcliffe Chinese Students Association, Kuumba
                          Singers of Harvard College, Native American Alumni of Harvard University, Native
                          Americans At Harvard College, Task Force on Asian and Pacific American Studies at
                          Harvard College (Cook, Kathryn) (Entered: 07/30/2018)
         07/30/2018   459 MOTION for Leave to Appear Pro Hac Vice for admission of Gordon M. Fauth, Jr.
                          and Lee Cheng Filing fee: $ 200, receipt number 0101−7252337 by Asian American
                          Legal Foundation, Asian American Coalition for Education. (Attachments: # 1 Exhibit
                          Cheng Certification, # 2 Exhibit Fauth Certification, # 3 Text of Proposed
                          Order)(Randazza, Marc) (Entered: 07/30/2018)
         07/30/2018   460 AMICUS BRIEF filed by Asian American Coalition for Education, Asian American
                          Legal Foundation . (Randazza, Marc) (Entered: 07/30/2018)
         07/30/2018   461 MOTION for Leave to File Brief of Amici Curiae 460 Out of Time by Asian American
                          Coalition for Education, Asian American Legal Foundation. (Attachments: # 1 Text of
                          Proposed Order)(Randazza, Marc) (Entered: 07/30/2018)
         07/31/2018   462 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 459 Motion for
                          Leave to Appear Pro Hac Vice Added Gordon M. Fauth Jr. and Lee Cheng. Pursuant
                          to Local Rule 83.5.3, local counsel shall also file an appearance in this matter.
                          Further, local counsel shall review all filings and shall personally appear in Court
                          for any hearings or conferences, unless expressly excused by the Court for good
                          cause. Attorneys admitted Pro Hac Vice must register for electronic filing if the
                          attorney does not already have an ECF account in this district. To register go to
                          the Court website at www.mad.uscourts.gov. Select Case Information, then
                          Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form.
                          (McDonagh, Christina) (Entered: 07/31/2018)


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         07/31/2018   463 NOTICE OF ATTORNEY PAYMENT OF FEES as to 457 MOTION for Leave to
                          Appear Pro Hac Vice for admission of Sherrilyn A. Ifill, Janai S. Nelson, Samuel
                          Spital, Jin Hee Lee, Rachel M. Kleinman, Michaele N. Turnage Young, Jennifer A.
                          Holmes, and Cara McClellan by Amicus Parties Coalition for a Diverse Harvard, First
                          Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                          Brotherhood, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                          Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                          Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                          Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                          Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                          Asian American Women's Association, Harvard−Radcliffe Black Students
                          Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                          Harvard College, Native American Alumni of Harvard University, Native Americans
                          At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                          College. Filing fee $ 400, receipt number 0101−7253250. Payment Type : PRO HAC
                          VICE. (Thayer, Kenneth) (Entered: 07/31/2018)
         07/31/2018   464 NOTICE OF ATTORNEY PAYMENT OF FEES by Amicus Parties Coalition for a
                          Diverse Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard
                          Asian American Brotherhood, Harvard Islamic Society, Harvard Japan Society,
                          Harvard Korean Association, Harvard Latino Alumni Alliance, Harvard Minority
                          Association of Pre−Medical Students, Harvard Phillips Brooks House Association,
                          Harvard South Asian Association, Harvard University Muslim Alumni, Harvard
                          Vietnamese Association, Harvard−Radcliffe Asian American Association,
                          Harvard−Radcliffe Asian American Women's Association, Harvard−Radcliffe Black
                          Students Association, Harvard−Radcliffe Chinese Students Association, Kuumba
                          Singers of Harvard College, Native American Alumni of Harvard University, Native
                          Americans At Harvard College, Task Force on Asian and Pacific American Studies at
                          Harvard College. Filing fee $ 400, receipt number 0101−7253315. Payment Type :
                          PRO HAC VICE. (Thayer, Kenneth) (Entered: 07/31/2018)
         07/31/2018   465 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 455 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                          (date of order)− in the caption of the document. (Folan, Karen) (Entered: 07/31/2018)
         07/31/2018   466 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 461 Motion for
                          Leave to File Document ; Counsel using the Electronic Case Filing System should now
                          file the document for which leave to file has been granted in accordance with the
                          CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                          (date of order)− in the caption of the document. (Folan, Karen) (Entered: 07/31/2018)
         07/31/2018   467 AMICUS BRIEF filed by Asian American Coalition for Education, Asian American
                          Legal Foundation . (Randazza, Marc) (Entered: 07/31/2018)
         07/31/2018   468 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 457 Motion for
                          Leave to Appear Pro Hac Vice Added Sherrilyn A. Ifill, Janai S. Nelson, Samuel
                          Spital, Jin Hee Lee, Rachel M. Kleinman, Michaele N. Turnage Young, Jennifer A.
                          Holmes, and Cara McClellan. Pursuant to Local Rule 83.5.3, local counsel shall
                          also file an appearance in this matter. Further, local counsel shall review all
                          filings and shall personally appear in Court for any hearings or conferences,
                          unless expressly excused by the Court for good cause. Attorneys admitted Pro
                          Hac Vice must register for electronic filing if the attorney does not already have
                          an ECF account in this district. To register go to the Court website at
                          www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                          (CM/ECF) and go to the CM/ECF Registration Form. (McDonagh, Christina)
                          (Entered: 07/31/2018)
         08/01/2018   469 NOTICE by Asian American Legal Foundation NOTICE OF APPEARANCE OF LEE
                          C. CHENG AS COUNSEL FOR AMICUS CURIAE THE ASIAN AMERICAN LEGAL
                          FOUNDATION (Fauth, Gordon) (Entered: 08/01/2018)
         08/01/2018   470 NOTICE of Appearance by Gordon M. Fauth, Jr on behalf of Asian American
                          Coalition for Education, Asian American Legal Foundation (Fauth, Gordon) (Entered:
                          08/01/2018)

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         08/03/2018   471 AMICUS BRIEF filed by Coalition for a Diverse Harvard, First Generation Harvard
                          Alumni, Fuerza Latina of Harvard, Harvard Asian American Brotherhood, Harvard
                          Islamic Society, Harvard Japan Society, Harvard Korean Association, Harvard Latino
                          Alumni Alliance, Harvard Minority Association of Pre−Medical Students, Harvard
                          Phillips Brooks House Association, Harvard South Asian Association, Harvard
                          University Muslim Alumni, Harvard Vietnamese Association, Harvard−Radcliffe
                          Asian American Association, Harvard−Radcliffe Asian American Women's
                          Association, Harvard−Radcliffe Black Students Association, Harvard−Radcliffe
                          Chinese Students Association, Kuumba Singers of Harvard College, Native American
                          Alumni of Harvard University, Native Americans At Harvard College, Task Force on
                          Asian and Pacific American Studies at Harvard College in Support of Defendants'
                          Motion for Summary Judgment. (Attachments: # 1 Exhibit 2 Declaration, # 2 Exhibit 3
                          Declaration, # 3 Exhibit 4 Declaration, # 4 Exhibit 5 Declaration, # 5 Exhibit 6
                          Declaration, # 6 Exhibit 7 Declaration, # 7 Exhibit 8 Declaration, # 8 Exhibit 9
                          Declaration, # 9 Exhibit 10 Declaration, # 10 Exhibit 11 Declaration, # 11 Exhibit 12
                          Declaration, # 12 Exhibit 13 Declaration, # 13 Exhibit 14 Declaration, # 14 Exhibit 15
                          Declaration, # 15 Exhibit 16 Declaration, # 16 Exhibit 17 Declaration)(Thayer,
                          Kenneth) (Entered: 08/03/2018)
         08/06/2018   472 MOTION for Leave to Appear Pro Hac Vice for admission of Brenda Shum Filing fee:
                          $ 100, receipt number 0101−7261415 by M. B., K. C., Sarah Cole, Y. D., G. E., A. G.,
                          I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                          Vasquez−Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Shum Declaration, #
                          2 Text of Proposed Order Text of Proposed Order)(Cregor, Matthew) (Entered:
                          08/06/2018)
         08/06/2018   473 MOTION for Leave to Appear Pro Hac Vice for admission of Genevieve Bonadies
                          Torres Filing fee: $ 100, receipt number 0101−7261863 by M. B., K. C., Sarah Cole,
                          Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                          Vasquez−Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Certificate of Good
                          Standing, # 2 Declaration, # 3 Text of Proposed Order Text of Proposed
                          Order)(Cregor, Matthew) (Entered: 08/06/2018)
         08/06/2018   474 MOTION for Leave to Appear Pro Hac Vice for admission of Emma Dinan Filing fee:
                          $ 100, receipt number 0101−7261880 by M. B., K. C., Sarah Cole, Y. D., G. E., A. G.,
                          I. G., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez−Rodriguez,
                          Keyanna Wigglesworth. (Attachments: # 1 Declaration, # 2 Text of Proposed Order
                          Text of Proposed Order)(Cregor, Matthew) (Entered: 08/06/2018)
         08/06/2018   475 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 472 Motion for
                          Leave to Appear Pro Hac Vice Added Brenda Shum. Pursuant to Local Rule 83.5.3,
                          local counsel shall also file an appearance in this matter. Further, local counsel
                          shall review all filings and shall personally appear in Court for all hearings or
                          conferences, unless expressly excused by the Court for good cause. Attorneys
                          admitted Pro Hac Vice must register for electronic filing if the attorney does not
                          already have an ECF account in this district. To register go to the Court website
                          at www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                          (CM/ECF) and go to the CM/ECF Registration Form. (McDonagh, Christina)
                          (Entered: 08/06/2018)
         08/06/2018   476 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 473 Motion for
                          Leave to Appear Pro Hac Vice Added Genevieve Bonadies Torres. Pursuant to Local
                          Rule 83.5.3, local counsel shall also file an appearance in this matter. Further,
                          local counsel shall review all filings and shall personally appear in Court for all
                          hearings or conferences, unless expressly excused by the Court for good cause.
                          Attorneys admitted Pro Hac Vice must register for electronic filing if the attorney
                          does not already have an ECF account in this district. To register go to the Court
                          website at www.mad.uscourts.gov. Select Case Information, then Electronic
                          Filing (CM/ECF) and go to the CM/ECF Registration Form. (McDonagh,
                          Christina) (Entered: 08/06/2018)
         08/06/2018   477 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 474 Motion for
                          Leave to Appear Pro Hac Vice Added Emma Katherine Dinan. Pursuant to Local
                          Rule 83.5.3, local counsel shall also file an appearance in this matter. Further,
                          local counsel shall review all filings and shall personally appear in Court for all
                          hearings or conferences, unless expressly excused by the Court for good cause.

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                            Attorneys admitted Pro Hac Vice must register for electronic filing if the attorney
                            does not already have an ECF account in this district. To register go to the Court
                            website at www.mad.uscourts.gov. Select Case Information, then Electronic
                            Filing (CM/ECF) and go to the CM/ECF Registration Form. (McDonagh,
                            Christina) (Entered: 08/06/2018)
          08/13/2018   478 JOINT STATEMENT of counsel Regarding the Submission of Trial Briefs. (Mortara,
                           Adam) (Entered: 08/13/2018)
          08/13/2018   479 MEMORANDUM in Opposition re 455 MOTION for Leave to File to Participate as
                           Amici Curiae filed by Students for Fair Admissions, Inc.. (Attachments: # 1 Exhibit
                           1)(Hughes, John) (Entered: 08/13/2018)
          08/16/2018   480 MOTION for Leave to File Reply by Coalition for a Diverse Harvard, First Generation
                           Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American Brotherhood,
                           Harvard Islamic Society, Harvard Japan Society, Harvard Korean Association,
                           Harvard Latino Alumni Alliance, Harvard Minority Association of Pre−Medical
                           Students, Harvard Phillips Brooks House Association, Harvard South Asian
                           Association, Harvard University Muslim Alumni, Harvard Vietnamese Association,
                           Harvard−Radcliffe Asian American Association, Harvard−Radcliffe Asian American
                           Women's Association, Harvard−Radcliffe Black Students Association,
                           Harvard−Radcliffe Chinese Students Association, Kuumba Singers of Harvard
                           College, Native American Alumni of Harvard University, Native Americans At
                           Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College. (Attachments: # 1 Exhibit 1 − Proposed Reply to Students for Fair
                           Admissions, Inc.'s Memorandum in Opposition to Amici Organizations' Motion to
                           Participate as Amici Curiae)(Kleinman, Rachel) (Entered: 08/16/2018)
          08/16/2018   481 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 480 Motion for
                           Leave to File Document ; Counsel using the Electronic Case Filing System should now
                           file the document for which leave to file has been granted in accordance with the
                           CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                           (date of order)− in the caption of the document. (Folan, Karen) (Entered: 08/16/2018)
          08/16/2018   482 REPLY to Response to 455 MOTION for Leave to File to Participate as Amici Curiae
                           filed by Coalition for a Diverse Harvard, First Generation Harvard Alumni, Fuerza
                           Latina of Harvard, Harvard Asian American Brotherhood, Harvard Islamic Society,
                           Harvard Japan Society, Harvard Korean Association, Harvard Latino Alumni Alliance,
                           Harvard Minority Association of Pre−Medical Students, Harvard Phillips Brooks
                           House Association, Harvard South Asian Association, Harvard University Muslim
                           Alumni, Harvard Vietnamese Association, Harvard−Radcliffe Asian American
                           Association, Harvard−Radcliffe Asian American Women's Association,
                           Harvard−Radcliffe Black Students Association, Harvard−Radcliffe Chinese Students
                           Association, Kuumba Singers of Harvard College, Native American Alumni of
                           Harvard University, Native Americans At Harvard College, Task Force on Asian and
                           Pacific American Studies at Harvard College. (Kleinman, Rachel) (Entered:
                           08/16/2018)
          08/27/2018   483 MOTION to Seal Certain Information Filed in Connection with Harvard's Reply in
                           Support of its Motion for Summary Judgment by President and Fellows of Harvard
                           College.(Ellsworth, Felicia) (Entered: 08/27/2018)
          08/27/2018   484 REPLY to Response to 417 MOTION for Summary Judgment filed by President and
                           Fellows of Harvard College. (Waxman, Seth) (Entered: 08/27/2018)
          08/28/2018   485 Assented to MOTION to Seal by Students for Fair Admissions, Inc..(Strawbridge,
                           Patrick) (Entered: 08/28/2018)
          08/28/2018   486 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 483 Motion to
                           Seal (Folan, Karen) (Entered: 08/28/2018)
          08/28/2018   487 DECLARATION of Felicia H. Ellsworth ISO Defendant's Reply ISO Its Motion for
                           Summary Judgment by President and Fellows of Harvard College. (Attachments: # 1
                           Exhibit 159, # 2 Exhibit 160, # 3 Exhibit 161, # 4 Exhibit 162, # 5 Exhibit 163, # 6
                           Exhibit 164, # 7 Exhibit 165, # 8 Exhibit 166)(Ellsworth, Felicia) (Additional
                           attachment(s) added on 8/28/2018: # 9 Unredacted Memorandum, # 10 Exhibit 160
                           Unredacted Version (FILED UNDER SEAL), # 11 Exhibit 161 Unredacted Version

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                            (FILED UNDER SEAL), # 12 Exhibit 162 Unredacted Version (FILED UNDER
                            SEAL), # 13 Exhibit 163 Unredacted Version (FILED UNDER SEAL), # 14 Exhibit
                            164 Unredacted Version (FILED UNDER SEAL), # 15 Exhibit 165 Unredacted
                            Version (FILED UNDER SEAL)) (McDonagh, Christina). (Entered: 08/28/2018)
          08/29/2018   488 NOTICE of Appearance filed in error. Please see docket entry ECF 489 (Entered:
                           08/29/2018)
          08/29/2018   489 NOTICE of Appearance by Richard J. Rosensweig on behalf of Social Scientists and
                           Scholars (Attachments: # 1 Exhibit)(Rosensweig, Richard) (Entered: 08/29/2018)
          08/29/2018   490 Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Sarah E.
                           Harrington Filing fee: $ 100, receipt number 0101−7295782 by Social Scientists and
                           Scholars. (Attachments: # 1 Exhibit Certificate in Support of Pro Hac Vice Admission,
                           # 2 Exhibit List of Amici Curiae)(Rosensweig, Richard) (Entered: 08/29/2018)
          08/29/2018   491 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 490 Motion for
                           Leave to Appear Pro Hac Vice Added Sarah E. Harrington. Attorneys admitted Pro
                           Hac Vice must register for electronic filing if the attorney does not already have
                           an ECF account in this district. To register go to the Court website at
                           www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                           (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                           83.5.3, local counsel shall also file an appearance in this matter. Further, local
                           counsel shall review all filings and shall personally appear in Court for any
                           hearings or conferences, unless expressly excused by the Court for good cause.
                           (McDonagh, Christina) (Entered: 08/29/2018)
          08/29/2018   492 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 485 Motion to
                           Seal (Folan, Karen) (Entered: 08/29/2018)
          08/29/2018   493 MOTION for Leave to Appear Pro Hac Vice for admission of Earl A. Kirkland III
                           Filing fee: $ 100, receipt number 0101−7296869 by Coalition for a Diverse Harvard,
                           First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Brotherhood, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College. (Attachments: # 1 Exhibit Certification of Attorney Kirkland)(Thayer,
                           Kenneth) (Entered: 08/29/2018)
          08/30/2018   494 AMICUS BRIEF filed by Social Scientists and Scholars in Support of Defendant.
                           (Attachments: # 1 Appendix List of Amici)(Rosensweig, Richard) (Entered:
                           08/30/2018)
          08/30/2018   495 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 493 Motion for
                           Leave to Appear Pro Hac Vice Added Earl A. Kirkland III. Attorneys admitted Pro
                           Hac Vice must register for electronic filing if the attorney does not already have
                           an ECF account in this district. To register go to the Court website at
                           www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                           (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                           83.5.3, local counsel shall also file an appearance in this matter. Further, local
                           counsel shall review all filings and shall personally appear in Court for any
                           hearings or conferences, unless expressly excused by the Court for good cause.
                           (McDonagh, Christina) (Entered: 08/30/2018)
          08/30/2018   496 Assented to MOTION to Seal Statement of Interest by United States.(Donnelly,
                           Matthew) (Entered: 08/30/2018)
          08/30/2018   497 AMICUS BRIEF filed by United States in Opposition to Defendant's Motion for
                           Summary Judgment 417 . (Attachments: # 1 Exhibit Fitzsimmons Dep., # 2 Exhibit
                           Ortiz Dep., # 3 Exhibit Smith (2nd) Dep.)(Donnelly, Matthew) (Additional
                           attachment(s) added on 8/31/2018: # 4 Unredacted Version of United States' Statement

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                            of Interest Opposition to Defendant's Motion for Summary Judgment) (McDonagh,
                            Christina). (Entered: 08/30/2018)
          08/30/2018   498 NOTICE of Appearance by Derek Tam Ho on behalf of Amici Curiae Professors of
                           Economics Susan Dynarski, et al., in Support of Defendant (Ho, Derek) (Entered:
                           08/30/2018)
          08/30/2018   499 AMICUS BRIEF filed by Amici Curiae Professors of Economics Susan Dynarski, et
                           al., in Support of Defendant . (Ho, Derek) (Entered: 08/30/2018)
          08/30/2018   500 NOTICE of Appearance by Madeleine K. Rodriguez on behalf of Amici Curiae the
                           Asian American Legal Defense and Education Fund, et al. (Rodriguez, Madeleine)
                           (Entered: 08/30/2018)
          08/30/2018   501 MOTION for Leave to Appear Pro Hac Vice for admission of Kenneth Kimerling
                           Filing fee: $ 100, receipt number 0101−7297870 by Amici Curiae the Asian American
                           Legal Defense and Education Fund, et al.. (Attachments: # 1 Affidavit of Kenneth
                           Kimerling)(Rodriguez, Madeleine) (Entered: 08/30/2018)
          08/30/2018   502 AMICUS BRIEF filed by Amici Curiae the Asian American Legal Defense and
                           Education Fund, et al. in Opposition to Plaintiff's Motion for Summary Judgment.
                           (Rodriguez, Madeleine) (Entered: 08/30/2018)
          08/30/2018   503 MOTION for Leave to File to Participate as Amici Curiae by Harvard Black Alumni
                           Society, Harvard Asian American Alumni Alliance, Association of Black Harvard
                           Women, 21 Colorful Crimson. (Attachments: # 1 Exhibit Declaration, # 2 Exhibit
                           Declaration, # 3 Exhibit Declaration, # 4 Exhibit Declaration)(Thayer, Kenneth)
                           (Entered: 08/30/2018)
          08/30/2018   504 AMICUS BRIEF filed by 21 Colorful Crimson, Association of Black Harvard
                           Women, Coalition for a Diverse Harvard, First Generation Harvard Alumni, Fuerza
                           Latina of Harvard, Harvard Asian American Alumni Alliance, Harvard Asian
                           American Brotherhood, Harvard Black Alumni Society, Harvard Islamic Society,
                           Harvard Japan Society, Harvard Korean Association, Harvard Latino Alumni Alliance,
                           Harvard Minority Association of Pre−Medical Students, Harvard Phillips Brooks
                           House Association, Harvard South Asian Association, Harvard University Muslim
                           Alumni, Harvard Vietnamese Association, Harvard−Radcliffe Asian American
                           Association, Harvard−Radcliffe Asian American Women's Association,
                           Harvard−Radcliffe Black Students Association, Harvard−Radcliffe Chinese Students
                           Association, Kuumba Singers of Harvard College, Native American Alumni of
                           Harvard University, Native Americans At Harvard College, Task Force on Asian and
                           Pacific American Studies at Harvard College in Opposition to Plaintiff's Motion for
                           Summary Judgment. (Thayer, Kenneth) (Entered: 08/30/2018)
          08/30/2018   505 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 496 Motion to
                           Seal (Folan, Karen) (Entered: 08/30/2018)
          08/30/2018   506 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 501 Motion for
                           Leave to Appear Pro Hac Vice Added Kenneth Kimerling. Attorneys admitted Pro
                           Hac Vice must register for electronic filing if the attorney does not already have
                           an ECF account in this district. To register go to the Court website at
                           www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                           (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                           83.5.3, local counsel shall also file an appearance in this matter. Further, local
                           counsel shall review all filings and shall personally appear in Court for any
                           hearings or conferences, unless expressly excused by the Court for good cause.
                           (McDonagh, Christina) (Entered: 08/30/2018)
          08/30/2018   507 MOTION for Leave to Appear Pro Hac Vice for admission of Sarah Hinger Filing fee:
                           $ 100, receipt number 0101−7298403 by American Civil Liberties Union, American
                           Civil Liberties Union Foundation of Massachusetts, Inc.. (Attachments: # 1 Affidavit
                           Affidavit of Sarah Hinger in Support of Motion to Appear Pro Hac Vice)(Segal,
                           Matthew) (Entered: 08/30/2018)
          08/30/2018   508 BRIEF by American Civil Liberties Union, American Civil Liberties Union
                           Foundation of Massachusetts, Inc. in Opposition to Plaintiffs Motion For Summary
                           Judgment. (Segal, Matthew) (Entered: 08/30/2018)

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          08/30/2018   509 MEMORANDUM in Opposition re 412 MOTION for Summary Judgment filed by M.
                           B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini
                           Kumari Nawal, R. S., Itzel Vasquez−Rodriguez, Keyanna Wigglesworth.
                           (Attachments: # 1 Exhibit Student Record)(Culleen, Lawrence) (Entered: 08/30/2018)
          08/30/2018   510 REPLY to Response to 412 MOTION for Summary Judgment filed by Students for
                           Fair Admissions, Inc.. (Consovoy, William) (Additional attachment(s) added on
                           8/31/2018: # 1 Unredacted Memorandum) (McDonagh, Christina). (Entered:
                           08/30/2018)
          08/30/2018   511 Counter Statement of Material Facts L.R. 56.1 re 412 MOTION for Summary
                           Judgment filed by Students for Fair Admissions, Inc.. (Consovoy, William)
                           (Additional attachment(s) added on 8/31/2018: # 1 Unredacted Response to Statement
                           of Material Facts) (McDonagh, Christina). (Entered: 08/30/2018)
          08/30/2018   512 DECLARATION re 510 Reply to Response to Motion for Summary Judgment by
                           Students for Fair Admissions, Inc.. (Attachments: # 1 Exhibit 286, # 2 Exhibit
                           287)(Consovoy, William) (Additional attachment(s) added on 8/31/2018: # 3 Exhibit
                           286 (Unredacted Version FILED UNDER SEAL), # 4 Exhibit 287 (UNREDACTED
                           VERSION FILED UNDER SEAL)) (McDonagh, Christina). (Additional attachment(s)
                           added on 8/31/2018: # 5 Unredacted Declaration of Michael Connolly) (McDonagh,
                           Christina). (Entered: 08/30/2018)
          08/30/2018   513 NOTICE of Appearance by Douglass C. Lawrence on behalf of Southeastern Legal
                           Foundation, Center for Equal Opportunity, Reason Foundation (Lawrence, Douglass)
                           (Entered: 08/30/2018)
          08/30/2018   514 AMICUS BRIEF filed by Center for Equal Opportunity, Reason Foundation,
                           Southeastern Legal Foundation in Opposition to Defendants Motion for Summary
                           Judgment. (Lawrence, Douglass) (Entered: 08/30/2018)
          08/31/2018   515 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 507 Motion for
                           Leave to Appear Pro Hac Vice Added Sarah Hinger. Attorneys admitted Pro Hac
                           Vice must register for electronic filing if the attorney does not already have an
                           ECF account in this district. To register go to the Court website at
                           www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                           (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                           83.5.3, local counsel shall also file an appearance in this matter. Further, local
                           counsel shall review all filings and shall personally appear in Court for any
                           hearings or conferences, unless expressly excused by the Court for good cause.
                           (McDonagh, Christina) (Entered: 08/31/2018)
          08/31/2018   516 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 503 Motion for
                           Leave to File Document ; Counsel using the Electronic Case Filing System should now
                           file the document for which leave to file has been granted in accordance with the
                           CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                           (date of order)− in the caption of the document. (Folan, Karen) (Entered: 08/31/2018)
          08/31/2018   517 AMICUS BRIEF filed by 21 Colorful Crimson, Association of Black Harvard
                           Women, Coalition for a Diverse Harvard, First Generation Harvard Alumni, Fuerza
                           Latina of Harvard, Harvard Asian American Alumni Alliance, Harvard Asian
                           American Brotherhood, Harvard Black Alumni Society, Harvard Islamic Society,
                           Harvard Japan Society, Harvard Korean Association, Harvard Latino Alumni Alliance,
                           Harvard Minority Association of Pre−Medical Students, Harvard Phillips Brooks
                           House Association, Harvard South Asian Association, Harvard University Muslim
                           Alumni, Harvard Vietnamese Association, Harvard−Radcliffe Asian American
                           Association, Harvard−Radcliffe Asian American Women's Association,
                           Harvard−Radcliffe Black Students Association, Harvard−Radcliffe Chinese Students
                           Association, Kuumba Singers of Harvard College, Native American Alumni of
                           Harvard University, Native Americans At Harvard College, Task Force on Asian and
                           Pacific American Studies at Harvard College in Opposition to Plaintiff's Motion for
                           Summary Judgment. (Attachments: # 1 Exhibit Declaration, # 2 Exhibit Declaration, #
                           3 Exhibit Declaration, # 4 Exhibit Declaration)(Thayer, Kenneth) (Entered:
                           08/31/2018)
          08/31/2018   518 MOTION Participate in Trial Proceedings by M. B., K. C., Sarah Cole, Y. D., G. E.,
                           A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel

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                            Vasquez−Rodriguez, Keyanna Wigglesworth.(Culleen, Lawrence) (Entered:
                            08/31/2018)
          09/04/2018   519 Amicus Curiae APPEARANCE entered by Sarah E. Harrington on behalf of Social
                           Scientists and Scholars. (Attachments: # 1 Exhibit Exhibit A: List of
                           Amici)(Harrington, Sarah) (Entered: 09/04/2018)
          09/04/2018   520 NOTICE of Appearance by Sherrilyn A. Ifill on behalf of 21 Colorful Crimson,
                           Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                           Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                           Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College (Ifill, Sherrilyn) (Entered: 09/04/2018)
          09/04/2018   521 NOTICE of Appearance by Samuel Spital on behalf of 21 Colorful Crimson,
                           Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                           Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                           Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College (Spital, Samuel) (Entered: 09/04/2018)
          09/04/2018   522 NOTICE of Appearance by Jin Hee Lee on behalf of 21 Colorful Crimson,
                           Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                           Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                           Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College (Lee, Jin) (Entered: 09/04/2018)
          09/04/2018   523 NOTICE of Appearance by Rachel M. Kleinman on behalf of 21 Colorful Crimson,
                           Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                           Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                           Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College (Kleinman, Rachel) (Entered: 09/04/2018)
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          09/04/2018   524 NOTICE of Appearance by Michaele N. Turnage Young on behalf of 21 Colorful
                           Crimson, Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                           Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                           Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College (Turnage Young, Michaele) (Entered: 09/04/2018)
          09/04/2018   525 NOTICE of Appearance by Jennifer A. Holmes on behalf of 21 Colorful Crimson,
                           Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                           Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                           Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College (Holmes, Jennifer) (Entered: 09/04/2018)
          09/04/2018   526 NOTICE of Appearance by Cara McClellan on behalf of 21 Colorful Crimson,
                           Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                           Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                           Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College (McClellan, Cara) (Entered: 09/04/2018)
          09/05/2018   527 MOTION for Leave to File Amended Amicus Brief by Amici Curiae Professors of
                           Economics Susan Dynarski, et al., in Support of Defendant. (Attachments: # 1 Exhibit
                           A − Proposed Amended Brief)(Ho, Derek) (Entered: 09/05/2018)
          09/05/2018   528 MOTION for Leave to Appear Pro Hac Vice for admission of Meg E. Fasulo,
                           Katherine L.I. Hacker, J. Scott McBride, and Krista J. Perry Filing fee: $ 400, receipt
                           number 0101−7305513 by Students for Fair Admissions, Inc.. (Attachments: # 1
                           Fasulo Certification, # 2 Hacker Certificaton, # 3 McBride Certification, # 4 Perry
                           Certification, # 5 Text of Proposed Order)(Strawbridge, Patrick) (Entered: 09/05/2018)
          09/06/2018   529 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 528 Motion for
                           Leave to Appear Pro Hac Vice Added J. Scott McBride, Katherine L.I. Hacker, Meg
                           E. Fasulo, and Krista J. Perry. Attorneys admitted Pro Hac Vice must register for
                           electronic filing if the attorney does not already have an ECF account in this
                           district. To register go to the Court website at www.mad.uscourts.gov. Select
                           Case Information, then Electronic Filing (CM/ECF) and go to the CM/ECF
                           Registration Form. Pursuant to Local Rule 83.5.3, local counsel shall also file an
                           appearance in this matter. Further, local counsel shall review all filings and shall
                           personally appear in Court for any hearings or conferences, unless expressly
                           excused by the Court for good cause. (McDonagh, Christina) (Entered: 09/06/2018)


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          09/06/2018   530 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 527 Motion for
                           Leave to File Document ; Counsel using the Electronic Case Filing System should now
                           file the document for which leave to file has been granted in accordance with the
                           CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                           (date of order)− in the caption of the document. (Folan, Karen) (Entered: 09/06/2018)
          09/06/2018   531 AMENDED DOCUMENT by Amici Curiae Professors of Economics Susan Dynarski,
                           et al., in Support of Defendant. Amendment to 499 Amicus brief filed Amended Brief
                           of Professors of Economics As Amici Curiae In Support of Defendant. (Ho, Derek)
                           (Entered: 09/06/2018)
          09/07/2018   532 MOTION To Participate In Trial by 21 Colorful Crimson, Association of Black
                           Harvard Women, Coalition for a Diverse Harvard, First Generation Harvard Alumni,
                           Fuerza Latina of Harvard, Harvard Asian American Alumni Alliance, Harvard Asian
                           American Brotherhood, Harvard Black Alumni Society, Harvard Islamic Society,
                           Harvard Japan Society, Harvard Korean Association, Harvard Latino Alumni Alliance,
                           Harvard Minority Association of Pre−Medical Students, Harvard Phillips Brooks
                           House Association, Harvard South Asian Association, Harvard University Muslim
                           Alumni, Harvard Vietnamese Association, Harvard−Radcliffe Asian American
                           Association, Harvard−Radcliffe Asian American Women's Association,
                           Harvard−Radcliffe Black Students Association, Harvard−Radcliffe Chinese Students
                           Association, Kuumba Singers of Harvard College, Native American Alumni of
                           Harvard University, Native Americans At Harvard College, Task Force on Asian and
                           Pacific American Studies at Harvard College.(Turnage Young, Michaele) (Entered:
                           09/07/2018)
          09/10/2018   533 NOTICE of Appearance by Janai S. Nelson on behalf of 21 Colorful Crimson,
                           Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                           Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                           Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College (Nelson, Janai) (Entered: 09/10/2018)
          09/10/2018   534 NOTICE of Appearance by Earl A. Kirkland, III on behalf of 21 Colorful Crimson,
                           Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                           Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                           Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College (Kirkland, Earl) (Entered: 09/10/2018)
          09/10/2018   535 NOTICE of Appearance by Sarah R. Frazier on behalf of President and Fellows of
                           Harvard College (Frazier, Sarah) (Entered: 09/10/2018)
          09/10/2018   536 MOTION for Leave to Appear Pro Hac Vice for admission of Danielle Conley and
                           Brittany Amadi Filing fee: $ 200, receipt number 0101−7312062 by President and
                           Fellows of Harvard College. (Attachments: # 1 Conley Certification in Support of
                           Motion, # 2 Amadi Certification in Support of Motion)(Ellsworth, Felicia) Modified
                           on 9/11/2018 (McDonagh, Christina). (Entered: 09/10/2018)



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          09/11/2018   537 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 536 Motion for
                           Leave to Appear Pro Hac Vice Added Danielle Conley and Brittany Amadi. Attorneys
                           admitted Pro Hac Vice must register for electronic filing if the attorney does not
                           already have an ECF account in this district. To register go to the Court website
                           at www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                           (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                           83.5.3, local counsel shall also file an appearance in this matter. Further, local
                           counsel shall review all filings and shall personally appear in Court for any
                           hearings or conferences, unless expressly excused by the Court for good cause.
                           (McDonagh, Christina) (Entered: 09/11/2018)
          09/12/2018   538 NOTICE of Appearance by Ara B. Gershengorn on behalf of President and Fellows of
                           Harvard College (Gershengorn, Ara) (Entered: 09/12/2018)
          09/13/2018   539 Assented to MOTION for Leave to Appear Pro Hac Vice for admission of John J.
                           Park, Jr. Filing fee: $ 100, receipt number 0101−7318306 by Center for Equal
                           Opportunity, Reason Foundation, Southeastern Legal Foundation. (Attachments: # 1
                           Affidavit of John J. Park, Jr.)(Lawrence, Douglass) (Entered: 09/13/2018)
          09/14/2018   540 Assented to MOTION to Seal Portions of Pre−Trial Motions by Students for Fair
                           Admissions, Inc..(Strawbridge, Patrick) (Entered: 09/14/2018)
          09/14/2018   541 RESPONSE to Motion re 518 MOTION Participate in Trial Proceedings , 532
                           MOTION To Participate In Trial filed by President and Fellows of Harvard College.
                           (Waxman, Seth) (Entered: 09/14/2018)
          09/14/2018   542 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 540 Motion to
                           Seal (Folan, Karen) (Entered: 09/14/2018)
          09/14/2018   543 Opposition re 518 MOTION Participate in Trial Proceedings filed by Students for Fair
                           Admissions, Inc.. (Hughes, John) (Entered: 09/14/2018)
          09/14/2018   544 Letter/request (non−motion) from Jahjah T. Jishbite. (McDonagh, Christina) (Entered:
                           09/17/2018)
          09/17/2018   545 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 539 Motion for
                           Leave to Appear Pro Hac Vice Added John J. Park Jr.. Attorneys admitted Pro Hac
                           Vice must register for electronic filing if the attorney does not already have an
                           ECF account in this district. To register go to the Court website at
                           www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                           (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                           83.5.3, local counsel shall also file an appearance in this matter. Further, local
                           counsel shall review all filings and shall personally appear in Court for any
                           hearings or conferences, unless expressly excused by the Court for good cause.
                           (McDonagh, Christina) (Entered: 09/17/2018)
          09/17/2018   546 MOTION in Limine by Students for Fair Admissions, Inc.. (Attachments: # 1 Exhibit
                           1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5)(Hughes, John) (Entered:
                           09/17/2018)
          09/17/2018   547 MOTION in Limine by President and Fellows of Harvard College.(Waxman, Seth)
                           (Entered: 09/17/2018)
          09/21/2018   550 Opposition re 532 MOTION To Participate In Trial filed by Students for Fair
                           Admissions, Inc.. (Hughes, John) (Entered: 09/21/2018)
          09/21/2018   551 Unopposed Motion for leave to File a Reply in regards to 518 MOTION Participate in
                           Trial Proceedings filed by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J.
                           L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez−Rodriguez, Keyanna
                           Wigglesworth. (Attachments: # 1 Exhibit)(Culleen, Lawrence) Modified on 9/25/2018
                           (McDonagh, Christina). (Entered: 09/21/2018)
          09/26/2018   555 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 551 Motion for
                           Leave to File Document ; Counsel using the Electronic Case Filing System should now
                           file the document for which leave to file has been granted in accordance with the
                           CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                           (date of order)− in the caption of the document. (Folan, Karen) (Entered: 09/26/2018)


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          09/26/2018   558 REPLY to Response to 518 MOTION Participate in Trial Proceedings filed by M. B.,
                           K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari
                           Nawal, R. S., Itzel Vasquez−Rodriguez, Keyanna Wigglesworth. (Culleen, Lawrence)
                           (Entered: 09/26/2018)
          09/26/2018   559 MOTION for Leave to File Response to the United States' Statement of Interest by
                           President and Fellows of Harvard College. (Attachments: # 1 Proposed
                           Response)(Waxman, Seth) (Entered: 09/26/2018)
          09/27/2018   560 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 559 Motion for
                           Leave to File Document ; Counsel using the Electronic Case Filing System should now
                           file the document for which leave to file has been granted in accordance with the
                           CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                           (date of order)− in the caption of the document. (Folan, Karen) (Entered: 09/27/2018)
          09/27/2018   561 Response by President and Fellows of Harvard College to 497 Amicus brief filed, by
                           the United States. (Waxman, Seth) (Entered: 09/27/2018)
          09/27/2018   562 Assented to MOTION for Leave to File Reply by 21 Colorful Crimson, Association of
                           Black Harvard Women, Coalition for a Diverse Harvard, First Generation Harvard
                           Alumni, Fuerza Latina of Harvard, Harvard Asian American Alumni Alliance,
                           Harvard Asian American Brotherhood, Harvard Black Alumni Society, Harvard
                           Islamic Society, Harvard Japan Society, Harvard Korean Association, Harvard Latino
                           Alumni Alliance, Harvard Minority Association of Pre−Medical Students, Harvard
                           Phillips Brooks House Association, Harvard South Asian Association, Harvard
                           University Muslim Alumni, Harvard Vietnamese Association, Harvard−Radcliffe
                           Asian American Association, Harvard−Radcliffe Asian American Women's
                           Association, Harvard−Radcliffe Black Students Association, Harvard−Radcliffe
                           Chinese Students Association, Kuumba Singers of Harvard College, Native American
                           Alumni of Harvard University, Native Americans At Harvard College, Task Force on
                           Asian and Pacific American Studies at Harvard College. (Attachments: # 1 Exhibit
                           Proposed Reply)(Holmes, Jennifer) (Entered: 09/27/2018)
          09/27/2018   563 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 562 Motion for
                           Leave to File Document ; Counsel using the Electronic Case Filing System should now
                           file the document for which leave to file has been granted in accordance with the
                           CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                           (date of order)− in the caption of the document. (Folan, Karen) (Entered: 09/27/2018)
          09/27/2018   564 REPLY to Response to 532 MOTION To Participate In Trial filed by 21 Colorful
                           Crimson, Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                           Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                           Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                           Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                           Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                           Pre−Medical Students, Harvard Phillips Brooks House Association, Harvard South
                           Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                           Association, Harvard−Radcliffe Asian American Association, Harvard−Radcliffe
                           Asian American Women's Association, Harvard−Radcliffe Black Students
                           Association, Harvard−Radcliffe Chinese Students Association, Kuumba Singers of
                           Harvard College, Native American Alumni of Harvard University, Native Americans
                           At Harvard College, Task Force on Asian and Pacific American Studies at Harvard
                           College. (Holmes, Jennifer) (Entered: 09/27/2018)
          09/28/2018   565 Consent MOTION to Seal by Students for Fair Admissions, Inc..(Strawbridge, Patrick)
                           (Entered: 09/28/2018)
          09/28/2018   566 Judge Allison D. Burroughs: MEMORANDUM AND ORDER entered. Accordingly,
                           the cross−motions for summary judgment [ECF Nos. 412 , 417 ] are denied without
                           prejudice. Consistent with this order, the parties may renew their arguments at trial.
                           SO ORDERED. (McDonagh, Christina) (Entered: 09/28/2018)
          09/28/2018   567 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                             The Courts Summary Judgment Memorandum and Order ("Opinion") cites to several
                             paragraphs in the parties submissions that were filed with redactions. The Court has
                             concluded that two of these paragraphs must be filed without redactions. SFFA shall

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                             email the Court's docket clerk an updated version of its Statement of Material Fact
                             [ECF No. 414 −2] with the redaction in 130 removed, and an updated version of its
                             Counter Statement of Material Facts [ECF No. 452 ] with the redaction in its response
                             to 73 removed.

                             The Court finds "good cause" to maintain under seal the remaining redacted statements
                             cited by the Opinion, which consist primarily of individuals' names and other
                             personally identifiable information. Bradford & Bigelow, Inc. v. Richardson, 109 F.
                             Supp. 3d 445, 447 (D. Mass. 2015). The parties disagree about whether there is
                             sufficient cause to maintain partial or complete sealing of approximately 100 exhibits
                             and numerous statements in the parties' submissions. See [ECF No. 422 at 21−24].
                             Given that the court has not relied on these materials in its Opinion and some of this
                             information may become public during trial, the Court will defer deciding the issues
                             raised by the parties' memoranda on sealing [ECF Nos. 422 , 427 ] until the conclusion
                             of trial.

                             (McDonagh, Christina) (Entered: 09/28/2018)
          09/28/2018   568 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 565 Motion to
                           Seal (Folan, Karen) (Entered: 09/28/2018)
          10/01/2018   569 Opposition re 547 MOTION in Limine filed by Students for Fair Admissions, Inc..
                           (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                           6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit
                           11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit
                           16)(Mortara, Adam) (Attachment 6 replaced on 10/1/2018) (McDonagh, Christina).
                           (Additional attachment(s) added on 10/2/2018: # 17 Unredacted Memorandum in
                           Opposition (FILED UNDER SEAL), # 18 Exhibit 4 (Filed Under Seal)) (McDonagh,
                           Christina). (Entered: 10/01/2018)
          10/01/2018   570 PRETRIAL MEMORANDUM by Students for Fair Admissions, Inc.. (Attachments: #
                           1 Exhibit A1, # 2 Exhibit A2, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit
                           E, # 7 Exhibit F)(Mortara, Adam) (Additional attachment(s) added on 10/2/2018: # 8
                           Exhibit A1 (Filed Under Seal)) (McDonagh, Christina). (Entered: 10/01/2018)
          10/01/2018   571 Opposition re 546 MOTION in Limine filed by President and Fellows of Harvard
                           College. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                           Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit
                           10)(Waxman, Seth) (Entered: 10/01/2018)
          10/02/2018   572 ELECTRONIC NOTICE OF RESCHEDULING Final Pretrial Conference reset for
                           10/3/2018 09:00 AM in Courtroom 17 before Judge Allison D. Burroughs. NOTICE
                           IS FOR TIME CHANGE ONLY.(Folan, Karen) (Entered: 10/02/2018)
          10/03/2018   573 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Final Pretrial Conference held on 10/3/2018. Colloquy re: pending motions, trial
                           schedule and logistics. (Court Reporter: Joan Daly at
                           joanmdaly62@gmail.com.)(Attorneys present: various) (Folan, Karen) (Entered:
                           10/03/2018)
          10/03/2018   574 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                             As was more fully set forth during the October 3, 2018 pretrial conference, the parties
                             motions in limine (MIL), see [ECF Nos. 546 , 547 ], are resolved as follows:

                             SFFAs MIL No. 1 which sought to preclude Harvard from calling Edward Blum as a
                             witness is denied as moot, see [ECF No. 571 ].

                             SFFAs MIL No. 2 which sought to preclude evidence or argument regarding portions
                             of application files relevant to personal ratings is denied with leave to renew or object
                             at trial.

                             SFFAs MIL No. 3 concerning the expected testimony of Dean Khurana is resolved as
                             follows: Dean Khurana was not noticed as an expert and, therefore, may not be called
                             as an expert witness. He may, however, testify as a percipient witness and based on his
                             personal knowledge.

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                             Harvards MIL No.1 to exclude evidence concerning its early twentieth−century
                             discrimination against Jewish applicants is granted in part and denied in part. In the
                             interests of developing a complete factual record, but also recognizing the somewhat
                             attenuated relevance, the Court will allow a very limited presentation of this topic
                             including through exhibits, stipulations and direct and cross examination.

                             Harvards MIL No. 2 to preclude evidence regarding Harvards invocation of the
                             attorney−client privilege is denied with leave to renew or object at trial in recognition
                             of the fact that there are proper and improper uses for the documents at issue.

                             (McDonagh, Christina) (Entered: 10/03/2018)
          10/03/2018   575 Judge Allison D. Burroughs: ORDER entered. MEMORANDUM AND
                           ORDER(McDonagh, Christina) (Entered: 10/03/2018)
          10/03/2018   576 EXHIBIT 1 by Lawrence Crawford. (Attachments: # 1 Exhibit 2, # 2 Exhibit 3, # 3
                           Exhibit 4, # 4 Exhibit 5, # 5 Exhibit 6) *Note that the envelop of this filing states
                           that it is being made as 2 of 2 but Clerk's Office never received envelop 1 of 2 so
                           there is no motion to link this to on the docket*(McDonagh, Christina) (Entered:
                           10/05/2018)
          10/05/2018   578 AFFIDAVIT of Lawrence Crawford re 576 Exhibit, by Lawrence Crawford.
                           (Attachments: # 1 Affidavit, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4)
                           *Note this is envelop 1 of 2.(McDonagh, Christina) (Entered: 10/09/2018)
          10/08/2018   577 Request for Judicial Notice by Students for Fair Admissions, Inc.. (Attachments: # 1
                           Exhibit DX−13, # 2 Exhibit DX−40, # 3 Exhibit P500)(Mortara, Adam) (Entered:
                           10/08/2018)
          10/10/2018   579 NOTICE by 21 Colorful Crimson, Association of Black Harvard Women, Coalition
                           for a Diverse Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard,
                           Harvard Asian American Alumni Alliance, Harvard Asian American Brotherhood,
                           Harvard Black Alumni Society, Harvard Islamic Society, Harvard Japan Society,
                           Harvard Korean Association, Harvard Latino Alumni Alliance, Harvard Minority
                           Association of Pre−Medical Students, Harvard Phillips Brooks House Association,
                           Harvard South Asian Association, Harvard University Muslim Alumni, Harvard
                           Vietnamese Association, Harvard−Radcliffe Asian American Association,
                           Harvard−Radcliffe Asian American Women's Association, Harvard−Radcliffe Black
                           Students Association, Harvard−Radcliffe Chinese Students Association, Kuumba
                           Singers of Harvard College, Native American Alumni of Harvard University, Native
                           Americans At Harvard College, Task Force on Asian and Pacific American Studies at
                           Harvard College re 575 Memorandum & ORDER Regarding Witnesses and Opening
                           Statement (Thayer, Kenneth) (Entered: 10/10/2018)
          10/11/2018   580 NOTICE of Appearance by Joseph J. Mueller on behalf of President and Fellows of
                           Harvard College (Mueller, Joseph) (Entered: 10/11/2018)
          10/12/2018   581 NOTICE by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal
                           Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez−Rodriguez, Keyanna Wigglesworth
                           re 575 Memorandum & ORDER REGARDING TRIAL WITNESSES, REQUEST FOR
                           DATE CERTAIN FOR STUDENT TESTIMONY, AND NOTICE OF INTENT TO
                           PRESENT ORAL OPENING STATEMENT (Culleen, Lawrence) (Entered: 10/12/2018)
          10/15/2018   585 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 1 held on 10/15/2018. Opening statements by the parties. Dean
                           William Fitzsimmons sworn and testifies. (Court Reporter: Joan Daly at
                           joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/18/2018)
          10/16/2018   582 Transcript of Bench Trial − Day One held on October 15, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                           Request due 11/6/2018. Redacted Transcript Deadline set for 11/16/2018. Release of
                           Transcript Restriction set for 1/14/2019. (Scalfani, Deborah) (Entered: 10/16/2018)
          10/16/2018   583 Transcript of Bench Trial − Day Two held on October 16, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at

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                             the public terminal, or viewed through PACER after it is released. Court Reporter
                             Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                             Request due 11/6/2018. Redacted Transcript Deadline set for 11/16/2018. Release of
                             Transcript Restriction set for 1/14/2019. (Scalfani, Deborah) (Entered: 10/16/2018)
          10/16/2018   584 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                           the court reporter in the above−captioned matter. Counsel are referred to the Court's
                           Transcript Redaction Policy, available on the court website at
                           http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                           (Entered: 10/16/2018)
          10/16/2018   586 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 2 held on 10/16/2018. Testimony of William Fitzsimmons resumes.
                           (Court Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered:
                           10/18/2018)
          10/17/2018   587 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 3 held on 10/17/2018. Testimony of William Fitzsimmons resumes.
                           (Court Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered:
                           10/18/2018)
          10/18/2018   589 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 4 held on 10/18/2018. Dean Fitzsimmons testimony continues.
                           Christopher Looby and Erica Bever sworn and testify. (Court Reporter: Joan Daly at
                           joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/22/2018)
          10/19/2018   590 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 5 held on 10/19/2018. Erica Bever testimony continues. Erin
                           Driver−Linn and Marlyn McGrath sworn and testify. (Court Reporter: Joan Daly at
                           joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/22/2018)
          10/21/2018   588 MOTION Admit Exhibit P9 by Students for Fair Admissions, Inc.. (Attachments: # 1
                           Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Mortara, Adam) (Entered:
                           10/21/2018)
          10/22/2018   591 Letter/request (non−motion) from Jahjah Al Mahdi. (McDonagh, Christina) (Entered:
                           10/22/2018)
          10/22/2018   592 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 6 held on 10/22/2018. Richard Kahlenberg sworn and testifies.
                           Marlyn McGrath testimony resumes. Rakesh Khurana sworn and testifies. (Court
                           Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered:
                           10/23/2018)
          10/23/2018   594 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 7 held on 10/23/2018. Rakesh Khurana, Michael Smith, and
                           Elizabeth Yong sworn and testify. (Court Reporter: Joan Daly at
                           joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/24/2018)
          10/24/2018   593 Judge Allison D. Burroughs: ELECTRONIC ORDER entered finding as moot 588
                           Motion to Admit Exhibit P9 (Folan, Karen) (Entered: 10/24/2018)
          10/24/2018   599 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 8 held on 10/24/2018. Mark Hansen, Roger Banks, Charlene Kim,
                           and Tia Ray sworn and testify. (Court Reporter: Joan Daly at
                           joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/29/2018)
          10/25/2018   595 AFFIDAVIT of Lawrence Crawford re 591 Letter/request (non−motion) by Lawrence
                           Crawford. (McDonagh, Christina) (Entered: 10/26/2018)
          10/25/2018   600 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 9 held on 10/25/2018. Peter Arcidiacono sworn and testifies. (Court
                           Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered:
                           10/29/2018)
          10/26/2018   601 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 10 held on 10/26/2018. Testimony of Peter Arcidiacono resumes.
                           Deposition testimony read into the record. (Court Reporter: Joan Daly at

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                             joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/29/2018)
          10/26/2018   609 Opposition to SFFA's Oral Motion to Admit P438 and P588 by President and Fellows
                           of Harvard College. (Folan, Karen) (Entered: 11/02/2018)
          10/27/2018   596 Assented to MOTION to Seal by Students for Fair Admissions, Inc..(Hacker,
                           Katherine) (Entered: 10/27/2018)
          10/27/2018   597 NOTICE by Students for Fair Admissions, Inc. of Deposition Designations Played in
                           Court (Attachments: # 1 Script report)(Hacker, Katherine) (Entered: 10/27/2018)
          10/29/2018   598 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 596 Motion to
                           Seal (Folan, Karen) (Entered: 10/29/2018)
          10/29/2018   606 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 11 held on 10/29/2018. Margaret Chin, Sarah Cole, Catherine Ho,
                           Cecelia Nunez, Thang Diep, Madison Trice, and Sally Chen all sworn and testify.
                           (Court Reporter: Kelly Mortellite and Joan Daly at joanmdaly62@gmail.com.) (Folan,
                           Karen) (Entered: 10/31/2018)
          10/30/2018   602 NOTICE by Students for Fair Admissions, Inc. Bench Brief Regarding Exhibits D669
                           Through D730 (Mortara, Adam) (Entered: 10/30/2018)
          10/30/2018   603 NOTICE by Students for Fair Admissions, Inc. Offer of Proof of Deposition
                           Designations (Mortara, Adam) (Additional attachment(s) added on 10/30/2018: # 1
                           Exhibit 1 (Filed under Seal), # 2 Exhibit 2 (Filed Under Seal), # 3 Exhibit 3 (Filed
                           Under Seal)) (McDonagh, Christina). (Entered: 10/30/2018)
          10/30/2018   604 Letter/request (non−motion) from Harvard in Response to Dkt. 602. (Waxman, Seth)
                           (Entered: 10/30/2018)
          10/30/2018   605 Reply in Support of Admission of P438 and P588 by Students for Fair Admissions,
                           Inc. (Mortara, Adam) Modified on 11/1/2018 (McDonagh, Christina). (Entered:
                           10/30/2018)
          10/30/2018   607 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 12 held on 10/30/2018. Ruth Simmons and David Card sworn and
                           testify. (Court Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen)
                           (Entered: 10/31/2018)
          10/31/2018   608 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 13 held on 10/31/2018. Testimony of David Card resumes. (Court
                           Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered:
                           11/01/2018)
          11/01/2018   613 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 14 held on 11/1/2018. Testimony of David Card resumes. Marlyn
                           McGrath sworn and testifies. Plaintiff rests. Drew Faust sworn and testifies.
                           Deposition testimony read into the record. Defense rests. (Court Reporter: Joan Daly at
                           joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 11/13/2018)
          11/02/2018   614 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Bench Trial Day 15 completed on 11/2/2018. Closing arguments by the parties. (Court
                           Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered:
                           11/13/2018)
          11/05/2018   610 NOTICE of Change of Address or Firm Name by Adam K Mortara (Mortara, Adam)
                           (Entered: 11/05/2018)
          11/05/2018   611 NOTICE by Students for Fair Admissions, Inc. Admitted Exhibit List (Mortara, Adam)
                           (Entered: 11/05/2018)
          11/06/2018   612 ELECTRONIC NOTICE of Hearing.Hearing on Arguments in support of proposed
                           findings set for 2/13/2019 02:00 PM in Courtroom 17 before Judge Allison D.
                           Burroughs. (Folan, Karen) (Entered: 11/06/2018)
          11/13/2018   615 Joint MOTION Entry of Scheduling Order by Students for Fair Admissions,
                           Inc..(Consovoy, William) (Entered: 11/13/2018)


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          11/14/2018   616 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 615 Motion for
                           Entry of Scheduling Order (Folan, Karen) (Entered: 11/14/2018)
          11/14/2018   617 NOTICE by President and Fellows of Harvard College Corrected Admitted Exhibit
                           List (Attachments: # 1 Exhibit 01)(Ellsworth, Felicia) (Entered: 11/14/2018)
          12/18/2018   618 Consent MOTION to Seal by Students for Fair Admissions, Inc..(Consovoy, William)
                           (Entered: 12/19/2018)
          12/19/2018   619 Proposed Findings of Fact by President and Fellows of Harvard College.
                           (Attachments: # 1 Appendix Selected Exhibits)(Waxman, Seth) (Entered: 12/19/2018)
          12/19/2018   620 Proposed Findings of Fact by Students for Fair Admissions, Inc.. (Attachments: # 1
                           Appendix)(Consovoy, William) (Additional attachment(s) added on 12/20/2018: # 2
                           Unredacted Version, # 3 Appendix Unredacted Version) (McDonagh, Christina).
                           (Entered: 12/19/2018)
          12/20/2018   621 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 618 Motion to
                           Seal (Folan, Karen) (Entered: 12/20/2018)
          01/08/2019   622 AMICUS BRIEF filed by Asian American Coalition for Education AMICI CURIAE
                           BRIEF OF THE ASIAN AMERICAN COALITION FOR EDUCATION AND THE
                           ASIAN AMERICAN LEGAL FOUNDATION, IN SUPPORT OF PLAINTIFF
                           STUDENTS FOR FAIR ADMISSIONS, INC.. (Fauth, Gordon) (Entered: 01/08/2019)
          01/09/2019   623 Proposed Findings of Fact by 21 Colorful Crimson, Association of Black Harvard
                           Women, Coalition for a Diverse Harvard, First Generation Harvard Alumni, Fuerza
                           Latina of Harvard, Harvard Asian American Alumni Alliance, Harvard Asian
                           American Brotherhood, Harvard Black Alumni Society, Harvard Islamic Society,
                           Harvard Japan Society, Harvard Korean Association, Harvard Latino Alumni Alliance,
                           Harvard Minority Association of Pre−Medical Students, Harvard Phillips Brooks
                           House Association, Harvard South Asian Association, Harvard University Muslim
                           Alumni, Harvard Vietnamese Association, Harvard−Radcliffe Asian American
                           Association, Harvard−Radcliffe Asian American Women's Association,
                           Harvard−Radcliffe Black Students Association, Harvard−Radcliffe Chinese Students
                           Association, Kuumba Singers of Harvard College, Native American Alumni of
                           Harvard University, Native Americans At Harvard College, Task Force on Asian and
                           Pacific American Studies at Harvard College. (Lee, Jin) (Entered: 01/09/2019)
          01/09/2019   624 AMICUS BRIEF filed by Amici Curiae Economists Michael Keane et al., in Support
                           of Students for Fair Admissions . (Attachments: # 1 Exhibit A)(Clark, Randall)
                           (Entered: 01/09/2019)
          01/09/2019   625 AMICUS BRIEF filed by Amici Curiae the Asian American Legal Defense and
                           Education Fund, et al. in Support of Defendant. (Rodriguez, Madeleine) (Entered:
                           01/09/2019)
          01/09/2019   626 Proposed Findings of Fact by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R.
                           H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez−Rodriguez,
                           Keyanna Wigglesworth. (Culleen, Lawrence) (Entered: 01/09/2019)
          01/23/2019   627 Proposed Findings of Fact by Students for Fair Admissions, Inc.. (Consovoy, William)
                           (Entered: 01/23/2019)
          01/23/2019   628 Response by President and Fellows of Harvard College to 620 Proposed Findings of
                           Fact . (Waxman, Seth) (Entered: 01/23/2019)
          01/31/2019   629 Hearing of arguments in support of proposed findings of fact and conclusions of law is
                           rescheduled for February 13, 2019 at 1:30 PM in Courtroom 17. This is a TIME
                           change only. SFFA and Harvard may each have up to 60 minutes for argument. Amici
                           groups "Students" and "Organizations" will each be allowed up to 15 minutes. See
                           ECF No. 575 .(McDonagh, Christina) (Entered: 01/31/2019)
          02/13/2019   630 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                           Hearing re on arguments in support of proposed findings of fact and conclusions of
                           law held on 2/13/2019. (Court Reporter: Joan Daly at joanmdaly62@gmail.com.)
                           (Folan, Karen) (Entered: 02/13/2019)


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          04/18/2019   631 Transcript of Bench Trial − Day One held on October 15, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                           Request due 5/9/2019. Redacted Transcript Deadline set for 5/20/2019. Release of
                           Transcript Restriction set for 7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   632 Transcript of Bench Trial − Day Two held on October 16, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                           Request due 5/9/2019. Redacted Transcript Deadline set for 5/20/2019. Release of
                           Transcript Restriction set for 7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   633 Transcript of Bench Trial − Day Three held on October 17, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                           Request due 5/9/2019. Redacted Transcript Deadline set for 5/20/2019. Release of
                           Transcript Restriction set for 7/17/2019.(Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   634 SEALED Transcript of Bench Trial − Day Three held on October 17, 2018, before
                           Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Joan
                           Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   635 Transcript of Bench Trial − Day Four held on October 18, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                           Request due 5/9/2019. Redacted Transcript Deadline set for 5/20/2019. Release of
                           Transcript Restriction set for 7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   636 Transcript of Bench Trial − Day Five held on October 19, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Kelly Mortellite and Joan Daly at
                           joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                           Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                           (Scalfani, Deborah) Modified on 4/18/2019 (Scalfani, Deborah). (Entered: 04/18/2019)
          04/18/2019   637 SEALED Transcript of Bench Trial − Day Five held on October 19, 2018, before
                           Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                           Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered:
                           04/18/2019)
          04/18/2019   638 Transcript of Bench Trial − Day Six held on October 22, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                           Request due 5/9/2019. Redacted Transcript Deadline set for 5/20/2019. Release of
                           Transcript Restriction set for 7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   639 SEALED Transcript of Bench Trial − Day Six held on October 22, 2018, before Judge
                           Allison D. Burroughs. Court Reporter Name and Contact Information: Joan Daly at
                           joanmdaly62@gmail.com (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   640 Transcript of Bench Trial − Day Seven held on October 23, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                           Request due 5/9/2019. Redacted Transcript Deadline set for 5/20/2019. Release of
                           Transcript Restriction set for 7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   641 SEALED Transcript of Bench Trial − Day Seven held on October 23, 2018, before
                           Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Joan
                           Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered: 04/18/2019)


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          04/18/2019   642 Transcript of Bench Trial − Day Eight held on October 24, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Kelly Mortellite and Joan Daly at
                           joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                           Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                           (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   643 SEALED Transcript of Bench Trial − Day Eight held on October 24, 2018, before
                           Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                           Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered:
                           04/18/2019)
          04/18/2019   644 Transcript of Bench Trial − Day Nine held on October 25, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                           Request due 5/9/2019. Redacted Transcript Deadline set for 5/20/2019. Release of
                           Transcript Restriction set for 7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   645 SEALED Transcript of Bench Trial − Day Nine held on October 25, 2018, before
                           First. Court Reporter Name and Contact Information: Joan Daly at
                           joanmdaly62@gmail.com (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   646 Transcript of Bench Trial − Day Ten held on October 26, 2018, before Judge Allison
                           D. Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Kelly Mortellite and Joan Daly at
                           joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                           Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                           (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   647 SEALED Transcript of Bench Trial − Day Ten held on October 26, 2018, before Judge
                           Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly Mortellite
                           and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   648 Transcript of Bench Trial − Day Eleven held on October 29, 2018, before Judge
                           Allison D. Burroughs. The Transcript may be purchased through the Court Reporter,
                           viewed at the public terminal, or viewed through PACER after it is released. Court
                           Reporter Name and Contact Information: Kelly Mortellite and Joan Daly at
                           joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                           Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                           (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   649 SEALED Transcript of Bench Trial − Day Eleven held on October 29, 2018, before
                           Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                           Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered:
                           04/18/2019)
          04/18/2019   650 Transcript of Bench Trial − Day Twelve held on October 30, 2018, before Judge
                           Allison D. Burroughs. The Transcript may be purchased through the Court Reporter,
                           viewed at the public terminal, or viewed through PACER after it is released. Court
                           Reporter Name and Contact Information: Kelly Mortellite and Joan Daly at
                           joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                           Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                           (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   651 SEALED Transcript of Jury Trial − Day Twelve held on October 30, 2018, before
                           Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                           Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered:
                           04/18/2019)
          04/18/2019   652 Transcript of Bench Trial − Day Thirteen held on October 31, 2018, before Judge
                           Allison D. Burroughs. The Transcript may be purchased through the Court Reporter,
                           viewed at the public terminal, or viewed through PACER after it is released. Court
                           Reporter Name and Contact Information: Kelly Mortellite and Joan Daly at
                           joanmdaly62@gmail.com Redacted Transcript Deadline set for 5/20/2019. Release of
                           Transcript Restriction set for 7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
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          04/18/2019   653 SEALED Transcript of Bench Trial − Day Thirteen held on October 31, 2018, before
                           Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                           Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered:
                           04/18/2019)
          04/18/2019   654 Transcript of Bench Trial − Day Fourteen held on November 1, 2018, before Judge
                           Allison D. Burroughs. The Transcript may be purchased through the Court Reporter,
                           viewed at the public terminal, or viewed through PACER after it is released. Court
                           Reporter Name and Contact Information: Kelly Mortellite and Joan Daly at
                           joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                           Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                           (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   655 SEALED Transcript of Bench Trial − Day Fourteen held on November 1, 2018, before
                           Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                           Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered:
                           04/18/2019)
          04/18/2019   656 Transcript of Bench Trial Day Fifteen (Closing Arguments) held on November 2,
                           2018, before Judge Allison D. Burroughs. The Transcript may be purchased through
                           the Court Reporter, viewed at the public terminal, or viewed through PACER after it is
                           released. Court Reporter Name and Contact Information:Kelly Mortellite and Joan
                           Daly at joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted
                           Transcript Deadline set for 5/20/2019. Release of Transcript Restriction set for
                           7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
          04/18/2019   657 SEALED Transcript of Bench Trial − Day Fifteen held on November 2, 2018, before
                           Judge Allison D. Burroughs. Court Reporter Name and Contact Information:Kelly
                           Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered:
                           04/18/2019)
          04/18/2019   658 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                           the court reporter in the above−captioned matter. Counsel are referred to the Court's
                           Transcript Redaction Policy, available on the court website at
                           http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                           (Entered: 04/18/2019)
          05/14/2019   659 NOTICE of Withdrawal of Appearance by Michael H. Park (Park, Michael) (Entered:
                           05/14/2019)
          05/16/2019   660 NOTICE of Withdrawal of Appearance by Lawrence Culleen on behalf of Brenda
                           Shum (Culleen, Lawrence) (Entered: 05/16/2019)
          06/04/2019   661 NOTICE of Withdrawal of Appearance by Lawrence Culleen on behalf of Nicole K.
                           Ochi (Culleen, Lawrence) (Entered: 06/04/2019)
          06/07/2019   662 MOTION for Leave to Appear Pro Hac Vice for admission of Laboni Hoq Filing fee:
                           $ 100, receipt number 0101−7721447 by M. B., K. C., Sarah Cole, Y. D., G. E., A. G.,
                           I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                           Vasquez−Rodriguez, Keyanna Wigglesworth.(Sellstrom, Oren) (Entered: 06/07/2019)
          06/07/2019   663 MOTION for Leave to Appear Pro Hac Vice for admission of Christopher Lapinig
                           Filing fee: $ 100, receipt number 0101−7721517 by M. B., K. C., Sarah Cole, Y. D.,
                           G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                           Vasquez−Rodriguez, Keyanna Wigglesworth.(Sellstrom, Oren) (Entered: 06/07/2019)
          06/10/2019   664 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 662 Motion for
                           Leave to Appear Pro Hac Vice Added Laboni Hoq. Attorneys admitted Pro Hac
                           Vice must register for electronic filing if the attorney does not already have an
                           ECF account in this district. To register go to the Court website at
                           www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                           (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                           83.5.3, local counsel shall also file an appearance in this matter. Further, local
                           counsel shall review all filings and shall personally appear in Court for any
                           hearings or conferences, unless expressly excused by the Court for good cause.
                           (McDonagh, Christina) (Entered: 06/10/2019)


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          06/10/2019   665 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 663 Motion for
                           Leave to Appear Pro Hac Vice Added Christopher Lapinig. Attorneys admitted Pro
                           Hac Vice must register for electronic filing if the attorney does not already have
                           an ECF account in this district. To register go to the Court website at
                           www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                           (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                           83.5.3, local counsel shall also file an appearance in this matter. Further, local
                           counsel shall review all filings and shall personally appear in Court for any
                           hearings or conferences, unless expressly excused by the Court for good cause.
                           (McDonagh, Christina) (Entered: 06/10/2019)
          07/01/2019   666 Transcript of Closing Arguments held on February 13, 2019, before Judge Allison D.
                           Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                           the public terminal, or viewed through PACER after it is released. Court Reporter
                           Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                           Request due 7/22/2019. Redacted Transcript Deadline set for 8/1/2019. Release of
                           Transcript Restriction set for 9/30/2019. (Scalfani, Deborah) (Entered: 07/01/2019)
          07/01/2019   667 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                           the court reporter in the above−captioned matter. Counsel are referred to the Court's
                           Transcript Redaction Policy, available on the court website at
                           http://www.mad.uscourts.gov/attorneys/general−info.htm (Scalfani, Deborah)
                           (Entered: 07/01/2019)
          07/02/2019   668 NOTICE of Withdrawal of Appearance by Daniel Winik (Winik, Daniel) (Entered:
                           07/02/2019)
          08/16/2019   669 NOTICE of Withdrawal of Appearance by Andrew R. Varcoe (Varcoe, Andrew)
                           (Entered: 08/16/2019)
          08/22/2019   671 Letter. (McDonagh, Christina) (Entered: 09/04/2019)
          08/27/2019   670 USCA Judgment In Re: Lawrence L. Crawford. Appeal No. 18−8022. The petition is
                           DISMISSED for want of jurisdiction. All pending motions are DENIED. (Pacho,
                           Arnold) (Entered: 08/28/2019)
          09/30/2019   672 Judge Allison D. Burroughs: ORDER entered. FINDINGS OF FACT AND
                           CONCLUSIONS OF LAW (McDonagh, Christina) (Entered: 10/01/2019)
          09/30/2019   673 Judge Allison D. Burroughs: ORDER entered. Judgment for the Defendant President
                           and Fellows of Harvard College (Harvard Corporation).(McDonagh, Christina)
                           (Entered: 10/01/2019)
          10/04/2019   674 NOTICE OF APPEAL 672 FINDINGS OF FACT AND CONCLUSIONS OF LAW
                           673 JUDGMENT by Students for Fair Admissions, Inc. Filing fee: $ 505, receipt
                           number 0101−7910565 Fee Status: Not Exempt. NOTICE TO COUNSEL: A
                           Transcript Report/Order Form, which can be downloaded from the First Circuit Court
                           of Appeals web site at http://www.ca1.uscourts.gov MUST be completed and
                           submitted to the Court of Appeals. Counsel shall register for a First Circuit
                           CM/ECF Appellate Filer Account at http://pacer.psc.uscourts.gov/cmecf. Counsel
                           shall also review the First Circuit requirements for electronic filing by visiting the
                           CM/ECF Information section at http://www.ca1.uscourts.gov/cmecf. US District
                           Court Clerk to deliver official record to Court of Appeals by 10/24/2019.
                           (Consovoy, William) (Modified on 10/4/2019 to Correct Docket Text and
                           CM/ECF Document Link − Appealed Orders) (Paine, Matthew). (Entered:
                           10/04/2019)
          10/07/2019   675 Certified and Transmitted Abbreviated Electronic Record on Appeal to US Court of
                           Appeals re 674 Notice of Appeal. (Paine, Matthew) (Entered: 10/07/2019)
          10/08/2019   676 USCA Case Number 19−2005 for 674 Notice of Appeal filed by Students for Fair
                           Admissions, Inc.. (Paine, Matthew) (Entered: 10/08/2019)
          12/09/2019   677 NOTICE of Withdrawal of Appearance by Lawrence Culleen on behalf of Laboni A.
                           Hoq (Culleen, Lawrence) (Entered: 12/09/2019)




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                                 UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF MASSACHUSETTS
                                         BOSTON DIVISION

       STUDENTS FOR FAIR ADMISSIONS, INC.,

                                      Plaintiff,
                                                                    Civil Action No. 1:14-cv-14176-ADB
              v.

       PRESIDENT AND FELLOWS OF HARVARD
       COLLEGE,

                                      Defendant.

                                             NOTICE OF APPEAL
              Plaintiff, Students for Fair Admissions, Inc., now appeals to the United States Court of

       Appeals for the First Circuit this Court’s final judgment entered on October 1, 2019.

        Dated: October 4, 2019                                      Respectfully submitted,


                                                                      /s/ William S. Consovoy
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                                          CERTIFICATE OF SERVICE
                 I certify that this document was filed via the CM/ECF system, which will notify all counsel of

       record.

                                                                  /s/ William S. Consovoy
                                                                  Counsel for Plaintiff




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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS
                                         BOSTON DIVISION


          STUDENTS FOR FAIR ADMISSIONS, INC.,

                                  Plaintiff,                            Civil Action No. __________
                          v.

          PRESIDENT AND FELLOWS OF HARVARD                              COMPLAINT
          COLLEGE (HARVARD CORPORATION); and THE
          HONORABLE AND REVEREND THE BOARD OF                           JURY TRIAL DEMANDED
          OVERSEERS,

                                  Defendants.


                  Plaintiff Students for Fair Admissions, Inc. brings this action to obtain, among

          other relief, a declaratory judgment under the Declaratory Judgment Act, 28 U.S.C. §

          2201, that Defendant President and Fellows of Harvard College (“Harvard Corporation”)

          and The Honorable and Reverend the Board of Overseers (“Board of Overseers” and

          together with Harvard Corporation, “Defendants” or “Harvard”) have employed and are

          employing racially and ethnically discriminatory policies and procedures in administering

          the undergraduate admissions program at Harvard College in violation of Title VI of the

          Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq. (“Title VI”).                Harvard’s

          undergraduate admissions policies and procedures have injured and continue to injure

          Plaintiff’s members by intentionally and improperly discriminating against them on the

          basis of their race and ethnicity in violation of Title VI.

          I.      INTRODUCTION

                  1.      This is an action brought under Title VI of the Civil Rights Act of 1964 to

          prohibit Harvard from engaging in intentional discrimination on the basis of race and

          ethnicity. “Classifications of citizens solely on the basis of race are by their very nature



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          odious to a free people whose institutions are founded upon the doctrine of equality.

          They threaten to stigmatize individuals by reason of their membership in a racial group

          and to incite racial hostility.” Shaw v. Reno, 509 U.S. 630, 643 (1993) (citations and

          quotations omitted). As a consequence, racial classifications are highly disfavored and

          have been permitted only when there is a compelling government interest that cannot be

          met through race-neutral means.      In the educational setting, “diversity”is the only

          interest the Supreme Court has found compelling. Even then, the Supreme Court has

          mandated strict judicial scrutiny to ensure that an academic institution is actually

          pursuing that interest and that it is absolutely necessary to employ racial preferences in

          order to achieve a diverse student body.

                 2.      Yet the Supreme Court has always had misgivings about its decision to

          permit any use of racial preferences in university admissions. See City of Richmond v.

          J.A. Croson Co., 488 U.S. 469, 518 (1989) (Kennedy, J., concurring in part and

          concurring in the judgment). The Supreme Court was nevertheless convinced to permit

          racial preferences in pursuit of diversity for two reasons. First, based mainly on an

          amicus brief that Harvard submitted, the Supreme Court was led to believe that schools

          only would “take account of race as one, nonpredominant factor in a system designed to

          consider each applicant as an individual.” Grutter v. Bollinger, 539 U.S. 306, 387 (2003)

          (Kennedy, J., dissenting) (citing Regents of Univ. of Cal. v. Bakke, 438 U.S. 265, 289-91

          (1978)). Second, the Supreme Court believed that the “strict scrutiny standard [would]

          operate in a manner generally consistent with the imperative of race neutrality, because it

          forbids the use even of narrowly drawn racial classifications except as a last resort.”




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          Croson, 488 U.S. at 519 (Kennedy, J., concurring in part and concurring in the

          judgment).

                 3.      The Supreme Court was misled. The admissions plan Harvard advocated

          for in Bakke (the “Harvard Plan”) that promised to treat each applicant as an individual

          has always been an elaborate mechanism for hiding Harvard’s systematic campaign of

          racial and ethnic discrimination against certain disfavored classes of applicants. Indeed,

          the Harvard Plan was created for the specific purpose of discriminating against Jewish

          applicants. Put simply, Bakke “legitimated an admissions process that is inherently

          capable of gross abuse and that … has in fact been deliberately manipulated for the

          specific purpose of perpetuating religious and ethnic discrimination in college

          admissions.” Alan Dershowitz and Laura Hanft, Affirmative Action and the Harvard

          College Diversity-Discretion Model: Paradigm or Pretext, 1 Cardozo L. Rev. 379, 385

          (1979). Today it is used to hide intentional discrimination against Asian Americans.

          Harvard is using the same “holistic” code words to discriminate for the same invidious

          reasons and it is relying on the same pretextual excuses to justify its disparate treatment

          of another high-achieving racial and ethnic minority group.

                 4.      In any event, even if the Harvard Plan at some point outgrew its

          discriminatory roots, Harvard has long since abandoned an admissions policy that

          purported to merely use race contextually to fill the last few seats in the entering

          freshman class. Harvard now labels every applicant by race on the claim that it is

          pursuing the so-called “critical mass” diversity objective. That creates two problems for

          Harvard. First, as it has abandoned the very “plan” that led the Supreme Court to permit

          the use of racial admissions preferences, Harvard has deprived the Court of any




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          continuing “authority to approve the use of race in pursuit of student diversity.” Grutter,

          539 U.S. at 394 (Kennedy, J., dissenting). Second, Harvard’s new diversity interest—

          critical mass—should never have been endorsed and should be outlawed once and for all.

          “[T]he concept of critical mass is a delusion used … to mask [an] attempt to make race

          an automatic factor in most instances and to achieve numerical goals indistinguishable

          from quotas.” Id. at 389.

                 5.      Worse still, Harvard is not even pursuing its claimed “critical mass”

          interest. Rather, even under governing Supreme Court precedent, Harvard is violating

          Title VI for at least four reasons. First, Harvard is using racial classifications to engage

          in the same brand of invidious discrimination against Asian Americans that it formerly

          used to limit the number of Jewish students in its student body. Statistical evidence

          reveals that Harvard uses “holistic” admissions to disguise the fact that it holds Asian

          Americans to a far higher standard than other students and essentially forces them to

          compete against each other for admission. There is nothing high-minded about this

          campaign of invidious discrimination. It is “illegitimate racial prejudice or stereotype.”

          Croson, 488 U.S. at 493.

                 6.      Second, Harvard is engaging in racial balancing.         Over an extended

          period, Harvard’s admission and enrollment figures for each racial category have shown

          almost no change. Each year, Harvard admits and enrolls essentially the same percentage

          of African Americans, Hispanics, whites, and Asian Americans even though the

          application rates and qualifications for each racial group have undergone significant

          changes over time. This is not the coincidental byproduct of an admissions system that

          treats each applicant as an individual; indeed, the statistical evidence shows that Harvard




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          modulates its racial admissions preference whenever there is an unanticipated change in

          the yield rate of a particular racial group in the prior year. Harvard’s remarkably stable

          admissions and enrollment figures over time are the deliberate result of systemwide

          intentional racial discrimination designed to achieve a predetermined racial balance of its

          student body.

                 7.       Third, Harvard is failing to use race merely as a “plus factor” in

          admissions decisions.     Rather, Harvard’s racial preference for each student (which

          equates to a penalty imposed upon Asian-American applicants) is so large that race

          becomes the “defining feature of his or her application.” Grutter, 539 U.S. at 337. Only

          using race or ethnicity as a dominant factor in admissions decisions could, for example,

          account for the remarkably low admission rate for high-achieving Asian-American

          applicants. Harvard’s admissions decisions simply are not explainable on grounds other

          than race. High-achieving Asian-American applicants are as broadly diverse and eclectic

          in their abilities and interests as any other group seeking admission to Harvard. They

          compete in interscholastic sports, are members of the school band, work part-time jobs

          after school, travel, and engage in volunteer work just like everyone else. It is not a lack

          of non-academic achievement that is keeping them from securing admission.              It is

          Harvard’s dominant use of racial preferences to their detriment.

                 8.       Fourth, and last, Harvard is using race in admissions decisions when race-

          neutral alternatives can achieve diversity.      As other elite universities have shown,

          increased utilization of non-race-based criteria, such as socioeconomic preferences, can

          promote diversity about as well as racial preferences. This approach is particularly

          effective when combined with increased use of financial aid, scholarships, and




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          recruitment to attract and enroll minority applicants and the elimination of admissions

          policies and practices, such as legacy preferences and early admission, which operate to

          the disadvantage of minority applicants.         Further, eliminating racial preferences at

          Harvard will alleviate the substantial harm these discriminatory policies cause to those

          minority applicants who receive such admissions preferences, the Harvard community,

          and society as a whole. Racial preferences are a dangerous tool and may only be used as

          a last resort. There is now overwhelming evidence that race-neutral alternatives render

          reliance on racial preferences unnecessary. It is incumbent on Harvard to take full

          advantage of these preferred alternatives.

                 9.      Accordingly, there is no doubt that Harvard is in violation of Title VI.

          The only question is the proper judicial response. Given what is occurring at Harvard

          and at other schools, the proper response is the outright prohibition of racial preferences

          in university admissions— period. Allowing this issue to be litigated in case after case

          will only “perpetuate the hostilities that proper consideration of race is designed to

          avoid.” Grutter, 539 U.S. at 394 (Kennedy, J., dissenting). Harvard and other academic

          institutions cannot and should not be trusted with the awesome and historically dangerous

          tool of racial classification. As in the past, they will use any leeway the Supreme Court

          grants them to use racial preferences in college admissions— under whatever rubric— to

          engage in racial stereotyping, discrimination against disfavored minorities, and quota-

          setting to advance their social-engineering agenda. Strict scrutiny has proven to be no

          match for concerted discrimination hidden behind the veil of “holistic”admissions.

          There may be times when social problems can be solved democratically. But massive

          resistance to racial equality is not one of them. See Brown v. Bd. of Educ. of Topeka,




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          Kan., 349 U.S. 294 (1955). “The moral imperative of racial neutrality is the driving force

          of the Equal Protection Clause …. Structural protections may be necessities if moral

          imperatives are to be obeyed.” Croson, 488 U.S. at 518 (Kennedy, J., concurring in part

          and concurring in the judgment).

          II.    JURISDICTION AND VENUE

                 10.     This action arises under 42 U.S.C. § 2000d et seq. This Court has subject

          matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.

                 11.     Venue is proper in the District of Massachusetts under 28 U.S.C. § 1391

          because the events giving rise to the claims detailed herein occurred in the District of

          Massachusetts.

          III.   THE PARTIES

                 A.      Plaintiff

                 12.     Plaintiff, Students for Fair Admissions, Inc. (“SFFA”) is an Internal

          Revenue Code Section 501(c)(3) organization formed for the purpose of defending

          human and civil rights secured by law, including the right of individuals to equal

          protection under the law, through litigation and any other lawful means.            More

          specifically, SFFA seeks to promote and protect the right of the public to be free from

          discrimination on the basis of race in higher education admissions.

                 13.     SFFA is a coalition of prospective applicants and applicants to higher

          education institutions who were denied admission to higher education institutions, their

          parents, and other individuals who support the organization’s purpose and mission of

          eliminating racial discrimination in higher education admissions. SFFA has members

          throughout the country.




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                 14.     Edward Blum is the President of SFFA. See Exhibit A, Declaration of

          Edward Blum (“Blum Dec.”
                                 ) ¶ 2.

                 15.     SFFA has at least one member (“Applicant”
                                                                 ) who applied for and was

          denied admission to Harvard’s 2014 entering class. Blum Dec. ¶ 4.

                 16.     Applicant is Asian American. Blum Dec. ¶ 5.

                 17.     Applicant’s parents are first-generation immigrants to the United States

          from China. Blum Dec. ¶ 6.

                 18.     Applicant graduated from high school ranked 1 out of 460 students by

          weighted and un-weighted grade point average. Blum Dec. ¶ 7.

                 19.     U.S. News and World Report ranks Applicant’s high school in the top 5

          percent of all high schools in the United States. Blum Dec. ¶ 8.

                 20.     Applicant achieved a perfect score of 36 on the ACT. Applicant achieved

          a perfect score of 800 for SAT II History and a perfect score of 800 for SAT II Math.

          Among other academic achievements, Applicant was named an AP Scholar with

          distinction, a National Scholar, and a National Merit Scholarship semifinalist. Blum Dec.

          ¶ ¶ 9-10.

                 21.     While in high school, Applicant participated in numerous extracurricular

          and volunteer activities. Among other things, Applicant was captain of the varsity tennis

          team, volunteered at a community tennis camp, volunteered for the high school’s student

          peer tutoring program, was a volunteer fundraiser for National Public Radio, and traveled

          to China as part of a program organized by the United States Consulate General and

          Chinese American Students Education and Exchange to assist students in learning

          English writing and presentation skills. Blum Dec. ¶ 11.




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                 22.     Applicant was denied the opportunity to compete for admission to Harvard

          on equal footing with other applicants on the basis of race or ethnicity due to Harvard’s

          discriminatory admissions policies. Blum Dec. ¶ 12.

                 23.     Applicant was accepted to and has enrolled at a university that is ranked in

          the Top 20 in the nation by U.S. News and World Report. That university does not grant

          an admissions preference on the basis of race or ethnicity. Blum Dec. ¶ 13.

                 24.     Applicant is ready, able, and intends to seek to transfer to Harvard when it

          ceases the use of race or ethnicity as an admissions preference and ceases its intentional

          discrimination against Asian Americans. Blum Dec. ¶ 14.

                 25.     SFFA has members who are currently in high school and intend to apply

          for admission to Harvard (“Future Applicants”
                                                      ). Some of these Future Applicants are

          Asian American. Blum Dec. ¶ 15.

                 26.     Future Applicants will be denied the opportunity to compete for admission

          to Harvard on equal footing with other applicants on the basis of race or ethnicity due to

          Harvard’s discriminatory admissions policies. As a result, Future Applicants may be

          denied admission to Harvard because of these discriminatory policies. Blum Dec. ¶ 16.

                 27.     SFFA has members whose children intend to apply for admission to

          Harvard (“Parents”
                           ). Some of these Parents are Asian Americans. Blum Dec. ¶ 17.

                 28.     Parents’ children will be denied the opportunity to compete for admission

          to Harvard on equal footing with other applicants on the basis of race or ethnicity due to

          Harvard’s discriminatory admissions policies. As a result, Parents’ children may be

          denied admission to Harvard because of these discriminatory policies. Blum Dec. ¶ 18.




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                  B.     Defendants

                  29.    Defendants, the Harvard Corporation and Harvard Board of Overseers

          govern Harvard University.

                  30.    Harvard University is a private educational institution based in

          Cambridge, Massachusetts.

                  31.    Harvard College is a component of Harvard University that offers

          undergraduate, graduate, professional, and research programs in the fields of arts,

          science, medicine, business, design, and public health.

                  32.    Despite having an endowment of approximately $36.4 billion, Harvard

          accepts substantial direct financial assistance from the Federal government through,

          among other things, grants and loans. In 2010, Harvard accepted more than $6.6 million

          in federal funds. In 2011, Harvard accepted more than $11.9 million in federal funds. In

          2012, Harvard accepted more than $20.9 million in federal funds. In 2013, Harvard

          accepted more than $13.4 million in federal funds. Harvard also has received and will

          further receive substantial direct financial assistance from the Federal government in

          2014.

                  33.    Harvard also accepts substantial indirect Federal financial assistance by,

          among other things, enrolling students who pay, in part, with Federal financial aid

          directly distributed to those students.

                  34.    As a recipient of Federal financial assistance, Harvard University, and all

          of its programs and activities, which includes Harvard College, are subject to Title VI of

          the Civil Rights Act of 1964, 42 U.S.C. § 2000d et. seq.




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          IV.       HARVARD    HAS  A   LONG   HISTORY   OF INTENTIONAL
                    DISCRIMINATION ON THE BASIS OF RACE OR ETHNICITY
                    AGAINST DISFAVORED MINORITY APPLICANTS.

                    35.   Discrimination on the basis of race or ethnicity is longstanding at Harvard.

          The “Harvard Plan” itself— and the concept of an admissions system based on a

          “holistic”review of applicants instead of admission based on academic qualifications—

          was formulated for the specific purpose of discriminating against disfavored minority

          groups. “Indeed, the historical evidence points inexorably to the conclusion that the

          current Harvard College admissions system was born out of one of the most shameful

          episodes in the history of American higher education in general, and of Harvard college

          in particular.” Alan Dershowitz and Laura Hanft, Affirmative Action and the Harvard

          College Diversity-Discretion Model: Paradigm or Pretext, 1 Cardozo L. Rev. 379, 385

          (1979).

                    A.    1900s to 1920s: Before “Selective Admissions”

                    36.   Until the early 1920s, Harvard, like all other Ivy League schools, selected

          its students by admitting applicants who passed a required examination.

                    37.   Because Harvard’s entrance examination was not especially demanding,

          an applicant for undergraduate admission with average intelligence from a prominent

          school could usually pass with ease.

                    38.   Though the performance of some students placed them in a gray zone

          from which they could be admitted “with conditions,”most applicants were admitted

          based solely on objective academic criteria.

                    39.   Under this system, the number of students entering Harvard fluctuated,

          sometimes quite widely, from year to year.




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                 40.     Harvard’s student body during this time period was fairly homogenous in

          terms of class, race, religion, and ethnicity.    Students during this time period were

          overwhelmingly from affluent backgrounds, almost exclusively white, and composed

          largely of graduates of elite private secondary schools.

                 41.     Harvard was considered somewhat open to African Americans,

          immigrants, and foreigners, though the numerical presence of each of these groups of

          students on campus was relatively small.

                 B.      1920s to 1930s: Harvard’s “Jewish Problem”

                 42.     Ivy League schools began to reevaluate their admissions systems when

          students deemed socially “undesirable”
                                               — most prominently, Jewish applicants— started

          to pass the examinations and enroll in greatly increasing numbers.

                 43.     In or around the late 1910s, the number of Jewish students enrolling at

          Harvard began to increase, and Harvard administrator determined that the college had a

          “Jewish problem”that it needed to address.

                 44.     By 1918, Harvard’s freshman class was 20 percent Jewish, three times the

          percentage at Yale and six times that at Princeton.

                 45.     The President of Harvard, A. Lawrence Lowell, was deeply troubled by

          this rising Jewish population.

                 46.     President Lowell feared that the enrollment of too many Jewish students

          would cause students from Protestant upper and upper-middle class families to choose

          other elite colleges over Harvard.




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                 47.     In 1920, in a letter to William Hocking, a Harvard philosophy professor,

          President Lowell wrote that the increasing number of Jewish students enrolling at

          Harvard would ultimately “ruin the college.”

                 48.     To combat this “Jewish problem,”President Lowell sought to institute a

          cap on Jewish enrollment in each entering class.

                 49.     In his letter to Hocking, President Lowell stated that the best approach

          would be “to state frankly that we thought we could do the most good by not admitting

          more than a certain proportion of men in a group that did not intermingle with the rest,

          and give our reasons for it to the public.” According to Lowell, “[e]xperience seems to

          place that proportion at about 15%.”

                 50.     Yet President Lowell knew that such overt discrimination would meet

          resistance. He believed that the faculty, and probably the governing boards, would prefer

          to make a rule whose motive was less obvious on its face, such as giving to the

          Committee on Admission authority to refuse admittance to persons who possessed

          particular qualities believed to be characteristic of Jewish applicants.

                 51.     If such a system was instituted, however, President Lowell wished to

          ensure that the faculty knew “perfectly well what they are doing, and that any vote passed

          with the intent of limiting the number of Jews should not be supposed by anyone to be

          passed as a measurement of character really applicable to Jews and Gentiles alike.”

                 52.     By the spring of 1922, the proportion of Jewish students had reached 21.5

          percent. President Lowell warned that unless immediate measures were taken “the danger

          would seem to be imminent.”




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                  53.     President Lowell made clear that absent the rise in Jewish enrollment, no

          change in Harvard’s admissions policies would be needed. The problem was not with the

          academic method of selection per se, but with its results: it was now yielding too many

          Jewish students at Harvard.

                  54.     In a 1922 letter President Lowell wrote: “We can reduce the number of

          Jews by talking about other qualifications than those of admission examinations. If the

          object is simply to diminish the Jews, this is merely an indirect method of avoiding a

          problem in American life which is really important. This is the feeling of the most

          thoughtful people here, both gentile and Jew. On the other hand, we are in no present

          danger of having more students in college than we can well take care of; nor, apart from

          the Jews, is there any real problem of selection, the present method of examination giving

          us, for the Gentile, a satisfactory result.”

                  55.     In May 1922, Professor Ropes proposed that the Committee on Admission

          “take into account the proportionate size of racial and national groups in the membership

          of Harvard College,”declaring that “it is not desirable that the number of students in any

          group which is not easily assimilated into the common life of the College should exceed

          15 percent of the whole college.”

                  56.     As one Harvard alumnus noted, “I am fully prepared to accept the

          judgment of the Harvard authorities that a concentration of Jews in excess of fifteen

          percent will produce a segregation of culture rather than a fusion.”

                  57.     President Lowell’s plans received pushback. One petition, signed by 31

          faculty members, described the “action of the Faculty relating to controlling the

          percentage of the Jews in Harvard College”as “a radical departure from the spirit and




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          practice of the College”and declared “that racial consideration should not influence the

          Committee on Admission before a careful and deliberate study of the whole question of

          the Jews shall be made by the Faculty.”

                 58.     At the same time, Harvard was beginning to gather the information that

          would permit it to identify which applicants were Jewish.

                 59.     Starting in the fall of 1922, applicants were required to answer questions

          on “Race and Color,” “Religious Preference,” “Maiden Name of Mother,” and

          “Birthplace of Father,”as well as the question, “What change, if any, has been made

          since birth in your own name or that of your father? (Explain fully.)”

                 60.     In addition, Harvard asked high school principals and private school

          headmasters to fill out a form indicating “by a check [the applicant’s] religious

          preference so far as known . . . Protestant . . . Roman Catholic . . . Hebrew . . .

          Unknown.”

                 61.     Harvard also created a committee tasked with counting the number of

          Jewish students at Harvard.

                 62.     After analyzing all the student information it could obtain, the committee

          began classifying each Harvard student into one of four categories: “J1,”“J2,”“J3,”and

          “other.” A “J1”was assigned “when the evidence pointed conclusively to the fact that

          the student was Jewish;”a “J2”was assigned when a “preponderance of evidence”

          suggested the student was Jewish; and a “J3”was assigned when “the evidence suggested

          the possibility that the student might be Jewish.”

                 63.     During this time period, Harvard also adopted a “one-seventh plan,”which

          purported to target “a new group of men from the West and South”who were in the top




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          seventh of their graduating class. In reality, however, it was a “thinly disguised attempt

          to lower the Jewish proportion of the student body by bringing in boys— some of them

          academically ill equipped for Harvard— from regions of the country where there were

          few Jews.”

                 64.     After President Lowell’s intentions of imposing a Jewish cap became

          known to the public, opponents began mobilizing opposition.

                 65.     In 1923, Harvard’s Committee on Methods of Sifting Candidates for

          Admission defeated President Lowell’s requests for a cap on Jewish enrollment. In doing

          so, the committee issued a statement indicating its opposition to “an arbitrary limitation

          of the number of students to be admitted”and specifying that “if the size of our Freshman

          class is to be reduced, the reduction can best be accomplished by raising the standard for

          admission.”

                 66.     Despite this defeat, President Lowell pressed forward. In June 1923, he

          commissioned a study to determine “whether it might be wise to limit the number of

          students admitted to the Freshman class to one thousand.”

                 67.     President Lowell realized that a ceiling on the size of the class was the

          necessary precondition for addressing the “Jewish problem,”for as long as Harvard had

          an absolute standard of admission, discretionary selection policy using nonacademic as

          well as academic criteria would not be possible.

                 68.     Lowell’s proposal “signaled the beginning of a new, more subtle

          campaign to restrict Jewish enrollment.”

                 69.     By the end of 1923, President Lowell’s committee issued a report

          recommending a limit of 1,000 on the size of the freshman class and additional changes




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          in the criteria for admission.      Instead of making decisions based on academic

          achievement, the committee proposed using letters from teachers and personal interviews

          to shed light on the candidates’ “aptitude and character.” However, no changes were

          made in 1923.

                 70.      By 1924, Harvard’s Jewish enrollment had risen to 25 percent.

                 71.      According to President Lowell, Harvard’s “reputation of having so many

          Jews”was hurting its ability to “attract applicants from western cities and the great

          preparatory schools.”

                 72.      By 1925, the dean’s office reported that the proportion of known Jewish

          freshmen (the J1s and J2s) had risen to 27.6 percent, with an additional 3.6 percent in the

          J3 category.

                 73.      As President Lowell was contemplating these figures, he was receiving

          letters from alumni castigating the school for being overrun by Jewish students. Among

          these letters was one from W.F. Williams ’01, who had attended a recent Harvard-Yale

          football game. Williams recommended using the school’s admissions program to

          discretely limit the number of Jewish students enrolling at Harvard: “Naturally, after

          twenty-five years, one expects to find many changes but to find that one’s University had

          become so Hebrewized was a fearful shock. There were Jews to the right of me, Jews to

          the left of me, in fact they were so obviously everywhere that instead of leaving the Yard

          with pleasant memories of the past I left with a feeling of utter disgust of the present and

          grave doubts about the future of my Alma Mater . . . . The Jew is undoubtedly of high

          mental order, desires the best education he can get CHEAPEST, and is more persistent

          than other races in his endeavors to get what he wants. It is self evident, therefore, that




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          by raising the standard of marks he can’t be eliminated from Harvard, whereas by the

          same process of raising the standard ‘White’ boys ARE eliminated. And is this to go on?

          Why the Psychology Test if not to bar those not wanted? Are the Overseers so lacking in

          genius that they can’t devise a way to bring Harvard back to the position it always held as

          a ‘white man’s’ college?”

                 74.     President Lowell agreed with Williams’ assessment, responding that he

          “had foreseen the peril of having too large of a number of an alien race and had tried to

          prevent it,” but that “not one of the alumni ventured to defend the policy publicly.”

          President Lowell was “glad to see from your letter, as I have from many other signs, that

          the alumni are beginning to appreciate that I was not wholly wrong three years ago in

          trying to limit the proportion of Jews.”

                 75.     Despite increasing alumni approval, President Lowell still faced

          significant obstacles to his plan.    He needed Harvard’s “Special Committee on the

          Limitation of the Size of the Freshman Class” to approve his new admissions plan.

                 76.     In a letter to the chairman of the committee, President Lowell wrote that

          “questions of race,” though “delicate and disagreeable,” were not solved by ignoring

          them. The solution was a new admissions system giving the school wide discretion to

          limit the admission of Jewish applicants: “To prevent a dangerous increase in the

          proportion of Jews, I know at present only one way which is at the same time

          straightforward and effective, and that is a selection by a personal estimate of character

          on the part of the Admissions authorities, based upon the probable value to the candidate,

          to the college and to the community of his admission. Now a selection of this kind can

          be carried out only in case the numbers are limited. If there is no limit, it is impossible to




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          reject a candidate who passes the admissions examinations without proof of defective

          character, which practically cannot be obtained. The only way to make a selection is to

          limit the numbers, accepting those who appear to be the best.”

                 77.     Anticipating pushback, President Lowell insisted that he was not

          proposing to discriminate against Jewish applicants. Instead, he sought “discrimination

          among individuals in accordance with the probable value of a college education to

          themselves, to the University, and the community,”carefully adding that “a very large

          proportion of the less desirable, upon this basis, are at the present time the Jews.”

                 78.     The    committee’s     chairman    was    initially   opposed,   stating   that

          “[e]verything in my education and bringing up makes me shrink from a proposal to begin

          a racial discrimination at Harvard— there’s no use my pretending this isn’t the case.”

                 79.     In the end, however, the chairman agreed with President Lowell’s notion

          of “a sound and discerning ‘discrimination’ among individuals” and expressed

          confidence that “such a discrimination would inevitably eliminate most of the Jewish

          element which is making trouble.”

                 80.     Nevertheless, the chairman refused to endorse “a candid regulation

          excluding all but so many or such a proportion of ‘Jews.’” Instead, he advised President

          Lowell that more subtle measures to exclude Jewish applicants would be a wiser

          approach.

                 81.     In its report, the Committee made multiple recommendations along these

          lines. First, the committee recommended that Harvard limit its incoming class to just

          1,000 students. Second, it recommended that “the application of the rule concerning

          candidates from the first seventh of their school be discretionary with the Committee on




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          Admission.” This modification would allow the committee to eliminate from the

          program high schools that sent too many Jewish students to Harvard.

                 82.     Finally, and most important, the committee rejected an admissions policy

          that would select the 1,000 students on the basis of scholarship alone. According to the

          committee, it was “neither feasible nor desirable to raise the standards of the College so

          high that none but brilliant scholars can enter”and “the standards ought never to be too

          high for serious and ambitious students of average intelligence.”

                 83.     Not only did the faculty adopt these proposals, but it also approved

          measures making the admissions process even more subjective.

                 84.     In particular, the faculty called on the admissions committee to interview

          as many applicants as possible to gather additional information on “character and fitness

          and the promise of the greatest usefulness in the future as a result of a Harvard

          education.”

                 85.     In addition, Harvard began requiring a passport-sized photo “as an

          essential part of the application for admissions.”

                 86.     Harvard also began using “legacy”preferences for the children of alumni

          as a strategy for reducing the admission of Jewish students.

                 87.     President Lowell was elated by these changes, realizing that they

          “provided a tremendous opportunity to impose, at long last, the policy of restriction he

          had favored since 1922.”

                 88.     The reduction in Jewish enrollment at Harvard was immediate.           The

          Jewish portion of Harvard’s entering class dropped from over 27 percent in 1925 to 15

          percent the following year.




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                 89.     For the next 20 years, this percentage (15 percent) remained virtually

          unchanged.

                 90.     Harvard’s new system of selection was far more complicated than the

          exam-based system that had preceded it, and implementing it required a new bureaucratic

          apparatus of information gathering and assessment.

                 91.     In addition to expanding its administrative staffing apparatus, the new

          Office of Admissions needed to collect vast quantities of data formerly unnecessary.

                 92.     The development of a procedure for identifying Jewish applicants was

          only the first step.   For the first time, candidates were asked to fill out lengthy

          applications that included demographic information, a personal essay, and a detailed

          description of extracurricular activities that might demonstrate “leadership”and reveal

          something about their “character.”

                 93.     The centerpiece of the new system was the personal letter of

          recommendation, especially those from trusted sources such as alumni and headmasters

          or teachers from the leading feeder schools.

                 94.     Finally, to ensure that “undesirables” were identified and to assess

          important but subtle indicators of background and breeding such as speech, dress,

          deportment, and physical appearance, a personal interview was required, a final screening

          device usually conducted by the Director of Admissions or a trusted alumnus.

                 95.     The new policy permitted the rejection of scholastically brilliant students

          considered “undesirable,”and it granted the director of admissions broad latitude to

          admit those of good background with weaker academic records.




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                 96.     The key code word used was “character”
                                                              — a quality thought to be

          frequently lacking among Jewish applicants, but present congenitally among affluent

          Protestants.

                 97.     By emphasizing the inherently subjective character of admissions

          decisions, Harvard’s new system of selection left it free to adapt to changing

          circumstances by admitting— and rejecting— whomever it wished.

                 98.     These tools gave admissions officials the power to discriminate, ostensibly

          on the basis of “objective”evidence. Any number of reasons could be invoked to deny

          an applicant. “Selective admissions deflected much criticism precisely because it singled

          out no single status as ‘key.’”

                 99.     As a consequence, university leaders could deny the existence of any

          racial or religious quotas, while still managing to reduce Jewish enrollment to a much

          lower level, and thereafter hold it essentially constant during the decades that followed.

                 C.      1930s to 1960s: A Continuation of Policies

                 100.    In the 1930s, Harvard continued the discriminatory admissions policies

          instituted during the previous decade.

                 101.    Instrumental during this time period was Richard Gummere, who served

          as Harvard’s Chairman of the Committee on Admission from 1934 to 1952.

                 102.    Gummere continued to use Harvard’s opaque admissions system to limit

          the number of Jewish students enrolling at Harvard.

                 103.    The key was secrecy. In 1922, when he was headmaster of William Penn

          Charter School in Philadelphia, Gummere had recommend that Harvard follow the

          approach he had employed at his own school: “I feel that Doctor Edsall [a Harvard




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          faculty member] has stated the case very correctly and intelligently, as far as the

          experiences of the Penn Charter School in the Jew problem are concerned. Such action

          was taken very definitely, and a very limited number of Jews is admitted; in fact, it is at

          present almost infinitesimal. We are particularly careful not to make any issue of the

          matter, and when people of that persuasion wish to be admitted, and we either have

          enough in the school, or do not feel that the applicant is satisfactory, we employ the same

          methods of keeping them out of the school as we would any unsatisfactory candidate of

          any denomination. As a matter of fact, I admitted only one Jew last fall, and plan to

          admit none this coming fall.”

                 104.    Gummere continued the policies of the prior decade laid down by

          President Lowell, including the establishment of a fixed number of places in the freshman

          class and a clear statement to both applicants and the public that candidates would not be

          accepted on academic ability alone.

                 105.    Instead, a multiplicity of nonacademic criteria— alumni connections,

          athletic talent, geographical diversity, and vague qualities such as “character”and

          “leadership”
                     — played a pivotal role in determining admission.

                 106.    Similarly, Gummere reported that “increased emphasis is being put on the

          preliminary interviews.” Rather than subjecting undesirable applicants, many of them

          Jewish, to a formal rejection, the committee preferred to discourage them— politely but

          firmly— from submitting a final application.

                 107.    For example, in 1936, Irving B. Rosenstein, a Jewish alumnus who had

          graduated first in his class at Harvard, contacted Dean Hanford about two young Jewish

          men who were applying for admission. Hanford took notes during his conversation but




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          did not pass on an endorsement. Instead, he wrote directly to Gummere, stating that “I do

          not know either Goldberg or Rabinowitz, and I realize that we have quite enough

          applicants of this type.”Nevertheless, Hanford continued, “I felt it my duty to pass along

          the information that Rosenstein had given me regarding the two boys.”

                 108.    In another case, Jerome Greene, secretary to the Harvard Corporation,

          explained why a young Jewish man named S. A. Goldstein, who reportedly had high

          marks on his College Board exams, had been turned down. Mr. Goldstein “came just

          under the ‘weighted average,’ which takes all pertinent factors into account.” Harvard,

          he declared, had “no reason to suppose that he is not a creditable representative of his

          race, many members of which are admitted to Harvard each year.” He closed his letter

          by assuring that “no personal discrimination against him was involved.”

                 109.    During this time period, Harvard continued to accept mainly wealthy,

          Protestant applicants who could pay the tuition and meet minimal standards. Harvard

          filled approximately 75 to 80 percent of the seats with individuals who could afford to

          pay the full tuition, and fewer than 13 percent of legacy applicants were rejected.

                 110.    In the late 1940s and early 1950s, following World War II, American

          public sentiment turned against anti-Semitism, and Harvard began to gradually reduce its

          discrimination against Jewish applicants.

                 111.    Harvard, however, retained the admissions policies that it had used to

          successfully cap Jewish enrollments in the past.

                 112.    In a 1952 report from the Harvard Committee on Admissions, the Dean of

          Admissions wrote that Harvard was “one of the few colleges with ‘snob’ appeal.”

          Accordingly, it attracted the children of the “upper-upper”class throughout the country




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          who were “almost entirely paying guests.” It was possible, he acknowledged, that “a

          third or half of this group, strictly on their merits in terms of SAT scores, character and

          personality, was not particularly desirable.”But if Harvard rejected them, it “would lose

          most of the rest of the group, including a lot of able and desirable students.”

                  113.    Similarly, allegations that Harvard was “dominated by Jews”could cause

          “students from upper-income, business backgrounds”to abandon Harvard for “colleges

          like Yale, Princeton, Dartmouth, Williams, etc.”

                  114.    By the 1960s, Harvard was using a complex “docket system” of

          classifications to process each candidate.

                  115.    The docket system created 22 groups, ranging from the huge (Docket B,

          which covered eight Rocky Mountain states) to the very small (Docket P, limited to

          Boston Latin, and Docket Q, which covered the rest of metropolitan Boston).

                  116.    The docket system generated “targets” for each docket that proved

          strikingly close to the actual number of students admitted each year. Each docket was

          admitted at a different rate.

                  117.    For example, Docket D (covering the upper Midwest) had about a 25

          percent acceptance rate. By contrast, Docket M (“Select New England private schools”
                                                                                             )

          and Docket L (“Exeter and Andover”
                                           ) were admitted at a rate of 44 and 46 percent

          respectively, compared to just 20 percent for all applicants.

                  118.    The structure of this system ensured that competition would be almost

          entirely within rather than between dockets.

                  119.    The generous targets for some dockets were designed to insulate

          applicants from competition with other dockets while the restrained targets for others




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          were intended to guarantee that the number of students admitted would not upset

          Harvard’s delicate “balance.”

                 120.     At this time Harvard also used a second system of classification to rate

          each applicant individually along four dimensions: personal, academic, extracurricular,

          and athletic.

                 121.     The “personal”rating was critical. According to Harvard’s own statistical

          studies, the personal rating was a stronger predictor of which candidates would ultimately

          be admitted than the more objective academic rating.             A “4” rating (“generally

          acceptable”
                    ) was all but fatal, with a rejection rate of 98 percent; a “1”was a virtual

          guarantee of admission, with a rejection rate of just 2.5 percent.

                 122.     Finally, at this time Harvard used a third major scheme to divide

          applicants into 12 categories. This “typology,”as Harvard called it, was an integral part

          of each student’s file. Each candidate was assigned a code letter that was shorthand for

          the social type he was thought to embody.

                 123.     Under this typology, every candidate was placed in one of the following

          categories:




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                1           S    First-rate scholar in Harvard departmental terms.

                                 Candidate’s primary strength is his academic strength, but it
                2           D
                                 doesn’t look strong enough to qualify as an S (above).

                                 All-American – healthy, uncomplicated athletic strengths and style,
                3           A    perhaps some extracurricular participation, but not combined with
                                 top academic credentials.

                                 Mr. School – significant extracurricular and perhaps (but not
                4           W
                                 necessarily) athletic participation plus excellent academic record.

                                 Cross-country style – steady man who plugs and plugs and plugs,
                5           X    won’t quit when most others would. Gets results largely through
                                 stamina and consistent effort.

                                 PBH [Phillips Brooks House] style: in activities and personal
                6           P
                                 concerns.

                7           C    Creative in music, art, writing.

                8           B    Boondocker – unsophisticated rural background.

                9           T    Taconic – culturally depressed background, low income.

                10          K    Krunch – main strength is athletic, prospective varsity athlete.

                                 Lineage – candidate probably couldn’t be admitted without the
                11          L    extra plus of being a Harvard son, a faculty son, or a local boy with
                                 ties to the university community.

                12          O    Other – use when none of the above are applicable.


                     124.   With only minor modifications, Harvard used this typology through at

          least 1988, which includes the period when Harvard submitted its description of the

          “Harvard Plan” to the Supreme Court in its Bakke amicus brief.




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          V.     HARVARD HAS USED AND CONTINUES TO USE AN APPLICANT’S
                 RACE AND ETHNCITY AS A FACTOR IN ADMISSION DECISIONS.

                 125.    Harvard has long expressly considered the race and ethnicity of applicants

          in making admissions decisions in ways that go far beyond its systematic discrimination

          against Jewish applicants.

                 126.    In 1926, Harvard’s Chairman of Admissions, Henry Pennypacker,

          described how race would be considered under Harvard’s new subjective admissions

          policies: “Race is a part of the record. It is by no means the whole record and no man

          will be kept out on grounds of race; but those racial characteristics which make for race

          isolation will, if they are borne by the individual, be taken into consideration as a part of

          that individual’s characteristics under the test of character, personality and promise. That

          if there should result in fact any substantial change in the proportion of groups in the

          College following application of the test, this will be due, not to race discrimination or

          any quota system, but to the failure of particular individuals to possess as individuals

          those evidences of character, personality and promise which weighed with other

          evidences render them more fit than other individuals to receive all that Harvard has to

          offer. Of course there will be criticisms. It will be said that Harvard is discriminating on

          grounds of race. That will not be true.”

                 127.    In the early 1960’s, Harvard began actively seeking to increase the number

          of African-American students on its campus. Notwithstanding this concerted effort,

          African-American enrollment stagnated until 1968.

                 128.    In 1968, Harvard altered its admissions policies and practices to admit

          more African Americans by taking into greater account the limitations of background and

          schooling that shaped the qualification of many African-American applicants.



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                   129.   Under this new policy, an applicant who had “survived the hazards of

          poverty”and showed that he or she “is clearly intellectually thirsty”and “still has room

          for more growth”was given an admissions preference.

                   130.   In 1969, one year after this policy change, Harvard’s African-American

          enrollment increased 76 percent over the prior year to 7 percent of the enrolled freshman

          class.    Although Harvard denied that it had instituted a quota, the enrollment rate

          consistently averaged 7 percent over the next several years.

                   131.   In 1969, a majority of the African-American applicants admitted to

          Harvard came from socioeconomically challenged backgrounds. By 1973, however, this

          number had decreased dramatically, with 75 to 80 percent of the African Americans

          admitted to Harvard coming from backgrounds that did not include “the hazards of

          poverty.”

                   132.   According to Dean Peterson, Harvard diminished its focus on applicants

          with disadvantaged backgrounds because African Americans from relatively privileged

          backgrounds allegedly made the transition to Harvard more easily than those from

          working class and poor backgrounds: “We have learned”that “we cannot accept the

          victims of social disaster, however deserving of promise they once might have been, or

          however romantically or emotionally an advocate (or a society) might plead for him.”

                   133.   In 1978, Harvard submitted an amicus brief to the Supreme Court in

          Regents of the University of California v. Bakke that included a copy of the “Harvard

          College Admissions Program”as an Appendix.

                   134.   The “Harvard College Admissions Program”submitted to the Supreme

          Court in Bakke stated that “for the past 30 years the Committee on Admissions”has




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          “adopted … [t]he belief … that if scholarly excellence were the sole or even predominant

          criterion, Harvard College would lose a great deal of its vitality and intellectual

          excellence and that the quality of the educational experience offered to all students would

          suffer.”

                 135.    The “Harvard College Admissions Program” submitted to the Supreme

          Court in Bakke further stated: “The belief that diversity adds an essential ingredient to the

          educational process has long been a tenet of Harvard College admissions. Fifteen or

          twenty years ago, however, diversity meant students from California, New York, and

          Massachusetts; city dwellers and farm boys; violinists, painters and football players;

          biologists, historians and classicists; potential stockbrokers, academics and politicians.

          The result was that very few ethnic or racial minorities attended Harvard College. In

          recent years Harvard College has expanded the concept of diversity to include students

          from disadvantaged economic, racial and ethnic groups. Harvard College now recruits

          not only Californians or Louisianans but also blacks and Chicanos and other minority

          students. Contemporary conditions in the United States mean that if Harvard College is

          to continue to offer a first-rate education to its students, minority representation in the

          undergraduate body cannot be ignored by the Committee on Admissions.”

                 136.    The “Harvard College Admissions Program” submitted to the Supreme

          Court in Bakke further stated: “In practice, this new definition of diversity has meant that

          race has been a factor in some admission decisions. When the Committee on Admissions

          reviews the large middle group of applicants who are ‘admissible’ and deemed capable of

          doing good work in their courses, the race of an applicant may tip the balance in his favor

          just as geographic origin or a life spent on a farm may tip the balance in other candidates’




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          cases. A farm boy from Idaho can bring something to Harvard College that a Bostonian

          cannot offer. Similarly, a black student can usually bring something that a white person

          cannot offer. The quality of the educational experience of all the students in Harvard

          College depends in part on these differences in the background and outlook that students

          bring with them.”

                 137.   The “Harvard College Admissions Program”submitted to the Supreme

          Court in Bakke further stated: “In Harvard College admissions the Committee has not set

          target-quotas for the number of blacks, or of musicians, football players, physicists or

          Californians to be admitted in a given year. At the same time the Committee is aware

          that if Harvard College is to provide a truly heterogeneous environment that reflects the

          rich diversity of the United States, it cannot be provided without some attention to

          numbers. It would not make sense, for example, to have 10 or 20 students out of 1,100

          whose homes are west of the Mississippi. Comparably, 10 or 20 black students could not

          begin to bring to their classmates and to each other the variety of points of view,

          backgrounds and experiences of blacks in the United States. Their small numbers might

          also create a sense of isolation among the black students themselves and thus make it

          more difficult for them to develop and achieve their potential. Consequently, when

          making its decisions, the Committee on Admissions is aware that there is some

          relationship between numbers and achieving the benefits to be derived from a diverse

          student body, and between numbers and providing a reasonable environment for those

          students admitted. But that awareness does not mean that the Committee sets a minimum

          number of blacks or of people from west of the Mississippi who are to be admitted. It

          means only that in choosing among thousands of applicants who are not only




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          ‘admissible’ academically but have other strong qualities, the Committee, with a number

          of criteria in mind, pays some attention to distribution among many types and categories

          of students.”

                 138.     The “Harvard College Admissions Program”submitted to the Supreme

          Court in Bakke further stated: “The further refinements sometimes required help to

          illustrate the kind of significance attached to race. The Admissions Committee, with only

          a few places left to fill, might find itself forced to choose between A, the child of a

          successful black physician in an academic community with promise of superior academic

          performance, and B, a black who grew up in an inner-city ghetto of semi-literate parents

          whose academic achievement was lower, but who had demonstrated energy and

          leadership, as well as an apparently abiding interest in black power. If a good number of

          black students much like A, but few like B, had already been admitted, the Committee

          might prefer B, and vice versa. If C, a white student with extraordinary artistic talent,

          were also seeking one of the remaining places, his unique quality might give him an edge

          over both A and B. Thus, the critical criteria are often individual qualities or experience

          not dependent upon race but sometimes associated with it.”

                 139.     In 2003, Harvard submitted an amicus brief to the Supreme Court in

          Grutter v. Bollinger.

                 140.     The Grutter amicus brief stated that Harvard “considers an academically

          qualified student’s race or ethnicity as one among many factors in a carefully designed,

          competitive admissions process that views each applicant as an individual and weighs the

          capacity of each to contribute to the class as a whole.”




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                 141.    The Grutter amicus brief further stated that Harvard seeks “racial and

          ethnic diversity as a natural part of a long and expanding policy of inclusion”and that it

          “has been pursuing the idea of student diversity for a period that dates back to the

          nineteenth century.” That includes the period when Harvard was discriminating against

          Jewish and other disfavored minority groups.

                 142.    The Grutter amicus brief further stated that a racial or ethnic admissions

          “quota”is “impermissible as an affront to the equal dignity of the excluded”and it

          defined a “quota”as a “policy that “exclude[s] someone altogether from a given position

          or opportunity on account of the individual’s race.”

                 143.    In 2012, Harvard submitted an amicus brief to the Supreme Court in

          Fisher v. University of Texas at Austin.

                 144.    The Fisher amicus brief stated that Harvard has “long used admissions

          policies similar to the Harvard Plan that Justice Powell approved in [Bakke] and the

          University of Michigan Law School plan upheld in Grutter.”

                 145.    The Fisher amicus brief further stated that Harvard “consider[s] all aspects

          of an applicant’s background and experience, including in some circumstances the

          applicant’s racial or ethnic background.”

                 146.    The Fisher amicus brief further stated that Harvard believes that “racial

          and ethnic diversity are a distinct kind of difference in background, and reliance on …

          race-neutral measures alone cannot substitute for individualized, holistic review that

          takes account of race and ethnicity.”




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                 147.    In other words, it is now Harvard’s position that race or ethnicity itself—

          not other factors that may be associated with race or ethnicity— is a distinguishing

          characteristic that warrants consideration in the admissions process.

          VI.    HARVARD HAS A LONG HISTORY OF INTENTIONALLY
                 DISCRIMINATING SPECIFICALLY AGAINST ASIAN AMERICANS.

                 148.    Harvard started considering Asian-American students a discrete subset of

          its undergraduate applicant pool in the early 1970s.

                 149.    At that juncture, Harvard took the position that Asian Americans students

          were not “under represented” on its campus and therefore were not in need of

          “affirmative action.” Harvard nevertheless included Asian Americans in its affirmative-

          action compliance reports to the Federal government.

                 150.    Like Jewish applicants, Asian-American applicants tended to have

          superior academic records, and were well represented among the most successful

          students.

                 151.    Harvard came to the conclusion that Asian Americans were “over-

          represented”in its student body.

                 152.    According to Henry Rosovsky, Harvard’s Dean of the Faculty of Arts and

          Sciences (and later Acting President), Asian-American students were “no doubt the most

          over-represented group in the university.”

                 153. In 1974, a group calling itself the Coalition of Asian Americans (“CAA”
                                                                                            )

          formed at Harvard. For at least two years, Harvard refused to recognize the CAA as a

          minority student organization.




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                 154.      In 1976, Harvard continued to refuse to recognize Asian Americans as a

          minority and barred those Asian Americans that had accepted admission to the college

          from participating in its Freshman Minority Orientation.

                 155.      By 1977, the CAA had become the Asian-American Association

          (“AAA”
               ).       The AAA demanded, among other things, that Harvard expand Asian-

          American recruitment and include Asian Americans within the college’s “affirmative

          action”program.

                 156. Between 1976 and 1978, the proportion of Asian Americans increased from

          3.6 percent to 6.5 percent of the freshman class— a result of the successful mobilization

          of Asian-American students at Harvard. These events coincided with a massive increase

          in Asian Americans applying to Harvard for undergraduate admission.

                 157. Despite these increases, Harvard held Asian Americans to a higher standard

          than other applicants.

                 158. In 1983, Margaret Chin, a Harvard undergraduate who had worked in the

          college’s admissions office, co-authored a report entitled “Admissions Impossible.”

          Surveying data from 25 universities, the report found that while Asian-American

          applications to Harvard and other universities were soaring, enrollments were barely

          increasing.

                 159. Although Harvard claimed that the lower admission rate for Asian-

          American applicants was attributable to weaker academic qualifications, the “Admissions

          Impossible”report found that, on average, Asian Americans were more qualified than

          other applicants and that Harvard had set an informal ceiling on Asian-American

          enrollment.




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                 160. In the wake of this report, Harvard abandoned the argument that Asian-

          American applicants had weaker qualifications. Former Dean of Admissions Fred Jewett

          instead claimed, on behalf of Harvard, that “arguments over numbers ignore a whole

          range of personal qualities,”and that Harvard’s official policy favored “choosing people

          who bring talents underrepresented in the applicant pool.”

                 161. In 1987, a study found that Asian-American students admitted to Harvard

          had an average SAT score of 1467, whereas white students admitted to Harvard had an

          average SAT score of 1355— a 112-point difference.

                 162. In a 1987 New York Times article, Berkeley professor Ling-Chi Wang

          compared the way Asian Americans are considered in college admissions to the earlier

          treatment of Jews: “I think all of the elite universities in America suddenly realized they

          had what used to be called a ‘Jewish problem’ before World War II, and they began to

          look for ways of slowing down the admissions of Asians.” Robert Lindsey, Colleges

          Accused of Bias to Stem Asians’ Gains, New York Times (Jan. 19, 1987).

                 163. In 1988, Harvard rejected Ling-Chi Wang’s claim of discrimination against

          Asian-American applicants just as it had rejected the “Admissions Impossible”study’s

          findings of discrimination. Dean of Admissions William Fitzsimmons— who remains

          Dean of Admissions today— acknowledged that “Asian Americans are slightly stronger

          than whites on academic criteria,”but blamed the disparity in admissions on Asian

          Americans, as a group, being “slightly less strong on extracurricular criteria.”

                 164. In July 1988, the Office of Civil Rights (“OCR”
                                                                    ) of the U.S. Department of

          Education began investigating the treatment of Asian-American applicants at Harvard to

          determine whether Harvard was engaging in discrimination in violation of Title VI of the




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          Civil Rights Act. However, the investigation was strictly limited to the treatment of

          Asian-American applicants as compared to white applicants.

                 165. The OCR investigation lasted more than two years. Under the pressure of

          the investigation, Harvard began to increase its enrollment of Asian Americans. By the

          end of the investigation, the percentage of Asian Americans admitted to Harvard

          increased from 10.8 percent in 1988 to 16.1 percent in 1991.

                 166. OCR announced its findings in October 1990. Focusing on ten groups

          admitted from 1979 through 1988, it found that Asian Americans had been admitted at a

          significantly lower rate for each of the past seven years, even though they were “similarly

          qualified”to white applicants.   OCR nevertheless blamed the differential on legacy

          preferences and found that the differential admission rates were not the product of racial

          or ethnic discrimination.

                 167.    The OCR report was roundly criticized.          According to Harvard Law

          Professor Alan Dershowitz, for example, Harvard’s rationale was just pretext for

          intentional discrimination: “Asian Americans clearly get a big whack— not a tip— in the

          direction against them. Harvard wants a student body that possesses a certain racial

          balance… . I think the report was sloppy. I have absolutely no faith in the Harvard system

          of admissions.”

          VII.   HARVARD’S CURRENT DISCRIMINATORY ADMISSIONS PLAN

                 A.      Harvard’s Stated Admissions Goals.

                 168.    On its website, Harvard states as follows: “In our admissions process, we

          give careful, individual attention to each applicant. We seek to identify students who will




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          be the best educators of one another and their professors— individuals who will inspire

          those around them during their College years and beyond.”

                 169.   The Harvard website further states that Harvard “asks [itself] many

          questions”about an applicant for admission, which generally fall under four categories:

          an applicant’s “growth and potential,” “interests and activities,” “character and

          personality,”and “contribution to the Harvard community.”

                 170.   The Harvard website further states that, in assessing an applicant’s

          “growth and potential, the committee asks questions such as “Have you reached your

          maximum academic and personal potential”and “Do you have initiative?”and “What

          sort of human being are you now?”

                 171.   The Harvard website further states that, in assessing an applicant’s

          “interests and activities,”the committee asks questions such as “Do you care deeply

          about anything— intellectual? Extracurricular? Personal?”and “What have you learned

          from your interests?”and “In terms of extracurricular, athletic, community, or family

          commitments, have you taken full advantage of opportunities?”

                 172.   The Harvard website further states that, in assessing “character and

          personality,”the committee asks questions such as “What choices have you made for

          yourself?”and “Are you a late bloomer?”and “What about your maturity, character,

          leadership, self-confidence, warmth of personality, sense of humor, energy, concern for

          others, and grace under pressure?”

                 173.   The Harvard website further states, in assessing an applicant’s

          “contribution to the Harvard community,”the committee asks questions such as “Will

          you be able to stand up to the pressures and freedoms of College life?”and “Will you




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          contribute something to Harvard and to your classmates?”and “Would other students

          want to room with you, share a meal, be in a seminar together, be teammates, or

          collaborate in a closely knit extracurricular group?”

                  174.    The Harvard website further states that its admissions process “strives to

          be deliberate, meticulous and fair”while acknowledging that the process “permits

          extraordinary flexibility and the possibility of changing decisions virtually until the day

          the Admissions Committee mails them.”

                  B.      Harvard’s Admissions Process.

                          1.      The Application.

                  175. During an admissions cycle, the Harvard Admissions Committee reviews

          each student’s admissions materials.        Those materials include: (1) the Common

          Application or Universal College Application, including an essay, and the required parts

          of the Harvard Supplement; (2) the high school transcript, school report, and mid-year

          school report— all submitted by a student’s guidance counselor; (3) standardized test

          scores— submitted by the College Board; (4) teacher and guidance counselor

          recommendations; (5) optional on-campus and/or off-campus interviewer evaluation; (6)

          optional personal statements (found on the Harvard Supplement) in addition to the

          required essays; and (7) optional music tapes, artwork slides, or samples of academic

          work.

                  176. Harvard gathers information about the race and ethnicity of its applicants

          through numerous ways.

                  177. An applicant filling out a Common Application has the option of disclosing

          his or her racial identity.




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                  178. The Common Application asks two questions to identify an applicant’s

          race and ethnicity: (1) “Are you Hispanic/Latino?”and (2) “Regardless of your answer to

          the prior question, please indicate how you identify yourself. (Check one or more and

          describe your background.) American Indian or Alaska Native (including all Original

          Peoples of the Americas); Asian (including Indian subcontinent and Philippines); Black

          or African American (including Africa and Caribbean); Native Hawaiian or Other Pacific

          Islander (Original People); or White (including Middle Eastern).”

                  179. The Common Application requires applicants to identify their parents’ first

          and last name, the parents’ former last names, and their country of birth.

                  180. Similarly, the Universal College Application gives the applicant the option

          of disclosing his or her racial identity.

                  181. The Universal College Application asks two questions to identify an

          applicant’s race and ethnicity: “Are you Hispanic or Latino?”and “How would you

          describe your racial background? (select one or more of the following categories): Asian

          ([if so, identify] country of family origin); Black or African American; American Indian

          or Alaska Native ([if so, identify where] enrolled [and] Tribal affiliation; Native

          Hawaiian or Other Pacific Islander; or White.”

                  182. The Universal College Application requires applicants to identify their

          parents’ first and last names.

                  183. The Universal College Application also requires applicants to identify, if it

          is not English, the “language spoken in your home.”

                  184. Harvard also encourages students to emphasize their race and ethnicity

          through their essays. According to Monica Del Toro, a Harvard Admissions Officer, the




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          essay “is the most important part of the application.” The biggest rule, she says, “is to

          stand out,”and a good way “to truly stand out from the rest of the pack is to discuss your

          culture.”

                 185. Harvard accepts transfer students who have completed at least one

          continuous academic year in a full-time degree program at one college.

                 186. Harvard evaluates applicants for transfer in the same purportedly “holistic”

          manner it evaluates all other applicants. Harvard uses race or ethnicity as a factor in

          evaluating transfer applicants.

                           2.     The Review Process.

                 187.      Students are admitted through one of four lists: (1) early admissions; (2)

          regular admissions; (3) the waitlist; or (4) the “Z-list.” A student accepted through the

          early admission process must accept Harvard’s offer of admission.

                 188. As the admissions materials are received at the admissions office, they are

          stamped, dated, sorted, and organized in a folder, called the “file,” along with a

          scorecard, called the “reading sheet,”which is used to evaluate the applicant’s eligibility

          for admission.

                 189. Admissions officers start by assessing each applicant in four areas

          (academics, extracurriculars, personal qualities, and athletics) on a scale of one (best) to

          six (worst).

                 190. Those who pass this initial threshold move forward to a second and

          sometimes third reader for further appraisal; the rest form the first batch of rejections,

          their folders marked with notes such as “below the edge”or “case falls flat.”




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                  191. Small teams of admissions officers, each responsible for one of the 25 or so

          geographic regions or “dockets”into which Harvard divides its applicants, then scrutinize

          the remaining applicants for as long as five days.

                  192. After the docket reader has looked through and graded the file on the

          reading sheet, the folder is passed on to two more readers, who examine and evaluate all

          materials on separate reading sheets. The information from the three reading sheets is

          compiled onto a final reading sheet. Once this sheet has been prepared for all applicants

          in the docket, the admissions committee convenes to discuss the eligibility of all

          applicants from that docket.

                  193. Between 5,000 and 7,000 applicants proceed to the last and most

          contentious stage, the full committee meeting, in which all 35 admissions officers debate

          and vote on who will make the final cut. The committee’s decisions are ultimately

          rendered by simple majority ballot.

                  194. Typically, more students are voted in than space will permit. So the final

          portion of the process is spent in “reruns,”in which candidates who had won approval

          have their initial acceptances rescinded.

                  195.    After reruns, a final decision is made either to accept, reject, wait-list, or

          “Z-list”the applicant.

                  196.    Harvard considers race and/or ethnicity as a factor in whether to accept,

          reject, wait-list, or “Z-list”an applicant.

                  197.    Applicants who are waitlisted are reviewed again by Harvard admissions

          officials in May after the admissions office has received students’ updated class grades,

          test scores, and achievements.




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                 198.    Those select students placed on the “Z-list”are admitted on the condition

          that they take a mandatory year off before enrolling in Harvard. Harvard uses the Z-list

          to admit legacies and children of affluent families and elite schools who cannot gain

          admission through the ordinary course.

                 199.    Harvard does not reveal publicly any aspect of its deliberative or

          decisional admissions process other than the end result.

          VIII. HARVARD     CURRENTLY     ENGAGES    IN   INTENTIONAL
                DISCRIMINATION AGAINST ASIAN-AMERICAN APPLICANTS.

                 200.    Harvard intentionally discriminates against Asian-American applicants.

          This discrimination is shown through both direct and circumstantial evidence, including

          statistical studies of Harvard’s admissions decisions. These studies confirm what Asian-

          American applicants and their parents already know: Harvard intentionally and

          artificially limits the number of Asian Americans to whom it will offer admission.

                 A.      There Is Decisive Statistical Evidence That Harvard Discriminates
                         Against Asian-American Applicants.

                 201.     Each year, Harvard publishes a significant amount of data concerning its

          application process. Among other things, Harvard releases admitted student data and

          enrolled student data broken down by racial category.

                 202.    Harvard used to allow the public to examine admission rates by race as

          well. More recently, however, Harvard began keeping these figures secret. Harvard has

          never offered an explanation for this decision.

                 203.    By contrast, the prestigious University of California system routinely

          releases information about its applicant pool broken down by racial category, which

          allows the public to examine admission rates by race.




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                 204.    Nonetheless, significant data regarding Harvard’s applicant pool has been

          made publicly available.

                 205.    This statistical evidence establishes that Harvard is intentionally

          discriminating against Asian Americans by making it far more difficult for Asian

          Americans than for any other racial and ethnic group of students to gain admission to

          Harvard.

                 206.    Princeton professor Thomas J. Espenshade and his coauthor, Alexandra

          Radford, conducted an authoritative study of the role of race in elite American

          undergraduate admissions for their book No Longer Separate, Not Yet Equal, which was

          published in 2009. Espenshade and Radford gathered exhaustive application data on a

          group of three elite public and four elite private colleges.

                 207.    Controlling for a wide variety of academic, demographic, and personal

          characteristics, Espenshade and Radford found that Asian-American students were

          dramatically less likely to be admitted than otherwise similar students who identified

          themselves as white or Caucasian. In fact, Espenshade and Radford’s analysis showed

          that the negative odds-ratio affecting Asian Americans relative to Whites was larger than

          the positive odds-ratio affecting African Americans relative to Whites.

                 208.    The Espenshade-Radford study also expressed the admissions penalty

          facing Asian Americans in terms of SAT-point equivalents. The authors reported that

          Asian Americans needed SAT scores that were about 140 points higher than white

          students, all other quantifiable variables being equal, to get into elite schools. Thus, if a

          white student needed a 1320 SAT score to be admitted to one of these schools, an Asian

          American needed a 1460 SAT score to be admitted. That is a massive penalty given that




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          marginal differences in SAT scores are magnified among those students competing for

          admission to the most elite universities, as there is less room at the very top of the SAT

          scale to differentiate between applicants.

                 209.    Recent statistical evidence reveals that discrimination against Asian

          Americans at Harvard is even more severe than the Espenshade-Radford study found.

                 210.    In recent years, The Harvard Crimson has been surveying incoming

          freshmen. In 2013, nearly 80% of the incoming class of 2017 responded to its survey.

          According to the survey, the average SAT of respondents was 2237 (on a 2400-scale),

          while the average SAT of individual ethnic groups varied widely: 2299 for East Asians

          and Indians, 2107 for African-Americans, and 2142 for Native Americans). Given this

          reporting, the average SAT for non-Hispanic Whites is at or somewhat below the overall

          median.

                 211.    This class average (2237) corresponds to roughly the 99.5 percentile of the

          SAT, meaning that Harvard draws half of its class from students scoring in the top 1/2 of

          1 percent of the SAT I distribution. The “East Asian and Indian”average of 2299

          corresponds to the 99.9 percentile of the SAT, meaning that Harvard draws about half of

          this ethnic group from the top 1/10 of 1 percent of the SAT I distribution. That is a

          dramatically higher standard of academic performance. Harvard requires much more of

          its Asian-American applicants than it requires of other races and ethnicities.

                 212.    Dr. Richard Sander, a professor of law at UCLA, and Medha Uppala, a

          graduate student in statistics at UCLA, recently co-authored a working paper titled The

          Evolution of SES Diversity in the Applicant Pool of Highly Selective Universities, 1994-

          2012. In this working paper, Dr. Sander and Ms. Uppala examine data on several Ivy




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          League colleges that shed valuable light on the admissions practices at these schools.

          The paper examines the degree to which elite colleges, including Harvard, have expanded

          their access in recent years to students with low socioeconomic status. The primary data

          source is a widely used database from the College Board, which biannually compiles

          anonymized data on 100,000 SAT-takers nationwide.            The paper reveals startling

          application patterns from the aggregated data that it reports, which, in conjunction with

          other data sources, make manifest Harvard’s massive intentional discrimination against

          Asian Americans.

                 213.    As an initial matter, the paper finds that Asian Americans are being

          admitted to these schools at a far lower rate than the rate at which they apply. The paper

          notes that for “three of the most selective Ivy League colleges,”the average racial

          makeup of all domestic score senders between 2008 and 2012 is 27.3 percent Asian

          American, 11.3 percent African American, 12.5 percent Hispanic, 40.4 percent non-

          Hispanic White, and 8.5 percent other race or non-identified. Over this same time period,

          however, Asian Americans represented only 17-20 percent of the admitted students. No

          other racial or ethnic group at these schools is as underrepresented relative to its

          application numbers as are Asian Americans. Indeed, no other racial or ethnic group

          comes even remotely close to this level of underrepresentation.

                 214.    Thus, if Harvard admitted randomly from its applicant pool, the number of

          Asian Americans in its entering freshman class would be far higher than it actually is.

                 215.    These data alone provide strong evidence that Harvard is engaging in

          intentional discrimination against Asian-American applicants absent some factor that

          makes this gross disparity explainable on non-discriminatory grounds.




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                 216.    Moreover, the paper’s data shows that Asian-American applicants have,

          on average, stronger qualifications for admission than any other racial or ethnic group

          applying to top Ivy League schools.

                 217.    Ironically, then, the most underrepresented group of admitted students

          relative to the applicant pool is the most overrepresented racial or ethnic group among

          top academic performers.

                 218.    Among “three of the most selective Ivy League colleges,”the paper’s data

          shows that, during the 2008, 2010, and 2012 admissions cycles, Asian Americans, on

          average, constituted nearly 39 percent of all domestic SAT-takers who (a) had scores of

          2100 or higher and (b) sent their scores to these schools.

                 219.    The Harvard Crimson survey, as does every other available public source,

          confirms that the vast majority of Harvard’s students come from this pool of applicants

          (with SAT scores of 2100 or higher).

                 220.    Remarkably, students with higher test scores were even more likely to be

          Asian Americans. In 2008, Asian Americans made up 46 percent of domestic Harvard

          score-senders with SAT scores above 2200 (a range from which Harvard draws more

          than half of its students).    In addition, Asian Americans made up an even higher

          percentage of the very top students; they accounted for 55 percent of domestic Harvard

          score-senders with SAT scores above 2300. These patterns are very similar across all of

          the top Ivy League schools. In 2008-12, for the three Ivy League schools analyzed by Dr.

          Sander and Ms. Uppala, Asian Americans made up 38.9 percent of all domestic score-

          senders with SAT scores above 2100; 45 percent of domestic score-senders with SAT

          scores above 2200; and over 51 percent of domestic score-senders with SAT scores




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          above 2300. These data, in combination with other publicly available data, demonstrate

          that Asian Americans admitted to Harvard are vastly underrepresented— by a factor of

          half or even two-thirds— relative to the number of applications from Asian Americans

          that Harvard receives.

                 221.    There is no reason to doubt that Harvard is one of the three Ivy League

          colleges in Dr. Sander’s and Ms. Uppala’s analysis. Harvard is among the most selective

          colleges in the Ivy League (if not the most selective). But even if Harvard is not one of

          the colleges they examined, its patterns of Asian-American enrollment and selectivity

          closely match those of the “three of the most selective Ivy League colleges”in Dr.

          Sander’s and Ms. Uppala’s analysis such that there is no reason to believe their

          conclusions would not apply to Harvard.

                 222.    In all events, Harvard’s data is highly consistent with all other Ivy League

          schools, which as Table A shows, inexplicably enroll Asian Americans in remarkably

          similar numbers year after year after year.




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                                                      Table A
                                       Ivy League Enrollment (Asian Americans)

                 School         2007      2008      2009        2010    2011     2012     2013

                 Brown          15%       16%       15%         15%      14%     12%      14%

                Columbia        17%       17%       16%         16%      16%     16%      18%

                 Cornell        16%       17%       17%         16%      16%     16%      16%

                Dartmouth       14%       14%       15%         15%      14%     14%      14%

                Harvard         15%       17%       17%         16%      17%     18%      18%

                  Penn          17%       17%       18%         18%      18%     18%      18%

                Princeton       14%       15%       16%         17%      18%     19%      17%

                  Yale          14%       14%       15%         15%      15%     16%      16%


                 223.       Various additional studies confirm that Harvard is intentionally

          discriminating against Asian-American applicants and that it is doing so in much the

          same manner as it discriminated against Jewish applicants decades ago.

                 224.       In 2012, Ron Unz, who holds an undergraduate physics degree from

          Harvard and studied theoretical physics at Stanford, conducted an extensive study of Ivy

          League admissions.        See Ron Unz, The Myth of American Meritocracy, American

          Spectator (Dec. 2012). Mr. Unz found rampant discrimination against Asian Americans

          by Ivy League universities generally and Harvard specifically.

                 225.       Using data from the National Center for Educational Statistics, as well as

          other sources, Mr. Unz found that the “ethnic composition of Harvard’s undergraduates

          … follows a highly intriguing pattern.” In particular, he found that after seeing a steady

          increase in Asian-American admissions through the 1980s and into the 1990s, in 1993

          “Asian numbers went into reverse, generally stagnating in the two decades that followed,

          with the official 2011 figure being 17.2 percent.”


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                 226.      Unz found “[e]ven more surprising …           the sheer constancy of these

          percentages, with almost every year from 1995-2011 showing an Asian enrollment within

          a single point of the 16.5 percent average, despite high fluctuations in the numbers of

          applications and the inevitable uncertainty surrounding which students will accept

          admission.” Unz highlighted that “this exactly replicates the historical pattern …          in

          which Jewish enrollment rose very rapidly, leading to the imposition of an informal quota

          system, after which the numbers fell substantially, and thereafter remained roughly

          constant for decades.”

                 227.      A report by the Consortium on Financing Higher Education, in the

          Harvard Class of 1995, also showed that Asian Americans are held to a higher standard

          than any other group of applicants. See Melissa Lee, Report Discloses SATs, Admit Rate,

          The Harvard Crimson (May 7, 1993). Responding to this study, Dean Fitzsimmons

          stated that race is “only one factor in deciding whether a candidate is admitted,”but that

          certain minority groups, particularly African Americans, are “highly sought after”and

          that, “[s]tatistically, one could make the argument that it’s easier for certain minorities [to

          be admitted].”

                 228.      Dean Fitzsimmons added: “It’s true that admission rates for Asian

          Americans and whites are lower than the admission rates for Hispanics and African

          American students and Native American students as well. But it’s more complicated than

          that. . . . The question we look at is how much more likely will white and Asian

          American students have access to the kind of preparation that will make one an

          outstanding college candidate here.”




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                    229.   No non-discriminatory factor justifies the gross disparity in Asian

          American admissions relative to their presence in Harvard’s applicant pool.

                    230.   One non-discriminatory factor that theoretically could justify this gross

          disparity would be if a disproportionally high percentage of Asian-American students

          were clustered at the low end of the applicant pool with regard to academic qualifications

          as compared to other racial groups. But as Dr. Sander’s and Ms. Uppala’s paper and

          other data show, the opposite is in fact true. A disproportionally high percentage of

          Asian-American students are clustered at the high end of the applicant pool with regard to

          academic qualifications.

                    231.   Another non-discriminatory factor that theoretically could justify this

          gross disparity would be if a disproportionally high percentage of Asian-American

          students were lacking with regard to non-academic criteria as compared to other racial

          groups.

                    232.   But there is no data to support that theory. See, e.g., Esteban M. Aucejo,

          Hanming Fang, and Ken Spenner, “Does Affirmative Action Lead to Mismatch? A New

          Test and Evidence,”2 Quantitative Economics 303 (2011). This study found no racial

          advantage for underrepresented minority applicants in levels of personal achievement.

                    233.   Studies also have shown that high-achieving Asian-American students are

          equally, if not more, qualified than other racial groups with regard to non-academic

          criteria.   At the University of California, Los Angeles (UCLA), over several years,

          undergraduate admissions readers assigned each applicant three types of scores:

          “academic achievement”(principally high school grades, AP courses, and standardized

          test scores); “life challenges” (mainly socioeconomic background); and “personal




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          achievement”(such as leadership, musical ability, and community service). These three

          scores jointly determined virtually all admissions decisions.       See Peter Arcidiacono,

          Thomas Espenshade, Stacy Hawkins, and Richard Sander, A Conversation on the Nature,

          Effects, and Future of Affirmative Action in Higher Education Admissions, Pennsylvania

          Journal of Constitutional Law (Fall 2014).

                 234.    The data cover over 100,000 undergraduate applicants to UCLA over

          three years and show absolutely no correlation between race and “personal achievement.”

          Rather, the data show that the only strong predictor of personal-achievement scores is

          academic achievement; applicants with high test scores and grades tended to have

          personal achievement scores that were about one standard deviation higher than

          applicants with low test scores and grades.

                 235.    There is no evidence that Asian Americans applying to UCLA have

          personal achievement credentials that Asian Americans applying to Harvard uniformly

          lack. Rather, all available evidence points in the opposite direction.

                 236.    Moreover, notwithstanding Harvard’s public relations emphasis on non-

          academic factors in reviewing applications, academic performance is the principal criteria

          for admission— except when it comes to minority groups that are either preferred or

          discriminated against based on their race and ethnicity.

                 237.    Academic analyses of dozens of application processes at colleges and law

          schools around the country demonstrate that selective schools give far more weight to

          academic achievement and preparation than to other types of accomplishment and

          activity. See Richard Sander, Why Strict Scrutiny Requires Transparency: The Practical




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          Effects of Bakke, Gratz, and Grutter (2011). In general, academic factors alone explain

          about 80 percent of admissions decisions at selective schools.

                 238.    The gross disparity between the percentage of Asian-American students in

          the applicant pool and those in the admitted pool therefore are not explainable on any

          grounds other than intentional discrimination on the basis of race.

                 B.      Elite Schools That Use Race-Neutral Admissions Have Far Higher
                         Asian-American Enrollment.

                 239. Other elite colleges and universities do not consider race in their

          admissions process, and therefore serve as controls against which to measure Harvard’s

          admission and enrollment figures. Those universities uniformly admit and enroll far

          higher percentages of Asian American students than Harvard.

                 240. For example, the California Institute of Technology (Caltech) is a private

          school that selects its students by strict academic standards and chooses not to consider

          race. Almost 40 percent of its undergraduates are Asian American.

                 241. Table B sets forth the Asian-American percentage of the total

          undergraduate enrollment at Caltech and Harvard:




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                                              Table B
                                      Asian-American Enrollment
                                                Harvard   Caltech
                                     1992       19.1%     25.2%
                                     1993       20.6%     26.9%
                                     1994       18.3%     29.8%
                                     1995       18.4%     29.1%
                                     1996       17.5%     27.6%
                                     1997       17.4%     27.4%
                                     1998       17.0%     24.1%
                                     1999       17.2%     24.3%
                                     2000       17.1%     24.9%
                                     2001       16.4%     24.5%
                                     2002       16.3%     27.2%
                                     2003       16.2%     31.1%
                                     2004       17.1%     31.1%
                                     2005       17.6%     33.0%
                                     2006       14.3%     37.4%
                                     2007       15.4%     38.1%
                                     2008       16.7%     39.8%
                                     2009       17.0%     39.9%
                                     2010       15.6%     39.4%
                                     2011       17.2%     38.8%
                                     2012       17.7%     39.6%
                                     2013       18.0%     42.5%

                 242.   The following graph represents the Asian-American enrollment trends

          between the two schools:




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                 243. The University of California system also does not use racial preferences, as

          they were banned via popular referendum in 1996. Asian Americans currently make up

          34.8 percent of UCLA’s student body and 32.4 percent of the University of California at

          Berkley’s student body.

                 244. A similar phenomenon exists at elite high schools. Those high schools that

          do not employ racial preferences have extraordinarily high percentages of Asian

          Americans. For example, Hunter College High School in New York chooses students

          without giving preference to legacies, athletes, or underrepresented minorities. This

          admissions system produced a student body that was 49 percent Asian American in 2013.

                 245. Similarly, Thomas Jefferson High School for Science and Technology, a

          magnet school in Virginia that is consistently ranked one of the best high schools in the

          country, does not employ racial preferences. Its 2014 entering fall class is 66 percent

          Asian American.


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                  C.      Statements By Admissions Staff At Harvard And Other Schools
                          Provide Further Evidence That Harvard Discriminates Against
                          Asian-American Applicants.

                  246. Harvard evaluators consistently rank Asian-American candidates below

          White candidates in “personal qualities.” In comments written in applicants’ files,

          Harvard admissions staff repeatedly have described Asian Americans as “being quiet/shy,

          science/math oriented, and hard workers.”

                  247. One Harvard official summed up the profile of a purportedly typical Asian

          applicant this way: “He’s quiet and, of course, wants to be a doctor.”

                  248. Another Harvard official wrote that an applicant’s “scores and application

          seem so typical of other Asian applications I’ve read: extraordinarily gifted in math with

          the opposite extreme in English.”

                  249. According to Hunter College High School’s director of college counseling,

          admissions officers at elite universities often complain that Asian American applicants all

          look the same on paper. “When Harvard calls us back and gives us a brief synopsis of

          why certain [Asian] kids didn’t make it, they’ll say, ‘There were so many kids in the pool

          that looked just like this kid.’”

                  250. Admissions officers at other top schools have expressed similar sentiments.

          For example, asked why Vanderbilt poured resources into recruiting Jewish students

          instead of Asian Americans, a former administrator said, “Asians are very good students,

          but they don’t provide the kind of intellectual environment that Jewish students provide.”

                  251. Rod Bugarin, a former admissions officer at Wesleyan, Brown, and

          Columbia, stated: “The bar is different for every group. Anyone who works in the




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          industry knows that.” Without affirmative action, “our elite campuses will look like

          UCLA and Berkeley,”and “[t]hat wouldn’t be good for Asians or for anyone else.”

                 D.      College Counselors Acknowledge Discrimination Against Asian
                         Americans At Elite Universities.

                 252. College counselors and advisors recognize that discrimination against

          Asian Americans occurs at elite universities such as Harvard and thus tell Asian

          Americans to hide their identity, to emphasize personal characteristics that avoid Asian

          stereotypes, and, in many cases, to lower their expectations and apply elsewhere.

                 253. For example, the Princeton Review, the leading guide to college

          admissions, gives specific recommendations for Asian-American students applying to

          elite schools such as Harvard on how to overcome these schools’ anti-Asian-American

          bias. Its recommendations are both honest and discouraging.

                 254. According to the Princeton Review: “Asian Americans comprise an

          increasing proportion of college students nationwide. Many Asian Americans have been

          extraordinarily successful academically, to the point where some colleges now worry that

          there are ‘too many’ Asian Americans on their campuses. Being an Asian American can

          now actually be a distinct disadvantage in the admissions processes at some of the most

          selective schools in the country. Increasingly, the standard for affirmative action isn’t

          minority status, but under-represented minority status.         Since Asian American

          populations at many colleges exceed the proportion of Asian Americans to the population

          of the state or country as a whole, Asian Americans are a minority, but not an under-

          represented minority, at those colleges… . If you are an Asian American— or even if you

          simply have an Asian or Asian-sounding surname— you need to be careful about what

          you do and don’t say in your application.”



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                 255. According to the Princeton Review: “You need to avoid being an Asian Joe

          Bloggs. Asian Joe Bloggs is an Asian American applicant with a very high math SAT

          score, a low or mediocre verbal SAT score, high math- or science-related SAT II scores,

          high math and science grades, few credits in the humanities, few extracurricular

          activities, an intended major in math or the sciences, and an ambition to be a doctor, an

          engineer, or a research scientist. The more you sound like this person, the more likely

          admissions officers will be to treat you as part of the ‘Asian invasion’ and reject your

          application, or at the very least make you compete against other Asian applicants with

          similar characteristics, rather than against the applicant pool as a whole.”

                 256. Princeton Review further explains: “If you share traits with Asian Joe

          Bloggs you should probably pay careful attention to the following guidelines:

                 •   If you’re given an option, don’t attach a photograph to your
                     application and don’t answer the optional question about your ethnic
                     background. This is especially important if you don’t have an Asian-
                     sounding surname. (By the same token, if you do have an Asian-
                     sounding surname but aren’t Asian, do attach a photograph.)

                 •   Work on your verbal SAT score, take some literature and history
                     courses, and get involved in activities other than math club, chess club,
                     and computer club.

                 •   Do not write your application essay about the importance of your
                     family or the positive/negative aspects of living in two cultures. These
                     are Asian Joe Bloggs topics, and they are incredibly popular. Instead,
                     write about something entirely unrelated to your ethnic background.

                 •   Don’t say you want to be a doctor, and don’t say you want to major in
                     math or the sciences. You don’t have to lie. If you have lousy SAT
                     verbal scores, saying you want to be an English major isn’t going to
                     help you, either. Just say you’re undecided. The point is to distance
                     yourself as much as possible from the stereotype.

                 •   These guidelines are less important if you are chiefly interested in less
                     selective schools or if you are applying to schools where all the
                     students take only math and science courses and dream of medical or


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                     research careers. In fact, Asian Joe Bloggs’s high math and science
                     scores can be an advantage in applying to schools below the Ivy league
                     level. Even there, though, the less you sound like the stereotype, the
                     better your chances will be.”

                 257. Whole new industries have sprung up to help Asian Americans overcome

          discrimination and secure admission to elite universities, including Harvard.

                 258. One organization called “Asian Advantage College Consulting”promises

          to help an “Asian-American student applying to elite colleges beat the Asian Quotas.”Its

          strategy is, first, recognizing that “Asian students need to approach the admissions

          process in a completely different manner than the white or non-Asian applicant”and,

          second, developing a strategy to stand out from the many “Asian-American applicants

          with high grades and SAT/ACT scores, along with a seemingly impressive list of awards

          and achievements in science fairs, musical competitions and school-based activities like

          debate and the robotics club.”

                 259. Similarly, the Ivy League Coach, a college counseling practice, provides

          specific recommendations for Asian Americans: “The fact is, highly selective colleges

          seek a diverse incoming class and a diverse incoming class does not mean an all Asian

          class. So Asian students do indeed compete against each other. Does that mean that an

          Asian American student shouldn’t check off ‘Asian American’ on their college

          application? Not necessarily. A student should check off the ethnicity that they’re most

          comfortable with, the ethnicity or ethnicities that they most closely identify with. But

          what the article on Asians and college admissions …           doesn’t say is that college

          admissions counselors are going to suspect that Henry Chang is Asian whether or not

          Henry Chang checks the box. But that doesn’t mean Henry can’t do something about

          differentiating himself from other Asian American applicants… . Don’t just be the math



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          kid with perfect scores who competes in Mathletes. Don’t just play the violin. Do

          something that many of the Asian American kids in your class aren’t doing… . Whether

          or not the following is [politically correct], it’s also true: What you want to do is

          distinguish yourself from any perceived stereotypes.”

                 260. The bias against Asian-American applicants discussed by these college

          counselors exists at Harvard. Many high school guidance counselors caution students

          applying to Harvard not to list their race as Asian.

                 261. According to one high school guidance counselor, Asian Americans face

          difficulty because they cannot distinguish themselves within their community: “[e]very

          single child has had music lessons. Every single child succeeds well in math. Every

          single child has done community service in a hospital. Every child has done Chinese or

          Korean studies on Saturday and is fluent in that language.”

                 E.      Asian-American Applicants And Their Families Know That They Are
                         Being Discriminated Against By Elite Universities.

                 262. Asian Americans are not blind to the discrimination employed by Harvard

          and other elite colleges and universities.

                 263. According to Princeton economist Uwe Reinhardt, “within the Asian

          community, of which I’m a part, there’s this feeling that, for you to get into Harvard or

          Princeton, you’ve got to be better than everybody else.”

                 264. According to Kara Miller, a former Ivy League admissions officer, “Asian

          kids know that when you look at the average SAT for the school, they need to add 50 or

          100 to it. If you’re Asian, that’s what you’ll need to get in.”

                 265. For example, Iris Wang, a senior at Hunter College High School, one of the

          best public high schools in America, scored a 1520 SAT score and had top grades. Her



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          father is a chemist and her mother a postal worker. She was rejected by Harvard, as well

          as numerous other schools. According to Wang, “All the schools basically say, ‘we don’t

          discriminate.’   But I went to the Columbia session and they said they value a

          multicultural community. If they want to be multicultural, there’s only so many of one

          culture they can take.”

                 266. Daniel Golden, the Pulitzer Prize-winning reporter then of The Wall Street

          Journal, described Jamie Lee, who applied to Harvard, as well as six other elite private

          schools: According to Mr. Golden, “Jamie Lee was a superb student. Born in Hong

          Kong to an English father and Chinese mother, he grew up in London, where teachers

          marveled at his ability and his IQ was measured at 162, widely considered genius level.

          When his family emigrated to Greenwich, Connecticut, in 2003, he quickly established

          himself as a top student at Greenwich High, a premier public school. On his first tries,

          without a test-prep course, he scored the maximum on the PSAT, the SAT, and two of his

          three SAT II subject tests; on the third SAT II, writing, he missed by only 20 points,

          scoring 780 out of 800. Nor was he merely a standardized-test machine; his problem

          solving displayed impressive originality. In 2005, Jamie won the Greenwich High award

          given to the senior who ‘demonstrates creative ability and inventiveness in math, who

          may take the unusual approach to a problem and come up with an unexpected answer.’

          His creativity also emerged in music (the high school string ensemble performed his

          composition ‘Three Dances,’ with Jamie on cello) and mechanical design (he built an

          ingenious wooden cabinet with doors that automatically opened and closed a mobile rack

          for storing compact discs). ‘He likes to be opposition and play the devil’s advocate,’ said

          his junior-year Latin teacher, Camille Fusco. ‘He’s very independent in his thinking. On




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          an essay question, he’d deliberately take the point of view I didn’t want to hear. But he

          got away with it because he can take any view brilliantly.’”

                 267. Despite this academic record, Harvard— as well as Princeton, Yale,

          Stanford, Columbia, Dartmouth, and MIT— denied Jamie Lee admission. Fusco said he

          “‘was really shocked [Jamie] didn’t get in”because he “‘thought of him as a Harvard

          person.’”

                 268. Jamie’s English literature teacher, Brigid Barry, said she too was “‘very,

          very surprised. There’s no doubt he’s an outstanding student,’”and that in eight years of

          teaching AP English, she had seen the Ivy League schools admit many weaker

          candidates.

                 269. Marlyn McGrath Lewis, Harvard’s director of admissions, told Jamie’s

          father that Jamie “‘was an excellent student but that a number of better musicians had

          applied.’” When asked later if Jamie was held to a higher standard because he was half

          Asian, Ms. Lewis declined to comment.

                 270. One strategy that Asian-American students applying to Harvard use is to

          avoid identifying their race. Many Asian-American students are unwilling to state their

          race at all on college applications.

                 271. For example, Lanya Olmstead was born in Florida to a mother who

          immigrated from Taiwan and an American father of Norwegian ancestry. Ethnically, she

          considers herself half Taiwanese and half Norwegian. But when applying to Harvard,

          Olmstead checked only one box for her race: white. According to Olmstead: “I didn’t

          want to put ‘Asian’ down … because my mom told me there’s discrimination against




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          Asians in the application process… . Not to really generalize, but a lot of Asians, they

          have perfect SATs, perfect GPAs, … so it’s hard to let them all in.”

                 272. Said another student: “As someone who was applying with relatively

          strong scores, I didn’t want to be grouped into that stereotype … I didn’t want to be

          written off as one of the 1.4 billion Asians that were applying.”

                 273. Applicants who are part Asian American regularly attempt to conceal their

          Asian ancestry when applying to Harvard out of concern it would greatly reduce their

          chances of admission.

                 274. For example, Harvard student Heather Pickerell, born in Hong Kong to a

          Taiwanese mother and American father, refused to check any race box on her application

          because “I figured it might help my chances of getting in.”

                 275. According to Lee Cheng, founder of the Asian American Legal

          Foundation, “Many Chinese-American children have internalized their anger and pain,

          confused about why they are treated differently from their non-Chinese friends. Often

          they become ashamed of their ethnic heritage after concluding that their unfair denial is a

          form of punishment for doing something wrong.”

                 276. Another example is Henry Park. According to Daniel Golden’s reporting:

          “Henry Park ranked 14th out of 79 members of the class of 1998 at Groton School, a

          super competitive prep school in Groton, Massachusetts. He got a perfect 800 on the

          math SAT for a combined score of 1560 out of 1600, placing him in the top one-quarter

          of 1 percent of college-bound students. On the SAT II subject test, he scored another

          perfect 800 on the harder of the two math exams offered, along with 760 out of 800 in

          Latin and 740 in physics. He played violin and competed on the cross-country team, and




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          a respected math journal published a paper he coauthored with two classmates. And as

          the son of hardworking, middle-class Korean immigrants who dreamed of a better life for

          their children and scrimped to pay Groton’s tuition, Henry seemed to embody the up-by-

          his bootstraps American saga that is supposed to appeal to college admissions officers.”

                 277. Henry’s guidance counselor at Groton nevertheless discouraged him from

          applying to the Ivy League, telling him “it was a long shot at best, and advised him to

          lower his expectations to second- and third-tier schools.”

                 278. Harvard denied Henry admission, as did Yale, Brown, and Columbia. At

          the same time, Ivy League universities admitted 34 of Henry’s Groton classmates.

          According to Henry: “When the decisions came out, and all these people started getting

          in, I was a little upset. I feel I have to hold myself to a higher standard.” Added his

          mother, Suki Park, “I was naïve. I thought college admissions had something to do with

          academics.”

                 279. Henry Park’s mother described the harm caused to Henry and his family: “I

          have thought many, many times why Henry failed. It was just devastating. He just failed

          like a falling leaf…. Korean Americans have to do a lot better than Caucasians to get

          admitted, and it’s probably the same for other Asians. It’s very, very tough. Presently,

          yes, there is discrimination.”

                 280. When MIT’s dean of admissions Marillee Jones was asked about Henry

          Park, who was rejected by Harvard, she said that “it’s possible that Henry Park looked

          like a thousand other Korean kids with the exact same profile of grades and activities and

          temperament. My guess is that he just wasn’t involved or interesting enough to surface to




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          the top.” To Ms. Jones, it made sense for universities to admit other students over “yet

          another textureless math grind.”

                 281. The “model minority”stereotype of high-achieving Asian Americans does

          an even greater disservice to socioeconomically disadvantaged individuals by making it

          virtually impossible for disadvantaged Asian Americans to compete with disadvantaged

          students from other races who are held to a lower standard.

                 282. For example, Kai Chan, a Princeton doctoral student in economics and the

          son of Chinese immigrants, describes the struggles he has endured: “Is it fair in the name

          of (skin-deep) diversity to hold back qualified students from admission to the Ivies

          because of their race?     After all, it is a fact that Asians need higher academic

          achievements than their peers to get admitted to the same school… . The misguided

          approach of programs like affirmative action can be seen through my experience. I am

          the son of poor, non-English speaking parents, neither of whom attended high school.

          They never read to me as a child. They never attended my graduations. I went to some

          terrible high schools. (Altogether, I attended five high schools, one of which was known

          locally as ‘last chance high.’) I worked practically full-time while attending high school

          and college. But I’ve never gotten the benefit of the doubt anytime in my life. If

          anything, I’ve had to be better than my peers.”

                 283. Application statistics confirm that Asian Americans are aware of (and have

          responded to) the discrimination they suffer at Harvard.        As the Asian-American

          population of the United States has grown, so has its share of academically high-

          achieving students. As Dr. Sander’s paper shows, Asian Americans made up roughly 21

          percent of all domestic SAT takers with scores above 1400 in the 1994, 1996, and 1998




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          admissions cycles. In the 2008, 2010, and 2012 admissions cycles, Asian Americans

          made up roughly 33 percent of all domestic SAT takers with scores above 2100— an

          increase roughly proportionate to the growth of the Asian-American proportion of all

          SAT takers.

                 284. Yet during this same period, as many elite colleges, including Harvard,

          increasingly discriminated against Asian Americans, the proportion of high-scoring Asian

          Americans sending their scores to these schools declined sharply. As Dr. Sander and Ms.

          Uppala report, the proportion of Asian Americans with top SAT scores (i.e., above 1400

          in 1994-98 and 2100 in 2008-12) who sent their scores to the most selective Ivy League

          schools fell from 39.7 percent in the mid-1990s to only 27.4 percent during the 2008,

          2010, and 2012 cycles. No comparable drop occurred for any other racial group.

                 285. Asian Americans understand that they are not competing for admission to

          Harvard against the entire applicant pool.        In light of Harvard’s discriminatory

          admissions policies, they are competing only against each other, and all other racial and

          ethnic groups are insulated from competing against high-achieving Asian Americans.

                 286. Because Asian Americans congregate at the high end of Harvard’s

          applicant pool, the competition is fierce. This has deterred and continues to deter many

          qualified Asian Americans from applying to Harvard. Harvard’s discriminatory reach

          thus extends far beyond those highly qualified Asian Americans who decide to apply and

          whose applications are treated unfairly in the admissions process.

                 287. This discrimination has reached and continues to reach every Asian

          American student who has shied away or will shy away from applying to Harvard out of




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          the well-founded fear that he or she will not successfully make it out of the highly

          competitive Asian American admissions pool and gain admission to Harvard.

          IX.    HARVARD CURRENTLY ENGAGES IN RACIAL BALANCING.

                 288.    Not only does Harvard discriminate against Asian Americans, it racially

          balances its entering freshman class to ensure proportional representation of the various

          racial and ethnic groups present in Harvard’s student body.

                 289.    Harvard’s system of racial balancing is shown through both direct and

          circumstantial evidence, including statistical studies of Harvard’s admissions decisions.

          This evidence confirms that Harvard is not using racial preference to pursue “critical

          mass”or any other diversity goal the Supreme Court has ever found permissible.

                 290.    As shown in Table C, the racial demographics of Harvard’s admitted class

          have remained stable across all racial groups at least over the last 9 years.

                                                           Table C
                            Harvard Admissions (Percentage of Admitted Students by Race/Ethnicity)

                              2014     2013      2012     2011       2010    2009      2008      2007    2006

           African            11.9%    11.5%     10.2%    11.8%      11.3%   10.8%     11.0%     10.7%   10.5%
           American

           Hispanic           13.0%    11.5%     11.2%    12.1%      10.3%   10.9%     9.7%      10.1%   9.8%

           Asian American     19.7%    19.9%     20.7%    17.8%      18.2%   17.6%     18.5%     19.6%   17.7%

           Native             1.9%     2.2%      1.7%     1.9%       2.7%    1.3%      1.3%      1.5%    1.4%
           American

           White and          53.5%    54.9%     56.2%    56.4%      57.5%   59.4%     59.5%     58.1%   60.6%
           Other


                 291.    As shown in Table D, the racial demographics of Harvard’s enrolled first-

          year classes also have remained stable across all racial groups throughout the past decade.




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                                                              Table D
                                Harvard Enrollment (Percentage of First Years by Race/Ethnicity)


                                  2013   2012   2011   2010       2009   2008   2007   2006   2005   2004   2003


           Nonresident alien      11%    11%    12%    10%        10%    10%    10%    9%     9%     9%     8%


           Hispanic/Latino        10%    9%     10%    9%         9%     7%     8%     8%     7%     9%     8%


           American Indian        0%     0%     0%     0%         1%     1%     1%     1%     1%     1%     1%
           or Alaska Native


           Asian Americans        19%    20%    17%    15%        17%    19%    18%    15%    19%    20%    17%


           Black or African       7%     6%     7%     6%         9%     8%     8%     8%     9%     9%     9%
           American


           Native Hawaiian        0%     0%     0%     0%         0%     0%     0%     0%     0%     0%     0%
           or Other Pacific
           Islander


           White                  43%    45%    45%    44%        40%    41%    42%    44%    47%    47%    50%


           Two or more races      7%     6%     6%     6%         0%     0%     0%     0%     0%     0%     0%


           Race and ethnicity     3%     3%     3%     11%        14%    15%    13%    15%    8%     5%     7%
           unknown


                   292.   As shown in Table E, the racial demographics of Harvard’s overall student

          body likewise have remained remarkably stable across all racial groups throughout the

          past decade.




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                                                         Table E
                                      Harvard Enrollment (Percentage of Student Body)

                                2013    2012    2011   2010      2009   2008   2007   2006   2005   2004   2003

          Nonresident alien     11%     11%     11%    10%       10%    10%    9%     10%    8%     8%     7%

          Hispanic/Latino       9%      9%      9%     8%        8%     7%     7%     7%     7%     8%     7%

          American Indian       0%      0%      0%     0%        1%     1%     1%     1%     1%     1%     1%
          or Alaska Native

          Asian Americans       18%     18%     17%    16%       17%    17%    15%    17%    18%    17%    16%

          Black or African      6%      6%      7%     7%        8%     8%     8%     8%     8%     8%     7%
          American

          Native Hawaiian       0%      0%      0%     0%        0%     0%     0%     0%     0%     0%     0%
          or Other Pacific
          Islander

          White                 45%     45%     45%    44%       42%    45%    46%    45%    49%    49%    49%

          Two or more races     6%      5%      5%     3%        0%     0%     0%     0%     0%     0%     0%

          Race and ethnicity    4%      5%      6%     12%       14%    14%    14%    14%    8%     9%     12%
          unknown


                  293.       Table C, Table D, and Table E, both individually and collectively,

          demonstrate that Harvard is engaging in racial balancing as there can be no non-

          discriminatory reason justifying such remarkable stability in its overall student body

          across all racial groups over this multi-year period.

                  294.       Indeed, Harvard’s admissions and enrollment data tends to demonstrate

          that Harvard is engaging in racial balancing to a statistically significant degree.

                  295.       The year-to-year changes in the racial composition of Harvard’s admitted

          and enrolled freshman class also reflect racial balancing as shown by, among other

          things, how Harvard has managed its balance between African Americans and Hispanics,

          and how it has managed its balance between Asians and Non-Hispanic whites.




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                 296.       Over the period between 1994 and 2008, African American enrollment has

          remained extraordinarily stable at Harvard, averaging 7.8 percent with a standard

          deviation (calculated by year over the 14-year period) of 0.3 percent.              Hispanic

          enrollment also remained quite stable, averaging 7.4 percent with a standard deviation of

          0.4 percent. This occurred despite the fact that throughout this period, the applicant pool

          of academically strong Hispanic students at Harvard and other elite Ivy League schools

          was substantially larger than the similar pool for African Americans, and the gap became

          larger over time.

                 297.       Yet Harvard and its peer Ivy League colleges have consistently admitted

          as many African Americans as Hispanics (if not more), even though this meant using

          substantially larger preferences for African Americans than for Hispanics.          In other

          words, Harvard has manipulated the size of racial preferences to ensure it maintained

          racial balance.

                 298.       Over the period between 2003 and 2012, the percentage of Asian

          Americans at Harvard wavered only slightly above and below approximately 17 percent.

          As noted earlier, this is despite the fact that, by 2008, Asian Americans made up over 27

          percent of Harvard’s applicant pool, and approximately 46 percent of applicants with

          academic credentials in the range from which Harvard admits the overwhelming majority

          of students. But during this same period, Harvard’s “non-Hispanic white”representation

          is only slightly declining.

                 299.       Given Harvard’s other racial balancing goals, it is obvious that if Harvard

          evaluated Asian Americans and non-Hispanic whites equally, non-Hispanic white

          admissions would drop significantly, possibly to the point where Asian-American




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          enrollment and non-Hispanic white enrollment would be roughly comparable. Although

          this would cause Harvard’s overall level of racial diversity to increase, not decrease,

          Harvard nevertheless continues to use racial balancing to keep white enrollment more

          than twice as high as Asian-American enrollment.

                 300.    The minor year-to-year deviations in admissions and enrollment numbers

          demonstrate Harvard’s commitment to maintaining racial stability over any four-year

          enrollment period. In other words, when enrollment of a particular racial or ethnic group

          exceeds or falls short of Harvard’s intended goal, in the next one or two admissions

          cycles, Harvard admits fewer or more applicants of that racial or ethnic group in order to

          balance out the overall student body.

                 301.    For example, in 2005, 18 percent of Harvard’s student body was Asian

          American, which was a 16-year high. In response, Harvard admitted an unusually low

          number of Asian Americans in the following admissions cycle (17.7 percent). That

          predictably resulted in an unusually low yield of Asian Americans enrolling at Harvard

          (15.0 percent). Indeed, both the 2006 admissions and enrollment figures for Asian

          Americans were at or near 10-year lows.

                 302.    Similarly, in 2012, 6 percent of Harvard’s overall student body was

          African American, which was a 24-year low. In response, Harvard admitted an unusually

          high number of African Americans in the next two admissions cycle (11.5 percent and

          11.9 percent, respectively), which were both record highs. That predictably resulted in an

          usually high yield of African Americans enrolling at Harvard in 2013, which maintained

          an overall enrollment figure in line with the 20-year average, and would be expected to

          result in a similar enrollment level of African Americans in 2014.




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                 303.    No factor or criteria for admission— other than racial balancing— could

          explain these admissions patterns and the overall consistency of Harvard’s admissions,

          enrollment, and overall student body figures across all racial groups.

                 304.    As the Unz study found, “ethnic enrolment levels which widely diverge

          from academic performance data or applications rates and which remain remarkably

          static over time provide obvious circumstantial evidence for at least a de facto quota

          system.”

          X.     HARVARD HAS AVAILABLE RACE-NEUTRAL ALTERNATIVES
                 THAT CAN ACHIEVE STUDENT-BODY DIVERSITY.

                 305.    Harvard has a host of race-neutral alternatives that can achieve student

          body diversity without the use of racial classifications, including but not limited to: (a)

          increased utilization of non-race-based preferences; (b) increased use of financial aid,

          scholarships, and recruitment to attract and enroll minority applicants; and (c) elimination

          of admissions policies and practices that operate to the disadvantage of minority

          applicants. Furthermore, eliminating racial preferences at Harvard will alleviate the

          substantial harm these discriminatory policies cause to those minority applicants who

          receive such admissions preference, the Harvard community, and society as a whole.

                 A.      Harvard Can Achieve Student Body Diversity Without Using Race As
                         A Factor In Admissions Decisions By Making Greater Use Of Non-
                         Racial Preferences.

                 306.    Colleges and universities that have eliminated race-based admissions have

          maintained or increased their student body diversity by placing greater emphasis on

          socioeconomic factors, which often strongly correlate with an applicant’s race but are not

          exclusively reserved for applicants of a particular race or ethnicity. Using socioeconomic




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          preferences thus increases racial diversity and achieves the broader diversity that Harvard

          claims to seek by opening the door of opportunity for poor students of all races.

                 307.    In a recent study of ten leading public universities that ended race-based

          preferences, researchers found that seven of these schools maintained or increased their

          enrollment of African-American and Hispanic students by adopting strategies that target

          socioeconomic inequality. See Halley Potter, Transitioning to Race-Neutral Admissions:

          An Overview of Experiences in States Where Affirmative Action Has Been Banned, The

          Future of Affirmative Action (2014).

                 308.    For example, the University of Colorado has devised an admissions

          formula that gives a significant preference to students from socioeconomically

          disadvantaged backgrounds. This refined formula takes into consideration numerous

          socioeconomic factors, including single-parent status, parents’ education level, family

          income, native language, the number of dependents in the family, whether the applicant

          attended a rural high school, the percentage of students from the applicant’s high school

          eligible for free or reduced-price lunch, the school-wide student-to-teacher ratio, and the

          size of the twelfth-grade class.

                 309.    Under this admissions program, the University of Colorado found not only

          that the socioeconomic diversity of its incoming class increased substantially, but that

          racial and ethnic diversity increased as well. African-American and Hispanic acceptance

          rates to the University of Colorado increased from 56 percent under race-based

          admissions to 65 percent under class-based admissions.         See Matthew N. Gaertner,

          Advancing College Access with Class-Based Affirmative Action, The Future of

          Affirmative Action (2014).




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                 310.    Recently, a national simulation was conducted to determine whether the

          use of socioeconomic preferences could achieve student body diversity without the use of

          racial preferences at elite universities. See Anthony P. Carnevale, Stephen J. Rose, Jeff

          Strohl, Achieving Racial and Economic Diversity with Race-Blind Admissions Policy,

          The Future of Affirmative Action (2014).         The study simulated various admissions

          models at the top-rated 193 colleges and universities “because the dialogue about

          affirmative action often implies that it is access to these schools and the opportunities

          they provide in business, social and career advancement that truly matters.” The study

          examined, among other things, the effect of substituting socioeconomic preference for

          race-based preferences at America’s elite college and universities using test scores and

          high-school grades as measures of merit.

                 311.    The national simulation ultimately found that “it is possible to achieve

          both racial and economic diversity in selective colleges without using race per se as an

          admissions criterion”and, importantly, that it could be achieved consistent with the

          understanding “that affirmative action models ought to promote racial diversity as an

          educational benefit instead of promoting racial diversity for its own sake.”

                 312.    Another study found that increased focus on parental education and

          wealth— as opposed to income— as a measure of socioeconomic status also can help

          achieve student body diversity without the use of racial preferences. See Dalton Conley,

          The Why, What, and How of Class-Based Admissions Policy, The Future of Affirmative

          Action (2014). The study found that “the most important factor in predicting individual

          academic success is the education of a parent”and the “economic factor”that mattered

          most was “parental net worth (that is, wealth) and not income.” Indeed, “wealth




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          conceptually captures the legacy of historical inequalities of opportunity better than

          aspects of class that cannot be literally transferred directly from one generation to the

          next by signing a check (or a deed or a will).” While African Americans make on the

          order of 60 to 70 percent of what whites make in income, the median African-American

          family wealth is just 10 percent of white family wealth.

                 313.    Affording a community-based preference is another means of achieving

          student body diversity by admitting more socioeconomically disadvantaged students. See

          Sheryll Cashin, Place not Race: A New Vision of Opportunity in America (2014).

          African Americans and Hispanics are much more likely to live in neighborhoods with

          concentrated poverty than whites. See John R. Logan, Separate and Unequal: The

          Neighborhood Gap for Blacks, Hispanics, and Asians in Metropolitan America (2011),

          Table 2.

                 314.    Universities have used this community-based homogeneity to promote

          racial and ethnic diversity through race-neutral means. For example, Texas, California,

          and Florida have adopted “percent plans”that guarantee admission to state universities

          for top graduates (based on grades) from each high school in the state. These percentage

          plans have been successful in promoting community, socioeconomic, and racial diversity.

                 315.    In addition to statewide percentage plans, a university can achieve student

          body diversity by granting a preference within their existing admissions framework

          utilizing other community-based metrics, such as an applicant’s zip code. See Danielle

          Allen, Talent is Everywhere: Using Zip Codes and Merit to Enhance Diversity, The

          Future of Affirmative Action (2014).




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                 316.    Studies show that students admitted based on socioeconomic as opposed

          to racial criteria regularly outperform all other admitted students. These students drop

          out at lower rates, graduate in shorter time periods, and receive better grades.

                 317.    The Espenshade-Radford study found that selective private institutions use

          racial preferences that are two to three times as large as their socioeconomic preferences.

                 318.     This failure to give weight to socioeconomic preferences is exemplified

          by Harvard, particularly given the lack of socioeconomic diversity in the student body as

          compared to racial diversity.

                 319.    Measured in terms of those students receiving federal Pell Grants, which

          are awarded to students coming from low-income families, Harvard lags far behind other

          schools. The percentage of students at Harvard who receive Pell Grants has ranged in

          recent years from 11 percent to 19 percent. In comparison, universities that employ race-

          neutral admissions had far greater numbers of Pell Grant recipients, including UCLA (35

          percent), UC Berkeley (33 percent), and the University of Florida (30 percent). 2014

          National Universities Rankings – Social Mobility, Washington Monthly (2014).

                 320.    According to a survey of the 2014 freshman class that The Harvard

          Crimson conducted, 14 percent reported annual family income above $500,000 and

          another 15 percent came from families making more than $250,000 per year. In contrast,

          only 20 percent reported incomes less than $65,000. Taking these statistics at face value,

          they show that a high school student from the top “1 percent”of the income distribution

          is approximately 35 times more likely to attend Harvard than one from the bottom 50

          percent.




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                 321.    According to former Harvard president Lawrence Summers, only ten

          percent of students at selective colleges and universities, including Harvard, come from

          the bottom half of the income scale. See Harvard University President Lawrence H.

          Summers Commencement Address (2004).

                 322.    By contrast, Harvard places far greater weight on an applicant’s race—

          regardless of his or her socioeconomic status or the community of origin.

                 323.    By increasing the weight given to an applicant’s socioeconomic status

          and/or community of origin, Harvard could achieve student body diversity without

          resorting to the disfavored tool of racial preferences.

                 B.      Harvard Can Achieve Student Body Diversity Without Using Race As
                         A Factor In Admissions Decisions By Making Greater Use Of
                         Financial Aid And Scholarships To Attract Minority Candidates.

                 324.    Relying on socioeconomic instead of racial preferences at the admissions

          stage is the first step. But Harvard needs to ensure that those underprivileged minorities

          that benefit from socioeconomic preferences are in a position to accept the offer of

          admission and enroll at Harvard. To that end, Harvard can achieve student body diversity

          by increasing its use of financial aid and scholarships.

                 325.    Colleges and universities that have eliminated racial preferences have

          maintained or increased student body diversity by offering more financial aid to

          socioeconomically disadvantaged students. For example, the University of California

          system, which does not use race-based preferences, covers system-wide tuition for

          students from families with incomes below $80,000.         The University of California

          devotes one-third of tuition revenue to financial aid.

                 326.    Harvard, in contrast, only covers the tuition of students from families with

          incomes below $65,000. This is a trivial use of Harvard’s vast economic resources.


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          Harvard’s $36.4 billion endowment is the largest in the nation; it exceeds the gross

          domestic product of over 100 nations. Yet it costs students $43,938 per year in tuition

          alone, and $58,607 overall per year, to attend Harvard.

                  327.    Harvard has the economic resources to increase the coverage of full tuition

          far beyond the current $65,000 threshold.           Doing so would make it possible for

          underprivileged minorities, especially those in the lower middle class and those who may

          have slightly higher income levels but less wealth, admitted to Harvard through the

          increased use of socioeconomic preferences (as opposed to affluent minorities currently

          admitted due to racial preferences) to be in a position to accept an offer of admission and

          enroll at Harvard.

                  C.      Harvard Can Achieve Student Body Diversity Without Using Race As
                          A Factor In Admissions Decisions Through Increased Recruitment
                          And Other Steps Designed To Encourage More Qualified Minority
                          Students To Apply For Admission.

                  328.    Harvard can achieve student body diversity by bringing more highly

          qualified, socioeconomically disadvantaged minorities into its applicant pool.

                  329.    Across the country, there are tens of thousands of high-achieving,

          socioeconomically disadvantaged minorities who fail to apply to selective schools,

          including Harvard, at which they would likely be admitted and at which they would

          enroll if offered sufficient financial aid.

                  330.    One study found that between 25,000 and 35,000 socioeconomically

          disadvantaged high school seniors obtain an SAT or ACT in the 90th percentile or higher

          and have a GPA of A- or better. Nearly 6 percent of this group is African American and

          nearly 8 percent is Hispanic. A great many of these socioeconomically disadvantaged

          students “undermatch”by applying to and enrolling at colleges and universities less



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          selective than the ones to which they could have been admitted. See Caroline Hoxby,

          Christopher Avery, The Missing “One-Offs”: The Hidden Supply of High-Achieving,

          Low-Income Students, Brookings Papers on Economic Activity (Spring 2013).

                 331.    The “undermatch”problem is a serious issue in the Ivy League. Among

          the highly selective Ivy League schools studied by Dr. Sander and Ms. Uppala, the

          applicant pools of these schools included, on average, less than 20 percent of the

          socioeconomically disadvantaged students in the country with SAT scores above 2100.

          The rate is even lower for high-scoring, socioeconomically disadvantaged Asian

          Americans, in which less than 18 percent of such students are, on average, in the

          applicant pools of the highly selective Ivy League schools.

                 332.    Universities with race-neutral admissions have increased their student

          body diversity by improving recruitment of these socioeconomically disadvantaged, high-

          achieving minority students. For example, after race-based admissions were eliminated

          in Texas, the University of Texas at Austin increased its student body diversity by

          implementing numerous programs designed to recruit students from underrepresented

          regions and high schools, including “Longhorn Game Weekends,”which focus on

          specific geographic regions, and “Longhorn for a Day,”which reaches out to students in

          underrepresented high schools.

                 333.    Furthermore, a study found that simply mailing a well-designed, targeted

          brochure to high-achieving, socioeconomically disadvantaged students could be

          instrumental in causing them to apply to selective colleges and universities. See Sheryll

          Cashin, Place not Race: A New Vision of Opportunity in America 49 (2014).




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                 334.   Universities also have achieved student body diversity by aggressively

          recruiting high-achieving community college students, who are more likely to be African

          American or Hispanic. For example, in 1997, after California banned racial preferences,

          the University of California substantially increased its recruitment and enrollment of

          community college students. As a result of the University of California’s efforts, by

          2012, about 29 percent of new students enrolling in the University of California system

          were transfers from community colleges.         See Preparing California for Its Future:

          Enhancing Community College Student Transfer to the University of California (2014).

                 335.   Harvard does little to recruit high-achieving, socioeconomically

          disadvantaged minority students or high-achieving community college students.

                 336.   Harvard focuses its recruitment in parts of the country with small numbers

          of socioeconomically disadvantaged achievers and neglects regions with a significant

          number of such students. For example, Harvard recruits heavily in New England, which

          has only 3.5 percent of low-income high achievers nationwide, yet neglects Midwest and

          Rocky Mountain states, which produce 21.2 percent of these students.

                 337.   This failure to recruit socioeconomically disadvantaged students is

          reflected in Harvard’s applicant pool. Although there are more than 10,000 high schools

          in the country that have students with the credentials to be admitted to Harvard, only a

          small fraction of these schools have students who ultimately apply to Harvard.

                 338.   In addition, community college transfer students are a miniscule

          percentage of Harvard’s student body. Each year, Harvard accepts fewer than three

          students from community colleges across the country.




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                 339.    Harvard officials have flatly conceded that they make little effort to recruit

          students from community colleges and other nontraditional educational backgrounds.

          See Arianna Markel, Harvard Lags in Community College Recruitment, The Harvard

          Crimson (Dec. 12, 2007).

                 340.    Harvard could achieve its student body diversity without the use of racial

          preferences by improving its recruitment of socioeconomically disadvantaged, high-

          achieving minorities, and community college students.

                 D.      Harvard Can Achieve Student Body Diversity Without Using Race As
                         A Factor In Admissions Decisions Through The Elimination Of
                         Admissions Policies And Practices That Harm Minority Applicants.

                 341.    Harvard employs a series of admissions practices and policies that make it

          more difficult for socioeconomically disadvantaged minorities to gain admission.

          Eliminating these practices and policies would allow Harvard to achieve student body

          diversity without using racial preferences.

                 342.    Harvard grants an admissions preference to “legacy”applicants.

                 343.    The acceptance rate for legacy applicants to Harvard is about 30 percent,

          which is roughly five times the rate at which all other applicants are admitted to Harvard.

                 344.    At most universities throughout the country, including Harvard, alumni

          children are less likely to be socioeconomically disadvantaged or racial minorities than

          the rest of the student body. Thus, colleges and universities, like Harvard, that grant

          admissions preferences to legacies give a competitive advantage to mainly white, wealthy

          applicants, while undermining the chances for admission of socioeconomically

          disadvantaged and minority applicants. See John Brittain and Eric L. Bloom, Admitting

          the Truth: The Effect of Affirmative Action, Legacy Preferences, and the Meritocratic




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          Ideal on Students of Color in College Admissions, Affirmative Action for the Rich

          (2010).

                    345.   As a consequence, eliminating legacy preferences in conjunction with

          other race-neutral admissions policies can achieve student body diversity.      Several

          universities, including Texas A&M University, the University of Georgia, and the

          University of California, have increased their student body diversity by ending their

          practice of favoring legacies in the admissions process in conjunction with the

          elimination of racial preferences.

                    346.   Furthermore, one study found that eliminating legacy preferences in

          combination with other race-neutral admissions criteria could more than double African-

          American and Hispanic enrollment and more than triple the enrollment of

          socioeconomically disadvantaged students. See Anthony P. Carnevale, Stephen J. Rose,

          Jeff Strohl, Achieving Racial and Economic Diversity with Race-Blind Admissions

          Policy, The Future of Affirmative Action (2014).

                    347.   Harvard can achieve student body diversity without using racial

          preferences by eliminating legacy admissions preferences in conjunction with other race-

          neutral measures.

                    348.   Eliminating legacy preferences is a workable race-neutral strategy.

          Research finds that the existence of legacy preferences does not increase alumni

          donations to an institution.    See Chad Coffman, Tara O’Neil, and Brian Starr, An

          Empirical Analysis of Legacy Preferences on Alumni Giving at Top Universities,

          Affirmative Action for the Rich (2010).




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                 349.    Harvard also grants admissions preferences to non-legacy students whose

          parents make significant donations to Harvard, notwithstanding its $36.4 billion

          endowment.

                 350.    For example, a wealthy New Jersey real estate developer who did not

          attend Harvard pledged $2.5 million to Harvard in 1998. That same year, his son applied

          to Harvard, even though he did not take demanding classes in high school and his test

          scores were below Ivy League standards. His son’s high school advisors were “surprised

          when he applied to Harvard— and dismayed when he was admitted.”

                 351.    As one of his advisors explained, “[t]here was no way anybody in the

          administrative office of the school thought he would on the merits get into Harvard. His

          GPA did not warrant it, his SAT scores did not warrant it. We thought for sure, there was

          no way this was going to happen. Then, lo and behold, [he] was accepted. It was a little

          bit disappointing because there were at the time other kids we thought should really get in

          on the merits, and they did not.”

                 352.    Minority students are far less likely to be children of wealthy donors.

          Thus, colleges and universities, like Harvard, that grant admissions preferences to

          children of wealthy donors give a competitive advantage to mainly white applicants while

          undermining the chances for admission of minority applicants.

                 353.    Harvard’s preferences for legacies and children of wealthy donors often

          operate in tandem to the detriment of minority applicants. For example, one applicant,

          who was a fifth-generation Harvard legacy, scored 1440 on her SATs, which is below

          Harvard’s average, and ranked in the second quartile her high school class. Before she

          applied to Harvard, her father donated $1 million to the university and pledged an




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          additional $5 million in future years. Shortly after her junior year, the applicant’s father

          arranged for her to meet the Dean of Admissions, William Fitzsimmons.              She was

          admitted to Harvard the following year.

                 354.    When asked whether it was fair that she was admitted, she stated that

          legacy preferences are a “valid thing for a college to do. Any college has to be careful

          about the students it lets in from a social perspective. If you let in too many of any one

          group, it can affect social cohesiveness. At one time, Harvard had too many Asian

          American students… . It’s important to Harvard to have people who know what it means

          to work hard, make good friends, and go out at night. A lot more alumni children are

          well-rounded kids, probably because they come from more stable families.”

                 355.    Harvard can achieve student body diversity without using racial

          preferences by eliminating admissions preferences for children of wealthy donors, both

          legacies and non-legacies, in conjunction with other race-neutral measures.

                 356.    Harvard also operates a unique form of admissions known as the “Z-list.”

          The Z-list is an admissions process under which Harvard admits a select group of

          students on the condition that they take a year off before enrolling in Harvard.

                 357.    Harvard admits between 20 and 50 students through the Z-list every year.

                 358.    Harvard principally uses the Z-list to admit legacies and children of

          affluent families who cannot gain admission through the ordinary course and who can

          afford to take a year off before enrolling in college.

                 359.    In 2010, The Harvard Crimson interviewed 28 students admitted under the

          Z-list. Of these students, 18 were children of Harvard alumni and all but four received no

          financial aid from Harvard.




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                 360.    Students admitted through the Z-list are overwhelmingly wealthy and

          white, and have a worse academic record than the rest of the student body.

                 361.    For example, in 2006, Harvard used the Z-list to admit the granddaughter

          of a Harvard alumnus who had endowed a professorship in computer science, even

          though she had inferior admissions credentials. By contrast, one of her high school

          classmates, Jennifer Soo Hoo, who is of Chinese descent, had comparatively outstanding

          credentials: she was a Cum Laude Society member, an Advance Placement Scholar, a

          National Merit Scholar, an all-conference center back on the soccer team, and scored a 34

          out of 36 on the ACT. Jennifer was rejected by every Ivy League school to which she

          applied.

                 362.    Harvard can achieve student body diversity without using racial

          preferences by eliminating Z-list admissions in conjunction with other race-neutral

          measures.

                 363.    Finally, Harvard admits applicants through an early admission program.

          Early admissions is a practice in which schools allow students to submit their application

          in the early Fall if they apply to only one school or promise to attend the school if

          admitted.

                 364.    Early admission programs, like Harvard’s program, usually benefit

          wealthier and better-informed students because these students have the resources to

          submit their application early and do not need to hold out for the prospect of financial

          aid. See Justin Pope, Harvard Drops Early Admissions, Saying They Favor Wealthier

          Students Over Minorities, Poor, Associated Press (Sept. 12, 2006).




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                 365.    By contrast, socioeconomically disadvantaged students and minorities face

          a disadvantage under early admission programs because they often receive inadequate

          information and counseling and lack the economic resources to commit to a school so

          early in the process.

                 366.    Because early admissions undermine the chances of socioeconomically

          disadvantaged and minority applicants, in 2006, Harvard terminated this program.

          According to Harvard’s then-President Derek Bok, “We think this will produce a fairer

          process because the existing process has been shown to advantage those who are already

          advantaged.”

                 367.    Similarly, Dean of Admissions William Fitzsimmons supported ending

          early admissions because “[t]here are lots of very talented students out there from poor

          and moderate-income backgrounds who have been discouraged by this whole hocus-

          pocus of early admissions.”

                 368.    Harvard reinstated early admissions in 2011. The reintroduction of early

          admissions has again hurt the ability of socioeconomically disadvantaged and minority

          students to apply and be admitted to Harvard.

                 369.    Harvard can achieve student body diversity without using racial

          preferences by eliminating its early admission program in conjunction with other race-

          neutral measures.

                 E.      Achieving Student Body Diversity Through Race-Neutral Means
                         Eliminates The Heavy Cost Imposed By The Use Of Racial
                         Preferences.

                 370.    Any assessment of the feasibility of race-neutral alternatives must also

          take into account the heavy costs of not employing them. The costs of continuing to use




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          racial preferences, when workable race-neutral alternatives exist, are high from both a

          legal and a practical perspective.

                 371.    As a legal matter, “[d]istinctions between citizens solely because of their

          ancestry are by their very nature odious to a free people, and therefore are contrary to our

          traditions and hence constitutionally suspect.” Fisher v. University of Texas at Austin,

          133 S. Ct. 2411, 2418 (2013) (citations and quotations omitted).

                 372.    As a result, the Fourteenth Amendment, and therefore Title VI, “forbids

          the use even of narrowly drawn racial classifications except as a last resort.”Croson , 488

          U.S. at 519 (Kennedy, J., concurring in part and concurring in the judgment).

                 373.     Harvard’s practice of labeling all applicants according to broad racial

          categories illustrates why such classifications are pernicious and always create the

          “danger that a racial classification is merely the product of unthinking stereotypes or a

          form of racial politics.” Croson, 488 U.S. at 493.

                 374.    These racial categories lump together students in categories such as

          “African American”or “Hispanic”or “Asian American,”even though they come from

          vastly different cultures, experiences, and backgrounds.

                 375.    For example, Harvard’s category of “Asian Americans” comprises

          roughly 60 percent of the world’s population, including individuals of Chinese, Japanese,

          Korean, Vietnamese, Cambodian, Hmong, and Indian descent.

                 376.    While many Asian Americans have been in the United States for

          generations, others are recent immigrants or children of immigrants.          Some Asian

          Americans came to the United States to escape communism, authoritarianism, war, and




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          poverty, while others simply sought out greater opportunities. Some Asian Americans

          come from highly educated families, but many others do not.

                 377.    Asian Americans also have a wide range of religious beliefs, including

          Christianity, Islam, Buddhism, Judaism, Hinduism and many others. Some come from

          cultures that aggressively promote education, while many others come from cultures that

          take a less demanding approach.

                 378.    Thus, for example, Indian-American students are different from Japanese-

          American students; Vietnamese-American students are different from Chinese-American

          students; and students from Mainland China, Hong Kong, and Taiwan all have unique

          perspectives and cultural experiences.

                 379.    Given this diversity, it is lamentable for Harvard to lump all Asian

          Americans together in the admissions process. Yet this categorization is the inevitable

          byproduct of using group-based racial classifications instead of employing race-neutral

          alternatives that are able to account for the vast differences among applicants.

                 380.    Racial classifications also have a stigmatizing effect on the supposed

          beneficiaries of these policies. Irrespective of whether an individual African-American

          or Hispanic applicant is admitted to Harvard because of a racial preference, so long as

          racial preferences exist, it will often be assumed that race is the reason for the applicant’s

          admission to the school. This stigma can have a devastating effect on the psyche of

          impressionable students.

                 381.    For example, according to one African American who attended an elite

          liberal arts college, upon arriving at school, “I was immediately stereotyped and put into

          a box because I was African-American. And that made it harder to perform. . . . There




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          was a general feeling that all blacks on campus were there either because they were

          athletes or they came through a minority-recruitment program and might not really

          belong there.” Shaken by the experience, the student dropped out after his freshman

          year.

                  382.   Harvard can eliminate the harmful effects these unfair stereotypes cause

          by using race-neutral alternatives.

                  383.   Finally, the “mismatch effect”of racial preferences far too frequently put

          the supposed beneficiaries of race-based admissions policies in a position where they

          cannot succeed academically in order to fulfill the university’s social-engineering vision.

                  384.    This “mismatch”effect happens when a school employs such a large

          admissions preference that the student is academically damaged in a variety of ways by

          being placed in an academic environment where most of the student’s peers have

          substantially stronger levels of academic preparation.

                  385.   For example, a student who would flourish at a less elite school instead

          finds himself or herself at Harvard, where the professors are not teaching at a pace

          designed for him or her.      Instead, they are teaching to the “middle”of the class,

          introducing terms and concepts at a speed that is unnerving even to the best-prepared

          student.

                  386.   The student who is underprepared relative to others in that class falls

          behind from the start and becomes increasingly lost as the professor and classmates race

          ahead. The student’s grades on his or her first exams or papers put him or her at the

          bottom of the class.    Worse, the experience may well induce panic and self-doubt,




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          making learning even more difficult, thus creating a vicious cycle that only exacerbates

          the problem.

                 387.    The “mismatch effect”has been documented in dozens of studies.       See,

          e.g., Peter Arcidiacono, Esteban M. Aucejo, and Ken Spenner, What Happens After

          Enrollment? An Analysis of the Time Path of Racial Differences in GPA and Major

          Choice (2011); U.S. Commission on Civil Rights, Encouraging Minority Students to

          Pursue Science, Technology, Engineering and Math Careers, Briefing Report (October

          2010); Richard Sander and Roger Bolus, Do Credential Gaps in College Reduce the

          Number of Minority Science Graduates? (2009); Richard Sander, A Systemic Analysis of

          Affirmative Action in American Law Schools, 57 Stan. L. Rev. 367 (2004); Stephen Cole

          and Elinor Barber, Increasing Faculty Diversity (2003); Rogers Elliott, A. Christopher

          Strenta, Russell Adair, Michael Matier and Jannah Scott, The Role of Ethnicity in

          Choosing and Leaving Science in Highly Selective Institutions, 37 Research in Higher

          Education 681 (1996).

                 388.    As this research demonstrates, African-American college freshmen are

          more likely to aspire to science or engineering careers than are white freshmen, but

          mismatch causes African Americans to abandon these fields at twice the rate of whites.

                 389.    As a consequence, African Americans who start college interested in

          pursuing a doctorate and an academic career are twice as likely to be derailed from this

          path if they attend a school where they are mismatched.

                 390.    Furthermore, about half of African-American college students rank in the

          bottom 20 percent of their classes.




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                 391.    Mismatch also creates social problems on campus. The academic research

          shows that interracial friendships are more likely to form among students with relatively

          similar levels of academic preparation; thus, African Americans and Hispanics are more

          socially integrated on campuses where they are less academically mismatched.

                 392.    Harvard has and is continuing to experience the problems associated with

          the “mismatch”effect as documented in major, unrebutted empirical studies that either

          included Harvard or included studies of close peer institutions.

                 393.    “Academic mismatch”has been documented at Harvard by sociologists

          Stephen Cole and Elinor Barber.       See Stephen Cole and Elinor Barber, Increasing

          Faculty Diversity (2003). Cole and Barber undertook their research in large part at the

          urging of Harvard President Neil Rudenstein, and the Council of Ivy League Presidents

          financially supported their work. The purpose of the study was to understand why there

          were so few underrepresented minorities— particularly African Americans— in the

          academic pipeline leading to university faculty positions.

                 394.    Cole and Barber found that a prime cause of the constrained pipeline was

          academic mismatch.      Promising African American and Hispanic students who were

          interested in academic careers sought to go to selective colleges. Through the operation

          of racial preferences, these students often found themselves being admitted and courted

          by super-elite colleges, and often unwittingly found themselves at schools where their

          level of academic preparation was far below the median. In these environments, the

          students survived but did not flourish. Their grades tended to be well below the median,

          and in large numbers they soured on the prospect of pursuing a career in academia. The

          study found that otherwise similar students who went to less elite schools— such as




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          flagship state universities— performed better and retained their interest in academic

          careers at much higher rates.

                 395.    Harvard also has a documented “mismatch”problem in the sciences. In

          2004, two psychologists at the University of Virginia published a peer-reviewed study of

          minority attrition in the sciences. See Frederick L. Smyth and John J. McArdle, Ethnic

          and Gender Differences in Science Graduation at Selective Colleges With Implications

          For Admission Policy and College Choice, Research In Higher Education, Vol. 45, No. 4

          (June 2003). These scholars gained permission to use the College and Beyond dataset

          assembled by the Mellon Foundation. This dataset, which included comprehensive data

          from several Ivy League colleges (Columbia, Princeton, and Yale) as well as

          approximately twenty less selective schools, served as the basis for the well-known study

          of affirmative action, The Shape of the River (1998).

                 396.    Smyth and McArdle examined what factors affected the success of

          students in science, technology, engineering, and math (“STEM”
                                                                       ) fields of study. They

          found that a critical factor was a student’s academic preparation relative to her peers.

          Moreover, they found that this effect was essentially identical for white, African

          American, and Hispanic students. In all cases, students who attended a school where

          their level of academic preparation was substantially lower than those of their peers were

          far more likely to drop out of STEM fields as compared to identical students who

          attended schools where their relative peer position was higher. The effect was so large

          that Smyth and McArdle advised high school counselors to take potential mismatch into

          account in helping students understand the pros and cons of attending “reach”schools.




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                 397.    In 1996, a group of researchers at Dartmouth University, led by

          Dartmouth psychologist Rogers Elliott, published a peer-reviewed study that examined

          rates of STEM attrition at four Ivy League colleges. See Rogers Elliott, A. Christopher

          Strenta, Russell Adair, Michael Matier and Jannah Scott, The Role of Ethnicity in

          Choosing and Leaving Science in Highly Selective Institutions, 37 Research in Higher

          Education 681 (1996). They found that although African-American freshmen aspired to

          STEM majors at roughly the same rate as other students, only about 10 percent of

          African-American aspirants actually achieved bachelor degrees in STEM fields. Many of

          these students switched to majors in the humanities and social sciences; some failed to

          graduate at all. The study found that a principal reason for the high attrition rate of

          African Americans was their relative position among a group of peers who generally had

          much higher levels of academic preparation, and could thus compete effectively in the

          demanding, sequential, rigorously graded STEM curricula.

                 398.    Harvard has disregarded the “mismatch effect”that is harming the many

          African American and Hispanic students who are admitted to and enroll at Harvard

          because of its large admissions preference.

                 399.    Harvard can eliminate this harmful mismatch and allow students to excel

          at schools for which they are most prepared by eliminating the use of racial preferences

          and employing race-neutral alternatives that bring high-performing, socioeconomically

          disadvantaged minorities into the applicant pool.

          XI.    GOVERNING LAW

                 400.    Title VI of the Civil Rights Act of 1964 provides: “No person in the

          United States shall, on the ground of race, color, or national origin, be excluded from




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          participation in, be denied the benefits of, or be subjected to discrimination under any

          program or activity receiving Federal financial assistance.”42 U.S.C. § 2000d.

                 401.    Under Title VI, “the term ‘program or activity’ and the term ‘program’

          mean all of the operations … of a college, university, or other postsecondary institution,

          or a public system of higher education … any part of which is extended Federal financial

          assistance.”42 U.S.C. § 2000d-4a.

                 402.    An institution that accepts federal funds violates Title VI when it engages

          in racial or ethnic discrimination that violates the Equal Protection Clause of the

          Fourteenth Amendment of the United States Constitution. See Gratz v. Bollinger, 539

          U.S. 244, 257 n.23 (2003) (“We have explained that discrimination that violates the

          Equal Protection Clause of the Fourteenth Amendment committed by an institution that

          accepts federal funds also constitutes a violation of Title VI.”
                                                                         ) (citing     Alexander v.

          Sandoval, 532 U.S. 275, 281 (2001)).

                 403.    The Fourteenth Amendment provides, in relevant part, that no person shall

          be denied “the equal protection of the laws.” The “central mandate”of equal protection

          is “racial neutrality” by the government or institution subject to the Fourteenth

          Amendment. Miller v. Johnson, 515 U.S. 900, 904 (1995). “Whenever the government

          treats any person unequally because of his or her race, that person has suffered an injury

          that falls squarely within the language and spirit of the Constitution’s guarantee of equal

          protection.”Adarand Constructors, Inc. v. Pena , 515 U.S. 200, 229-30 (2000).

                 404.    “Distinctions between citizens solely because of their ancestry are by their

          very nature odious to a free people, and therefore are contrary to our traditions and hence

          constitutionally suspect.” Fisher, 133 S. Ct. at 2419 (citations and quotations omitted).




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          Thus, “any official action that treats a person differently on account of race or ethnic

          origin is inherently suspect.” Id. (citation and quotations omitted). In other words,

          “because racial classifications so seldom provide a relevant basis for disparate treatment,

          the Equal Protection Clause demands that racial classifications be subjected to the most

          rigid scrutiny.” Id. (citations and quotations omitted).

                 405.    “[A]ll racial classifications …     must be analyzed by a reviewing court

          under strict scrutiny.”   Adarand, 515 U.S. at 227.        “Strict scrutiny is a searching

          examination, and it is the government [or institution subject to the Fourteenth

          Amendment through Title VI] that bears the burden to prove that the reasons for any

          racial classification are clearly identified and unquestionably legitimate.” Fisher, 133 S.

          Ct. at 2419 (citations and quotations omitted). Strict scrutiny thus requires a “detailed

          judicial inquiry to ensure that the personal right to equal protection of the laws has not

          been infringed.”Adarand , 515 U.S. at 227.

                 406.    In particular, strict scrutiny requires a “detailed examination, both as to

          ends and to means.” Adarand, 515 U.S. at 236. When those governmental or other

          institutions subject to the Fourteenth Amendment directly or through Title VI implement

          policies and practices that “touch upon an individual’s race or ethnic background, he is

          entitled to a judicial determination that the burden he is asked to bear on that basis is

          precisely tailored to serve a compelling governmental interest.” Fisher, 133 S. Ct. at

          2417 (citations and quotations omitted).

                 407.    Racial “classifications are constitutional only if they are narrowly tailored

          to further compelling governmental interests.”Grutter , 539 U.S. at 326.




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                 408.    “Strict scrutiny requires the university to demonstrate with clarity that its

          purpose or interest is both constitutionally permissible and substantial, and that its use of

          the classification is necessary to accomplish that purpose.”Fisher , 133 S. Ct. at 2418.

                 409.    To meet strict scrutiny, the end must be “compelling”
                                                                             — not merely

          legitimate or important. To be narrowly tailored, “the means chosen”must “fit”the

          unmet compelling interest “so closely that there is little or no possibility that the motive

          for the classification was illegitimate racial prejudice or stereotype.” Croson, 488 U.S. at

          493 (citations and quotations omitted). In other words, “racial classifications, however,

          compelling their goals, are potentially so dangerous that they may be employed no more

          broadly than the interest demands.”Grutter , 539 U.S. at 342.

                 410.    “To survive strict scrutiny,”moreover, the institution “must do more than

          assert a compelling state interest— it must demonstrate that its law is necessary to serve

          the asserted interest.” Burson v. Freeman, 504 U.S. 191, 199 (1992). The institution

          must establish the necessity of using race by a “strong basis in evidence”because “the

          mere recitation”of a compelling interest is “not an automatic shield which protects

          against any inquiry”into the justification for race-based action.”     Croson, 488 U.S. at

          495, 500.

                 411.    Strict scrutiny “forbids the use even of narrowly drawn racial

          classifications except as a last resort.” Id. at 519 (Kennedy, J., concurring in part and

          concurring in the judgment).

                 412.    An institution’s use of race or ethnicity that is in any way motivated by

          “prejudice or stereotype”against a particular group violates the Fourteenth Amendment

          and therefore violates Title VI. Croson, 488 U.S. at 493. “[T]he Equal Protection Clause




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          prohibits a State [or institution subject to the Fourteenth Amendment through Title VI]

          from taking any action based on crude, inaccurate racial stereotypes.”             Batson v.

          Kentucky, 476 U.S. 79, 104 (1986); see also Thomas v. Eastman Kodak Co., 183 F.3d 38,

          42 (1st Cir. 1999) (“Title VII’s prohibition against ‘disparate treatment because of race’

          extends both to employer acts based on conscious racial animus and to employer

          decisions that are based on stereotyped thinking or other forms of less conscious bias.”
                                                                                                 ).

                  413.    In addition to direct evidence of discrimination, racial “prejudice or

          stereotype”may be proven through circumstantial evidence.          See Village of Arlington

          Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266 (1977) (“Determining whether

          invidious discriminatory purpose was a motivating factor demands a sensitive inquiry

          into such circumstantial and direct evidence of intent as may be available.”
                                                                                     ). The

          Supreme Court has identified five, non-exhaustive “subjects of proper inquiry in

          determining whether racially discriminatory intent existed”based on circumstantial

          evidence. Id. at 268.

                  414.   First, the Court looks to whether the policy, notwithstanding its

          purportedly neutral rationale, “bears more heavily on one race than another. . . .

          Sometimes a clear pattern, unexplainable on grounds other than race, emerges from the

          effect of the state action even when the governing legislation appears neutral on its face.”

          Id. at 266.

                  415.   Second, the Court looks to “the historical background”of the policy,

          “particularly if it reveals a series of official actions taken for invidious purposes.” Id. at

          267.




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                 416.     Third, “[t]he specific sequence of events leading up the challenged

          decision also may shed some light on the decisionmaker’s purposes.” Id.

                 417.     Fourth, “[d]epartures from the normal procedural sequence also might

          afford evidence that improper purposes are playing a role. Substantive departures too

          may be relevant, particularly if the factors usually considered important by the

          decisionmaker strongly favor a decision contrary to the one reached.”Id .

                 418.     Fifth, and last, “[t]he legislative or administrative history may be highly

          relevant, especially where there are contemporary statements by members of the

          decisionmaking body, minutes of its meetings, or reports.”Id . at 268.

                 419.     Even if not motivated by prejudice or stereotype, a racial classification

          violates the Fourteenth Amendment and therefore violates Title VI if it is a quota. In the

          educational setting, then, “universities cannot establish quotas for members of certain

          racial groups or put members of those groups on separate admissions tracks. Nor can

          universities insulate applicants who belong to certain racial or ethnic groups from the

          competition for admission.”Grutter , 539 U.S. at 334 (citation omitted).

                 420.     Moreover, a university’s policy violates the Fourteenth Amendment and

          therefore     violates   Title   VI    if   it        amounts   to   “racial balancing,   which

          is patently unconstitutional.” Id. at 329. Racial balancing is a program designed “to

          assure within [the school’s] student body some specified percentage of a particular group

          merely because of its race or ethnic origin.”            Id. (citations and quotation omitted).

          “[P]roportional representation” is never a constitutional “rationale for programs of

          preferential treatment.”Id . at 343.




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                 421.     The only interest in using racial preferences in higher education that the

          Supreme Court has accepted as “compelling”is the interest “in obtaining the educational

          benefits that flow from a diverse student body.” Grutter, 539 U.S. at 343. Redressing

          past discrimination does “not serve as a compelling interest, because a university’s broad

          mission of education is incompatible with making the judicial, legislative, or

          administrative findings of constitutional or statutory violations necessary to justify

          remedial racial classification.” Fisher, 133 S. Ct. at 2417 (citations and quotations

          omitted).

                 422.    The interest in student body diversity the Supreme Court has found

          compelling “is not an interest in simply ethnic diversity, in which a specified percentage

          of the student body is in effect guaranteed to be members of selected ethnic groups, with

          the remaining percentage an undifferentiated aggregation of students.” Fisher, 133 S. Ct.

          at 2418 (citation and quotations omitted). “[C]ritical mass is defined by reference to the

          educational benefits that diversity is designed to produce.” Grutter, 539 U.S. at 330.

                 423.    Even in the pursuit of critical mass, the Supreme Court has permitted race

          to be used only as a “plus”factor in admissions decisions.   Id. at 333. “[I]t remains at all

          times the University’s obligation to demonstrate, and the Judiciary’s obligations to

          determine, that admissions processes ‘ensure that each applicant is evaluated as an

          individual and not in a way that makes an applicant’s race or ethnicity the defining

          feature of his or her application.’” Fisher, 133 S. Ct. at 2418 (quoting Grutter, 539 U.S.

          at 337).    Thus, even if “the University has established that its goal of diversity is

          consistent with strict scrutiny, … there must still be a further judicial determination that

          the admissions process meets strict scrutiny in its implementation. The University must




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          prove that the means chosen by the University to attain diversity are narrowly tailored to

          that goal.”Id . at 2419-20.

                 424.    “Narrow tailoring also requires that the reviewing court verify that it is

          ‘necessary’ for a university to use race to achieve the educational benefits of diversity.

          This involves a careful judicial inquiry into whether a university could achieve sufficient

          diversity without using racial classifications.” Id. at 2420 (internal citation omitted).

          Accordingly, strict scrutiny uniformly “require[s] a court to examine with care, and not

          defer to, a university’s ‘serious, good faith consideration of workable race-neutral

          alternatives.’”Id. (quoting Grutter , 539 U.S. at 339- 340).

                 425.    “Consideration by the university is of course necessary, but it is not

          sufficient to satisfy strict scrutiny: The reviewing court must ultimately be satisfied that

          no workable race-neutral alternatives would produce the educational benefits of diversity.

          If a nonracial approach … could promote the substantial interest about as well and at

          tolerable administrative expense, then the university may not consider race.”            Id.

          (citations and quotations omitted).

                 426.    As a consequence, “strict scrutiny imposes on the university the ultimate

          burden of demonstrating, before turning to racial classifications, that available, workable

          race-neutral alternatives do not suffice.” Id. (emphasis added).

          XII.   CLAIM FOR RELIEF

                 427.    Harvard’s use of racial preferences in undergraduate admissions violates

          Title VI of the Civil Rights Act of 1964. Plaintiff should be granted relief on that claim

          for a host of reasons.    First, Harvard is intentionally discriminating against Asian-

          American applicants. Second, Harvard is engaging in racial balancing. Third, Harvard’s




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          use of racial preference is not narrowly tailored because Harvard is not pursuing the

          critical-mass interest found permissible in Grutter.       Fourth, Harvard’s use of racial

          preferences is not narrowly tailored because Harvard is not using this disfavored tool

          merely to fill the “few places”left in its incoming class contrary to the “Harvard College

          Admissions Program”submitted to the Supreme Court in Bakke. Fifth, Harvard is not

          fully utilizing a number of race-neutral alternatives that can achieve student body

          diversity.   Finally, whether or not Harvard is found to be acting permissibly under

          Supreme Court precedent, the Supreme Court should overrule any decision holding that

          the Fourteenth Amendment and therefore Title VI ever permits the use of racial

          preferences to achieve “diversity.”

                                                   COUNT I

                                   Violation of 42 U.S.C. § 2000d et seq.
                          (Intentional Discrimination Against Asian Americans)

                  428.   Plaintiff incorporates the allegations and averments contained in

          paragraphs 1-427 as if fully set forth herein.

                  429.   Harvard, a recipient of federal funds, intentionally discriminated against

          certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

          Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing an

          undergraduate admissions policy that intentionally discriminates against Asian-American

          applicants on the basis of race or ethnicity.

                  430.   Harvard has conceded that, because it uses a racial criterion in its

          admissions process and receives federal funds, it is subject to potential liability for

          violations of Title VI if it is found to have discriminated on the basis of race in its

          admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the



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          Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

          racial ‘discrimination,’ the ability of private colleges and universities to exercise their

          institutional competence could well be dramatically compromised by any new limits . . .

          on state university admissions criteria or procedures.”
                                                                ); Harvard Fisher Amicus Brief 3

          (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

          federal funds from engaging in racial ‘discrimination,”and so Harvard’s “efforts to attain

          diverse student bodies could be compromised”if limits were placed on the university’s

          admissions procedures).

                 431.    Title VI is privately enforceable.

                 432.    Discrimination that violates the Equal Protection Clause of the Fourteenth

          Amendment of the United States Constitution constitutes a violation of Title VI when

          committed by an institution that accepts federal funds.

                 433.     An institution’s use of race or ethnicity that is in any way motivated by

          prejudice or stereotype against a particular group violates the Fourteenth Amendment and

          therefore violates Title VI.

                 434.    Harvard     has   intentionally    discriminated   against   Asian-American

          applicants for admission on the basis of race or ethnicity based on prejudicial and

          stereotypical assumptions about their qualifications.

                 435.    Harvard officials have made prejudicial and stereotypical statements about

          Asian-American applicants for admission. Among other things, Harvard officials have

          made racially stereotypical statements assuming that, as a group, Asian Americans all

          have same academic interests, experiences, and personal attributes and that Asian

          Americans, as a group, lack certain qualities that Harvard values.




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                    436.   Harvard’s admissions system has a disproportionately negative effect on

          Asian-American applicants for admission that is not explainable on grounds other than

          intentional discrimination on the basis of race or ethnicity. As the statistical evidence

          demonstrates, Asian Americans are underrepresented at Harvard in relation to their share

          of the applicant pool and are massively underrepresented in relation to the share of the

          highly qualified portion of Harvard’s applicant pool. Asian Americans represent roughly

          46 percent of the highly qualified portion of Harvard’s applicant pool, yet they represent

          only about 17 percent of those admitted and/or enrolled at Harvard over a multi-year

          period.

                    437.   Harvard has a long and unfortunate history of intentional discrimination

          on the basis of race or ethnicity, including a history of intentional discrimination against

          Asian Americans. The Harvard Plan itself is a product of admissions policies created to

          advance an invidious purpose. Harvard has a history of using the rubric of “holistic”

          admissions in general, and the Harvard Plan in particular, to limit the admission of Jewish

          applicants and other minority groups. Indeed, Harvard is using the same pretextual

          excuses to justify its disparate treatment of Asian Americans that it used to deny that it

          was discriminating against Jewish applicants in the past. In short, Harvard’s intentional

          discrimination against Asian-American applicants exhibits the same pattern as its

          previous discrimination against Jewish applicants.

                    438.   Harvard’s departure from its normal procedures, including its abrupt

          decision to no longer make public the application figures grouped by racial category,

          demonstrates that steps were taken for the improper purpose of engaging in intentional

          discrimination on the basis of race or ethnicity.




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                  439.   Harvard’s substantive decision to abandon or place considerably less

          reliance, when it comes to Asian Americans, on the academic factors it usually considers

          important for purposes of granting or denying admission demonstrates that Harvard is

          engaging in intentional discrimination on the basis of race or ethnicity.

                  440.   Plaintiff’s members have been and will continue to be injured because

          Harvard has and will continue to deny them the opportunity to compete for admission to

          Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

          intentionally discriminatory admissions policies and procedures.

                  441.   Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

          2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

          at law to prevent Harvard from continuing to use admissions policies and procedures that

          discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

          Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

          irreparable.

                  442.   Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

          1988.

                                                  COUNT II

                                    Violation of 42 U.S.C. § 2000d et seq.
                                             (Racial Balancing)

                  443.    Plaintiff incorporates the allegations and averments contained in

          paragraphs 1-442 as if fully set forth herein.

                  444.   Harvard, a recipient of federal funds, intentionally discriminated against

          certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

          Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing an



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          undergraduate admissions policy that balances the class according to its racial or ethnic

          composition.

                 445.    Harvard has conceded that, because it uses a racial criterion in its

          admissions process and receives federal funds, it is subject to potential liability for

          violations of Title VI if it is found to have discriminated on the basis of race in its

          admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the

          Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

          racial ‘discrimination,’ the ability of private colleges and universities to exercise their

          institutional competence could well be dramatically compromised by any new limits . . .

          on state university admissions criteria or procedures.”
                                                                ); Harvard Fisher Amicus Brief 3

          (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

          federal funds from engaging in racial ‘discrimination,”and so Harvard’s “efforts to attain

          diverse student bodies could be compromised”if limits were placed on the university’s

          admissions procedures).

                 446.    Title VI is privately enforceable.

                 447.    Discrimination that violates the Equal Protection Clause of the Fourteenth

          Amendment of the United States Constitution constitutes a violation of Title VI when

          committed by an institution that accepts federal funds.

                 448.    A university that uses its admissions system to pursue quotas or

          proportional representation of racial or ethnic groups either in the entering class or in the

          overall student body violates the Fourteenth Amendment and therefore violates Title VI.




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                 449.      The remarkable stability of Harvard’s admissions figures across racial and

          ethnic groups— especially in the overall student body— demonstrates that Harvard is

          seeking proportional representation and therefore is engaged in racial balancing.

                 450.      There is no non-discriminatory reason that could justify admissions

          figures this stable across all racial groups over a period of several years given the unique

          characteristics of each applicant for admission. If Harvard were truly treating each

          applicant for admission as an individual, as it professes to do, “[o]ne would expect the

          percentage of specified minority enrollees produced by such a such a system to vacillate

          widely from year to year, reflecting changes in each year’s applicant pool.” Alan

          Dershowitz and Laura Hanft, Affirmative Action and the Harvard College Diversity-

          Discretion Model: Paradigm or Pretext, 1 Cardozo L. Rev. 379, 382 n.13 (1979). That is

          not happening.

                 451.      The pursuit of “critical mass”could never justify admissions figures this

          stable given the balancing that occurs between African-American and Hispanic

          applicants. But even if the pursuit of “critical mass”led to stable admissions figures for

          African Americans and Hispanics, which it did not, that would not provide a non-

          discriminatory explanation for why the white and Asian-American admissions and

          enrollment figures have been this stable over a multi-year period.

                 452.      The stability of Harvard’s admission and enrollment figures across all

          racial groups notwithstanding the massive changes in the racial and ethnic makeup of

          Harvard’s admissions pool over time— especially the significant increase in highly

          qualified Asian-American applicants— confirms that Harvard is engaged in racial

          balancing.




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                  453.   Plaintiff’s members have been and will continue to be injured because

          Harvard has and will continue to deny them the opportunity to compete for admission to

          Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

          intentionally discriminatory admissions policies and procedures.

                  454.   Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

          2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

          at law to prevent Harvard from continuing to use admissions policies and procedures that

          discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

          Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

          irreparable.

                  455.   Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

          1988.

                                                  COUNT III

                                  Violation of 42 U.S.C. § 2000d et seq.
                (Failure To Use Race Merely As A “Plus” Factor In Admissions Decisions)

                  456.   Plaintiff incorporates the allegations and averments contained in

          paragraphs 1-455 as if fully set forth herein.

                  457.   Harvard, a recipient of federal funds, intentionally discriminated against

          certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

          Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing an

          undergraduate admissions policy that is not narrowly tailored because it does not use race

          merely as a “plus”factor in order to achieve student body diversity.

                  458.   Harvard has conceded that, because it uses a racial criterion in its

          admissions process and receives federal funds, it is subject to potential liability for



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          violations of Title VI if it is found to have discriminated on the basis of race in its

          admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the

          Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

          racial ‘discrimination,’ the ability of private colleges and universities to exercise their

          institutional competence could well be dramatically compromised by any new limits . . .

          on state university admissions criteria or procedures.”
                                                                ); Harvard Fisher Amicus Brief 3

          (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

          federal funds from engaging in racial ‘discrimination,”and so Harvard’s “efforts to attain

          diverse student bodies could be compromised”if limits were placed on the university’s

          admissions procedures).

                 459.    Title VI is privately enforceable.

                 460.    Discrimination that violates the Equal Protection Clause of the Fourteenth

          Amendment of the United States Constitution constitutes a violation of Title VI when

          committed by an institution that accepts federal funds.

                 461.    Harvard is not complying with the requirement of narrow tailoring

          because it is not using race merely as a “plus”factor in admissions decisions in order to

          achieve student body diversity.

                 462.    The statistical evidence shows that each applicant for admission is not

          evaluated as an individual. Instead, race or ethnicity is the defining feature of the

          application. That is especially true for Asian-American applicants. Only using race or

          ethnicity as a dominant factor in admissions decisions could account for the remarkably

          low admission rate for high-achieving Asian-American applicants.




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                                                   JA215
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                  463.   Plaintiff’s members have been and will continue to be injured because

          Harvard has and will continue to deny them the opportunity to compete for admission to

          Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

          intentionally discriminatory admissions policies and procedures.

                  464.   Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

          2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

          at law to prevent Harvard from continuing to use admissions policies and procedures that

          discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

          Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

          irreparable.

                  465.   Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

          1988.

                                                   COUNT IV

                                    Violation of 42 U.S.C. § 2000d et seq.
                               (Failure To Use Race To Merely Fill The Last
                              “Few Places” In The Incoming Freshman Class)

                  466.   Plaintiff incorporates the allegations and averments contained in

          paragraphs 1-465 as if fully set forth herein.

                  467.   Harvard, a recipient of federal funds, intentionally discriminated against

          certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

          Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing an

          undergraduate admissions policy that is not narrowly tailored because it does not merely

          use race as a factor in filling the last “few places”in the entering freshman class.

                  468.   Harvard has conceded that, because it uses a racial criterion in its

          admissions process and receives federal funds, it is subject to potential liability for


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          violations of Title VI if it is found to have discriminated on the basis of race in its

          admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the

          Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

          racial ‘discrimination,’ the ability of private colleges and universities to exercise their

          institutional competence could well be dramatically compromised by any new limits . . .

          on state university admissions criteria or procedures.”
                                                                ); Harvard Fisher Amicus Brief 3

          (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

          federal funds from engaging in racial ‘discrimination,”and so Harvard’s “efforts to attain

          diverse student bodies could be compromised”if limits were placed on the university’s

          admissions procedures).

                 469.    Title VI is privately enforceable.

                 470.    Discrimination that violates the Equal Protection Clause of the Fourteenth

          Amendment of the United States Constitution constitutes a violation of Title VI when

          committed by an institution that accepts federal funds.

                 471.    In its Bakke amicus brief, Harvard informed the Supreme Court that it was

          using race as a factor in admissions decisions only when it had “a few places left to fill”

          in the entering freshman class. But to the extent that Harvard ever used race in this way,

          given that the Harvard Plan itself was the product of racial and ethnic discrimination, it

          clearly is no longer using race in this fashion.

                 472.    In its Fisher amicus brief, Harvard stated that it uses admissions “policies

          similar to the Harvard Plan that Justice Powell approved in [Bakke] and the University of

          Michigan Law School plan upheld in Grutter.” But an admissions policy similar in any

          fashion to the plan employed by the University of Michigan Law School by definition




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          uses race beyond filling the remaining few places. In such a plan, race is— to one degree

          or another— a factor for every applicant as it is ostensibly being used to pursue a “critical

          mass”of underrepresented minorities in the overall student body.

                  473.   Moreover, the statistical evidence demonstrates that Harvard is not using

          race merely to fill the last few places in the entering freshman class. Rather, especially

          for Asian Americans, race or ethnicity is a factor in admissions decision far beyond those

          competing for the last few places. Only using race or ethnicity as a dominant factor in

          admissions decisions could account for the remarkably low admission rate for high-

          achieving Asian-American applicants.

                  474.   Plaintiff’s members have been and will continue to be injured because

          Harvard has and will continue to deny them the opportunity to compete for admission to

          Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

          intentionally discriminatory admissions policies and procedures.

                  475.   Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

          2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

          at law to prevent Harvard from continuing to use admissions policies and procedures that

          discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

          Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

          irreparable.

                  476.   Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

          1988.




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                                                   COUNT V

                                    Violation of 42 U.S.C. § 2000d et seq.
                                        (Race-Neutral Alternatives)

                 477.    Plaintiff incorporates the allegations and averments contained in

          paragraphs 1-476 as if fully set forth herein.

                 478.    Harvard, a recipient of federal funds, intentionally discriminated against

          certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

          Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing racial

          preferences in undergraduate admissions when there are available race-neutral

          alternatives capable of achieving student body diversity.

                 479.    Harvard has conceded that, because it uses a racial criterion in its

          admissions process and receives federal funds, it is subject to potential liability for

          violations of Title VI if it is found to have discriminated on the basis of race in its

          admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the

          Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

          racial ‘discrimination,’ the ability of private colleges and universities to exercise their

          institutional competence could well be dramatically compromised by any new limits . . .

          on state university admissions criteria or procedures.”
                                                                ); Harvard Fisher Amicus Brief 3

          (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

          federal funds from engaging in racial ‘discrimination,”and so Harvard’s “efforts to attain

          diverse student bodies could be compromised”if limits were placed on the university’s

          admissions procedures).

                 480.    Title VI is privately enforceable.




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                 481.    Discrimination that violates the Equal Protection Clause of the Fourteenth

          Amendment of the United States Constitution constitutes a violation of Title VI when

          committed by an institution that accepts federal funds.

                 482.    Harvard’s use of racial preferences is narrowly tailored only if using them

          is necessary to achieve student body diversity. If Harvard can achieve student body

          diversity without resorting to racial preferences, it is required to do so as a matter of law.

          Moreover, Harvard must have a strong basis in evidence that a non-racial approach will

          not work about as well as a race-based approach before turning to the use of racial

          preferences.

                 483.    There is no evidence that Harvard studied all of the available race-neutral

          alternatives and had a strong basis in evidence that none would work about as well as a

          race-based approach before turning to racial preferences. Indeed, Harvard claims that it

          has been using racial preferences— to one degree or another— continuously for nearly a

          century.

                 484.    Whether Harvard considered them all or not, there are a host of race-

          neutral alternatives that if implemented can achieve student body diversity without

          resorting to racial preferences.      Among these alternatives, both individually and

          collectively, are (a) increased use of non-racial preferences, (b) increased financial aid,

          scholarships, and recruitment efforts, and (c) elimination of admissions policies and

          practices that negatively affect minority applicants.

                 485.    The use of race-neutral alternatives instead of racial preferences would not

          only achieve student body diversity, it would eliminate the heavy costs that using race as




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          a factor in admissions decisions imposes on minority applicants who receive such

          admissions preference, the Harvard community, and society as a whole.

                  486.   Plaintiff’s members have been and will continue to be injured because

          Harvard has and will continue to deny them the opportunity to compete for admission to

          Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

          intentionally discriminatory admissions policies and procedures.

                  487.   Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

          2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

          at law to prevent Harvard from continuing to use admissions policies and procedures that

          discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

          Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

          irreparable.

                  488.   Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

          1988.

                                                  COUNT VI

                                   Violation of 42 U.S.C § 2000d et seq.
                               (Any Use of Race As A Factor In Admissions)

                  489.   Plaintiff incorporates the allegations and averments contained in

          paragraphs 1-488 as if fully set forth herein.

                  490.   Harvard, a recipient of federal funds, intentionally discriminated against

          certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

          Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing an

          undergraduate admissions policy that uses race as a factor in admissions.




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                 491.    Harvard has conceded that, because it uses a racial criterion in its

          admissions process and receives federal funds, it is subject to potential liability for

          violations of Title VI if it is found to have discriminated on the basis of race in its

          admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the

          Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

          racial ‘discrimination,’ the ability of private colleges and universities to exercise their

          institutional competence could well be dramatically compromised by any new limits . . .

          on state university admissions criteria or procedures.”
                                                                ); Harvard Fisher Amicus Brief 3

          (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

          federal funds from engaging in racial ‘discrimination,”and so Harvard’s “efforts to attain

          diverse student bodies could be compromised”if limits were placed on the university’s

          admissions procedures).

                 492.    Title VI is privately enforceable.

                 493.    Discrimination that violates the Equal Protection Clause of the Fourteenth

          Amendment of the United States Constitution constitutes a violation of Title VI when

          committed by an institution that accepts federal funds.

                 494.    The Supreme Court’s decisions holding that there is a compelling

          government interest in using race as a factor in admissions decisions in pursuit of

          “diversity”should be overruled. Those decisions were wrongly decided at the time they

          were issued and they remain wrong today. “Diversity”is not an interest that could ever

          justify the use of racial preferences under the Fourteenth Amendment and Title VI.




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                 495.    Even if there were a compelling government interest in “diversity” in the

          abstract, however, the use of racial preferences in the educational setting nevertheless

          should be forbidden for several important reasons.

                 496.    The Supreme Court’s jurisprudence in this area has been built on mistakes

          of fact and law. The Supreme Court first accepted the use of racial preferences in

          admissions on the assumption that they would be used consistent with the Harvard Plan,

          which purported to use race merely as a contextual factor in filling the final few places in

          the entering class. But the Harvard Plan itself was created in order to hide racial and

          ethnic discrimination. Thus, it is far from certain that Harvard has ever used race in the

          way the Supreme Court envisioned.

                 497.    “The raison d’être for race-specific affirmative action programs has

          simply never been diversity for the sake of education.” Alan Dershowitz and Laura

          Hanft, Affirmative Action and the Harvard College Diversity-Discretion Model:

          Paradigm or Pretext, 1 Cardozo L. Rev. 379, 407 (1979). It is instead “a clever post

          facto justification for increasing the number of minority group students in the student

          body.” Id.

                 498.    In any event, neither Harvard nor any other college or university uses race

          in this manner now. Instead, colleges and universities, including Harvard, claim to use

          race in order to pursue a “critical mass” of underrepresented minorities in the student

          body. But Harvard, and many others, are not pursuing this interest. Even when this

          interest is actually being pursued, moreover, it is nothing more than racial balancing in

          that it necessarily seeks to ensure a proportional number of students of certain races or

          ethnicities in the entering class. Critical mass is a formula for ensuring “a specified




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          percentage of the student body is in effect guaranteed to be members of selected ethnic

          groups, with the remaining percentage an undifferentiated aggregation of students.”

          Bakke, 438 U.S. at 315 (Powell, J.).

                 499.    Ultimately, there is overwhelming evidence that colleges and universities

          will take advantage of any leeway given by the Supreme Court to use the dangerous tool

          of racial preferences in inappropriate ways. The experience with Harvard confirms that,

          if given the chance, colleges and universities will use racial preferences “for the

          ostensible purpose of enhancing education diversity of the student body”with the true

          “goal of simply increasing the number of minority persons in the universities and in the

          professions that these universities feed.” Alan Dershowitz and Laura Hanft, Affirmative

          Action and the Harvard College Diversity-Discretion Model: Paradigm or Pretext, 1

          Cardozo L. Rev. 379, 385 (1979).

                 500.    There simply is no practical way to ensure that colleges and universities

          will use race in their admissions processes in any way that would meet the narrow

          tailoring requirement. The strong medicine of strict scrutiny has proven insufficient to

          ensure that the Fourteenth Amendment and Title VI operate in conformity of racial

          neutrality except in those rare circumstances that justify the use of this disfavored

          remedy. Time after time, district courts and the courts of appeals have been either

          unwilling or unable to force these colleges and universities to provide a strong

          evidentiary basis for their conclusion that use of racial preferences is necessary to

          achieve diversity.   Nor have they been willing to engage in the close review of

          admissions programs to ensure that schools are treating each applicant as an individual.




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                 501.    There also have been important factual developments since this question

          was last considered by the Supreme Court. There is now much evidence that race-neutral

          alternatives can achieve the benefits of diversity. This is crucially important in light of

          the equally compelling evidence that racial preferences impose significant costs on the

          university community, society in general, and the very minority students these programs

          are purported to benefit.

                 502.    In the end, the costs of allowing the use of racial preferences in admissions

          decisions— even in a limited way— far exceed any rapidly diminishing benefits. No

          principle of stare decisis counsels in favor of retaining decisions allowing their use.

          Those decisions were not well reasoned, were predicated on mistakes of fact, have been

          undermined by more recent developments, and have proven to be unworkable. Any

          decision allowing the use of racial preferences in the educational setting should be

          overruled.

                 503.    Plaintiff’s members have been and will continue to be injured because

          Harvard has and will continue to deny them the opportunity to compete for admission to

          Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

          intentionally discriminatory admissions policies and procedures.

                 504.    Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

          2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

          at law to prevent Harvard from continuing to use admissions policies and procedures that

          discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

          Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

          irreparable.




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                  505.    Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

          1988.



                  WHEREFORE, Plaintiff, Students for Fair Admissions, Inc., prays for the

          following relief as to all counts:

                  (a)     A declaratory judgment, pursuant to the Declaratory Judgment Act, 28

          U.S.C. § 2201, from the Court that Harvard’s admissions policies and procedures violate

          Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq.;

                  (b)     A declaratory judgment, pursuant to the Declaratory Judgment Act, 28

          U.S.C. § 2201, from the Court that any use of race or ethnicity in the educational setting

          violates the Fourteenth Amendment and Title VI of the Civil Rights Act of 1964, 42

          U.S.C. § 2000d et seq.;

                  (c)     A permanent injunction prohibiting Harvard from using race as a factor in

          future undergraduate admissions decisions;

                  (d)     A permanent injunction requiring Harvard to conduct all admissions in a

          manner that does not permit those engaged in the decisional process to be aware of or

          learn the race or ethnicity of any applicant for admission;

                  (e)     Attorneys’ fees and costs pursuant to 42 U.S.C. § 1988 and any other

          applicable legal authority; and

                  (f)     All other relief this Court finds appropriate and just.

                                          DEMAND FOR JURY TRIAL

                  Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a

          trial by jury in this action of all triable issues.




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                               EXHIBIT 02




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       1                       UNITED STATES DISTRICT COURT
       2                    FOR THE DISTRICT OF MASSACHUSETTS
       3                              BOSTON DIVISION
       4      * * * * * * * * * * * * * * * * * *
       5      STUDENTS FOR FAIR ADMISSIONS,                        *
       6      INC.,                                                *
       7                      Plaintiff,                           *
       8      v.                                                   *    Civil Action
       9      PRESIDENT AND FELLOWS OF HARVARD                     *   No. 14-cv-14176
      10      COLLEGE (HARVARD CORPORATION),                       *       (ADB)
      11                      Defendant.                           *
      12      * * * * * * * * * * * * * * * * * *
      13
      14              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
      15              Rule 30(b)(6) Notice to Students for Fair
      16                              Admissions, Inc.
      17                  Videotaped Deposition of EDWARD J. BLUM
      18                          Tuesday, July 12, 2016
      19                                     9:05 a.m.
      20               Wilmer Cutler Pickering Hale and Dorr LLP
      21                       60 State Street - 26th Floor
      22                        Boston, Massachusetts 02109
      23
      24      -----------       J. Edward Varallo, RMR, CRR                 ----------
      25                      Registered Professional Reporter

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       1      email exchange and phone calls with friends and
       2      allies.
       3            A.     Yes.     The other -- Did I include
       4      designing, helping to design a website?
       5            Q.     Nope.     Tell me about that.
       6            A.     Okay.     I helped Engage design a website.
       7            Q.     So you together with EngageDC helped
       8      design the website?
       9            A.     Correct.
      10            Q.     What was your role in that?              What did you
      11      do?
      12            A.     Described what the website should do, what
      13      we wanted to accomplish, and reviewed the various
      14      designs that were submitted to us.
      15            Q.     And when you say the website, which
      16      website are you referring to?
      17            A.     Students for Fair Admissions.
      18            Q.     And what about the Harvard Not Fair
      19      website?
      20            A.     That as well.
      21            Q.     So part of the launch of SFFA was to
      22      design the Harvard Not Fair website?
      23            A.     Not exactly.         The Harvard Not Fair, UNC
      24      Not Fair and UW Not Fair really preceded sort of the
      25      launch of Students for Fair Admissions.

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       1            A.     I guess that would be me.
       2            Q.     And what about in the 2013 time frame, who
       3      was primarily responsible for membership
       4      recruitment?
       5            A.     Primarily probably me.
       6            Q.     And in 2014 who was primarily responsible
       7      for membership recruitment?
       8            A.     Primarily me.
       9            Q.     The interrogatory response also talks
      10      about day-to-day operations of SFFA on page 4 and
      11      indicates that you are responsible for those
      12      operations.      Do you see that?
      13            A.     Yes.
      14            Q.     And that was in July 2015, this particular
      15      interrogatory.
      16            A.     Okay.
      17            Q.     Are you still primarily -- Are you still
      18      responsible for the day-to-day operations of SFFA?
      19            A.     Yes.
      20            Q.     And what do those operations entail?
      21            A.     Communicating with members, communicating
      22      with the board, and communicating with counsel.
      23            Q.     And prior to July of 2015, were you also
      24      responsible for the day-to-day operations of SFFA?
      25            A.     Yes.

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       1            Q.     Is there anybody else at SFFA who is
       2      responsible for the day-to-day operations?
       3            A.     No.
       4            Q.     Is Mr. Fisher responsible for any day-to-
       5      day operations?
       6            A.     No.
       7            Q.     Is Ms. Fisher responsible for any day-to-
       8      day operations?
       9            A.     No.
      10            Q.     Are counsel responsible for any day-to-day
      11      operations?
      12            A.     Oh, yes.
      13            Q.     Without disclosing any consultation with
      14      counsel, can you describe to me any actions that
      15      counsel are responsible for in connection with the
      16      day-to-day operations of SFFA?
      17                   MR. STRAWBRIDGE:            And I'll object on
      18      grounds of privilege and instruct the client that he
      19      may answer this question only to the extent that he
      20      does not reveal the actions or advice of counsel.
      21            A.     Every question of substance is discussed
      22      with counsel.
      23            Q.     Can you provide without disclosing advice
      24      of counsel, can you provide detail on what you mean
      25      by a question of substance?                I just don't

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       1            A.     All right.
       2            Q.     Sorry, through 73, really, with the
       3      signature pages.        Have you seen this document
       4      before?
       5            A.     Yes.
       6            Q.     And what do you understand this document
       7      to be?
       8            A.     This is our, sort of our founding document
       9      to organize our organization.
      10            Q.     And it is signed by the three members of
      11      the board of directors on that date in 2014.                   Is
      12      that right?
      13            A.     That's right.
      14            Q.     Who are Richard Fisher, Abigail Fisher,
      15      and yourself?
      16            A.     Correct.
      17            Q.     The document on Bates 68 -- the Bates
      18      number is the number in the bottom right of the
      19      page, in case you're not familiar -- is a unanimous
      20      written consent in lieu of an organizational
      21      meeting.     Do you see that?
      22            A.     Yes.
      23            Q.     And what do you understand that to mean,
      24      that title?
      25                   MR. STRAWBRIDGE:            Objection, calls for a

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       1      of SFFA?
       2            A.     Yes.
       3            Q.     And was there discussion between you and
       4      Abigail Fisher about her becoming the secretary of
       5      SFFA?
       6            A.     Yes.
       7            Q.     And did she agree to become the secretary?
       8            A.     She did.
       9            Q.     Who appointed -- Who appointed yourself as
      10      president of SFFA?
      11            A.     It was a collaborative understanding
      12      between the three of us and it was kind of a
      13      direction that we took informally leading up to this
      14      establishment.
      15            Q.     When you say the direction that you took,
      16      do you mean you were serving, playing the role of a
      17      president-type role before this was officially
      18      enacted?     Or maybe I'll just ask you to explain what
      19      you meant by that last answer.
      20            A.     I was the leader, if you will, of the
      21      organization of this group.
      22            Q.     And I asked who appointed you as president
      23      of SFFA.     It was yourself and Mr. Fisher and
      24      Ms. Fisher?
      25            A.     We all agreed that I would be president.

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       1            Q.     Was anybody else involved in that
       2      decision?
       3            A.     No.
       4            Q.     And who appointed Abigail Fisher as
       5      secretary?
       6            A.     She agreed to serve in that capacity after
       7      consultation with myself and Richard Fisher.
       8            Q.     Was anybody else involved in that
       9      decision?
      10            A.     No.
      11            Q.     And who appointed Richard Fisher as
      12      treasurer?
      13            A.     He agreed to serve in that capacity after
      14      consultation with myself.
      15            Q.     And with Ms. Fisher as well?
      16            A.     And with Abby.
      17            Q.     And was anybody else involved in that
      18      decision?
      19            A.     No.
      20            Q.     Did you consult with anybody, any members
      21      or nonmembers of SFFA, before this August 6th
      22      organizational action was taken?
      23                   MR. STRAWBRIDGE:            That is a yes or no
      24      question.      You may answer that question yes or no.
      25            A.     So the question is, did I consult with

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       1            Q.     So who are the affiliate -- Without giving
       2      me any names, are there members of SFFA that are not
       3      affiliate members?
       4                   MR. STRAWBRIDGE:            Object to the form of
       5      the question.       You may answer.
       6            A.     So all members of SFFA at the time of the
       7      adoption of these bylaws were affiliate members.
       8            Q.     Thank you.        That was my question.          There
       9      were no other type of members at that time?
      10            A.     No other type of members.
      11            Q.     And so affiliate members did not have any
      12      voting rights at the time of the adoption of the
      13      bylaws.     Correct?
      14            A.     They did not have voting rights at the
      15      time of the adoption.
      16            Q.     And they did not have voting rights at the
      17      time the complaint was filed in this litigation.
      18      Correct?
      19            A.     That's correct.
      20            Q.     Did the affiliate members have any role in
      21      electing any of the officers of SFFA?
      22            A.     No.
      23            Q.     Did the affiliate members when these
      24      bylaws were in effect have any role in appointing
      25      any of the directors of SFFA?

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       1            A.     No.
       2            Q.     Did the affiliate members at the time
       3      these bylaws were in place have the right to vote on
       4      anything involving the purpose or the mission of
       5      SFFA?
       6                   MR. STRAWBRIDGE:            I'll object to the form
       7      of the question.
       8            A.     No.
       9            Q.     Did they have the right to vote to modify
      10      SFFA's purpose?
      11            A.     No.
      12            Q.     Did they have the right to ratify any
      13      action that SFFA took?
      14                   MR. STRAWBRIDGE:            I will object to the
      15      form of the question.
      16            A.     No.
      17            Q.     What was the purpose of SFFA at the time
      18      that these bylaws were in effect?
      19            A.     To further our mission, which was to end
      20      the use of race in the admissions process through
      21      litigation and through advocacy.
      22            Q.     And members, affiliate members of SFFA at
      23      the time these bylaws were in effect, were they
      24      required to agree with that mission to become a
      25      member?

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       1            Q.     Okay.     So we'll go ahead and play the
       2      first clip, please.          And let us know if you can't
       3      see or hear.
       4                   THE WITNESS:         I can see it.
       5                   MR. STRAWBRIDGE:            Counsel, for the record,
       6      can we just, are these all clips taken from the
       7      video that's represented in this exhibit?
       8                   MS. ELLSWORTH:          They are all clips from
       9      the video represented in this exhibit which is on
      10      YouTube.
      11                   MR. STRAWBRIDGE:            Okay, thank you.
      12                   (Video clip played as follows:
      13                   "So I needed plaintiffs; I needed Asian
      14      plaintiffs.      And finding plaintiffs to challenge the
      15      Ivy League admissions policies, Harvard in
      16      particular, is not an easy thing to do, so
      17      I started -- I designed three websites,
      18      HarvardNotFair.org, UNC, University of
      19      NorthCarolinaNotFair.org, and UWNotFair.org."
      20                   (End of video clip.)
      21                   THE WITNESS:         So painful to watch.
      22      BY MS. ELLSWORTH:
      23            Q.     Mr. Blum, that was you speaking that we
      24      just presented.        Is that correct?
      25            A.     Yes, it was.

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       1      now.
       2             Q.    Okay.
       3             A.    There were considerably more than 16,000,
       4      but we used 16,000 as sort of a safe harbor because
       5      we wanted to verify that perhaps, you know, all of
       6      them were accurate and correct and could be
       7      legitimate members of SFFA.
       8             Q.    So when the interrogatory response was
       9      given on July 2nd of 2015, was that before
      10      Mr. Connolly had completed his task of reviewing
      11      that big influx of numbers?
      12             A.    I don't know.
      13             Q.    What was the reason for providing this
      14      safe harbor that you just testified to?
      15             A.    Concern about providing information that
      16      was inaccurate.
      17             Q.    And was that concern driven by this
      18      technological situation that had arisen with the
      19      influx of new members in June 2015?
      20             A.    Yes.
      21             Q.    Do you know now what a more accurate
      22      number would have been in July of 2015?
      23             A.    I have an estimate of that.
      24             Q.    What is that estimate?
      25             A.    Slightly over 20,000.

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       1            Q.     So the overwhelming of EngageDC's system
       2      was by about 20,000 new members?
       3            A.     That's correct.
       4            Q.     In a how-many-week period or how-many-day
       5      period?
       6            A.     I'm unsure exactly how many, but it was a
       7      relatively short number of days.
       8            Q.     Was it less than a week?
       9            A.     About a week, I would think.
      10            Q.     And then once the payment process was put
      11      in place on July 30th, is it fair to say that the
      12      membership growth slowed substantially?
      13            A.     It did.
      14            Q.     Do you see the new members
      15      contemporaneously now?
      16            A.     I do.
      17            Q.     About how frequently do new members flow
      18      in?
      19            A.     So there are two things that flow to me
      20      contemporaneously:         people who contact us through
      21      SFFA without joining and then people who contact us
      22      through SFFA and join.            So there are a lot of people
      23      that contact us through SFFA without joining, but
      24      I see both of those categories contemporaneously.
      25            Q.     What is the email address that they use to

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       1                     COURT REPORTER'S CERTIFICATE
       2                    I, J. Edward Varallo, RMR, CRR, Registered
       3      Professional Reporter and Notary Public in the
       4      Commonwealth of Massachusetts (my commission expires
       5      12/09/2022), hereby certify that the deposition of
       6      Edward J. Blum taken on July 12, 2016, in the matter
       7      of Students for Fair Admissions v. President and
       8      Fellows of Harvard College (Harvard Corporation);
       9      and The Honorable and Reverend the Board of
      10      Overseers, was recorded by me stenographically and
      11      transcribed; that before being sworn by me, the
      12      deponent provided satisfactory evidence of
      13      identification as required by Executive Order 455
      14      (03-13) of the Governor.
      15                    I certify that the deposition transcript
      16      produced by me is true and accurate to the best of
      17      my ability.
      18                    I certify further that I am not counsel,
      19      attorney, or relative of any party litigant, and
      20      have no interest, financial or otherwise, in the
      21      outcome of this suit.
      22
      23
                                                <%Signature%>
      24                                      _____________________________
      25      DATED:      7/15/2016                      J. Edward Varallo

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                                  UNANIMOUS WRITTEN CONSENT
                                      IN LIEU OF A MEETING
                                                of
                                    THE BOARD OF DIRECTORS
                                                of
                                STUDENTS FOR FAIR ADMISSIONS, INC.


                The undersigned, being and constituting all of the members of the Board of Directors of
        Students for Fair Admissions, Inc. (the "Corporation"), a Virginia nonstock corporation, for
        purposes of taking action in lieu of an organizational meeting of the Board of Directors of the
        Corporation, pursuant to Section 13.1-841 of the Virginia Nonstock Corporation Act, hereby
        adopt the following resolutions and waive all requirements of notice:

                                            Amendment of Bylaws

                WHEREAS, Section 7.05 of the Corporation's Bylaws provides that the Board of
        Directors may amend the Bylaws in whole or in part by a majority vote of the directors then in
        office;

                WHEREAS, Article III of the Corporation's Bylaws provides that the Corporation shall
        have "Members" with rights, privileges, and obligations established by the Board of Directors,
        but shall not have voting rights and shall not be considered "members" within the meaning of the
        Act;

             WHEREAS, the Corporation's Members presently number more than 20,000, and the
        Members have expressed a desire to participate directly in the leadership of the Corporation;

                 WHEREAS, the Board of Directors believes that Members should have a direct voice in
        the Corporation's decision-making, including the management and direction of ongoing
        litigation;

               WHEREAS, the Board of Directors believes it is in the best interests of the Corporation
        to amend the Bylaws to permit Members to directly elect a member of the Board of Directors;

              WHEREAS, the Board of Directors has waived membership dues for Members since the
        Corporation's inception because it believed that doing so would encourage participation, aid
        membership recruitment, and ensure the success of the Corporation in its early stages;

               WHEREAS, the Board of Directors believes it is in the best interests of the Corporation
        to amend the Bylaws to clarify the dues requirements of Members;

               WHEREAS, the Board of Directors has reviewed and considered the Amended Bylaws
        (Exhibit A) to effect such changes;

               BE IT RESOLVED, that said Amended Bylaws are adopted in their entirety and a copy is
        ordered placed in the minute book of the Corporation.




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                             Establishment of Dues Policy for General Members

                WHEREAS, Section 3.02 of the Corporation's Bylaws provided that Members shall have
        the "rights, privileges, and obligations established by the Board of Directors;"

              WHEREAS, Section 3.02 of the Amended Bylaws clarifies that General Members shall
        pay membership dues as may be prescribed by the Board of Directors;

                WHEREAS, the Board of Directors has waived membership dues for General Members
        since the Corporation's inception because it believed that doing so would encourage
        participation, aid membership recruitment, and ensure the success of the Corporation in its early
        stages;

               WHEREAS, the Corporation has been m existence for nearly one year and has
        experienced extraordinary membership growth;

               WHEREAS, the Board of Directors believes it is in the best interests of the Corporation
        to begin assessing membership dues upon the one-year anniversary of the Corporation's
        formation;

               BE IT RESOLVED, that the Corporation shall continue to waive membership dues for
        individuals who become General Members prior to July 30, 2015; and

               FURTHER RESOLVED, that the Corporation shall require individuals who become
        General Members on or after July 30, 2015 to pay a one-time assessment of $10 as membership
        dues.

                         Adoption of Member-Elected Director Election Procedures

               WHEREAS, Article IV of the Amended Bylaws created a new directorship to be elected
        by the Corporation's General Members (the "Member-Elected Director");

               WHEREAS, Section 4.04(b) of the Amended Bylaws provides that the Member-Elected
        Director shall be elected in conjunction with the annual meeting of the Board of Directors by an
        affirmative vote of a majority of the General Members;

               WHEREAS, Section 4.04(b) of the Amended Bylaws further provides that the Board of
        Directors shall determine the time, method, manner, and eligibility of voting for the Member-
        Elected Director;

               WHEREAS, the Board of Directors has determined that it is in the best interests of the
        Corporation to hold an election for the Member-Elected Director in conjunction with the Board
        of Directors' upcoming 2015 annual meeting;

               WHEREAS, the Board of Directors has further determined that it is in the best interests
        of the Corporation to conduct the election in accordance with the attached "Procedures for
        Electing Member-Elected Directors" (Exhibit B);




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CONFIDENTIAL                                       JA332                               SFFA-Harvard 0000053
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               BE IT RESOLVED, that the "Procedures for Electing Member-Elected Directors" are
        adopted in their entirety, and the first election for the Member-Elected Director shall be held in
        accordance with these procedures.

                                         Authorization and Ratification

                BE IT RESOLVED, that the officers of the Corporation are hereby authorized to do all
        things, take all actions, and to execute, deliver, and file all documents, in the name and on behalf
        of the Corporation, as may be determined by the officers to be necessary or appropriate to give
        effect to the foregoing resolutions and the matters contemplated thereby (the appropriateness of
        which shall be conclusively determined by the taking of such action); and

                FURTHER RESOLVED, that any and all actions taken and documents executed by the
        officers of the Corporation in furtherance of the foregoing resolutions or the matters
        contemplated thereby are hereby ratified, confirmed, and approved in all respects.

                                                    * *      *
                This action by unanimous written consent may be signed in any number of counterparts,
        all of which when taken together will constitute one and the same document.



        Dated: June 19, 2015

                                       [SIGNATURE PAGE FOLLOWS]




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CONFIDENTIAL                                        JA333                                SFFA-Harvard 0000054
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                                       SJGNATURE PA.GE TO
                                   UNANIMOUS WRITTEN CONSENT
                                      IN LIEU OF A MEETING
                                                       ()_/
                                       THE BOARD OF DIRECTORS
                                                       of
                               STlJDENTS FOR .FAIR ADMISSIONS~ INC,


                lN WrrNESS WHEREOF,. the undersigned
                                            .      . . have
                                                      ~-. . ..execui.d
                                                               . ·· ···               . . 1t::_is qf the
                                                                        rhis Written Con:-se1_
        date set forth above .



                                                                  Edward Blum
                                                                  Director



                                                                  Abigail Fisher
                                                                  Director

                                                               ··" / ' .. :. .....      ~.         ,•   .•·   ···.
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                                                                 PJchard Fisher                         ·
                                                                 Director




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                                      SIGNATURE PAGE TO
                                 UNANIMOUS WRITTEN CONSENT
                                     IN LIEU OF A MEETING
                                               of
                                   THE BOARD OF DIRECTORS
                                               of
                               STUDENTS FOR FAIR ADMISSIONS, INC.


                 IN WITNESS WHEREOF, the undersigned have executed this Written Consent as of the
         date set forth above.



                                                        Edward Blum
                                                        Director



                                                        Abigail Fisher
                                                        Director



                                                        Richard Fisher
                                                        Director




CONFIDENTIAL                                    JA336                           SFFA-Harvard 0000057
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                                           EXHIBIT A

                                         Amended Bylaws
                                          (see attached)




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                                                    BYLAWS
                                                         of
                                 STUDENTS FOR FAIR ADMISSIONS, INC.

                             (Formed under the Virginia Nonstock Corporation Act)

                               (Adopted August 6, 2014; Amended June 19, 2015)


                                                 ARTICLE I
                                               Name and Location

               Section 1.01 Name. The name of the corporation is Students for Fair Admissions, Inc.
        (the "Corporation").

               Section 1.02 Location. The principal office of the Corporation shall be located at 2200
        Wilson Blvd., Suite 102-13, Arlington, VA 22201, or at any other place approved by the Board
        of Directors.

                Section 1.03 Registered Office and Agent.     The Corporation shall continuously
        maintain a registered office and agent within the Commonwealth of Virginia at such place as
        may be designated by the Board of Directors. The Corporation's initial registered office and
        agent are set forth in the Articles of Incorporation.

                                                  ARTICLE II
                                                   Purposes

                The Corporation is organized and shall be operated exclusively for charitable, religious,
        scientific, literary, educational and other purposes within the meaning of Section 501 (c)(3) of the
        Internal Revenue Code of 1986, as now in effect or as hereafter may be amended (the "Code").
        The purposes for which the Corporation is formed are to defend human and civil rights secured
        by law, including the right of individuals to equal protection under the law, through litigation and
        any other lawful means, and to engage in any lawful act or activity for which corporations may
        be organized under the Virginia Nonstock Corporation Act (the "Act"). In furtherance thereof,
        the Corporation shall have all the general powers enumerated in Sections 13.1-826 and 13.1-827
        of the Act.

                                                  ARTICLE III
                                                   Membership

               Section 3.01 Members. The Corporation shall have one class of members, referred to
        as General Members, which shall not be "members" within the meaning of the Act and shall
        have only the rights specifically set forth in these Bylaws.

               Section 3.02 General Members. Any individual who seeks to support the purposes and
        mission of the Corporation, pays membership dues as may be prescribed by the Board of




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        Directors, and meets any additional standards and procedures that may be prescribed from time
        to time by the Board of Directors shall be eligible to become a General Member. General
        Members shall have the right to vote for one (1) Member-Elected Director pursuant to Section
        4.04.

               Section 3.03 Revocation; Resignation. The Board of Directors may revoke the
        membership of any General Member on the grounds that the General Member has engaged or is
        engaging in activities which are, in the sole discretion of the Board of Directors, contrary to the
        purposes of the Corporation. A General Member may resign at any time upon written notice to
        the Corporation.

                                                  ARTICLE IV
                                                 Board of Directors

                Section 4.01 Power of Board of Directors. The business and affairs of the Corporation
        shall be managed by the Board of Directors.

                Section 4.02 Number of Directors. The number of directors of the Corporation shall be
        five (5) and shall consist of four (4) Board-Elected Directors and one (1) Member-Elected
        Director.

               Section 4.03    Qualifications.     All directors must be General Members of the
        Corporation.

               Section 4.04    Election and Term of Directors.

                        (a)    Board-Elected Directors. There shall be four (4) Board-Elected Directors.
        Board-Elected Directors shall be elected at the applicable annual meeting of the Board of
        Directors by an affirmative vote of a majority of the directors then in office, to serve for terms of
        two (2) years from the date of their election, and each shall continue in office until his or her
        successor is elected or qualified, or until his or her prior death, resignation, or removal.

                        (b)     Member-Elected Director. There shall be one (1) Member-Elected
        Director. The Member-Elected Director shall be elected in conjunction with the applicable
        annual meeting of the Board of Directors by an affirmative vote of a majority of the General
        Members, to serve for a term of two (2) years from the date of such director's election, and such
        director shall continue in office until his or her successor is elected or qualified, or until his or
        her prior death, resignation, or removal. The time, method, manner, and eligibility of voting for
        the Member-Elected Director shall be determined by the Board of Directors. Neither cumulative
        nor proxy voting shall be allowed in such elections. The candidate receiving the highest number
        of votes shall be elected.

                Section 4.05 Vacancies. A vacancy of a Board-Elected Directorship may be filled by a
        majority vote of the directors then in office although less than a quorum, or by a sole remaining
        director. A vacancy of a Member-Elected Directorship shall be filled by an affirmative majority
        vote of the General Members. Such election shall be held within sixty (60) days of the Member-
        Elected Directorship becoming vacant; provided that an election to fill a vacancy resulting from


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        the creation of a new Member-Elected Directorship shall be held within ninety (90) days of such
        creation. A director elected to fill a vacancy shall be elected for the unexpired term of his or
        predecessor in office and until his or her successor is elected and qualified.

               Section 4.06 Removal. Any director may be removed with or without cause at any time
        by action of the Board. A director may be removed only at a meeting called for that purpose
        (together with other purposes, if any).

                Section 4.07 Resignations. Any director may resign at any time upon written notice to
        the Corporation. Unless otherwise specified in the written notice, the resignation shall be
        effective upon delivery to the Corporation.

                Section 4.08 Quorum of the Board of Directors and Action of the Board of Directors.
        Unless a greater proportion is required by law or by these Bylaws for adoption of a particular
        action, a majority of the directors shall constitute a quorum for the transaction of business and,
        except as otherwise provided by law or by the Articles of Incorporation or these Bylaws, the vote
        of a majority of the directors present at the meeting at which a quorum is present shall be the act
        of the Board of Directors.

                Section 4.09 Meetings of the Board of Directors. An annual meeting of the Board of
        Directors shall be held each year at such time and place as shall be fixed by the Board of
        Directors, for the election of officers and directors and for the transaction of such other business
        as may properly come before the meeting. Regular meetings of the Board of Directors shall be
        held at such times as may be fixed by the Board of Directors. Special meetings of the Board of
        Directors may be held at any time whenever called by a majority of the directors then in office.
        Notice of all special meetings shall be delivered in writing to all directors and shall specify the
        matters to be addressed at such meeting. Meetings of the Board of Directors may be held at such
        places within or without the Commonwealth of Virginia as may be fixed by the Board of
        Directors for annual and regular meetings and in the notice of meeting for special meetings.

                Section 4.10 Informal Action by the Board of Directors. Unless otherwise restricted by
        the Articles of Incorporation or these Bylaws, any action required or permitted to be taken by the
        Board of Directors may be taken without a meeting if all directors consent in writing to the
        adoption of a resolution authorizing the action. The resolution and the written consents thereto
        by the directors shall be filed with the minutes of proceedings of the Board of Directors. A
        written consent and the signing thereof may be accomplished by one or more electronic
        transmissions, including a signed email message from the applicable director.

                Section 4.11 Meetings by Conference Telephone. Any one or more members of the
        Board of Directors may participate in a meeting of such Board of Directors by means of
        conference telephone or similar communications equipment by means of which all persons
        participating in the meeting can communicate with one another. Participation in a meeting by
        such means shall constitute presence in person at the meeting.

              Section 4.12 Compensation of Directors.         The Corporation may not pay any
        compensation to directors for services rendered, except that directors may be reimbursed for




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        expenses incurred in the performance of their duties to the Corporation, in reasonable amounts as
        approved by a majority of the entire Board of Directors.

                                                   ARTICLE V
                                                    Committees

               Section 5.01 General Provisions. A majority of the Board of Directors may create one
        or more committees and appoint members of the Board of Directors to serve on them. To the
        extent specified by the Board of Directors, each committee may exercise the authority of the
        Board of Directors, except that a committee may not exercise authority prohibited by law.

               Section 5.02 Committee Rules. Requirements for the Board of Directors set forth
        herein or, if applicable, in Sections 13 .1-864 through 13 .1-868 of the Act as now in effect or as
        may hereafter be amended, or any other statutory provision, governing meetings, action without
        meetings, notice and waiver of notice, and quorum and voting requirements shall apply to
        committees and their members as well.

                                                   ARTICLE VI
                                         Officers, Agents, and Employees

               Section 6.01 Officers. The Board of Directors shall elect or appoint a President,
        Secretary, and Treasurer, and it may, if it so determines, elect or appoint one or more Vice
        Presidents, Assistant Secretaries, Assistant Treasurers, and other officers and may give any of
        them such further designation or alternate titles as it considers desirable. The same individual
        may simultaneously hold more than one office in the Corporation.

                 Section 6.02 Term of Office, Vacancies and Removal. Each officer shall hold office
        for the term for which he or she is elected or appointed and until his or her successor is elected or
        appointed and qualified, or until his or her earlier death, resignation or removal. All officers
        shall be elected or appointed at the annual meeting of the Board of Directors, except in the case
        of initial officers and vacancies resulting from any resignation or removal, which may be filled
        by the Board of Directors as needed. An officer appointed or elected to fill a vacancy shall hold
        office for the unexpired term of his or her predecessor in office, and until his or her successor is
        elected and qualified. Any officer may be removed by the Board of Directors with or without
        cause at any time.

                Section 6.03 Resignation. Any officer may resign at any time by giving written notice
        to the Corporation. Unless otherwise specified in the written notice, the resignation shall be
        effective upon delivery to the Corporation.

               Section 6.04 Powers and Duties of Officers. Subject to the control of the Board of
        Directors, all officers as between themselves and the Corporation shall have such authority and
        perform such duties in the management of the Corporation as may be provided by the Board of
        Directors and, to the extent not so provided, as generally pertain to their respective offices.

               President. The President shall serve as the chief executive officer of the Corporation and
               preside at all meetings of the Board of Directors. The President shall supervise and


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               control all of the affairs of the Corporation and oversee the management of the
               Corporation in accordance with policies and directives approved by the Board of
               Directors, including appointing assistants and hiring employees as necessary to ensure
               orderly operations.

               Secretary. The Secretary shall be responsible for the keeping of an accurate record of the
               proceedings of all meetings of the Board of Directors, shall give or cause to be given all
               notices in accordance with these Bylaws or as required by law, and shall perform all
               duties customary to the office of Secretary.

               Treasurer. The Treasurer shall have the custody of, and be responsible for, all funds and
               securities of the Corporation. He or she shall keep or cause to be kept complete and
               accurate accounts of receipts and disbursements of the Corporation, and shall deposit all
               monies and other valuable property of the Corporation in the name and to the credit of the
               Corporation in such banks or depositories as the Board of Directors may designate.
               Whenever required by the Board of Directors, the Treasurer shall render a statement of
               accounts. He or she shall at all reasonable times exhibit the books and accounts to any
               officer or director of the Corporation, and shall perform all duties incident to the office of
               Treasurer, subject to the supervision of the Board of Directors, and such other duties as
               shall from time to time be assigned by the Board of Directors.

                 Section 6.05 Agents and Employees. The Board of Directors may appoint agents and
        employees who shall have such authority and perform such duties as may be prescribed by the
        Board of Directors. The Board of Directors may remove any agent or employee at any time with
        or without cause. Removal without cause shall be without prejudice to such person's contract
        rights, if any, and the appointment of such person shall not itself create contract rights.

                Section 6.06 Compensation of Officers, Agents and Employees. The Corporation may
        pay compensation to officers for services rendered to the Corporation in their capacity as
        officers, and officers may be reimbursed for expenses incurred in the performance of their duties
        to the Corporation, in reasonable amounts as approved by a majority of the entire Board of
        Directors. The Corporation may pay compensation in reasonable amounts to agents and
        employees for services rendered, such amounts to be fixed by the Board of Directors or, if the
        Board of Directors delegates power to any officer or officers, then by such officer or officers.
        The Board of Directors may require officers, agents or employees to give security for the faithful
        performance of their duties.

                                                 ARTICLE VII
                                                 Miscellaneous

               Section 7.01 Fiscal Year. The fiscal year of the Corporation shall be the calendar year
        or such other period as may be fixed by the Board of Directors.

               Section 7.02 Corporate Seal. The corporate seal, if any, shall be circular in form, shall
        have the name of the Corporation inscribed thereon and shall contain the words "Corporate Seal"
        and "Virginia" and the year the Corporation was formed in the center, or shall be in such form as
        may be approved from time to time by the Board of Directors.


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                Section 7.03 Checks, Notes, Contracts. The Board of Directors shall determine who
        shall be authorized from time to time on the Corporation's behalf to: (A) sign checks, drafts, or
        other orders for payment of money; (B) to sign acceptances, notes, or other evidences of
        indebtedness; (C) to enter into contracts; and (D) to execute and deliver other documents and
        instruments.

                Section 7.04 Books and Records. The Corporation shall keep correct and complete
        books and records of account, the activities and transactions of the Corporation, minutes of the
        proceedings of the Board of Directors and any committee of the Corporation, a current list of the
        directors and officers of the Corporation, their business addresses and the Corporation's most
        recent annual report. Any of the books, minutes, and records of the Corporation may be in
        written form or in any other form capable of being converted into written form within a
        reasonable time.

               Section 7.05 Amendment of Articles of Incorporation and Bylaws. The Articles of
        Incorporation or Bylaws of the Corporation may be amended in whole or in part by a majority
        vote of the directors then in office and upon the taking of any other actions required under the
        Act.

                Section 7.06 Indemnification and Insurance. The Corporation shall indemnify any
        director, any former director, any person who while a director of the Corporation may have
        served at its request as a director, officer, partner, trustee, employee, or agent of another foreign
        or domestic corporation, partnership, joint venture, trust, employee benefit plan or other
        enterprise, and may, by resolution of the Board of Directors, indemnify any officer, employee, or
        agent against any and all expenses and liabilities actually and necessarily incurred by him or her
        or imposed on him or her in connection with any claim, action, suit, or proceeding (whether
        actual or threatened, civil, criminal, administrative, or investigative, including appeals) to which
        he or she may be or is made a party by reason of being or having been such director, officer,
        employee or agent; subject to the limitation, however, that there shall be no indemnification in
        relation to matters unless such person: (1) conducted himself or herself in good faith;
        (2) believed in the case of conduct in his or her official capacity with the Corporation that his or
        her conduct was in the best interest of the Corporation; and in all other cases that his or her
        conduct was at least not opposed to the best interests of the Corporation; or (3) in the case of any
        criminal proceeding, he or she had no reasonable cause to believe that his or her conduct was
        unlawful. Further, there shall be no indemnification in connection with a proceeding (A) by or in
        the right of the Corporation in which the director, officer, employee or agent was judged liable to
        the Corporation, or (B) in which improper personal benefit is charged.

                The Corporation shall upon order of a court of competent jurisdiction indemnify a
        director who entirely prevails in the defense of any proceeding to which he or she was a party
        because he or she is or was a director of the Corporation, for reasonable expenses incurred by
        him or her in connection with the proceeding.

                Amounts paid in indemnification of expenses and liabilities may include, but shall not be
        limited to, counsel fees and other fees; costs and disbursements; judgments, fines, and penalties
        against, and amounts paid in settlement by, such director, officer, employee or agent. The



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        Corporation may pay for or reimburse the reasonable expenses in advance of final disposition of
        the proceeding provided that the provisions of Section 13 .1-878 of the Act are met.

               The provisions of this Article shall be applicable to claims, actions, suits, or proceedings
        made or commenced after the adoption hereof, whether arising from acts or omissions to act
        occurring before or after adoption hereof.

                The indemnification provided by this Article shall not be deemed exclusive of any other
        rights to which such director, officer, or employee may be entitled under any statute, bylaw,
        agreement, vote of the Board of Directors, or otherwise and shall not restrict the power of the
        Corporation to make any indemnification permitted by law.

                The Board of Directors may authorize the purchase of and maintain insurance on behalf
        of any director, officer, employee or agent of the Corporation against any liability asserted
        against or incurred by him or her which arises out of such person's status in such capacity or who
        is or was serving at the request of the Corporation as a director, officer, employee or agent of
        another foreign or domestic corporation, partnership, joint venture, trust, employee benefit plan
        or otherwise, or out of acts taken in such capacity, whether or not the Corporation would have
        the power to indemnify the person against that liability under law.

                If any part of this Section shall be found in any action, suit or proceeding to be invalid or
        ineffective, the validity and the effectiveness of the remaining parts shall not be affected.

                Section 7.07 Dissolution. The Corporation may be dissolved at any time by majority
        vote of the directors then in office and upon the taking of any other actions required under the
        Act. In the event of dissolution or final liquidation of the Corporation, all of the remaining assets
        of the Corporation shall, after paying or making provision for the payment of all of the liabilities
        and obligations of the Corporation and for necessary expenses thereof, be distributed as
        determined by the Board of Directors in accordance with the Articles of Incorporation and
        applicable law.




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                                                  EXHIBITB

                             Procedures for Electing Member-Elected Directors

                Students for Fair Admissions, Inc.'s ("SFF A") General Members are entitled to elect one
        (1) individual to serve on SFFA's Board of Directors (the "Member-Elected Director"). SFFA's
        Bylaws provide that the Board of Directors is responsible for determining the time, method,
        manner, and eligibility of voting for such elections. The following election procedures shall be
        followed when an election for a Member-Elected Director is required by the Bylaws.

                1.      Announcement of Election. The Board of Directors shall send an email to its
        General Members announcing that there will be an election for the Member-Elected Director.
        The date on which the announcement email is sent shall be the "Record Date," which shall be
        used to set the deadlines below and to determine eligibility to participate in the election. The
        announcement email shall call for self-nominations, clearly identify all deadlines, and include a
        copy of these election procedures.

               2.   Candidate Qualifications. A candidate for Member-Elected Director must be a
        General Member of SFFA as of the Record Date.

                3.     Nomination Process. Any individual who would like to be a candidate for
        Member-Elected Director must submit a self-nomination no later than fourteen (14) days after
        the Record Date at 11 :59 P.M. E.D.T. The self-nomination must include the candidate's name,
        address, telephone number, email address, and a personal statement of 500 words or less
        describing the candidate's qualifications and explaining why the candidate would like to serve on
        SFFA's Board of Directors. The self-nomination must be submitted via email to the email
        address specified in the announcement email.

                 4.    Selection of Nominees; Appearance on Ballot. No more than five (5) candidates
        shall appear on the ballot. In the event that more than five (5) individuals submit self-
        nominations, the Board of Directors shall select five (5) nominees to appear as candidates on the
        ballots.

                 5.      Eligibility to Vote. Any individual who is an General Member of SFFA as of the
        Record Date is eligible to vote in the election for Member-Elected Director. Each eligible voter
        is entitled to cast one ballot in the election. Cumulative and proxy voting are prohibited.

                6.      Distribution of Personal Statements and Ballots. No later than twenty-one (21)
        days after the Record Date, the Board of Directors shall send an email to the General Members
        eligible to vote setting forth the name, city/state, and personal statement of each candidate as
        well as a link to the online ballot.

                7.     Voting Period. The time period for voting shall begin as soon as the ballots are
        distributed and shall end twenty-eight (28) days after the Record Date at 11 :59 P.M. E.D.T.

               8.       Winner. The candidate receiving the highest number of votes shall be elected. In
        the event of a tie between candidates, the Board of Directors shall determine the tie by a coin




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        toss. The Board of Directors has the sole authority and discretion to resolve any disputes
        concerning the election.

               9.     Declaration of Winner. No later than thirty-one (31) days after the Record Date,
        the Board of Directors shall email the General Members declaring the winner of the election.
        The winner shall take office immediately upon this declaration.

                 10.   Amendment of Procedures. The Board of Directors may amend these procedures
        at any time without notice, provided that such amendments do not take effect during the time
        period between the Record Date and the declaration of the winner.




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                                   EXHIBIT 91




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                                           JA369
Case: 19-2005Case
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                                   EXHIBIT 92




                                           JA370
l efile GRAPHIC p rint - DO NOT PROCESS                              I As Filed Data - I                                                                                                      DLN: 93493318129457
ase: 19-2005Case
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                                                           06/15/18             Entry
                                                                                  29No ID:
                                                                       Page 2 ofOMB        635638
                                                                                       1545-0047
                                            Return             Or ani72tinn Exam t From Income Tax
Form        990                                                     W                                                                1-
                                  Under section 501(c ), 527, or 4947 ( a)(1) of the Internal Revenue Code ( except private
                                  foundations)                                                                                                                                                             2016
Department                                ^ Do not enter social security numbers on this form as it may be made public
Internal Revenue Ser.ice                  ^ Information about Form 990 and its instructions is at www IRS gov/form990


A          For the 2016 calendar y ear, or tax y ear bei inning 01-01-2016                                   . and endina 12-31-2016
                              C Name of organization                                                                                                                                D Employer identification number
B Check if applicable
                                Students For Fair Admissions Inc
 ❑ Address change
                                                                                                                                                                                     XX-XXXXXXX
 ❑ Name change
 ❑ Initial return              Doing business as
   Final
 - I II/ - I n naLeu                                                                                                                                                                L I eiepnune nurnuer
                               Number and street (or P O box if mail is not delivered to street address)                                          Room/suite
 ❑ Am ended return             2200 Wilson Blvd
                                                                                                                                                                                     (713) 626 7560
 ❑ Application pending
                               City or town, state or province, country, and ZIP or foreign postal code
                               Arlington, VA 22201
                                                                                                                                                                                    G Gross receipts $ 1,107,022

                              F Name and address of principal officer                                                                                          H(a) Is this a group return for
                              EDWARD BLUM
                              2200 Wilson Blvd102-13                                                                                                                subordinates?                                      2 No
                              Arlin g ton, VA 22201                                                                                                            H(b) Are all subordinates
                                                                                                                                                                    included?                                 ❑ Y es        o
I      Tax-exempt status      R
                                  501(c)(3)     ❑   501(c) (     ) A (insert no )           El 4947(a)(1) or                              El 527                         If "No," attach a list    ( see instructions )

J      Website : ^      N/A                                                                                                                                    H(c) Group exemption number ^


                                                                                                                                                            L Year of formation        2014    M State of legal domicile VA
K Form of organization        9 Corporation     ❑ Trust ❑ Association ❑ Other ^


ELi ^                Summary
              1 Briefly describe the organization's mission or most significant activities
                The purposes of the organization are to defend human and civil rights secured by law, including the right of individuals to equal protection
                under the law, through litigation and any other lawful means

 ti




              2   Check this box ^ ❑ if the organization discontinued its operations or disposed of more than 25% of its net assets
              3   Number of voting members of the governing body (Part VI, line 1a) .      .   .   .  .   .   .                     3                                                                                           5
              4   Number of independent voting members of the governing body (Part VI, line 1b)                                                                                                      4                          4
              5   Total number of individuals employed in calendar year 2016 (Part V, line 2a)                                                                                                       5                          0
              6 Total number of volunteers (estimate if necessary)                  .        .       .                                                                                               6                          0
             7a Total unrelated business revenue from Part VIII, column (C), line 12                                                 .              .   .      .     .     .                        7a                          0
               b Net unrelated business taxable income from Form 990-T, line 34                                          .           .        .     .   .      .     .     .                        7b
                                                                                                                                                                               Prior Year                  Current Year
              8   Contributions and grants (Part VIII, line 1h)            .   .        .        .       .           .           .        .                                             826,664                     1,107,022
              9   Program service revenue (Part VIII, line 2g)                                                                                                                                                                  0
             10 Investment income (Part VIII, column (A), lines 3, 4, and 7d                                     .                                                                                                              0
             11 Other revenue (Part VIII, column (A), lines 5, 6d, 8c, 9c, 10c, and 11e)                                                                                                                                        0
             12 Total revenue-add lines 8 through 11 (must equal Part VIII, column (A), line 12)                                                                                        826,664                     1,107,022

             13 Grants and similar amounts paid (Part IX, column (A), lines 1-3                                              .                                                                                                  0
             14 Benefits paid to or for members (Part IX, column (A), line 4)                            .                                                                                                                      0
             15 Salaries, other compensation, employee benefits (Part IX, column (A), lines 5-10)                                                                                                                         48,000
             16a Professional fundraising fees (Part IX, column (A), line 11e)                                                                                                                                                  0
               b Total fundraising expenses (Part IX, column (D), line 25) 0,48,535

             17 Other expenses (Part IX, column (A), lines 11a-11d, llf-24e)                                 .                                                                          545,576                     1,214,178
             18 Total expenses Add lines 13-17 (must equal Part IX, column (A), line 25)                                                                                                545,576                     1,262,178
             19   Revenue less expenses Subtract line 18 from line 12                                                                                                                   281,088                        -155,156
      T                                                                                                                                                            Beginning of Current Year                End of Year


      'M     20 Total assets (Part X, line 16)      .                                                                                                                                   281,088                        125,932
             21 Total liabilities (Part X, line 26)                                                                                                                                                                             0
Z1           22   Net assets or fund balances Subtract line 21 from line 20                                                                                                             281,088                        125,932
                     Si g nature Block
Under penalties of perjury, I declare that I have examined this return, inclu
knowl edge and belief, it is true, correct, and complete Declaration of prepa
an y knowled g e


                     Signature of officer
Sign
Here                 RICHARD FISHER TREASURER
                     Type or print name and title

                           Print/Type preparer's name                    Preparer's signature
                           RICHARD FISHER                                RICHARD FISHER
Paid
                           Firm's name      ^ MOORE TAX SERVICES INC
Preparer
                           Firm's address ^ 10106 KLECKLEY DR
Use Only
                                                                                                 JA371
                                              HOUSTON, TX      770753417

May the IRS discuss this return with the preparer shown above? (see instrui
For Paperwork Reduction Act Notice, see the separate instructions.
Form 990 (2016)                                                                                                                                                                                                                                            Page 2
        Statement
se: 19-2005    Document:     Service Accomplishments
                  of Program00117621824       Page: 384                  07/29/2020
           Case   1:14-cv-14176-ADB       Document   419-92 Date
                                                             FiledFiled:
                                                                   06/15/18    Page 3 ofEntry
                                                                                         29 ID: 63563
               Check if Schedule 0 contains a response or note to any line in this Part III                                                             .        .       .       .       .           .       .       .           .   .   .    .   .    .     ❑
 1     Briefly describe the organization's mission
The purposes of the organization are to defend human and civil rights secured by law,




2      Did the organization undertake any significant program services during the year which were not listed on
      the prior Form 990 or 990-EZ?           .       .       .       .       .        .       .       .        .       .       .       .       .       .        .       .       .           .       .       .           .               ❑ Yes        9 No
      If "Yes," describe these new services on Schedule 0
3      Did the organization cease conducting, or make significant changes in how it conducts, any program
      services?    .    .    .   .   .    .       .       .       .       .        .       .       .        .       .       .       .       .       .       .        .       .       .           .       .       .           .               ❑ Yes     2 No
      If "Yes," describe these changes on Schedule 0
4     Describe the organization's program service accomplishments for each of its three largest program services, as measured by expenses
      Section 501(c)(3) and 501(c)(4) organizations are required to report the amount of grants and allocations to others, the total
      expenses, and revenue, if any, for each program service reported

4a     (Code                         ) (Expenses $                                1,188,086                including grants of $                                                         ) (Revenue $
       See Additional Data



4b     (Code                         ) (Expenses $                                                         including grants of $                                                         ) (Revenue $




     JA372
4c     (Code                         ) (Expenses $                                                         including grants of $                                                         ) (Revenue $




4d     Other program services (Describe in Schedule 0
       (Expenses $                                            including grants of $                                                                             ) (Revenue $
4e     Total program service expenses 11o,                                             1,188,086
                                                                                                                                                                                                                                              Form 990 (2016)
Form 990 (2016)                                                                                                                                                Page 3
ase: 19-2005
 FTTITTM         Document:
         Checklist
             Case  of Re q uired 00117621824
                                 Schedules
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                                                                                                                                                        Yes    No
  1       Is the organization described in section 501(c)(3) or 4947(a)(1) (other than a private foundation)? If "Yes," complete                        Yes
          Schedule A . .       .   .   .   .   .   .   .   .   .  .   .   .   .   .  .   .    .   .  .                                          1

  2       Is the organization required to complete Schedule B, Schedule of Contributors (see instructions)?                                     2       Yes
  3       Did the organization engage in direct or indirect political campaign activities on behalf of or in opposition to candidates                           No
          for public office? If "Yes," complete Schedule C, Part I .     .  .   .    .   .   .   .   .    .   .   .                             3
  4       Section 501(c )( 3) organizations.
          Did the organization engage in lobbying activities, or have a section 501(h) election in effect during the tax year?
          If "Yes, " complete Schedule C, Part II .   .    .   .   .   .   .   .   .  .    .   .   .                                            4               No

  5       Is the organization a section 501(c)(4), 501(c)(5), or 501(c)(6) organization that receives membership dues,
          assessments , or similar amounts as defined in Revenue Procedure 98-19?
          If "Yes, " complete Schedule C, Part III .    .   .   .  .   .   .   .   .   .   .   .   .   .  .  .                                  5               No

  6       Did the organization maintain any donor advised funds or any similar funds or accounts for which donors have the right
          to provide advice on the distribution or investment of amounts in such funds or accounts?
          If "Yes, " complete Schedule D, Part I .    .   .   .   .  .   .   .   .  .   .   .   .   .  .   .   .                                6               No

  7       Did the organization receive or hold a conservation easement , including easements to preserve open space,
          the environment, historic land areas , or historic structures? If "Yes," complete Schedule D, Part II .                               7               No

  8       Did the organization maintain collections of works of art, historical treasures, or other similar assets?
          If "Yes, " complete Schedule D, Part III .    .  .    .   .    .    .   .   .   .   .   .                                             8               No

  9       Did the organization report an amount in Part X, line 21 for escrow or custodial account liability, serve as a custodian
          for amounts not listed in Part X, or provide credit counseling, debt management, credit repair, or debt negotiation
          services7If "Yes, " complete Schedule D, Part IV .      .   .   .  .   .  .   .   .   .   .    .    .                                 g               No

 10       Did the organization, directly or through a related organization, hold assets in temporarily restricted endowments,                  10               No
          permanent endowments, or quasi-endowments? If "Yes," complete Schedule D, Part V .             .    .   .  .  .

 11       If the organization's answer to any of the following questions is "Yes," then complete Schedule D, Parts VI, VII, VIII, IX,
          or X as applicable
      a   Did the organization report an amount for land, buildings, and equipment in Part X, line 10?
          If "Yes, " complete Schedule D, Part VI  .   .   .   .    .  .   .  .   .   .   .    .   .   .       .       .       .       .       I la             No

      b   Did the organization report an amount for investments-other securities in Part X, line 12 that is 5% or more of its total
          assets reported in Part X, line 16? If "Yes, " complete Schedule D, Part VII .                                                       lib              No

      c   Did the organization report an amount for investments-program related in Part X, line 13 that is 5% or more of its
          total assets reported in Part X, line 16? If "Yes," complete Schedule D, Part VIII .                                                 lic              No

      d   Did the organization report an amount for other assets in Part X, line 15 that is 5% or more of its total assets reported
          in Part X, line 16? If "Yes," complete Schedule D, Part IX .    .   .   .   .    .  .   .  .   .    .                                lld              No

      e   Did the organization report an amount for other liabilities in Part X, line 25? If "Yes," complete Schedule D, Part X
                                                                                                                                               lie              No
   f      Did the organization's separate or consolidated financial statements for the tax year include a footnote that addresses
                                                                                                                                               hlf              No
          the organization's liability for uncertain tax positions under FIN 48 (ASC 740)' If "Yes," complete Schedule D, Part X


 12a Did the organization obtain separate, independent audited financial statements for the tax year?
     If "Yes," complete Schedule D, Parts XI and XII   .   .   .   .   .   .   .  .    .   .   .   .  .                    .       .       .   12a              No
      b   Was the organization included in consolidated, independent audited financial statements for the tax year?
                                                                                                                                               12b              No
          If "Yes, " and if the organization answered "No" to line 12a, then completing Schedule D, Parts XI and XII is optional
 13       Is the organization a school described in section 170(b)(1)(A)(ii)7 If "Yes," complete Schedule E
                                                                                                                                               13               No
 14a Did the organization maintain an office, employees, or agents outside of the United States?           .       .       .       .           14a              No
      b   Did the organization have aggregate revenues or expenses of more than $10,000 from grantmaking, fundraising,
          business, investment, and program service activities outside the United States, or aggregate foreign investments
          valued at $100,000 or more? If "Yes," complete Schedule F, Parts I and IV .     .   .   .   .   .   .  .                             14b              No

 15       Did the organization report on Part IX, column (A), line 3, more than $5,000 of grants or other assistance to or for any
          foreign organization? If "Yes, " complete Schedule F, Parts II and IV .                                                              15               No

 16       Did the organization report on Part IX, column (A), line 3, more than $5,000 of aggregate grants or other assistance to
          or for foreign individuals? If "Yes, " complete Schedule F, Parts III and IV . .  .                                                  16               No

 17       Did the organization report a total of more than $15,000 of expenses for professional fundraising services on Part IX,               17               No
          column (A), lines 6 and lie? If "Yes, " complete Schedule G, PartI (see instructions) .    .       .
 18       Did the organization report more than $15,000 total of fundraising event gross income and contributions on Part VIII,
          lines 1c and 8a' If "Yes," complete Schedule G, Part II .   .   .   .  .   .   .   .  .   .   .                                      18               No
 19                                                                        JA373
          Did the organization report more than $15,000 of gross income from gaming activities on Part VIII, line 9a? If "Yes,"
                                                                                                                                               19               No
          complete Schedule G, Part III .    .  .   .  .    .   .  .   .  .   .  .   .    .   .   .   .    .
                                                                                                                                                      Form 990 (2016)
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         Checklist of Required 00117621824
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                               Schedules (continued)
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                                                                                                                                                Yes    No
 20a Did the organization operate one or more hospital facilities? If "Yes," complete Schedule H .                                      20a             No
      b   If "Yes" to line 20a, did the organization attach a copy of its audited financial statements to this return?
                                                                                                                                        20b
 21       Did the organization report more than $5,000 of grants or other assistance to any domestic organization or domestic           21              No
          government on Part IX, column (A), line 1' If "Yes, " complete Schedule I, Parts I and II . .   .   .   .
 22       Did the organization report more than $5,000 of grants or other assistance to or for domestic individuals on Part IX,         22
          column (A), line 27 If "Yes, " complete Schedule I, Parts I and III .                                                                         No

 23       Did the organization answer "Yes" to Part VII, Section A, line 3, 4, or 5 about compensation of the organization's
          current and former officers, directors, trustees, key employees, and highest compensated employees? If "Yes,"                 23              No
          complete Schedule J .      .   .   .   .    .   .   .  .   .   .   .   .   .   .   .  .   .  .    .   .   .   .
 24a Did the organization have a tax-exempt bond issue with an outstanding principal amount of more than $100,000 as of
     the last day of the year, that was issued after December 31, 20027 If "Yes,"answer lines 24b through 24d and
     complete Schedule K If "No,"go to line 25a .       .  .  .   .   .   .   .  .   .   .   .   .  .                                                   No
                                                                                                                                        24a
      b   Did the organization invest any proceeds of tax-exempt bonds beyond a temporary period exception?
                                                                                                                                        24b

      c   Did the organization maintain an escrow account other than a refunding escrow at any time during the year
          to defease any tax-exempt bonds? .      .   .  .   .   .   .   .   .   .  .   .   .   .                                       24c
      d   Did the organization act as an "on behalf of" issuer for bonds outstanding at any time during the year?                       24d
 25a Section 501(c )( 3), 501 ( c)(4), and 501(c )( 29) organizations.
     Did the organization engage in an excess benefit transaction with a disqualified person during the year? If "Yes,"
     complete Schedule L, Part I .                                                                                                      25a             No

      b   Is the organization aware that it engaged in an excess benefit transaction with a disqualified person in a prior year, and
          that the transaction has not been reported on any of the organization's prior Forms 990 or 990-EZ7                            25b             No
          If "Yes, " complete Schedule L, Part I .   .   .   .  .   .    .   .   .   .   .   .   .   .   .   .   .   .    .
 26       Did the organization report any amount on Part X, line 5, 6, or 22 for receivables from or payables to any current or
          former officers, directors, trustees, key employees, highest compensated employees, or disqualified persons?                  26              No
          If "Yes, " complete Schedule L, Part II .    .   .  .   .   .   .   .   .   .   .   .   .   .  .   .
 27       Did the organization provide a grant or other assistance to an officer, director, trustee, key employee, substantial
          contributor or employee thereof, a grant selection committee member, or to a 35% controlled entity or family member           27              No
          of any of these persons? If "Yes," complete Schedule L, Part III .     .   .    .   .   .   .   .  .
 28       Was the organization a party to a business transaction with one of the following parties (see Schedule L, Part IV
          instructions for applicable filing thresholds, conditions, and exceptions)
      a   A current or former officer, director, trustee, or key employee? If "Yes," complete Schedule L,
          Part IV .     .  .   .    .   .    .   .   .   .   .   .   .  .   .   .    .  .   .  .   .   .      .   .
                                                                                                                                        28a             No
      b   A family member of a current or former officer, director, trustee, or key employee? If "Yes," complete Schedule L, Part
          IV .    .  .  .   .   .                                     .   .   .   .   .  .                                              28b             No
      c   An entity of which a current or former officer, director, trustee, or key employee (or a family member thereof) was an
          officer, director, trustee, or direct or indirect owner? If "Yes, " complete Schedule L, Part IV . . .                        28c             No

 29       Did the organization receive more than $25,000 in non-cash contributions? If "Yes," complete Schedule M .                     29              No

 30       Did the organization receive contributions of art, historical treasures, or other similar assets, or qualified conservation
          contributions? If "Yes," complete Schedule M .       .    .   .   .   .   .   .   .   .    .   .                              30              No

 31       Did the organization liquidate, terminate, or dissolve and cease operations? If "Yes," complete Schedule N, Part I
                                                                                                                                        31              No

 32       Did the organization sell, exchange, dispose of, or transfer more than 25% of its net assets?
          If "Yes, " complete Schedule N, Part II .                                                                                     32              No

 33       Did the organization own 100% of an entity disregarded as separate from the organization under Regulations sections
          301 7701-2 and 301 7701-3' If "Yes," complete Schedule R, Part I .                                                            33              No

 34       Was the organization related to any tax-exempt or taxable entity? If "Yes," complete Schedule R, Part II, III, or IV, and
          Part V, line 1 .  .   .   .   .   .   .  .   .  .    .  .    .   .   .    .   .  .   .  .   .   .   .    .                    34              No


 35a Did the organization have a controlled entity within the meaning of section 512(b)(13)'                                            35a             No

      b   If'Yes' to line 35a, did the organization receive any payment from or engage in any transaction with a controlled entity
          within the meaning of section 512(b)(13)' If "Yes," complete Schedule R, Part V, line 2 .        .                            35b             No

 36       Section 501(c )( 3) organizations . Did the organization make any transfers to an exempt non-charitable related
          organization? If "Yes," complete Schedule R, Part V, line 2 . .  .   .   .    .  .   .  .   .   .   .                         36
 37       Did the organization conduct more than 5% of its activities through an entity that is not a related organization and that
          is treated as a partnership for federal income tax purposes? If "Yes," complete Schedule R, Part VI                           37              No

 38                                                                        JA374
          Did the organization complete Schedule 0 and provide explanations in Schedule 0 for Part VI, lines 11b and 197 Note.
                                                                                                                                        38      Yes
          All Form 990 filers are required to complete Schedule 0  .  .   .    .  .   .  .    .   .   .
                                                                                                                                              Form 990 (2016)
Form 990 (2016)                                                                                                                                                                             Page 5
ase:
 MQU 19-2005CaseDocument:
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         Statements                              Page:
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                              Other IRS Filings and Tax 387
                                                        419-92  Date
                                                                 FiledFiled:
                                                        Compliance           07/29/2020
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                 Check if Schedule 0 contains a response or note to any line in this Part V .                                                                                               ❑
                                                                                                                                                                                     Yes    No
  la Enter the number reported in Box 3 of Form 1096 Enter -0- if not applicable                        .           la                                                   0
      b   Enter the number of Forms W-2G included in line la Enter -0- if not applicable                            lb                                                   0

      c   Did the organization comply with backup withholding rules for reportable payments to vendors and reportable gaming
          (gambling) winnings to prize winners? .    .   .   .   .   .   .   .   .   .  .   .   .  .   .   .   .                                                             lc
  2a Enter the number of employees reported on Form W-3, Transmittal of Wage and
     Tax Statements, filed for the calendar year ending with or within the year covered by
     this return .   .    .   .   .   .   .   .   .  .   .   .   .   .   .   .   .                                  2a                                                   0
      b   If at least one is reported on line 2a, did the organization file all required federal employment tax returns?                                                     2b
          Note .If the sum of lines la and 2a is greater than 250, you may be required to e-file (see instructions)
  3a Did the organization have unrelated business gross income of $1,000 or more during the year?                                    .       .       .                       3a              No
      b   If "Yes," has it filed a Form 990-T for this year7If "No" to line 3b, provide an explanation in Schedule 0 .                                           .   .       3b
  4a At any time during the calendar year, did the organization have an interest in, or a signature or other authority over, a
     financial account in a foreign country (such as a bank account, securities account, or other financial account)?
                                                                                                                                                                             4a              No
      b   If "Yes," enter the name of the foreign country ^
          See instructions for filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR)


  5a Was the organization a party to a prohibited tax shelter transaction at any time during the tax year?                                       .           .               5a              No
      b   Did any taxable party notify the organization that it was or is a party to a prohibited tax shelter transaction?                                                   5b              No

      c   If "Yes," to line 5a or 5b, did the organization file Form 8886-T7                                                                             .
                                                                                                                                                                             Sc
  6a Does the organization have annual gross receipts that are normally greater than $100,000, and did the organization                                                      6a              No
     solicit any contributions that were not tax deductible as charitable contributions? .    .
      b   If "Yes," did the organization include with every solicitation an express statement that such contributions or gifts were
          not tax deductible? .                                       .   .   .  .   .   .  .   .   .   .   .                                                                6b
  7       Organizations that may receive deductible contributions under section 170(c).
      a   Did the organization receive a payment in excess of $75 made partly as a contribution and partly for goods and services                                            7a              No
          provided to the payor7 .                                                                           .
      b   If "Yes," did the organization notify the donor of the value of the goods or services provided?                        .                                           7b
      c   Did the organization sell, exchange, or otherwise dispose of tangible personal property for which it was required to file
          Form 8282? .                                                              .   .   .   .   .   .   .   .                                                            7c              No
      d   If "Yes," indicate the number of Forms 8282 filed during the year         .       .       .               7d


      e   Did the organization receive any funds, directly or indirectly, to pay premiums on a personal benefit contract?
                                                                                                                                                                             7e              No
   f      Did the organization, during the year, pay premiums, directly or indirectly, on a personal benefit contract?                                           .           7f              No
      g   If the organization received a contribution of qualified intellectual property, did the organization file Form 8899 as
          required? .      .  .   .   .   .   .    .   .   .   .    .   .    .   .   .   .   .   .   .   .                                                                   7g
      h   If the organization received a contribution of cars, boats, airplanes, or other vehicles, did the organization file a Form
          1098-C? .       .  .   .   .   .   .    .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .                                                         7h
  8       Sponsoring organizations maintaining donor advised funds.
          Did a donor advised fund maintained by the sponsoring organization have excess business holdings at any time during
          the year? .    .   .   .   .  .   .   .   .  .   .   .   .   .   .  .   .   .  .   .   .   .   .
                                                                                                                                                                              8              No
  9a Did the sponsoring organization make any taxable distributions under section 4966?                     .   .            .                                               9a
      b   Did the sponsoring organization make a distribution to a donor, donor advisor, or related person?                              .       .           .               9b
 10       Section 501(c )( 7) organizations. Enter
      a   Initiation fees and capital contributions included on Part VIII, line 12      .                       10a
      b   Gross receipts, included on Form 990, Part VIII, line 12, for public use of club facilities           10b
 11       Section 501(c)(12) organizations. Enter
      a   Gross income from members or shareholders         .   .   .   .   .   .       .       .               Ila
      b   Gross income from other sources (Do not net amounts due or paid to other sources
          against amounts due or received from them ) .    .  .   .   .   .   .   .   .                         ilb

 12a Section 4947(a)(1) non-exempt charitable trusts. Is the organization filing Form 990 in lieu of Form 1041'                                                              12a
      b   If "Yes," enter the amount of tax-exempt interest received or accrued during the year
                                                                                                                12b

 13       Section 501(c )( 29) qualified nonprofit health insurance issuers.


      a   Is the organization licensed to issue qualified health plans in more than one state7Note . See the instructions for
          additional information the organization must report on Schedule 0                                                                                                  13a
      b   Enter the amount of reserves the organization is required to maintain by the states in
          which the organization is licensed to issue qualified health plans                                    13b

      c   Enter the amount of reserves on hand      .                                                           13c

                                                                            JA375
 14a Did the organization receive any payments for indoor tanning services during the tax year?                          .           .                                       14a             No
      b   If "Yes," has it filed a Form 720 to report these payments7If "No," provide an explanation in Schedule 0 .                                                         14b
                                                                                                                                                                                   Form 990 (2016)
 Form 990 ( 2016)                                                                                                                                                                                                                                                                                               Page 6
ase:
 Kim=19-2005 CaseDocument:
         Governance   Management00117621824
                    , 1:14-cv-14176-ADB
                                 , and DisclosureFor    Page:
                                                 Document
                                                     each        388
                                                                 419-92
                                                          "Yes" response    Date
                                                                               Filed
                                                                         to lines    Filed: 7b07/29/2020
                                                                                       06/15/18
                                                                                  2 through            Page
                                                                                               below, and for a 7 ofEntry
                                                                                                                "No"  29 ID:
                                                                                                                     response      635638
                                                                                                                              to lines
                 8a, 8b, or IOb below, describe the circumstances, processes, or changes in Schedule 0 See instructions
                 Check if Schedule 0 contains a response or note to any line in this Part VI                                                             .           .               .            .               .           .                   .               .       .       .       .        .      .
   Section A. Governinci Bodv and Management
                                                                                                                                                                                                                                                                                                         Yes    No
   is Enter the number of voting members of the governing body at the end of the tax year
                                                                                                                                                                                     la                                                                                               5

           If there are material differences in voting rights among members of the governing
           body, or if the governing body delegated broad authority to an executive committee or
           similar committee, explain in Schedule 0
       b   Enter the number of voting members included in line la, above, who are independent
                                                                                                                                                                                     lb                                                                                               4
   2       Did any officer, director, trustee, or key employee have a family relationship or a business relationship with any other
           officer, director, trustee, or key employee? .     .  .   .   .   .   .   .   .    .                                                                                                                                                                                               2          Yes
   3       Did the organization delegate control over management duties customarily performed by or under the direct supervision
                                                                                                                                                                                                                                                                                              3                  No
           of officers, directors or trustees, or key employees to a management company or other person? .
   4       Did the organization make any significant changes to its governing documents since the prior Form 990 was filed?
             .                                                                                                                                                                                                                                                                                4                  No
   5       Did the organization become aware during the year of a significant diversion of the organization's assets?                                                                                                                                                                         5                  No
   6       Did the organization have members or stockholders?               .       .           .        .       .               .           .           .           .               .            .               .           .                   .                                           6          Yes
   7a Did the organization have members, stockholders, or other persons who had the power to elect or appoint one or more
      members of the governing body? .     .   .   .   .   .   .   .   .  .   .  .   .  .    .   .   .   .   .                                                                                                                                                                                7a         Yes
       b   Are any governance decisions of the organization reserved to (or subject to approval by) members, stockholders, or                                                                                                                                                                 7b                 No
           persons other than the governing body?                                                                         .
   8       Did the organization contemporaneously document the meetings held or written actions undertaken during the year by
           the following
    a      The governing body?     .   .   .   .   .   .    .   .       .       .           .        .       .               .           .           .           .               .            .               .           .                   .                                               8a         Yes
       b   Each committee with authority to act on behalf of the governing body?                                     .               .           .           .           .                .               .           .               .                   .           .                       8b         Yes
   9       Is there any officer, director, trustee, or key employee listed in Part VII, Section A, who cannot be reached at the
           organization's mailing address? If "Yes," provide the names and addresses in Schedule 0 .         .  .   .   .   .                                                                                                                                                                 9                  No
   Section B. Policies (This Section B requests Information about policies not required by the Internal Revenue Code.)
                                                                                                                                                                                                                                                                                                         Yes    No
  10a Did the organization have local chapters, branches, or affiliates?                             .                                                                                                                                                        .                           10a                    No
       b   If "Yes," did the organization have written policies and procedures governing the activities of such chapters, affiliates,
           and branches to ensure their operations are consistent with the organization's exempt purposes?                                                                                                                                                                                10b

  Ila Has the organization provided a complete copy of this Form 990 to all members of its governing body before filing the
      form? .                                                                                                          .                                                                                                                                                                  Ila            Yes
       b   Describe in Schedule 0 the process, if any, used by the organization to review this Form 990                                                                                                                           .
  12a Did the organization have a written conflict of interest policy? If "No,"go to line 13 .                                                                                                                                                        .                                   12a            Yes
       b   Were officers, directors, or trustees, and key employees required to disclose annually interests that could give rise to
           conflicts? .                                                                                                    .                                                                                                                                                              12b            Yes
    c      Did the organization regularly and consistently monitor and enforce compliance with the policy? If "Yes," describe in
           Schedule 0 how this was done .      .   .    .   .  .   .   .  .   .   .   .  .   .   .   .    .   .   .                                                                                                                                                                       12c            Yes
  13       Did the organization have a written whistleblower policy?                    .                                                                                                             .                                                                                       13         Yes
  14       Did the organization have a written document retention and destruction policy?                                                                                                                                                                                                     14         Yes
  15       Did the process for determining compensation of the following persons include a review and approval by independent
           persons, comparability data, and contemporaneous substantiation of the deliberation and decision?
    a      The organization's CEO, Executive Director, or top management official                                        .                                                                                                                .                                               15a            Yes
       b   Other officers or key employees of the organization      .                                                                                                        .                                                                                                            15b                    No
           If "Yes" to line 15a or 15b, describe the process in Schedule 0 (see instructions)
  16a Did the organization invest in, contribute assets to, or participate in a joint venture or similar arrangement with a
      taxable entity during the year? .                                                                                                                                                                                                                                       .           16a                    No
       b   If "Yes," did the organization follow a written policy or procedure requiring the organization to evaluate its participation
           in joint venture arrangements under applicable federal tax law, and take steps to safeguard the organization's exempt
           status with respect to such arrangements?
                                                                                                                                                                                                                                                                                          16b
   Section C. Disclosure
  17       List the States with which a copy of this Form 990 is required to be
                                                                                                                                         VA
  18       Section 6104 requires an organization to make its Form 1023 (or 1024 if applicable), 990, and 990-T (501(c)(3)s only)
           available for public inspection Indicate how you made these available Check all that apply
           ❑ Own website        ❑ Another's website        9 Upon request                           ❑ Other (explain in Schedule 0)
  19       Describe in Schedule 0 whether (and if so, how) the organization made its governing documents, conflict of interest

                                                                                            JA376
           policy, and financial statements available to the public during the tax year
 20        State the name, address, and telephone number of the person who possesses the organization's books and records
                       FISHER 922 Bent Creek Richmond,TX 77406 (281) 342-1932
                                                                                                                                                                                                                                                                                                       Form 990 (2016)
Form 990 (2016)                                                                                                                                                                                  Page 7
ase: 19-2005CaseDocument:    00117621824
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         Compensation of Officers,                  Page:
                                               Document
                                   Directors , Trustees, Key389
                                                            419-92 Date
                                                                     Filed
                                                             Employees     Filed: 07/29/2020
                                                                            06/15/18
                                                                       , Highest
                                                                                             8 ofEntry
                                                                                                  29 ID: 635638
                                                                                        PageEmployees,
                                                                                 Compensated
                    and Independent Contractors
                    Check if Schedule 0 contains a response or note to any line in this Part VII                            .   .    .   .   .      .       .     .   .   .     .    .   .   .     ❑
    Section A. Officers , Directors , Trustees , Key Employees, and Highest Compensated Employees
la Complete this table for all persons required to be listed Report compensation for the calendar year ending with or within the organization's tax
year
   • List all of the organization' s current officers, directors, trustees (whether individuals or organizations), regardless of amount
of compensation Enter -0- in columns (D), (E), and (F) if no compensation was paid
   • List all of the organization' s current key employees, if any See instructions for definition of "key employee
  • List the organization's five current highest compensated employees (other than an officer, director, trustee or key employee)
who received reportable compensation (Box 5 of Form W-2 and/or Box 7 of Form 1099-MISC) of more than $100,000 from the
organization and any related organizations
   • List all of the organization' s former officers, key employees, or highest compensated employees who received more than $100,000
of reportable compensation from the organization and any related organizations
  • List all of the organization' s former directors or trustees that received, in the capacity as a former director or trustee of the
organization, more than $10,000 of reportable compensation from the organization and any related organizations
List persons in the following order individual trustees or directors, institutional trustees, officers, key employees, highest
compensated employees, and former such persons
 ❑ Check this box if neither the organization nor any related organization compensated any current officer, director, or trustee
                             (A)                                                (B)                          (C)                         (D )                         ( E)                  (F)
                         Name and Title                                      Average           Position (do not check more            Reportable                   Reportable           Estimated
                                                                            hours per          than one box , unless person         compensation                compensation        amount of other
                                                                            week ( list           is both an officer and a             from the                  from related        compensation
                                                                            any hours                 director/ trustee)             organization               organizations            from the
                                                                           for related                                2 =            (W- 2/1099-                 ( W- 2/1099-       organization and
                                                                                                                           -n
                                                                          organizations            1
                                                                                                   _                                    MISC)                        MISC)                related
                                                                          below dotted                                                                                                organizations
                                                                               line)                        -
                                                                                                                    r. 0


                                                                                                                D

                                                                                                     I•                ^^




 (1) EDWARD J BLUM                                                                   15 00
 ......................................................................    """"""""'             X          X         X                      48,000                             0                      0
 President

(2) RICHARD FISHER                                                                     1 00
......................................................................      ................     X          X                                           0                       0                      0
Treasurer

 (3) ABIGAIL FISHER                                                                    1 00
 ......................................................................     ................     X          X                                           0                       0                      0
 Secretary

 (4) ED CHEN                                                                           1 00
 ......................................................................     ................     x                                                      0                       0                      0
 Director

 (5) JOE ZHOU                                                                          1 00
 ......................................................................     ................     x                                                      0                       0                      0
 Director




                                                                                                     JA377
                                                                                                                                                                                    Form 990 (2016)
 Form 990 (2016)                                                                                                                                               Page 8
ase: 19-2005     Document:
         Section A.
             Case                00117621824
                    Officers, Directors
                     1:14-cv-14176-ADB  , Trustees , Key Page:  390
                                                         Employees
                                                  Document                Date
                                                                            FiledFiled:
                                                                   , and Highest
                                                                419-92                  07/29/2020
                                                                                 Compensated
                                                                                  06/15/18    Page 9 ofEntry
                                                                                                          29 ID: 635638
                                                                                             Employees (continued)
                     (A)                            (B)                      (C)                             (D)                    (E)                      (F)
                 Name and Title                  Average       Position (do not check more               Reportable              Reportable              Estimated
                                                hours per      than one box, unless person             compensation            compensation          amount of other
                                                week (list        is both an officer and a                from the              from related          compensation
                                                any hours             director/trustee)               organization (W-       organizations (W-            from the
                                               for related                           2, = T            2/1099-MISC)            2/1099-MISC)          organization and
                                              organizations       1              I   ?,L                                                                   related
                                              below dotted                                                                                             organizations
                                                   line)                                         I,


                                                                   (_o                   D
                                                                   ,I!       _               t
                                                                   I•
                                                                             :




 lb Sub - Total .   .   .  .   .  . .   .   .  .   .   .  .              .       .   .       ^
  c Total from continuation sheets to Part VII, Section A .                                  ^
  d Total ( add lines lb and 1c )                                                            ^               48,000

 2     Total number of individuals (including but not limited to those listed above) who received more than $100,000
       of reportable compensation from the organization ^ 0

                                                                                                                                                                No
        Did the organization list any former officer, director or trustee, key employee, or highest compensated employee on
        line la? If "Yes," complete Schedule J for such individual .     .   .   .  .   .   .   .   .   .  .   .                                 3               No
       For any individual listed on line la, is the sum of reportable compensation and other compensation from the
       organization and related organizations greater than $150,000? If "Yes," complete Schedule J for such
       individual .    .   .    .   .   .    .    .  .   .   .   .   .   .   .  .   .  .   .   .   .  .   .   .   .                .             4               No
        Did any person listed on line la receive or accrue compensation from any unrelated organization or individual for
        services rendered to the organization?lf "Yes," complete Schedule J for such person .                                                    5               No
     Section B. Independent Contractors
 1     Complete this table for your five highest compensated independent contractors that received more than $100,000 of compensation
       from the organization Report compensation for the calendar year ending with or within the organization's tax year
                                                 (A)                                                                          (B)                           (C)
                                       Name and business address                                                    Description of services            Compensation
 Consovoy McCarthy PLLC                                                                                      Legal and etc                                   1,028,738

 3033 Wilson Blvd Suite 700
 Arlington, VA 22201
 Burns & Levinson                                                                                            Legal and etc                                    103,860

 125 Summer St
 Boston, MA 02110




                                                                             JA378
  2 Total number of independent contractors ( including but not limited to those listed above) who received more than $ 100,000 of
    compensation from the organization ^ 2
                                                                                                                                                     Form 990 (2016)
Form 990 (2016)                                                                                                                                                                                    Page
ase: 19-2005    Document:
          Statement
           Case             00117621824
                    of Revenue
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                                      Document 391    Date
                                                      FiledFiled: 07/29/2020
                                                            06/15/18            Entry
                                                                       Page 10 of 29 ID: 635638
                             Check if Schedule 0 contains a response or note to any line in this Part VIII                                                                                           ❑
                                                                                            (A)                                                                  (B)          (C)             (D)
                                                                                      Total revenue                                                           Related or   Unrelated        Revenue
                                                                                                                                                               exempt       business     excluded from
                                                                                                                                                               function     revenue    tax under sections
                                                                                                                                                               revenue                      512-514
                la Federated campaigns                                    .                      la

                    b Membership dues                     .                                      lb                               300

                    c Fundraising events .                                                       lc
          E
       a            d Related organizations                                                      id
                    e Government grants (contributions)                                          le

          A         I    All other contributions, gifts, grants,
 p                       and similar amounts not included
                                                                                                 if                          1,106,722
          61             above

       0            g Noncash contributions included
                      in lines la-1f $

 U o                h Total.Add lines la-1f                                                                                   ^               1,107,022
                                                                                                                              Business Code
               2a
     ti

                 b
                C

                d

                e
     M
                f All other program service revenue
     0
                gTotal.Add lines 2a-2f .                                                                  ^

               3 Investment income (including dividends, interest, and other
                 similar amounts) .                                         ^
               4 Income from investment of tax-exempt bond proceeds                                                                      ^
               5 Royalties         .      .   .               .               .         .   .    .        .    .         .               ^
                                                                                      (i) Real                 (ii) Personal
               6a Gross rents

                    b Less     rental expenses


                 c       Rental income or
                         (loss)

                 d Net rental income o r (loss)                                         .    .   .                                  ^
                                                                          (i) Securities                               (ii) Other
               7a Gross amount
                        from sales of
                        assets other
                        than inventory

                    b Less cost or
                         other basis and
                         sales expenses
                 C       Gain or (loss)
                 d Net gain or (loss)                 .                                                                             ^
               8a Gross income from fundraising events
  y               (not including $                 of
                        contributions reported on line 1c)
                        See Part IV, line 18 .    .   .    .                                          a

  cc                b Less direct expenses                            .                               b
                 c Net income or (loss) from fundraising ev ents .                                                                  ^
  w            9a Gross income from gaming activities
  0               See Part IV, line 19 .     .
                                                                                                      a
                    b Less direct expenses                            .                               b
                 c Net income or (loss) from gaming activit ies .                                                                   ^
               lOaGross sales of inventory, less
                   returns and allowances .      .
                                                                                                      a
                    b Less cost of goods sold                                     .                   b

                 c Net income or (loss) from sales of inventory                                                    .                ^
                                Miscellaneous Revenue                                                         Business Code
               I la



                    b



                 C



                 dAll other revenue               .               .
                 eTotal . Add lines 11a-11d                                                                                         ^

               12 Total revenue . See Instructions                                                                                  ^
                                                                                                                                         JA379
                                                                                                                                                  1,107,022
                                                                                                                                                                                        Form 990 (2016)
 Form 990 (2016)                                                                                                                                                                                                               Page 10
ase: 19-2005  Statement
                  Case Document:
                            of Functional00117621824
                          1:14-cv-14176-ADB  Expenses Document    Page:419-92
                                                                          392         Date
                                                                                       FiledFiled:     07/29/2020
                                                                                                06/15/18      Page 11 of  Entry
                                                                                                                           29 ID: 635638
 Section 501(c)(3) and 501(c)(4) organizations must complete all columns All other organizations must complete column (A)

                Check iF Schedule n contains a res V onse or note to                                                         , Y line in this Part IX   .    .     .    .     .       .   .   .    .    .    .   .     .   .     ❑
 Do not include amounts reported on lines 6b,                                                                                            (A)                     (B)                           (C)                       (D)
                                                                                                                                                            Program service               Management and
 7b, 8b , 9b, and 10b of Part VIII .                                                                                               Total expenses                                                                Fundraisingexpenses
                                                                                                                                                                 expenses                 general expenses
   1 Grants and other assistance to domestic organizations and
     domestic governments See Part IV, line 21
   2 Grants and other assistance to domestic individuals See Part
     IV, line 22

   3 Grants and other assistance to foreign organizations, foreign
     governments, and foreign individuals See Part IV, line 15
     and 16
   4 Benefits paid to or for members
   5 Compensation of current officers, directors, trustees, and                                                                                48,000                             0                    24,000                   24,000
     key employees   .            .

   6 Compensation not included above, to disqualified persons (as
     defined under section 4958(f)(1)) and persons described in
     section 4958(c)(3)(B)   .       .
   7 Other salaries and wages
   8 Pension plan accruals and contributions (include section 401
     (k) and 403(b) employer contributions) .
   9 Other employee benefits                             .                                           .
 10 Payroll taxes                        .                                                                           .
 11 Fees for services (non-employees)
   a Management                          .                                   .
      b Legal    .                                                                                                                          1,171,512                  1,171,512                             0                         0

   c Accounting                      .                                               .
   d Lobbying                .                                                                       .
   e Professional fundraising services See Part IV, line 17
   f Investment management fees                                          .                                       .
   g Other (If line 11g amount exceeds 10% of line 25, column
     (A) amount, list line 11g expenses on Schedule 0)
 12 Advertising and promotion                                    .                   .
 13       Office expenses                                                                                                                       1,557                             0                     1,557                          0

 14       Information technology                                                                                                               16,574                       16,574                           0                         0

 15 Royalties
 16 Occupancy
 17 Travel           .           .           .   .   .       .       .           .       .                                                     12,267                             0                          0                  12,267

 18 Payments of travel or entertainment expenses for any
    federal, state, or local public officials .
 19       Conferences, conventions, and meetings                                             .           .   .           .                     12,268                             0                          0                  12,268

 20 Interest             .                                                                       .
 21 Payments to affiliates
 22 Depreciation, depletion, and amortization
 23 Insurance                    .               .
 24 Other expenses Itemize expenses not covered above (List
    miscellaneous expenses in line 24e If line 24e amount
    exceeds 10% of line 25, column (A) amount, list line 24e
    expenses on Schedule 0
      a
      b
      c
      d
      e All other expenses
 25 Total functional expenses . Add lines 1 through 24e                                                                                     1,262,178                  1,188,086                       25,557                   48,535

 26 Joint costs . Complete this line only if the organization
    reported in column (B) joint costs from a combined
    educational campaign and fundraising solicitation
          Check here ^                       ❑ if following SOP 98-2 (ASC 958-720)
                                                                                                                                 JA380
                                                                                                                                                                                                                     Form 990 (2016)
Form 990 (2016)                                                                                                                                                                                                                                                                   Page 11
ase: 19-2005
         Balance
           Case  Document:
                 Sheet     00117621824
                  1:14-cv-14176-ADB      Page:419-92
                                     Document 393    Date
                                                     FiledFiled: 07/29/2020
                                                           06/15/18            Entry
                                                                      Page 12 of 29 ID: 635638
                Check if Schedule 0 contains a response or note to any line in this Part IX
                                                                                                                                                                                                                                             (A)                        (B)
                                                                                                                                                                                                                                      Beginning of year             End of year

        1       Cash-non-interest-bearing                           .                                                                                                                                                                               281,088    1                  125,932
        2       Savings and temporary cash investments                                                                                                                                                                                                         2
        3       Pledges and grants receivable, net                                                  .                                                                                                                                                         3
        4       Accounts receivable, net                .                   .       .                   .               .           .           .           .           .               .                   .                                                 4
        5       Loans and other receivables from current and former officers, directors,
                trustees, key employees, and highest compensated employees Complete Part                                                                                                                                                                      5
                II of Schedule L
        6       Loans and other receivables from other disqualified persons (as defined under
                section 4958(f)(1)), persons described in section 4958(c)(3)(B), and
                contributing employers and sponsoring organizations of section 501(c)(9)                                                                                                                                                                      6
                voluntary employees' beneficiary organizations (see instructions) Complete
                Part II of Schedule L
        7       Notes and loans receivable, net .                                                                                                                                                                                                             7
        8       Inventories for sale or use                     .                                                                                                                                                                                             8
        9       Prepaid expenses and deferred charges                                                                                                                                                                                                         9
       10a      Land, buildings, and equipment cost or other
                basis Complete Part VI of Schedule D                                                                                            10a

            b   Less accumulated depreciation                                                                                                   10b                                                                                                           10c
       11       Investments-publicly traded securities                                                              .                                                                                                                                         11
       12       Investments-other securities See Part IV, line 11                                                                                                                                                                                             12
       13       Investments-program-related See Part IV, line 11                                                                                            .                                                                                                 13
       14       Intangible assets       .           .       .                   .       .                   .               .           .           .           .           .               .                   .                                             14
       15       Other assets See Part IV, line 11                                               .                                                                                                                                                             15
       16       Total assets.Add lines 1 through 15 (must equal line 34)                                                                                                            .                                                               281,088   16                  125,932
       17       Accounts payable and accrued expenses                                                                                                                                                                                                         17
       18       Grants payable      .           .                                                                                                                                                                                                             18
       19       Deferred revenue            .                                                                                                                                                                                                                 19
       20       Tax-exempt bond liabilities                             .                                                                                                                                                                                     20
       21       Escrow or custodial account liability Complete Part IV of Schedule D                                                                                                                                                                          21
  A 22          Loans and other payables to current and former officers, directors, trustees,
  0             key employees, highest compensated employees, and disqualified
 cZ             persons Complete Part II of Schedule L                                                              .                                                                                                                                         22
       23       Secured mortgages and notes payable to unrelated third parties                                                                                                                                      .                                         23
       24       Unsecured notes and loans payable to unrelated third parties                                                                                                                        .                                                         24

       25       Other liabilities (including federal income tax, payables to related third parties,                                                                                                                                                           25
                and other liabilities not included on lines 17-24)
                Complete Part X of Schedule D
       26       Total liabilities .Add lines 17 through 25                                                                      .                                                                                                                         0   26                        0

                Organizations that follow SFAS 117 ( ASC 958 ), check here ^                                                                                                                                                    and
                complete lines 27 through 29, and lines 33 and 34.
       27       Unrestricted net assets                                                                                                                                                                                                             281,088   27                  125,932
       28       Temporarily restricted net assets                                           .                   .               .           .           .           .           .               .                   .                                         28
       29       Permanently restricted net assets                                                                                                                                                                                                             29
                Organizations that do not follow SFAS 117 (ASC 958),
 LL_
  0             check here ^ ❑ and complete lines 30 through 34.
       30       Capital stock or trust principal, or current funds                                                                                                                                                                                            30
 0     31       Paid-in or capital surplus, or land, building or equipment fund                                                                                                                         .               .   .                                 31
 s
 Q     32       Retained earnings, endowment, accumulated income, or other funds                                                                                                                                                                              32
       33       Total net assets or fund balances                                                                                                                       JA381                                                                       281,088   33                  125,932
 Z     34       Total liabilities and net assets/fund balances                                                                          .           .           .           .               .                   .                                   281,088   34                  125,932
                                                                                                                                                                                                                                                                     Form 990 (2016)
Form 990 (2016)                                                                                                                                                                                                                                                                                                                                               Page 12
        Reconcilliation
se: 19-2005Case Document:      Assets
                        of Net 00117621824
                  1:14-cv-14176-ADB      Document 394
                                             Page:419-92 Date
                                                         FiledFiled: 07/29/2020
                                                               06/15/18            Entry
                                                                          Page 13 of 29 ID: 63563
                Check if Schedule 0 contains a response or note to any line in this Part XI                                                                                                                               .                   .                   .                       .                   .       .   .   .    .   .   .    .    .    .       ❑


 1       Total revenue (must equal Part VIII, column (A), line 12)                                                    .               .               .               .               .               .               .                   .                   .                       .                   .                       1                       1,107,022
 2       Total expenses (must equal Part IX, column (A), line 25)                                                 .               .               .               .               .               .               .                   .                   .                       .                   .                           2                       1,262,178
 3       Revenue less expenses Subtract line 2 from line 1                                    .           .               .               .               .               .               .               .                   .                   .                       .                   .                                   3                       -155,156
 4       Net assets or fund balances at beginning of year (must equal Part X, line 33, column (A))                                                                                                                                                                    .                                                           4                           281,088
 5       Net unrealized gains (losses) on investments                             .       .           .           .               .               .               .               .               .               .                   .                   .                       .                   .                           5
 6       Donated services and use of facilities                   .                                                                                                                                                                                                                                                               6
 7       Investment expenses     .       .        .       .       .       .       .       .           .           .               .               .               .               .               .               .                   .                   .                       .                   .                           7
 8       Prior period adjustments    .        .       .       .       .       .       .           .           .               .               .               .               .               .               .                   .                   .                       .                   .               .               8
 9       Other changes in net assets or fund balances (explain in Schedule 0)                                                                                         .               .               .               .                   .                   .                                                                   9
 10      Net assets or fund balances at end of year Combine lines 3 through 9 (must equal Part X, line 33, column (B))                                                                                                                                                                                                            10                          125,932
                 Financial Statements and Reporting
                 Check if Schedule 0 contains a response or note to                                                                       line in this Part XII
                                                                                                                                                                                                                                                                                                                                                    Yes         N.

  1      Accounting method used to prepare the Form 990            ❑ Cash      2 Accrual     ❑ Other
         If the organization changed its method of accounting from a prior year or checked "Other," explain in
         Schedule 0




      JA382
  2a Were the organization's financial statements compiled or reviewed by an independent accountant?                                                                                                                                                                                                                                       2a                   No
         If'Yes,' check a box below to indicate whether the financial statements for the year were compiled or reviewed on a
         separate basis, consolidated basis, or both

           ❑ Separate basis                  ❑ Consolidated basis                                                 ❑ Both consolidated and separate basis

     b   Were the organization's financial statements audited by an independent accountant?                                                                                                                                                                                                                                                2b                   No
         If'Yes,' check a box below to indicate whether the financial statements for the year were audited on a separate basis,
         consolidated basis, or both

           ❑ Separate basis                  ❑ Consolidated basis                                                 ❑ Both consolidated and separate basis

     c   If "Yes," to line 2a or 2b, does the organization have a committee that assumes responsibility for oversight
         of the audit, review, or compilation of its financial statements and selection of an independent accountant?                                                                                                                                                                                                                      2c
         If the organization changed either its oversight process or selection process during the tax year, explain in Schedule 0


  3a As a result of a federal award, was the organization required to undergo an audit or audits as set forth in the Single
     Audit Act and OMB Circular A-133?                                                                                                                                                                                                                                                                                                     3a                   No
     b   If "Yes," did the organization undergo the required audit or audits? If the organization did not undergo the required
         audit or audits, explain why in Schedule 0 and describe any steps taken to undergo such audits                                                                                                                                                                                                                                    3b
                                                                                                                                                                                                                                                                                                                                                Form 990 (2016)
 Additional Data
              Document:
se: 19-2005Case          00117621824
                1:14-cv-14176-ADB  Document 395
                                       Page:419-92 Date
                                                   FiledFiled: 07/29/2020
                                                         06/15/18            Entry
                                                                    Page 14 of 29 ID: 63563
                                                           Software ID:      16000371
                                                    Software Version:
                                                                     EIN:   XX-XXXXXXX
                                                                  Name :    Students For Fair Admissions Inc




   JA383
Form 990 (2016)
Form 990 , Part III , Line 4a:
CORPORATION LITIGATED TWO LAWSUITS IN FEDERAL DISTRICT COURT AGAINST HARVARD UNIVERSITY AND THE UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL,
ALLEGING THAT THESE UNIVERSITIES ARE VIOLATING THE FOURTEENTH AMENDMENT AND TITLE VI OF THE CIVIL RIGHTS ACT OF 1964 BY ENGAGING IN RACIAL
DISCRIMINATION IN THEIR ADMISSIONS PROCESSES
l efile GRAPHIC p rint - DO NOT PROCESS                 I As Filed Data - I                                                  DLN: 93493318129457
ase: 19-2005Case
               Document:  00117621824
                 1:14-cv-14176-ADB      Page:419-92
                                    Document 396    Date
                                                    FiledFiled: 07/29/2020
                                                          06/15/18            Entry
                                                                     Page 15 of 29No ID:
                                                                              OMB         635638
                                                                                      1545-0047
SCHEDULE A                                 Public Charity Status and Public Support
(Form 990 or                           Complete if the organization is a section 501(c)(3) organization or a section
990EZ)                                                   4947( a)(1) nonexempt charitable trust.                                         2016
                                                          ^ Attach to Form 990 or Form 990-EZ.
Department of the Trea^un          10, Information about Schedule A (Form 990 or 990-EZ) and its instructions is at                     • '

Name of the organization                                                                                         Employer identification number
Students For Fair Admissions Inc
                                                                                                         X47-1689810
              Reason for Public Charity Status (All organizations must complete this part.) See instructions.
The organization is not a private foundation because it is (For lines 1 through 12, check only one box )
  1            A church, convention of churches, or association of churches described in section 170(b)(1)(A)(i).
  2            A school described in section 170 (b)(1)(A)(ii). (Attach Schedule E (Form 990 or 990-EZ))
  3            A hospital or a cooperative hospital service organization described in section 170(b )( 1)(A)(iii).
  4            A medical research organization operated in conjunction with a hospital described in section 170 (b)(1)(A)(iii). Enter the hospital's
               name. city. and state
  5            An organization operated for the benefit of a college or university owned or operated by a governmental unit described in section 170
               (b)(1)(A)(iv ). (Complete Part II )
  6            A federal, state, or local government or governmental unit described in section 170(b )( 1)(A)(v).
  7            An organization that normally receives a substantial part of its support from a governmental unit or from the general public described in
               section 170 ( b)(1)(A)(vi ). (Complete Part II )
  8            A community trust described in section 170 ( b)(1)(A)(vi ) (Complete Part II )
  9            An agricultural research organization described in 170 ( b)(1)(A)(ix ) operated in conjunction with a land-grant college or university or a
               non-land grant college of agriculture See instructions Enter the name, city, and state of the college or university

10      Q      An organization that normally receives (1) more than 331/3% of its support from contributions, membership fees, and gross receipts
               from activities related to its exempt functions-subject to certain exceptions, and (2) no more than 331/3% of its support from gross
               investment income and unrelated business taxable income (less section 511 tax) from businesses acquired by the organization after June
               30, 1975 See section 509 (a)(2). (Complete Part III )
11             An organization organized and operated exclusively to test for public safety See section 509(a)(4).
12             An organization organized and operated exclusively for the benefit of, to perform the functions of, or to carry out the purposes of one or
               more publicly supported organizations described in section 509(a)(1) or section 509(a )(2). See section 509(a )(3). Check the box
               in lines 12a through 12d that describes the type of supporting organization and complete lines 12e, 12f, and 12g
  a           Type I. A supporting organization operated, supervised, or controlled by its supported organization(s), typically by giving the supported
              organization(s) the power to regularly appoint or elect a majority of the directors or trustees of the supporting organization You must
              complete Part IV, Sections A and B.
  b           Type II. A supporting organization supervised or controlled in connection with its supported organization(s), by having control or
              management of the supporting organization vested in the same persons that control or manage the supported organization(s) You
              must complete Part IV, Sections A and C.
  c           Type III functionally integrated . A supporting organization operated in connection with, and functionally integrated with, its
              supported organization(s) (see instructions) You must complete Part IV, Sections A, D, and E.
  d           Type III non - functionally integrated . A supporting organization operated in connection with its supported organization(s) that is not
              functionally integrated The organization generally must satisfy a distribution requirement and an attentiveness requirement (see
              instructions) You must complete Part IV, Sections A and D, and Part V.
  e            Check this box if the organization received a written determination from the IRS that it is a Type I, Type II, Type III functionally
               integrated, or Type III non-functionally integrated supporting organization
  f    Enter the number of supported organizations
  g   Provide the following information about the supported organization(s)
 (i)Name of supported organization       (ii)EIN         (iii) Type of                  (iv)                             (v)                    (vi)
                                                         organization       Is the organization listed in            Amount of           Amount of other
                                                     (described on lines    your governing document?              monetary support         support (see
                                                      1- 10 above (see                                            (see instructions)       instructions)
                                                        instructions))



                                                                                      Yes              No




Tota                                                                     JA384
For Paperwork Reduction Act Notice , see the Instructions for                   Cat No 11285F                  Schedule A (Form 990 or 990-EZ) 2016
Form 990 or 990-EZ.
Schedule A (Form 990 or 990-EZ) 2016                                                                                                                                                                   Page 2
ase: 19-2005CaseDocument:
          Support          for00117621824
                  1:14-cv-14176-ADB
                  Schedule                       Page:in419-92
                               OrganizationsDocument
                                             Described  397
                                                         SectionsDate
                                                                 Filed Filed: 07/29/2020
                                                                        06/15/18
                                                                  170(b)(1)(A)(iv)  Page
                                                                                   and         Entry
                                                                                           16 of 29 ID: 635638
                                                                                       170(b)(1)(A)(vi)
                    (Complete only if you checked the box on line 5, 7, 8, or 9 of Part I or if the organization failed to qualify under Part
                    III. If the organization fails to qualify under the tests listed below, please complete Part III.)
    Section A. Public Su pp ort
                   Calendar year
                                                   (a)2012           (b)2013                                         (c)2014                          (d)2015                (e)2016              (f)Total
        (or fiscal year beginning in) ^
1      Gifts, grants, contributions, and
       membership fees received (Do not
       include any "unusual grant ')
2     Tax revenues levied for the
      organization's benefit and either paid
      to or expended on its behalf
3     The value of services or facilities
      furnished by a governmental unit to
      the organization without charge
4     Total . Add lines 1 through 3
5     The portion of total contributions by
      each person (other than a
      governmental unit or publicly
      supported organization) included on
       line 1 that exceeds 2% of the amount
      shown on line 11, column (f)
6      Public support . Subtract line 5 from
       line 4
     Section B. Total Su pp ort
                   Calendar year
                                                   (a)2012           (b)2013                                          (c)2014                         (d)2015                (e)2016              (f)Total
        (or fiscal year beginning in) ^
         Amounts from line 4
    {    Gross income from interest,
         dividends, payments received on
                                                                                                                                                                                                                0
         securities loans, rents, royalties and
         income from similar sources
         Net income from unrelated business
         activities, whether or not the
         business is regularly carried on
         Other income Do not include gain or
         loss from the sale of capital assets
         (Explain in Part VI )
         Total support . Add lines 7 through
         10
    r Gross receipts from related activities, etc (see instructions)                                                                                                         12
13       First five years . If the Form 990 is for the organization's first, second, third, fourth, or fifth tax year as a section 501(c)(3) organization,
         check this box and stop here     .   .   .   .   .   . . .   .   .   .   .   .   .   .   .   .   .   .   . . .   .   .   .   .   .   .   .    .   .   .   .   . . . .    .   .   . ^ ❑
    Section C . Computation of Public Support Percentage
14       Public support percentage for 2016 (line 6, column (f) divided by line 11, column (f))                                                                              14                              0 0/0
15       Public support percentage for 2015 Schedule A, Part II, line 14                                           15
16a 33 1/3% support test-2016 . If the organization did not check the box on line 13, and line 14 is 33 1/3% or more, check this box
         and stop here . The organization qualifies as a publicly supported organization                                                    ^ ❑
     b    33 1 / 3% support test-2015 . If the organization did not check a box on line 13 or 16a, and line 15 is 33 1/3% or more, check this
      box and stop here . The organization qualifies as a publicly supported organization                                                                                                         ^ ❑
17a 10 %- facts - and-circumstances test-2016 . If the organization did not check a box on line 13, 16a, or 16b, and line 14
    is 10% or more, and if the organization meets the "facts-and-circumstances" test, check this box and stop here . Explain
    in Part VI how the organization meets the "facts-and-circumstances" test The organization qualifies as a publicly supported
         organization                                                                                                                                                                               ^ ❑
     b    10%-facts-and-circumstances test-2015 . If the organization did not check a box on line 13, 16a, 16b, or 17a, and line
          15 is 10% or more, and if the organization meets the "facts-and-circumstances" test, check this box and stop here.
          Explain in Part VI how the organization meets the "facts-and-circumstances" test The organization qualifies as a publicly
                                                                                                                                                                                                    ^ ❑
                                                                                                  JA385
          supported organization
18       Private foundation . If the organization did not check a box on line 13, 16a, 16b, 17a, or 17b, check this box and see
         instructions                                                                                                                                                                               ^ ❑
Schedule A (Form 990 or 990-EZ) 2016                                                                                                                           Page 3
ase:
INOMW19-2005CaseDocument:
                    Schedule 00117621824
                  1:14-cv-14176-ADB
            Support                              Page:419-92
                                           Document
                             for Organizations Described398      Date
                                                                  Filed
                                                         in Section     Filed: 07/29/2020
                                                                         06/15/18
                                                                    509(a)(2)                Entry
                                                                                    Page 17 of 29 ID: 635638
               (Complete only if you checked the box on line 10 of Part I or if the organization failed to qualify under Part II. If
               the organization fails to qualify under the tests listed below, please complete Part II.)
  Section A. Public Su pp ort
                     Calendar year                      ( a)2012           ( b)2013           (c)2014            ( d)2015           ( e)2016             ( f)Total
          (or fiscal year beginning in) ^
  1        Gifts , grants , contributions, and
           membership fees received ( Do not                                                                           826,234             1,107,022         1,933,256
           include any " unusual grants ")
  2        Gross receipts from admissions,
           merchandise sold or services
           performed , or facilities furnished in
           any activity that is related to the
           organization ' s tax-exempt purpose

  3       Gross receipts from activities that
          are not an unrelated trade or
          business under section 513

  4       Tax revenues levied for the
          organization's benefit and either paid
          to or expended on its behalf
  5       The value of services or facilities
          furnished by a governmental unit to
          the organization without charge
 6        Total . Add lines 1 through 5                                                                                826 ,234            1,107,022         1,933,256
 7a       Amounts included on lines 1, 2, and
          3 received from disqualified persons

      b   Amounts included on lines 2 and 3
          received from other than disqualified
          persons that exceed the greater of
          $5,000 or 1 % of the amount on line
          13 for the year
      c   Add lines 7a and 7b
  8       Public support . ( Subtract line 7c
                                                                                                                                                             1,933,256
          from line 6
  Section B. Total Support
                     Calendar year
                                                        (a)2012             ( b)2013           (c)2014            (d)2015            (e)2016            ( f)Total
          (or fiscal year beginning in) ^
  9         Amounts from line 6                                                                                         826,234          1,107,022           1,933,256
10a         Gross income from interest,
            dividends, payments received on
            securities loans, rents, royalties and
            income from similar sources
   b        Unrelated business taxable income
            (less section 511 taxes) from
            businesses acquired after June 30,
            1975
  c         Add lines 10a and 10b
 11         Net income from unrelated business
            activities not included in line 10b,
            whether or not the business is
            regularly carried on
 12         Other income Do not include gain
            or loss from the sale of capital
            assets (Explain in Part VI )
 13         Total support. (Add lines 9, 10c,
                                                                                                                                                             1,933,256
            11, and 12)
14         First five years . If the Form 990 is for the organization 's first, second, third, fourth, or fifth tax year as a section 501(c)( 3) organization,
           check this box and stoD here                                                                                                                      ^ 2
  Section C . Com p utation of Public Su pp ort Percenta g e
15         Public support percentage for 2016 (line 8, column (f) divided by line 13, column (f))                                     15                             0 0/0
16         Public support percentage from 2015 Schedule A, Part III, line 15                                                          16
  Section D. Com p utation of Investment Income Percenta g e
17         Investment income percentage for 2016 (line 10c, column (f) divided by line 13, column (f))                                17                             0 %
18         Investment income percentage from 2015 Schedule A, Part III, line 17                                                       18
 19a 331 / 3% support tests-2016 . If the organization did not check the box on line 14, and line 15 is more than 33 1/3%, and line 17 is not
       more than 33 1/3%, check this box and stop here. The organization qualifies as a publicly supported organization                ^ ❑
      b 33 1 / 3% support tests-2015 . If the organization did not check a box on line 14 or line 19a, and line 16 is more than 33 1/3% and line 18 is
                                                                              JA386
           not more than 33 1/3%, check this box and stop here . The organization qualifies as a publicly supported organization                       ^ ❑
20         Private foundation . If the organization did not check a box on line 14, 19a, or 19b, check this box and see instructions                    ^ ❑
Schedule A (Form 990 or 990-EZ) 2016                                                                                                                   Page 4
ase: 19-2005CaseDocument:    00117621824
                  1:14-cv-14176-ADB
         Supporting Organizations          Page:419-92
                                       Document 399    Date
                                                       FiledFiled: 07/29/2020
                                                             06/15/18            Entry
                                                                        Page 18 of 29 ID: 635638
                (Complete only if you checked a box on line 12 of Part I If you checked 12a of Part I, complete Sections A and B If you checked 12b of
                Part I, complete Sections A and C If you checked 12c of Part I, complete Sections A, D, and E If you checked 12d of Part I, complete
                Sections A and D, and complete Part V
     Section A. All SuoDortina Oraanizations
                                                                                                                                                 Yes     No
 1       Are all of the organization's supported organizations listed by name in the organization's governing documents?
         If "No, " describe in Part VI how the supported organizations are designated If designated by class or purpose,
         describe the designation If historic and continuing relationship, explain

 2       Did the organization have any supported organization that does not have an IRS determination of status under section 509
         (a)(1) or (2)? If "Yes, " explain in Part VI how the organization determined that the supported organization was described
         in section 509(a)(1) or (2)                                                                                                        2

 3a      Did the organization have a supported organization described in section 501(c)(4), (5), or (6)7 If "Yes," answer (b) and (c)
         below
                                                                                                                                           3a
     b   Did the organization confirm that each supported organization qualified under section 501(c)(4), (5), or (6) and satisfied
         the public support tests under section 509(a)(2)? If "Yes," describe in Part VI when and how the organization made the
         determination
                                                                                                                                           3b
     c   Did the organization ensure that all support to such organizations was used exclusively for section 170(c)(2)(B) purposes?
         If " Yes, " explain in Part VI what controls the organization put in place to ensure such use
                                                                                                                                           3c
 4a      Was any supported organization not organized in the United States ("foreign supported organization")? If "Yes" and if you
         checked 12a or 12b in Part I, answer (b) and (c) below
                                                                                                                                           4a
     b   Did the organization have ultimate control and discretion in deciding whether to make grants to the foreign supported
         organization? If "Yes, " describe in Part VI how the organization had such control and discretion despite being controlled or
                                                                                                                                           4b
         su p ervised b y or in connection with its su pp orted org anizations
     c   Did the organization support any foreign supported organization that does not have an IRS determination under sections
         501(c)(3) and 509(a)(1) or (2)7 If "Yes, " explain in Part VI what controls the organization used to ensure that all support
         to the foreign supported organization was used exclusively for section 170(c)(2)(8) purposes
                                                                                                                                           4c
 5a      Did the organization add, substitute, or remove any supported organizations during the tax year? If "Yes," answer (b) and
         (c) below (if applicable) Also, provide detail in Part VI, including (I) the names and EIN numbers of the supported
         organizations added, substituted, or removed, (u) the reasons for each such action, (Ili) the authority under the
         organization ' s organizing document authorizing such action, and (iv) how the action was accomplished (such as by
                                                                                                                                           5a
         amendment to the org anizin g document)
     b   Type I or Type II only . Was any added or substituted supported organization part of a class already designated in the
         organization's organizing document?                                                                                               5b
     c   Substitutions only. Was the substitution the result of an event beyond the organization's control?                                5c
 6       Did the organization provide support (whether in the form of grants or the provision of services or facilities) to anyone other
         than (i) its supported organizations, (ii) individuals that are part of the charitable class benefited by one or more of its
         supported organizations, or (iii) other supporting organizations that also support or benefit one or more of the filing
         organization ' s supported organizations? If " Yes, " provide detail in Part VI.                                                   6

 7       Did the organization provide a grant, loan, compensation, or other similar payment to a substantial contributor (defined in
         section 4958(c)(3)(C)), a family member of a substantial contributor, or a 35% controlled entity with regard to a
         substantial contributor? If "Yes, " complete Part I of Schedule L (Form 990 or 990-EZ)                                             7

 8       Did the organization make a loan to a disqualified person (as defined in section 4958) not described in line 77 If "Yes,"
         complete Part I of Schedule L (Form 990 or 990-EZ)                                                                                 8

 9a      Was the organization controlled directly or indirectly at any time during the tax year by one or more disqualified persons as
         defined in section 4946 (other than foundation managers and organizations described in section 509(a)(1) or (2))' If "Yes,"
         provide detail in Part VI.                                                                                                        9a

     b   Did one or more disqualified persons (as defined in line 9a) hold a controlling interest in any entity in which the supporting
         organization had an interest? If "Yes, " provide detail in Part VI.                                                               9b

     c   Did a disqualified person (as defined in line 9a) have an ownership interest in, or derive any personal benefit from, assets in
         which the supporting organization also had an interest? If " Yes, " provide detail in Part VI.                                    9c

10a      Was the organization subject to the excess business holdings rules of section 4943 because of section 4943(f) (regarding
         certain Type II supporting organizations, and all Type III non-functionally integrated supporting organizations)? If "Yes,"
         answer line IOb below
                                                                                                                                           10a
     b                                                                   JA387
         Did the organization have any excess business holdings in the tax year? (Use Schedule C, Form 4720, to determine whether
         the organization had excess business holdings)
                                                                                                                                           10b
Schedule A (Form 990 or 990-EZ) 2016                                                                                                                 Page 5
ase: 19-2005Case Document:
         Supporting           00117621824
                   1:14-cv-14176-ADB
                    Organizations                Page:419-92
                                  (continued)Document 400    Date
                                                             FiledFiled: 07/29/2020
                                                                   06/15/18            Entry
                                                                              Page 19 of 29 ID: 635638
                                                                                                                                                       No
 11          Has the organization accepted a gift or contribution from any of the following persons?
     a       A person who directly or indirectly controls, either alone or together with persons described in (b) and (c) below, the
             governing body of a supported organization?

     b       A family member of a person described in (a) above?
     c       A 35% controlled entity of a person described in (a) or (b) above? If "Yes" to a, b, or c, provide detail in Part VI

     Section B. Type I Supporting Organizations
                                                                                                                                                       No
             Did the directors, trustees, or membership of one or more supported organizations have the power to regularly appoint or
             elect at least a majority of the organization's directors or trustees at all times during the tax year? If "No, " describe in Part
             VI how the supported organization(s) effectively operated, supervised, or controlled the organization's activities If the
             organization had more than one supported organization, describe how the powers to appoint and/or remove directors or
             trustees were allocated among the supported organizations and what conditions or restrictions, if any, applied to such
             powers during the tax year

             Did the organization operate for the benefit of any supported organization other than the supported organization(s) that
             operated, supervised, or controlled the supporting organization? If "Yes, " explain in Part VI how providing such benefit
             carried out the purposes of the supported organization(s) that operated, supervised or controlled the supporting
             organization


     Section C. Type II Supporting Organizations
                                                                                                                                                       No
             Were a majority of the organization's directors or trustees during the tax year also a majority of the directors or trustees of
             each of the organization's supported organization(s)? If "No, " describe in Part VI how control or management of the
             supporting organization was vested in the same persons that controlled or managed the supported organization(s)




     Section D. All Type III Supporting Organizations
                                                                                                                                                       No
             Did the organization provide to each of its supported organizations, by the last day of the fifth month of the organization's
             tax year, (i) a written notice describing the type and amount of support provided during the prior tax year, (ii) a copy of the
             Form 990 that was most recently filed as of the date of notification, and (iii) copies of the organization's governing
             documents in effect on the date of notification, to the extent not previously provided?


             Were any of the organization's officers, directors, or trustees either (i) appointed or elected by the supported organization
             (s) or (ii) serving on the governing body of a supported organization? If "No," explain in Part VI how the organization
             maintained a close and continuous working relationship with the supported organization(s)


             By reason of the relationship described in (2), did the organization's supported organizations have a significant voice in the
             organization's investment policies and in directing the use of the organization's income or assets at all times during the tax
             year? If "Yes," describe in Part VI the role the organization's supported organizations played in this regard


     Section E . Type III Functionally - Integrated Supporting Organizations
 1           Check the box next to the method that the organization used to satisfy the Integral Part Test during the year ( see instructions)
         a          The organization satisfied the Activities Test Complete line 2 below
         b          The organization is the parent of each of its supported organizations Complete line 3 below

         c          The organization supported a governmental entity Describe in Part VI how you supported a government entity (see instructions)


             Activities Test    Answer ( a) and ( b) below.                                                                                       Yes I No
         a Did substantially all of the organization's activities during the tax year directly further the exempt purposes of the
           supported organization(s) to which the organization was responsive? If "Yes," then in Part VI identify those supported
           organizations and explain how these activities directly furthered their exempt purposes, how the organization was
           responsive to those supported organizations, and how the organization determined that these activities constituted
           substantially all of its activities
         b Did the activities described in (a) constitute activities that, but for the organization's involvement, one or more of the
           organization's supported organization (s) would have been engaged in? If "Yes," explain in Part VI the reasons for the
           organization's position that its supported organization(s) would have engaged in these activities but for the organization's
           involvement

             Parent of Supported Organizations          Answer ( a) and ( b) below.
         a Did the organization have the power to regularly appoint or elect a majority of the officers, directors, or trustees of each of
           the supported organizations? Provide details in Part VI.

                                                                               JA388
         b Did the organization exercise a substantial degree of direction over the policies, programs and activities of each of its
           supported organizations? If "Yes," describe in Part VI. the role played by the organization in this regard

                                                                                                                      Schedule A (Form 990 or 990-EZ) 2016
Schedule A (Form 990 or 990-EZ) 2016                                                                                                                     Page 6
ase:
nj^  19-2005
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  1           Check here if the organization satisfied the Integral Part Test as a qualifying trust on Nov 20, 1970 See instructions . All other
              Type III non-functionally integrated supporting organizations must complete Sections A through E

        Section A - Adjusted Net Income                                                                        (A) Prior Year            (B) Current Year
                                                                                                                                            (optional)
  1     Net short-term capital gain                                                                 1
  2     Recoveries of prior-year distributions                                                      2
  3     Other gross income (see instructions)                                                       3
  4     Add lines 1 through 3                                                                       4
  5     Depreciation and depletion                                                                  5
  6     Portion of operating expenses paid or incurred for production or collection of gross        6
        income or for management, conservation, or maintenance of property held for
        production of income (see instructions)
  7     Other expenses (see instructions)                                                           7
  8     Adjusted Net Income (subtract lines 5, 6 and 7 from line 4)                                 8



        Section B - Minimum Asset Amount                                                                       (A) Prior Year            (B) Current Year
                                                                                                                                            (optional)
  1     Aggregate fair market value of all non-exempt-use assets (see instructions for short
        tax year or assets held for part of year)                                                   1
      a Average monthly value of securities                                                        la
      b Average monthly cash balances                                                              lb
      c Fair market value of other non-exempt-use assets                                           Ic
      d Total (add lines la, 1b, and 1c)                                                           id
      e Discount claimed for blockage or other factors
        (explain in detail in Part VI)
  2     Acquisition indebtedness applicable to non-exempt use assets                                2
  3     Subtract line 2 from line ld                                                                3
  4     Cash deemed held for exempt use Enter 1-1/2% of line 3 (for greater amount, see
        instructions)                                                                               4
  5     Net value of non-exempt-use assets (subtract line 4 from line 3)                            5
  6     Multiply line 5 by 035                                                                      6
  7     Recoveries of prior-year distributions                                                      7
  8     Minimum Asset Amount (add line 7 to line 6)                                                 8



        Section C - Distributable Amount                                                                                                  Current Year
  1     Adjusted net income for prior year (from Section A, line 8, Column A)                       1
  2     Enter 85% of line 1                                                                         2
  3     Minimum asset amount for prior year (from Section B, line 8, Column A)                      3
  4     Enter greater of line 2 or line 3                                                           4
  5     Income tax imposed in prior year                                                            5
  6     Distributable Amount . Subtract line 5 from line 4, unless subject to emergency             6

                                                                         JA389
        temporary reduction (see instructions)
  7      R    Check here if the current year is the organization's first as a non-functionally-in tegrat ed Type III supporting org anization (see
              instructions)
                                                                                                                SChPd uIe A (Fnrm 990 nr 990-F7) 707 s
Schedule A (Form 990 or 990-EZ) 2016                                                                                                             Page
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                                                                                 (continued)   29 ID: 635638
 Section D - Distributions                                                                                                        Current Year

  1      Amounts paid to supported organizations to accomplish exempt purposes

 2       Amounts paid to perform activity that directly furthers exempt purposes of supported organizations, in
         excess of income from activity

 3       Administrative expenses paid to accomplish exempt purposes of supported organizations

 4       Amounts paid to acquire exempt-use assets

 5       Qualified set-aside amounts (prior IRS approval required)

 6       Other distributions (describe in Part VI) See instructions

 7 Total annual distributions . Add lines 1 through 6

 8       Distributions to attentive supported organizations to which the organization is responsive (provide
         details in Part VI) See instructions

 9        Distributable amount for 2016 from Section C, line 6

 10 Line 8 amount divided by Line 9 amount

                                                                                                            (ii)                        (iii)
          Section E - Distribution Allocations (see                            M                    Underdistributions             Distributable
                        instructions)                                 Excess Distributions
                                                                                                         Pre-2016                Amount for 2016
  1 Distributable amount for 2016 from Section C, line
    6
 2 Underdistributions, if any, for years prior to 2016
   (reasonable cause required--see instructions)
 3 Excess distributions carryover, if any, to 2016
     a
     b
     c    From 2013.
     d    From 2014.
     e    From 2015.
     f Total of lines 3a through e
     g    Applied to underdistributions of prior years
     h    Applied to 2016 distributable amount
     i   Carryover from 2011 not applied (see
         instructions)
  j Remainder Subtract lines 3g, 3h, and 3i from 3f
 4 Distributions for 2016 from Section D, line 7

     a Applied to underdistributions of prior years
     b Applied to 2016 distributable amount

     c Remainder Subtract lines 4a and 4b from 4
 5        Remaining underdistributions for years prior to
          2016, if any Subtract lines 3g and 4a from line 2
         (if amount greater than zero, see instructions)
 6        Remaining underdistributions for 2016 Subtract
         lines 3h and 4b from line 1 (if amount greater than
         zero, see instructions)
 7        Excess distributions carryover to 2017 . Add lines
         3j and 4c
 8       Breakdown of line 7
     a
     b    Excess from 2013.    .   .   .   .   .   .

     c    Excess from 2014.
     d    Excess from 2015.    .   .   .   .   .   .

     e    Excess from 2016.    .   .   .   .   .   .                     JA390
                                                                                                               Schedule A (Form 990 or 990 -EZ) (2016)
Schedule A (Form 990 or 990-EZ) 2016                                                                                              Page 8
         Supplemental
se: 19-2005Case       Information.
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             Provide the explanations required by Part II, line 10; Part II, line 17a or 17b; Part III, line 12; Part IV, Section A,
             lines 1, 2, 3b, 3c, 4b, 4c, 5a, 6, 9a, 9b, 9c, 11a, 11b, and 11c; Part IV, Section B, lines 1 and 2; Part IV, Section C,
             line 1; Part IV, Section D, lines 2 and 3; Part IV, Section E, lines 1c, 2a, 2b, 3a and 3b; Part V, line 1; Part V,
             Section B, line le; Part V Section D, lines 5, 6, and 8; and Part V, Section E, lines 2, 5, and 6. Also complete this
             part for any additional information. (See instructions).




   JA391
                                                     Facts And Circumstances Test
l efile GRAPHIC p rint - DO NOT PROCESS                  I As Filed Data - I                                          DLN: 93493318129457
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SCHEDULECase0     Supplemental Information  to Form  990  or 990-EZ
(Form 990 or 990-                      Complete to provide information for responses to specific questions on
                                            Form 990 or 990 -EZ or to provide any additional information.                   2016
EZ)
                                                         ^ Attach to Form 990 or 990-EZ.
                                   ^ Information about Schedule 0 (Form 990 or 990 - EZ) and its instructions is at          • '
Department of the                                             www.irs.gov/form990.
Name of the organization                                                                                     Employer identification number
Students For Fair Admissions Inc
                                                                                                             XX-XXXXXXX
990 Schedule 0, Supplemental Information




    JA392
     Return                                                                     Explanation
   Reference
  Pt VI, Line       Form 990 was distributed to all directors and officers and to legal counsel for review
  11b
990 Schedule 0, Supplemental Information
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  Reference




   JA393
 Pt VI, Line 2   Officer Richard Fisher is the father of officer , Abigail Fisher
990 Schedule 0, Supplemental Information
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  Reference
 Pt VI, Line   Legal council requires written executed annual conflict of interest responses




   JA394
 12c
990 Schedule 0, Supplemental Information
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    Return                                                    Explanation
  Reference




   JA395
 Pt VI, Line 7a   Members can elect Member-Elected Director
990 Schedule 0, Supplemental Information
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  Reference




   JA396
 Pt VI, Line 6   Organization has 5 officers and 20,000+ members
990 Schedule 0, Supplemental Information
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    Return                                                             Explanation
  Reference
 Pt VI, Line   Organization paid compensation to only one official in 2016 The compensation was approved




   JA397
 15a           by the disinterested directors after review of the compensation package and information o
               n comparables for similar organizations
990 Schedule 0, Supplemental Information
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  Reference
 Pt VI, Line   Organization paid compensation to only one official




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 15b
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                           EXHIBIT 237




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               I
           I   i                                                AT      A    MEETING            OF    THE


                                 BOARD              OF    OVERSEERS                      OF     HARVARD                   COLLEGE

                                                       IN CAMBRIDGE,                 January            ll,        192    6.




                        Mr. James presented                    the :~e1,ort         ot    the    Special           Cornmittee        .
               on the Limi tr.ti on af the                     Size     cf    the    F'resnme.n Cltos,                and uf't,;,r
               debf.te       thereoo,         the     E'.o!.rd voted         to accept          !b-id         re,_.ort,   un;J to

               adopt      the     following           reoommendetions:
                              1., That,        during       the       next     three ;y-ears, _:!.9~'5-27 to
                       1928-29,         the    limit      of 1,000           freshmen .sh1Jll include
                       dropped f'reahmea. 6-S well f.B                       those   ne\"i·ly ~chd tted to
                       the College and En£;.inecrlnJ                         School.,. ;)Ut, not LhfJ'.'!'e-
                       a 1~trr, st ..Ve> ~:1..                      ·1 o ..r t ·ne t;OV•;rrnn
                                           • th. t -ti(i. r;;_pp-rcv£.             ,.       · .. LOtr~·1s.
                                                                                                 •. ·  '

                              2. That the appliastlon      0f th~ rule o~ncerning
                       Ci:rneI!date.s fr.om the n r: t sevfm th of th f'i r $C::oo1 be
                       disoreti ,.::nury, both ,';;S to schools  ~,rd c::,rHitbtcs, \:'::it
                       the    Commit1tee        ~:n Ad!l"J.al:1oti.
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                       be £-;inended to         lay      g:re~_t,1;;;1"smphr:sifl         'JU   sfdectlun    hfased
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                                Strictly Confidential until all Boards
                                and Faculties concerned have acted
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                                 REPORT OF THE SPECIAL COMMITTEE APPOINTED
                                   TO CONSIDER THE LIMITATION OF NUMBERS

                                To   THE   BOARD   OF OVERSEERS          OF HARVARD   CoLLEGE:-

                                   The purpose of this report is to present facts bearing upon dif-
                                ferent aspects of the question of numbers in the College and to
                                offer certain conclusions for the consideration of the Overseers.
                                   It will be recalled that a provisional limitation was sanctioned
                                by the Overseers, by the following action on February 25, 1924:
                                        Voted -That the Board give it'l consent to the vote of the Presi-
                                     dent and Fellows which defines a limit of size for the Freshman Class
                                     "for the present," with the understanding that this limitation· is
                                     temporary in its nature and will be reconsidered at the earliest possi-
                                     ble time.
                                  At the same time the Board created this Special Committee to
                                report-
                                       . . . on numbers in relation to equipment, personnel, standards,
                                     and the scope and function of the College.
                                   Thus the vote establishing a limit of 1,000 "for the present"
                                was precautionary. During the few years following the War and
                                preceding the vote, numbers had been increasing with unparalleled
                                rapidity. They had already begun to cause difficulties. There-
                                fore, although Freshman enrollments had not yet reached the
                                limit that was chosen, it was feared that they might soon pass
                                it and that the College would not be able to stand the strain.
                                Being conceived as precautionary the limitation was considered by
                                all to be expedient, and it was adopted without long discussion.
                                But it was understood that the subject would be canvassed more
                                fully.
                                                                     I
                                 Since the limit of 1,000 was established, two Freshman classes
                               have come to Cambridge. The limit set "for the present" has
                               about been reached.
                                 The general rate of growth which has, but for the war-time,
                               prevailed for Harvard College during more than 50 years, and
                               which is shown in Tables 1 and 5, is so nearly constant that it




                                                   JA401
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         looks like a normal which' it would bk unrea'sonable ti6t t6 con-           the entry of a new class at the close of each lecture stops the ques-
         sider in making estimates or forecasts. The recent noticeable               tion-and-conference episode which normally follows each lecture
         augmentation of college enrollment throughout the country is                and may last for from 15 minutes -to as much as an hour, if the
         even greater and looks as if our own normal would be borne up-              lecturer can remain in the room with the students who 'gather
        ward rather than depressed by the tendencies in the country at               about his desk to question him. The economical remedy might·
        large. (See Table 2.) The curves would lead one to expect that               be to provide small conference rooms next to lecture rooms. At
        the number of qualified applicants for admission to the College              present, however, there are almost none such, except in Sever
        may considerably exceed 1,000 in few years unless some limita-
                                                a                                    Hall, where a few are conveniently placed. These few are regularly
        tion is enforced.                                                            used for conferences. If there is no available place in or close to
           Hitherto Harvard has always taken care of as many qualified               the lecture room for a student to remain and confer with the pro-
        students as the community wanted to send here. Now, however,                 fessor after a class meeting, he must seek the professor later in
        we are asking the question whether we are not subjecting ourselves           the Widener Library or at his house - which means, in most
        to a strain which will impair the quality of our work, whether we            cases, that he does not consult him. We believe that the after-
        can go on, and if not, then what rate of growth we can permit our-           lecture conference is a most important item in the curriculum, and
        selves, or at what point we must assign a stopping place. -It is             that it ought to be provided for. Moreover, the need of rooms for
        obvious that we are considering a very important question of                 tutorial conferences is a serious one which requires to be met.
        policy.                                                                         The foregoing facts and figures suggest the following conclusions:
                                         II                                             Space and physical equipment, if they were the only bar to the
                                                                                     admission of numbers, could perhaps be provided if money could
           Equipment, physical and financial, has been pointed to as a               be found; but the last 20 years' experience indicates that it is
        limiting factor. Data in Table 3 bear on this, and indicate the              not easy to obtain money for laboratories and lecture rooms
        situation 20 years ago as compared with that in 1924-25.                     promptly. Although it is true that in many ways, and on the




JA402
           The situation with respect to lecture rooms is further elucidated         whole, Harvard's physical and financial equipment is better
        by the analysis of the state of things at the opening of the current         adapted to the education of the present student body than its
        year, 1925-26, which will be found in Table 4.                              equipment of 20 years ago was to the tasks of that day, we believe
           To illustrate some of the limitations now imposed by condi-              that, before more students can ·be accommodated, more lecture
        tions which are beyond the Faculty's control by reason of the               rooms, laboratories, and dormitories must be provided. The
        shortage of rooms for class meetings and the difficulty of lecturing        housing situation in Cambridge requires the last, and we conceive
        effe_ctivelyto very large classes, it will be sufficient to cite the        that more biological laboratories especially are essential. Addi-
        following instances of forced limitation:                                   tional_ lecture rooms, tutorial and conference rooms will also be
            English 41, History of English Literature; limited to 300.              required.                                  _
            Biology 1, Life and its Environment; limited to 300.                       It appears at first sight that a good deal of lecture space is per-
            Geology 41, Introduction t_oGeology; limited to 300.                    force vacant in the afternoon. The reason is that experience has
            Meteorology 11, Elementary Meteorology; limited to 100.                 seemed to show that the afternoon is best fitted for laboratory
            Psychology 11,Introduction to Experimental Psychology; limited to       work, which requires continuous meetings of two hours or more.
                80.
                                                                                    Only a few advanced courses meet in the evening: Whether a
    All these are courses fundamental to their subjects; and naturally              reorganization of the tabular view would relieve the situation has
    they are desired by students concentrating in other fields. Prac-           j   not been made evident. The question has been studied by the
    tically all Freshmen have been excluded from Biology 1 this year.               Faculty, which - to date - has not thought reorganization wrse
       From the educational point of view an uninterrupted use of                   or practicable; but further attention to the problem appears de-
    lecture rooms is not economical. Large lecture halls cannot empty               sirable to this Committee;
    and refill immediately without curtailing the lecture periods; an:d
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                                         4
                                                                                                                    5

                                        III                                         improved facilities of a more or less social order, such as the Har-
           Teaching-personnel, standards, and function can hardly be dis-           vard Union, the reading-rooms in the Library, and others. The
         cussed separately.                                                         most striking evidence that these changes are combining toward
           Educational methods and college policies are always changing.            one good effect is the way in which the number of students who
        In the last 20 years the emphasii, at Harvard has shifted from the          graduate with distinction has been rising. In the period between
        course as the unit of instruction to the individual as the unit, and        1915-16, the year when General Final Examinations were first
        the technique for dealing with an unlimited number of student-             given, and 1919-20, the percentage of men who won distinction by
        units has not yet been found.                                              the examinations was 17.4; in 1924-25 the percentage had risen
           The conception used to be that if a large and liberal menu of            to 21.4. To this we should add the men who gained distinction in
        opportunities in the way of courses was spread before the student,          those departments in which no General Final Examination is given,
        the main thing had been done for him. The old policy respecting            and those who won distinction in general studies. When this is
        physical training and exercise was typical of the then new theory           done we find that 29.8 per cent of those who graduated in last
        of the College; a gymnasium was provided, and also playing fields,         year's class had secured distinction in their studies.
        but after that about everything was left to the option of the stu-            It hardly needs saying that the present conception of Harvard
        dent, who took as much advantage of these facilities as he liked,          as a residential college rather than just a University department
        or none at all. In his studies he had to get through a certain num-        implies a belief that there must be a greater degree of intimacy be-
        ber of courses if he wanted to keep in standing and graduate, but          tween teacher and student and between student and environment
        otherwise his education was nearly as much an affair of his own            than there used to be. Crowds do not favor intimacy. Although
        adventure as was his physical development. Lectures being the              the figure at which, for Harvard's purposes, overcrowding begins
        chief means of instruction, organization and methods were about            cannot be defined by any process of reasoning, we are persuaded
        as compatible with large as with small numbers of students.                that the Faculty- by whose sense of the situation the Governing




JA403
           During the last two decades, however, the College has increas-'         Boards .must be largely guided in such matters - already feels
        ingly undertaken to guide and stimulate the undergraduate's                that there are now as many undergraduates as its present number
        choices and ambitions, in the belief that all parts of the College         of teachers and rooms allows it to cope with adequately. Many,
        which touch the undergraduate's life, whether physical, moral, or         indeed, feel that the limit of 1,000 is too high.
        intellectual, should work in sympathetic accord. Obviously this               Is it feasible to remove one difficulty simply by enlarging the
        imposes a much heavier task upon instructors and deans; and,              teaching force and multiplying assistant deans? The following
        the individual being the ultimate unit of education, success can-          comparisons between 20 years ago and today show how largely the
        not help being more and more difficult as numbers grow.                   teaching force has already been augmented, and yet by how small
           The function of the College as thus conceived is exemplified ·by       a margin it has gained on the students with whom it is trying to
        numerous changes or reforms which have been devised and suc-              deal more personally. There are several Divisions which may
        cessfully put into effect; but about these so much has been said          still adopt the tutorial system - the Division of Mathematics will
        elsewhere that it is needless to do more than enumerate them here.        do so in 1926-27 - and their budgets for salaries will then have
        The concentration requirement; the general examination; the               to be enlarged. In the departments of Natural Science there are,
        tutorial system, and along with it the diminished reliance upon lec-      as yet, neither General Final Examinations nor tutors. Moreover,
        tures as the chief means of instruction; also the numerous meas-          assistants in laboratories are normally paid less than tutors with
        ures intended to carry the Freshman through his transition from           the rank of instructor. It is possible that laboratory instruction
        school to college - among them the Freshman dormitories, and a            might be distinctly improved by a more liberal policy. However,
        considerable development of services of information and guidance          laboratory assistants can hardly be expected to have acquired the
        connected with the Dean's office; compulsory physical exerciise;          breadth of view which a tutor must possess, for assistants are .
        increased provision for dormitory accommodation; and various              selected for their ability to assist students in a very limited field.
                                                                                  Nevertheless a larger expenditure of money for assistants appears
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                                                     6                                                                                      7

        desirable, and the budgets of the scientific departments should be                                pendent op. the present salarie.s. In the long run. it is the quality
        enlarged accordingly. As a matter of fact, they are now being                                     of its Facultie.s which mainly determin~s the position of a univer-
                                                                                                          sity. If that is not attended. to, build~ngs, endowments, organiz-
        increased for this very purpose as rapidly as the funds allow.
                                                                                                         .ation, and even traditions will prove to be of little avail.
                                                                   1904-05     1924-:-25                   . Therefore, .considerations of personnel, finance, and equipment
            Number of teachers of professorial rank
                in the Faculty of Arts and Sciences . . .           112 1       172                      .all point to the necessity of maintaining a limitation of numbers
                     Increase ....................             .                 53.5+%                  .in Harvard College for the present.
            Number of teachers of non-professorial rank
                in the Faculty of Arts and Sciences . . .           184 1       233                         These are all what might be called internal considerations. It
                     Increase ... · ...............        : ..                  26.6%
            Number of students under the Faculty of
                                                                                                          will be well to look at the situation of the College from the outside,
                Arts and .Sciences (College and. Grad-                                                  · too.
                uate School of Arts and Sciences) . . .            2905        3804                                                        IV
                     Increase ....................             .                 30.9+%
            Average number of students to each teacher                                                      The size of the College relative to the University and its other
                oi professorial rank in the Faculty of                                                  departments has not been constant, and may alter materially
                                                                                                         0
                Arts and Sciences ...........       '- . : . . .    25.9 :1      22+:1                  when the College stops growing. For many years the University
            Average number of students to all teachers
                in the Faculty of Arts and Sciences . . .             9.8 :1        9.4:1
                                                                                                        as a whole has been increasing faster than the College anyway,
                                                                                                        though not so much faster as the creation of entirely new graduate
        From these figures it is clear that no substantial gain has been                                schools might have led one to expect. The Graduate School of·
        made in reducing the ratio of students to the whole number of                                   Arts and Sciences, which is in many respects an advanced depart~
        teachers in the Faculty of Arts and Sciences, although the pro-                                 ment of the College, has been swelling in size more rapidly than




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        portion of teachers of higher rank has increased. The individual                                the College itself, and faster than the University as a whole (see
        student is, however, receiving more personal attention :than is                                 Table 11). The signs of the times indicate that this will probably
        evident from the figures, because there has been no material in-                                continue (see Tables 5, 6, 7, and Figs. 2, 3, 4, 5); and this is de-
        crease in the number of courses offered, but a large increase in the                            sirable, for the Graduate School is the source from which most of
        number of men who give much of their time as tutors, instructors,                               the young teachers are drawn.
        and assistants to individuals or small groups.                                                     Table 8 shows which departments of the University are now
           It is obvious that, without any expansion in the number of                                   restricting their size, and also those which have no present pur-
        subjects taught, an increase in the number of teachers is greatly                               pose of limiting it.
        to be desired. But before the teaching body is expanded to teach                                   Even if the College should contain a smaller proportion of the
        larger numbers, it will be necessary · to finance larger budgets                                total University enrollment than now, that in itself need not be de-
        for the departments which have not yet adopted the general                                      plored, for there is no necessarily right proportion. The influence of
        Final Examination and to increase salaries of professors and                                    the departments under the Faculty of Arts and Sciences - namely,
        instructors all along the line, if Harvard is to hold her eminent                               the Coliege and the Graduate School -will          always depend on
        position among the universities and colleges of America. In-                        "'          the eminence of the teachers and the quality of the students' work.
        deed, this will have to be done whether we expand or not. It is                                 Since the College, through its graduates, does ·much to set the
        said that Chicago is now establishing a number of $10,000-a-year                                scholastic standard in all the graduate departments of the Uni-
        professorships. Harvard's maximum in the Faculty of Arts and                                    versity, its influence is likely to remain predominant.
        Sciences is still $8,000. Justice and fairness, as well as competition                             It may be feared by some that the College will receive less from
        and expediency, require a better salary scale. Conditions in Cam-                               the Treasury of the University as the students in the several
        bridge are becoming more and more difficult for men who are de.:.                               graduate schools increase 'innumber. But it must be remembered
          .. 1 The Faculty of Arts and Sciences included the Lawrence Scientific School
                                                                                                        that, barring the Endowment Fund raised by the graduates since
        at this <lat~. .         .                         .            . .         .                   the War, tli.e free funds at the disposal of the Corporatio-n are small
                                                                                                i,'i
                                                                                            ~   ),,c!
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                                          8                                                                        9

        in proportion to those that are restricted; and the history of the        discussion, if not public anxiety. If all the endowed colleges in
        :financial management by the Corporation gives every reason to            thls part of the country decide to stand pat, or if most of them
        believe that the College will not be overlooked in the future. It is     stick close to the existing size standards,· to what institutions will
        true that if the College stands still in size while the other depart-    this community which wants more opportunities for higher edu-
        ments become bigger and more expensive, it will be more and more         cation, and waxes continually, send its boys?
        necessary to uncover new fountains of financial aid, and the grad-           We have all heard lately from within our own circle that our
        uates of the professional schools will have to assume more re-           entrance requirements are "too high." If we are to turn away a
        sponsibility than in the past.                                           greater and greater number of potentially qualified applicants
           With reference to the Graduate School of Arts and Sciences, the       who come from schools and communities which have hitherto sup-
        Committee believes that from the point of view of the College the        posed they could count on Harvard, we must be prepared to meet
        School can be a great deal bigger and still give more in the way of      more and more such complaints.
        stimulation to both Faculty and students than it takes away by              If and when complaints are thrust at us, it seems to this Com-
        its drafts upon equipment and personnel; for this School is con-         mittee that the answer will be twofold. First, it is not for us-but
        cerned not so much with what is particular and empirical as with         for the country to meet a general shortage of facilities by means
        what is fundamental and general. Philosophy, the so-called moral         of junior colleges and other diversifications in the field of higher
        and social sciences; the fine arts and the humanities in their           education, or otherwise. Second, Harvard participates actively,
        deepest and broadest senses; physics, chemistry, and mathe-              not passively, in the general welfare of college education in the
        matics, which underlie all our modern scientific progress, are there     United States.
        cultivated most eagerly and advanced most successfully. In                  We must not forget that Harvard College is still, as it always
        short, although most of the students in the School are preparing         has been, an explorer and pathfinder. It has lately again devel-
        for a particular profession, that of teaching, they are all engaged      oped a new type of instruction, is thereby giving its undergrad-




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        in liberal studies. What goes on in the Graduate School fertilizes       uates a distinctly better education than they have ever received
        the life of the whole institution - the College included - and           before, and in this it is being imitated by other colleges. This fur-
        draws together all its scholars into a true university. If it is in      nishes a very potent reason for limiting our studen_ts to a number
        any way difficult for that School and the College to be closely          with which this system can be efficiently carried on until it has been
        associated- and it must be admitted that there are difficulties-         perfected, rather than allowing that number to increase to a point
        the remedy is not to be sought in a jealous restriction of the School.   that will interfere seriously with what we are trying to do.
           The extent to which the College prepared students for work in
        the graduate schools and professional schools is indicated_ by                                             VI
        Table 12.
                                                                                    It will be well, however, to ask the question, how the applicants
                                          v                                      for admission to the Freshman Class are selected from a consider-
           It was remarked at the beginning that Harvard College has,            ably larger number. The Committee is not prepared to make a
        until now, allowed itself to grow with the community. It is a            full report now concerning this difficult matter or to propose any-
        striking fact that there has recently been a great increase in the       thing new. But as this report is primarily informative and in-
        proportion of the population seeking college education. Nothing          tended to supply data for later discussion it will be appropriate
        yet indicates that the desire for college education will soon de-        to rriake certain explanations and comments.
        cline again, or even stop spreading. Forty years ago a high-school          First, it is probably wise to rehearse certain changes in the
        training was coveted by people of small means. Today the same            methods of admission which have recently been introduced, and
        large class has generally adopted a college as its goal. Further-        to summarize the results to date.
        more, in the northeastern states many other colleges have limited           Some of these changes have raised the minimum of admission
        numbers. Table 9 presents a situation which warrants serious             in the past twenty years; more have simplified and lightened the
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                                                                                                                                                      11
             burden for all but the very lazy or incompetent. The chief items
             under the first are the requirements that (1) a candidate under                                           , entrance examinations, and it believes that the application of
                                                                                                                  ~                                 .
             the old plan must pass i of the. examinations required; (2) that                                        he-- rule. should. be left to the discretion of the Committee on Ad-.
             he must pass -! of the total with satisfactory grades· (70 per cent                                    mssion. This will not diminish the value of the school record of
             or higher); and (3) that he must write satisfactory English.                                            ~e candidates or of the personal estimates of their fitness on the
                                                                                                                    ,:
             Among the simplifying changes, some of which actually make ad-                                         oart of the school masters. Table 14 shows how "Honor" Fresh-
             mission easier, must be named:                                                                        fuen have been distributed geographically.
                                                                                                                   .. Few graduates realize that admission to Harvard College to-
                (1) The New Plan, establi~hed in 19U-12, whereby candidates
                                                                                                                   day is based not only on the records made in entrance examina-
            are admitted on a combination qf school record and four exami..;
                                                                                                                 , tions, when they are taken, but also on the school records and
            nations. Each case is com,idered individually, and the personality
                                                                                                                / the judgment of school officials who have known the boys for some
            of the candidate may be given greater weight than under the.Old·
                                                                                                               ..: time. . The value of the two latter is especially emphasized in the
            Plan.
                                                                                                               '..application of the honor system.
               (2) All candidates, whether by the Old or New Plan, are now ad-                                  " The vote which established a provisional limit went on to pre-
            mitted without admission conditions, provided they satisfy t];J.e                                  :·:scribe that -
            minimum requirements.                                                                                         From. the remaining candidates 1 the Committee .on Admission
               (3) Candidates who stand, at graduation, among the highest                                               shall.fill up the quota, so far as it may be advantageously filled, by
            seventh of the boys in the graduating class of a regularly organized                                      · selecting those who, having satisfied the minimum requirements for
            school, and who have the strong recommendation of the head                                                  admission, in the judgment of the Committee have best proved .their
                                                                                                                        competence,
            master, are admitted without examination, provided they have
            satisfactory school records corresponding to the requirements of                                     Thus far there has been no opportunity to try the process of selec-
            the New Plan.                                                                                        tion here contemplated, for the quota set has not been exce_eded
                                                                                                                 or even reached, and therefore there has been no chance to test




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               (4) The examinations of the College Entrance Examination
                                                                                                                 the machinery for weeding out the excess of lo_wer-grade ~en by
            Board are now used exclusively for all candidates who present
                                                                                                                 inspection. When this clause goes into full operation it may affect
            themselves in June under the Old or New Plan.
                                                                                                                 about one-third of the candidates for admission.
               The following shows the· admission.s by the different plans for                                      Although the Committee is not prepared to make suggestions
            1924 and 1925:                                                      ·                                as to the methods of admission except on the single point men-
                                                                                           1924        1925
                Under Old Plan..............................                               371         469       tioned above, it wishes to state -
                Under New Plan . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   196         191           (1) That it believes that it is neither feasible nor desirable to
                Under Honor Plan (1/7) . . . . . . . . . . . . . . . . . . . . . .         309         314       raise the standards of the College so high that none but brilliant
                      Total     ..................................                         876         974 ·
                                                                                                                 scholars can enter and remain in regular standing. The standards
                                                                                                                 ought never to be too high for serious and ambitious students of
               It will be seen that nearly one third of the. Freshin~n Cla~s-is                                  average intelligence.
            now entering on the so-called Honor Plan. When this plan was
                                                                                                                     (2) That it believes that standards, whether of ,admission or of
            adopted, its primary purpose was to open ad.mission t9 briiliant
                                                                                                                 work in the College, have not in fact been raised beyond this point,
            boys in schools that do not ordinarily prepare for Harv;:i,rd; but
                                                                                                                 nor to such a point that there is any present prospect of their being
            the Admission Committee has .felt that th~ vote was ~andatory:
                                                                                                                 made too difficult for such men. This is stated with confidence,
            rather than permissive, and has believed th,at. it had no qiscretiori
                                                                                                                 in spite of certain complaints which have recently been heard.
            in the administration of it .. Th~ Committee. which       lnaking.this                is
            report thinks, however, that it may be better not .t9 mctend this                                        (3) That, on the other hand, it sees no reason whatsoever for
            privilege of recommending boys under the honor systein to large                                       thinking that it would be a reproach to Harvard if it became
                                                                                                                   1 Those whose admission records do not place them on an equality with
            Eastern schools and similar institution_s that regularly prepare boys
                                                                                                                 Ha.ryard undergraduates in the first four groups of the Rank List.


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                                                                                                                             13
                                          12

        somewhat harder for a student to enter here than to enter else-
        where - always providing that standards are not above the level                                                APJ;>ENDIX
        just indicated.                                                                ~        In the writer's mind there is one out~tandingreason for the limi-
                                     VII                                               I
                                                                                       I     tation of numbers in Harvard College, and although this reason is
           To conclude - it will have been made clear that the three chief                   implied at one point in the main report (where reference is made
        difficulties in the way of dealing with large numbers are: (1) the                   to the pioneer work of Harvard and to an improved type of in:-
        lack of a sufficient number of teachers; (2) the lack of rooms to                    struction), the importance of the real objectiveseems to the writer
        hold classes; (3) the difficulty of lecturing effectively to very large              to be of such dominant importance as to warrant a brief explana-
        classes. The first two difficulties could probably be remedied in                    tion, which has received the approval of the other members of the
        a few years by an adequate expenditure of money. But for the                         Committee.
        moment they are so insurmountable that this Committee is con-                           The enormous strides made in our knowledge of the material
        vinced that the restriction on numbers is truly necessary for the                    universe during the past generation or two have introduced prob-
        present. The Committee will go further, however. The difficul-                       lems of cooperation between larger and larger groups, not only
        ties just spoken of and the importance of working out to their                       within the nation but of world-wide extent, the solution of which
        logical conclusions the very promising experiments which the                         makes absolutely necessary a new kind of education - in fact,
        College is making in new methods of instruction, lead the Com-            /'         something more nearly corresponding to the original meaning of
        mittee to advise that,· in reckoning the Freshmen who are to be                      the word education.
        included in the thousand, "dropped" Freshmen should be reck-                            Man is'largely guided by his habits of thought: traditions, cus-:-
        oned as well as others. This was recommended by the Faculty in                       toms, hatreds, desires, prejudices, etc.; for the most part he does
        1923. Dropped Freshmen are students who are taking a large part                      not know what it means to think for himself. He has the habit of




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        of their work in Freshman courses, and have always been regis-                       accepting facts.and arguments, however incomplete, superficial, or
        tered as Freshmen,                                                                   misleading they may be. He allow~ pictures to be painted in his
                                                                                             mind' by the promoter o.r the propagandist without demanding
                                                                                             sound evidence of the so-called facts or making sure that the facts
           The Committee presents the following recommendations which.
                                                                                             presented are reasonably comprehensive for the purpose in hand.
        if adopted by the Board of Overseers, are to be referred to the
                                                                                             Hence the enormous annual loss in crooked or unwise investments;
        Faculty of Arts and Sciences for consideration and action:
                                                                                             hence the large predominance of failures of corporations and other
           (1) That, during the next three years, 1926-27 to 1928__:29,the                   business enterprises; hence .the frightful and wasteful confusion of
        limit of 1,000 Freshmen shall include dropped Frespmen as well                       international relations.
        as those newly admitted to the College and Engineering School,                          The solution of these problems demands a kind of thinking or
        but not thereafter, save with the approval of the Governing Boards                   analysis which is new to the vast majority of even our educated
        on the recommendation of the Faculties concerned.                                    class, a habit of mind which refuses to accept a biased presentation
           (2) That the application of the rule concerning candidates from                 · of facts; which withholds judgment until all the .returns are in,
        the first seventh of their school be discretionary with the Commit-                  and even then allows something for the probable incompleteness of
        tee on Admission.                                                                    the returns; which refuses to entertain prejudices and hatreds;
                                               COMFORT A. ADAMS,                             which keeps its perspective free from anything but logic, justice,
                                               JAMES BYRNE,
                                               CHESTER N. GREENOUGH,                         and truth.                     ·
                                               HENRY JAMES, Chairman,                           No course of reasoning can yield more than is covered by the
                                               A. LAWREN CE LOWELL,                          premises; it can only transform the facts or assumptions of the
                                               CLIFFORD H. MOORE,                           premises into a more useful form. Therefore, to reach a sound
                                               WILLIAMS. THAYER,                             condusion involves sound premises and sound reasoning, whether
                                                                     Committee.
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   this be through the medium of words or of mathematics, which is
   merely quantitative logic.                                               t      TABLE 1.         CONSISTSOF THE FIGURES UPON WHICHFIGURE 1 IS BASED
      It is not claimed that these ideals are new or original, but, un-     ~                                               (see page 28)
   fortunately, they are not applied to any appreciable extent in our
   educational institutions. For the most part, our students listen,                                                          TABLE 2
   accept, and try to remember; rarely do they know what it means                POPULATIONOF T;EIEUNITED STATESEXCLUSIVEoi;_:OUTLYINGPOSSESSIONS
   to demand sound evidence of the facts underlying their problem,                            1870 . .....    38,558,371                     1900. . . . . 75,994,575
   to understand thoroughly the principles involved, and then to think                        1880. . . . . . 50, 155,783                    1910 . . . . 91,972,266
   carefully and surefootedly without the twist of bias or prejudice;                         1890 ......     62,947,714                     1920 . . . . 105,710,620
   they are mostly occupied with the endeavor to meet certain tests
   which are unfortunately too often tests of memory rather than of                   ENROLLMENTOF MEN ANDWOMEN IN COLLEGES,UNIVERSITIES,AND
   mental power; they rarely know the joy of making a subject their                          PROFESSIONALSCHOOLSIN THE UNITED STATES
   own, of thinking for themselves and of seeing the worth-while                        1876.........            60,798   From Rept. of Commissioner of Education
   results of their own work.     .                                  .                  1880. . . . . . . . .    84,991         "                    "                "
                                                                                        1890. . . . . . . . .   109,664         "                    "                "
      Such a habit of mind is absolutely essential to the solution of
                                                                                        1900. . . . . . . . .   176,435         "                                     "
   the great problems confronting civilization today.             .                     1910 . ........         338,018                              "
      It is to the development of this habit in our students that Har-             . .. 192Q . ........         521,754   From World_Afrp.a,n_ac,1924
   vard College has set itself; but the task is a difficult one and takes
   time for its development. Teachers with this ideal are rare and
   must be developed; we cannot go out into the open market and                                       TABLE 3.       NUMBERS,BUILDINGS,AND INCOME
   hire them. We need time to imbue the present staff with the spirit                                                                        1904-05                1924-25




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                                                                                                                                         Number Percentage    Number Percentage
   of the movement and to develop the best technique and organiza-                                                                                             7075
                                                                                 University enrollment, total ............                  4136
   tion, without being so pressed for increase of staff and equipment            College enrollment . . . . . . . . . . . . . . . . . . . . 2539 1             3041
   as to fail in our major purpose, which is quality rather than quan-
                                                                                      Dormitories
   tity.
                                                                                 Undergraduates       housed in dormitories
      As the difficulty of forming new habits. of mind increases with              owned by the College . . . . . . . . . . . . . . . 623            24.5 +    1570       51.6+
   the age of the students, the undergraduate departments are the                Dormitories in process in 1924-25 or
   centre of attack, but even there the task is a difficult one, and de-           planned and financed, n,)t including
   mands a closer contact between student and instructor and much                  Medical School and Business School
                                                                                   buildings, are expected to provide for an
   more work on the part of the instructing staff.                                                                                                              358
                                                                                   additional. .........................            .
     'However, the objective is worthy of every possible effort and
                                                                                      Libraries
   sacrifice. A thousand graduates with this habit of mind are worth
                                                                                 Widener Library opened in 1914
   more than ten thousand without it, no matter how well stocked
                                                                                      Laboratories (additions)
   with useful information or conventional knowledge the minds of
                                                                            '
                                                                            ..   Coolidge. (Chemistry) 1913
   the latter may be.
                                                                                 Gibbs (Chemistry) 1913
                                             COMFORT     A. ADAMS.
                                                                                 Cruft (Physics) 1914
                                                                                 Research laboratory in connection with
                                                                                   Farlow Botanical Library and Herbarium
                                                                                 Additions now financed and in process -
                                                                                   Fogg Art Museum $1,000,000
                                                                                   Chemical Lab.          $2,000,000
                                                                                   (NOTE: Biological laboratories are espe-
                                                                                      cially needed)
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                                                                    16                                                                                                                       17
                                                     TABLE      3 (continued)                                                                     TABLE    4.    COMPARISON        OF ACTUAL       AND POSSIBLE         UsE     OF ROOMS,

              Lecture Rooms or Class Rooms                                                                                                                                         1925-26 (continued)
             Music Building, 1914                                                                                                        l                         B. Percentage of Available Rooms Utilized
               Income                                                         1904--05                              1924--25                  Available Rooms     Total                Percentage of actual use of rooms available
                                                                                                                                                                   1-hr.
             Income bearing funds for University . . . . . . $18,036,025                                  $66,024,462                                            periods
                                                                                                                                              Capacity     No.   possible   8-9     9-10   10-11   11-12   12-1   1-2     2-3    3-4   4-5   5-6
             Total Expenditure for !<'acuity of Arts and                                                                                                         per week
               Sciences..............................                         563,048                          1,486,194
             Expenditure for salaries in Faculty of Arts                                                                                      12-30        2      12         0.0    33.3    58.3    41.7     8.3 0.0 16.7       16.7 25.0    8.3
               and Sciences . . . . . . . . . . . . . . . . . . . . . . . . . 408,887                          1,077,402                      31-50       16      96         0.0    83.4    90.6    92.8    69.8 10.4 30.2      14.6 3.3     0.0
             Expenditure for salaries per student under                                                                                       51-75       10      60.        6.7    96.7    98.3    91.6    75.0 23.3 43.4      13.3 13.3    6.7
               Faculty of Arts and Sciences . . . . . . . . . . .              140.75                                                         76-100       5      30         0.0    96.7    96.7    96.7    66.6 20.0 40.0      30.0 5.5     0.0 ·
                                                                                                                      283.23
                                                                                                                                             101-125       3      18         0.0   100.0    83.4    94.4    66.6 0.0 55.6       16.7 0.0     0.0
                • This includes the Lawrence Scientific School which in 1904--05 was under the Faculty of
             Arts and Sciences.                                                                                                              126-150       1       6        50.0   100.0   100.0    83.4   100.0 0.0 83.4        0.0 0.0     0.0
                                                                                                                                             151-200       2      12         0.0    91.6   100.0    75.0    66.6 16.7 33.3       0.0 0.0     o.o
                                                                                                                                             201-300       2      12         0.0   100.0   100.0   100.0    83.4 0.0 41.7       41.7 0.0     0.0
                  TABLE    4.   COMPARISON           OF ACTUAL           AND POSSIBLE               UsE       OF RooMs,t                     301-400       1       6         0.0   100.0    83.4   100.0     0.0 0.0 0.0         .0.0 0.0    0.0
                                                                    1925-26                                                                     900        1       6         0.0   100.0    50.0   100.0   100.0 0.0 33.3       16.7 0.0     0.0

                             A. Number of Hours during which Rooms are in Use
              Available Rooms      Total                                                                                                         In the last 'two years there has been an increase of 400 students
                                                                    Number of periods in use from
                                   1-hr.                                                                                                      under the Faculty of Arts ,and Sciences. In this period there has
                                  periods
              Capacity    No.    possible    8-9      9-10     10-11     11-12      12-1      1-2     2-3       3-4             5-6           been an increase of 72 in the number of class meetings per week.
                                 per week                                                                              ,_4-5
                                 --         -- --              --        --        --        -- --             --              --
              12-..:30
                                                                                                                                              This increase does not include additional meetings arranged by
                        2         12             0         4         7         5         1     0       2         2        3         1




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              31-50    16         96             0        80        87        89        67    10      29        14        2         0
                                                                                                                                              departments in their own departmental buildings, for example, addi-
              51.:..75 10         60             4        58        59        55        45    14      26         8        2         4         tional Chemistry courses in Boylston Hall, etc. Twenty-two of these
              76-100    5         30             0        29        29        29        20     6      12         9        4         0         72 additional class meetings have gone ·into the four main class-
             101-125    3         18             0        18        15        17        12     0      10         3        1         0         room buildings at the crowded hours 9 to 1; 26 have gone into these
             126-150    1          6             3         6         6         5         6     0          5      0        0         o·       four buildings at other hours (that is, 7.45 to 8.45 A.M., or after-
             151-200    2         12             0        1l        12         9         8     2          4      0        0         0
             201-300    2         12             0        12        12        12        10     0          5      5        0         0
                                                                                                                                              noons). The other 14 additional class meetings have been taken
             301-400    1          6             0         6         5         6        0      0          0      0        0         0         care of by the use of class rooms in buildings assigned for depart-
               900      1          6             0         6         3         6        6      0          2      1        0         0        mental uses (for example, Semitic Museum, Geological Lecture
                                 --         --       --        --        --        --        --      -- -- -- --                              Room,etc.). All but two of these fourteen take place in the morning
             Total .. 43     258 2             7      230       235       233       175       32 95 42 12       5                            in the 9 to 1 hours.
             Per cent of 258                 .02       .89      .91       .90       .67       .12 .36 .16 .04 .01
                                                                                                                                                 It does not appear likely that the increase in the next two years
                                                                                                                                             will be smaller than in the last two. We are now using in the
                1 This report covers the class rooms in the following buildings only: Emerson (not includ-
             ing 23 and 27, Psych. Lab.); New Lecture Hall; Sever (not including 25 [Class. Arch. Mus.]'                                     morning hours, from 9 to 1, 84.6 per cent of the capacity of the four
             or tower rooms); Harvard Hall.
                Two hundred and three meetings were held outside a):,ove buildings 1925-26; 137 in 1923-24.                                  main class-room buildings. Even if questions of health and safety
                2 Multiplying this by 5 4/7 to get a weekly total for the hours from 9 to 1 and 2 to 5 on 5
             week-days and the hours from 9 to 1 on Saturdays gives 1438.                                                                )   were not involved it is unlikely, because of the impossibility of
                The totals of "periods in use" for these hours, when added together, gives 1022, which is.
             71 % of 1438.                                                                                                                   forecasting demands, that we could make 100 per cent utilization
                                                                                                                                         l   of our capacity. It does not seem feasible to crowd in more courses
                                                                                                                                             in the morning hours. Assuming that the Business Schoor moves
                                                                                                                                             all of its class meetings across the river in the next few years, very
                                                                                                                                             small relief will be given since there are only fourteen meetings
                                                                                                                                             of Business School courses in our four main class-room buildings in
                                                                                                                                             the 9 to 1 hours.

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                                                   TABLE      4 (continued)                                                                                  TABLE     5 (continued)
                                                                                                                                                                                                                   1900-01
                    C. Enrollment in Largest Courses, 1924-25 and 1925-26                                          Percent Increase:                       tf%tl~5                                               to 1924-25
                        NAME    OF COURSE                      UNDER    400               OVER   400                                                                             University ..........             64.99
                                                           1924-25     1925-26 - ·   1924-25      1925-26              University .....                     437.61
                                                                                                                       College ........                     400.16               College . . . . . . . . . . . . . 52.66
            English A                                                                 815          893
               " 28                                         223          240
                    41                                      269          281
                                                                                                                         TABLE         6.     POPULATION          AND COLLEGE           ENROLLMENT         IN THE
                    2                                       193          190
                                                                                                                                                           :NORTHEASTERN         STATES
            German A ...............                   .                              649          580
            French 2 ................                  .                              453          543          Population Northeastern States (New England, New York and New Jersey)
            Mathematics A . . . . . . . . . . . .           192          287
            Mathematics C . . . . . . . . . . . .           206          233                                       1870............             8,776,779                        1910 ............          18,203,462
            Physics C ................                 ,    229          280                                       1880. . . . . . . . . . . . 10,224,516                        1920 . ...........         20,942,036
            Biology .1 . . . . . . . . . . . . . . . . .    243 ·        264                                       1890 ... .........          12,143,531                        1925 .. ..........         22,495,5021
            History 1 ................                 .                              649          750             1900 ............           14,744,580
            Government 1 ............                  .                              417          525
            Economics A .............                  .                              405          485                                        Registration - Colleges and Universities
            Philosophy A ............                  .                 347          407                                                   Harvard           Yale       Columbia        Princeton       Brown      Amherst
                                                                                                                   1870      .......         1,316             755          776            364            220            261
               TABLE      5.    ATTENDANCE,          1870-1925 -        HARV ARD COLLEGE         AND               1880      .......         1,365           1,037        1,532            488            247            339
                                                      UNIVER8ITY                                                   1890      .......         2,271           1,645        1,671            850            352           352
           Year                Col.          Univ.                       Year           Col.           Univ.       1900      .......         4,288           2,542        3,176          1,277          1,026            400
          1870-71             608            1316                      1898-99          1851           3901        1910      .......         4,123           3,282        5,117          1,450            935            502
          1871-72             620            1214                      1899-1900        1902           4091        1920      .......         5,667           3,820        9,117          1,967          1,367          ..503.
                                                                                                                   1925      .......         7,075           5,143       13,230          2,412          2,032            615




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        . 1872-73             635            1039                      1900-01          1992           4288
          1873-74             706            1167                      1901-02          1983           4142
                                                                                                                                            Dartmouth       Williams   Bowdoin          Tufts         Cornell       Total
          1874-75             716            1199                      1902-03          2109           4261
                                                                                                       4328           1870   .......           436            141        121             74             609        5,073
          1875-76             776            1290                      1903-04          2073
                                                                                        2009           4136           1880   .......           429            227        157             84             399        6,304
          1876-77             821            1370                      1904-05
                                                                                        1899           3945           1890   .......           462            311        185            145           1,390        9,634
        · 1877-78             813            1344                      1905-06
                                                                                        2247           4026           1900   .......           741            375        252            802           2,521       17,400
          1878-79             819            1350                      1906-07
                                                                                        2277           4012           1910   .......         1,229            543        338          1,142           4,412       23,073
          1879-80             813            1356                      1907-08
                                                                                        2238           3918           1920   .......         1,888            579        403          2,128           5,668       33,107
          1880-81             828            1365                      1908-09
                                                                                        2265           4046           1925   .......         2,138            750        500          2,021           5,697       41,613
          1881-82             823            1382                      1909-10
          1882-83             928            1450                      1910-11          2217           4123
                                                                                                       4203                                     Freshman Class-              Harvard College
          1883-84             972            1526                      1911-12          2262
                                                                       1912-13          2308           4279                  Total Registration                                             No. from Northeastern       States
          1884-85            1006            1594
                             1068            1669                      1913-14          2359           4366    1870          189                1910           671               1870           159             1910        538
          1885-86
                             1077            1688                      1914-15          2473           4604    1880          243                1920           621               1880           191             1920        494
          1886-87
                             1138            1812                      1915-16          2519           5226    1890          366                1924           944               1890           301             1924        735
          1887-88
                             1180            1899                      1916-17          2642           5656    1900          537                                                 1900           421
          1888-89
          1889-90            1271            2079                      19-17-18         1720           3684                                           1   Estimated, World Almanac, 1924.
          1890-91            1339            2271                      1918-19          2221           3894
          1891-92            1456            2658                      1919-20          2602           5273
          1892-93          . 1598            2969                      1920-21          2609           5667
          1893-94            1656            3156                      }921-22          2745           6073
          1894-95            1667            3290                      1922-23          2787           6357
          1895-96            1771            3600                      1923-24         .2980           6733
          1896-97            1754            3674                      1924-25          3041           7075
          1897-98            1819            3859
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                   TABLE    7.   ENROLLMENT        IN THE UNIVERSITY          AND PARTS      OF THE
                                                                                                                             TABLE   8.   ENROLLMENT-HARVARD         UNIVERSITY,   1924-25
                                               UNIVERSITY,      1900---25

                                                      1900-01 1901-02 1902-03 1903-04 1904-05 1905-06               The College (total enrollment, 1924-25, 3041). A limit of 1,000 in each Fresh-
                                                                --      --       ---    ---    --                       man Class has been fixed.
            College i .....................   1992               1983 2109        2073 2009 1899                    The Graduate School of Arts and Sciences (total enrollment, 1924-25, 763). No
            Grad. School of Arts and Sciences 341                 312  316          402    366    394                   limit desired.
            All Depts. except College ......  2296               2159 2152        2255 2037 2046
            Whole University 2 •..••..•.••.   4288               4142 4261        4328 4136 3945                    The Law School (total enrollment, 1924-25, 1201). Increased facilities for ex-
                                                                                                                        panding numbers being planned without intention of limitation.
                                                      1906-07 1907-08 1908-09 1909-10 1910-11       1911-12         The School of Education (total enrollment, 1924-25, 272).       Coeducational;
                                                                --      --       --       --       --                   no limit proposed.
            College' ......................   2247               2277 2238 2265 2217 2262
                                                                                                                    The Graduate School of Business Administration (total enrollment, 1924-25,
            Grad. School of Arts and Sciences 387                 400  403  425  463  454
                                                                                                                        614). First-year class entering September, 1924, limited to 335 -that
            All Depts. except College ......  1779               1735 1680 1781 1906 1941
                                                                                                                        in February, 1925,to 150. This limitation will prevail until the new build-
            Whole University 2 •.••••••.••.•  4026               4012 3918 4046 4123 4203
                                                                                                                        ings are completed.
                                                                                                                    The Medical School (total enrollment, 1924-25, 506). Limited to 125 in each
                                                      1912-13 1913-14 1914-15 1915-16 1916-17       1917-18
                                                                                                                        of the first two years, 135 in each of the second two years - total 520.
                                                                --      --       --       --       ---                  Limit dictated by optimum use of existing laboratory space, clinical facili-
            College' ......................   2308 2359                  2473     2519     2642      1720
                                                                                                                        ties and instructing staff. More students apply for admission than can
            Grad. School of Arts and Sciences 463   497                   532      598      605       296
                                                                                                                        be accepted, and the selection is made chiefly on the basis of an examina-
            All Depts. Pxcept College ......  1971 2007                  2131     2707     3014      1964               tion of the candidate's previous work - preference being given to men
            Whole University 2 •••••••••••.   4279 4366                  4604     5226     5656      3684
                                                                                                                        who have already prepared themselves in subjects which would more or
                                                                                                                        less specially fit them for medical studies.
                                             1918-19 1919-20 1920-21 1921-22 1922-23 1923-24 1924-25




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                                                      --        --       --       --       --      --               School of Public Health (total enrollment, 1924-25, 30). No limitation.
            College 1 ................         2221     2602     2609     2745        2787 2980 3041                The Dental School (total enrollment, 1924-25, 204). No limitation.
            Grad. School of Arts and
              Sciences .............            359  531  532  582  648 670 763                                     Engineering School, (total enrollment, 1924-25, 258). No limitation.
            All Depts. except College          1673 2671 3058 3328 3570 3753 4034                                   The Theological School (total enrollment, 1924-25, 74). No limitation.
            Whole University 2 .••.••          3894 5273 5667 6073 6357 6733 7075                                   School of Architecture and Landscape Architecture (total enrollment, 1924-25,
                                                                                                                        48 (Architecture) and 39 (Landscape Architecture)).
                 Percent Increase:
                      College .....................................                    . 52.66
                      Graduate School of Arts and Sciences ...........                 . 123.75
                      All Departments except College ................                  . 75.69
                     Whole University ............................                     . 64.99
                1 Lawrence Scientific School not included, but, beginning 1906-07, special students formerly
            registered with Lawrence Scientific School now registered in Harvard College, on account of
            a change in the administration of the S.B. degree.
                2 University Extension and Summer School students not included.




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                TABLE 9.    LIMITATIONOF NUMBERSIN ENDOWEDCOLLEGESOF                                               TABLE 10.    GROWTHOF ENROLLMENTS AND ENDOWMENTS
                                                                                                                                                                  IN ELEVEN
                                    NORTHEASTERN
                                               STATES                                                                                UNIVERSITIESAND COLLEGES

                                                                                             Number                                                 A. Attendance
           Collegeor       Lee-                                               When         Admittedin fall                                          1900-01                                    1923-24
          University       way                     Limitation                Adopted         of 1924                                        College        University              College          University
                                                                                                                    Amherst .........         400                                   561
        Amherst                    No formal limitation. Will                 ....              210
                                                                                                                    Bowdoin .........         254                                   503
                                   probably accept 230 in the
                                   fall of 1925                                                                     Brown• ..........         920                920                                     2,013
                                                                                                                    Dartmouth .......         741                               2,060
                                                                              ....              136                 Tufts ............        802                               2,094
        Bowdoin            50     I Freshman Class limited to I
                                   about 150. (500 for College)                                                     Williams .........        375                                 694
                                                                                                                    Columbia ........         476             3,419             2,005                13,230
        Brown               0     I No rigid limitation. Try to          I    ....          422 Men       1
                                                                                                                    Harvard .•.......       1,992             4,288           . 2,980                 6,733
                       I                                                               I
                                   limit Freshman Class to                                                          Princeton ........      1,168             1,277             2,231                 2,448
                                   about 400 men (about 150                                                         Yale .............      1,190             2,542             2,005                 4,447
                                   for Women's College)                                                             Cornell ..........                        2,521                                   5,588

        Columbia            0     I Total registration for College       I    ....              474                                         8,318                              15,133
                                   limited to about 2,000                                                                                           1   Womenincluded,

        Cornell        I    0     ILimited to 500 (applies only Beginning                   490 (as
                                                                                            candidates                                          B. Income-Bearing Funds
                                   to candidates for B.A. de- with fall
                                   gree). College of Architec- of 1925                      for B.A.)                                    1900                               1924
                                   ture limited to about 45.                                                        Amherst ..      $1,600,000.00                      $7,340,000.00




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                                   Other Schools not rigidly                                                        Bowdoin .. .       660,416.86                       3,541,164.77
                                   limited                                                                          Brown ... .      1,297,227.56                       8,209,057.83
                                                                                                                    Dartmouth.       2,500,000.00 1                     6,000,000.00
                                                                                                673                 Tufts .... .        48,926.00 (Income)        1        167,304.00 (Income)
        Dartmouth           0     I Trustee  provision that total I About              I
                                   registration be limited to 1918                                                  Williams .. .    1,050,850.00                       4, 543,972. 00
                                   2,000.     The number ad-                                                        Columbia .         435,000.00 (Income)              1,975,000.00 (Income) 2
                                   mitted each year depends on                                                      Harvard ..      12,614,448.19                      66,624,462.12
                                   size of upper classes                                                            frinceton .      2,455,400.00                      14,322,147.08
                                                                                                                    Yale .... :..    4,942,166.04                      35,764,883.97 2 (Exclusive of
        Princeton           0     I Limited       to 600                 I    ....     I    Slightly                Cornell                ?                                ?          _Sterling Bequest)
                                                                                            over 600
                                                                                                                                i 1901                                              2   1923

                                                                                ?               103   1
        Tufts                            ?

        Williams           50      About 225                                  1924              254

        Yale               50      Limited to 850                             1923              880

                                             1   Sizeof FreshmanClass.                                        I
                                                                                                              1-
                                                                                                              •


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                                                TABLE        10 (continued)                                                           TABLE       12.     HARVARD          COLLEGE         AS A FEEDER        TO THE   OTHER
                                                                                                                                                                             DEPARTMENTS
                                             . C. Percentage Increase in
                                                                                                                                              Degrees conferred in Harvard College, June 1923
                                                                       Attendance in          Income-Bearing                               (From Rept. of President and Treasurer, 1923-24, p. 322)
                                               Attendance             whole University            Funds,
                                                in College             Incl. College          Whole University                 (1) A.B ................................................                                    400
                                                 1900-24                  1900-24                 1900-24
                                                                                                                                     A.B. OcC ............................................                      56
        Amherst ............                      40.25                    ...               358.75                                  A.B. for Honorable Service in the War . . . . . . . . . . . . . . . . .     9
        Bowdoin ...........                       93.03                    . ..              436.20                                  S.B .................................................                     108
        Brown University ....                     ...                     118.84 1           532.81                                  S.B. OcC............................................                       17
        Dartmouth .........                      178.00                    ...               140.002                                 S.B. for Honorable Service in the War . . . . . . . . . . . . . . . . . .   2
        Tufts ..............                     161.09                    ...               241.53 2 (Income)
        Williams ...........                      85.06                    . ..              332.41                                     Total ..........................................     592
        Columbia ...........                     321.21                   286.95             354.02 8 (Income)                 (2) Total number continuing in post-graduate work in Harvard
        Cornell .............                       ...                   121.65                ?                                    University ........................................     185
        Harvard ............                      49.59                    57.19             428.15                                Total number that did not go on to post-graduate .work in
        Princeton· ...........                    91.01                    91.69             408.33                                  Harvard University ................................     407
        Yale ................                     68.48                    74.94             623.66 3                          (3) Proportion continuing in post-graduate work in Harvard
                                                                                                                                     University ........................................     31.25%
          1 Placed in this column in deference to the name; but might fairly be in column 1.
          ' 1901-24.                                                                                                               TABLE        13.     HARVARD         U~IVERSITY-ANALYSIS                   OF ENROLLMENT,
          • 1900-23.                                                                                                                                                               1924-25
                                                                                                                                                                       Geographical Distribution
          TABLE       11.    ENROLLMENT           IN DEPARTMENTS               OF HARVARD       UNIVERSITY,
                                                1916-17       TO     1925-26                                                                                                                                               Per cent of
                                                                                                                                                                                                                           Total Popu-




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                                                                                                                                                                                                        Graduate and        lation of
                                                1916 1917 1918 1919 1920 1921 1922 1923 1924 1925                                                                                                       Professional       U.S. area,
                                                -17  -18  -19  -20  -21 -22 -23 -24 -25 -261                                                                                              College          Schools            19201
                                                    -- -- -- -- -- -- -- --                                   ~

                                         -                                                                                  North Atlantic                                          No.      Per cent   No.     Per cent
        The College 2 •.••••••••.              2642 1720 2221 2602 260927452787298030413279
        Grad. School of Arts and                                                                                              New England                                           1717 56.46          1518 37.63             ...
          Sciences ..............                605 296 359 531 532 582 648 670 763 732                                      N. Y., N. J., Pa., Del.                                                    773 . ...             . ..
                                                                                                                                                                                    --697 --....             --
        Law School .............                 856 296 436 879 944 999 1019109712011282                                                                                           2414 79.38          2291 56.79             28.3
        School of Education .....                . . . ... . .. . . . 121 153 241 285 272 236                               South Atlantic
        Grad. School of Bus. Ad-                                                                                              Va., W. Va., Ga., Fla., N. C.,
          ministration ..........               222 93 159 394                 442    466    468 539    614   675                S. C., D. C.; Md.                76   2.50                              240       5.95        13.0
        Medical School .........                 358 386 404 419               439    472    499 494    506   502           Western
        School of Public Health .                ... . .. ... ...              ...     30     16  29     30    30             Colo., Calif., N. Mex., Ore.,
        Dental School ..........                240 211 154 189                232    205    219 191    204   186                Mont., Wash., Ariz., Utah,
        Engineering School .....                5773 59!3 59 126               214    261    257 253    258   283                Nev., Idaho, Wyo.                87   2.86                              304       7.54          8.4
        Mining School ..........                   4    1 . . . ...            .. .   . ..   . .....    ...   ...     I     North Central
        Bussey Institution ......                 16    6    7 10               15     20     16 16      25    16             S. D., N. D., Ill., Mich., Minn.,
        Theological School ......                 73 59 51 58                   53     61     95 86      74    69                Iowa, Mo., Wis., Ohio, Ind.;
        School of Arch. and Land-                                                                                     t          Nebr., Kans.                    357 11.74                               740     18.34         32.2
          scape Arch ...........                  63       25        44   65    66       79 92      93 87        91
                                                                                                                      l-.   South Central
                                               --   -- -- -- -- -- -- -- -             --                                     Ala., Tenn., Tex., Okla., Ark.,
              Total    .............           5656 3684 3894 5273 566760736357673370757381                           I          Ky., La., Miss.                  55   1.81                              198 4.91              18.1
          1 On October 1, 1925.
                                                                                                                              U.S. Territories and Foreign        52   1.71                              261   6.47           ...
                                                                                                                                               -
          ' Including Special Students.                                                                                                          Total ........ 3041 100.00                             4034 100.00          100.0
          • In combination with Massachusetts             Institute of Technology.
                                                                                                                                1 In this column the Territories and Foreign Possessions do not enter into the 100 per cent;
                                                                                                                            so there is a slight discrepancy in comparing it with percentages in columns 1 and 2.
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                 TABLE      14.    TABLE        SHOWING     G1coGR~HICAL
                                                                    Dn 1TRIBUTION                OF                                                 TABLE             14 (Continued)
                                         CANDIDATES         ADMITTED
                                                                   1925     IN                                                                                                                                              Honor
                                                                                                                                                                Honor       INew Plan I Old Plan I            Total      !Admissions
                                      Under the Old, New, a7?dHonor Plan.s                                                                                   -----              -----         -----         _____         % of Total
                                                                                                   Honor           South Central
                                                    Honor        New Plan    Old Plan   Total·   Admissions
                                                                                                  %of Total          Alabama .............           .                1                  0             0            1
                                                                                                                     Tennessee ............          .                4                  0             1            5
        North Atlantic                                                                                                                                                                                              2
                                                                                                                     Texas ................          .                1                  0             1
          Maine .................                     6              1             2       9
                                                                                                                     Oklahoma ............           .                1                  0             2         3
          New Hampshire ........                      5              2             3     10
                                                                                                                     Kentucky                                         4                  0             0         4
          Vermont ..............                      1              1             1       3
          Massachusetts         .........           154             77           307    538                                                                   11                         0             4        15        73.3%
          Connecticut ............                   11              0             8      19                            Total for North Atlantic
          Rhode Island ..........                     3              3             3       9                              States plus Illinois and
                                                                  -              -      -
          Total, New England States                 180             84           324    588      30.6%                    Ohio (schools which
                                                                                                                          make a specialty of fit.-
           New York .............                    38             55             62   155                               ting for colleges like
           New Jersey ............                   12              8             13    33                               Harvard being numer-
                                                                                                                          ous in these states) . . I 272                                168           430      870        31.26%
           Pennsylvania ..........                   13              9             17    39
                                                                  -              -                                      Total for remainder of
                                                    243           156            416    815      29.77%
                                                                                                                          Continental United
        South Atlantic                                                                                        I           States . . . . . . . . . . . . .    42                        22             32       £6         43.7%
            Florida .......        ·.........         0              1             0       1
            Virginia ................                 2              1            ·o       3                  I.        Total, Continental United
                                                                                                                          States .............             I 314                        190           462      966         32.5%
            Georgia ...............                   3              1             0       4
          · District of Columbia ....                 3              0             2       5
         ·. West Virginia ..........                  1              0             1       2                       Insular Territories
                                                                                                                                                                                          0             1           1




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                                                                                           1                         Hawaii ...............          .                0
            South Carolina .........                  1              0             0
                                                                   -             -      -                            Porto Rico ............         .                0                   0             1           1
                                                     10              3             3      16     62.5%
                                                                                                                                                                      0                   0             2           2
        Western
         California .............                      2            10             4      16                       Foreign
                                                                                                                     Bermuda ..............              .            0                   0             1           1
         Washington ............                       2             0             1       3
                                                                                                                     Canada ..............               .            0                   0             2           2
         New Mexico ............                       0             1             0       1
                                                                                                                     Caba ................               .            0                   0             1           1
         Colorado ..............                       1             0             1       2
                                                                                                                     Guatemala ............              .            0                   0             1           1
         Utah ..................                       1             1             0       2
                                                                                                                     Jamaica      .............          .            0                   1             0           1
         Idaho .................                       0             1             0       1
                                                                  -              -      -                            Norway ...............              .            0                   0             1           1
                                                       6            13             6      25          24%                                                                                               1           1,
                                                                                                                     Peru .................              .            0                   0
        North Central                                                                                                                                                                                               8
                                                                                                                                                                      0                   1             7
          North Dakota ..........                     1              0             0      1
          South Dakota ..........                     0              1             0      1                              Total,   Insular       Terri-
          Illinois .................                 14              4             8     26                                tories and Foreign
          Michigan ..............                                    1             3      7                                Countries .........      .                  0                  1             9        10
                                                      3
          Minnesota .............                     2              1             3      6                   f"         Grand total ..........     .                314                191           471       976        32.17%
          Iowa ..................                     0              1             2      3
          Missouri ...............                    2              0            10     12                              In the fall of 1925-26 no candidates were admitted from the following
          Wisconsin .............                     3              2              1     6                         states: Delaware, Maryland, North Carolina, Louisiana, Mississippi, Arkan-
                                                                                    6    29                         sas, Kansas, Arizona, Wyoming, Oregon.                   ·
          Ohio ..................                    15              8
          Indiana ...............                     3              0              0     3
          Nebraska ..............                     1                             0
                                                                   - 0           -      - 1
                                                     44             18             33    95        46.3%
              Case: 19-2005    1:14-cv-14176-ADB
                          CaseDocument:           Document
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                                                                                                 Fm.    2.   POPULATION      IN   THE   u. s.   (EXCLUSIVE     OF OUTLYING       PosSES~IONB)
                                                                                                       CoMP.IBED      WITH   EJSROLLMENT        (MEN   AND WOMEN)       IN UNIVERSITIES,
                                                                                                                         COLLEGES,      AND PROFES810NAL        SCHOOLS
             FIG,   1.   COLLEGE   ATTENDANCE    -   1870-71   TO 1924-25                     . ADDED    BELOW-'---    REGISTRATION       OF HARVARD         FRESHMAN    CLASS    IN HUNDREDS




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                                                                                      !•              1870      1880                 1690         1900      1910     1920                       1940


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                                                                                                                                                            FIG.   4.   CERTAIN   COMPARISONS       OF THE     RATE   OF   GROWTH     OF POPULATIO~       AND
                                                                                                                                                                                               COLLEGE     ENROLLMENT

                                                                                                                                                    "Population in Millions" is that of the New England States plus New York and New Jersey,
                                                                                                                                                    "Registration   in Thousands" is the total for Harvard, Yale, Columbia, Princeton, Brown,
                      FIG.   3.   THE   RATE   OF   GROWTH     OF THE   COLLEGE   COMPARED      WITH   THAT   OF                                       Cornell, Amherst, Dartmouth, Williams, Bowdoin, Tufts.                           -
                                                         THE    UNIVERSITY                                                                          " Registration in Hundreds" is (above) that of the H:1rvard Freshman! Class, (below) that of stu-
                                                                                                                                                       dents from above named states in the Harvard Freshman Class.




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                                     FIG. 5.   COMPARISON   OF RATES    OF GROWTH    OF HARVARD   UNIVERSITY   AND
                                                                    CERTAIN   DEPARTMENTS




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                           EXHIBIT 238




                                           JA418
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                           EXHIBIT 239




                                           JA425
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                           EXHIBIT 240




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                                           JA429
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                                           JA430
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                           EXHIBIT 241




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                           EXHIBIT 242




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                           EXHIBIT 250




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                                                          Case: 19-2005
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                           EXHIBIT 251




                                           JA440
Race Determining Factor in Regard to Harvard Applicants, He Admits | Jewish Telegraphic Agency
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Race Determining Factor in Regard to Harvard Applicants, He Admits
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May 11, 1926

Boston (May. 10)

(Jewish Daily Bulletin)

Race and place of residence are to be part of the qualifications of candidates for admission to Harvard College under the new rule of “character,
personality and promise,” according to Henry S. Pennypacker, Chairman of the Committee on Admissions which administers this rule.

Mr. Pennypacker’s statement was contained in the Gadfly, publication of the Harvard Student Liberal Club, on Saturday.

A committee of six undergraduate and graduate students, all members of the Liberal Club, inteviewed Mr. Pennypacker recently and asked him the
following questions:

How far are the new regulations designed to preserve a balance between racial groups? Between social groups?”

Mr. Pennypacker stated that the traditional policy of freedom from discrimination on the grounds of race or religion is still of binding force and
effect. He then declared:

“Race is a part of the record. It is by no means the whole record and no man will be kept out on grounds of race. But those racial characteristics
which make for race isolation will, if they are borne by the individual, be taken into consideration as a part of that individual’s characteristics
under the test of character, personality and promise.”

The new rule which the Committee on Admissions will interpret and which it is alleged will result in discrimination particularly against unfavored
races reads:

“Candidates should bear in mind that in all admissions to the university regard is given to character, personality and promise as well as to
scholarly attainments.”

The committee asked him what factors would be taken into consideration.

“All available factors concerning the boys will be taken into consideration We wish to look at the boy’s fitness for his job in much the same way an
employer wants to looke at his employee.”

Under the new rule all candidates must include a photograph with the application blank. Mr. Pennypacker was asked the purpose of the
photograph.

“For purposes of identification,” he said, “as evidence of character, personality, and promise, only very vague in the case of candidates not seen.”

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FEATURED STORIES


             Boston                   Is                      For Jews                Son of
             mourns                   Olympic                 in the
             Jewish                   skier
             girl and                 Mikaela     Netherlands, Catholic    Holocaust survivor
best friend killed by    Shiffrin Jewish?         Carnival feels like      named president of
motorist                                          ‘hardcore Purim’         Harvard




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Race Determining Factor in Regard to Harvard Applicants, He Admits | Jewish Telegraphic Agency
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                                                           Righteous Persons     George S. Blumenthal                    •
                                                           Foundation          • Grace and Scott Offen Charitable Fund
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           1                            UNITED STATES DISTRICT COURT
           2                             DISTRICT OF MASSACHUSETTS
           3     ___________________________________
           4     STUDENTS FOR FAIR ADMISSIONS, INC.,
           5                            Plaintiff,             Civil Action
                                                               No. 14-14176-ADB
           6     v.
                                                               October 15, 2018
           7     PRESIDENT AND FELLOWS OF HARVARD
                 COLLEGE, et al.,                              Pages 1 to 187
           8
                                     Defendants.
           9     _________________________________
          10

          11
                                 TRANSCRIPT OF BENCH TRIAL -- DAY 1
          12                  BEFORE THE HONORABLE ALLISON D. BURROUGHS
                                     UNITED STATES DISTRICT COURT
          13                       JOHN J. MOAKLEY U.S. COURTHOUSE
                                          ONE COURTHOUSE WAY
          14                              BOSTON, MA 02210
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          25                             joanmdaly62@gmail.com



                                           JA443
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           1                             P R O C E E D I N G S
           2                     (The following proceedings were held in open
           3     court before the Honorable Allison D. Burroughs, United
           4     States District Judge, United States District Court, District
           5     of Massachusetts, at the John J. Moakley United States
           6     Courthouse, One Courthouse Way, Boston, Massachusetts, on
           7     October 15, 2018.)
           8                 THE CLERK: All rise. Court is in session. Please
           9     be seated. This is Civil Action 14-14176, Students for Fair
          10     Admissions versus President and Fellows of Harvard College.
          11                 Will counsel identify yourselves for the record.
          12                 MR. MORTARA: Your Honor, Adam Mortara for the
          13     Students for Fair Admissions. With me today are Kat Hacker,
          14     John Hughes, and Scott McBride. In the back row, Patrick
          15     Strawbridge, Meg Fasulo, Krista Perry. Behind them, Mike
          16     Connolly, Will Consovoy, and Paul Sanford. And behind them,
          17     Tom McCarthy and Mike Park.
          18                 THE COURT: I'm not going to remember that. That's
          19     a lot. Mr. Consovoy, Mr. Strawbridge, I can't get used to
          20     seeing you back there.
          21                 Good morning, Mr. Lee.
          22                 MR. LEE: Good morning, Your Honor. On behalf of
          23     Harvard, you will hear from during the course of the trial
          24     Felicia Ellsworth, Danielle Conley, Seth Waxman, and Ara
          25     Gershengorn and me. Thank you.



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           1                 THE COURT: I think we're ready to get right to
           2     openings. I have a couple of housekeeping matters. The
           3     first is, as you've no doubt noticed, we're being besieged by
           4     media requests, and one of the things they want are copies of
           5     the exhibits. We're wondering if we can leave it to the
           6     parties to take responsibility for distributing exhibits to
           7     the media in some way.
           8                 MR. MORTARA: That's no problem from our
           9     perspective, Your Honor.
          10                 MR. LEE: We're fine with that, Your Honor.
          11                 THE COURT: We don't have the resources to do that.
          12     The two amicus parties have proposed a schedule. It seems
          13     like Harvard was amenable to it as they didn't want their
          14     case interrupted. Is that right?
          15                 MS. HACKER: That's correct, Your Honor. We're
          16     willing to be flexible with the amici and keep them up to
          17     date about when we expect our case will close before
          18     Harvard's case begins.
          19                 Right now we told amici that we anticipate that
          20     being potentially next Thursday or Friday. Of course as this
          21     week goes along, we can update them. But it's just difficult
          22     to provide a date certain when that will happen. I think
          23     both sides here agree that it will make sense for the amici
          24     to go between SFFA's case and Harvard's case.
          25                 THE COURT: I agree that that makes sense. And I



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           1     don't want to interrupt the presentation of your case, but I
           2     understand they had one person that was only available on one
           3     day. So let's just let that go for a bit and we'll see where
           4     we end up as we get closer to that one day. Is it the 29th?
           5                 I have a request for judicial notice on some of the
           6     historical stuff. Are you going to respond to that, Mr. Lee?
           7                 MR. LEE: No, Your Honor. The motion that was
           8     filed is something that we negotiated with SFFA.
           9                 THE COURT: Okay. The last thing is the schedule.
          10     I'm just going to go a couple of days ahead. I have a bunch
          11     of other things scheduled at 3:00, so at close to 3:00 today
          12     when we have a reasonable stopping point, we'll stop there.
          13     I usually allow only half an hour and 45 minutes for a lunch.
          14     I'm just thinking the cafeteria is going to be crazed today.
          15     So I'm thinking of starting with an hour today. If that
          16     turns out to be too much, we can shorten it. I don't want
          17     anybody to not have time to eat.
          18                 Tomorrow, as you know, I can only sit until around
          19     1:00. And I think I had told you there was another day next
          20     week. I forget which day it was, Tuesday or Wednesday. That
          21     meeting has been changed to a week after. So I'm planning on
          22     going, depending on the rest of my schedule, somewhere
          23     between 10:00 to -- somewhere between 3:00 and 4:00 this week
          24     with the exception of tomorrow. All right? I'll give you
          25     more specifics on that.



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           1                 MR. LEE: Your Honor, what time would you like to
           2     start tomorrow?
           3                 THE COURT: It's hard for me to start before 9:30.
           4     If you want the extra half hour, we can do it. Otherwise,
           5     the regular start time.
           6                 MR. LEE: 10:00 is fine with us.
           7                 THE COURT: I think 10:00 in terms of -- if we
           8     start to need extra time, we can begin starting earlier.
           9     Give me one second here.
          10                 MR. MORTARA: Your Honor, may I proceed?
          11                 THE COURT: Yes, you may.
          12             OPENING STATEMENT OF STUDENTS FOR FAIR ADMISSIONS
          13                 MR. MORTARA: Thank you, Your Honor.
          14                 The evidence in this trial will show that Harvard
          15     College discriminates against Asian-American applicants,
          16     specifically those applicants ineligible for Harvard's
          17     sizeable preferences for recruited athletes, the children of
          18     its alumni, major donors, and its faculty.
          19                 The evidence will show that senior officials at
          20     Harvard, including Dean William Fitzsimmons, have been aware
          21     of this discrimination since at least 2013. And in short,
          22     Harvard will deny both what its own internal research told it
          23     in February 2013 and what common sense should tell us all,
          24     that subjectively determining someone's personal qualities
          25     from a stack of paper without any guidance, without any



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           1    warnings about using race, invites racial bias, explicit
           2    bias, implicit bias, racial stereotyping, and that here has
           3    added up to intentional discrimination in violation of
           4    Title VI.
           5                This is particularly true in the case of Harvard's
           6    admissions process where the very first page of the very
           7    first document an admissions officer reads about how to read
           8    applications enjoins the admissions officer to focus on race.
           9                Most of the evidence we will present in this trial
          10    goes to Count I, our claims of anti Asian-American
          11    discrimination because on this claim we have the least
          12    disagreement with Harvard about the law. Harvard agrees it
          13    is against Title VI. It violates Title VI for Harvard to
          14    impose an Asian penalty in its admission process. We
          15    disagree about the facts.
          16                As to the other counts, Your Honor, it's a bit of
          17    the converse. The facts are less in dispute. Harvard uses
          18    race in its admission process and says its purpose is
          19    diversity.
          20                By Harvard's own admission, race is determinative
          21    in the admission of over half the African-Americans and about
          22    the third of the Hispanics on Harvard's campus in the
          23    college. That's not our report. That's Harvard's own report
          24    on race-neutral alternatives, Plaintiff's Exhibit 316.
          25                And as Director McGrath testified and will testify,



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           1    Harvard runs its preliminary admissions process and then
           2    checks the racial numbers from the previous year. If it sees
           3    a group that's far behind or significantly behind, an
           4    under-represented minority group, it explicitly goes back and
           5    re-reviews those applications, balances it out.
           6                And of course, as Your Honor observed in the
           7    summary judgment ruling, Harvard did not convene or finish a
           8    committee or seriously consider race-neutral alternatives
           9    until nearly 15 years after the Supreme Court told Harvard it
          10    needed to in the Grutter decision.
          11                Your Honor, the future of affirmative action in
          12    college admissions is not on trial here this next couple of
          13    weeks. The Supreme Court has held that race can be used in a
          14    narrowly tailored way in college admissions. Diversity and
          15    its benefits are not on trial here. Students for Fair
          16    Admissions supports diversity on campus, and the Supreme
          17    Court has held that race can be used in a narrowly tailored
          18    way in a college admissions process to unlock the education
          19    at benefits of diversity.
          20                This trial is about what Harvard has done and is
          21    doing to Asian-American applicants and how far Harvard has
          22    gone in its zeal to use race in its admissions process.
          23                Your Honor, I think you're already very familiar
          24    with Harvard's admissions process from the summary judgment
          25    briefing. I want to focus on some elements of that process



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           1    and how important certain features of that process are to
           2    admission to Harvard.
           3                And the guidance, the written guidance to Harvard's
           4    admissions officers about how to review that big stack of
           5    paper that they get in the application, is contained in
           6    documents like Plaintiff's Exhibit 1. Plaintiff's Exhibit 1
           7    is the reading procedures for the class of 2018. They're
           8    here on your screen right now, and all the reading procedures
           9    will be introduced into evidence, Your Honor.
          10                You can see what I told you at the outset. The
          11    very first thing that a reader of a Harvard application is
          12    enjoined to do is check the race of the applicant and make
          13    sure it's been properly transferred from the common
          14    application.
          15                Now, I know Your Honor knows, you ordered the
          16    production of a significant quantity of data about how
          17    Harvard applies the written guidance in documents like
          18    Plaintiff's Exhibit 1, six years of admissions data from the
          19    class years 2014 to 2019. We have about 150,000 applicants.
          20    We have about 10,000 offers of admission. You can look at
          21    that data and summarize it, and we've done that in Rule 1006
          22    summaries of the voluminous evidence Harvard produced from
          23    its own admissions decisions.
          24                I want to show you one of those summaries now.
          25    This is Plaintiff's Exhibit 620. This is a lot of



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           1    information, Your Honor. I'm not going to talk about all of
           2    it today. I want to orient you. This is talking about
           3    showing how Harvard uses its ratings. I'm going to talk
           4    about some of those ratings.
           5                The first thing I want to focus the Court's
           6    attention on is this notation down in the corner, so-called
           7    baseline data set. As Your Honor knows, we have significant
           8    discussions about how to treat the athletes; legacies; dean's
           9    list -- that's the list of people that take the attraction of
          10    Dean Fitzsimmons, perhaps because he knows the person or
          11    because Harvard's development office has asked for that
          12    attention; and the children of faculty or staff. They're not
          13    included on the data you're seeing on the screen. This is
          14    the regular folk, the people with no connection to Harvard,
          15    the non-ALDC applicants.
          16                You see up here I'm going to focus on the ratings
          17    Harvard applies, the first four here. There you see.
          18                Now, these ratings are important. They are ratings
          19    assigned by Harvard's admissions officers in their subjective
          20    judgment, guided by the guidance you saw or are going to see,
          21    Plaintiff's Exhibit 1.
          22                The overall rating is quite important, but you're
          23    not going to hear that much about it. The overall rating is
          24    the admissions officer's assessment of the likelihood that
          25    the candidate will ultimately be admitted. You won't hear as



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           1    much about it because Harvard admits that race directly
           2    influences the overall rating itself.
           3                And once Harvard made that admission, both sides'
           4    experts agreed the overall rating could not be used as a
           5    variable in an admissions model trying to measure the effect
           6    of race. That makes sense.
           7                So I'm going to talk first about the academic
           8    rating and how important it is to admissions. To do that,
           9    I'm going to blow up a portion of Plaintiff's Exhibit 620 so
          10    we can all look at it more closely.
          11                Here you see the academic rating here, and you're
          12    going to start to see some patterns as I go through this. 1s
          13    are the best rating and they're the rarest. There's only 600
          14    in the six years of data that we have, again for the regular
          15    applicants, not the ALDC folks. The admissions rate is very
          16    high. 66.18 percent of those candidates were admitted.
          17                Then you'll see the lion's share of the admissions
          18    are at academic rating 2, 6,000. The admissions rate is
          19    lower, about 10 percent.
          20                And then you'll an interesting phenomenon. Lions'
          21    share here, 2. Then you'll see the steep drop off between 2
          22    and 3 and then down to 4. You see, 4 has a lower chance of
          23    getting in if you get an academic 3, 2.4 percent admissions
          24    rate, and then essentially no chance of getting in if you get
          25    a higher rating; that is, a worse rating.



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           1                This is important. It tells us that the academic
           2    rating in getting a 2 or a 1 is very important to admission
           3    to Harvard. Since this is such an important rating, we can
           4    take a look at the guidance to tell us exactly how admissions
           5    officers are directed to assign the academic rating.
           6                You can see this here. This is from Plaintiff's
           7    Exhibit 1. It's from page 5 over to page 6. This is the
           8    guidance for the academic rating. Guideposts, even for
           9    academic 1. Evidence of unusual creativity or original
          10    scholarship. You see it there. And then down below in 2, 3,
          11    and 4, you see score targets for the SAT and the ACT,
          12    objective guidance for the assignment of this important
          13    rating.
          14                Now that we've seen the academics and the academic
          15    rating are important to admission to Harvard, we can talk a
          16    little bit about how it is that we came to be here today.
          17                Well, members of the general public did not have
          18    access to Harvard's database that Your Honor ordered
          19    produced. What the general public did know was that across
          20    America, Asian-American high school students were
          21    out-performing their white counterparts on the SAT, on the
          22    ACT, on national awards, national merit scholar, all sorts of
          23    these types of things.
          24                But that wasn't necessarily borne out on Harvard's
          25    campus. There were more whites than Asians. But now we have



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           1    Harvard's database and we can see maybe if the applicant pool
           2    explains that.
           3                To do that, I want to use an index Harvard uses
           4    called the Harvard academic index. That's a score between 60
           5    and 240. It's generated for every Harvard applicant for whom
           6    Harvard can get the information. It's composed of two-thirds
           7    from the SAT or ACT and one-third from the GPA or class rank.
           8    We can look at Harvard's own database to summarize the
           9    information therein to look at characteristics of the
          10    applicant pool.
          11                I'm now going to show you Plaintiff's Exhibit 624.
          12    This is another Rule 1006 summary of the database. This is
          13    not a calculation. This is the data from the database
          14    summarized here.
          15                What's organized on the left, you see academic
          16    index ranges. And on the right, you can see that each one of
          17    these ranges, each one of those rows, comprises approximately
          18    10 percent of the applicants. They're deciles. And so now
          19    we can compare white applicants and Asian-American applicants
          20    by reference to these academic deciles.
          21                The very first thing you see is that Asian-American
          22    applicants are disproportionately present in the top
          23    10 percent of Harvard applicants academically. You see that
          24    17.92 percent there.
          25                You also see that they numerically outnumber white



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           1    applicants by quite a substantial number in that first decile
           2    and again in the second decile.
           3                In the third decile, you see that the situation
           4    starts to reverse and now there's more white applicants than
           5    Asian applicants and the same in the fourth decile.
           6                I'll stop there and I'll tell you why. This top
           7    40 percent, by academics, of white and Asian applicants to
           8    Harvard, again in the regular applicant pool, not ALDC, make
           9    up 83 percent of the whites and Asians in the regular
          10    applicant pool admitted to Harvard. This is a very important
          11    group. It's the most, the lion's share, of the admittees.
          12    But on Harvard's campus what we see is something quite a bit
          13    different.
          14                This is from Plaintiff's Exhibit 319. It's
          15    internal Harvard data, but it ends up with things that
          16    everybody knew. And what you see here are first the
          17    admission rates, Asians being admitted at about half the rate
          18    of whites. You see that right there. The percentage of
          19    admits. 20 percent of the admits were Asians, 40 percent
          20    whites, year in and year out, including years that overlap
          21    with the data Your Honor ordered produced.
          22                That's of course reflected in the faces on campus,
          23    one Asian face for every two whites. That's the result. The
          24    public knew that too, which is why the public started to ask
          25    questions.



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           1                And Harvard has answers to those questions. The
           2    first answer Harvard gives is admission to Harvard is not all
           3    about academics. That is absolutely true, and Students for
           4    Fair Admissions is not here to say that Harvard needs to
           5    switch to an admissions model that focuses exclusively on
           6    academics.
           7                The problem with that first answer is
           8    Asian-Americans do as well or better than white applicants to
           9    Harvard on every single rating that matters to admission to
          10    Harvard, including extracurriculars, with the exception of
          11    the subjective personal rating I'm going to talk about in a
          12    little bit.
          13                Asians do better on extracurriculars. That's what
          14    the evidence will show. I'll show you that in a little bit,
          15    a few minutes.
          16                First let's look at how important the
          17    extracurricular rating is to Harvard admissions. We'll go
          18    back to the blowup of Plaintiff's Exhibit 620, here now
          19    showing the extracurricular rating. You see again the same
          20    pattern.
          21                1s are rare, and the admission rate is quite high,
          22    45 percent. All the action is with the 2s. 5,000 admittees
          23    here, an admission rate of 15 percent. Then you see again
          24    very steep drop off from 2 to 3. And comparing 2 to 4,
          25    2.28 percent, 7 times lower chance of getting in if you get



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           1    an EC rating of 3. This is a very important rating for
           2    admission to Harvard.
           3                Well, we can check again in Plaintiff's Exhibit 1
           4    and see what kind of guidance is given Harvard admissions
           5    officers on this important rating. This is again from
           6    Plaintiff's Exhibit 1. This is over at page 6,
           7    extracurricular.
           8                You see some guidance. In extracurricular 1, you
           9    see possible national-level achievement or professional
          10    experience. In 2, you see examples: class president,
          11    newspaper editor, local or regional recognition, and so on.
          12    5 and 6, as I think Your Honor probably knows, are special
          13    cases for the EC rating: 5 is significant family obligations
          14    that prevent participation, and 6 may be something like a
          15    physical condition, as you can see on the screen.
          16                So the extracurricular rating, also very important
          17    to Harvard, also significant objective guideposts and
          18    guidance given to its admissions officers on how to apply
          19    that important and relevant rating.
          20                The athletic rating is a little bit different, Your
          21    Honor. We'll blow up Plaintiff's 620 for the athletic rating
          22    now, and the very first thing the Court will notice is that
          23    there are no 1s. That's because, as I've been telling you,
          24    the ALDCs which include the recruited athletes are not
          25    included here, and they are the only ones that receive an



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           1    athletic rating of 1.
           2                An athletic rating of 1 is not actually a rating.
           3    It's a message that comes from the coach to Harvard
           4    admission, saying we would like this person admitted. What
           5    the evidence will show is it's not so much a message as it is
           6    essentially a command. Recruited athletes are admitted
           7    86.6 percent of the time, the evidence will show.
           8                I want to talk about the athletic rating for
           9    everyone else. They do get athletic ratings. The difference
          10    is it's quite unlike what you saw before with academic and
          11    extracurricular. See, athletic 2, it's not where the lion's
          12    share of that admits are. It's not where the action is, and
          13    the admission rate is lower, a little bit lower than academic
          14    2, substantially lower than extracurricular 2.
          15                But that's not what's important here. What's
          16    important is no steep drop off, 3 and 4, and no difference at
          17    all between 3 and 4. In fact, the admit rate for 3 and 4 is
          18    slightly higher.
          19                When you turn to the admissions guidance, the
          20    reading procedures, what you'll see is the difference between
          21    4 and 3 is someone with an athletic 4 doesn't participate in
          22    sports at all, and someone with athletic 3 is on the team.
          23                You can take a look at the guidance. You can see
          24    it here on the screen, again from Plaintiff's Exhibit 1. You
          25    can see is that 4 is little or no interest in athletics, and



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           1    3 is active participation. The athletic rating is just not
           2    very important to admission to Harvard.
           3                I want to pause here and talk about why did I
           4    mention this. Both experts have included the athletic rating
           5    in their models. So for whatever importance it has, it's
           6    taken into account by both sides' experts. I've included
           7    this because I think Harvard might during the trial focus a
           8    little bit and talk a little bit more about how important the
           9    athletic rating is in defiance of what its database is
          10    telling us.
          11                The reason they're going to do that is we've
          12    discovered that, for whatever reason, white applicants
          13    receive higher athletic ratings than Asian applicants. We're
          14    not going to focus too much on that during the trial because
          15    the athletic rating isn't very important to admissions. I
          16    only note it here in case Harvard makes a big deal out of
          17    athletic participation. You just saw the admissions rate for
          18    4 and 3 is exactly the same.
          19                The personal rating is a different story. The
          20    personal rating is crucial to admission to Harvard. And what
          21    do I mean by that? Here is Plaintiff's Exhibit 620, enhanced
          22    for the personal rating. You see again 1s are the rarest for
          23    the personal rating, only 39 for non-ALDC applicants in the
          24    six years of data we have.
          25                The admission rate is gigantic, 66.67 percent. All



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           1    the action is with the 2s again, 6,000 of our under 8,000
           2    admittees in this group come from the 2s, and they have a
           3    21.71 percent chance of getting in, the highest of the
           4    ratings you've seen. Look at the drop off from 2 to 3, a
           5    14 times lower chance, in Harvard's own database, of getting
           6    into Harvard if you get a personal 3 compared to a
           7    personal 2. You see it right here. A 1.51 percent chance of
           8    getting in if you get a personal 3.
           9                And we found zero Harvard admittees from the
          10    regular applicant group that got a personal 4 or higher.
          11    Given that this is the most important rating that I've shown
          12    you, we can all look at now what does Harvard tell its
          13    admissions officers about how to assign the personal rating.
          14                It's here on page 6, Plaintiff's Exhibit 1. There
          15    it is. That's it. That's all. No objective guidance. No
          16    instruction or admonition about how to or how not to use race
          17    in the assignment of the personal rating. No enjoinment or
          18    injunction against applying racial stereotypes or anything of
          19    the kind when applying the personal rating. That's it.
          20                Harvard's witnesses in this trial will be nearly as
          21    vague in their descriptions of what goes into the personal
          22    rating as what you're seeing on the screen. Is this person
          23    likeable? Are they sensitive? Would they be a good roommate
          24    or fit in at Harvard or contribute to the community or do
          25    they have grit and integrity?



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           1                The personal score is dramatically important to
           2    admissions to Harvard College. It's a subjective assessment
           3    with essentially no guidance about the applicant's
           4    likability.
           5                The undisputed evidence, Your Honor, will be that
           6    Asian-American applicants to Harvard receive substantially
           7    lower personal ratings than white applicants. Harvard's own
           8    expert, Professor David Card of Berkeley will sit to my left
           9    next week or the week after and he will testify that he
          10    cannot rule out racial bias as the explanation for why
          11    Asian-American students receive substantially lower personal
          12    ratings. He'll say that when I talk to him. He will call
          13    this gap unexplained.
          14                We have an explanation. It's that when no one in
          15    the admissions office ever even talks about how to properly
          16    use race in admissions and there's definitely no written
          17    guidance about how to do so and no one gets any guidance or
          18    training about how to use race -- there is not -- and there's
          19    no written guidance about how to assign the personal ratings,
          20    you have let the wolf of racial bias in through the front
          21    door.
          22                Our evidence on the personal rating will include
          23    the only statistical analysis of Harvard's personal rating
          24    from its database performed by either expert. Only Students
          25    for Fair Admissions' expert, Professor Peter Arcidiacono,



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           1    actually modeled the personal rating and showed that race was
           2    influencing it. Harvard's expert, Professor Card, did not
           3    construct his own model.
           4                You can also see the influence of race on the
           5    personal rating in Harvard's database, just looking at the
           6    data. You can see it with your own eyes.
           7                I'm going to show you another 1006 summary of the
           8    voluminous evidence, not an expert model, not a statistical
           9    calculation, just Harvard's own decisions reflected in the
          10    data that this Court ordered produced in this case. This is
          11    Plaintiff's Exhibit 629. I'm going to mention it a lot.
          12                It's again of the regular applicants, the
          13    non-ALDCs, Your Honor, but the pattern repeats in another
          14    exhibit we have when you include the legacies, dean's list,
          15    and children of faculty or staff.
          16                You see the academic index ranges on the left.
          17    These are the same academic deciles I showed you before.
          18    Then you see way on the right, it's that's the first thing I
          19    want to talk to you about.
          20                What's shown here in each of these cells is the
          21    percentage in each academic decile that receives that
          22    all-important 2 or 1 on the personal rating. Remember you
          23    need that 2 or 1 to be in that big, massive group of 6,000
          24    from our just close to 8,000 numbers in the admit database.
          25    And this shows you the percentage in each academic decile



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           1    that got that rating.
           2                In the highest academic index, the highest decile
           3    is 25.46 percent. I'm pointing that out because it goes
           4    steadily down, smoothly down as you go down the academic
           5    index ranges. And that's critically important because it
           6    shows there's at lease an association between performing very
           7    well in high school and on your SATs and ACTs and receiving a
           8    high personal rating, for whatever reason. That bears out in
           9    all the subgroups you're going to see, too.
          10                And then I'm sure Your Honor was looking at already
          11    the quite remarkable difference between Asian-Americans and
          12    whites on the personal rating. In the top academic decile,
          13    whites, nearly 30 percent of them get a 1 or a 2 on the
          14    personal rating, the all-important personal rating. This is
          15    the regular applicants. We're not talking about the ALDCs
          16    yet. Asians are down at 22 percent, and that persists.
          17                Remember I talked about the top four academic
          18    deciles, whites beating Asians in the second by nearly
          19    8 percent, in the third by nearly 8 percent, in the fourth.
          20    You see it right there all the way down the line.
          21                And you can see also some relationships that are
          22    interesting. Asian-Americans in the top academic decile,
          23    22 percent of them get that all important 1 or 2. You've got
          24    to go all the way down to the fifth academic decile to get
          25    the same proportion of white applicants to Harvard.



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           1                That's a pretty stunning difference, and I'm going
           2    to hazard a guess that Your Honor noticed another difference.
           3    Asian-Americans don't just do more poorly than
           4    African-Americans; they do dramatically and shockingly more
           5    poorly than African-Americans, sometimes half the proportion
           6    of Asians getting personal scores of 1 or 2 compared to the
           7    percentage of African-Americans.
           8                And I really do not think that Harvard is going to
           9    come in here and say that the reason for this is that
          10    African-American applicants to Harvard just seem on paper to
          11    be more likeable, have greater integrity or sensitivity, or
          12    have more grit. I don't think they're going to say that. I
          13    don't know what they're going to say. We'll ask.
          14                You've also noticed Hispanics do more poorly than
          15    African-Americans but wildly better than Asians as well, and
          16    they do better than whites.
          17                And now perhaps a more plausible explanation for
          18    what you're seeing on the screen from Harvard's own database
          19    emerges. Harvard admits that it has an affirmative action
          20    program in place for under-represented minorities, including
          21    African-Americans and Hispanics. Harvard will admit in this
          22    trial that the tip, as Harvard calls it, for
          23    African-Americans is significantly larger than the tip that
          24    Hispanics receive, but they still do receive a tip over
          25    whites.



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           1                And now you see the ordering here, the same
           2    ordering in Harvard's admitted affirmative action program,
           3    African-Americans receiving a very large boost on the
           4    personal rating, Hispanics receiving a boost over whites but
           5    not as large as African-Americans.
           6                And then you see what's going on on the left side,
           7    Your Honor, and that's the discrimination. That's the use of
           8    race Harvard will not admit to, which is Harvard pushing down
           9    Asian-Americans on this all-important, subjective,
          10    no-guidance personal rating. You see it right here from
          11    Harvard's own database.
          12                But Harvard has repeatedly tried to tell this Court
          13    in briefs, and they will do it again in this trial, that race
          14    doesn't influence the personal rating. They will tell you to
          15    deny what you're looking at on the screen. They will say
          16    race is not involved here.
          17                Harvard's trial witnesses, nearly to a man and
          18    woman, will try to testify that they don't use race in the
          19    personal ratings. Some will do that with more conviction
          20    than others, and of course it's the Court's job to judge the
          21    credibility of that.
          22                One senior admissions officer Christopher Looby,
          23    our second trial witness, he'll tell the truth that he's been
          24    using race in the personal rating for ten years. And we know
          25    from what we're seeing on the screen from the database that



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           1    Christopher Looby can't be alone.
           2                Some group, a sizeable group of Harvard's 40 or so
           3    readers of applications, has been using race as a factor in
           4    the personal rating. There's no other possible explanation
           5    for what you're seeing on the screen in Plaintiff's 629.
           6                As to whether Harvard's witnesses are credible on
           7    the subject, we'll ask them questions. They'll say there's
           8    no correlation between race and the personal rating, in
           9    defiance of what you're seeing. They'll say Asian-American
          10    applicants are no worse in their personal qualities than
          11    others, including whites. And they will be unable to explain
          12    what you're seeing on the screen.
          13                The truth is, Harvard has known for quite some time
          14    that they have a problem with the personal rating and how
          15    it's being applied to Asian-American applicants.
          16                In December of 2012 when David Brooks of the New
          17    York Times gave wide publicity to Ron Unz's critique of
          18    Harvard on this subject, the evidence will show a near panic
          19    set in at the Harvard admissions office, emails exchanged in
          20    the wee hours of the mornings over the holidays.
          21                Some of those emails went to the staff of Harvard
          22    office of institutional research, including Dr. Erin
          23    Driver-Linn, the head of OIR. What is OIR? We can see from
          24    Plaintiff's Exhibit 465 what they say they are. Their
          25    objective is to offer accurate, timely, and digestible



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           1    research to, among others, senior university officials like
           2    Dean William Fitzsimmons, dean of admissions, that are
           3    responsible for mandatory reporting requirements to including
           4    the federal government. This is a serious office with a
           5    serious mission staffed by serious people.
           6                The testimony from Dr. Driver-Linn will be that she
           7    would never ever offer senior university officials research
           8    that she thought was shoddy or wrong.
           9                So what did Dr. Driver-Linn and her colleagues
          10    offer Dean Fitzsimmons in February of 2013? Your Honor
          11    knows. A statistical analysis of ten years of admissions
          12    data that showed what? That Asian-American applicants were
          13    better than or equal to white applicants to Harvard on every
          14    ranking except the personal score, and that there was a
          15    statistically significant Asian penalty in the Harvard
          16    admissions office.
          17                And here's that report, Plaintiff's Exhibit 9. And
          18    as Your Honor knows from before, it's got a mistype on the
          19    date. It says February 2012; it's actually February 2013.
          20                And on the fifth slide you can see the first thing
          21    I discussed. The difference is in average test scores for
          22    ratings for white and Asian applicants.
          23                First I want to orient you to something on the
          24    bottom. This analysis excludes legacies and athletes.
          25    There's going to be a lot of discussion of this, Your Honor.



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           1    I've reserved my time on it. Towards the end, you asked
           2    about it at the pretrial hearing. I want to save some to
           3    talk about it.
           4                But here is Harvard's own internal researchers
           5    removing legacies and athletes from the database. As I told
           6    you before, Harvard has had an excuse about the
           7    disproportionate or underrepresentation of Asians on its
           8    campus, that the legacy and athlete preferences explain it,
           9    which is why many researches have removed them from the data
          10    set. It's why Students for Fair Admissions expert did it.
          11                Let's look at what the data shows on the screen.
          12    Blow this up, you see in the middle is the zero line. That's
          13    where Asian-American and white applicants to Harvard are the
          14    same. And you see starting from the top what the public knew
          15    that I mentioned, Asian-Americans vastly out performing
          16    whites on the SAT 2, over .3 standard deviations. Same on
          17    the SAT, both math and verbal.
          18                Then you see this alumni rating also outperforming
          19    whites. The next four are the same.
          20                Then you see the personal rating on which Harvard
          21    never gives anybody any training, there's no guidance, no
          22    injunction against using race. You saw the written
          23    procedures. There's almost nothing written in it. It's
          24    about how likeable you are. And somehow, some way, white
          25    applicants are deemed to be more likeable.



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           1                I told you Asian-Americans do better on
           2    extracurricular. There it is right there. You can see it.
           3                Because they do better on the SATs and they do
           4    better in high school, Asian-Americans applicants are doing
           5    better on the academic rating. This is the accurate, timely,
           6    and digestible research OIR gave Dean Fitzsimmons.
           7                What they did next is they created a statistical
           8    model. It's called a logistic regression model. And what
           9    you do here is you gather variables plausibly related to the
          10    admissions process and you use the data that you have. Here
          11    OIR was pooling ten years of application data and you try to
          12    measure how important those variables are.
          13                I have a demonstrative that sort of shows you what
          14    you're talking about. You have the admissions data. You
          15    know the outcomes. You have the variables, the ratings and
          16    such, and now you attempt to use a computer to tell you
          17    whether these things are important or not.
          18                On the next slide, I have a little picture of what
          19    the equation that gets produced results in. You see the
          20    ratings there -- academic, extracurricular, and so on -- and
          21    you compute these coefficients, the little colored letters.
          22    And if they're high and positive, that tells you they're very
          23    important to admissions. Negative tells you it's a penalty,
          24    it's a minus, penalty. Statistical significance Your Honor
          25    is familiar with, and that's what your model spits out.



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           1                If you're trying to measure race, the impact of
           2    race, you can do that, too.
           3                So did Dr. Driver-Linn and her colleagues tell Dean
           4    Fitzsimmons something about this and what their model had
           5    determined? Yes.
           6                That's slide 8 of Plaintiff's Exhibit 9. We can
           7    blow this up. They expressed their findings in something
           8    called odds ratios. Odds ratios are how much more likely are
           9    you to get into Harvard if you have this characteristic.
          10                And you see the very most important thing in this
          11    first model created by Harvard's own researchers, before
          12    there was litigation, before there was a website called
          13    Harvard Not Fair, before Harvard knew anything about this
          14    case or any witness was retained or any expert retained to do
          15    an analysis for either side's set of lawyers, Harvard's own
          16    internal researchers told Harvard, told Dean Fitzsimmons,
          17    that having a high personal rating was the most important
          18    thing, a 9x higher chance ever getting in.
          19                Also told them there's a big tip for
          20    African-Americans. You see it right there, also the legacy
          21    tip about the same size.
          22                Remember, we looked at the ordering, the hierarchy,
          23    if you will, in Harvard's assignment of the personal rating
          24    where you can see that African-Americans do better than
          25    Hispanics, do better than whites, do better than Asians. I



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           1    told you Harvard admits to using race in admissions. You see
           2    here the same hierarchy, the African-American tip bigger than
           3    the Hispanic tip. Right here.
           4                Then Harvard's own researchers told Dean
           5    Fitzsimmons something else, that there was a statistically
           6    significant penalty on Asian-Americans applying to Harvard in
           7    February 2013. It's about a 20 percent hit on your
           8    admissions chances. That's what they showed him. That's
           9    what he knew about.
          10                And this was not the only time this information was
          11    conveyed to Dean Fitzsimmons. The same analysis was given
          12    again and again and again, including with updated and
          13    improved models and including in a formal memorandum given to
          14    Dean Fitzsimmons in May of 2013.
          15                That's Plaintiff's Exhibit 26.
          16                This is an email from Erica Bever. She works at
          17    OIR, and she is sending this memo to Dean Fitzsimmons,
          18    including some others at OIR on the email. Subject is
          19    admissions memo. It says, low income admission memo final.
          20    You see that? It's the attachment.
          21                Now, Your Honor knows, but others may be wondering,
          22    why am I talking about a memo describing a recent analysis of
          23    low-income admissions in a case about discrimination against
          24    Asians? I'll explain.
          25                Dean Fitzsimmons did not respond to Plaintiff's



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           1    Exhibit 9, the February 2013 PowerPoint, by saying our
           2    process isn't reducible to a statistical model, I don't like
           3    these models, they don't represent what we're doing, they're
           4    incomplete or flawed, please never do them again.
           5                No. He asked Harvard's own researchers, before
           6    there ever was a case here, to do more analysis, more
           7    modeling to show that Harvard was giving a tip or a boost to
           8    students from underprivileged backgrounds, and he asked for a
           9    memo on that.
          10                He also asked them to review literature to see if
          11    their approach was consistent with what others have done.
          12    And Ms. Bever is reporting here that it was.
          13                Now there's a curious second paragraph. Harvard's
          14    own researchers want to get some other people involved,
          15    including Jeff Neal and Christine Heenan.
          16                Who are they? They work for Harvard's public
          17    relations department. So why is it that Harvard's internal
          18    researchers want to tell public relations about this?
          19                Well, we can find out in the memo. Here's the memo
          20    to Bill Fitzsimmons from Bever, Driver-Linn, and Mark Hansen,
          21    all working at OIR. And if you look at the second page of
          22    the memo, you see this model. It's a table, logistic
          23    regression.
          24                The variables are what I told you, SAT or academic
          25    rating or whatnot. The coefficients are the numbers, the



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           1    little colored letters. Positive is a boost and negative is
           2    a minus. Your Honor is familiar with what a P value is.
           3                The next page we can find out what happened. Here
           4    in this model, OIR include the recruited athletes, and they
           5    have this enormous positive coefficient. Because as I said,
           6    it's less of a rating than it is an instruction. 6.33, that
           7    is gigantic. They get in 86 percent of the time.
           8                You see for the rest of us, the personal rating is
           9    really important, the most important. 2.4. Legacy the same,
          10    2.4. Remember that was translating to between a 7 and 10
          11    times higher chance of getting in than the previous model.
          12                Then you see the same hierarchy. African-Americans
          13    getting a big boost. Hispanics less of a boost but still a
          14    positive coefficient. The same ordering you saw on
          15    Plaintiff's 629 with the personal rating where Harvard denies
          16    using race in assigning the personal rating.
          17                Then you see what OIR was reporting to Dean
          18    Fitzsimmons in an updated improved model. He didn't say I
          19    don't want any more models. He got another one. Here it is.
          20                A statistically significant Asian penalty, P value
          21    of zero. It's right here. Unless there be any doubt as to
          22    why OIR was concerned enough to alert public relations or
          23    wished to do so, it's right here at the bottom of the memo:
          24    "We imagine that sharing any analysis of admission weights
          25    will draw attention."



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           1                And in the lower highlighted section you see what
           2    they're worried about attention being drawn to: "Our
           3    descriptive analysis and regression models also shows that
           4    the tip for legacies and athletes is larger."
           5                Harvard's always been somewhat sheepish about the
           6    size of these preferences -- and we'll see why in a little
           7    bit -- and "that there are demographic groups that have
           8    negative effects." I'm sure it wasn't lost on Your Honor,
           9    even though it was on the screen only briefly, that the only
          10    demographic group that has a negative effect in the table is
          11    Asians.
          12                And this wasn't the last time that Dr. Driver-Linn
          13    and her colleagues presented this information. They did it
          14    again in October 2013. They did it again in May and July
          15    of 2014.
          16                Now, Your Honor, you will never see any document,
          17    any email, or any contemporaneous objective evidence
          18    whatsoever that there was anything shoddy, flawed, or wrong
          19    with these OIR analyses all warning Harvard they had a
          20    problem, a red warning flag that they at least had a
          21    potential problem with discrimination against Asians.
          22                What you will see is that Dr. Driver-Linn and her
          23    colleagues recognized in their own internal draft of this
          24    memo that these findings were "realities."
          25                They are realities, and Harvard and Dean



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           1    Fitzsimmons did nothing you would expect a reasonable
           2    employer or university or institution to do, which would be
           3    to investigate, deal with the problem, if the analyses were
           4    incomplete, to complete them, to acknowledge fault, and
           5    commit to doing better. You see it right here.
           6                And you'll see nothing from Harvard's documents
           7    with all the criticism of this work that you're going to
           8    hear. You're going to hear a lot of vague memories that the
           9    studies were incomplete or flawed, from Harvard's witnesses.
          10                Part of the Court's job is to judge the credibility
          11    of that against the objective contemporaneous written record
          12    and against the accurate timely and digestible reports OIR
          13    generated.
          14                You're also going to hear from Harvard that these
          15    OIR analyses were so terrible that no one bothered to discuss
          16    it further or do any research.
          17                Dean Fitzsimmons, for his part, told no one in the
          18    chain of command about it. He did not tell his immediate
          19    superior, Dean Smith, the dean of the faculty of arts and
          20    sciences, about these warning flags. He did not tell
          21    President Drew Faust, the president of Harvard, about these
          22    warning flags about the treatment of Asians. And he did not
          23    tell Marlyn McGrath, the director of admissions that he'd
          24    been working with for nearly 30 years, three decades. He
          25    didn't tell her.



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           1                The question we should all ask is what would this
           2    have had to have said for Dean Fitzsimmons and Harvard to do
           3    anything about it, to take one single further step, to talk
           4    to admissions officers about how they're using the personal
           5    rating, or how they might be engaging in racial stereotyping,
           6    to give them training or written guidance, implicit bias
           7    training, anything.
           8                Instead, Dean Fitzsimmons and Harvard decided that
           9    the system was working as they intended and perhaps had
          10    always intended it to work. And that adds up to intentional
          11    discrimination in violation of Title VI.
          12                The next expert to come along and model Harvard's
          13    admissions process is Professor Peter Arcidiacono, Duke's
          14    fair admissions expert from Duke University.
          15                He took the six years of data that Your Honor
          16    ordered produced and that we've been looking at and he did a
          17    logistic regression analysis, creating an admissions model
          18    similar in kind to the models that had been created before
          19    there was ever any litigation by Harvard's own researchers.
          20                And just like those prelitigation models created by
          21    Harvard itself, Professor Arcidiacono found a substantial
          22    penalty on Asian applicants to Harvard not in the ALDC group.
          23    He found the Asian penalty results in a 20 percent reduction
          24    in the admissions chances of an Asian-American applicant,
          25    again about the same size of what you saw in OIR's very first



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           1    model.
           2                And that translates into real numbers, Your Honor.
           3    Professor Arcidiacono will tell you that compared to his
           4    model without the Asian penalty, there would be at least
           5    hundreds more Asian faces on campus in a four-year cohort.
           6                And he'll also tell you his model is conservative.
           7    If anything, it underestimates the size of the Asian-American
           8    penalty.
           9                What you will be able to see when experts testify,
          10    Your Honor, and you look at particularly Professor Card's
          11    yearly models, which he likes, you'll see some patterns in
          12    the yearly data. I wanted to point just two of them out for
          13    you.
          14                One is, and I think in one of Mr. Lee's slides you
          15    see this if he uses it, is that the effect of Asian-American
          16    ethnicity on admissions, even in Professor Card's model, goes
          17    down -- the coefficient goes up a little bit -- in 2017.
          18                And what's special about 2017? Class year 2017,
          19    most of those students were admitted in the spring of 2013
          20    after the Unz article, after David Brooks.
          21                After Unz and Brooks shined a flashlight on Harvard
          22    admissions, Asian penalty or the effect goes down a little
          23    bit.
          24                Then you'll see something very interesting, which
          25    is that in 2019, when Students for Fair Admissions had sued



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           1    Harvard in 2014, late 2014, and the admin cycle for the class
           2    of 2019 had occurred right after that and this court was
           3    going to turn a spotlight on Harvard, the Asian penalty goes
           4    down substantially. The effective Asian -- marginal effect
           5    of Asians on admissions, the numbers go up, the coefficient
           6    gets higher, gets more positive.
           7                Why is that? That's because when Harvard knew that
           8    somebody was going to be looking into what was going on, they
           9    exerted control. They dialed down the Asian penalty.
          10                This is powerful evidence, circumstantial evidence
          11    of intentional discrimination. They have the control, and
          12    they react to this lawsuit by exercising that control. And
          13    just like an employer who for ten years does not promote
          14    African-Americans on the shop floor and then is sued for
          15    civil rights violation and magically promotes three after
          16    that, that's not evidence that the employer wasn't
          17    discriminating. That's evidence the employer was. So too
          18    here, and you'll see it in some of the charts that the
          19    experts will show you.
          20                In fairness to Harvard, their expert, Professor
          21    Card from Berkeley, he has his own model. And the Court's
          22    detailed summary judgment ruling outlined some of the many
          23    disagreements that Professor Card and Professor Arcidiacono
          24    have.
          25                But how best to model Harvard admissions? Should



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           1    we have the ALDCs? Should we do a pooled model versus a
           2    yearly model? Oh, I already did pooled; Professor
           3    Arcidiacono did pooled. Professor Card prefers a yearly
           4    model.
           5                Should we include parental occupation? Professor
           6    Card really wants to. Professor Arcidiacono says the data
           7    quality is not good enough.
           8                Should we do certain types of interactions? The
           9    list goes on. There are many disagreements. You'll hear
          10    about them during the trial.
          11                But, Your Honor, you can choose to assume the truth
          12    of every single word that Professor Card, Harvard's expert,
          13    utters. And as long as you rule in our favor and decide one
          14    thing our way: Harvard's own model shows a statistically
          15    significant Asian penalty, the model that they went to great
          16    lengths to produce, hundreds of pages of expert reports.
          17    Their own model shows a statistically significant Asian
          18    penalty.
          19                If you agree with us on one thing, what is it? You
          20    have to agree with us that what you're seeing here on
          21    Plaintiff's Exhibit 629 reflects the influence of race on the
          22    personal rating. If you believe what every single person
          23    listening to me can see right here on this screen that race
          24    is influencing the personal rating, the acknowledged use of
          25    race and the tip for African-Americans and Hispanics is right



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           1    there.
           2                All you have to believe is that Harvard is using
           3    race in a way that it acknowledges it is using race in the
           4    ultimate outcomes but denies that they're doing it here with
           5    the personal rating. If you believe that, that race has an
           6    effect here, then Harvard's own expert will agree that just
           7    like the overall ratings got to be pulled out, the personal
           8    ratings got to be pulled as because it's influenced by race.
           9                What happens to his model if you do that? This is
          10    not from Students for Fair Admissions expert report. This is
          11    from Harvard's own expert report. A statistically
          12    significant Asian penalty if you simply take out the
          13    subjective personal rating where no one gets any guidance.
          14                And the evidence is going to show Harvard has to be
          15    using race. Race has to be influencing it. If you do that,
          16    Harvard admits there's an Asian-American penalty and it's
          17    statistically significant.
          18                And a third of a percent doesn't seem like much,
          19    Your Honor, until you realize that the chances of getting
          20    into Harvard are about 5 percent. That's actually quite
          21    sizeable.
          22                Now we can turn to a big disagreement that Your
          23    Honor asked about, which is the exclusion of ALDCs from the
          24    data analysis. You asked about this at the pretrial hearing.
          25    And I didn't understand Your Honor to be asking how did it



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           1    come to pass that SFFA removed them from the data side.
           2                In their analysis, you can see why that's true.
           3    OIR did it, others have done it. I thought you were really
           4    asking why is it important. I want to try to get into that
           5    and show you how it changes the model.
           6                To do that, I need to show you some facts about
           7    Harvard's admissions of legacies, children of faculty or
           8    staff, and those on the dean's list, children of donors, for
           9    example, and athletes and the non-ALDC group.
          10                And here you see admission rates stratified by
          11    academic ratings similar to the blowups of 620 I showed you
          12    before. In the left column you see the same numbers I showed
          13    you before, for non-ALDC 66, 10 percent, and 2.4 percent.
          14    Remember the lion's share of the action is at academic 2.
          15                Then you start to see how much better the legacy
          16    list does here. They do about 50 percent better. Virtually
          17    all of them get in at academic 1. Of course the one athlete
          18    in the six years of data we have got in.
          19                Then you see something interesting here in
          20    academic 2. 10 percent admission chance for the regular folk
          21    with no connection to Harvard. A 50 percent admissions
          22    chance at academic 2 for the legacy, dean's list, and
          23    children of faculty or staff. It's a 5x difference. Again
          24    the athletes almost always get in. I told you that; I'll
          25    stop saying it.



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           1                At academic 3, 2.4 percent, really pretty low
           2    chances for the regular folk. But if your mom or dad went to
           3    Harvard or your grandparent or uncle gave a lot of money to
           4    Harvard, then your chances of getting in are seven and a half
           5    times higher, 18 percent.
           6                Down below at academic 4, almost nobody gets
           7    admitted in the regular group. But here we have the legacy,
           8    dean's list, and children of faculty or staff, still
           9    3.5 percent of them got in.
          10                You can also see these relationships. 3.5 percent
          11    at academic 4 for the legacy group. That's 2.4 percent at
          12    academic 3 for the regular group. A whole academic
          13    difference. And the legacy group is a whole academic rating
          14    better off. Higher admissions chances. Their admissions
          15    chances at academic 3 are almost double what the regular
          16    applicants are at academic 2.
          17                But that's not what tells you how the model is
          18    going to get distorted when you include the ALDCs.
          19                Here's how to look at that. You need to look down
          20    the columns. I told you have that the academic rating was
          21    very important to admissions. You see that here reflected in
          22    this drop off and admissions chances as you go from 1 to 2 to
          23    3 to 4. There's large numbers, 6, 4, 120.
          24                For the legacy, dean's list, and children of
          25    faculty or staff, those numbers are quite a bit lower. What



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           1    that reflects is the academic rating is simply not as
           2    important to admissions for this group. It's not as
           3    relevant. It's not totally unimportant, but it's not as
           4    important.
           5                And this effect is most profoundly seen with the
           6    athletes, where the numbers and the multipliers get close
           7    to 1, reflecting the fact that the academic rating really
           8    doesn't matter much at all for the admissions of athletes.
           9    As I said, they almost universally get in.
          10                So now how does that affect the model? You can see
          11    this from the chart I have in front of you, but actually one
          12    of Mr. Lee's slides shows it best. The legacy, dean's list,
          13    children of faculty or staff, the ALDC group, they are only
          14    5 percent of the applicants, Your Honor, but they are a
          15    whopping -- I'll use Mr. Lee's slide for this. They are a
          16    whopping 29 percent of the admitted students. 5 percent of
          17    the applicant pool, 30 percent of the admitted students.
          18                So when you include this group for who academics
          19    don't matter as much, what your model gets is distorted. It
          20    gets a distorted average effect where Harvard is saying
          21    academics just aren't that important. It's weighing down the
          22    regular applicants.
          23                Why are the regular applicants so important to us,
          24    Your Honor? I've kind of saved this towards the end. I've
          25    shown you have a lot of the baseline data set.



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           1                98 percent of the Asian applicants to Harvard are
           2    in the non-ALDC group. When Harvard chose, its expert chose
           3    to include the ALDCs in the dataset, it had the effect of
           4    weakening the importance of academics in a distortive way.
           5                Academics are very important for the non-ALDC group
           6    where most Asians are applying. But if you include the
           7    ALDCs, your model spits out kind of an average, a lower
           8    number.
           9                What does that do? Well, that means that the
          10    things that Asian-Americans are much, much better at,
          11    academics, are less valued by the model. When an Asian
          12    applicant doesn't get in, your model explains it with
          13    academics just aren't that important to Harvard in a
          14    distortive way, instead of concluding that there's an Asian
          15    penalty.
          16                You can see that in an analysis of Professor Card's
          17    model as well. Because when you remove the personal rating,
          18    you get that statistically significant effect, that's Card's
          19    yearly model right there. It's in his own report. If you
          20    remove the ALDCs, it gets bigger.
          21                Here you see that. Take out the personal rating,
          22    get the statistically significant effect, and we win. Just
          23    believe that race influences the personal rating.
          24                Take out the ALDCs, and the effect gets quite a bit
          25    larger. That's the point, and that's the answer to Your



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           1    Honor's question.
           2                Now, Your Honor, Harvard has many, many times
           3    positioned this case as if we have to prove more than a
           4    statistically significant Asian penalty. Harvard has sort of
           5    suggested that we need to prove the existence of a 40-person
           6    racist conspiracy.
           7                We do not. That's not the law. That's not the law
           8    in employment discrimination, and it's not the law here. We
           9    have shown a statistically significant Asian penalty, and
          10    Harvard acknowledges that it uses race in its admissions
          11    process. The burden is on Harvard to explain these
          12    differences and it will be unable to do so.
          13                There's also significant circumstantial evidence,
          14    as I've alluded to. The nonresponse. Frankly, the quietude
          15    about OIR from Dean Fitzsimmons. That's circumstantial
          16    evidence. The 2019 dialing down of the Asian penalty that
          17    you'll see, circumstantial evidence.
          18                It's not hard to see how Harvard got here, when you
          19    look at its laser beam focus on race in its admissions
          20    process. And that gets to the rest of the case. I'll spend
          21    a very little time this morning talking about it.
          22                As you know Harvard, said it has a holistic
          23    admissions process harkening back to Grutter and Bakke and
          24    the statements in those cases. Harvard's own brief in the
          25    Bakke case.



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           1                The evidence will show and allow the Court to test
           2    the proposition whether Harvard is really treating everyone
           3    as a whole person instead of as, first and foremost, the
           4    member of a racial group. And some of that evidence will be
           5    the stunning regularity in the racial balance in Harvard's
           6    class. And you've seen this before, Your Honor. It's ten
           7    years of admissions data. You see the sort of stability in
           8    the numbers.
           9                And Harvard doesn't like this. They don't like the
          10    rounding. They want to point out the fact that the numbers
          11    change plus 10 to 15 percent or minus 10 to 15 percent year
          12    to year.
          13                Our point is not that Harvard has a quota system
          14    down to the last jot and tittle. The point is that Harvard
          15    achieves a rough racial balance.
          16                And the second point is if Harvard was really
          17    treating everyone as a whole person, wouldn't you expect this
          18    to move around a little bit more? It's just a commonsense
          19    point. I can also see, and the evidence will show, that
          20    Harvard is very focused on this racial balance in its class
          21    throughout its admissions process.
          22                This is Plaintiff 146. It's what's called a
          23    one-pager. These are generated routinely throughout the
          24    admissions process, largely for Director McGrath and Dean
          25    Fitzsimmons. What you'll notice about these one-pagers --



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           1    I'll point out a couple of things.
           2                Number one, race is always on them. It's not that
           3    race is the only thing on all of them or it's the only thing
           4    on this one, but race is always present. Last year is always
           5    being compared to this year. What possible reason is there
           6    to do this unless you're trying to match up to last year and
           7    not deviate too much from last year, which is the very
           8    definition of racial balancing, which the Court has said is
           9    per se illegal.
          10                Then you'll notice, of course, something that
          11    you've seen before is that Harvard likes to separate out the
          12    non-legacy, non-athlete students just like Students for Fair
          13    Admissions did and OIR did. That's right there on the
          14    one-pager.
          15                Now, Your Honor, I mentioned earlier that
          16    affirmative action in higher education is not on trial here,
          17    and diversity is not on trial here. Students for Fair
          18    Admissions supports diversity on campus. And our expert,
          19    Mr. Rick Kahlenberg, is one the country's foremost supporters
          20    of diversity on campus.
          21                The problem for Harvard is that race dominates its
          22    process. By its own admission, race is determinative in
          23    admissions for half the African-Americans and a third of the
          24    Hispanics. That's not our report. That's Harvard's report
          25    on race-neutral alternatives, Plaintiff's 316. And that's



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           1    still with the personal rating included.
           2                And so we took them at their word. We have said we
           3    won't change anything about your admissions system other than
           4    what you admit to be the use of race, and we'll generate some
           5    alternatives for you. We'll take away what you admit to be
           6    doing on race, and we'll generate some alternatives. That's
           7    what Mr. Rick Kahlenberg did.
           8                Those alternatives required Harvard to do one thing
           9    and stop doing another. They had to increase socioeconomic
          10    preferences. They had to stop with the legacy and donor
          11    children preferences.
          12                Harvard steadfastly refuses to even contemplate
          13    giving up those preferences, which themselves operate to
          14    preserve Harvard as a bastion of privilege. Putting aside
          15    the moral valence of those preferences, which I think the
          16    amici, some of them will get into. If the choice is between
          17    putting young Americans on racial registers or preserving
          18    those preferences that almost universally benefit whites,
          19    that is no choice at all. Title VI does not contain a
          20    Harvard Club exemption.
          21                THE COURT: Hold on a second.
          22                (Off-record conversation)
          23                MR. MORTARA: It says right here, big finish.
          24    Right after I said there's no Harvard Club exception for
          25    legacy preferences. And I thought you were going to stop me



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           1    and say really?
           2                No big finish. Here we go. In all seriousness,
           3    Your Honor, this is a serious matter. I'm sorry to make
           4    jokes.
           5                Looking back at Plaintiff's 146, you're going to
           6    see that Harvard uses these one-pagers. And Harvard's
           7    witnesses and its expert will admit Harvard doesn't need to
           8    use race as a factor in admissions to enroll a significant
           9    number of Asians, and everybody knows they don't need it to
          10    enroll a significant number of whites. It's simply not
          11    necessary for them to achieve a diverse group of
          12    Asian-Americans on campus. They don't need any more whites.
          13                The Court might reasonably ask why Harvard needs to
          14    distinguish Asian-Americans from whites at all in its
          15    process. You see right here, Harvard is not -- is perfectly
          16    happy to group together Filipinos and Japanese and Chinese
          17    and Indonesians and Vietnamese and Cambodians and Pakistanis
          18    and all these groups.
          19                Why not just group them in with whites? Why didn't
          20    Harvard blind themselves to the difference between whites and
          21    Asians after its own researchers pointed out these issues
          22    with the personal rating and the existing of the Asian
          23    penalty in admissions? Why didn't Harvard do that? Why is
          24    Harvard so afraid of such a remedy, which is one that this
          25    Court might conceivably and obviously order if there's a



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           1    finding of liability on our Count I. Just treat Asians and
           2    whites the same.
           3                The evidence in this trial will provide the answer.
           4    Harvard is engaged in and wishes to continue to engage in
           5    intentional discrimination against Asian-Americans.
           6                Thank you, Your Honor.
           7                MR. LEE: May I proceed, Your Honor?
           8                THE COURT: Yes.
           9     OPENING STATEMENT OF PRESIDENT AND FELLOWS OF HARVARD COLLEGE
          10                MR. LEE: May it please the Court. My name is Bill
          11    Lee. And together with my colleagues Seth Waxman, Felicia
          12    Ellsworth, Danielle Conley, and Ara Gershengorn, and me. I
          13    represent Harvard. With us today are Drew Faust, until
          14    recently the president of Harvard University; Mike Smith,
          15    until recently the dean of Harvard's faculty of arts and
          16    sciences; Rakesh Khurana, the dean of Harvard College; Erin
          17    Driver-Linn, the dean of education at the Chan School of
          18    Public Health; Marlyn McGrath, the Harvard College director
          19    of the admissions; and Bill Fitzsimmons, the Harvard College
          20    dean of admissions.
          21                These are the people, Your Honor, along with many
          22    other admissions officers, that you'll hear from that SFFA,
          23    the plaintiff, has spent the last hour and the last four
          24    years of accusing of intentional discrimination.
          25                To be clear, they do not discriminate and did not



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           1    discriminate against Asian-Americans. Harvard does not
           2    discriminate and has not discriminated against
           3    Asian-Americans.
           4                Now, as Your Honor knows, at the outset of this
           5    case, the plaintiff's stated goal, publicly stated and its
           6    purpose of the case, was to change the law and eliminate all
           7    considerations of race in college admissions. It brought
           8    that very claim in this case. Your Honor rejected that claim
           9    in this case. As the Court's order recognized, the claim is
          10    precluded by an unbroken line of Supreme Court precedent,
          11    most recently the second Fisher decision.
          12                So what is the plaintiff left with? The plaintiff
          13    is left instead to claim that an admissions process that was
          14    lauded by the Supreme Court in Bakke as an illuminating
          15    example of a college admissions process and again years later
          16    in Grutter that is expressly described in a manner in which
          17    it's applied today in the appendix to Bakke that Justice
          18    Powell appended. And it was approved after a more than
          19    two-year review by the Department of Education's office of
          20    civil rights has somehow been manipulated in some clandestine
          21    way by these folks to intentionally discriminate against
          22    Asian-American applicants.
          23                But, Your Honor, after four years of litigation,
          24    the production of tens of thousands of documents, scores of
          25    deposition pages, and the production of data of more than



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           1    200,000 applicants to Harvard over a six-year period, the
           2    plaintiff cannot prove that Harvard discriminates against
           3    Asian-American applicants.
           4                Instead what the evidence will confirm is that, as
           5    identified by the Supreme Court as an illuminating example,
           6    race is considered as one factor among many in Harvard's
           7    admissions process, that when it is considered it is
           8    considered flexibly and not mechanically, and it is always
           9    used as a plus factor. To be clear, Your Honor, an
          10    applicant's race never counts against an applicant in the
          11    admissions process.
          12                You will not hear differently from SFFA. In fact,
          13    you will not hear from a single fact witness from SFFA. The
          14    plaintiff concedes that its founder, Mr. Blum, who is in the
          15    courtroom today, has nothing relevant to offer to the issues
          16    that are before Your Honor now. We couldn't agree more. Not
          17    a single one, as Your Honor knows, of the plaintiff's members
          18    who were denied admission will appear and testify in that
          19    witness box.
          20                Instead the plaintiff has resorted into summary
          21    judgment briefing and even this morning to invective,
          22    accusation, and innuendo based upon -- I think I'll be able
          23    to demonstrate to you even this morning misstatements of the
          24    record and supposed facts that had been wrenched from
          25    context. The plaintiff attacks Harvard and other



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           1    institutions of higher education that are dedicated to
           2    assembling diverse, inclusive, and vibrant communities and
           3    educating those who will help an increasingly diverse
           4    society.
           5                The plaintiff, as you heard, attacks the
           6    reputations and motives of Harvard's president, its deans,
           7    and dozens of admissions officers and other employees who
           8    have dedicated themselves to assembling just that kind of
           9    diverse and inclusive class.
          10                And the plaintiff has tried to silence the voices
          11    of the students who have benefited from these efforts and who
          12    can best explain to the Court the benefits of these
          13    environments.
          14                Now, the vast majority, by my computation, of the
          15    opening from the plaintiff today was about statistics and
          16    numbers. I think it was almost 80 percent of it. And the
          17    plaintiff, for sure, offers an analysis of an economist who
          18    has so manipulated the data that it led 16 leading
          19    economists, including Janet Yellen, the former chair of the
          20    federal reserve, and two noble prize winners to conclude --
          21    and I quote here, Your Honor -- his models are, quote, simply
          22    not reliable and his findings are, quote, implausible, closed
          23    quote.
          24                Your Honor will see they are. They are living
          25    proof that if you torture the data long enough, it will



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           1    confess to anything.
           2                We are fortunate to have a system that adjudicates
           3    controversies based upon real evidence and fact-based inquiry
           4    on complete pictures rather than facts taken from context.
           5    We're fortunate to have a system that decides cases on a set
           6    of principles and the rule of law.
           7                Those principles, that evidence, the facts, the
           8    truth, Your Honor, will demonstrate unequivocally to Your
           9    Honor that there has been no discrimination against
          10    Asian-American applicants in the Harvard admissions process.
          11    The Harvard admissions process is, as the Supreme Court said,
          12    an illuminating example of how far to balance a variety of
          13    competing interests.
          14                So let me turn to the remaining claims in the case
          15    and first address the legal principles which SFFA really
          16    didn't address in its opening. I will then turn to the facts
          17    and describe what Harvard does, why Harvard does it, and what
          18    Harvard does not do.
          19                Now, the plaintiff's allegations of intentional
          20    discrimination are serious. They are certainly not something
          21    humorous. The bar to prove them is high, and the courts have
          22    been clear about what the bar is. The plaintiff must prove
          23    that Harvard discriminated on the basis of race, that the
          24    discrimination was intentional, and the discrimination was a
          25    substantial and motivating factor for Harvard's actions.



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           1                In other words, the plaintiff must have show that a
           2    committee comprised of roughly 40 people at any given time is
           3    intentionally trying to discriminate against Asian-American
           4    applicants because they are Asian-American.
           5                Harvard's evidence and the lack of evidence that
           6    the plaintiff has been able to muster will show this is
           7    simply not true.
           8                The plaintiff also claims that Harvard has engaged
           9    in racial balancing. To prove this, the plaintiffs must show
          10    that Harvard has imposed a quota or otherwise taken steps,
          11    and I quote, to assure within its student body some specified
          12    percentage of a particular group merely because of race or
          13    ethnic origin.
          14                It is not enough, Your Honor, to simply show that
          15    Harvard pays some attention to the racial and ethnic
          16    diversity of its applicants during the admissions process.
          17                In fact, the Supreme Court has specifically
          18    endorsed the principle that paying some attention to the
          19    numbers is permissible. This is from Grutter at 336. Were
          20    it otherwise, Your Honor, there would be no way for the
          21    admissions office and Harvard to know that it was, in fact,
          22    assembling a diverse class.
          23                Now, the plaintiff next claims that Harvard gives
          24    undue weight to race. But again, the Supreme Court has held,
          25    and I quote, universities can consider race or ethnicity



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           1    flexibly as a plus factor in the context of individualized
           2    consideration of each and every applicant, again from
           3    Grutter.
           4                In so ruling, Your Honor, the Supreme Court
           5    specifically endorsed Harvard's flexible use of race as
           6    described in the Bakke opinion as a model for how
           7    universities can choose to consider race in admissions. As
           8    you will hear from Dean Fitzsimmons and several other
           9    admissions officers that will testify, that process described
          10    in the very appendix to Bakke is fundamentally the same
          11    process that's used today.
          12                It is a system that involves highly individualized
          13    holistic review of an applicant's file, gives serious
          14    consideration to all the ways an applicant might contribute
          15    to a diverse educational environment, and it is a system full
          16    of checks and balances, many of which were ignored by SFFA in
          17    their opening today, and a system in which no single factor
          18    is determinative. It is exactly what the Supreme Court has
          19    endorsed.
          20                Finally, Your Honor, as you know, the plaintiff
          21    alleges that Harvard could achieve its goals without
          22    considering race.
          23                For many years now, going back decades, Harvard has
          24    used and will continue to use multiple initiatives to
          25    increase the diversity of its applicant pool and admitted



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           1    class. You will hear about them. But at this time, Harvard
           2    cannot achieve its educational goals without considering
           3    race. Either its classes would be radically less diverse or
           4    they would suffer in other fundamental ways, including
           5    academic excellence. The Supreme Court again has made it
           6    clear that universities cannot be forced to choose between
           7    diversity and other educational objectives.
           8                So let me turn, Your Honor, to what we do because
           9    it's important. Each year the Harvard admissions office
          10    engages in a comprehensive iterative process with three goals
          11    in mind:
          12                The first is to admit a class of truly exceptional
          13    students. Harvard looks for students who excel in many, many
          14    different ways and who will contribute to and benefit from
          15    the community and all it has to offer. As you will hear,
          16    this does not mean only students who have the highest SAT
          17    scores or the highest grade point averages.
          18                The second goal, Your Honor, is to admit a class
          19    that is diverse in many ways, including racially diverse, so
          20    that students live and learn from a range of ideas,
          21    perspectives, life experiences, and ways of thinking.
          22                The final goal, Your Honor, is to admit a number of
          23    students that Harvard has room for. Harvard is a residential
          24    college. More than 98 percent of the students live on campus
          25    in campus housing. For the class of 2019, there were exactly



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           1    1,664 or so beds. The admissions office manages the number
           2    of offers it extends so that the number of students who
           3    actually arrive does not exceed those for whom we have room.
           4                To accomplish those goals, the admissions work
           5    starts long before any applications are received. Through a
           6    variety of initiatives, the office recruits essentially to
           7    ensure that as many qualified applicants as possible consider
           8    Harvard as an option. For example, since 1971 -- so we're
           9    going back now 50 years -- Harvard's had an undergraduate
          10    minority recruitment program. You will hear it referred to
          11    UMRP. It has sought to identify and encourage high school
          12    students of different racial and ethnic backgrounds to apply.
          13    This includes Asian-American students and has included
          14    Asian-American students.
          15                The precise group that the plaintiff claims Harvard
          16    is intentionally discriminating against is a group that we
          17    are actively recruiting on a daily basis.
          18                You will also hear from admissions officers about
          19    numerous other recruiting efforts. These officers regularly
          20    travel to all 50 states and visit approximately 150 cities.
          21    Their purpose is to spread the message that Harvard's doors,
          22    like many of its peer colleges and universities, are open to
          23    students of all backgrounds and means, and Harvard wants
          24    students of all backgrounds and means.
          25                These efforts have produced an increasingly large



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           1    and diverse pool of highly qualified candidates. Harvard
           2    currently receives approximately 40,000 applications each
           3    year, and it's an incredibly accomplished group of students.
           4                For the class of 2019, there were more than 2,700
           5    applicants with perfect scores on the verbal section of the
           6    SAT, more than 3,400 with perfect scores on the math section,
           7    and more than 8,000 applicants with perfect GPAs.
           8                But, Your Honor, Harvard has never admitted
           9    students on the basis of grades or SAT scores alone and has
          10    never defined academic, personal, extracurricular, or any
          11    other excellence in that manner. There are simply more
          12    academically qualified applicants than there are spots. The
          13    ability to succeed academically is necessary to be admitted,
          14    but it's not sufficient.
          15                Once applications begin arriving, the admissions
          16    office begins the difficult task of identifying the
          17    approximately 2,000 applications who are offered admission.
          18    The suggestion that everything is being done off of that one
          19    page that the plaintiff showed you in its opening is at least
          20    incorrect.
          21                To do its work, the admissions office considers an
          22    enormous amount of information provided by the applicants.
          23    The material Harvard receives often runs for an application
          24    to more than 50 pages, and we will walk you through a couple
          25    of the applications so you can see them. You will hear about



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           1    the parts of the applications in more detail, but they
           2    include much more than transcripts and test scores.
           3                It includes information about extracurriculars. It
           4    includes information about the applicant's high school and
           5    the rigor of the program. It includes information about the
           6    applicant's parents, their education, their occupation. It
           7    includes the applicant's intended major and career
           8    aspirations. It includes personal statements and essays.
           9    Critically, it includes a guidance counselor recommendation,
          10    two teacher recommendations, and an alumni report.
          11                And applicants may and often do submit supplemental
          12    materials they would like the admissions officer to consider.
          13    This includes academic papers, artwork, videos of theatre
          14    performances. The admissions officers consider all of these
          15    materials in an effort to understand who the applicants are.
          16                You will hear it referred to as the whole-person
          17    approach, which has been sanctioned by the Supreme Court.
          18    Admissions officers pore over the essays, the recommendation
          19    letters, interview reports, and other materials to learn what
          20    motivates an applicant, what makes an applicant unique, and
          21    what the applicant would bring and take away from the Harvard
          22    community.
          23                Now, because of the wide range of information that
          24    applicants submit and that may be submitted on their behalf,
          25    it's impossible to list every factor that could contribute to



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           1    the decision to admit a candidate. But there are several
           2    factors that Harvard consistently values. Admissions
           3    officers and alumni interviews are expressly told in writing
           4    what these factors are and that they should be considered in
           5    evaluating a candidate.
           6                On the screen now is DX 5 which will be in
           7    evidence. These factors are sometimes referred to as tips or
           8    pluses. They are listed in a handbook that's provided to all
           9    admissions officers and all alumni interviewers.
          10                The tips, the pluses, the things that Harvard is
          11    looking for are outstanding and unusual intellectual
          12    abilities, unusually appealing personal qualities,
          13    outstanding capacity for leadership, creative ability,
          14    athletic ability, Harvard and Radcliffe parentage, and
          15    geographic, ethnic, and economic factors.
          16                As you will hear, Your Honor, none of these tips on
          17    their own will earn an applicant admission. The purpose of
          18    the whole review process is to ensure that no one aspect of
          19    any applicant in isolation can alone tip him or her into the
          20    admitted pool. Nor, Your Honor, is this an exhaustive list
          21    of all the things that may weigh in favor of a particular
          22    candidate. But these are some of the factors that Harvard
          23    values that are considered by the admissions office and that
          24    are set forth in black and white in detail, as Your Honor
          25    will see.



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           1                Now, Your Honor is going to hear about the process
           2    in detail because understanding the process puts the lie to
           3    much of what SFFA contends. For now, let me outline the
           4    process because I think it's important and describes some of
           5    the basic contours of a process that involves lots of people
           6    considering lots of information over a long period of time.
           7                When the application is received, as Your Honor
           8    noted in your summary judgment ruling, they are grouped by
           9    geographical areas known as the dockets. Within each docket,
          10    admissions officers are assigned to specific areas. You will
          11    learn that admissions officers are instructed to be advocates
          12    for the applicants from their dockets. Their job is to
          13    identify and seek out information so they can make the best
          14    case on behalf of competitive applicants throughout the
          15    process.
          16                Now, Your Honor heard a lot about the personal, the
          17    four ratings. Let me tell you where in the process they
          18    occur and what they actually are.
          19                Admissions officers conduct the initial review or
          20    the first read of the applications from the high schools.
          21    Based upon the initial review of the file before any
          22    committee discussion, before my subcommittee discussion,
          23    before the file is even complete, often, admissions officers
          24    make preliminary assessments of applicants and assign ratings
          25    in a number of different categories.



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           1                There are four ratings referred to as the profile
           2    ratings: academic, extracurricular, athletic, and personal.
           3                The admissions officers also assign scores based
           4    upon teacher and guidance counselor recommendations,
           5    information that's coming to the admissions office from
           6    outside of Harvard, from the teachers and guidance
           7    counselors.
           8                There are scores from any interviews for the
           9    applicant.
          10                And finally, the admissions officers assign each
          11    applicant a preliminary overall rating. Some applications
          12    are assigned ratings by a second reader. Some a third reader
          13    who provide his or her own preliminary assessment and
          14    ratings. Applications may also be read, Your Honor, by a
          15    member of the faculty.
          16                Now, let me pause and say this. The suggestion
          17    that the only document at Harvard that discusses these
          18    ratings is that one page that SFFA showed you in the opening
          19    is simply not true. There is a handbook for interviewers and
          20    admissions officers. There are case books with different
          21    descriptions of different cases. There are periodic updates
          22    that go out from the admissions office. And when a new
          23    admissions officer comes in, they are trained, they go over
          24    cases, and for their first 50 to 100 files they are read in
          25    parallel with a senior admissions officer who can ensure that



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           1    the person is addressing all issues, including the ratings,
           2    in the correct way.
           3                Now, contrary to what SFFA has suggested, not a
           4    single one of these ratings, not a single one is formulaic.
           5    Every single one requires judgment by the admissions office,
           6    and every single one involves quantitative and qualitative
           7    information to some varying degrees.
           8                So let me take the academic rating. Some might
           9    assume that the academic rating is a formula based on test
          10    scores and GPAs. Your Honor, the academic index that SFFA
          11    refers you to is a formulaic determination. It is an index.
          12    It's not used in the admissions process. It's not the
          13    academic rating. I'm not sure why it was even suggested to
          14    you that it is.
          15                Instead, the academic rating that's assigned by the
          16    reader of a file is something that does take into account
          17    grades. It does take into account board scores, but it takes
          18    into account whether the applicant has won any awards. It
          19    takes into account the strength of the school, the strength
          20    of the academic program. It will take into account
          21    statements and the recommendations about the student's
          22    academic curiosity or capability. And when a Harvard faculty
          23    member reads a file, it will include judgments on that basis
          24    as well. Nothing in the academic rating is formulaic.
          25                The same is true of the extracurricular rating, and



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           1    the same is true of the personal rating. The personal rating
           2    captures a wide variety of things, including characteristics
           3    such as leadership, determination, and compassion, the very
           4    tips that are expressly described in the handbook. They
           5    capture the applicant's potential to contribute not just to
           6    their college community but more broadly to society after
           7    graduation.
           8                Like the other ratings, Your Honor, the personal
           9    rating is based in substantial part on information in
          10    individual's outside the admissions office giving information
          11    to the admissions office. It is teachers; it is guidance
          12    counselors; it is recommenders; it is alumni interviewers.
          13                Critically, and something not mentioned by SFFA,
          14    these ratings are all assigned very early in the process and
          15    are very preliminary. And I'm going to come back to this,
          16    but Your Honor can see on the screen how the four profile
          17    ratings are side by side by side by side.
          18                I'd ask Your Honor to keep that in mind, and I'll
          19    come back to it.
          20                The ratings are intended to help the officers
          21    triage among the hundreds and thousands of applications they
          22    review, and they serve as rough reminders of the applicant's
          23    strength.
          24                But, Your Honor, the ratings are assigned before
          25    any applicant is discussed by the committee, before any



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           1    subcommittee meeting occurs. They are assigned before
           2    there's been any determination of whether an applicant
           3    advances.
           4                So what happens next? What actually happens in the
           5    process is after these ratings have been assigned, after the
           6    individual officers have given it a first read, they actually
           7    meet with a group of folks who have read files from the same
           8    docket. These meetings take place over several days. They
           9    are open. There's an open discussion. There's no one hiding
          10    any information from anybody.
          11                The application files, all of this information is
          12    projected on a screen and available to every member of the
          13    committee electronically. Every single member can and does
          14    assess for him or herself the strength of an applicant's
          15    essay or the strength of the recommendation submitted by a
          16    teacher or the strength of a recommendation submitted by a
          17    guidance counselor.
          18                Then there's a discussion, an open discussion. And
          19    after that discussion, a preliminary recommendation as to
          20    whether an applicant should be admitted is made. The
          21    decisions are tentative. They are recommendations, but
          22    they're made collectively. And critically, Your Honor, they
          23    can and do change.
          24                Your Honor will learn that the ratings assigned
          25    that are the focus of SFFA's case do not determine whether an



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           1    applicant will be tentatively admitted or not. An applicant
           2    with lower ratings in all categories can be recommended for
           3    admission while an applicant with better ratings, higher
           4    ratings might not. It is the collective review and
           5    discussion of what the substance of the application is that
           6    makes the determination.
           7                After the subcommittee meetings are complete, Your
           8    Honor, there's another step. The full committee meetings
           9    begin.
          10                These meetings are attended by 40 members of the
          11    admissions committee and span multiple weeks. During these
          12    meetings again, the full committee considers all of the
          13    applicants who will be recommended for admission and who
          14    might not be. To do so, the committee collectively reviews
          15    thousands of applications as they work together to put
          16    together a class that is diverse in many different respects.
          17                Again in the full committee meetings, the
          18    applications are projected on a screen. Again in the full
          19    committee meetings, every admissions officer has electronic
          20    access to the full file.
          21                They also have a full list of all the applicants.
          22    The admissions can and often do say, well, I know you're not
          23    recommending this person, but I'd like us to look at their
          24    file. That occurs frequently.
          25                At the end of this process, there's a full



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           1    discussion. There's a full discussion of every single person
           2    who will be recommended for admission. The decision is then
           3    made in the open meeting among 40 people, each with one
           4    vote -- one vote, one person -- and either by consensus or
           5    majority vote, the decision is made.
           6                It is this decision that results from the process
           7    I've just described and the 40-person vote or consensus and
           8    not the numerical ratings that determine admission.
           9                At every stage of the process, Your Honor, you'll
          10    learn that applicants are evaluated as the multidimensional
          11    people they are. Harvard doesn't believe that any individual
          12    is defined by their grade point average or their SATs. All
          13    of the information about an applicant is considered.
          14                And for those applicants who have disclosed it,
          15    that includes race. To be clear, for Harvard and its
          16    students to attain the educational benefits of a diverse
          17    student body, Harvard believes that students of certain races
          18    or ethnic backgrounds should receive a tip. To be clear, for
          19    most applicants, race makes absolutely no difference to the
          20    admission decision.
          21                There are some applicants who will be denied
          22    admission no matter what the race. And for many applicants,
          23    they will be admitted no matter what the race. Therefore,
          24    however, highly qualified applicants on many, many
          25    different -- in many, many different respects who without the



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           1    tip for race may otherwise not have been admitted.
           2                But you will learn there are highly qualified
           3    applicants who will not have been admitted, highly qualified
           4    in many ways without the tip from being from a certain part
           5    of the country, without the tip for being from a modest
           6    socioeconomic background, without the tip for being
           7    exceptionally creative in an artistic way.
           8                A tip in isolation is never what makes the
           9    difference. And the files themselves will show that to Your
          10    Honor. Race alone is never the reason that a student is
          11    granted admission. And most importantly for the issues
          12    remaining with Your Honor, race is never the reason that a
          13    student is denied admission.
          14                In fact, race by itself does not factor into the
          15    four profile ratings. And this is the place where,
          16    respectfully, SFFA has engaged in a war of words. The
          17    self-identification of race by student is not factored into
          18    the four ratings per se or in isolation.
          19                But the readers are not blind. If a student is an
          20    African-American who grew up in a place or location where he
          21    or she suffered substantial discrimination and had to
          22    overcome that and took steps to help their community overcome
          23    that, that's going to educate the personal rating. That's
          24    not race being considered. That is the person and the
          25    person's life story which does, in part, depend upon the race



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           1    being considered.
           2                So the mere fact of race self-identified in
           3    isolation does not make it into the four ratings. The
           4    person's life story, which may or may not relate to the race
           5    in the same way that it may or may not relate to gender, it
           6    may or he may not relate to modest socioeconomic background
           7    are considered in the ratings.
           8                Now, a student's race may be considered by the
           9    individual admissions officers at any point during the
          10    discussion. It's considered one factor among many, and
          11    within the context of each individual application.
          12                This is what each of the admissions officers, the
          13    folks who are really willing to come to take the stand, will
          14    tell you. It's exactly what Grutter says at page 337.
          15                In keeping with the courts's holding in Grutter,
          16    Harvard has no policy, either de jure or de facto, of
          17    automatic acceptance or rejection based upon any single soft
          18    variable. Every student admitted to Harvard is qualified on
          19    multiple dimensions and different dimensions, Your Honor,
          20    including having the intellectual and academic ability to
          21    thrive in the community.
          22                This was true of the Harvard system at the time of
          23    Bakke. This was true of the Harvard system at the time of
          24    Grutter. It is true today. Race is considered. It can tip
          25    an applicant who is qualified in multiple different ways into



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           1    the pool. But the same is true of a variety of other
           2    factors, as we say in black and white.
           3                Now, as permitted by Bakke, Harvard's program
           4    treats each applicant as an individual in the admissions
           5    process, and an applicant will not be foreclosed from all
           6    consideration of a seat simply because of race.
           7                At the risk of being redundant, let me just restate
           8    this because it's important to the claims that remain before
           9    Your Honor.
          10                Harvard never considers an applicant's race to be a
          11    negative. If it considers race, it's always considered in a
          12    positive light. The fact that one applicant is given a plus
          13    or a tip doesn't mean that another who is not given that tip
          14    is being discriminated against. And if there's one thing
          15    that's clear from the Supreme Court cases and the excerpts
          16    that I've tried to show you during the opening, it is this:
          17    The Harvard process for the last 50 years has been viewed as
          18    lawful. That is why the Supreme Court twice pointed to it as
          19    illuminating.
          20                We are actually not here because Harvard has failed
          21    to comply with that unbroken line of Supreme Court precedent.
          22    We're here because SFFA would like to change what the law is.
          23                So having talked about what we do, let me talk
          24    briefly about why we do it. The suggestion this morning that
          25    the issue of why we do it is not an issue was at least



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           1    surprising to me. Why does Harvard -- why do so many
           2    colleges and so many universities in the United States
           3    consider race as one factor among many in the admissions
           4    process?
           5                Harvard itself determined long ago that diversity
           6    of all kinds was in the best interest of the college and its
           7    students. And without considering, as I said, race as one
           8    factor, Harvard did not believe it could fully realize the
           9    educational benefits of a diverse student body.
          10                Harvard's core mission statement, which is on a
          11    slide now and will come into evidence, is to educate citizens
          12    and citizen leaders to serve society in a variety of ways.
          13                You will hear directly from President Faust, Dean
          14    Khurana, and the other senior Harvard leaders that Harvard
          15    has long regarded diversity in every dimension as essential
          16    to its mission.
          17                Harvard believes that its students learn as much
          18    from each other as they do from their professors. Because
          19    they learn -- they live and learn surrounded by classmates
          20    who have different backgrounds, different interests,
          21    different factions, and who bring different perspectives to
          22    the discussions occurring around them every day, our students
          23    are able to challenge stereotypes and confront their own
          24    assumptions. They are better able to assess their own
          25    values. They are in a better position to succeed in our



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           1    increasingly diverse world.
           2                Your Honor, these benefits flow to all students,
           3    not just students of color. You will hear directly from some
           4    of those students who actually have asked themselves to
           5    testify. They are living proof that Harvard has a compelling
           6    interest and a diverse student body.
           7                I want to be clear on one thing. This commitment
           8    to diversity is not a mantra made for this litigation.
           9    Justice Powell's opinion in Bakke includes an appendix, as I
          10    said, specifically describing Harvard's process.
          11                On the screen now is a statement from the appendix.
          12    The appendix says, "If scholarly excellence were the sole or
          13    even predominant criteria for admission, Harvard would lose a
          14    great dealing of its vitality and intellectual excellence,
          15    and the quality of the educational experience offered to all
          16    students would suffer."
          17                That was true before Bakke; that was true at the
          18    time of Bakke; it was true at the time of Grutter; it is true
          19    today. And Harvard has said it in multiple reports that will
          20    come into evidence.
          21                On the screen now, Your Honor, is an excerpt from
          22    the 1996 report by then President Neil Rudenstine, a lengthy
          23    report that noted expressly that little, if anything, can
          24    substitute for the experience of continued association with
          25    others who are different from ourselves and who challenge us



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           1    even as we challenge them.
           2                And in February of 2016, under Dean Khurana's
           3    leadership, the faculty of arts and sciences at Harvard
           4    unanimously adopted a report issued by a committee to study
           5    the importance of student body veracity, a committee that
           6    Dean Khurana chaired. The committee embraced and reaffirmed,
           7    as the slide suggests, "the university's long-held view that
           8    student body diversity, including racial diversity, is
           9    essential to our pedagogical objectives and institutional
          10    mission."
          11                Now, Harvard is not alone in this judgment and for
          12    sure Harvard is not alone in making progress. You will hear
          13    from Dr. Ruth Simmons. She is the current president of
          14    Prairie View A&M University and the former president of Brown
          15    and Smith. She has spent her career learning what works and
          16    what does not work in higher education. And she will explain
          17    diversity, including racial diversity, vastly enhances
          18    educational opportunities and better prepares students for
          19    the world after graduation.
          20                Nothing, she will explain, can substitute from
          21    learning that happens from direct personal interactions with
          22    people who are different from us.
          23                Now that I've discussed what we do and why we do
          24    it, let me talk for a few minutes about what we don't do.
          25                Before I address the plaintiff's allegations from



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           1    this century, let me briefly address the subject of Your
           2    Honor's judicial notice of inquiry before we started today.
           3    These are events from the 1920's.
           4                As I said in open court last week, the fact that
           5    Harvard restricted the number of Jewish students was not a
           6    proud moment in Harvard's history. Not a single Harvard
           7    witness will tell you that it was. Instead, they will tell
           8    you that they've devoted their careers to making sure that
           9    nothing like that ever happens again.
          10                As I said in the pretrial conference, that policy
          11    occurred 50 years before the Bakke decision, 50 years before
          12    the Supreme Court said that the Harvard system was an
          13    illuminating example.
          14                So let's talk about this century and what SFFA has
          15    from this century. Each of the Harvard admissions officers
          16    who will take the stand will tell you that they take
          17    seriously the commitment to evaluate each student fully and
          18    fairly, without bias, without prejudice. They don't try to
          19    keep personnel out. They try to get people in.
          20                Now, as I said, by my calculation, roughly
          21    80 percent of the opening was about statistics. To be sure
          22    the plaintiff relies upon a complicated statistical analysis
          23    of Harvard admissions data in an attempt to prove its claim.
          24    But if we take a step back, the fact is that the percent of
          25    Asian-American students in a Harvard's admitted class has



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           1    grown considerably over time.
           2                By way of example, from the class of 2006 to the
           3    class of 2019, the percentage of Asian-Americans in the
           4    admitted class increased from 16.5 percent to almost
           5    21 percent, an increase of 25 percent. This representation
           6    has continued to increase. Last year, the class of 2022,
           7    Asian-Americans were almost 23 percent of the admitted class.
           8                Now, there are a variety of factors that contribute
           9    to this increase. But I would say respectfully the idea that
          10    we got sued by SFFA is the reason that the numbers have gone
          11    up simply isn't true. It's an argument only a lawyer could
          12    love.
          13                These numbers simply do not support the plaintiff's
          14    allegations. And when you look at the right set of
          15    comprehensive statistics, they don't support the allegations
          16    either.
          17                Professor David Card, who is also here with us in
          18    the gallery today, is a world-renowned economist and
          19    recipient of the John Bates Clark Medal, one of the field's
          20    most prestigious awards. He will tell you that any model of
          21    the Harvard admissions process is imperfect. And it is.
          22                The admissions office makes a series of highly
          23    individualized decisions each based on the quantitative and
          24    qualitative information in the file. And most of that cannot
          25    be captured in quantifiable data.



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           1                Professor Card built a model that approximates
           2    Harvard's admissions process as closely as possible.
           3                As Your Honor is aware, there are differences in
           4    how the experts model the data, but they actually all reduce
           5    to one simple question: Which model most accurately reflects
           6    what actually happens in the Harvard admissions process?
           7    Which one models the real world as opposed to a world that is
           8    not consistent with what Harvard does?
           9                Professor Card included all applicants in his
          10    model. He included athletes, legacies, children of faculty
          11    and staff, applicants who have been brought to the attention
          12    of the dean or director. He included them, Your Honor,
          13    because they are all competing in the same pool to gain
          14    admission.
          15                He also ran a separate model for each admissions
          16    cycle because that's how the process works. When the
          17    admissions office makes its decision as to who to admit in
          18    any given cycle, it is doing so in the context of who can
          19    help make the best class from among that year's applicants.
          20    It does not compare those students to students who applied
          21    four years ago or those who might apply three or four years
          22    from now.
          23                Professor Card also included in his analysis all
          24    the information that is quantifiable that the admissions
          25    office considers. This encompasses a wide variety of data,



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           1    but it includes the applicant's intended career, his or her
           2    parent's occupation, and all the ratings assigned by the
           3    admissions officer when the applications are read, not just
           4    some of them.
           5                When Professor Card modeled Harvard's admissions
           6    process considering all the applicants, considering all the
           7    quantifiable information that the admissions office itself
           8    considers, and considering the information year by year the
           9    way that the admissions office does, he found no statistical
          10    evidence of discrimination.
          11                Critically, Professor Card found that
          12    Asian-American ethnicity is never statistically significant
          13    in the admissions process. In other words, Your Honor, at
          14    the end in a model that considers all the data and all the
          15    applicants in the manner in which admissions office does, it
          16    is -- the result is not distinguishable from zero.
          17                What his model found instead was that over the six
          18    years of data that Your Honor had the parties focus upon,
          19    Asian-American ethnicity had a positive effect, not
          20    statistically significant but a modest positive effect in
          21    three years and a modest but statistically significant
          22    negative effect in three other years. This would surely be
          23    an odd result if we had this massive clandestine scheme to
          24    discriminate against Asian-Americans.
          25                But Professor Card also found more. He found that



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           1    there was actually a slightly positive effect in the
           2    admissions process for Asian-American women. He found that
           3    there was a slightly positive effect for Asian-American
           4    applicants from California. Now, these results, too, he will
           5    tell you were not statistically significant. But if you're
           6    trying to intentionally discriminate against Asian-American
           7    applicants, why would it only be males, and why would it only
           8    be males from outside of California?
           9                Now, the plaintiff's expert did not come to this
          10    case without a point of view. He has published papers
          11    endorsing the mismatch theory, with which Your Honor may be
          12    familiar. But it posits that affirmative action harms
          13    minority students by admitting them to schools in which they
          14    are unable to succeed. His own published work suggested
          15    African-American students for some reason gravitate to easy
          16    majors. He came to this case as an opponent of affirmative
          17    action, and he then developed a model that would allow him to
          18    justify that result.
          19                So how did he do that? The way that he did it was
          20    not to include all the applicants, not to include all the
          21    information, not to do it cycle by cycle.
          22                Instead, he kept taking out information. He kept
          23    taking out factors and got further and further away from the
          24    admissions process. It is the reason the amici describe his
          25    results as simply implausible.



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           1                So what did he do? First he excluded from his
           2    analysis whole categories of applicants, including athletes,
           3    legacies, children of staff, and students on the dean's and
           4    director's list. The plaintiffs have suggested that this is
           5    no big deal because these applicants are a small portion of
           6    the applicant pool. But as SFFA said in their opening, they
           7    are a significant portion of the admitted class.
           8                Now, I heard the suggestion today that the academic
           9    profile of the legacies is somehow less than the applicant
          10    pool itself. That's 100 percent wrong. It's actually
          11    better. And the suggestion that somehow giving legacies a
          12    tip is an indication that Harvard has dispensed with
          13    academics is simply wrong.
          14                And the suggestion that the coaches order the
          15    admissions office to accept people is simply wrong. Before
          16    the recruited athletes can be granted admission, they are all
          17    reviewed by the admissions process for their academic,
          18    extracurricular, athletic, and personal profiles.
          19                Why does SFFA's expert exclude this information?
          20    Your Honor, he does so because if you look at each of these
          21    categories, the Asian-American applicants in these categories
          22    are accepted at higher rates than white applicants. So he
          23    takes out a portion of the pool where Asian-Americans, while
          24    a very small portion of that pool but an increasing portion
          25    as every day passes, are actually admitted at higher rates.



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           1                Why would you do that? Now, he removed them
           2    because having those numbers in doesn't get you to the result
           3    he want you to have. He also pooled six years of data rather
           4    than going year by year. But the class -- applicants for the
           5    class of 2014 do not complete with applicants for the class
           6    of 2019.
           7                He also excluded from his model parental
           8    occupation, intended career, and whether the applicant had an
           9    interview with a staff member on campus.
          10                Now, that may sound like a random list to Your
          11    Honor. It is not. As you will learn, the reason he removed
          12    the specific variables is because only by removing them could
          13    he reach the results he wanted.
          14                And then finally, he came to the personal rating,
          15    and he excluded the personal rating from his model. Now, he
          16    admits that the personal rating reflects information that is
          17    important to the admissions office in evaluating candidates.
          18    He admits that it reflects information that comes from
          19    teacher recommendations, guidance counselor recommendations,
          20    other recommendations, personal statements, and interview
          21    reports. He admits that he's unaware of any of the 200,000
          22    applicants that he reviewed who was admitted without a
          23    personal rating. But he takes them from the model. And he
          24    takes them out of his model.
          25                Now, the plaintiff has suggested to you that he had



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           1    to remove them from his model because there was a negative
           2    effect for Asian-American ethnicity on the personal rating.
           3    But that same model, Your Honor, shows a positive effect for
           4    Asian-American ethnicity on the non completely quantitative
           5    academic rating, on the non completely quantitative
           6    extracurricular rating. A positive effect.
           7                So do you remember, Your Honor, when I showed you
           8    the summary sheet and I said I would come back to the fact
           9    that the four ratings are side by side by side by side?
          10                You have a first reader sifting down with a sheet
          11    in front of them. They're reviewing the file. To believe
          12    SFFA, to credit their allegations, you would have to conclude
          13    that a single reader sitting down with a file with that sheet
          14    in front of them goes to box one, to the academic rating
          15    which is not quantitative, but quantitative and qualitative,
          16    and actually gives Asian-Americans a bump up.
          17                You then come to the seconds box, which is
          18    extracurriculars, which has a substantial portion of the
          19    evaluation, not quantifiable, and gives Asians a bump up.
          20                And yet the same reader filling out the same form
          21    gets to the fourth box and says now I'm going to
          22    discriminate, and I'm going to downgrade the same person I
          23    just gave the bump up to twice to ensure they're not
          24    admitted.
          25                Does that make sense? We would suggest it does



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           1    not.
           2                Now, what that leaves SFFA with is a handful of
           3    emails and letters among the tens of thousands of documents
           4    that Harvard has produced. I am not going to address them
           5    now. We will address them during the course of the evidence.
           6                Most of them fall in the category like the letter
           7    from the 90-year old alum which was racist, inappropriate.
           8    There was a response that was polite. Has nothing to do with
           9    Harvard's admissions process.
          10                Now, this allegation that Harvard's process
          11    discriminates against Asian-Americans has been made before,
          12    it has been investigated before, and it has been found to be
          13    meritless before.
          14                In 1988, Your Honor, the Department of Education's
          15    Office For Civil Rights responded to the concern that there
          16    was possible discrimination against Asian-Americans to
          17    selective colleges. Specifically the concern was described,
          18    and I quote it here because it is so close to what you're
          19    seeing today, "Despite superior academic credentials in terms
          20    of high school performance and standardized test results,
          21    Asian-Americans have been admitted to selective schools at a
          22    lower rate."
          23                Both Dean Fitzsimmons and Marlyn McGrath, director
          24    of admissions, were there at the time. They will explain
          25    that while there have been, for sure, some changes to the



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           1    admissions process over the last 30 years, the basic
           2    system -- the first readers, the docket system, the
           3    subcommittees, the full committees, the vote of the 40
           4    folks -- is fundamentally the same.
           5                The office of civil rights investigated for two
           6    years. It reviewed 400 full applications and 2,000
           7    application summary sheets. It interviewed ten admissions
           8    officers, and it reviewed admissions offices policies. In
           9    fact, it set itself up physically in the admissions office.
          10    OCR even conducted its own statistical regression analysis on
          11    a sample of 110,000 students from Harvard's data.
          12                In the end, OCR found that there were some
          13    differences in the aggregate statistics between white and
          14    Asian-American applicants. When you do averages, you're
          15    growing to see some differences. But it recognized that
          16    those differences did not reflect discrimination. The
          17    conclusion, on the screen now, was that Harvard did not
          18    discriminate against Asian-American applicants.
          19                Significantly, Your Honor, OCR reached this
          20    decision even though its own statistical model found that
          21    white applicants on average had higher personal ratings than
          22    Asian-American applicants. The very finding or the very
          23    proposition that the plaintiff here claims is the linchpin of
          24    its case, OCR said we find there to be a difference. There
          25    is a difference. Based upon our analysis, it's not evidence



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           1    of discrimination of any kind.
           2                A decade later, an Asian-American individual filed
           3    a complaint alleging much the same, that he or she had been
           4    discriminated against by Harvard on the basis of their
           5    Asian-American ethnicity. OCR investigated again and again
           6    confirmed there was no evidence of discrimination.
           7                These allegations that SFFA makes today against
           8    Harvard have been made before. They've been investigated
           9    before. Even though they have been found to be meritless
          10    before, Harvard takes those allegations seriously, as you
          11    expect we would.
          12                So let me give you an example. In the report, OCR
          13    recognized in 1990 that Harvard provides admissions tips for
          14    athletes and legacies. OCR concluded that those tips
          15    explained, in its view, the disparity between whites -- the
          16    admission rates between whites and Asian-Americans. OCR also
          17    said that those tips were completely proper, that the ability
          18    to field competitive athletic teams and the ability to
          19    develop a community with Harvard students, faculty, staff,
          20    and alumni contributed to a sense of community in ways that
          21    are important to the institution, Your Honor, just as it does
          22    to other colleges and universities. OCR found that those
          23    tips, tips that we use today, were not used to discriminate
          24    against Asian-Americans.
          25                But nevertheless, following the issuance of the



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           1    findings, Dean Fitzsimmons periodically reviewed admission
           2    rates for non-athletes, non-legacy applicants to confirm that
           3    there were not significant differences between white and
           4    Asian-American applicants.
           5                The suggestion that he just put his head in the
           6    sand and assumed an ostrich-like posture as information came
           7    his way simply is not true. He asked for this information as
           8    the check or balance to ensure that the process that OCR said
           9    didn't discriminate against Asian-Americans would not in the
          10    future discriminate against Asian-Americans.
          11                And as the bar chart on Slide 35 will show you, the
          12    data report to him showed that there were no significant
          13    differences. Indeed, across the six years of data the
          14    experts have studied in this case, not taking all the data
          15    that Dean Fitzsimmons has received, but this case, the
          16    admission rates for Asian-American applicants who were not
          17    legacies or recruited athletes was 5.15 percent.
          18                The admission rate for white applicants who were
          19    not legacies or recruited athletes was 4.91 percent, a
          20    quarter of a point lower.
          21                Do I give you the numbers because I think there are
          22    some dispositive determination by numbers? No. We give it
          23    to Your Honor because it belies the suggestion that Harvard
          24    just buried their head in the stand. They could have just
          25    said OCR said we don't discriminate, let's move on. Instead



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           1    they took steps to ensure that for the non-legacy and
           2    non-athlete populations they were being treated fairly and
           3    squarely.
           4                Now, Your Honor, I want to address what I think is
           5    the heart of the 20th century information or 21st century
           6    information that the plaintiff relies upon. And it's these
           7    OIR reports.
           8                The plaintiff suggests that there was some internal
           9    investigation that found discrimination, and that the dean
          10    buried it. There was no finding of discrimination I can show
          11    you. I, in fact, can show you that the documents they showed
          12    you today and suggested the dean reviewed, he didn't review
          13    and there was nothing to bury.
          14                Now, this is entirely based upon work from the
          15    office of institutional research. It is a universitywide
          16    office. It is populated by good folks who are highly
          17    qualified. Ms. Driver-Linn then was a director of OIR. You
          18    will hear from her and others that the story behind these
          19    documents, particularly if you look at all the documents, is
          20    not what you heard earlier this morning.
          21                You will learn instead that there's been some
          22    cherry-picking, and what I'd like to do very quickly is give
          23    you a fuller picture of the story.
          24                So how does the story develop? In late 2012, Ron
          25    Unz, a Harvard alumnus, published an article about what he



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           1    called corrupt Ivy League admissions, in which he cast
           2    aspersions on Harvard and other institutions and alleged
           3    admissions policies were discriminating against
           4    Asian-Americans.
           5                Now, SFFA said this morning that it created a lot
           6    of concern. When Your Honor reads the article, it will cause
           7    you a lot of concern.
           8                Mr. Unz is an equal opportunity critic of racial
           9    groups. He criticizes Jews and their intellectual capacity.
          10    He criticizes East Asians and their intellectual capacity.
          11    He criticized Japanese-Americans and their work ethic. And
          12    he is most critical of blacks.
          13                The article would get attention from anyone who is
          14    in college admissions. It would get attention because it had
          15    a provocative thesis: It was disparaging of multiple ethnic
          16    groups, and it was based upon a highly suspect analysis.
          17                Now, around the same time, Your Honor, at the end
          18    of 2012 and 2013, there was another paper published by
          19    researchers Caroline Hoxby and Chris Avery.
          20                It, too, made a splash in higher education but for
          21    a better and different reason. Their thesis was that
          22    universities like Harvard and others were not making
          23    education accessible to a wide enough range of low-income
          24    applicants.
          25                It is against this background that OIR began



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           1    looking at a variety of issues in 2013. Some of this work,
           2    to be sure, was in response to Mr. Unz's provocative article.
           3    Some addressed low-income students in response to the
           4    Hoxby-Avery article and others. And some addressed other
           5    topics like early admissions, which Harvard had just
           6    reinstituted, and gender balance at our engineering school,
           7    which was relatively new.
           8                Now, SFFA focused you on P9 -- and I'm going to put
           9    it on the screen -- and suggested that this was presented to
          10    the dean and he sat on the information.
          11                Let me take you through what actually happened.
          12    The dean has said he saw some of the information in P9 but
          13    never all of it. And let's look at what P9 is.
          14                You can see that there's a cover page with no title
          15    filled in. You can see that the date is February 14, 2012.
          16    It's wrong by a year. When you get to the second and third
          17    pages, you'll see that the data is actually flipped. The
          18    data for Asian-Americans is under the category of whites, and
          19    the data for whites is under the category of Asian-Americans.
          20                And when you get to the conclusion page, this is
          21    what you will see. When some Harvard witnesses testified
          22    that this was preliminary and incomplete, they were not being
          23    critical of Ms. Driver-Linn or any of the people working for
          24    them. They were just looking at what you're looking at and
          25    could see with their four eyes, wrong date, no title, data



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           1    flipped, no conclusion.
           2                Now, let me take you to the next slide into P12.
           3    P12 is a presentation that was presented to the dean. It was
           4    presented on February 25, 2013. It has, as he said, some at
           5    the end, you'll see, data that is the same as P9 but not all
           6    of the data. As you can see, this presentation has the
           7    correct date. As you will see, it does not have blank pages.
           8    As you will see, it does not have data in the wrong columns.
           9    And at the end, it does contain some but not all the slides
          10    from P9.
          11                The first roughly 30 pages of this presentation
          12    address issues regarding the return of early action, which
          13    Harvard had recently reinstituted. It also examines, as I
          14    said, issues of gender balance at the engineering school
          15    because Harvard had just recently launched an engineering
          16    school.
          17                Starting at page 31 of P12, there is a section
          18    entitled "Evaluating Factors That Play a Role in Harvard
          19    College Admissions."
          20                Now, as you will see, OIR itself specifically said
          21    at the bottom of the page that the following analysis is
          22    preliminary and for discussion.
          23                Now, Ms. Driver-Linn will be here herself to
          24    explain to you that the models were exploratory, preliminary,
          25    and incomplete in the data they modeled. That's why they're



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           1    described as preliminary.
           2                To give you an idea, Your Honor, on Slide 44 is a
           3    listing of all the variables that Dr. Card modeled. He
           4    admits that these aren't all the variables considered in the
           5    process, but he modeled all these variables.
           6                On the next slide, Slide 45, here are the variables
           7    that were modeled in the OIR analysis. So let me return to
           8    the OIR analysis and to P12 and to the pages that Dean
           9    Fitzsimmons, in fact, did see.
          10                In model 1, which is on the screen right now, OIR
          11    considered what would happen to the class if it was admitted
          12    only on the basis of academic criteria and found that the
          13    class would have more Asian-American students than it does.
          14    Now, this model actually used the academic index even though
          15    the academic index isn't used in admissions.
          16                Models 2, 3, and 4, as Your Honor moves from left
          17    to right, adds additional factors at each step.
          18                THE COURT: Can you blow up that a little bit? I
          19    can't see it.
          20                MR. LEE: Is that better, Your Honor?
          21                THE COURT: Yes. Much better. Thank you.
          22                MR. LEE: If you move from left to right, you'll
          23    see that as you add in additional factors, legacies,
          24    athletes, personal qualities, and demographics, the makeup
          25    you have of the class changes, and you actually get very



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           1    close to what the class looks like.
           2                When the dean and others saw this analysis at a
           3    high level, even in a preliminary analysis it told them what
           4    they knew already, which is if Harvard admitted just on
           5    quantitative academic indications, the class would be more
           6    Asian-American. It would. But if you added more and more
           7    factors in, you get closer and closer to the actual class.
           8                Now, I think I heard SFFA saying that Dean
           9    Fitzsimmons should have sounded an alarm in response to
          10    something that basically confirmed what he knew already.
          11                There was no reason for alarm for several reasons.
          12    First, he's been in the trenches. He's been at these
          13    meetings. He's been there when the 40 people have voted. He
          14    knows what the models show. If they just went by test scores
          15    and grades, the composition of the class would be different.
          16    But that's not the class that they want.
          17                And the dean, he will tell you, continued to do
          18    what he had done before this, after this, to ensure that
          19    there was no prejudice or bias working against anybody in the
          20    process.
          21                Now, he also asked, after this, OIR to do some
          22    additional research regarding the tip for students from
          23    low-income families. He wanted to know whether they were
          24    getting a plus in response to the Hoxby-Avery letter. On the
          25    screen now is PX29. He specifically asked for this



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           1    information and he specifically asked for that information
           2    for Asian-Americans. And he got a response: Low income
           3    Asian-Americans, like other ethnicities, were getting a tip.
           4                And, in fact, Your Honor will see that the tip
           5    received by Asian-Americans was as high as or equal to the
           6    highest tips that were being given. If the dean was involved
           7    in that nefarious plan to bury OIR and discriminate against
           8    Asian-Americans, why would he be concerned in ensuring and
           9    confirming that low-income Asian-Americans were getting a tip
          10    and a benefit in the process?
          11                Before I briefly return to the other claims -- and
          12    it will be briefly -- let me say this: To believe there is
          13    intentional discrimination, SFFA would have you conclude that
          14    a process involves multiple readers, multiple subcommittee
          15    meetings, multiple committee meetings, and a decision by
          16    40 folks year after year after year has been somehow used to
          17    intentionally discriminate against a group of folks,
          18    Asian-Americans, on the basis of their race.
          19                You would have to conclude that to carry out this
          20    scheme the readers assigned to the academic and
          21    extracurricular ratings -- ratings that I said are
          22    quantitative and qualitative -- are giving Asian-Americans
          23    better scores but then moving to the last box and saying now
          24    I'm going to discriminate and I'm going to lower the score in
          25    the last box.



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           1                You would have to conclude that the admissions
           2    office did not discriminate against Asian-Americans who are
           3    legacies, athletes, children of faculty, children of staff,
           4    on the dean's list or Asian-American women or Asian-Americans
           5    from California but that Harvard is somehow intentionally
           6    discriminating against all the Asian-Americans, all other
           7    Asian-Americans.
           8                And you would have to conclude that the admissions
           9    office managed to execute this, what I would say is a
          10    nonsensical scheme, without leaving behind an email, a
          11    document, a single presentation that would indicate that this
          12    is what they're trying to do.
          13                Now, briefly on the other claims, one of the claims
          14    is that Harvard uses race as more than a plus factor with
          15    greater weight than is permissible.
          16                As Dr. Card will tell you looking across the full
          17    applicant pool, there are many factors that explain
          18    admissions decisions better than the applicant's race.
          19                There on the screen now in Slide 48 it includes
          20    everything, and it's commonsensical. The teacher
          21    recommendations, the guidance counselor recommendations, the
          22    information about the student's high school and its program,
          23    even the applicant's intended career, actually tells you more
          24    about whether a student will get admitted than race.
          25                Now, SFFA says, and it is true, Your Honor, that



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           1    for certain African-American and Hispanic applicants, those
           2    whose files demonstrate real strength in multiple dimensions,
           3    the tip for race can mean a great deal.
           4                But in this pool of applicants who are otherwise on
           5    the bubble, as you'll hear, the presence of any one factor
           6    could tip the balance in. For some it's race, and that's
           7    permissible.
           8                Now, SFFA also suggested that Harvard engages in
           9    racial balancing. You will hear there are no quotas; I think
          10    they conceded that this morning. You will hear that there
          11    are no formulas; I think they conceded that this morning. In
          12    fact, you'll see, I think, I hope, that the process is as
          13    I've described and results in substantial variation in the
          14    composition of the admitted class.
          15                So on the screen now is Slide 49, which has
          16    Asian-American, African-American, and Hispanic admission
          17    rates over years. You can see an increase for all three but
          18    wide variations year by year by year.
          19                Now, the plaintiffs suggests this is somehow racial
          20    balancing. I think the chart speaks for itself.
          21                And the one-pagers that SFFA described to you are
          22    somehow what's being used to racially balance. As Your Honor
          23    said in your summary judgment ruling, the one-pagers, if I go
          24    to the next slide, have a host of information: gender,
          25    geography, legacy status, financial aid, disadvantaged



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           1    status, intended concentration, and yes, race.
           2                They are not provided to all the admissions
           3    officers, just to the dean and the director of admissions.
           4    It is used for two reasons: to help manage the yield, to
           5    ensure that the number of kids who are admitted are folks for
           6    whom we have beds. And it is to see how the class is shaping
           7    up in terms of diversity across all of these different
           8    dimensions.
           9                And that is precisely what Bakke in the appendix
          10    blessed. Some attention to the numbers so that you could
          11    understand whether you're achieving the benefits of a diverse
          12    class.
          13                Race-neutral alternatives. Harvard has taken
          14    seriously its obligation to evaluate in good faith whether
          15    there are other ways to achieve meaningful racial diversity.
          16    Long before Grutter says or made the phrase "racial neutral
          17    alternatives" as popular it's it might be today, Harvard
          18    actually, you will learn, was aggressively pursuing many of
          19    these things. I talked about the minority recruitment
          20    program. You'll learn about Harvard's effort to have early
          21    action and the decision that it had been not the right
          22    decision.
          23                You will also learn about one of the most ambitious
          24    financial aid programs to help increase diversity. Today
          25    over half the students at Harvard are on financial aid.



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           1    20 percent of the class has no parental contribution. And
           2    for that portion of the class receiving some financial aid,
           3    the average cost of attending Harvard all in -- tuition,
           4    room, and board -- each year is $12,000. That is our effort
           5    at a race-neutral alternative to increase diversity. And
           6    16 percent of the incoming class is first generation in their
           7    family to go to college.
           8                Harvard will continue to pursue these alternatives,
           9    but it also has evaluated the question of whether race needed
          10    to be considered at this time. It took up the charge in
          11    2017. Dean Smith, Dean Khurana, and Dean Fitzsimmons, each
          12    of who will testify, will tell you that they met on multiple
          13    occasions. They will tell you that they reviewed literature.
          14    They will tell you that they reviewed the expert reports of
          15    the plaintiff's expert and Dr. Card's. And they came to the
          16    conclusion that at this moment in time Harvard still needed
          17    to consider race.
          18                Now, SFFA claims that somehow the fact that lawyers
          19    were involved in this process makes the process a sham or in
          20    less than good faith.
          21                Your Honor, this concept of pursuing race-neutral
          22    alternatives comes from a Supreme Court decision. It comes
          23    from a legal decision. How you comply with that is something
          24    that lawyers are going to be involved in, unless it's done
          25    poorly.



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           1                Let me end, Your Honor. 42 years ago I walked into
           2    a courtroom at Post Office Square, my first time in the
           3    United States District Court for the District of
           4    Massachusetts. I remember it as if it were yesterday. With
           5    the exception of the courtroom deputy, every single person in
           6    the room was male. With the exception of me, every person in
           7    the room was a white male. Even the gallery, which like
           8    today had interest from the press, looked the same.
           9                I'd ask Your Honor just to look around the
          10    courtroom today. It could not look more different. The
          11    demographics of those sitting in the courtroom today and
          12    enormous progress we have made in becoming a diverse and more
          13    inclusive legal system in society are manifest.
          14                Many institutions, many people have contributed and
          15    worked tirelessly to make this happen. Among them are our
          16    colleges and universities. Those colleges and universities,
          17    including Harvard but not Harvard on its own or not Harvard
          18    in a way that is different from so many other colleges and
          19    universities, have realized the benefits, the very real
          20    benefits to our students, to our communities, and ultimately
          21    to society that come from a diverse community.
          22                Those colleges and universities recognize that
          23    fostering diversity and broad inclusion in higher education
          24    through tested and constitutionally approved measures like
          25    the Harvard system have been an engine, not the only engine,



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           1    but an engine for democracy itself. The result is what you
           2    see in the courtroom behind me and in front of me.
           3                This progress was a result of concerted efforts by
           4    lots of folks to do the right thing. For Harvard, it meant
           5    implementing and adhering to the very admissions program the
           6    Supreme Court has twice blessed. For Harvard, it meant an
           7    admissions process that considers not just what students have
           8    done, for admission to any college is not a reward for what
           9    you have done but, more importantly, what they'll bring to
          10    their peers and their communities and the world beyond.
          11                This progress, Your Honor, is not the result of
          12    intentional discrimination. This progress is not the result
          13    of racial balancing. It is not the result of using race as
          14    more than a tip.
          15                The progress we have made in considering race as
          16    one of many factors is what has led us to the more diverse,
          17    more inclusive, and more robust society that we have today.
          18    We have made much progress, but there remains, as the
          19    students will tell you, much left to be done.
          20                This, of all times -- this of all times is not the
          21    time to go backwards. This is the time to build upon the
          22    progress we have made and carry ourselves further.
          23                Thank you, Your Honor.
          24                THE COURT: If it's all right with everyone, I
          25    would like to go on to the two remaining openings before we



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           1    break for lunch? Can everyone manage or do we need a break?
           2                MR. LEE: It's fine for us, Your Honor.
           3                MR. MORTARA: It's great, Your Honor.
           4                THE COURT: I'm Mostly concerned with my court
           5    reporter, and she says she's good to go, so I'd like to go
           6    forward.
           7                Are both amici groups going to open orally?
           8                MS. TORRES: Yes.
           9                THE COURT: When you're ready.
          10                MS. TORRES: I have some slides, and I do have a
          11    copy.
          12                  OPENING STATEMENT FOR AMICI STUDENTS
          13                MS. TORRES: May it please the Court. My name is
          14    Genevieve Bonadies Torres, and I represent the student amici
          15    in this case who are a diverse group of current and
          16    prospective Harvard students and recent graduates who stand
          17    together to defend Harvard's right to appreciate race and
          18    racial diversity in admissions. Our students appreciate the
          19    opportunity to share how this policy has intimately impacted
          20    their lives.
          21                As this Court is well aware, plaintiffs bring two
          22    separate claims. Students are here to defend one and show
          23    the other is disconnected.
          24                The first challenges Harvard's race-conscious
          25    admissions policy, which values racial and ethnic diversity.



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           1    The second claims that Harvard intentionally discriminates
           2    against Asian-Americans by giving white applicants an
           3    admissions advantage. The plaintiff's evidence may blend
           4    these claims together, but they must be distinguished.
           5                The first involves race-conscious holistic review,
           6    which the Supreme Court has repeatedly upheld because the
           7    benefits of diversity are both constitutional and profound.
           8                The second involves a white admissions advantage
           9    which, if found, does not justify a blanket ban on valuing
          10    race in admissions.
          11                I will mainly focus on the first claim, which asks
          12    whether Harvard when engaging in whole-person review may
          13    appreciate an applicant's race. The answer is yes. Our
          14    students humanize the reasons why, and there are three.
          15                First, race and racial diversity matter in
          16    present-day America, on Harvard's campus, and in admissions.
          17    Ethnoracial identity also matters for many Asian-American
          18    applicants who vary widely in their cultural backgrounds.
          19                Take Thang. 2060 out of 2400, that was Thang's
          20    total SAT score, a high score that is surely impressive at
          21    most schools but not at Harvard.
          22                Indeed, Thane's admission file notes that his SAT
          23    scores were at the lower end of the Harvard average. But the
          24    file will also show that Harvard did not reduce Thang to a
          25    number. There is not just a raw academic score but comments



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           1    about his intellectual curiosity. Not just a raw score for
           2    extracurriculars, but comments about his genuine commitment
           3    to social impact and the arts. Not just a raw personal score
           4    but comments about his infectiously happy personality.
           5                And on top of all this, there will be information
           6    about Thane's socioeconomic status, his parents' occupation,
           7    his intended concentration, and much more. And in this
           8    multitude of contextual information is Thane's ethnicity.
           9    It's listed once, but it shines through in his essay, his
          10    interview, and his recommendation.
          11                Notes from one of the readers states, Immigrant,
          12    Vietnamese identity, pencils as tools.
          13                This comment is a reference to Thang's essay where
          14    he shared about how his family emigrated from Vietnam in
          15    2006, how he struggled with English, how he was ridiculed,
          16    how he was called racial slurs. For a year he put a pencil
          17    between his teeth and read hundreds of books out loud to
          18    improve his pronunciation.
          19                And he shared all of this with Harvard, and Harvard
          20    listened. This note, though short, Vietnamese identity and
          21    pencils as tools, reflects how Harvard's whole-person review
          22    process appreciates how ethnicity can shape our prior
          23    achievements and future potential. Indeed, Thang's 2060 SAT
          24    score takes on a different hue after realizing that he faced
          25    racial slurs and struggled with English.



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           1                His contribution to discussions on Harvard's campus
           2    takes on new light once you know that he can weigh in on
           3    race-based hurdles faced by many immigrant communities.
           4                Thang is not alone in having his ethnoracial
           5    identity play some role in his experiences and contributions.
           6                You'll also hear from Itzel Vasquez-Rodriguez,
           7    class of 2017. Itzel will share that her application
           8    highlighted her strength as a Latina growing up in California
           9    and how her extracurriculars included Spanish club, Latino
          10    club, and volunteer work on behalf of native and Latino
          11    youth.
          12                The Supreme Court itself has observed that race
          13    remains relevant in evaluating applicants since it remains
          14    relevant in our society. As the Court observed in Grutter,
          15    which involves Michigan law school, by virtue of our nation's
          16    struggle with racial inequality, underrepresented minority
          17    students are both likely to have experiences of particular
          18    importance to the law school's mission and less likely to be
          19    admitted in meaningful numbers on criteria that ignore those
          20    experiences.
          21                Harvard's race-conscious policy recognizes these
          22    experiences, and its flexible policy applies to all racial
          23    groups, including many Asian-Americans.
          24                As you'll hear from our student Sally Chen, she was
          25    pleased -- Sally Chen. She was pleased that when she



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           1    reviewed her admissions file she saw praise for her academic
           2    interests which drew from her Chinese heritage.
           3                Now, just as race continues to matter, so does
           4    racial diversity. As you'll hear from Itzel, racial
           5    diversity on campus eased her sense of isolation. And as
           6    you'll hear from Sarah Cole, other students of color were her
           7    saving grace when correcting biases felt exhausting and gave
           8    her the support to share her voice and perspective.
           9                You will hear from all of our students how the
          10    racial diversity on campus resulted in better discussions and
          11    learning. And two aspects of this diversity make it
          12    particularly rewarding: First, by seeking diversity across
          13    all dimensions, Harvard cultivates diversity within each
          14    racial group, interracial diversity. And this breaks down
          15    stereotypes.
          16                Second, the benefits students derive from
          17    ethnoracial diversity is distinct from that of socioeconomic
          18    diversity.
          19                As you will hear from Itzel, she felt isolated in
          20    classrooms because of the color of her skin, her name, and
          21    her features. Race is visually salient and culturally
          22    distinct. The lawfulness of Harvard's race-conscious
          23    admissions policy will be based on these sound facts.
          24                And plaintiff's evidence cannot disturb these
          25    justifications. Plaintiff's attack primarily relies on their



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           1    expert, Dr. Arcidiacono. Their expert concludes that black
           2    and Hispanic applicants receive an unfair advantage in the
           3    admissions process.
           4                There are many problems with their expert's
           5    analysis, but one stands out. He fixates on academic scores
           6    which are primarily determined by grades and test scores.
           7                This brings us to the second problem with
           8    plaintiff's evidence. Merit is more than a number. First,
           9    equating merit with academics overlooks every other strength
          10    of an applicant.
          11                But second, it ignores that those receiving an
          12    average academic score, what plaintiff's counsel called a 3,
          13    rather than a 1 or 2, are still academically exceptional.
          14    This is because Harvard's applicants pool is a highly
          15    competitive one, full of high academic credentials.
          16    Admitting students with more average academic scores is not
          17    unfair when the evidence will show that such students are
          18    more than academically qualified and their other strengths
          19    make them stand out.
          20                Take Sarah Kohl. Sarah earned a scholarship to one
          21    of the best college prep schools in Kansas City, where she
          22    earned straight A's with several A pluses. Her school letter
          23    said that academically Sarah stood out and was virtually
          24    unparalleled. With all of those stellar credentials, Sarah
          25    earned a 3 plus for her academic score, what plaintiffs would



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           1    call a not cutting edge score, not a 1 or a 2.
           2                A narrow focus on academics also overlooks Sarah's
           3    other strengths, such as the fact that she worked part-time
           4    while maintaining her grades or the fact that she served on
           5    Kansas City's Engage KC Leadership Board. Kansas City, which
           6    had the second highest homicide rate in the nation where she
           7    focused her efforts on combatting gun violence because a
           8    close acquaintance was murdered, where she presented six
           9    recommendations to the Kansas City mayor on how to combat gun
          10    violence, and she shared about these things in her
          11    application.
          12                Now, this is a compelling application on its own.
          13    But knowing that Sarah is an African-American woman adds
          14    texture. She was combatting violence in a city notorious for
          15    its own violence against the African-American community.
          16                This brings me to the third problem with
          17    plaintiff's evidence, the impacts of eliminating race in
          18    admissions. Harvard expert calculated this impact on the
          19    admitted class, and it's captured through this graph.
          20                Three things jump out. First, white students will
          21    benefit the most from removing the consideration of race, not
          22    Asian-Americans.
          23                Second, eliminating the consideration of race will
          24    have a drastic negative impact on the number of
          25    African-American, Hispanic, and other minority students



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           1    admitted to Harvard's campus. In terms of their numbers,
           2    they will be cut by 50 percent about.
           3                Third, the proportion of Asian-Americans changes
           4    slightly from 24 to 27 percent. But importantly, this has a
           5    minimal impact on the likelihood of admission for
           6    Asian-American applicants. And it's shown in the data.
           7    While the number admitted does rise slightly, the number of
           8    Asian-Americans applying is still over 7,800. As such, the
           9    actual admissions rate hardly changes at all, only moving
          10    1 percentage point from 5.1 to 5.8 percent, less than
          11    1 percentage point.
          12                And recall there's a substantial impact on the
          13    number of black, Hispanic, and other ethnoracial minorities
          14    on Harvard's campus. This is a reduction among the students
          15    who already feel a heightened sense of isolation, who also
          16    lead many of the efforts which improve the campus racial
          17    climate for all students of color.
          18                Plaintiffs will claim that race-neutral
          19    alternatives can achieve the same levels of diversity.
          20    Students' testimony will focus on two reasons that this has
          21    problems. And it's not on the slide.
          22                But the first reason is that our student Itzel will
          23    testify that it was important to her that Harvard valued race
          24    and racial diversity on campus. And she may not have applied
          25    if that were not the case. The admissions pool may actually



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           1    change if Harvard no longer considered race.
           2                Second, the parties' experts have put forth several
           3    race-neutral alternatives. There are primarily three in
           4    play. But under all three, there is a reduction of
           5    approximately 30 percent of the number of African-American
           6    students on campus. Again, a group that already feels
           7    racially isolated.
           8                Now, I'll turn very briefly to plaintiff's second
           9    claim of a white admissions advantage. Again, students are
          10    here to show that it's disconnected from a policy that
          11    appreciates ethnoracial identity and promotes diversity.
          12    This disconnect is shown by the fact that banning
          13    race-conscious admissions predominantly benefits white
          14    students.
          15                But this disconnect is also shown by the data which
          16    suggests that any white admissions advantage is due to
          17    Harvard's preferences for ALDC applicants, athletes, legacy
          18    applicants, those on the dean or director's list, and
          19    children of faculty or staff. These preferences, as we saw,
          20    are substantial. And two pieces of evidence suggest it is
          21    these preferences, not race-conscious admissions which
          22    explain the white admissions advantage.
          23                Now, first, I don't have a slide for this, but it's
          24    in the reports that we've heard about several times.
          25    Harvard's own internal report notes athletes and legacies



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           1    explain the difference in raw admit rates for Asian-American
           2    and white applicants. You'll see that come out during the
           3    trial.
           4                And then second, the raw numbers. A table in
           5    plaintiff's expert report provides the following breakdown of
           6    admitted students over six years. It shows the total admits
           7    broken down by race. It also shows the total admits
           8    receiving special ALDC preferences by race.
           9                It's immediately apparent that the number of white
          10    students receiving these preferences dwarfs those of all
          11    other racial groups.
          12                Adding them up makes it even clearer. A totaling
          13    of 2,678 white admittees are associated with ALDC
          14    preferences. To put this in perspective, that's roughly
          15    equal to all the Asian-American applicants admitted and
          16    roughly equal to all the Hispanic and black students admitted
          17    combined.
          18                Numerically any disadvantage Harvard faces is more
          19    likely attributable to these ALDC preferences and
          20    race-conscious admissions. As such, any remedy that
          21    addresses a white admissions advantage would not involve
          22    banning race-conscious admissions but addressing the actual
          23    underlying issue.
          24                Now, we all know that this case has national
          25    significance, but it also has personal significance to our



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           1    students and the countless other prospective, current, and
           2    other former students of Harvard and beyond. Race
           3    consciousness is critical for campus diversity, and it's
           4    critical for viewing the whole person.
           5                Our student Sarah Kohl will perhaps state it best.
           6    To not see my race is to not see me at all.
           7                Thank you.
           8                Good morning, Your Honor. I have the unenviable
           9    position of standing between everyone and lunch, so I will
          10    try to be brief.
          11                THE COURT: I'm not that hungry.
          12                  OPENING STATEMENT OF AMICI ORGANIZATIONS
          13                MS. HOLMES: My name is Jennifer Holmes from the
          14    NAACP Legal Defense and Educational Fund. We represent 2,500
          15    Harvard student and alumni organizations that joined this
          16    lawsuit as amici in support of Harvard's ability to consider
          17    race as one of many factors in its holistic admissions
          18    process.
          19                Collectively, these organizations represent
          20    thousands of Harvard students and alumni. They are black,
          21    white, Latino, Native American, and Asian-American. In fact,
          22    ten of the organizations that we represent are Asian or
          23    Asian-American affinity groups. Our clients are the children
          24    of immigrants, those who can trace their lineage back to
          25    antebellum slavery and before, and those whose ancestors were



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           1    indigenous to this country. Many of them were the first in
           2    their families to attend Harvard, and some of them were the
           3    first in their family to attend any college at all.
           4                They are doctors, public servants, professors,
           5    entrepreneurs, and many are students still figuring out what
           6    the future holds for them and just trying to make it through
           7    this semester of organic chemistry.
           8                The 25 organizations that we represent are
           9    emblematic of Harvard's diversity and play a crucial role in
          10    helping Harvard realize the benefits of that diversity. They
          11    join this case because their racial identities matter both to
          12    who they are and how they shape Harvard.
          13                SFFA ignores this reality. As Harvard's counsel
          14    mentioned, SFFA's stated goal in this case was to change the
          15    law and make race-conscious admissions illegal. That claim
          16    was dismissed.
          17                But in its summary judgment papers, SFFA continued
          18    to argue that Harvard should no longer be permitted to
          19    consider race. So when Your Honor hears that affirmative
          20    action is not on trial and that diversity is not on trial,
          21    the Court need only review the record in this case and SFFA's
          22    ultimate goal in this lawsuit.
          23                SFFA wants Harvard to create an admissions system
          24    where we can't acknowledge racial identity, where race gets
          25    redacted, erased, and ignored, applicants can't talk about it



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           1    or reveal it, and Harvard can't consider it.
           2                But allowing universities to consider race in
           3    admissions as one of many factors is a necessary part of
           4    achieving the constitutional goal of pursuing the educational
           5    benefits of diversity.
           6                As the Supreme Court recognized in Fisher, a
           7    diverse student body promotes enhanced classroom dialogue and
           8    the lessening of racial isolation and stereotypes. Diverse
           9    learning environments improve critical thinking skills and
          10    prepare students for careers in an increasingly global work
          11    force.
          12                We also can't forget that race affects the
          13    opportunities that students receive even before they apply to
          14    college with bias and structural barriers imbedded in school
          15    discipline, standardized tests, and whether a student is
          16    selected for advanced courses or even the cheerleading team.
          17                An admissions process that considers race, along
          18    with academics, extracurriculars, civic engagement, career
          19    goals, socioeconomic economic status, parental occupation,
          20    geography, and many other factors allows for a truly
          21    individualized and equitable assessment of students that
          22    examines the whole person.
          23                You will hear testimony from three Harvard students
          24    and one alumni whose life experiences offer real-world
          25    examples of the concepts I just described. They are



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           1    Catherine Ho, a Vietnamese-American student; Madison Trice, a
           2    black student; Cecelia Nunez, a Latina and African-American
           3    student; and Margaret Chen, a Chinese-American alumna.
           4                If you take nothing else from their testimony, know
           5    that these witnesses are the ones who have firsthand
           6    experience with student life at Harvard. They have spent
           7    many days learning at Harvard and contributing their talents
           8    to its campus. They're the ones collaborating in the
           9    library, at the laboratory, at the late-night study sessions,
          10    or sometimes feeling excluded from those spaces because even
          11    at Harvard real inclusion is still a work in progress.
          12                Our witnesses' voices and perspectives and stories
          13    cannot be accounted for in statistical modeling. And unlike
          14    any of the witnesses that SFFA or Harvard will put on, these
          15    witnesses will offer a window into the student experience,
          16    including going through the application process and learning
          17    in the diverse environment that Harvard strives to cultivate.
          18                You will hear a few common themes from our
          19    witnesses. They will share personal stories about how their
          20    racial and ethnic identities figured prominently into their
          21    experiences growing up and continue to shape their experience
          22    at Harvard. Race is just not something they can separate
          23    from who they are. And being unable to share that with a
          24    college admissions officer would place students like them at
          25    a significant disadvantage.



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           1                Second, cultural organizations played a meaningful
           2    role in enhancing their college and alumni experiences. The
           3    educational benefits of a school like Harvard are not just
           4    found in the classroom. These organizations serve as support
           5    systems, hubs of civic and intellectual engagement, inclusive
           6    social spaces, and voices that challenge the Harvard
           7    administration when it needs to do better.
           8                They rely on a diverse student body for their
           9    membership. And if the number of students of color on campus
          10    declined, some of these organizations would cease to exist or
          11    would operate at a diminished capacity.
          12                Catherine Ho will testify about how her identity as
          13    a Vietnamese-American was front and center in her admissions
          14    application. Ms. Ho's parents were refugees who were
          15    resettled in the U.S. during the Vietnam War. In her
          16    personal essay, Ms. Ho wrote about the idea that the
          17    Vietnamese language has no past tense, so everything is
          18    expressed in the present tense. She explored the concept
          19    that this structural aspect of the language helped her
          20    parents not to dwell on hardships of the past but to focus on
          21    pursuing a better life in the present, which for Ms. Ho
          22    included extensive volunteer work at the same refugee
          23    organization that helped her mother years before she was
          24    born.
          25                SFFA claims that Asian-American applicants are



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           1    primarily a collection of strong SAT scores and academic
           2    credentials. Although Ms. Ho's scores were impressive, SFFA
           3    couldn't be more wrong that those scores represented the sum
           4    total of her life by the end of high school. If SFFA
           5    prevails in this case, students like Ms. Ho will be forced to
           6    erase the formative experiences that shaped their lives when
           7    they apply to college. Applicants of color, in particular,
           8    will be at a disadvantage because they will not be able to
           9    share compelling stories of adversity or identity that relate
          10    to race.
          11                And Harvard, whose mission is to educate the
          12    citizen leaders of tomorrow, will be forced to adopt a
          13    definition of "merit" that is blind to the people behind the
          14    numbers.
          15                Although Harvard now strives to create a class of
          16    high achieving students of diverse racial, geographic, and
          17    socioeconomic backgrounds, that was not always the case.
          18    Until the late 1970s, Harvard was a bastion of the white,
          19    privileged, and male.
          20                This has changed, to a large degree. But as
          21    Harvard's expert will testify, the remedies sought by SFFA
          22    threatens to slash the number of students of color on campus
          23    and turn back the clock to a time when the halls of Harvard
          24    were predominantly white and difference was not welcome or
          25    celebrated.



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           1                Our witness Madison Trice will testify about her
           2    experience in an educational environment -- in a similar
           3    educational environment as one of the few black students at a
           4    predominantly white high school. Despite excellent grades,
           5    she faced classmates who doubted her abilities and her
           6    intellect and teachers who steered her away from gifted and
           7    talented courses until her parents intervened.
           8                She felt isolated in the classroom, treated as an
           9    other, an anomaly, and a curiosity because of her skin tone
          10    and her hair. Seeing new black students enter the high
          11    school in lower grades each year was a bittersweet experience
          12    for Ms. Trice. She was happy to see more representation but
          13    feared that their experience, like her own, would be painful,
          14    marked by isolation and tokenism, and carrying the burden of
          15    being a symbol and a spokesperson of their race.
          16                Ms. Trice will testify that when she came to
          17    Harvard in 2017, discovering a school more significant than
          18    her high school was a revelation. Through her involvement in
          19    the Association of Black Harvard Women and the Black Students
          20    Association, Ms. Trice found a rich, supportive network of
          21    black students. She now helps organize events that encourage
          22    campus engagement with issues that affect communities of
          23    color and provide a social and intellectual hub for students
          24    from all backgrounds.
          25                For example, the black students union -- Black



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           1    Students Association hosted a panel on police brutality after
           2    a black student was assaulted by the police.
           3                Ms. Trice, like other Harvard students, can also
           4    take advantage of a range of events put on by other
           5    organizations such as "walk tails" or a women of color
           6    cocktail and discussion night hosted by the Asian-American
           7    women's association. Or the Harvard Pow Wow, hosted annually
           8    by the Native Americans of Harvard College. Or Brown Sugar,
           9    a massive dance party hosted Fuerza Latina and other cultural
          10    groups and one of the few parties where you will hear Spanish
          11    music on campus.
          12                Ms. Trice will testify that when new black faces
          13    arrive at Harvard each year on move-in day, she no longer
          14    feels bittersweet but instead is joyful about the diverse,
          15    vibrant community that awaits them.
          16                SFFA's goal of eliminating race-conscious
          17    admissions threatens this community and the organizations
          18    that help it thrive.
          19                So far I've painted a rosy picture of Harvard, but
          20    you will hear testimony that Harvard is not perfect. The
          21    organizations we represent often challenge the Harvard
          22    administration to support and include students of color.
          23    Margaret Chen has spent decades advocating for
          24    Asian-Americans at Harvard, first as a student and minority
          25    recruiter, then as an alumni interviewer, and now as an



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           1    active member of various alumni organizations.
           2                Experiencing firsthand the transformative impact of
           3    Harvard's diverse environment on her own life and career,
           4    Ms. Chen has pushed the administration to hire more
           5    Asian-American professors and admissions officers, to offer
           6    an ethnic studies program, and to increase training on
           7    cultural bias and stereotypes.
           8                She knows from personal experience that advocating
           9    for Asian-Americans does not mean wiping away race altogether
          10    or, as SFFA suggests, lumping Asian-Americans in with white
          11    students, as if their unique life experiences have no value.
          12                You will hear that even as diversity has grown on
          13    campus, some students still face racial isolation or episodes
          14    of racial insensitivity.
          15                The organizations we represent play an important
          16    role in supporting students who face these challenges,
          17    especially when Harvard's own support system falls short.
          18                Cecelia Nunez will testify about how she has been
          19    called racial slurs on campus when just trying to enjoy a
          20    night out with friends. Her organization, Fuerza Latina,
          21    conducts mental health check-ins with its members and
          22    successfully lobbied the administration to hire more mental
          23    health counselors with experience on issues of race and in
          24    particular Latino identity to better serve students on
          25    campus.



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           1                Harvard has made great strides over the years, but
           2    there's still a pressing need for more diversity and
           3    inclusion. Being able to consider race as part of a holistic
           4    admissions process is necessary for Harvard to continue to
           5    pursue these goals. Eliminating race altogether would make
           6    the existing challenges faced by Harvard students of color
           7    far worse.
           8                SFFA wants you to believe that none of these
           9    experiences matter and there's no value in Harvard's
          10    consideration of race. They want you to believe that Harvard
          11    should ignore race and that applicants should erase their
          12    racial identity when they present themselves for admission.
          13    But a colorblind approach to college admissions means that
          14    you close your eyes to the realities of racial inequities. A
          15    colorblind approach means that you close your eyes to the
          16    full, lived experience of each applicant. A colorblind
          17    approach means that you close your eyes to the value of a
          18    campus where students of different backgrounds learn
          19    alongside each other, challenge each other, overcome
          20    stereotypes, and shape the campus into a place that is
          21    increasingly inclusive and intellectually stimulating.
          22                The diversity on Harvard's campus is a foundational
          23    part of the student experience, and the organizations we
          24    represent are the engines that bring that diversity to life.
          25                Creating supportive networks is fostering outreach



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           1    and exchange and holding Harvard accountable on issues that
           2    affect communities of color. The law recognizes Harvard's
           3    right to foster that kind of campus, and our witnesses will
           4    make clear why it is imperative that Harvard continue to do
           5    so.
           6                Thank you.
           7                THE COURT: All right. Thanks very much, everyone.
           8    We'll recess for lunch and be back at ten of 2:00.
           9                THE CLERK: Court is adjourned.
          10                (Court recessed at 12:50 p.m.)
          11                           *** AFTERNOON SESSION ***
          12                THE COURT: Do you want to call your witness?
          13                MR. MORTARA: SFFA calls Dean William Fitzsimmons.
          14                THE CLERK: Can you please raise your right hand.
          15                (WILLIAM FITZSIMMONS duly sworn by the Deputy
          16    Clerk.)
          17                MR. HUGHES: Your Honor, before I get started with
          18    the witness, I've got a binder of the exhibits that we may
          19    get to with him during his examination. Would you like a
          20    copy of that binder or would you prefer just to follow along
          21    on the screen?
          22                THE COURT: I'll take a binder. I'm going to
          23    confess to still using a paper calendar too. I like paper.
          24                               DIRECT EXAMINATION
          25    BY MR. HUGHES:



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           1    Q.    Good afternoon, Dean Fitzsimmons?
           2    A.    Good afternoon.
           3    Q.    We haven't met yet. My name is John Hughes. I'll be
           4    examining you today. Nice to meet you.
           5    A.    Good to meet you.
           6    Q.    I'd like to start with some background about your
           7    experience in the Harvard admissions office. You began
           8    working in the Harvard admissions and financial office in
           9    1972, correct?
          10    A.    That's correct.
          11    Q.    What were your job title? What were your
          12    responsibilities at that time?
          13    A.    It was a long time ago, but I think it was assistant
          14    director of admissions.
          15    Q.    I understand you did that job for two or three years, and
          16    then you shifted to some different responsibilities within
          17    Harvard, with the Harvard fund for about a year and a half;
          18    is that right?
          19    A.    That's not quite the sequence, no. I then became
          20    director of admissions. That other position you mentioned
          21    didn't occur until about the mid '80s.
          22    Q.    You were with the Harvard fund for about a year and a
          23    half, correct?
          24    A.    Yes.
          25    Q.    What did you do when you were working for the Harvard



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           1    fund?
           2    A.    It was a job that was mostly designed to raise gifts for
           3    financial aid. It's annual gifts, small gifts, to try to
           4    inspire classmates mostly through reunions to make gifts that
           5    we thought were critically important to us.
           6    Q.    And after you finished working for the Harvard fund, what
           7    was your next position with Harvard?
           8    A.    It was dean of admission and financial aid.
           9    Q.    And that's a position that you've held ever since,
          10    correct?
          11    A.    That's correct.
          12    Q.    And you got that position, to be clear, in 1986, right?
          13    A.    That's right.
          14    Q.    So for the last 32 years, you've been the person in
          15    charge of Harvard's admissions office, correct?
          16    A.    That's correct.
          17    Q.    And you have a number of folks that report and work with
          18    you in the admissions office, right?
          19    A.    That's correct.
          20    Q.    One of those is Director McGrath, right?
          21    A.    Yes.
          22    Q.    How long has Director McGrath worked with you in the
          23    admissions office?
          24    A.    She came on board very shortly after I became dean. I
          25    would say maybe within the year perhaps.



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           1    Q.    So you've been working with her at least approximately
           2    30 years?
           3    A.    Yes.
           4    Q.    And how many people do you have in the admissions office
           5    that are reading applications to Harvard?
           6    A.    About 40 people.
           7    Q.    Does that include you?
           8    A.    Yes.
           9    Q.    So all of you read applications and participate in the
          10    admissions process that we've heard described this morning,
          11    correct?
          12    A.    Yes.
          13    Q.    You were here this morning for the opening statements,
          14    right?
          15    A.    I was.
          16    Q.    And would you agree that you are ultimately responsible
          17    for the way the Harvard admissions process is administered?
          18    A.    I'm not sure I would say that. It really is a team
          19    effort. I have one of the 40 votes, but it's really the
          20    responsibility of everyone.
          21    Q.    You agree that you lead the admissions office, correct?
          22    A.    Yes.
          23    Q.    Do you agree that you have a responsibility to make sure
          24    that the admissions process is fair?
          25    A.    Yes. I'm one of, as I said, really 40 people and more.



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           1    Q.    Do you agree that you have a responsibility to make sure
           2    that each applicant that is applying to Harvard is treated
           3    fairly?
           4    A.    That is certainly one of my responsibilities but also the
           5    responsibility of everyone on the committee.
           6    Q.    Something that you would expect everybody in the
           7    admissions office to do as the leader of the office, correct?
           8    A.    That's correct.
           9    Q.    Now I'd like to shift gears a little bit and talk about
          10    the Harvard admissions process, about the part that we only
          11    heard a little bit about this morning. And that's the
          12    beginning of the cycle, recruitment. You heard Mr. Lee talk
          13    about recruitment, right?
          14    A.    I did.
          15    Q.    And recruiting prospective students is a very important
          16    part of the work done by you and your colleagues in the
          17    admissions office, correct?
          18    A.    That's correct.
          19    Q.    I'd like to look at some things that the admissions
          20    office has said about recruiting. I'm going to show you on
          21    the screen Plaintiff's Exhibit 83.
          22                Before I do that, Dean Fitzsimmons, I'm going to
          23    let you know I put a binder in front of you that has numbered
          24    tabs which each of the exhibits that we may discuss in our
          25    time together over the course of the next couple of days -- I



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           1    can't promise we'll get to all of those, but if you ever want
           2    to see a paper copy, see more context, please do so. It will
           3    be right in front of you.
           4    A.    But it's going to be on the screen.
           5    Q.    It will be on the screen. Hopefully we can follow along
           6    on the screen. I'm going to show you Plaintiff's Exhibit 88.
           7                  MR. LEE: Can I have a hard copy?
           8    BY MR. HUGHES:
           9    Q.    I've got on the screen, Dean Fitzsimmons, the third page
          10    of Plaintiff's Exhibit 88. Do you recognize this as a
          11    document from your admissions office?
          12    A.    I do.
          13    Q.    What this document is, it's the interviewer handbook,
          14    correct?
          15    A.    That's correct.
          16    Q.    And the interviewer handbook is something that you supply
          17    to your alumni interviewers, correct?
          18    A.    Among other things, correct.
          19    Q.    Is it also supplied to the folks working in the
          20    admissions office?
          21    A.    That's correct.
          22    Q.    And the information that's contained in here is an
          23    accurate description of how the admissions process at Harvard
          24    works, correct?
          25    A.    Yes. It's kind of a thumbnail sketch, as it were, but



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           1    it's an overview.
           2    Q.    Alumni interviewers are important to the process because
           3    virtually every applicant to Harvard interviews with an
           4    alumni of Harvard who lives in their geographic area,
           5    correct?
           6    A.    The majority do.
           7    Q.    So now I want to see what the alumni interview handbook,
           8    Plaintiff's Exhibit 88, has to say about recruitment. So I'm
           9    going to turn to page 15.
          10                MR. LEE: Your Honor, I have no objection. But I
          11    think before we start asking witnesses about exhibits, we
          12    ought to offer them.
          13                THE COURT: Do you have exhibits that are agreed
          14    upon or are you going to admit each one as we go?
          15                MR. LEE: We're admitting them as we go.
          16                MR. MORTARA: That's fine. I thought we might wait
          17    for a break and do a bunch at the same time.
          18                But Your Honor, I offer Plaintiff's Exhibit 88.
          19                MR. LEE: No objection, Your Honor.
          20                THE COURT: Admitted.
          21                (Plaintiff Exhibit No. 88 admitted.)
          22    BY MR. HUGHES:
          23    Q.    Dean Fitzsimmons, I'm going to blow up a part that I want
          24    to take a look at with you together. These screens are a
          25    little small. I want to make sure you can see what's on the



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           1    screen in front of you.
           2    A.    I can.
           3    Q.    This is the part of the alumni interviewer handbook that
           4    has to do with recruiting prospective students, correct?
           5    A.    That's correct.
           6    Q.    And it starts by saying, "Many people often ask why,
           7    given the thousands of applications Harvard receives every
           8    year, we must invest such time, effort, and resources to
           9    recruit talented students. Vigorous recruitment, however,
          10    has been instrumental to our success."
          11                  Do you see that?
          12    A.    I do.
          13    Q.    Do you agree with that statement?
          14    A.    I do.
          15    Q.    And then down below you see I've got some additional
          16    language highlighted that says, "Active recruitment helps
          17    sustain the critical opportunity to 'consciously shape the
          18    makeup of our student body' as colleges compete intensely for
          19    the best students."
          20                  Do you see that?
          21    A.    I do.
          22    Q.    Do you agree with that statement?
          23    A.    I do.
          24    Q.    So recruiting is part of how Harvard consciously shapes
          25    the makeup of Harvard's student body, right?



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           1    A.    It's certainly one of the most important beginnings.
           2    Q.    Now I've just highlighted the next paragraph down below
           3    what we've just looked at. I want to read this into the
           4    record and ask you a few questions about it.
           5                  "Direct mail. Virtually all college-bound students
           6    take the PSAT by their junior year. High school juniors and
           7    seniors also take SATs and the ACT which survey students
           8    about their academic experiences and interests. With
           9    students' permission, the College Board and the American
          10    College Testing company sell colleges this information.
          11    Harvard has identified accomplished students with these
          12    searches for many years. We send letters and view books to
          13    searched students, and we share student lists with schools
          14    committee chairs to craft recruitment plans and to identify
          15    students to invite to local presentations. Our research
          16    shows that students who qualify for this search are about
          17    twice as likely to be admitted as other applicants."
          18                  Do you see that?
          19    A.    I do.
          20    Q.    Does that accurately describe how Harvard uses the
          21    information that it purchases from the College Board?
          22    A.    It's a partial explanation.
          23    Q.    To make sure we unpack what's happening here, Harvard
          24    gets information from the College Board, which administers
          25    the PSAT, about certain students, correct?



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           1    A.    Yes.
           2    Q.    Based on things like SAT scores, ACT scores, PSAT scores,
           3    geography, and race or ethnicity, correct?
           4    A.    Yes.
           5    Q.    And then what Harvard does with that information is it
           6    generates a list of students to invite to apply to Harvard,
           7    correct?
           8    A.    Yes. It's one of the ways we recruit.
           9    Q.    It not only uses those names to create the mailing list,
          10    so to speak, those searched student lists are provided to
          11    underrepresented minority recruitment programs, correct?
          12    A.    That's true.
          13    Q.    And they're used when you go out on the road. You go all
          14    over the country every fall meeting prospective students,
          15    right?
          16    A.    Yes.
          17    Q.    One of the ways the list is used to identify people to
          18    invite to come to meet with you and your staff when you go
          19    out on the road, correct?
          20    A.    Yes. It's what we call a good start.
          21    Q.    And you also supply the list to the schools committee,
          22    correct?
          23    A.    We do.
          24    Q.    Tell us what that is.
          25    A.    The schools committee. There are about 10,000 alumnae



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           1    and alumni around the country and around the world who help
           2    us recruit, first of all, which is what we're talking about
           3    here. But then they will interview all of the local
           4    candidates in their local areas. Then afterwards they have
           5    another job. When the students are admitted, we also ask
           6    them to do everything they can to encourage the students to
           7    come to Harvard.
           8    Q.    So getting back to our -- thank you for that.
           9                But getting back to our search list, the last
          10    sentence I have highlighted here says, "Our research shows
          11    that students who qualify for this search are about twice as
          12    likely to be admitted as other applicants."
          13                That's a true statement, right?
          14    A.    I believe it was at the time, yes.
          15    Q.    And whether or not a student is searched is actually
          16    something the admissions office keeps track of during the
          17    admissions cycle, correct?
          18    A.    We do.
          19    Q.    Getting on the list is a good thing if you're a high
          20    school student who wants to go to Harvard, correct?
          21    A.    The fact that you are on the searched list would not make
          22    a difference in terms of the decision the committee might
          23    make, but it's a good thing for us to know in terms of
          24    whether or not our outreach through the search program is
          25    helpful.



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           1    Q.    Now I'd like to look at an example of the letter that you
           2    send to searched students, and that's going to be Plaintiff's
           3    Exhibit 55.
           4                 MR. HUGHES: Before I get started, Your Honor, I'd
           5    like to offer Plaintiff's Exhibit 55.
           6                 MR. LEE: No objection, Your Honor.
           7                 THE COURT: Admitted.
           8                 (Plaintiff Exhibit No. 55 admitted.)
           9    BY MR. HUGHES:
          10    Q.    So, Dean Fitzsimmons, I've got again blown up on the
          11    screen. Will you just let me know if at any time you can't
          12    see what's on the screen in front of you? Otherwise I'll
          13    just assume that you can.
          14    A.    I will.
          15    Q.    So I've got on the screen the first page of Plaintiff's
          16    Exhibit 55. You're one of the people this email is addressed
          17    to, correct?
          18    A.    Yes.
          19    Q.    It's for fall 2013. You can see that down below in
          20    attachments, correct?
          21    A.    Yes.
          22    Q.    And one of the attachments is the search letter, correct?
          23    A.    That's correct.
          24    Q.    And the search letter is the way the admissions office
          25    refers to this letter that goes out to the names that you get



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           1    from the College Board and the ACT, correct?
           2    A.    Yes. It's the first communication of many.
           3    Q.    Based on your mailing list, you communicate more than one
           4    time with these potential applicants?
           5    A.    That's true.
           6    Q.    Now I'd like to show you -- I'm on page 2 now of
           7    Exhibit 55. I'll blow up -- part of what you tell students
           8    in the letter is that "Your strong grades and standardized
           9    test scores indicate to us, to Harvard, that Harvard and
          10    other selective institutions may be possibilities for you."
          11                That's part of what you communicate in the letter,
          12    correct?
          13    A.    That's right.
          14    Q.    And whether a high school student receives this letter
          15    depends on whether they're on your list, right?
          16    A.    That's right.
          17    Q.    Now, Dean Fitzsimmons, I'd like to show you Plaintiff's
          18    Exhibit 2.
          19                MR. HUGHES: Before we proceed, I'd like to offer
          20    Plaintiff's Exhibit 2 into evidence.
          21                MR. LEE: Can we at least have the foundation as to
          22    whether he's seen it? Otherwise no objection.
          23    BY MR. HUGHES:
          24    Q.    Dean Fitzsimmons, you've seen this document before. We
          25    showed it to you in your deposition, right?



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           1    A.    Yes. I think I recall it.
           2                MR. LEE: No objection, Your Honor.
           3                THE COURT: Admitted.
           4                (Plaintiff Exhibit No. 2 admitted.)
           5    BY MR. HUGHES:
           6    Q.    What I'd like to focus on -- and I'll blow this up at the
           7    top here. PSAT is the basis for -- let me back up.
           8                What this document, this Plaintiff's Exhibit 2,
           9    shows searches that are done in 2013 for the class of 2018,
          10    correct?
          11    A.    That's correct.
          12    Q.    It has data that about searches that occur in 2018, and
          13    it also has information about the preceding class year, 2017,
          14    correct?
          15    A.    Where would that be? I'm sorry. Oh, I see. Yes. Yes.
          16    Q.    Agreed?
          17    A.    Agreed.
          18    Q.    The PSAT is the source of, in 2017, 92,510 letters,
          19    correct?
          20    A.    That's correct.
          21    Q.    And in 2018, 95,119, correct?
          22    A.    That's correct.
          23    Q.    Let me show you the rest of the document. That is the
          24    majority of the total of the letters sent. I've got the
          25    totals here at the bottom, correct?



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           1    A.    They sound right.
           2    Q.    The PSAT is the primary source of names for the list,
           3    correct?
           4    A.    Yes.
           5    Q.    Okay. So now I want to go back up and look at what we
           6    have for the PSAT.
           7                  So in the left-hand column we have, it says PSAT
           8    and we've got some different categories of people in that
           9    column, correct?
          10    A.    That's correct.
          11    Q.    I want to start with the first two, "High Scores Men" and
          12    "High Scores Women." Do you see that?
          13    A.    I do.
          14    Q.    And up at the top of the -- in the second column we've
          15    got an SAT score range. Do you see that?
          16    A.    I do.
          17    Q.    For men, that's 1380 to 1600, correct?
          18    A.    Correct.
          19    Q.    And for women, that's 1350 to 1600, direct?
          20    A.    Correct.
          21    Q.    These are some of the people that will be getting the
          22    search letter we just looked at, right?
          23    A.    That's correct.
          24    Q.    And the next column, that column is entitled
          25    "ETH/States." Do you see that?



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           1    A.    I do.
           2    Q.    ETH stands for ethnicity, correct?
           3    A.    That's correct.
           4    Q.    And "States" stands for geographic states, correct?
           5    A.    Correct.
           6    Q.    And the ethnicity for high scores, men and women, is KOW.
           7    Do you see those codes there?
           8    A.    Yes.
           9    Q.    W stands for white, correct?
          10    A.    That's correct.
          11    Q.    O stands for other, correct?
          12    A.    Probably. Because these things change. Probably.
          13    Q.    And K stands for unknown when you don't fill it out?
          14    A.    I think it's essentially everyone, when all is said and
          15    done.
          16    Q.    I'm sorry?
          17    A.    I think it would be everyone, it sounds like. In other
          18    words -- I'm not 100 percent sure, but just looking at this,
          19    it would be all high scores no matter, of all states and all
          20    ethnicities.
          21    Q.    Let's look down the test data. Let me ask you this.
          22                  Who is Elizabeth Young?
          23    A.    She used to be our data person and computer interface
          24    person and research person.
          25    Q.    She'd be very familiar with this date, correct?



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           1    A.    Yes.
           2    Q.    And she testified that K is unknown. It's when somebody
           3    doesn't fill it out on the common app. You'd have no reason
           4    to dispute that, right?
           5    A.    I would take her word for it.
           6    Q.    If she testified that O means "other" on the common app,
           7    you'd take her word for it, too, correct?
           8    A.    I would.
           9    Q.    Just to kind of clear things up, you said it might be
          10    referring to everyone. Here we have down here -- we'll come
          11    back to sparse country in a minute, but we've got these
          12    categories down here which are high scores Asian men, high
          13    scores Asian women, females, right?
          14    A.    Yes.
          15    Q.    And those are additional people who are getting letters,
          16    correct?
          17    A.    That's correct.
          18    Q.    They're not included in that KOW category, correct?
          19    A.    It's the same range, but that would be technically
          20    correct.
          21    Q.    They're different people, right?
          22    A.    Yeah.
          23    Q.    It's the same SAT range, correct?
          24    A.    Yes.
          25    Q.    And if we go down here to BCHNP. That's -- BCHNP stands



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           1    for black, Chicano, Hispanic, Native American, and Puerto
           2    Rican, correct?
           3    A.    That's correct.
           4    Q.    All of the states, United States and Puerto Rico, those
           5    applicants are invited to apply if they have an SAT score of
           6    1100 up to 1600, correct?
           7    A.    That's correct.
           8    Q.    So in Harvard's view, a student in this BCHNP category
           9    with the PSAT of 1100 could be admitted and succeed at
          10    Harvard, correct?
          11    A.    Just simply -- that isn't technically correct. It would
          12    simply be these are people who we hope would consider
          13    Harvard, in looking at that range.
          14    Q.    And you tell them in the letter that you send them that
          15    their SAT scores indicate that they could be a good candidate
          16    to apply to Harvard, right?
          17    A.    That's right. That they could be.
          18    Q.    And Harvard does not invite white or Asian students to
          19    apply unless they have a 1350 for women or a 1380 for men,
          20    correct?
          21    A.    That's correct.
          22    Q.    Even though you agree that an Asian student with an 1100,
          23    depending on the individual case, could be successful at
          24    Harvard, correct?
          25    A.    It's possible that any student could be.



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           1    Q.    And of course you must admit that Asian-American
           2    applicants are treated very differently than all other
           3    minority applicants in terms of receiving an invitation to
           4    apply to Harvard based on information provided by the College
           5    Board, correct?
           6    A.    Again, it is really exactly the same parameters as was
           7    the case for white students.
           8    Q.    My question is the Asian-American applicants were treated
           9    very differently in terms of getting the letter based on the
          10    information from the College Board than other minority
          11    potential applicants, correct?
          12    A.    Again, there's a slightly lower range for the other
          13    minorities.
          14    Q.    So you would describe an 1100 on the PSAT as slightly
          15    lower than 1350?
          16    A.    Yes.
          17    Q.    And slightly lower than 1380?
          18    A.    Yes.
          19    Q.    And the last time we asked you questions under oath, you
          20    had no explanation for why Asian applicants who score 1100
          21    and above are not being reached out to through this
          22    particular recruiting method, correct?
          23    A.    It's simply with all of the outreach that we do for all
          24    these categories, what we're trying to do, for example, with
          25    the minority students who are not Asian is to get a sense of



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           1    to what extent economic background might make a difference in
           2    their ability to score at higher levels on the SAT or the
           3    PSAT. So it really comes down to the rather stark economic
           4    differences and opportunities that are available for the
           5    BCHNP.
           6    Q.    Dean Fitzsimmons, I'd like you to pick up your transcript
           7    of your deposition that's in the coil-bound binder to your
           8    right, on the far right of the desk. If you could open that
           9    to page 73, please. If you could look at page 73, line 13.
          10    Do you see that?
          11    A.    Yes, page 73.
          12    Q.    Line 13. Are you there?
          13    A.    Yes.
          14    Q.    "QUESTION: So my question is, why aren't Asian males who
          15    score 1100 to 1370 being reached out to through this
          16    particular search method?
          17                 "ANSWER: I don't have a precise answer.
          18                 "QUESTION: Do you have any answer?
          19                 "ANSWER: No."
          20                 Were you asked those questions? Did you give that
          21    testimony?
          22    A.    If this says I did, I did. But again, I think it would
          23    come down, at least in my mind, to having a precise answer.
          24    Q.    So when you're sending letters out to the people that are
          25    on the list that you generate from the College Board, you



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           1    have three pieces of information: the score, geography,
           2    race/ethnicity, correct?
           3    A.    There are some additional.
           4    Q.    Those are the ways the data is getting sorted here,
           5    correct?
           6    A.    There's also self-reported grades.
           7    Q.    So you've got grades, SAT score, geography,
           8    race/ethnicity, correct?
           9    A.    Yes.
          10    Q.    You don't have the information you need to do a
          11    whole-person review, correct?
          12    A.    I'm sorry. Could you repeat that question?
          13    Q.    When you're sending these letters out, you don't have the
          14    information that you need to do the kind of holistic review
          15    that you say you do once these people apply, correct?
          16    A.    Certainly not. Just one of the most basic set of
          17    components.
          18    Q.    Is the reason Harvard makes substantial racial
          19    categorical distinctions in terms of who's getting invited to
          20    apply based on this list, is that part of how Harvard
          21    consciously shapes its student body?
          22    A.    No. It's simply trying to reach out to people from all
          23    backgrounds, and especially those who have experienced
          24    disproportionate effects of economic disadvantage.
          25    Q.    Do you remember the interview or handbook and the



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           1    language that we read that you agreed was accurate that said
           2    recruitment is part of how Harvard consciously shapes its
           3    student body? You remember that, right?
           4    A.    Yes.
           5    Q.    And are you saying that this is somehow an exception to
           6    that, that the way you've sliced and diced the data here for
           7    in terms of who gets an invitation to apply to Harvard is
           8    somehow not part of how Harvard is consciously shaping its
           9    student body?
          10    A.    No. It's certainly one of the things we do to recruit.
          11    Q.    And one of the things that you do to recruit to
          12    consciously shape your student body is to differentiate who
          13    you invite based on race or ethnicity, correct?
          14    A.    You're technically correct.
          15    Q.    Now I want to focus on the last category here, Sparse
          16    Country, near and dear to my heart because that's where I'm
          17    from.
          18    A.    Which state?
          19    Q.    Montana, a great state.
          20                 Dean Fitzsimmons, we look at Sparse Country. In
          21    Sparse Country you get invited to apply if you get a score
          22    between a 1310 and a 1370, correct?
          23    A.    That's correct.
          24    Q.    And the people who are invited to apply from Sparse
          25    Country are the unknown, other, and white, correct?



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           1    A.    Yes.
           2    Q.    Asians are not included in that list, correct?
           3    A.    Not in that particular list.
           4    Q.    Okay. And the score, again, is 1310 to 1370, correct?
           5    A.    That's right.
           6    Q.    Now, I want to see if you would help me build a map of
           7    Sparse Country. You'll probably need to turn to the actual
           8    paper Exhibit 2 because I'm going to switch it off of the
           9    screen. Let me know when you're there.
          10    A.    It's P2?
          11    Q.    Yes.
          12    A.    Okay. I have it.
          13    Q.    I'm going to show you a map that your lawyers I think
          14    plan to use with you in your examination. I want to see if
          15    we can use it in mine. I've got that up on the screen. It's
          16    a map of the United States divided up by docket, correct?
          17    A.    That is correct.
          18    Q.    The we'll take a little detour here.
          19                 Dockets are the way you kind of break down the
          20    applicant pool in terms of your process in the admissions
          21    office, correct?
          22    A.    It's a beginning of the committee process.
          23    Q.    And the geographic breakdown, right?
          24    A.    More or less.
          25    Q.    So now if you've got P2 in front of you, I want to walk



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           1    through the states and we'll mark them here on your map.
           2    Okay?
           3                 So the first one is AL. That's Alabama, right?
           4    A.    That is correct.
           5    Q.    And I've got an X on Alabama on the screen, correct?
           6    A.    Very good. Yes.
           7    Q.    The second one is Alaska, correct?
           8    A.    Yes.
           9    Q.    And now we've got an X on Alaska, correct?
          10    A.    That's correct.
          11    Q.    And we've got Arizona, and I've got that correct on the
          12    screen, right?
          13    A.    Yes.
          14    Q.    Arkansas?
          15    A.    Yes.
          16    Q.    Idaho?
          17    A.    Yes.
          18    Q.    Louisiana?
          19    A.    Yes.
          20    Q.    Maine?
          21    A.    Yes.
          22    Q.    Mississippi?
          23    A.    Yes.
          24    Q.    Montana?
          25    A.    Yes.



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           1    Q.    Nebraska?
           2    A.    Yes.
           3    Q.    Nevada?
           4    A.    Yes.
           5    Q.    New Hampshire?
           6    A.    Yes.
           7    Q.    New Mexico?
           8    A.    Yes.
           9    Q.    North Dakota?
          10    A.    Yes.
          11    Q.    Oklahoma?
          12    A.    Yes.
          13    Q.    South Dakota?
          14    A.    Yes.
          15    Q.    Utah?
          16    A.    Correct.
          17    Q.    Did I get that right?
          18    A.    Yes.
          19    Q.    Vermont?
          20    A.    Yes.
          21    Q.    Kind of crowded up there.
          22                  West Virginia?
          23    A.    Yes.
          24    Q.    And Wyoming, right?
          25    A.    Yes.



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           1    Q.    Okay. 20 states, right?
           2    A.    Correct.
           3    Q.    And there's some pretty big population centers in some of
           4    these states, like Las Vegas and Phoenix, New Orleans,
           5    Oklahoma City, all metropolitan areas with significant
           6    populations, correct?
           7    A.    There are certainly some large metropolitan areas within
           8    those states.
           9    Q.    And turning back to Exhibit 2, which I'll put back on the
          10    screen so everybody can see it, you invite -- so all of the
          11    BCHNP candidates are invited to apply in Sparse Country.
          12    Because every single state, anybody in that category that
          13    gets 1100 or above gets invited to apply out of the black,
          14    Chicano, Hispanic, Native American or Puerto Rican category,
          15    they get invited to apply in those states, correct?
          16    A.    That would be correct.
          17    Q.    The only distinctions you have for Sparse Country are
          18    white, other, and unknown. No Asians. We've already agreed
          19    on that, correct?
          20    A.    Yes. Obviously they're included in the other searches.
          21    Q.    My question to you is, what is Harvard's explanation for
          22    why in Sparse Country in 20 states, states that some of them
          23    have big population centers, a white applicant with a 1310 is
          24    invited to apply to Harvard, but an Asian male who lives in
          25    any of those states with a 1370 is not? What are all the



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           1    reasons Harvard does that?
           2    A.    Again, we're looking for candidates from all different
           3    kinds of backgrounds. In the Sparse Country states, there
           4    are -- certainly there are some cities, but there are lots of
           5    very rural areas. Again, we're trying to apply the same
           6    standards for the different kinds of searches that we have.
           7    Q.    You're not suggesting that there aren't significant
           8    Asian-American populations in Sparse Country, are you?
           9    A.    There are certainly some Asian-American populations in
          10    Sparse Country.
          11    Q.    And what you're doing is -- you could have kids in Las
          12    Vegas where there's a significant Asian-American population
          13    at the same school, white kid, 1310, gets a letter that says
          14    his scores qualify him to apply to Harvard. Asian kid
          15    sitting next to him in class gets a 1370, they're comparing
          16    notes. The Asian boy does not get invited to apply. The
          17    white student does.
          18                What is the possible explanation for that?
          19    A.    Well, again, we're looking for a diverse student
          20    population, for all the reasons that was discussed in the
          21    opening statement this morning. And we simply want to make
          22    sure in those schools that we send encouraging messages to
          23    people along our normal search parameters.
          24    Q.    Is part of how you achieve the diversity that Mr. Lee
          25    discussed this morning is to put a thumb on the scale for



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           1    white students who you invite to apply from Sparse Country?
           2    A.    The fact that a person applied from Sparse Country might
           3    be one of, again, many, many factors that could possibly go
           4    into a decision. But there are people who, let's say, for
           5    example, have only lived in the Sparse Country state for a
           6    year or two. Let's say that can happen. And then on the
           7    other hand there are people who have lived there for their
           8    entire lives under very different settings.
           9                So what we're trying to make sure we do, in an
          10    even-handed way, is to reach out to what lots of people would
          11    say is the heartland of America. And many of these states
          12    that you have on your map are states where Harvard is not on
          13    anyone's radar scope at all.
          14                And one of the things we love to do is to get
          15    students from any background, really, from those states who
          16    could bring something special to Harvard that would help
          17    educate fellow classmates.
          18                One of my roommates was from Mitchell, South
          19    Dakota, home of, you probably know, the Corn Palace, which
          20    you may not know. But he was an amazing person. And the
          21    thing that he brought to me and to everybody in our dorm was
          22    a tremendous appreciation for what was happening in a state
          23    where we get very few people. So he was a great ambassador.
          24                We also of course will visit all of these states
          25    every year. So we do everything we can to reach out to a



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           1    much broader range of people than certainly was the case at
           2    Harvard when I was an undergraduate.
           3    Q.    I want to just try to focus on what we've got before us.
           4    And that is in Sparse Country if you're an Asian male, you've
           5    got to score 1380 to get an invitation from Harvard, correct?
           6    A.    Yes. And we would hope that that student would apply.
           7    Q.    In Sparse Country if you're white, either gender, you are
           8    get invited to apply at 1310, correct?
           9    A.    That's correct.
          10    Q.    And all the stuff you just told me about some people have
          11    lived there longer and some people just arrived one or two
          12    years ago, you have no idea who that applies to at the time
          13    that you're sending out these letters, correct?
          14    A.    That's correct.
          15    Q.    You don't know whether the recipient of the letter is
          16    going to be like your roommate from South Dakota. You have
          17    none of that kind of information when you send out the
          18    letter, correct?
          19    A.    That's true. But people talk among themselves. So there
          20    are times when a search letter will go out to someone, say,
          21    with a lower search parameter. People start talking. People
          22    start considering whether or not they might consider Harvard.
          23    And that's one of the ways Harvard has changed, why it's
          24    changed so dramatically in terms of its geographic
          25    distribution over the past 35 or 40 years.



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           1    Q.    So I get it. So when you have send a letter out to
           2    somebody to recruit them, part of what you're doing is
           3    sending a message, you said, with a lower search parameter.
           4    They might start talking and get other people interested in
           5    Harvard. Is that the gist of what you just said?
           6    A.    Yes. And that's exactly what has happened over the
           7    years.
           8    Q.    And is the flip side of that message to the Asian student
           9    from Sparse Country with a 1370 whose white pals tell him
          10    they got invited to apply at 1310 and he didn't, what's the
          11    message that student is supposed to receive?
          12    A.    I guess the general message would be, say within a high
          13    school class and sometimes -- you're from Montana, and I know
          14    there are large high schools in Montana, and there are some
          15    very, very small high schools in Montana.
          16                But the idea is to try to break the cycle, to try
          17    to get people from a much broader array of states and
          18    backgrounds to think about Harvard. So the idea at least is
          19    to get Harvard on the map, just given the fact, remember,
          20    that most students will end up going to college within about
          21    one hour's drive of their home.
          22    Q.    Between the Asian student in Sparse Country with 1370 who
          23    doesn't get the letter and the white student with the 1310
          24    who does, the only difference between those two students, the
          25    only different information that you have when you decide



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           1    whether or not to send that letter is race. Correct?
           2    A.    In terms of that letter, yes.
           3    Q.    And that's race discrimination, plain and simple, isn't
           4    it, Dean Fitzsimmons?
           5    A.    It's reaching out to people who might be good applicants
           6    for Harvard and hoping that these applicants will again talk
           7    to their friends and think about whether or not Harvard could
           8    be an option.
           9    Q.    Respectfully, sir, you're not answering my question.
          10                The only different information you have between the
          11    white applicant who you invite to apply with the 1370 and the
          12    Asian --
          13                MR. HUGHES: May I finish my question before you
          14    object? I'll try again.
          15    BY MR. HUGHES:
          16    Q.    My question is, the only reason that Harvard doesn't
          17    invite the Asian student with the 1310 from Sparse Country
          18    and does invite the white student with the 1310 is race?
          19                MR. LEE: Asked and answered twice before.
          20    Identically.
          21                THE COURT: I'll let him answer it this time. It
          22    has been asked and answered. You might want to move it
          23    along.
          24                THE WITNESS: On the search parameter, that very
          25    small number of points is the difference.



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           1    BY MR. HUGHES:
           2    Q.    And that's race discrimination, plain and simple, isn't
           3    it, Dean Fitzsimmons?
           4    A.    It is not.
           5    Q.    And is the decision to invite white students with lower
           6    scores than Asian students from Sparse Country part of how
           7    Harvard consciously shapes the makeup of its class?
           8    A.    We're simply trying to reach out to people from all over
           9    the nation.
          10    Q.    I'm going to change topics now, talk about how athletes
          11    and legacies are treated in the admissions process, okay?
          12    A.    Sure.
          13    Q.    To establish some common ground, I think you will agree
          14    that, as a whole, the legacy applicant pool is on average
          15    less ethnically diverse than the non-legacy applicant pool,
          16    correct?
          17    A.    At the moment it is, but it's fast changing.
          18    Q.    But at the moment that holds true, right?
          19    A.    That's correct.
          20    Q.    Okay. And Harvard is very competitive. Most of your
          21    applicants are turned away, correct?
          22    A.    Unfortunately, yes.
          23    Q.    And I'd like to talk to you about the admission rates,
          24    the likelihood of admission to Harvard. That's something
          25    that you and your colleagues in the Harvard admissions office



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           1    keep track of, correct?
           2    A.    That's correct.
           3    Q.    And I'd like to take a look at Plaintiff's Exhibit 163.
           4    A.    Will it be up on the screen, too?
           5    Q.    It should be.
           6    A.    I have 163.
           7                MR. MORTARA: Before we get started, I'd like to
           8    offer P163.
           9                MR. LEE: No objection, Your Honor.
          10                THE COURT: Admitted.
          11                (Plaintiff Exhibit No. 163 admitted.)
          12    BY MR. HUGHES:
          13    Q.    Do you see that, Dean Fitzsimmons?
          14    A.    This is the Sunday, March 2?
          15    Q.    Yes, sir.
          16    A.    Yes, I do.
          17    Q.    And you're getting at the bottom here an email from
          18    Elizabeth Young, attaching certain statistics for a meeting I
          19    guess on March 3, correct?
          20    A.    It sounds that way, yes.
          21    Q.    And at what point in the admissions process is early
          22    March?
          23    A.    This is probably just as we were going into full
          24    committees, and that's when the actual decisions are made.
          25    Q.    And so let's look at the fifth page of this document, the



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           1    fourth page of the document. I've got it blown up on the
           2    screen, Dean Fitzsimmons. Do you see that in front of you?
           3    A.    I do.
           4    Q.    What we've got here, harkening back to the first page of
           5    the email, we're in 2013. We're selecting the class of 2018,
           6    correct?
           7    A.    Yes.
           8    Q.    And what we've got on the right-hand side of the screen
           9    is information related to the class of 2018, correct?
          10    A.    That's correct.
          11    Q.    And on the left-hand side of the screen we've got
          12    information related to 2017, correct?
          13    A.    That's correct.
          14    Q.    And you've got information that relates in both years
          15    both to the overall applicant pool, correct?
          16    A.    Yes.
          17    Q.    And you've also got information that relates to the NLNA
          18    portion of the applicant pool, correct?
          19    A.    That's correct.
          20    Q.    NLNA is non-legacy, non-athlete, correct?
          21    A.    That's correct.
          22    Q.    Why does Harvard, Harvard admissions office, separate out
          23    the applicant pool by NLNA?
          24    A.    It's really a safeguard, in a sense, to make sure we're
          25    going along the way Susie Chow and I stated before the OCR



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           1    investigation where we said that the difference between the
           2    admission rate of whites and Asian-Americans had to do with
           3    essentially lineage and athletics.
           4                 And then it actually relates back to the OCR report
           5    itself, which found that we did not discriminate against
           6    Asian-Americans. But it is a -- it's a thing that we have
           7    done ever since then to provide another safeguard, another
           8    check and balance on this, another way of trying to make sure
           9    that we're being even-handed with Asian-Americans and white
          10    students.
          11    Q.    So that the safeguard or check that the Harvard
          12    admissions office does to ensure that there is not
          13    discrimination against Asian-American applicants is to take
          14    the athletes and the legacies out of the pool and look at the
          15    portion of the pool that remains?
          16    A.    No. It's not the safeguard. There are many, many
          17    safeguards. It's one of the things that we did even prior,
          18    just to sort of let the public know prior to the OCR
          19    investigation.
          20                 But then after the finding, we just wanted to make
          21    sure we continued to take a look at this as one way of many
          22    where we would make sure that we're treating every applicant
          23    in a fair and even-handed way.
          24    Q.    And do you still do that today?
          25    A.    Yes.



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           1    Q.    So a safeguard, one of many, you say, that Harvard
           2    admissions office employs to check to make sure there's not
           3    discrimination against Asian-American applicants is to take
           4    the legacies and the athletes out of the applicant pool and
           5    then analyze the remaining applicant pool, correct?
           6    A.    Yes. It's a very quick and simple thing to look at, but
           7    it's one -- remember there are -- Professor Card identified
           8    200 variables of factors in admission. Certainly grades and
           9    scores are factors, as we know from this morning. And also,
          10    though, it's also true that alumnae/alumni sons and daughters
          11    and athletics are also factors, one of many factors in the
          12    admissions process.
          13    Q.    So let's look at some admissions rates together. I've
          14    got them highlighted at the top.
          15                 So the admission rate if you're not a legacy or not
          16    an applicant in these class years is about 4 1/2 percent,
          17    correct?
          18    A.    That would be correct. In a very rough kind of way.
          19    Q.    That sounds right to you, right?
          20    A.    Yes.
          21    Q.    And then if you add the legacies and applicants back into
          22    the pool because they're admitted at such a higher rate, the
          23    overall admit rate jumps up to 5.7 in 2018 and 5.8 in 2017,
          24    correct?
          25    A.    Overall, yes.



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           1    Q.    And I'd like to look at one other thing on here. This is
           2    something you referred to in the admissions office as a
           3    one-pager, correct?
           4    A.    That's part of it, yes.
           5    Q.    Although sometimes the one-pagers are more than one page,
           6    correct?
           7    A.    Occasionally. They're usually one page.
           8    Q.    So this one that we're looking at has information all the
           9    way up and down. The information that's being compared
          10    between the class of 2017 and the class of 2018 is the racial
          11    or ethnic makeup of the class, correct?
          12    A.    That would be correct.
          13    Q.    And sometimes, to be fair, Dean Fitzsimmons, there are
          14    one-pagers with other information like geography and so
          15    forth, correct?
          16    A.    Yes. It could be occasionally.
          17    Q.    I'll show you that in a minute. Focusing on this page 4
          18    of Plaintiff's Exhibit 63, why does the admissions office
          19    compare the racial or ethnic makeup of the current year's
          20    class to the racial or ethnic makeup of the preceding year's
          21    class?
          22                MR. LEE: Your Honor, if I could. This is just to
          23    make the record clear. The second page of this exhibit is
          24    the actual one-pager.
          25                MR. HUGHES: We're going to look at that in a



                                           JA600
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           1    moment.
           2                MR. LEE: Which is part of the confusion. The
           3    fourth page is something different. I think if we're going
           4    to refer to the one-pager, we'll should refer to the
           5    one-pager.
           6                MR. HUGHES: Mr. Lee, I asked him if it was the
           7    one-pager. He told me it was.
           8                THE WITNESS: I'm sorry. I did not. I said that's
           9    part of the one-pager. The one-pager is usually is one page.
          10    And usually at the bottom it has the thing that you had
          11    selected out for page 4. What you just showed with all the
          12    information, that's the one-pager.
          13    BY MR. HUGHES:
          14    Q.    There's no doubt that the Harvard admissions office
          15    created page 4, correct?
          16    A.    As part of the one-pager.
          17    Q.    And now let's look at the other part of the one-pager.
          18    I'll ask my question again.
          19                Here at the bottom, like you were just telling us,
          20    Dean Fitzsimmons, there is information at the bottom of the
          21    one-pager comparing the racial or ethnic makeup of the
          22    current class that you're working to admit to the prior
          23    year's admitted class, correct?
          24    A.    That's correct.
          25    Q.    And the question is why does the Harvard admissions



                                           JA601
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           1    office, when it's trying to decide who to admit to Harvard,
           2    compare the racial makeup of the prospective admitted class
           3    to the admitted class of the prior year?
           4    A.    There are a couple of reasons. One is, remember, I think
           5    you said it was March 3 or something like that. We've
           6    already started the recruiting for the next year. And we'll
           7    be going out on the road. We actually visit about 60-70
           8    cities in the spring or locations in the spring and then 60
           9    or 70 more in the fall.
          10                But one thing you can do is just simply to give you
          11    have a rough idea perhaps of how far effective your
          12    recruiting has been this year versus last year. Keeping in
          13    mind that in America usually there isn't a huge change from
          14    one year to the next in of the talent pool, as it were, in
          15    America. So one year will be more like the next one but can
          16    often be very different, say, from five years ago or five
          17    years into the future.
          18                But the other thing, the other reason you do this
          19    is that we have to be really, really careful that we do not
          20    come in with too many students. We try to shoot for about
          21    1,660 every year.
          22                And we are -- as Mr. Lee said this morning, we're
          23    at 98 percent residential. All the first-year students
          24    actually have to live in the dorms, so we cannot be
          25    overcrowded.



                                           JA602
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           1                So this information is actually very useful to --
           2    for us to try to prevent being overcrowded. Because, for
           3    example, if you went through the whole one-pager, there are
           4    expected differential yields by -- on the part of really a
           5    lot of different kinds of people.
           6                For example, your Sparse Country often has a
           7    relatively lower yield than some other parts. So in other
           8    words, what we're trying to do is to -- at that point, we
           9    probably have until about March 20 to try to make some final
          10    decisions before we let people know around April 1 what's
          11    going to happen.
          12                But if you found yourself, for example, with lots
          13    of engineers admitted, that -- we know that historically
          14    engineers will yield a considerably lower rate than most
          15    other students. So that would give us -- in other words,
          16    they're less likely to choose Harvard if admitted. So that
          17    would give us at least a little bit more room, knowing that a
          18    whole bunch of them probably won't come to, once we're trying
          19    to figure out that last number around March 20, that we would
          20    be able to perhaps admit a few more people generally.
          21    Q.    Are yield rates something that can factor into admission
          22    to Harvard?
          23    A.    Just in terms of the number of admissions that we send
          24    out on April 1. If we miscalculate, which we did one year
          25    since the '70s, it can create a really big set of problems.



                                           JA603
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           1    Q.     Are there differences in yield rates amongst different
           2    races or ethnicities?
           3    A.     Yes.
           4    Q.     Do you keep track of that?
           5    A.     Generally speaking. Quite a bit of variation from year
           6    to year. It's kind of unpredictable, but in general terms,
           7    yes.
           8    Q.     And is that something you take into account when making
           9    certain admissions decisions to Harvard?
          10    A.     Not any particular decisions, but it's just in terms of
          11    the number you would feel confident about sending out so that
          12    you would not be overcrowded. The best thing for us is --
          13    obviously we cannot be overcrowded. There's no place to put
          14    people. So the other thing we typically would then be able
          15    to take perhaps 50 or 100 people off the waiting list.
          16    Q.     All right. Let's get back to our admission rate
          17    discussion. I'm going to try to blow up part of this page.
          18    Can you see that, Dean Fitzsimmons?
          19    A.     I do.
          20    Q.     We're still on page 2. Here we have the overall admit
          21    rate at the top of page 2, Dean Fitzsimmons?
          22    A.     Yes.
          23    Q.     5.8 and 5.7. Do you see that?
          24    A.     I do.
          25    Q.     Down below, the Harvard admission office keeps track of



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           1    the admit rates for a category called "Lineage." Do you see
           2    that?
           3    A.    I do.
           4    Q.    What does that category refer to?
           5    A.    That refers to applicants where either the mother or
           6    father or both went to Harvard College.
           7    Q.    And the admission rate for legacy candidates in 2017 was
           8    35.4 and in 2018 was 33.3, correct?
           9    A.    Yes. Except I think, again, 2018 I believe was still a
          10    work in progress.
          11    Q.    2018 was --
          12    A.    Right.
          13    Q.    We looked before on page 4 that the non-legacy,
          14    non-athlete admission rate was about 4 1/2 percent, correct?
          15    A.    Yes.
          16    Q.    So a legacy candidate is many, many, many times more
          17    likely to get into Harvard than a non-legacy, non-athlete,
          18    correct?
          19    A.    That would be true for many reasons.
          20    Q.    If we look down at athletes, 1 athletes, those are
          21    athletes that receive an athletic rating of 1, correct?
          22    A.    That's correct.
          23    Q.    And again, that is a result of a request from a coach who
          24    is trying to recruit an athlete to come to Harvard
          25    communicates that request to the admissions office, correct?



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           1    A.    That would be a person the coach has rated as an athlete
           2    desired for his or her team.
           3    Q.    And the admission rate for 1 athletes is even higher than
           4    legacies, 76.6 for the class of 2017, correct?
           5    A.    That's correct.
           6    Q.    The number is close for 2018 as well?
           7    A.    That's correct.
           8    Q.    So what that means is that athletes are many, many, many
           9    times more likely to get in than the non-legacy, non-athletes
          10    who are admitted at 4.5 percent, correct?
          11    A.    That would be correct.
          12    Q.    Now, you talked to me a minute ago and said that Harvard
          13    started carving out the non-legacy, non-athlete rating as a
          14    result of -- or in connection with OCR's investigation of
          15    claims of Asian-American discrimination in the late 1980s?
          16    A.    Well, it was really prior to that because there had been
          17    much speculation in the press and from our students, is it,
          18    you know, why the admission rate was different. So that's
          19    why Susie and I just sat down and did, again, a very simple
          20    calculation. But I think it was somewhat illuminating
          21    because it certainly was something that was noted by OCR as
          22    it conducted its investigation and in doing so found that we
          23    had not discriminated against Asian-Americans.
          24    Q.    I'd like to talk with you a little bit more about that
          25    OCR investigation. Dean Fitzsimmons, you were the dean when



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           1    that investigation occurred in the late '80s, correct?
           2    A.    That's correct.
           3    Q.    It ultimately culminated in a statement of findings in
           4    1990, right?
           5    A.    That's correct.
           6    Q.    And before OCR issued that statement of findings, it
           7    conducted a comprehensive investigation. We heard Mr. Lee
           8    tell us this morning they actually set up shop in your
           9    office, right?
          10    A.    Among other things. They did quite a few things. They
          11    interviewed ten of us. They did their own regressions with
          12    lots of data. They looked at 400 applications. They looked
          13    at 2000 summary sheets or reader sheets. So it was a very,
          14    very comprehensive investigation.
          15    Q.    And I know that -- and Mr. Habeno was the gentleman at
          16    OCR who was in charge of that investigation, correct?
          17    A.    That's correct.
          18    Q.    You ultimately became friends with Mr. Habeno, correct?
          19    A.    We have over the years.
          20    Q.    Eaten at Ruth's Chris together, right?
          21    A.    Yes. Once, as I recall.
          22    Q.    Exchanging jokes over email, correct?
          23    A.    That, I wouldn't say at all.
          24    Q.    Okay. We'll get to that tomorrow.
          25    A.    We'll get to that, I'm sure.



                                           JA607
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           1    Q.    I assumed that even through you developed a friendly
           2    relationship with Mr. Habeno that you and everyone in the
           3    admissions office was professional and forthright with
           4    Mr. Habeno during the OCR investigation.
           5    A.    Yes. And with all his colleagues, both here in Boston
           6    and in Washington.
           7    Q.    And I think you already told me you thought that
           8    investigation was comprehensive and thorough, correct?
           9    A.    I do.
          10    Q.    And your admissions officers and you all told the truth
          11    when you talked to the OCR folks, correct?
          12    A.    Yes.
          13    Q.    And you believe OCR used a reliable approach and
          14    methodology to investigate the claims that Harvard was
          15    discriminating against Asian-Americans, correct?
          16    A.    It certainly was comprehensive.
          17    Q.    And reliable. Mr. Lee relied on it this morning, right?
          18    A.    Yes. And we've relied on its base, especially given its
          19    correlation to the Bakke decision and then ultimately to
          20    Grutter and others.
          21    Q.    And you don't have any criticisms of OCR's approach.
          22    You're comfortable with the statement of findings, correct?
          23    A.    Yes.
          24    Q.    So now I'd like to look at some portions of the statement
          25    of findings with you, which is Plaintiff's Exhibit 555.



                                           JA608
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           1                  MR. HUGHES: Before I do, I'd like to offer that
           2    into evidence.
           3                  MR. LEE: No objection.
           4                  THE COURT: Admitted.
           5                  (Plaintiff Exhibit No. 555 admitted.)
           6    BY MR. HUGHES:
           7    Q.    I've got it on the screen here, Dean Fitzsimmons.
           8    A.    Are you going to highlight?
           9    Q.    I will do my best. You're familiar with this document
          10    and you've reviewed it before, right?
          11    A.    I have.
          12    Q.    I'd like to turn to page 2. And here we've got -- I'll
          13    just read it.
          14                  In January of 1988, Harvard, through the dean of
          15    admissions and financial aid, issued a statement on
          16    Asian-American admissions at Harvard-Radcliffe which in part
          17    responded to concerns raised about underrepresentation of
          18    Asian-Americans at Harvard and rumors of quotas.
          19                  Do you see that?
          20    A.    Yes. Susie and I put that together.
          21    Q.    You remember issuing that statement, correct?
          22    A.    I do.
          23    Q.    You've got the statement block quoted below, correct?
          24    A.    It looks like it, yes.
          25    Q.    I'll read what the OCR said in the block quote.



                                           JA609
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           1                  "The difference in admission rates for Asians and
           2    whites, about 3.7 percent, 13.3 versus 17.0 over a 10-year
           3    period including the classes of 1982 through 1991, was
           4    explained as follows."
           5                  And then we've got the block quote. The block
           6    quote says, "While Asian-Americans are slightly stronger than
           7    white candidates on academic criteria, they're slightly less
           8    strong on extracurricular criteria. In addition, there are
           9    very few Asian-Americans in our applicant pool who are alumni
          10    children or prospective varsity athletes. When all these
          11    factors are taken into account, the difference in admission
          12    rates for the two groups disappears."
          13                  Do you see that?
          14    A.    I do.
          15    Q.    And that's what you told OCR back in the late 1980s,
          16    correct?
          17    A.    That's certainly what our data told us.
          18    Q.    In fact, we can look at this tomorrow. It's no longer
          19    true that Asian-Americans are slightly less strong on
          20    extracurriculars, correct?
          21    A.    Yes. In fact, our readers rate them stronger than whites
          22    on extracurriculars.
          23    Q.    Just to make sure the record is clear --
          24    A.    Yes. Based on the evidence that we see in the
          25    applications.



                                           JA610
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           1    Q.    Currently the Asian-Americans have scored better on
           2    extracurricular criteria than white applicants to Harvard,
           3    correct?
           4    A.    Yes. That's certainly what our staff believes when it
           5    goes through all the applications one at a time and then
           6    assigns a strong extracurricular rating, slightly stronger
           7    for Asian-Americans and whites.
           8    Q.    I think you've already told me that OCR performed a
           9    statistical analysis as part of its work here, correct?
          10    A.    Yes.
          11    Q.    I'd like to look at some of that with you. I'm going to
          12    turn to page 33.
          13                 THE COURT: Mr. Hughes, I see you looking at your
          14    watch. I pushed everything later. We can go until 3:30, if
          15    that's all right with you. I don't want to surprise you. We
          16    can go until 3:30.
          17                 MR. HUGHES: I think I'm going to hit a logical
          18    breaking point between 3:15 and 3:30.
          19                 THE COURT: That's fine.
          20                 MR. HUGHES: Thank you very much, Your Honor.
          21    BY MR. HUGHES:
          22    Q.    Dean Fitzsimmons, I've got on the page here the narrative
          23    that OCR put together relating to some of its statistical
          24    analysis. Do you see that?
          25    A.    I do. You've highlighted a number of things.



                                           JA611
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           1    Q.    OCR says, "Our first task was to determine whether the
           2    Asian-American and white applicant pools were similarly
           3    qualified. If the white applicants were, on average,
           4    superior to Asian-American applicants, then it is reasonable
           5    to expect that whites would be admitted at a higher rate."
           6                  Do you see that?
           7    A.    I do.
           8    Q.    Then we've got a table and the OCR says, "As shown in
           9    Table 5 below, while the two groups were found to be
          10    significantly different on many of the variables, they appear
          11    overall to be comparably qualified when viewing their means."
          12                  Do you see that?
          13    A.    I do.
          14    Q.    And then we've got some comparisons between Asian and
          15    white applicants in Table 5. Do you see that?
          16    A.    I do.
          17    Q.    So one of them is academic rating. Do you see that?
          18    A.    I do.
          19    Q.    For that variable, Asian-Americans scored higher,
          20    correct?
          21    A.    That's correct.
          22    Q.    The athletic rating, white higher, correct?
          23    A.    Yes.
          24    Q.    And personal rating, which was the discussion discussed
          25    at length this morning, at least at this time whites were



                                           JA612
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           1    getting higher personal scores than Asian applicants,
           2    correct?
           3    A.    Yeah. Again, it's pretty slight. Yes. The one before
           4    it was not significant statistically.
           5    Q.    That was on extracurricular?
           6    A.    Right.
           7    Q.    The white applicants were being awarded higher personal
           8    scores than Asian-American applicants at this time, correct?
           9    A.    Yes. By a very small margin.
          10    Q.    And the other area where white applicants were performing
          11    better was on the SAT verbal, correct?
          12    A.    That's correct.
          13    Q.    And that was true maybe back in 1990, but that's not true
          14    today, correct?
          15    A.    I would have to look at it, but I believe that could be
          16    correct.
          17    Q.    And it's also the case that Asian-American applicants to
          18    Harvard score better on the SAT writing test than white
          19    applicants, at least today, correct?
          20    A.    We actually no longer use the writing, actually.
          21    Q.    For the time period that you did, in recent times the
          22    Asian-American applicants were doing better?
          23    A.    That, I did not know that. But we found the test to be
          24    quite unreliable, so we actually dropped it this past year.
          25    Q.    Now, you wouldn't have any reason to dispute your own



                                           JA613
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           1    internal admissions data that showed what I just said to be
           2    true. It just doesn't come to mind, correct?
           3    A.    Excuse me. Table 5's data?
           4    Q.    Your own recent data from the Harvard admissions office
           5    showing Asian-Americans applicants scored better on the SAT
           6    writing. You don't have any reason to --
           7    A.    I don't have any data at all on it.
           8    Q.    So now, I think you also mentioned that OCR ran a
           9    statistical or regression analysis. You're familiar with
          10    that, correct?
          11    A.    I am.
          12    Q.    Let's look at what they had to say about that. It's on
          13    page 34.
          14                  OCR says, "We then employed logistic regression to
          15    try to identify which of the ten admissions variables could
          16    account for the admit rate disparity. Through this
          17    technique, we identified six variables which appeared to
          18    negatively impact Asian-Americans; that is, those variables
          19    on which Asian-Americans received less benefit in the
          20    admit/reject decision than white applicants with similar
          21    scores. These were three of the reader ratings: academic,
          22    extracurricular, and personal, along with the counselor and
          23    alumni ratings and SAT math.
          24                  "Since Harvard asserted that the preference given
          25    to legacy and recruited athlete applicants explained the



                                           JA614
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           1    admit rate disparity, we next reran the logistic regressions
           2    without these two groups. When recruited athletes and
           3    legacies were removed from the analysis, all of these race
           4    effects disappeared with the exception that one variable, the
           5    reader academic rating, continued to have a small adverse
           6    effect on Asian-Americans."
           7                Do you see that?
           8    A.    I see that.
           9    Q.    Back in 1990, Harvard was asserting that legacy and
          10    athlete preferences explained the difference in admit rates
          11    between White and Asian applicants. And based on that
          12    explanation, OCR removed the legacy and athlete applicants
          13    from their regression analysis, correct?
          14    A.    I see that.
          15    Q.    And again, you don't have any criticism with what OCR did
          16    here, correct?
          17    A.    That's correct. The only thing I would just say -- and
          18    maybe I'm misunderstanding your question. I think when Susie
          19    and I did our little NLNA, I'm not sure which data we
          20    actually used. It might have been one year. It might have
          21    been five years. I don't know. Their data was -- I think it
          22    was ten years, I think. So they're not directly comparable,
          23    I would say.
          24    Q.    Right. But what OCR did, which Harvard has relied on, is
          25    when OCR was analyzing claims of discrimination against



                                           JA615
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           1    Asian-Americans and running a logistic regression model, it
           2    decided to take out the legacies and the athletes from its
           3    logistic regression model data set, correct?
           4    A.    It did. That's what they say, yes.
           5    Q.    You understand both the experts in this case have run
           6    logistic regression models, correct?
           7    A.    Yes. As I understand it.
           8    Q.    I want to look at a more recent document between Harvard
           9    and OCR. Before I do, let's just ask you a few questions.
          10                 You work with, from time to time, Harvard's office
          11    of general counsel, correct?
          12    A.    Yes.
          13    Q.    And when you communicate with Harvard's office of general
          14    counsel about what's going on in the admissions office,
          15    you're careful to be truthful and accurate, correct?
          16    A.    Yes.
          17    Q.    And you expect, I'm sure, that when Harvard's office of
          18    general counsel communicates with your regulators like the
          19    Department of Education Office of Civil Rights, that it
          20    provides accurate information, correct?
          21    A.    That sounds fair.
          22    Q.    So now I want to jump forward in time to see what Harvard
          23    has to say in more recent times about whether athletes and
          24    legacies should be removed from the data set when analyzing
          25    claims of discrimination against Asian-Americans.



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           1                 I'm going to show Plaintiff's Exhibit 509.
           2    A.    Will you be putting this on the screen?
           3    Q.    Yes, sir. I was just providing a copy to Mr. Lee.
           4                 MR. LEE: Thank you.
           5                 MR. HUGHES: So what we have here -- before I do,
           6    I'd like to offer this into evidence, Plaintiff's
           7    Exhibit 509.
           8                 MR. LEE: No objection, Your Honor.
           9                 THE COURT: Admitted.
          10                 (Plaintiff Exhibit No. 509 admitted.)
          11    BY MR. HUGHES:
          12    Q.    Mr. Lee, this is a February 2, 2012, letter, correct?
          13                 MR. LEE: I think you mean Mr. Fitzsimmons, not
          14    Mr. Lee. I can't testify.
          15                 MR. HUGHES: You and I both.
          16    BY MR. HUGHES:
          17    Q.    Dean Fitzsimmons, this is a February 2, 2012, letter from
          18    the Harvard office of the general counsel, correct?
          19    A.    It appears to be.
          20    Q.    And it's to Ms. Nicole Merhill at the Office of Civil
          21    Rights for the Department of Education, correct?
          22    A.    Yes.
          23    Q.    Turning to page 11, the last page of the document, you
          24    were copied at least on this document, correct?
          25    A.    Yes.



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           1    Q.    If we go back to the first page, I think that this -- I
           2    think Mr. Lee talked about this this morning, this letter
           3    related to an individual claim of discrimination against
           4    Asian-American students, correct?
           5    A.    Yes, I believe so.
           6    Q.    So now I want to see what Harvard told OCR in 2012,
           7    turning to page 7.
           8                  So Harvard tells OCR, "Enclosed as attachment 8 is
           9    a chart labeled "Class of 2015-NLNA Overall." Again limited
          10    as described above to data for self-identified
          11    Asian-Americans and white Americans, this chart shows the
          12    applicant numbers and admissions rates for non-legacy and
          13    non-athlete candidates, in other words; for those applicants
          14    who would not be eligible for a tip either because one of
          15    their parents went to Harvard or Radcliffe or because of
          16    their exceptional athletic ability. These data show that,
          17    consistent with OCR's previous findings about Harvard's
          18    admissions practices, once applicant data is limited to
          19    non-legacy/non-athlete candidates, the admit rates between
          20    Asian-Americans and white Americans are far closer."
          21                  Do you see that?
          22    A.    I do.
          23    Q.    So what we have here is the Harvard office of general
          24    counsel in 2012, concerning a claim of Asian-American
          25    discrimination, telling the government to remove the



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           1    legacy/athletes from the data, correct?
           2    A.    That's what it says.
           3    Q.    So now I want to make sure we're on the same page about
           4    this athlete and legacy issue.
           5                1990, OCR, at Harvard's invitation, removes the
           6    athletes and legacies from their logistic regression model.
           7    We just looked at that, right?
           8    A.    As one of many things they did in the very comprehensive
           9    investigation.
          10    Q.    And then in 2012, much more recent times, we have the
          11    Harvard office of general counsel telling the government that
          12    when they're analyzing claims of discrimination against
          13    Asian-Americans, the way to do that is by removing athletes
          14    and legacies from the data set, correct?
          15    A.    I don't think I would read it that way.
          16                I guess what I would need to know is the context of
          17    who this applicant was and what this person was like relative
          18    to other applicants.
          19                Certainly in our real admissions process, certainly
          20    legacy and athletic expertise, certainly some of the many
          21    tips that could perhaps get somebody admitted. But I'd have
          22    to see exactly how they were applying this to this particular
          23    case. I would need to see literally what this complainant's
          24    application was all about before I would try to figure out
          25    exactly how this description was applied.



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           1    Q.    We can get into those details, if you'd like to, in a
           2    minute.
           3                But what I'm just focusing on here is, here we have
           4    the office of general counsel enclosing attachment 8, which
           5    is a chart like the charts we've looked at, 2015-NLNA
           6    Overall, and then telling the government that the data shows
           7    that consistent with OCR's previous findings about Harvard's
           8    admissions practices, once applicant data is limited to
           9    non-legacy/non-athlete candidates, the admit rates between
          10    Asian-Americans and white Americans are far closer.
          11                Harvard is still taking the same position it took
          12    in 1990 here in this letter, correct?
          13    A.    Yes. And I think if I understand it correctly, following
          14    OCR's guidelines.
          15    Q.    OCR took the athletes and legacies out in 1990. Harvard
          16    is still encouraging OCR to take them out in 2012. That's
          17    what this document says, correct?
          18    A.    I'm not quite sure it says that. I just think that -- it
          19    was certainly one thing that OCR looked at is one way of all
          20    the different things they did, reading all those
          21    applications, reading all the reader sheets, all the other
          22    things they did.
          23                And another thing they did, I suppose, was take a
          24    look at what Susie and I had postulated, just a very simple
          25    way to look at it. And this is another one way to try to get



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           1    to the truth. But I'd have to see what this person looked
           2    like.
           3    Q.     And Harvard is still taking the position that one way to
           4    look at potential discrimination against Asian-American
           5    athletes is to take out the athletes and legacies from the
           6    data set. That's what it says right here on the screen. One
           7    way?
           8    A.     It's one way to look at, depending on the issue that
           9    you're dealing with.
          10    Q.     I want to fast-forward to even more recent times.
          11                You're aware that Harvard has sent out emails to
          12    its alumni updating them on this very case, correct?
          13    A.     There have been emails sent out, I know, by Harvard.
          14    Q.     In fact, you sent one out over the weekend, right?
          15    A.     Our office did.
          16    Q.     Under your name?
          17    A.     I believe that's right. To our interviewers.
          18    Q.     And that encouraged the people receiving that email to
          19    look at the portion of Harvard's website that provides
          20    Harvard's -- information by Harvard about this case, correct?
          21    A.     Yes. We have referred people who are interested in the
          22    case to our website.
          23    Q.     And I'd like to take a look at that. This is Plaintiff's
          24    Exhibit 467.
          25                MR. HUGHES: I'd like to offer that.



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           1                  MR. LEE: I can't read it. Sorry. Old eyes won't
           2    do it. No objection, Your Honor.
           3                  THE COURT: Admitted.
           4                  (Plaintiff Exhibit No. 467 admitted.)
           5    BY MR. HUGHES:
           6    Q.    You can see up at the top here, Dean Fitzsimmons, this is
           7    part of Harvard's website that relates to the Harvard
           8    admissions lawsuit, correct?
           9    A.    That's correct.
          10    Q.    And I'm going to turn to page 3 of that.
          11    A.    I guess the date is 8/21, I think, as I see it.
          12    Q.    This is likely the date that we printed it out to make it
          13    an exhibit.
          14    A.    Okay.
          15    Q.    I'll represent to you it's still the same. I'd like to
          16    look at page 3 of Plaintiff's Exhibit 467. Do you see that?
          17    A.    I do.
          18    Q.    And what Harvard says today on its website, it's entitled
          19    "A Faulty Statistical Model."
          20                  "Mr. Blum's case hinges on a statistical model that
          21    deliberately ignores essential factors such as personal essay
          22    or teacher recommendations, and omits entire swaths of the
          23    applicant pool (such as recruited athletes or applicants
          24    whose parents attended Harvard) to achieve a deliberate and
          25    pre-assumed outcome."



                                           JA622
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           1                 Do you see that?
           2    A.    I see that.
           3    Q.    You understand that our expert, like your expert, ran a
           4    logistic regression model, correct?
           5    A.    That's correct.
           6    Q.    And in 1990, Harvard and OCR's position was that the
           7    right way to run a logistic regression model was to remove
           8    athletes and legacies from the data set, correct?
           9    A.    I am not sure that's correct. I think we certainly were
          10    in no position to tell OCR how to conduct its own
          11    investigation in any way. Because both the Boston office and
          12    the Washington office did look at all kinds of different
          13    factors. So we certainly had no leverage at all to tell them
          14    how to conduct their own logistical statistical procedures.
          15    They happened to do the NLNA, but that's one of many, many
          16    things they did.
          17    Q.    I've got the portion of Plaintiff's Exhibit 555, the
          18    statement of findings from OCR, page 34, back on the screen.
          19                 Do you see that?
          20    A.    Yes, I do.
          21    Q.    This is the paragraph we looked at a moment ago, talking
          22    about the logistic regression model run by OCR. Correct?
          23    A.    Yes.
          24    Q.    And it says -- do you see where I've got it
          25    underlined? -- "Since Harvard asserted that the preference



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           1    given to legacy and recruited athlete applicants explained
           2    the admit rate disparity, we next reran the logistic
           3    regressions without these two groups."
           4                You see that, correct?
           5    A.    I do. They obviously made their own decision on that,
           6    but they certainly decided to do it.
           7    Q.    You've already told me you guys had no problem with OCR's
           8    methodology and are relying on it in court today. Mr. Lee's
           9    opening, correct?
          10    A.    Yes. But you have to understand I am no statistical
          11    expert. So I would certainly refer to Professor Card for any
          12    statistical expertise.
          13    Q.    And we saw that in 2012 the Harvard OGC office is still
          14    talking about removing athletes and legacies from the data,
          15    correct?
          16    A.    It certainly was there, yes.
          17    Q.    What you told all your alumni on the website is when our
          18    expert did the same thing that OCR did, which was to remove
          19    athletes and legacies in a logistic model regression set,
          20    that that was fatally flawed.
          21                That's what it says on your website.
          22                MR. LEE: I object. Particularly with this on the
          23    screen. This actually says the analysis was run twice, and
          24    once with legacies in and once without. The foundation for
          25    all these questions is just inconsistent with the document,



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           1    Your Honor.
           2                 MR. HUGHES: I think he can answer the question.
           3                 MR. LEE: That's up to Her Honor, I think.
           4                 THE COURT: I actually get to decide that.
           5                 He makes a good point about the foundation. So why
           6    don't you rephrase the question and try it again.
           7    BY MR. HUGHES:
           8    Q.    You understand that OCR ran a logistic regression model,
           9    correct?
          10    A.    Yes.
          11    Q.    You understand they ran it two times. They ran it once
          12    with the legacies and athletes and once without them,
          13    correct?
          14    A.    Yes. But I know they also did quite a few other things.
          15    Again I don't know, since I obviously wasn't on their team,
          16    exactly what they did over that two and a half period of
          17    time. They may have done many, many different things with
          18    the data.
          19    Q.    One thing we know for sure that they did was run their
          20    logistic regression model without the legacies and athletes.
          21    That's what we can see right here, correct?
          22    A.    Yes, we can see that.
          23    Q.    We also know for sure that in 2012 the Harvard office of
          24    general counsel told OCR again that one way to look at claims
          25    of Asian-American discrimination is to take the legacies and



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           1    athletes out of the data set. That's what we looked at in
           2    P509, correct?
           3    A.    It's one way. But you really have to look at it
           4    comprehensively, I think in the way Professor Card did.
           5    Q.    What you're saying, what Harvard is saying on its website
           6    today -- I'll put it back up on the screen -- is that
           7    omitting recruited athletes and legacies is not the way to
           8    go. That's what Harvard says today, correct?
           9    A.    Yes. And I would agree with that.
          10                MR. HUGHES: Your Honor, I think I'm actually at a
          11    really good transition point, if that's okay with you.
          12                THE COURT: It's fine. I usually like to go right
          13    up to the end of the day. But I did mislead you today and
          14    tell you that we'd be done by 3:00 and then I baked in a
          15    little bit of extra time.
          16                We can recess for the day today. We'll start again
          17    at 10:00 tomorrow. I have another meeting at about 1:30, so
          18    maybe we can go to like 1:15 or so. We'll take a 15-minute
          19    break in the morning, if that helps you for planning
          20    purposes. But other than that, we'll go straight through.
          21                Thanks, everyone. Case is recessed.
          22                (Court recessed at 3:16 p.m.)
          23

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           1                            - - - - - - - - - - - -
           2                                  CERTIFICATION
           3

           4                I certify that the foregoing is a correct
           5    transcript of the record of proceedings in the above-entitled
           6    matter to the best of my skill and ability.
           7

           8

           9

          10    /s/ Joan M. Daly                            October 15, 2018
          11    ______________________                      ____________________
          12    Joan M. Daly, RMR, CRR                      Date
                Official Court Reporter
          13

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           1                          UNITED STATES DISTRICT COURT
           2                            DISTRICT OF MASSACHUSETTS
           3     ___________________________________
           4     STUDENTS FOR FAIR ADMISSIONS, INC.,
           5                           Plaintiff,              Civil Action
                                                               No. 14-14176-ADB
           6     v.
                                                               October 16, 2018
           7     PRESIDENT AND FELLOWS OF HARVARD
                 COLLEGE, et al.,                              Pages 1 to 92
           8
                                    Defendants.
           9     ___________________________________
          10

          11
                                  TRANSCRIPT OF BENCH TRIAL - DAY 2
          12                  BEFORE THE HONORABLE ALLISON D. BURROUGHS
                                     UNITED STATES DISTRICT COURT
          13                       JOHN J. MOAKLEY U.S. COURTHOUSE
                                          ONE COURTHOUSE WAY
          14                              BOSTON, MA 02210
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           1                              P R O C E E D I N G S
           2                     (The following proceedings were held in open
           3     court before the Honorable Allison D. Burroughs, United
           4     States District Judge, United States District Court, District
           5     of Massachusetts, at the John J. Moakley United States
           6     Courthouse, One Courthouse Way, Boston, Massachusetts, on
           7     October 16, 2018.)
           8                 THE CLERK: All rise. Court is in session. Please
           9     be seated.
          10                 THE COURT: Good morning, everyone.
          11                 MR. MORTARA: Good morning, Your Honor.
          12                 THE COURT: Is Dean Fitzsimmons here?
          13                 MR. MORTARA: Your Honor, before we get started
          14     this morning, there is one housekeeping matter.
          15                 THE COURT: Yes.
          16                 MS. HACKER: We have the transcripts, Your Honor,
          17     for the majority of the witnesses that SFFA intends to call
          18     by deposition. We have a binder of the eight witnesses. If
          19     I could hand it up to Your Honor, there are a few remaining
          20     objections to testimony in these transcripts. We anticipate
          21     we may read some of these depositions tomorrow, so we wanted
          22     to hand it up to Your Honor today in case you wanted to rule
          23     on those.
          24                 THE COURT: Okay.
          25                 MS. ELLSWORTH: Your Honor, just so we're aware,



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           1     there are objections to at least three of the transcripts in
           2     full on relevance grounds. The other objections we can work
           3     out whenever counsel tries to read it in.
           4                 THE COURT: Three whole witnesses?
           5                 MS. ELLSWORTH: The entire testimony of three
           6     non-parties that was taken by subpoena.
           7                 THE COURT: And when to you want to do that?
           8                 MS. ELLSWORTH: Whenever they want to read them in,
           9     I suppose.
          10                 MS. HACKER: We can take those up as we get to
          11     those witnesses in the order. So that we can just start with
          12     Dean Fitzsimmons this morning.
          13                 THE COURT: That's fine. You can pass that up.
          14                 You're still under oath. Just a reminder.
          15                 THE WITNESS: I'm sorry?
          16                 THE COURT: Just a reminder that you're still under
          17     oath.
          18                 THE WITNESS: Okay. Thank you. Good.
          19                 MR. HUGHES: Good morning, Your Honor.
          20                 THE COURT: When you're ready, Mr. Hughes.
          21                 (WILLIAM FITZSIMMONS previously sworn by the Deputy
          22     Clerk.)
          23                          DIRECT EXAMINATION (resumed)
          24     BY MR. HUGHES:
          25     Q.   Good morning, Dean Fitzsimmons.



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           1     A.   Good morning.
           2     Q.   I'd like to start by talking about what happens when
           3     somebody applies to Harvard. I understand that the
           4     application comes in to the admissions office and is assigned
           5     to a docket based on geography; is that correct?
           6     A.   That's correct.
           7     Q.   We talked about this a little yesterday. Each docket has
           8     a docket chair and then several other readers who are reading
           9     applications on that docket, correct?
          10     A.   Yes. Correct. Those other readers are advocates for
          11     particular parts of the docket.
          12     Q.   And a given reader might read applications on more than
          13     one docket, correct?
          14     A.   That's correct.
          15     Q.   That includes even the docket chairs, right?
          16     A.   That's correct.
          17     Q.   And the dockets have -- do they have roughly the same
          18     number of applicants from docket to docket, or does that
          19     vary?
          20     A.   It varies slightly, but that's true on the main.
          21     Q.   Each application is read in full by at least one
          22     admissions officer, correct?
          23     A.   That's correct.
          24     Q.   And the first admissions officer to read an application
          25     is referred to, at least sometimes, as the first reader,



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           1     correct?
           2     A.   Yes. That first reader would be the advocate.
           3     Q.   The first reader reads through the application, and part
           4     of what that first reader does is assign some scores in
           5     different categories, correct?
           6     A.   Say that again.
           7     Q.   The first reader gets the application and reads through
           8     it, and part of the reader's first responsibility is to
           9     assign an academic score, an extracurricular score, the
          10     athletic score, a personal score, and a preliminary overall
          11     rating, correct?
          12     A.   Yes. That would be one of the things that the reader
          13     would do based on the evidence in the application.
          14     Q.   And the reader also might write some comments in a couple
          15     of comment fields on the summary sheet. That's another thing
          16     the reader could do, correct?
          17     A.   That's correct.
          18     Q.   And sometimes in the admissions office an application is
          19     read in full again by another admissions officer, correct?
          20     A.   That's correct.
          21     Q.   Not all applications get that additional read, correct?
          22     A.   That's correct.
          23     Q.   Because some applications the first reader can see really
          24     the applicant isn't going to make the cut, so those
          25     applications don't frequently get that additional read,



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           1    correct?
           2    A.   Not entirely. Everyone is still in play. In other
           3    words, the first reader may make a decision not at that time
           4    to pass the application on to a second or perhaps to a
           5    faculty reader. But all the applications are still very much
           6    in play because there are lots of new pieces of information
           7    coming in at all times.
           8    Q.   Okay. Focusing back on those categories where a numeric
           9    score is awarded -- the academic, extracurricular, personal,
         10     athletic, and preliminary overall score -- the readers score
         11     those on a numeric scale from 1 being the best to 5 or 6
         12     being the worst, correct?
         13     A.   That's correct.
         14                 THE COURT: Mr. Hughes, can you bend that
         15     microphone a little closer to your mouth for me.
         16                 MR. HUGHES: That better?
         17                 THE COURT: Yes.
         18     BY MR. HUGHES:
         19     Q.   So 1 is the best score you can get, correct?
         20     A.   That's correct.
         21     Q.   5 or 6 is the worst?
         22     A.   Usually 4. A 5 might have another kind of indication;
         23     for example, that a person has so many home responsibilities
         24     and so many employment responsibilities that he or she is not
         25     able to take part fully or at all in conventional



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           1    extracurricular activities, for example.
           2    Q.   Thank you for that.
           3                And generally speaking, a score of 1 in any of
           4    these categories is relatively rare to the other scores,
           5    correct?
           6    A.   That's correct.
           7    Q.   And a score of 2 is a pretty good score that in any of
           8    these categories indicates that a candidate is at least
           9    somewhat competitive for admission to Harvard, correct?
         10     A.   Certainly competitive.
         11     Q.   Sometimes there are gradations in the scores. You can
         12     see a 2 plus which is better than a 2, right?
         13     A.   That's correct.
         14     Q.   A 2 minus is worse than a 2, correct?
         15     A.   That's correct.
         16     Q.   You can see that up and down the scale, right?
         17     A.   Yes.
         18     Q.   So Harvard's applicant pool is very strong academically.
         19     Do you agree with that?
         20     A.   Yes.
         21     Q.   So these non-academic factors -- the extracurricular, the
         22     personal score -- those can be important to admission to
         23     Harvard, correct?
         24     A.   That's correct.
         25     Q.   I'd like to look at Plaintiff's Exhibit 1. I'll pull



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           1    that up on the screen. And this is the reading procedures
           2    for the class of 2018.
           3                MR. HUGHES: And before I ask questions about the
           4    document, I'd like to offer it into evidence.
           5                MR. LEE: No objection, Your Honor.
           6                THE COURT: Admitted.
           7                (Plaintiff Exhibit No. 1 admitted.)
           8                MR. HUGHES: Thank you, Your Honor.
           9    BY MR. HUGHES:
         10     Q.   Dean Fitzsimmons, there's been a lot of discussion about
         11     the personal score in this case, so I'd like to look at the
         12     part of P1 that relates to that which I believe appears on
         13     page 6. I'll pull that up.
         14                 Actually I'm going to go back to page 5. Can you
         15     see that?
         16     A.   Yes.
         17     Q.   I've blown up the top of it. This part of Plaintiff's
         18     Exhibit 1, the reading guidance gives coding guidelines for
         19     the summary sheets, correct?
         20     A.   That's correct.
         21     Q.   Plaintiff's Exhibit 1 is the reading guidance that is
         22     supplied each year to Harvard admissions officers who are
         23     reading and scoring applications, correct?
         24     A.   Yes.
         25     Q.   Admissions office document instructing the readers on how



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           1    to read and score, correct?
           2    A.   That's correct.
           3    Q.   And here we've got this part of the document that we're
           4    looking at on page 5 is part of the document that relates to
           5    the coding guidelines for the summary sheets, correct?
           6    A.   That's correct.
           7    Q.   And the summary sheet is the document where the scoring
           8    that we talked about appears. That's what the admissions
           9    officer -- that's where the admissions officer records his or
         10     her scores, correct?
         11     A.   Yes.
         12     Q.   So here is where Harvard is telling the admissions
         13     officers how to score the various categories, correct?
         14     A.   Yes. In addition to, of course, the lengthy training
         15     that takes place prior to looking at the document.
         16     Q.   Lengthy training you're talking about is when somebody
         17     first joins the admissions office, the first 50 or 100 files
         18     that they read, somebody else is reading those over their
         19     shoulder, so to speak?
         20     A.   That's correct.
         21     Q.   Let's talk about academic. We've got at the bottom of
         22     the page some instructions on how to score academics. And
         23     right there we see an academic -- what it takes to get an
         24     academic 1, correct?
         25     A.   Yes. In a very general way.



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           1    Q.   Academic 1's are pretty rare, right?
           2    A.   They are.
           3    Q.   But here it's a determination by the admissions officer
           4    that the person would likely -- would have a good chance to
           5    graduate very near the top of the class at Harvard, summa,
           6    right?
           7    A.   That's correct.
           8    Q.   If we go over to page 6 of Plaintiff's Exhibit 1, we've
           9    got some more guidance on how to award these academic index
         10     scores, correct?
         11     A.   That's correct.
         12     Q.   And for example, to get a 2, which is important to
         13     admissions, there are specific guidance about the kind of SAT
         14     or ACT score that the admissions officer should be looking
         15     for in an applicant, correct?
         16     A.   That's correct. But it's a bit of an oversimplification
         17     just to look at that. Because what we're asking people to do
         18     in addition to looking at these kinds of -- such as grades
         19     and standardized tests, we're actually asking our readers to
         20     go through everything on that application and to try also to
         21     think about growth and the future potential. Because in lots
         22     of respects, we really are in the futures business. We're
         23     looking at people not simply by a rigid, formulaic kind of
         24     thing such as a test score.
         25     Q.   None of that is here in the guidance, correct?



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           1    A.   That's correct. It would be part of the training and all
           2    the extensive discussion we have in committee.
           3    Q.   What we definitely have here in the guidance between a 2
           4    and a 3 is an instruction to the reader to differentiate
           5    between applicants based on grades and standardized test
           6    scores, correct?
           7    A.   Yes. It would be a correlation but, again, not a
           8    formula.
           9    Q.   And the grades and the standardized test scores are
         10     objective measures. Right?
         11     A.   We would not at all look at them as objective measures.
         12     Just to give you an idea, so let's say we had one student who
         13     had grown up in a very advantaged household and gone to
         14     wonderful schools and had five or six years of very, very
         15     expensive test prep and had enormous educational advantages.
         16                 And then let's take, on the other hand, someone who
         17     grew up in an underresourced community in an underresourced
         18     family, had not been able to attend rigorous schools that
         19     would prepare a person for standardized tests, and did not
         20     have the money to take advantage of any kind of lengthy and
         21     expensive test prep.
         22                 So in those two circumstances, you -- again,
         23     thinking creatively and thinking about people's actual
         24     potential, you would take that kind of a thing and put it in
         25     the back of your mind as you're trying to figure out what the



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           1    real future of that person is like. Not one standardized
           2    test score is certainly not equivalent to another
           3    standardized test score taken over a very different lifetime
           4    of experiences.
           5    Q.   So is it the position of the Harvard admissions office
           6    that you would discount the importance of a standardized test
           7    score if you had evidence that a particular applicant had the
           8    resources to go to significant test preparation courses?
           9    A.   Not at all. We're simply looking at the evidence sitting
         10     in front of us. And there are certainly people who have had
         11     many advantages who are spectacular students and would do
         12     great things with their lives. So it's always trying to look
         13     positively in every case and not ever look negatively. And
         14     that's the way the advocate system works.
         15     Q.   I thought you just told me, Dean Fitzsimmons, that you
         16     would look at test scores differently based on someone's
         17     access to resources to take standardized test preparation
         18     courses. Is that your testimony?
         19     A.   It would be certainly one of the factors that we would
         20     look at, given the enormous amount of research out there that
         21     indicates the effect of background and opportunity on
         22     standardized testing.
         23     Q.   And none of that guidance appears here in P1, correct?
         24     A.   Not directly.
         25     Q.   Now, let's move on to the personal score. In P1, the



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           1    reader guide that your admissions officers get each year,
           2    this is the sum total of the instructions in this document
           3    that you give to your admissions officers about how to score
           4    the personal score, correct?
           5    A.   Yes. In this document.
           6    Q.   Are there any other documents where you instruct your
           7    readers in the admissions office about how to award the
           8    personal score?
           9    A.   Of course the interviewer handbook, which you mentioned
         10     yesterday.
         11                 But really what happens is through the lengthy
         12     training process, and there would be many, many discussions,
         13     working with actual case studies over a period of time,
         14     talking with other -- say if you're a new admission officer,
         15     talking with other more experienced admission officers about
         16     what to look for. So it's a very, very lengthy, you know --
         17     and then continuing monitoring of exactly what happens when
         18     you're looking at a personal rating.
         19     Q.   Dean Fitzsimmons, I'd like to point out the interviewer
         20     handbook which you mentioned in your answer. This is
         21     Plaintiff's Exhibit 88 that was admitted yesterday. It's
         22     page 10 of the interviewer handbook, page 12 of the exhibit.
         23                 Is this section that I have up here on the screen,
         24     I think Mr. Lee might have shown it yesterday in opening, is
         25     this the portion of the interviewer handbook that you had in



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           1    mind?
           2    A.   Yes. That's certainly part of it.
           3    Q.   And this language in the interviewer handbook and what we
           4    looked at in P1 is the sum and substance of the written
           5    instructions to admissions officers relating to the personal
           6    score, correct?
           7    A.   Yes.
           8    Q.   Now I want to talk about race in the admissions process.
           9    Back to Plaintiff's Exhibit 1.
         10                 And on the first page of Plaintiff's Exhibit 1,
         11     there are instructions to admissions officers reading Harvard
         12     applications about basically confirming the race or ethnicity
         13     of applicants who have provided that information, correct?
         14     A.   That's correct.
         15     Q.   But there's nothing in Plaintiff's Exhibit 1 that
         16     instructs admissions officers about how they are supposed to
         17     use race in considering an application to Harvard, correct?
         18     A.   Let me just -- can I look just for a second?
         19     Q.   You absolutely may. If you want to flip through the
         20     document, it's P1, the very first one in the binder there in
         21     front of you.
         22     A.   Could you repeat the question again?
         23     Q.   The question is, we've got instructions here on the first
         24     page of confirming the race or ethnicity of a given
         25     applicant, but there's nothing in P1 that instructs an



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           1    admissions officer how they are supposed to consider race in
           2    considering an application to Harvard.
           3    A.   That would be technically true, as I look at this. Let
           4    me just take another quick look here because we do change
           5    these on occasion. That looks correct to me.
           6    Q.   And the same is true for the alumni interviewer handbook
           7    that we just looked at, Plaintiff's Exhibit 88. There's
           8    nothing in there that instructs -- that provides instructions
           9    about how race is supposed to be used in the review of an
         10     applicant to Harvard, correct?
         11     A.   That's correct.
         12     Q.   As far as you know, there is no written guidance provided
         13     to admissions officers that instructs admissions officers
         14     about how they are supposed to take race into account in the
         15     admissions process, correct?
         16     A.   That's correct. But of course there is an enormous
         17     amount of other information that's provided.
         18     Q.   And there's certainly no guidance, written guidance, on
         19     whether race can be considered one way or the other in the
         20     personal score, correct?
         21     A.   In these two documents, that's correct.
         22     Q.   And anywhere else in the Harvard admissions office there
         23     is no written guidance on whether or not race can be used in
         24     the personal score, correct?
         25     A.   Right. The guidance is really given in a wide variety of



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           1    other ways.
           2    Q.   And in fact, you don't recall giving any particular
           3    yearly instructions to the admissions office about how race
           4    should be used, correct?
           5    A.   No. That isn't really the way it works. So one of
           6    the -- I've already talked about the process for training new
           7    admission officers, and that is a process that takes place
           8    over many weeks and really, you could argue, right through
           9    the first year.
         10                 But one of the things that also happens is that in
         11     our orientation every year, we will have presentations by
         12     counsel, for example, and we'll have discussions about the
         13     current situation regarding race.
         14                 And then in the reading process and certainly in
         15     all the committee meetings that take place, both the
         16     subcommittee and the full committee, there is certainly lots
         17     of information back and forth from one admission officer to
         18     another, from new admission officers to senior admission
         19     officers and vice versa.
         20     Q.   Dean Fitzsimmons, I'm going to put up page 236 of your
         21     deposition on the screen. Starting at line 22. We asked
         22     you, "Do you give any particular instruction every year to
         23     the admissions office about how race should be used? "
         24                 Turn to page 237, you answered, "Not that I
         25     recall."



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           1                Were you asked that question? Did you give that
           2    answer?
           3    A.    Yes. And I must have been thinking about the written
           4    part, but I'm not sure what was in my mind at that point.
           5                MR. LEE: Can we in the interest of completeness
           6    just have the next question and answer, which I think is
           7    perfectly consistent with what he just testified?
           8                MR. HUGHES: I'm happy to read the whole page.
           9                MR. LEE: That's great.
         10                 MR. HUGHES: Is there a specific -- I'll blow it
         11     up.
         12                 MR. LEE: I think the next question and answer.
         13                 MR. HUGHES: I think the whole page is instructive.
         14     BY MR. HUGHES:
         15     Q.    "QUESTION: Is there a specific training session that
         16     everyone is required to attend on a regular basis that
         17     reviews what is legally permissible with respect to the use
         18     of race in the admissions process?
         19                 "ANSWER: That really would be part of the
         20     comprehensive training program.
         21                 "QUESTION: Are you aware that it's specifically
         22     included every year on the training program?
         23                 "ANSWER: The intention of the training program is
         24     to give a comprehensive overview of how to evaluate an
         25     application.



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           1                "QUESTION: Is it your understanding that that
           2    includes specific training on how to race should be used?
           3                "ANSWER: If it isn't in writing, it could well
           4    also be done in discussion.
           5                "QUESTION: Are you sure that it is?
           6                "ANSWER: I don't know for sure."
           7                Were you asked those questions? Did you give those
           8    answers?
           9    A.   I did. I think what -- there in my mind, I think, was
         10     there one huge specific session.
         11                 The fact is that this is built into our -- as I
         12     said here really in the deposition, it's built into the
         13     normal training program. It really is part and parcel of
         14     what we do, and it's a part of really every time we look at
         15     an application. For example, in a subcommittee or in a full
         16     committee, there are always examples of how race might
         17     factor, say, in that particular situation.
         18     Q.   How does race factor into Harvard's admissions process?
         19     A.   For highly competitive applicants, it could be one factor
         20     among many that might lead our 40-person admissions committee
         21     to vote yes.
         22                 But race would never be seen in isolation, say
         23     relative to the rest of the application. It would be part of
         24     it. In some cases a person -- in many cases, in fact, would
         25     have been admitted anyway without any consideration of race.



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           1                 But it is again one part of a person's life, and
           2    it's one part of a person's life that might lead that person
           3    to be a great educator of others about how to be a good
           4    citizen and citizen leader, not just at Harvard but later.
           5    Q.   Is race part of your holistic admissions process or your
           6    whole-person review?
           7    A.   It is certainly one part of the whole-person review.
           8    Q.   And you actually think it's impossible to abuse a
           9    holistic admissions process like Harvard's, correct?
         10     A.   To abuse?
         11     Q.   Yes, sir.
         12     A.   Could you repeat the question?
         13     Q.   You actually think it's impossible to abuse a holistic
         14     process like Harvard's, correct?
         15     A.   I do.
         16     Q.   In fact, you are not aware that the holistic admissions
         17     process at Harvard was instituted, in part, because of
         18     concerns about the number of Jewish students on Harvard's
         19     campus, correct?
         20     A.   That's certainly a part of history that I wasn't present
         21     for. I've certainly heard the charges.
         22     Q.   I'm going to pull up page 408 of your deposition on the
         23     screen, line 17.
         24                  "QUESTION: Are you aware of the fact that the
         25     holistic admissions process at Harvard was instituted in part



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           1    to concerns about the number of Jewish students on campus?
           2                "ANSWER: I'm not sure exactly what kind of
           3    admissions process was being run at Harvard a hundred years
           4    ago."
           5                MR. LEE: Your Honor, immediately preceding
           6    questions and answers actually tell you what he was saying.
           7                "Are you aware as to the origin of Harvard's
           8    holistic admissions process?
           9                "ANSWER: I am aware of the holistic admissions
         10     process of which I have been a part."
         11                 This is not proper impeachment.
         12                 MR. HUGHES: It is exactly the question I asked him
         13     on the stand.
         14                 THE COURT: I'm not sure it's proper impeachment,
         15     but I will sort out what is relevant and not relevant. It's
         16     more efficient to let him ask and answer the question than it
         17     is to think about the objection. So go ahead.
         18                 MR. HUGHES: We're going to move on from this
         19     issue.
         20                 THE COURT: Perfect.
         21                 MR. HUGHES: I understand Your Honor's views on
         22     this subject.
         23     BY MR. HUGHES:
         24     Q.   Dean Fitzsimmons, let's get back to Harvard's use of race
         25     in admissions today, okay?



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           1    A.   Sure.
           2    Q.   Since you have been dean, the way Harvard uses race in
           3    admissions has not changed, correct?
           4    A.   That's correct.
           5    Q.   In fact, you say the way Harvard uses race has not
           6    changed since the filing of this lawsuit, correct?
           7    A.   That's correct.
           8    Q.   And in fact, you don't recall any specific discussion
           9    about a staff member using race inappropriately, correct?
         10     A.   That's correct.
         11     Q.   And you don't recall any discussions with any staff
         12     members about concerns that race was not being used
         13     consistently with Harvard's guidelines, correct?
         14     A.   That's correct.
         15     Q.   And Harvard considers the race of an applicant even in
         16     instances where the applicant does not indicate in their
         17     application materials that race provided a particular
         18     experience or influenced some part of their background,
         19     correct?
         20     A.   I'm not sure how that applies to a particular case.
         21     Could you just repeat the question? Maybe I don't quite
         22     understand it.
         23     Q.   Sure. Harvard considers the race of an applicant even in
         24     instances where the applicant does not indicate in their
         25     application materials that race provided a particular



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           1    experience or influenced some part of their background?
           2    A.   I'm still having trouble a little bit understanding the
           3    thrust of the question.
           4                But we certainly -- we are aware -- if people
           5    choose to let us know through the common application, we
           6    would know they are from a minority background. Beyond that,
           7    it really depends. Each case really depends on how that
           8    person's life has been lived.
           9                But I think we're always -- because the nub of what
         10     we do is literally 40 people looking at one person at a time
         11     and looking to see all the different factors which would
         12     include race in that person's life. I hope I'm answering
         13     your question. I'm not sure I still understand it.
         14     Q.   This was discussed last time you were under oath. So if
         15     an applicant provides their race or ethnicity in the common
         16     application, Harvard will have that information, correct?
         17     A.   That's correct.
         18     Q.   Okay. And then that applicant could choose to write
         19     about in an essay or a teacher could write about in a
         20     recommendation some experience in that applicant's life that
         21     relates to or has to do with their race or ethnicity,
         22     correct?
         23     A.   That's true. They could choose to do that. The teachers
         24     could choose to write about it.
         25     Q.   But even in circumstances where you have the applicant's



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           1    racial or ethnic information but they don't write about
           2    whether that's important to them and the teachers don't say
           3    anything about them, you still consider the race of the
           4    applicant in those situations as part of your whole-person
           5    review process, correct?
           6    A.   Yes. We would still know about it, and it would still be
           7    there. Whether or not the race of the applicant would lead
           8    someone to vote for that person really depends on all the
           9    other factors. Again, looking at people who are fully
         10     competitive.
         11     Q.   Let me just ask you, is Harvard's use of race as a factor
         12     in the admissions process limited only to those applicants
         13     who say in their application materials that race provided a
         14     particular experience or influenced some part of their
         15     background as they were growing up?
         16     A.   If I understand your question, there's no requirement
         17     that students would have to write about their background.
         18     That still might mean that even if they didn't write about
         19     their racial or cultural or ethnic background, that would
         20     still be in the application.
         21     Q.   And Harvard would still use race as a factor in the
         22     admissions process for those applicants, correct?
         23     A.   Again, race is never going to be used in isolation. So
         24     I'm not quite sure what the -- maybe I'm misunderstanding
         25     where you're going with it. We would know about it, but I am



                                          JA656
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           1    not sure exactly what you want me to answer, I guess.
           2    Q.   I'm just trying to see if we can get on the same page we
           3    were on in your deposition. I've got page 86, line 6 through
           4    13 pulled up on the screen.
           5                "QUESTION: Is Harvard's use of race as a factor in
           6    the admissions process limited only to those applicants who
           7    say in their application materials that race provided a
           8    particular experience or influenced some part of their
           9    background as they were growing up?
         10                 "ANSWER: No."
         11                 That was your testimony at your deposition,
         12     correct?
         13     A.   Yes. And I'm still having a little trouble trying to
         14     think about it in juxtaposition of a single case. We would
         15     always know what the person's race was if the person wanted
         16     to tell us about it.
         17     Q.   You're not disagreeing with your testimony from your
         18     deposition, correct?
         19     A.   Could you just repeat again exactly what you're -- is
         20     this the question --
         21     Q.   I've already asked the question word for word, and you
         22     can read it there.
         23     A.   Right.
         24     Q.   I'm just trying to see if we're on the same page that as
         25     a general matter in the admissions process to Harvard you



                                          JA657
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           1    consider the race of an applicant -- your consideration of
           2    race of an applicant is not limited to applicants who write
           3    about their race or ethnicity?
           4    A.   Yes. I think I answered that question.
           5    Q.   That's exactly consistent with what we've got on the
           6    screen, correct?
           7    A.   Yes.
           8    Q.   Now, why does Harvard consider race in its admissions
           9    process?
         10     A.   The major thing really is one of the best things about
         11     going to any college, including Harvard -- and as you know,
         12     Harvard is almost entirely residential -- is the opportunity
         13     to learn from fellow classmates. Mr. Lee talked in his
         14     opening remarks about how critical that kind of piece of
         15     education can be.
         16                 One of the things that was certainly a huge part of
         17     my education was learning from roommates, learning from
         18     people in dining halls, learning from people in
         19     extracurricular activities, in smaller classes, literally
         20     24 hours a day, about who they were, what their backgrounds
         21     were.
         22                 I certainly think that in a country that is so
         23     divided along racial and ethnic lines as ours is and with
         24     demographics for the future that suggest an even more
         25     critical role for race and ethnicity in the United States



                                          JA658
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           1    that the opportunity for our undergraduates to learn from
           2    people from every possible background, including racial and
           3    ethnic backgrounds, is a critical part. Not just of making a
           4    difference to their own classmates during college, affecting
           5    perhaps even how they would use the college experience.
           6                Maybe they -- as a result of getting to know people
           7    from different ethnic and racial backgrounds, they might
           8    decide to take different courses from the ones they might
           9    ordinarily have. Or they might also go to lectures or take
         10     part in activities of various kinds so that they would learn
         11     a great deal more about what the country is really like.
         12                 That, in our view would make people much better
         13     citizens and citizen leaders, again not just during Harvard
         14     but we hope throughout the rest of their lives in a world
         15     that race and ethnicity certainly seems to be, perhaps will
         16     be even more important in the decades ahead as our students
         17     live out their lives.
         18     Q.   Thank you for that answer, Dean Fitzsimmons.
         19                 Just trying to get some shorthand, which I think
         20     many people have used both in the context of this case and
         21     outside the context much this case, one of the reasons
         22     Harvard is considering race in its admissions process is to
         23     achieve a racially diverse class, which you say results in
         24     all of the benefits that you just testified to, correct?
         25     A.   We do believe that diversity of all kinds is very



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           1    important in terms of what our students learn over the four
           2    years and how they'll live their lives, we hope for the
           3    public good.
           4    Q.   Is there a way you can measure a particular level or
           5    quantity of racially diversity that Harvard thinks is needed
           6    to obtain all the benefits that you just described for us?
           7    A.   No. It's just like the admissions process. There are no
           8    formulas. There are no sort of numerical guidelines that
           9    would do justice to anything like that. It just isn't that
         10     simple.
         11     Q.   If the racial diversity of Harvard's classes from year to
         12     year bounced around significantly, you could still achieve
         13     potentially the benefits of diversity that you just described
         14     for us?
         15     A.   Well, I think it depends a little bit on the degree. If
         16     you attended the Harvard I attended where there were
         17     virtually no students of color -- and for that matter 4 to 1
         18     male-female ratio -- it was a very, very different world.
         19     And I know learned much, much less about what was going on in
         20     the world than our undergraduates do today.
         21                 I just know from the fact because we do financial
         22     aid and student employment as well as admissions, we have
         23     lots of student recruiters, as you know. So we know our
         24     undergraduates well. I would simply say my own life has been
         25     enormously enriched by the opportunity to get to know our



                                          JA660
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           1    students over the past four decades, including I noticed even
           2    Jeannie Park, who is here with us today, was one of our key
           3    student recruiters when she was an undergraduate.
           4    Q.   I'd like to shift gears a little bit, Dean Fitzsimmons,
           5    and talk about the importance of race in the admissions
           6    process; in other words, how important race is to whether or
           7    not a given applicant gets into Harvard.
           8                And my question is, would you agree that race is a
           9    determinative factor for about half of the African-Americans
         10     admitted to Harvard and about a third of Hispanics in recent
         11     admissions cycles?
         12     A.   I'm not sure that I would use the word "determinative,"
         13     again because it implies that race would be used in isolation
         14     and separate from all the other factors that go into choosing
         15     among very competitive applicants.
         16                 But certainly race was a help in terms of some
         17     portion of the people, again when all other factors were
         18     substantially equal.
         19     Q.   I'd like to explore that with you now. I'm going to put
         20     on the screen Plaintiff's Exhibit 316. I'm going to blow up
         21     the top so you can see it before I ask questions.
         22                 MR. HUGHES: I'd like to offer P316 into evidence.
         23                 MR. LEE: No objection, Your Honor.
         24                 THE COURT: It's admitted.
         25                 (Plaintiff Exhibit No. 316 admitted.)



                                          JA661
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           1    BY MR. HUGHES:
           2    Q.   Dean Fitzsimmons, you're familiar with Plaintiff's
           3    Exhibit 316, correct?
           4    A.   I am.
           5    Q.   Plaintiff's Exhibit 316 is a report of a committee to
           6    study race-neutral alternatives at Harvard, correct?
           7    A.   That's correct.
           8    Q.   And the committee consisted of you, Dean Smith --
           9                 Who is your boss, right?
         10     A.   Yes.
         11     Q.   -- and Dean Khurana, right?
         12     A.   Yes.
         13     Q.   Dean Khurana isn't part of the admissions process at
         14     Harvard. He does something else, right?
         15     A.   He is a member of our committee, of our faculty committee
         16     actually.
         17     Q.   So that means he might read materials from a particular
         18     applicant from time to time?
         19     A.   That could happen.
         20     Q.   Anything else?
         21     A.   He could certainly attend meetings.
         22     Q.   Committee meetings?
         23     A.   No. He's been very busy with his new duties, relatively
         24     new duties and lots of things.
         25     Q.   He's not significantly involved in the admissions



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           1    process?
           2    A.   Not on a day-to-day basis.
           3    Q.   Now, to be clear, this is Harvard's report, nothing to do
           4    with Students For Fair Admission, correct?
           5    A.   That's correct.
           6    Q.   I want to turn to page 3. Part of what you did, your
           7    committee did here is you looked at some of the work that was
           8    performed by some of the experts in this case, correct?
           9    A.   That's correct.
         10     Q.   Okay. And one of the expert's work that you looked at
         11     was Harvard's expert Dr. Card, correct?
         12     A.   That's correct.
         13     Q.   And the other expert that you looks at was SFFA's expert
         14     Mr. Kahlenberg, correct?
         15     A.   That's correct.
         16     Q.   And you knew who Mr. Kahlenberg was before this committee
         17     was formed, right?
         18     A.   That's correct.
         19     Q.   In fact, you're familiar with a book that he edited,
         20     called "Rewarding Strivers." You put a blurb on the back of
         21     that book, right?
         22     A.   Yes.
         23     Q.   I'd like to read that, what you said.
         24                 MR. LEE: Your Honor, I'm not sure what we're
         25     doing. It's not a disclosed exhibit and surely not



                                          JA663
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           1    impeachment.
           2                MR. HUGHES: I'm just going to ask him if he
           3    agrees. I'm not offering it into evidence.
           4                MR. LEE: There's a reason for the disclosures of
           5    the exhibits. But Your Honor can consider it.
           6                THE COURT: Do you want to take a minute to look at
           7    it?
           8                MR. HUGHES: Do you want to look at it?
           9                MR. LEE: No.
         10                 THE COURT: Why wasn't it disclosed?
         11                 MR. HUGHES: The disclosure agreement relates to
         12     exhibits that we're planning to offer into evidence. I'm not
         13     planning to offer it into evidence. That's our agreement
         14     with them.
         15                 MR. LEE: Your Honor, I don't want to slow us down.
         16     The agreement is you disclose anything other than that which
         17     you're using for impeachment, so demonstratives are
         18     disclosed, exhibits are disclosed. There's nothing to
         19     impeach here.
         20                 THE WITNESS: I would --
         21                 THE COURT: Hold on for a second.
         22                 You can read it to him and ask him if he agrees.
         23     You're parsing a mighty fine line between what is shared and
         24     was not. So if there's things that you intend on using in
         25     the days to come, why don't you show them to him before we



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           1    get going.
           2                MR. HUGHES: We will certainly abide by Your
           3    Honor's instruction. Thank you, Your Honor.
           4    BY MR. HUGHES:
           5    Q.   Dean Fitzsimmons, could you agree that The Century
           6    Foundation continues its trailblazing mission to prevent the
           7    tragic waste of human talent that threatens America's future.
           8    "Rewarding Strivers" presents provocative research and
           9    analysis that provides a blueprint for the way forward?
         10     A.   Again, I would -- it would certainly have been better for
         11     me to have seen the full context for me to look once again at
         12     the book. I'm not sure what the publication date was. And
         13     again, the context for that blurb that I wrote. And also,
         14     frankly, for me to see how well that report perhaps as how
         15     good it looks today in terms of what we know about
         16     admissions.
         17     Q.   Thanks, Dean Fitzsimmons. We can move on to page 8 of
         18     your report by the race-neutral alternatives committee. I've
         19     got that blown up on the screen. This is the section of the
         20     report that talks about -- we've got it at the top here --
         21     "What would happen if Harvard stopped considering race?"
         22     Correct?
         23     A.   That's correct.
         24     Q.   And Harvard's report says, "The committee considered as
         25     an initial matter the likely effect on Harvard's student body



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           1    if it were to stop considering race in its admissions process
           2    while continuing to engage in the other practices in pursuit
           3    of diversity described above. As the expert report submitted
           4    by one of Harvard's experts in the SFFA litigation, Professor
           5    David Card, explains, the number of African-American and
           6    Hispanic students on campus would decline dramatically,
           7    notwithstanding all the other efforts that Harvard takes to
           8    recruit a broadly diverse class.
           9                 "Specifically, Professor Card estimates that the
         10     elimination of race in its race-conscious admissions program
         11     would reduce the population of students who self-identify as
         12     African-American, Hispanic, or other racial or ethnic
         13     background by nearly 50 percent. Relative to the admitted
         14     class of 2019, for example, the proportion of
         15     African-American students would be expected to drop from 14
         16     to 6 percent and the proportion of Hispanic or other students
         17     would be expected to drop from 14 to 9 percent. This
         18     decrease would produce a corresponding increase in students
         19     of other races, primarily white students."
         20                  Do you see that?
         21     A.   I do.
         22     Q.   And what I just read is Harvard's position on what would
         23     happen if Harvard stopped using race in its admissions
         24     process, correct?
         25     A.   That's correct.



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           1    Q.   Okay. And I want to talk a little bit about -- we talked
           2    before about whether or not race is determine -- a
           3    determinative factor.
           4                Do you remember we had that discussion?
           5    A.   Yes. A factor.
           6    Q.   A factor. But according to Harvard's own report here,
           7    without race a large number of students would not be admitted
           8    to Harvard, correct?
           9    A.   That's correct.
         10     Q.   And for those students, at least, race is a determinative
         11     factor, correct?
         12     A.   It certainly made a difference in whether or not they
         13     were admitted, again all other things equal relative to lots
         14     of other highly qualified candidates.
         15     Q.   On average, Harvard admits about 2,000 students a year;
         16     is that right?
         17     A.   That's right, yep.
         18     Q.   So if we're looking at Dr. Card's -- your report of
         19     Dr. Card's analysis of 2019 in the actual admitted class,
         20     that class had about 14 percent African-American admits,
         21     correct?
         22     A.   I think that's true, yes.
         23     Q.   That would be about 280 students, correct?
         24     A.   I'll trust your math.
         25     Q.   And if that drops to 6 percent, that 280 drops to about



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           1    120, correct?
           2    A.   Again, you were probably a math major.
           3    Q.   No, sir. We could do the same math for the drop for the
           4    Hispanic students as well, correct?
           5    A.   Correct.
           6    Q.   The report here says that the decrease would produce a
           7    corresponding increase of students from other races,
           8    primarily white students, but other races would benefit as
           9    well, correct?
         10     A.   That would be true.
         11     Q.   And what other race would benefit if Harvard stopped
         12     considering the use of race in its admissions process?
         13     A.   It doesn't say here, but I presume it would be
         14     Asian-American and people from backgrounds who did not
         15     declare, which is a reasonably large number, at least in
         16     terms of the counting process.
         17     Q.   Let's look at the part of Dr. Card's report that presents
         18     the information about this 2019 deal, put that on the screen.
         19                 MR. LEE: Does he have a copy of the report?
         20                 MR. HUGHES: No, I don't think he does. Bill, if
         21     he has an issue, we can come back to it after a break.
         22                 MR. LEE: Can he get a chance to get his report?
         23                 MR. HUGHES: Sure.
         24                 MR. LEE: Which report?
         25                 MR. HUGHES: It's his first report. It is page --



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           1                MR. LEE: -- 108.
           2                THE COURT: Do you have it?
           3                MR. LEE: I don't have it. Mr. Hughes has
           4    represented that he has two questions.
           5                My real concern is this was not disclosed for use
           6    with this witness, again. This is a document -- it's a
           7    report by another expert. It was not disclosed for use with
           8    this witness. That's the trouble. That's really why we
           9    don't have it here.
         10                 MR. HUGHES: It was shown yesterday in opening
         11     statements.
         12                 THE COURT: Is the arrangement that you're going to
         13     share all the exhibits that are to be used with a particular
         14     witness before that witness takes the stand?
         15                 MR. HUGHES: We have an arrangement to share
         16     exhibits we intend to -- not admitted exhibits that we intend
         17     to offer through a witness, which we've done, and
         18     demonstrative. All this is, this is not demonstrative, this
         19     is their expert's report. This is the table that provides
         20     the precise data that we just looking at on page 8 of the
         21     race-neutral alternatives report.
         22                 And all I want to do is he said he assumed that
         23     Asian-Americans would benefit from getting rid of race. I
         24     just want to show him that's what Dr. Card said, and then
         25     I'll move on.



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           1                MR. LEE: Your Honor, I have it. If that's all he
           2    wants to do, in the interests of time.
           3                THE COURT: We've already had a discussion that
           4    you'll be more careful about identifying what you're going to
           5    use with the witness. Unless we run into some kind of
           6    roadblock on this, ask the questions you're going to ask.
           7    And if there's a problem, we'll circle back to it.
           8                MR. HUGHES: Thank you, Your Honor.
           9    BY MR. HUGHES:
         10     Q.   Dean Fitzsimmons, you see over here on the far left
         11     hand --
         12                 [Alarm system goes off in Federal Courthouse.]
         13                 THE COURT: They'll give us a voice in a minute
         14     that will tell us what we're doing. All right. Karen is
         15     telling us if the voice is not telling us to stay, we have to
         16     go. Murphy's law.
         17                 (Off the record.)
         18                 THE COURT: Sorry about that, everyone. It's
         19     Murphy's law, right? If it can go wrong, it will. So we
         20     will forego our usual morning break and we'll go straight
         21     through until like 1:15 or 1:20 when you find a stopping
         22     spot. Okay?
         23                 MR. HUGHES: Thank you, Your Honor.
         24     BY MR. HUGHES:
         25     Q.   Welcome back, Dean Fitzsimmons.



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           1    A.   Thank you very much. And to you.
           2    Q.   Just to reorient where we were, I'm going to go back few
           3    questions just to remind you where we were. We had been
           4    looking at Plaintiff's Exhibit 316, which is Harvard's report
           5    on the race neutral alternatives.
           6                 Do you recall our conversation about that exhibit?
           7    A.   I do.
           8    Q.   I want to orient up to the bottom where I've got
           9    highlighted here. In your report, you reference the work of
         10     Dr. Card, correct?
         11     A.   That's correct.
         12     Q.   And he does a model about what the class of 2019 would
         13     look like if Harvard stopped considering race, correct?
         14     A.   That's correct.
         15     Q.   And I now just want you to focus on these figures because
         16     I'm going to show you Dr. Card's bar graph that relates to
         17     these in a minute.
         18                  And according to his model, the number of
         19     African-American students would have dropped from 14 percent
         20     to 6 percent, Hispanics from 14 to 9 percent, correct?
         21     A.   That's correct.
         22     Q.   Okay. So now we'll go to what I had on the screen when
         23     the alarm went off. Hopefully it won't cause it to go off
         24     again.
         25                  And this is page 109 of Dr. Card's report. And if



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           1    you see on the left-hand side, we've got a column that says
           2    "Actual Admitted Class."
           3                Do you see that?
           4                MR. LEE: I think that's page 108.
           5                MR. HUGHES: You're right, Mr. Lee.
           6    BY MR. HUGHES:
           7    Q.   Do you see on the left-hand column it's got the actual
           8    admitted class?
           9    A.   I see that.
         10     Q.   And it's got the percentages of different ethnic or
         11     racial groups, correct?
         12     A.   That's correct.
         13     Q.   And we've got the color blue for African-American. That
         14     goes from 14 to 6, just like in your report, correct?
         15     A.   That's correct.
         16     Q.   And for Hispanics, which Dr. Card used yellow, it goes
         17     from 14 to 9, just like in your report, correct?
         18     A.   Correct.
         19     Q.   For red -- for Asian-Americans, if Harvard were to stop
         20     considering race, the Asian admissions would actually go up
         21     from 24 to 27 percent, correct?
         22     A.   That's correct.
         23     Q.   So I just want to make sure we can agree on a few basic
         24     things.
         25                 THE COURT: Can you put that back up for me? Just



                                          JA672
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           1    leave it up there for a second. Keep going.
           2                 MR. HUGHES: Absolutely.
           3    BY MR. HUGHES:
           4    Q.   Just a few basic things that are illustrated by both P316
           5    and Dr. Card's bar graph here.
           6                 Asian-Americans, Dean Fitzsimmons, as a group do
           7    not benefit from Harvard's use of race in terms of how many
           8    Asian-Americans are admitted in a given class, correct?
           9    A.   Just looking across, could you just go through the line
         10     of reasoning? So the 24 versus all the other reds across?
         11     Q.   All the other reds have to do with models about
         12     socioeconomic boosts that have nothing to do with my question
         13     or what you're talking about in P316.
         14     A.   Okay.
         15     Q.   I'm just focused on the first two columns, which is
         16     Column 1 is "Actual Admitted Class," Column 2 is removing
         17     consideration of race.
         18                  You've already agreed that the numbers I've shown
         19     you here for African-Americans and Hispanic applicants line
         20     up with that paragraph I've showed you from your report,
         21     correct?
         22     A.   That's correct.
         23     Q.   And we see that the Asian admissions go from 24 in the
         24     actual class up to 27 when you remove race, correct?
         25     A.   That's correct.



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           1    Q.   So my question is Asian-Americans, as a group, do not
           2    benefit from Harvard's use of race in terms of how many
           3    Asian-Americans are admitted in a given class, correct?
           4    A.   Not in the number except that I think that the education
           5    that the Asian-American students get as a result of being at
           6    Harvard and being at a place that has great racial and ethnic
           7    diversity is quite substantial.
           8    Q.   I understand your testimony on that benefit, Dean
           9    Fitzsimmons, but I'm focused on the number. And on the
         10     number, the number of Asian-Americans that are admitted to
         11     Harvard, Asian-Americans do not benefit in terms of getting
         12     into Harvard because of Harvard's consideration of race,
         13     correct?
         14     A.   Yes. Except certainly there are certainly some
         15     Asian-Americans who end up at Harvard themselves because
         16     their background was a factor in their admissions in a
         17     positive way.
         18     Q.   But as a group, according to Dr. Card, actually more
         19     Asian-Americans would be admitted if race weren't considered,
         20     correct?
         21     A.   That would be correct.
         22     Q.   The other thing I wanted to focus on -- and this we can
         23     go right back to your document -- the preference, the racial
         24     tip that African-Americans receive is relatively stronger
         25     than, more than the tip that Hispanic applicants receive.



                                          JA674
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           1    Would you agree with that?
           2    A.   I think I would just simply say again looking at
           3    individual cases you can add these numbers up afterwards, but
           4    again, the racial and ethnic background would be a factor in
           5    those cases.
           6    Q.   I'm trying to look at the math that you adopted in your
           7    report, and I'll ask you the question. According to the
           8    numbers in your report, the falloff for African-Americans, 14
           9    to 6, is greater than the falloff for Hispanics, 14 to 9, if
         10     Harvard were to stop considering race, correct?
         11     A.   I understand the numbers, yes.
         12     Q.   The reverse is therefore true that as a group
         13     African-Americans receive more of a benefit based on race in
         14     the Harvard admissions process than Hispanics, correct?
         15     A.   Yes. There are more individuals who had benefited in
         16     this individual review.
         17     Q.   Now I want to shift gears a little bit, Dean Fitzsimmons,
         18     and talk to you some more about the personal score. Okay?
         19     A.   Yes.
         20     Q.   We can take this down. Would you agree that Harvard
         21     admissions officers do not take race into account when
         22     assigning the personal rating?
         23     A.   Yes, I do.
         24     Q.   And what that means is that race is not involved in the
         25     personal rating, correct?



                                          JA675
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           1    A.   Not per se, correct.
           2    Q.   And we've talked about guidance, written guidance. Can
           3    you think of anywhere where Harvard provides written guidance
           4    telling its admissions officers not to use race or ethnicity
           5    in awarding the personal score?
           6    A.   I have not seen any written guidance, but it's certainly
           7    well known on the staff and part of the training.
           8    Q.   So I understand you say Harvard does not use race now
           9    when awarding the personal score.
         10                 My question is, when did Harvard admissions
         11     officers stop using race or ethnicity in awarding personal
         12     scores?
         13                 MR. LEE: I object to the predicate. There's been
         14     no demonstration of the predicate.
         15                 THE COURT: That's sustained.
         16                 MR. HUGHES: I'll rephrase.
         17     BY MR. HUGHES:
         18     Q.   Since you've been dean, have Harvard admissions officers
         19     ever used race in awarding personal scores?
         20     A.   Not to my knowledge.
         21     Q.   Yesterday, you and I had a reasonably lengthy
         22     conversation about the OCR statement of findings.
         23                 Do you recall that?
         24     A.   Yes, I do.
         25     Q.   We had a back-and-forth. I just want to kind of refresh



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           1    everybody's memory where you described that process.
           2                It was a lengthy investigation. They set up shop
           3    in your office. They interviewed you and Director McGrath
           4    and a number of other admissions officers in the course of
           5    their investigation, correct?
           6    A.   That's correct.
           7    Q.   So -- and part of what the OCR did when it was conducting
           8    this investigation was it got an understanding of how your
           9    admissions process works, correct?
         10     A.   I think it did.
         11     Q.   And it did that in part based on the conversations with
         12     you and other people in the admissions office, correct?
         13     A.   In part, yes. Correct.
         14     Q.   I just want to look at parts of Plaintiff's Exhibit 555,
         15     which has already been admitted into evidence, which is the
         16     statement of findings from OCR. Okay?
         17     A.   Yes.
         18     Q.   So I'm looking, Dean Fitzsimmons, at page 6 of
         19     Plaintiff's Exhibit 555, the statement of findings. And I'll
         20     blow up this part of OCR's report. Here OCR is reporting
         21     what you and I have already discussed at length that there
         22     are four major criteria on which all candidates are assessed:
         23     academic achievement, extracurricular activities, athletics,
         24     and personal qualities.
         25                 That's part of what OCR learned when it was



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           1    conducting this investigation, correct?
           2    A.   That's correct.
           3    Q.   OCR also as part of this investigation, since it had to
           4    do with claims of racial discrimination, they investigated
           5    how race was being used by the Harvard's admissions office in
           6    the application process, correct? That's part of what they
           7    looked at?
           8    A.   That's correct.
           9    Q.   Now I want to show you the part of the OCR's statement of
         10     findings that addresses that. Okay?
         11     A.   Sure.
         12     Q.   Now what I've got on the screen is the bottom of page 15
         13     and the top of page 16 of the report, which is P555. And let
         14     me read that into the record, dean Fitzsimmons, and I'll ask
         15     you some questions.
         16                  This is OCR: "We found that the readers had
         17     several different views as to where and whether
         18     Asian-American ethnicity was given positive weight or a tip
         19     in the admissions process. Some readers explained that when
         20     ethnicity was deemed to be a significant factor in an
         21     application, it was reflected in the POR" --
         22                  And I'll pause right there.
         23                  POR is preliminary overall rating, correct?
         24     A.   Correct.
         25     Q.   -- "it was reflected in the POR and during discussions at



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           1    subcommittee and committee meetings.
           2                "Other readers indicated that ethnicity was a
           3    factor considered throughout the entire admissions process.
           4    They stated that it could be reflected in the four reader
           5    rating areas, as well as in the POR and during the
           6    subcommittee and committee meeting discussions.
           7                "Still other readers stated that ethnicity was not
           8    a factor at all unless the effect of that ethnicity on the
           9    applicant was evident from the applicant's file. They
         10     indicated that ethnicity was only considered a plus when the
         11     applicant wrote about or indicated the significance of his or
         12     her heritage, or when there was some other indicia in the
         13     file of the applicant's involvement with ethnic community
         14     organizations or groups."
         15                 That's what OCR found, correct?
         16     A.   That's one of their findings, yes.
         17     Q.   And you told me yesterday that you and Director McGrath
         18     and the other admissions officers that talked to OCR and
         19     Mr. Hibino were honest and accurate when they described how
         20     the process worked, correct?
         21     A.   I certainly believe that they were honest and accurate in
         22     terms of the information they received.
         23     Q.   And so the date of this is 1990, correct?
         24     A.   That's correct.
         25     Q.   So at least in 1990, there was a group of Harvard



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           1    admissions officers that stated that race or ethnicity could
           2    be reflected in the four reader rating areas, correct?
           3    A.   Yes. That's what it said.
           4                But I think, again, let's give you an example. So
           5    let's say someone who was from, let's say, an
           6    African-American background had experienced discrimination of
           7    one sort or a set of hurdles for a variety of reasons due to
           8    ethnicity in their home, in their high school, in their
           9    community. The fact that had overcome and surmounted those
         10     kinds of obstacles could, in fact, have illuminated the
         11     strength of the personal rating.
         12                 Now, that could happen to someone from any ethnic
         13     background. It depends, I think, on how you read that
         14     question. In other words, wasn't anyone from any ethnic
         15     background or, say, gender or religion could be, let's say,
         16     discriminated against. And then due to their background --
         17     and so that is -- and that might illuminate the strength of
         18     their personal qualities. So it really depends a little bit
         19     on how you want to read that.
         20     Q.   Let's break this down, Dean Fitzsimmons. The four reader
         21     rating areas that I've got highlighted here, one of those is
         22     personal quality, correct?
         23     A.   That's correct.
         24     Q.   What you just testified to is that sometimes Harvard
         25     admissions officers might consider the fact that somebody's



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           1    overcome discrimination as part of awarding their score,
           2    correct?
           3    A.   That's correct. And it could be someone from any kind of
           4    a background. It doesn't have to be connected to race or
           5    ethnicity.
           6    Q.   We're talking about race. And you're trying to interpret
           7    the sentences I have highlighted here and suggest that what
           8    that could really mean is that if the applicant provided
           9    Harvard information about overcoming racial discrimination,
         10     then that could play a role in the scores, correct?
         11     A.   Yes. Except what I'm trying to say, it depends on how
         12     the phrase be reflected, could be read any number of ways.
         13                 But the rubric is that it per se would not affect
         14     the personal rating. It depends on the circumstance of the
         15     individual.
         16     Q.   What OCR found was that a group of readers indicated that
         17     ethnicity was a factor considered throughout the entire
         18     admissions process and could be reflected in the personal
         19     score. That's what they found, correct?
         20     A.   Yes. Just even on the first part of the sentence,
         21     though, is that again the readings take place, the
         22     subcommittee takes place, the full committee takes place. So
         23     race certainly could be discussed all the way along the line
         24     and be a factor, let's say, in the final vote.
         25                 Even if you take the first part of that sentence,



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           1    you can see that the ethnicity can be a factor in individual
           2    cases all the way down to the final committee vote.
           3    Q.   And these readers told OCR that race could be reflected
           4    in the four reader areas, which includes the personal score,
           5    correct?
           6    A.   Again, I've tried, I think, to explain how the
           7    individual's background -- it could be religion, could be
           8    gender, could be anything, could -- and overcoming obstacles
           9    or prejudice or whatever it might be, that could illuminate
         10     in that individual case the personal qualities rating.
         11     Q.   The Harvard admissions office would only know the
         12     information you just talked about if it was in the
         13     applicant's file, correct?
         14     A.   That would be correct, for individual circumstances.
         15     Q.   Do you agree that OCR drew a distinction between readers
         16     who consider ethnicity throughout the process and use it in
         17     awarding the reader ratings; and other readers, still other
         18     readers, stated that ethnicity was not a factor at all unless
         19     the effect of that ethnicity on the applicant was evident
         20     from the applicant's file? Do you agree OCR is drawing the
         21     distinction between those two types of readers?
         22     A.   Again, I wasn't part of the conversations that the
         23     readers at that time -- it was almost 30 years ago -- had
         24     with the OCR people. But I think, you know, depending on how
         25     the discussion took place with those readers, I think you --



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           1    and depending on the context of the particular case, I could
           2    see how you could interpret these things in a number of
           3    different ways.
           4    Q.   One way we can interpret what OCR found is that there
           5    were a group of readers in Harvard's admissions office in
           6    1990 who were using race and awarding personal scores.
           7    That's one fair interpretation of this document, correct?
           8    A.   It's possible.
           9    Q.   And you agree it's possible that that's actually what was
         10     happening in 1990, correct?
         11     A.   Again depending on how you want to read that sentence.
         12     Q.   I want to walk through a couple other parts of this that
         13     relate to this issue.
         14                 Are you aware that in this document that OCR found
         15     that Harvard did not provide its admissions officers
         16     instructions on how much weight to give race or where to use
         17     it in the process?
         18     A.   Again, I think you're referring to written instructions.
         19     And I certainly would argue, based on the extensive training
         20     and the fact that this is monitored all the time, not just
         21     for the first year of a staff member's time, but in a sense
         22     one of the great checks and balances is we're all watching
         23     each other, all 40 people. When we look at those individuals
         24     and all the information in the cases, everyone is always
         25     vigilant to be certain that race and ethnicity is used in the



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           1    proper way.
           2    Q.   OCR became familiar not only with your written
           3    instructions but also -- let's take this down until I'm
           4    ready.
           5                OCR became familiar not only with your written
           6    instructions but also with the process that you've had since
           7    you've been dean where there's this training where somebody
           8    is reading over your shoulder, so to speak, when you first
           9    start in the admissions office, right?
         10     A.   Yes. In a sense, we're always reading over everyone
         11     else's shoulders. Because every time you put, as we do, all
         12     that information up on the screen during the subcommittee and
         13     the full committee, everyone is watching everybody else to be
         14     sure that each applicant is being dealt with fairly.
         15     Q.   And OCR knew all about that when it issued this report,
         16     correct?
         17     A.   You know, I don't know exactly what was in their minds,
         18     but they certainly talked to ten admission officers, as you
         19     know, and we talked about the 400 cases that they looked at,
         20     and they had other information.
         21     Q.   So now I want to look at what the OCR found about
         22     training. I'm focused here on the bottom.
         23                 "There are no formulas or specific criteria for
         24     measuring or assessing ethnicity, nor are there instructions
         25     for determining how much weight is given to ethnicity or



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           1    where the weight is to be applied in the admissions process."
           2                That's what OCR found in 1990, correct?
           3    A.   Yes. And I think the fact that there was no formula, no
           4    mechanical process that would in some rigid way do this, I
           5    think is one of the strengths of the process. Because each
           6    individual is unique in the world, and how one's background
           7    may affect one's life or one's life chances or life
           8    experiences is unique to that individual. So I think it is
           9    important to have no formula or some mechanistic thing that
         10     would do that.
         11     Q.   Let's set aside formulas and mechanistic things.
         12                 Do you think it's important to have instructions
         13     for determining how much weight to give to ethnicity or where
         14     the weight should be applied in the admissions process? Is
         15     it important to have instructions on that?
         16     A.   I agree not only instructions but, again, to have an
         17     ongoing process that provides checks and balances not just
         18     for new people but for everyone.
         19     Q.   And right here we have OCR finding, based on their
         20     lengthy investigation that we heard about yesterday, that
         21     there aren't such instructions or at least there weren't in
         22     1990, correct?
         23     A.   If you mean a rigid set of formulaic instructions, that
         24     would be correct.
         25     Q.   Is that how you read the second part of this sentence, to



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           1    be referring to a rigid set of formulaic instructions? Is
           2    that how you're reading it, sir?
           3    A.   I guess when I see formulas connected to instructions, it
           4    leads me at least to think that there could be something
           5    mechanistic or rigid or formulaic, which is not what we do.
           6    Q.   Now, are you aware that at the time of this report that
           7    OCR found that Asian-Americans were receiving lower personal
           8    scores than white applicants?
           9    A.   Again in general, I think there was a slight difference
         10     between the personal ratings for Asian-Americans compared to
         11     white students.
         12     Q.   I've got page 21 of the OCR report up on the screen. OCR
         13     found, "With respect to the personal qualities ratings, most
         14     applicants in our sample, both Asian-American and white, were
         15     given between a three minus and a two plus. Overall, in the
         16     classes of 1991 and 1992, from which our file samples were
         17     drawn, over 98 percent of the applications received some form
         18     of a 2 or 3. However, between the two groups, 20 percent of
         19     Asian-American applicants and 25.5 percent of white
         20     applicants received a 2 rating in the personal category."
         21                 Do you see that?
         22     A.   I can see that.
         23     Q.   And you were aware of that in 1990, correct?
         24     A.   That's correct.
         25     Q.   Did that give you any concern that there was such a stark



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           1    difference in personal quality ratings between Asian-American
           2    applicants and white applicants in 1990?
           3    A.   I think obviously any time you see anything about our
           4    applicant pool, you want to make sure that everyone is being
           5    treated fairly and evenly. I think one of the things that
           6    this shows is that there was an incredible range. Obviously
           7    there were many Asian-American applicants receiving very
           8    strong personal ratings then and now.
           9                Remembering of course that the ratings themselves
         10     are just a beginning, you then have to go through the
         11     process. And that the ratings themselves are simply again
         12     not for a group, but it's looking at each individual at a
         13     time.
         14                 And when each time, say, a reader is going through
         15     an application, it's a little bit like a legal process
         16     certainly. Or let's say if you're a baseball umpire or
         17     something of that sort, what you're trying to do is look at
         18     the evidence in front of you, evidence from outside sources,
         19     you know, for example, from the teachers, from the counselor,
         20     from all of the outside recommendations and all the other
         21     outside information along with all the information provided
         22     by the applicant.
         23                 And looking at that information on a case-by-case
         24     basis, coming to some sort of a conclusion, again preliminary
         25     conclusion, because a rating is only a preliminary step,



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           1    that's where you end up with these aggregate numbers.
           2    Q.   Do you think the difference between the 20 percent of
           3    Asian-Americans that were receiving a 2 and the 25.5 of white
           4    applicants who were receiving a 2, do you think that's a
           5    significant difference?
           6    A.   It's a relatively small difference in the greater scheme
           7    of things, keeping in mind that the personal rating is only
           8    one of many, many factors that go into things, and that you
           9    can certainly, if you took any other group, maybe let's say
         10     Sparse Country people or students from my background,
         11     first-generation students, you could find any number of
         12     differences perhaps along any number of dimensions.
         13                 But as long as you get back to just keeping in mind
         14     that any of these dimensions would only be one factor among
         15     many as the committee looks at its applicants and then makes
         16     its decisions.
         17     Q.   You told me before that you never had to sit down with a
         18     Harvard admissions officer and tell them they were using race
         19     inappropriately in the Harvard admissions process. You agree
         20     with that, right?
         21     A.   I cannot think of any instance where that's occurred.
         22     Q.   And nothing in this report caused you to do that, right?
         23     A.   No. Simply looking, again, looking at the evidence in
         24     front of us.
         25     Q.   And the 25 to 20 percent, that wasn't a concern to you.



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           1    You thought that was okay that Asian-Americans were receiving
           2    that level of difference in the personal score back in 1990,
           3    correct?
           4    A.   I think the big point was to ensure that we had a process
           5    that looked at each individual; and took all the factors in
           6    each individual's case into account; and have a process where
           7    we ensured that it was really the evidence given by the
           8    applicant him or herself as well as all the outside
           9    information, which I won't detail just to save time. We
         10     wanted to make sure that process was well in place.
         11     Q.   I want to look at a few additional things that OCR found,
         12     Dean Fitzsimmons. I've got page 24 in front of you. Let me
         13     read it and then I'll ask you some questions.
         14                 OCR says, "In addition to examining the ethnic
         15     reader's comments, OCR's concerns for the potential
         16     stereotyping of Asian-American applicants prompted a review
         17     of reader comments for negative characterizations which could
         18     have an impact on the admissions decision and ratings.
         19                 "On its face, reader comments revealed several
         20     recurring characterizations attributed to Asian-American
         21     applicants. Quite often Asian-American applicants were
         22     described as being quiet, shy, science/math oriented, and
         23     hard workers. For example, one reader's comment embraced all
         24     of these in describing an Asian-American applicant when she
         25     wrote: 'Applicant seems like a reserved, hard-working,



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           1    aspiring woman scientist/doctor.'
           2                "While such descriptions may not seem damaging, OCR
           3    was conscious that problems of model minority stereotypes
           4    could negatively impact Asian-Americans applicants as a
           5    whole. This concern was also raised when OCR's file review
           6    came upon comments such as, 'He's quiet and of course wants
           7    to be a doctor'" --
           8                Let me go to the next page.
           9                -- "suggesting that most or all Asian-American
         10     applicants want to be a doctor. Or more pointedly,
         11     applicant's scores and application seem so typical of other
         12     Asian applications I've read: Extraordinarily gifted in math
         13     with the opposite extreme in English."
         14                 These were all findings by OCR, correct?
         15     A.   That's correct.
         16     Q.   Do any of the statements that your admissions officers
         17     made that I've just read to you, do any of those concern you?
         18     A.   Yes. And I think one of the things we have made a point
         19     of doing, certainly since receiving this report, is making
         20     certain that staff members just simply do what we want them
         21     to do. And that is, go through the evidence contained in the
         22     teacher reports, the counselor reports, and the outside
         23     recommendations on which to base their ratings.
         24                 And I think one of the things to remember is that
         25     the teacher recommendations and the counselor



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           1    recommendations, as you know, are certainly an important part
           2    of the application. And to the extent to which information
           3    might be conveyed from those reports and the others, that
           4    could affect how an individual reader may do the write-up.
           5    Q.   But to be clear, you didn't sit down with any of your
           6    admissions officers after this report came out and say stop
           7    doing this, stop using race this way, stop making these
           8    stereotypical comments. You didn't do that, right?
           9    A.   That's not right. We took the report very, very
         10     seriously, and we shared the report obviously with our staff
         11     members and discussed the report in detail. It was obviously
         12     a very important report for the admissions committee members
         13     and really for the general public to be aware of.
         14                 And it continues to be -- the OCR report continues
         15     to be an important benchmark for us to make certain that we
         16     do exactly what we said -- what the Bakke decision and what
         17     was outlined here, and then what was outlined certainly in
         18     any of the studies done.
         19     Q.   I just want to make sure you're not changing what you've
         20     told me before.
         21                 You never sat down with an admissions officer and
         22     told them they were using race in the wrong way in your
         23     process, correct?
         24     A.   I'm not sure the image of, say, me or anyone else on the
         25     staff sitting down with an individual admission officer --



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           1    for one thing, I'm not even sure who might have said these
           2    kinds of things.
           3                The point is that the entire staff, not just an
           4    individual admission officer, the entire staff certainly
           5    studied this report very, very carefully to make certain that
           6    it did not engage in any racial stereotyping but rather
           7    looked carefully at the evidence in each application.
           8                But it's not simply talking with individuals. It
           9    was really talking with the entire admissions committee and
         10     future admissions committees.
         11     Q.   Dean Fitzsimmons, do you think that the stereotypical
         12     comments which OCR quoted here are consistent with using race
         13     with Harvard's guidelines?
         14     A.   This is not -- I'm not quite sure what you mean by
         15     consistent with guidelines.
         16     Q.   Are these stereotypical comments that OCR found your
         17     admissions officers made, are those comments consistent with
         18     the way Harvard wants race used in its admissions process?
         19     A.   We do not endorse, we abhor stereotypical comments. This
         20     is not part of our process. This is not who I am, and it's
         21     not who our admissions committee members are.
         22     Q.   Dean Fitzsimmons, now I want to fast-forward to 2012.
         23     We've looked at a number of things from 1990 that relate to
         24     Harvard's use of race in its admissions process in this OCR
         25     report, correct?



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           1    A.   That's correct.
           2    Q.   We looked at the four categories of ratings; we looked at
           3    these comments; we looked at the issue of instructions;
           4    correct?
           5    A.   That's correct.
           6    Q.   And do you believe that OCR's 1990 description of how
           7    Harvard uses race in its admissions process is still accurate
           8    in more recent times, say like 2012?
           9    A.   Again, I'm not exactly sure which aspect of the policy.
         10     But in general terms, certainly the OCR report has been
         11     important to us.
         12     Q.   Do you think that a description of how Harvard uses race
         13     in the -- do you think the description of how Harvard uses
         14     race in the 1990 OCR report is still accurate?
         15     A.   The general -- certainly the general description and the
         16     outlining, yes.
         17     Q.   Yesterday we looked at Plaintiff's Exhibit 509. It's
         18     already admitted. I'll put it back on the screen. Just to
         19     remind you, I've got it on the screen, but Dean Fitzsimmons,
         20     you're certainly welcome to look at it in the binder.
         21                  Again, this is the 2012 letter from Harvard office
         22     of general counsel to OCR. You recall talking about that
         23     document with me yesterday?
         24     A.   I do.
         25     Q.   You were copied on it, and it's dated February of 2012,



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           1    correct?
           2    A.   That's correct.
           3    Q.   Turn to the second page of the document. This is
           4    Harvard's office of general counsel, and I'll just read this
           5    and ask you some questions.
           6                "In no way did Harvard subject" -- and then there's
           7    a redacted name -- "to different treatment in the admissions
           8    process on the basis of national origin as the complaint
           9    alleges. As you know, OCR has in the past conducted an
         10     extensive compliance review of Harvard College admissions
         11     process particularly with respect to Asian-American
         12     applicants."
         13                 And then it references the compliance review that
         14     we just looked at, correct?
         15     A.   That's correct.
         16     Q.   It goes on to say, "As OCR reported to Harvard at the end
         17     of that review, we found no evidence of the existence or use
         18     of quotas, nor did we find that Asian-Americans were treated
         19     differently than white applicants in the implementation of
         20     the admissions process."
         21                 That was the ultimate finding in the letter from
         22     Mr. Hibino, correct?
         23     A.   That's correct.
         24     Q.   And then Harvard office of general counsel goes on to
         25     say, "The information that OCR gathered during the course of



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           1    that compliance review and in subsequent cases regarding
           2    Harvard College's criteria for admission, its use of race as
           3    a factor in admissions decisions, and its general policies
           4    and procedures for selecting students for admission to its
           5    undergraduate program is still accurate today."
           6                 Do you see that?
           7    A.   I do.
           8    Q.   So do you agree that the way Harvard runs its admissions
           9    process in terms of how Harvard uses race as a factor in
         10     admissions is the same as it was in 1990 today?
         11     A.   I do.
         12     Q.   So does that -- would you then admit that based on what
         13     OCR found in 1990 that it's at least possible that a group of
         14     your admissions officers are using race in awarding the
         15     personal score along the lines that OCR found in 1990? Is
         16     that possible today?
         17     A.   I don't know. I think -- I doubt it. But what I would
         18     say, though, is again the OCR report is certainly something
         19     that our office is well aware of, continues to be well aware
         20     of, as this sentence indicates.
         21     Q.   All right. I'm going to move on from OCR for now, Dean
         22     Fitzsimmons.
         23                  Before this case, before this lawsuit, had the
         24     admissions office ever conducted any empirical research into
         25     whether Harvard admissions officers used race or ethnicity in



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           1    awarding personal scores?
           2    A.   I'm not aware of any research that looked at that
           3    specifically. It's possible that there was some other sets
           4    of things. You'd have to show me.
           5    Q.   Nothing comes to mind?
           6    A.   No.
           7    Q.   So you do recognize that as a result of this case the
           8    experts have conducted some empirical research based on data
           9    that was produced from your admissions office, correct?
         10     A.   That's correct.
         11     Q.   You understand the admissions office produced data for
         12     six admission cycles, correct?
         13     A.   That's correct.
         14     Q.   And that data included data about students that were
         15     admitted and students that were not admitted, correct?
         16     A.   That's correct.
         17     Q.   It had information like GPA and SAT scores and all of the
         18     different ratings that we've talked about, correct?
         19     A.   That's correct.
         20     Q.   And it had information, to the extent it was provided, by
         21     the applicants about race or ethnicity, correct?
         22     A.   That's correct.
         23     Q.   And in fact, I want to put Plaintiff's Exhibit 316 back
         24     on the screen. It's the race-neutral alternative report
         25     that's already been admitted into evidence. We'll put page 2



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           1    up on the screen. Let me just read that to you, Dean
           2    Fitzsimmons. You're welcome to follow along on paper on the
           3    screen. It's page 2.
           4                Harvard's report says, "In 2014, Harvard convened a
           5    universitywide committee chaired by James Ryan, dean of the
           6    graduate school of education. That committee was charged
           7    with examining the importance of student-body diversity at
           8    the university and with evaluating whether the university
           9    could achieve the educational benefits of a diverse student
         10     body without considering the race or ethnicity of its
         11     applicants.
         12                 "That committee paused its work when Students for
         13     Fair Admissions, Inc., SFFA, filed a lawsuit against Harvard
         14     challenging Harvard College's consideration of race in
         15     undergraduate admissions. Recognizing that the litigation
         16     would include an extensive discovery process in which experts
         17     would conduct in-depth empirical analyses of the college
         18     admissions process and proposed changes to it, Harvard
         19     decided to evaluate whether it could achieve the educational
         20     benefits of diversity without considering race in admissions
         21     in the college in a way that would be informed by the
         22     race-neutral alternatives proposed in the SFFA complaint and
         23     the analysis of those and other alternatives anticipated to
         24     be prepared by the parties' expert witnesses."
         25                 That's what your reports says, correct?



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           1    A.   That's correct.
           2    Q.   I want to march through and unpack that a little bit.
           3                What was the Ryan committee?
           4    A.   The Ryan committee was chaired by Jim Ryan, who was the
           5    dean of the graduate school of education at that time. He is
           6    now the president of the University of Virginia. And he
           7    convened this committee, as the statement indicates.
           8    Q.   And it was convened in 2014?
           9    A.   Right, that's correct.
         10     Q.   How many people were on the Ryan committee?
         11     A.   I'm not sure exactly. I'm just trying to recollect.
         12     Perhaps ten people, maybe more. It was very brief.
         13     Q.   You were one of the people?
         14     A.   I was one of the people. And obviously -- and a lot of
         15     people on the committee, like me, have lots of other
         16     conflicting meetings and so on.
         17     Q.   So the record is clear, you were one of the people on the
         18     Ryan committee, correct?
         19     A.   I was, yes.
         20     Q.   And what happened was after that committee kind of first
         21     got started, but this lawsuit was filed in the fall of 2014,
         22     so the work on the committee was stopped at that time,
         23     correct?
         24     A.   That's correct.
         25     Q.   Was that your decision to stop that work?



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           1    A.   It was not my decision.
           2    Q.   So the Ryan committee at that point was effectively
           3    disbanded while Harvard waited for the empirical analysis to
           4    be conducted by the parties' respective experts in this case,
           5    correct?
           6    A.   That's my understanding.
           7    Q.   And then a new committee to study race-neutral
           8    alternatives was formed after that, correct?
           9    A.   That's correct.
         10     Q.   The purpose, just so it's clear, the purpose of the Ryan
         11     committee was to study race-neutral alternatives. It really
         12     didn't get off the ground. We had the lawsuit, the work of
         13     the experts, and then a new committee was formed that
         14     included yourself, Dean Smith, and Dean Khurana, correct?
         15     A.   That's correct.
         16     Q.   So only three members on the new committee, correct?
         17     A.   That's correct.
         18     Q.   Did you make the decision about who to staff on the
         19     committee that you participated in?
         20     A.   I did not.
         21     Q.   But what you definitely were anticipating was to look at
         22     some of the empirical evidence that would be generated as a
         23     result of the analysis done in this case about the admissions
         24     data that you provided, correct?
         25     A.   That would certainly be one of the things we would want



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           1    to look at.
           2    Q.   Now I'd like to show you a page of Dr. Card's expert
           3    report, his first report, which I think Mr. Lee has a copy
           4    of. I'll show you page 37.
           5                MR. LEE: I think the witness is looking for it in
           6    the binder.
           7                THE WITNESS: What page?
           8    BY MR. HUGHES:
           9    Q.   It is not in your binder, Dean Fitzsimmons, but I
         10     actually do have a paper copy which I'm happy to walk up to
         11     you or we can look at it on the screen. I defer to you, sir.
         12     A.   The screen is fine for me. I don't want to anticipate
         13     another fire drill or something.
         14     Q.   I've got it here if you want it. Just let me know.
         15     A.   Should I ask counsel --
         16                 MR. LEE: Yeah. If he could have a hard copy.
         17     A.   -- maybe to see the whole context. They would know
         18     better than I.
         19     BY MR. HUGHES:
         20     Q.   Here you go, sir. The only thing I'm going to ask you
         21     about is what I have on the screen. So what I've got on the
         22     screen is page 36 of Dr. Card's report. And we've got
         23     Exhibit 8 to the report, and it's entitled, "White and
         24     Asian-American Applicants Excel At Different Dimensions:
         25     Percentage of Applicants With Ratings of 2 Or Better."



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           1                 Do you see that on the screen in front of you, Dean
           2    Fitzsimmons?
           3    A.   I do.
           4    Q.   So the only two ethnicities we've got on here are
           5    Asian-American and white, correct?
           6    A.   That would be correct.
           7    Q.   And if we look at academic ratings, we see -- let me ask
           8    you a new question just to orient you.
           9                 The red bars relate to Asian-American applicants,
         10     correct?
         11     A.   That's correct.
         12     Q.   And the blue bars relate to white applicants, correct?
         13     A.   That's correct.
         14     Q.   And you reviewed Dr. Card's report as part of your duties
         15     on the race-neutral alternative committee, right?
         16     A.   Yes, that's correct.
         17     Q.   And we've got -- along the left-hand side, we've got the
         18     percentage of the applicant pool that gets these scores of 2
         19     or better. You see that over here, correct?
         20     A.   I do.
         21     Q.   Okay. And then Dr. Card has helpfully provided the
         22     aggregate number of students on each of the bars, correct?
         23     A.   Yes.
         24     Q.   And so what we've got for -- and again, this is Harvard's
         25     expert, right?



                                          JA701
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           1    A.   That's correct.
           2    Q.   And so just we'll go through here. On the academic
           3    rating, it looks like almost 60 percent --
           4                MR. LEE: Your Honor, I am going to object now.
           5    The tie to this is his review of the report for race-neutral
           6    alternatives. I don't think this has anything to do with
           7    race-neutral alternatives. And cross-examining this witness
           8    on Dr. Card's report when Dr. Card is going to be here
           9    doesn't seem to be either appropriate or a good use of our
         10     time.
         11                 MR. HUGHES: With respect, Your Honor, this is --
         12     what I just showed him from his race-neutral alternative
         13     report talked about anticipating empirical analysis of his
         14     admissions process. This is that empirical analysis.
         15                 He has been the dean of the admissions process for
         16     32 years, and I think it's perfectly appropriate to confront
         17     him and ask him questions with the basic pretty simple to
         18     understand output of those empirical analysis to see if he
         19     has helpful testimony or information to provide on those
         20     subjects.
         21                 MR. LEE: Your Honor, when he cross-examined on the
         22     other chart, it dealt with the impact of the race-neutral
         23     alternatives on different ethnicities. I didn't object
         24     because that was related to the report.
         25                 But Dr. Card's report runs hundreds of pages, much



                                          JA702
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           1    of which has nothing to do with the RNAs, including this. I
           2    just think cross-examining a fact witness on the expert
           3    report of an expert witness who's going to be here to
           4    testify --
           5                THE COURT: I'm not sure where he's going with it.
           6    If what he wants to ask is were you aware of these things and
           7    did you take steps in response to it, that's fair game.
           8    Right? But to cross-examine on how he got to these numbers
           9    and what they mean is not fair game.
         10                 MR. HUGHES: I have absolutely no intention of
         11     doing that, Your Honor. I am going to ask him whether what
         12     Dr. Card is showing here is consistent with what he knows,
         13     given his long experience in the admissions process. And I'm
         14     going to ask him if he has explanations, for example, for the
         15     difference in the personal score rating that Dr. Card is
         16     showing here on his chart, based on his experience as the
         17     dean of admissions office for 32 years.
         18                 I'm not going to ask him how he got to these
         19     numbers or whether the numbers are right or whether
         20     Dr. Card's opinions are valid. I have no plan to get into
         21     any of that.
         22                 I would actually be happy to skip this and move to
         23     a different piece of empirical evidence that I'll put up
         24     right now, which is Plaintiff's Exhibit 629. And this is not
         25     from an expert report.



                                          JA703
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           1                MR. LEE: I object. There's no foundation for this
           2    at all. This witness has not seen this document before.
           3    It's not been before him before.
           4                Your Honor, if I could very briefly?
           5                THE COURT: Yes.
           6                MR. LEE: There are two things here. The witness
           7    has reviewed the Card reports for the purpose of the RNA
           8    committee. That doesn't mean that everything that's in those
           9    reports that deal with a whole host of other issues would be
         10     fair game for cross.
         11                 THE COURT: That first question about whether the
         12     report is consistent with what he knows based on his
         13     experience, that is fair game, in my opinion. However wrong
         14     you think I have it, I think that question is a fair
         15     question. We'll see what his answer is.
         16                 I don't know how much further beyond that you go.
         17     You can ask him what his familiarity is, but if there's no
         18     foundation for asking him questions on 629 --
         19                 MR. HUGHES: If I may be heard on this one.
         20                 THE COURT: Yes.
         21                 MR. HUGHES: 629 is not part of the expert analysis
         22     in the case. What 629 is, is a summary-of-evidence exhibit
         23     that summarizes the evidence produced by Dean Fitzsimmons'
         24     admissions office, and it's an un-objected to exhibit in
         25     terms of its admissibility. It was used in opening



                                          JA704
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           1    yesterday.
           2                I plan to try to walk through with the witness the
           3    basic structure of it. But I think given the importance of
           4    whether race is used in the personal score, given that Dean
           5    Fitzsimmons has been the dean for 32 years and given that
           6    this is an unobjected-to summary-of-evidence exhibit, based
           7    on the data that they've produced, I'd like to see, and I
           8    think it would be helpful to the Court, whether Dean
           9    Fitzsimmons has any explanation for what we're seeing in
         10     P629, which to me plainly shows --
         11                 MR. LEE: Wait a minute. Let's not talk in front
         12     of the witness, which plainly shows to you --
         13                 THE COURT: You make an excellent witness,
         14     Mr. Hughes, but that's not your job here.
         15                 MR. LEE: First, could we have this taken down?
         16                 THE COURT: Take this down. You can go back to the
         17     other exhibit, and you can ask him if the information in that
         18     exhibit is consistent with what he has observed, if you still
         19     want to ask that question. And then we'll see where he goes
         20     and what the next question is.
         21                 MR. LEE: And, Your Honor, this summary chart is
         22     from -- this is from their expert, Dr. Arcidiacono. His
         23     report was not reviewed in connection with the RNA.
         24                 THE COURT: When we get to that, he can ask him
         25     about that exhibit. And if he hasn't seen it and doesn't



                                          JA705
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           1    have any basis for understanding the accuracy of it, then
           2    he's not going to be asked questions about that.
           3                MR. HUGHES: On 629.
           4                THE COURT: On 629.
           5                MR. HUGHES: Understood, Your Honor.
           6                THE WITNESS: I'm sorry. What's the question?
           7    BY MR. HUGHES:
           8    Q.   At least the fire alarm didn't go off.
           9    A.   I'm ready.
         10     Q.   So now I've got page 36 of Dr. Card's report. And we had
         11     kind of been walking through the basic structure of the bar
         12     graph. You recall our conversation there, sir?
         13     A.   I do. He's using Arcidiacono's data. Is that the idea?
         14     Q.   Yes. Everybody but the athletes, but yes.
         15     A.   Which, again, I think would be important. In our world,
         16     we look at everybody simultaneously together year by year.
         17     But I'll leave that aside.
         18                 THE COURT: Can I interrupt for one second?
         19                 What is this last category, three or more profile
         20     ratings? What is that category?
         21                 MR. HUGHES: I have no intention of asking Dean
         22     Fitzsimmons about that category because that has to do with
         23     some analysis and calculation done by Dr. Card, which he can
         24     probably explain better than I can.
         25                 THE COURT: Okay.



                                          JA706
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           1                THE WITNESS: And better than I can.
           2    BY MR. HUGHES:
           3    Q.   We're on the same team on that one, Dean Fitzsimmons.
           4                If we focus on the academic rating, we see that
           5    Asian-Americans as a group, about 60 percent of the
           6    Asian-Americans that apply to Harvard receive a 2 or higher
           7    on the academic score, correct?
           8    A.   That's correct.
           9    Q.   And for a total number of almost 25,000, correct?
         10     A.   That's correct.
         11     Q.   And would you agree with me that on average in a given
         12     admissions cycle, about twice the number of white applicants
         13     apply to Harvard as Asian-American applicants?
         14     A.   I would have to see the figures. That sounds reasonable,
         15     but I don't want to guess because I don't have the figures in
         16     front of me.
         17     Q.   And coming back to the chart here, the percentage of
         18     white applicants that get a 2 or higher is less than
         19     50 percent, correct?
         20     A.   That's correct.
         21     Q.   And about 3,700, 3,800 more white applicants than Asians,
         22     correct?
         23     A.   That sounds right.
         24     Q.   And is the relative strength of the Asian-American
         25     applicant pool in terms of academics consistent with -- does



                                          JA707
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           1    that look right to you, based on your experience as the dean
           2    of the Harvard admissions office?
           3    A.   Yes. And just to remind you, so these are ratings that
           4    the admission officers themselves created based on the
           5    evidence in the file. And just reminding you that even in
           6    the academic realm, we would argue that it's not objective in
           7    any literal sense, that there's lots of things.
           8                And so the judgment made by individual admission
           9    officers looking at individual cases, that it was their
         10     judgment that produced this kind of difference. It looks
         11     like a reasonable difference though.
         12     Q.   And some of the things that go into the academic score,
         13     one of the things is standardized test scores, correct?
         14     A.   That would be part of it certainly.
         15     Q.   And based on your experience in the admissions office,
         16     would you agree that Asian-Americans as a group outperform
         17     white applicants to Harvard on standardized test scores?
         18     A.   Standardized tests are higher for Asian-Americans.
         19     Q.   Grade point average, that's another component, one
         20     component of the academic score, correct?
         21     A.   That's correct.
         22     Q.   Would you agree that Asian-Americans as a group tend to
         23     get higher grade point averages than white applicants?
         24     A.   Yes.
         25     Q.   So there's a number of things that go into the academic



                                          JA708
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           1    score, I think is what you're trying to tell me, correct?
           2    A.   I am. Including things such as faculty readings and all
           3    kinds of things.
           4    Q.   Are the teacher and guidance counselor ratings another
           5    thing that your admissions officers consider when determining
           6    the academic score?
           7    A.   Very much so.
           8    Q.   And so would you agree that based on the data that we
           9    have here in front of you that Asian-Americans as a group get
         10     better support from their teacher recommendations and
         11     guidance counselors?
         12     A.   Again, that's one of the factors that go to the rating.
         13     As the admission officers compile the ratings for an
         14     individual, they're taking all those factors into account,
         15     including the teacher recommendations.
         16     Q.   Yeah. I'm just trying to go through each of the factors
         17     with you, sir.
         18     A.   Right.
         19     Q.   So the question is, would you agree that based on what we
         20     see here in Dr. Card's analysis that Asian-Americans as a
         21     group are getting better teacher recommendations, more
         22     support from guidance counselors?
         23                 MR. LEE: I object.
         24                 THE COURT: Sustained.
         25     BY MR. HUGHES:



                                          JA709
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           1    Q.   Do you think that Asian-Americans as a group are more
           2    competitive in terms of the high school curriculum they take,
           3    based on your experience in the Harvard admissions office?
           4    A.   I don't have data on that, and it doesn't demonstrate
           5    here. Could be.
           6    Q.   Do you think that Asian-Americans as a group, based on
           7    your experience in the Harvard admissions office, take more
           8    advanced placement exams than white applicants?
           9    A.   I don't have data on that. It could be.
         10     Q.   Let's move on to the extracurricular bar graphs here. We
         11     see that the Asian-American applicants are slightly stronger
         12     in terms of the percentage of the applicant pool that gets a
         13     2 or better than white applicants, correct?
         14     A.   Yes. Again, that are rendered by the admission officers.
         15     Q.   And that's based on the information that the applicants
         16     are provided about their participation in various
         17     extracurricular activities. That's one data point for your
         18     admissions officers, correct?
         19     A.   Yes.
         20     Q.   And also get information probably from teachers and
         21     guidance counselors and so forth, correct?
         22     A.   Yes. As you know, everything in the application would be
         23     looked at to help compile the extracurricular rating.
         24     Q.   And your admissions officers aren't using race when
         25     they're awarding extracurricular or academic scores, right?



                                          JA710
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           1    A.   That's correct.
           2    Q.   Now, when we move on -- they're just looking at the data,
           3    the information that's provided in the application, correct?
           4    A.   Just looking at the evidence.
           5    Q.   And then if we move on to personal rating, there we see
           6    that this relationship shifts where the white applicants to
           7    Harvard are more likely to receive a personal rating of 2 or
           8    greater than Asian-American applicants, correct?
           9    A.   That's correct.
         10     Q.   And based on your experience as the dean of Harvard
         11     admissions office, you don't think that Asian-Americans have
         12     fewer attractive personal qualities than whites or any other
         13     group, right?
         14     A.   I would certainly agree with that.
         15     Q.   And so based on your experience as the dean of the
         16     Harvard admissions office, do you have any explanation for
         17     why whites are more likely, according to Dr. Card, to get a
         18     personal score rating of 2 or greater than Asian-American
         19     applicants?
         20     A.   Well, as I said in my deposition, there's no way when
         21     you're looking at the whole person to know for certain, you
         22     know, to come up with a definitive answer.
         23                 But you know, the one thing we do know, for
         24     example -- and again speculation, but it's a fact that the
         25     strength of the teacher recommendations and the counselor



                                          JA711
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           1    recommendations for whites is somewhat stronger than those
           2    for Asian-Americans. That could be one factor. But again
           3    when an admission officer is going through an application,
           4    they're looking at everything.
           5    Q.   How do you know that the strength of teacher
           6    recommendations is somewhat stronger for Asian-American
           7    applicants than white applicants?
           8    A.   We simply know that because it's our office and we're in
           9    the business and there's evidence of it.
         10     Q.   We're done with that.
         11                 MR. LEE: For clarity of the record, could I have
         12     the question back?
         13                 MR. HUGHES: I had it flipped.
         14                 MR. LEE: You had it flipped. You had it stronger
         15     for Asian-Americans than for whites as opposed to the
         16     reverse.
         17                 MR. HUGHES: I don't even remember what the
         18     question was. I'm prepared to move on unless you want me to
         19     try to reconstruct my question.
         20                 MR. LEE: I said it on the record. I think that's
         21     what was intended, and the answer is clear.
         22                 THE COURT: He did. He got it backwards, but I
         23     actually got it right in my notes.
         24                 THE WITNESS: The strength of the recommendation
         25     for whites are stronger than for Asian-Americans.



                                          JA712
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           1    BY MR. HUGHES:
           2    Q.   Harvard computes for each of its applicants, at least for
           3    as many as it can, an academic index score, correct?
           4    A.   That's correct.
           5    Q.   And is part of the reason that Harvard computes that
           6    academic index score is it gets reported out to the Ivy
           7    League, right?
           8    A.   Yes, to the Ivy League.
           9    Q.   I don't think we need to get into the precise contours of
         10     the equation, but the academic index, the score, is based on
         11     a combination of standardized test scores and grade point
         12     average; is that right?
         13     A.   That's correct.
         14     Q.   And the highest score you can get on an academic index is
         15     a 240, correct?
         16     A.   That's correct.
         17     Q.   Perfect score?
         18     A.   Perfect everything.
         19     Q.   So that would mean 800 on your SATs, both of them, and
         20     really good grades?
         21     A.   That's correct.
         22     Q.   And I think the lowest you can get is 60, right?
         23     A.   Never seen one, but I'll take your word for it.
         24     Q.   And do you have any reason -- can you give us any reason
         25     why applicants to Harvard with comparable academic index



                                          JA713
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           1    ratings --
           2                 You understand that concept?
           3    A.   Yes.
           4    Q.   Let's say you had 10,000 applicants to Harvard, and they
           5    all had comparable academic index rating.
           6    A.   Okay.
           7    Q.   Do you have that you in mind? And let's say we divvy
           8    them up by race, ethnicity, so we've got white,
           9    Asian-American, African-American, Hispanic.
         10                  Do you have that in mind?
         11     A.   I do. Do you have an exhibit?
         12     Q.   I do have an exhibit that shows that, that I would very
         13     much like to show you, which is P629, which I'll put on the
         14     screen and we'll see how we do.
         15                  MR. HUGHES: But this is the subject of our prior
         16     conversation with Your Honor.
         17                  MR. LEE: If he wants to put it on the screen and
         18     ask the witness if he's ever seen it before.
         19                  THE COURT: That's fine.
         20     BY MR. HUGHES:
         21     Q.   So, Dean Fitzsimmons, I've got on the screen P629. Do
         22     you have that in front of you on the screen?
         23     A.   I have. But I haven't seen it before.
         24     Q.   Just let me ask you. You were here during Mr. Mortara's
         25     opening statement, right?



                                          JA714
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           1    A.   I was.
           2    Q.   Do you remember seeing this during Mr. Mortara's opening
           3    statement?
           4    A.   Ever so briefly, and I was in the very back.
           5                MR. HUGHES: Ruling?
           6                THE COURT: You can't ask him to interpret this
           7    exhibit. But if these numbers mean something to him and they
           8    happen to be displayed to him on this exhibit, that's fine.
           9    But if the numbers don't mean anything to him, I'm not going
         10     to ask him to sit up there and try to do an analysis.
         11                 MR. HUGHES: Let me try to baby step it.
         12                 THE COURT: Okay.
         13     BY MR. HUGHES:
         14     Q.   You see at the very top, I'll just highlight this row,
         15     Dean Fitzsimmons, we've got academic index range between 236
         16     and 240.
         17                 Do you see that?
         18     A.   I do. Again, I have never worked with this data in such
         19     a way before, so it's a bit unfamiliar.
         20                 THE COURT: Let me just ask you, have you ever
         21     broken down the academic index range by ethnicity?
         22                 THE WITNESS: Have I?
         23                 THE COURT: Or have you looked at data that breaks
         24     down the academic index range by ethnicity, either yourself
         25     or compiled by someone else?



                                          JA715
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           1                THE WITNESS: I have not.
           2                THE COURT: That closes that avenue for you.
           3    BY MR. HUGHES:
           4    Q.   Do you have any explanation, Dean Fitzsimmons, for why
           5    applicants with comparable academic index scores receive
           6    significantly different personal scores based on ethnicity?
           7    Do you have any explanation for why that is a result from the
           8    process in your admissions office?
           9    A.   I don't want to be repetitive, but I would simply just go
         10     back to the idea that we do look at everything, when
         11     everybody individual has a personal rating compiled and
         12     recorded.
         13                 The one thing that, you know, I can say is that the
         14     strength of the support from the teachers and the counselors
         15     is less strong for Asian-Americans than for whites. Just
         16     again looking at those reports, which are important. Beyond
         17     that, we're simply looking at everything else as well.
         18     Q.   The strength of the teacher-supported recommendations for
         19     Asian-American applicants is stronger than it is for Hispanic
         20     and African-American applicants, correct?
         21     A.   I am not sure of that.
         22     Q.   You don't know the answer to that one way or the other?
         23     A.   I don't.
         24                 MR. HUGHES: Your Honor, I'm at a perfect breaking
         25     point, and it's almost 1:15.



                                          JA716
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           1                THE COURT: That's fine. It's exactly 1:15. We
           2    will resume tomorrow at 10:00 unless anyone feels they want
           3    to make up some of the time we lost today, in which case I'm
           4    happy to start at 9:30.
           5                MR. HUGHES: Mr. Lee, I defer to you and Dean
           6    Fitzsimmons.
           7                THE COURT: Tomorrow I can sit until 3:30. So
           8    10:00 to 3:30 seems like a perfectly reasonable day to me,
           9    but if you -- if people feel like we're getting behind, I'm
         10     happy to start at 9:30.
         11                 When we're thinking about that, we had an hour for
         12     lunch yesterday. Do you all want to keep going with an hour?
         13     Do you want do shorten it up?
         14                 MR. LEE: I think two things. Our view, I think it
         15     would be great if we could start at 9:30 tomorrow so we can
         16     get the dean on and off and get to some other witnesses. I
         17     think for us, if it's all right to the Court and everybody
         18     else, 45 minutes for lunch probably does it.
         19                 MR. HUGHES: I'm perfectly happy to start at 9:30,
         20     and as short of a lunch break as we can take for our team is
         21     fine. 45 minutes seems reasonable.
         22                 THE COURT: We'll start at 9:30 tomorrow, and we'll
         23     take a 45-minute break, and that will at least get us part
         24     way made up for the time we lost today.
         25                 I think you all know you have three weeks, and I



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           1    start another trial after that. So we'll use these three
           2    weeks any way you want. However long you want to sit,
           3    however long you want lunches to be, just let me know. To
           4    the extent that I can be here, I'll be here. We're trying to
           5    move some of these late-afternoon things to even later so we
           6    can make up some of that time at the end of the day, too.
           7                MR. HUGHES: I can tell you in terms of the
           8    duration of the presentation of evidence from our side's
           9    perspective, once we finish with Dean Fitzsimmons, the pace
         10     will pick up considerably in terms of how long we're spending
         11     with Harvard's witnesses. Of course the experts will be a
         12     little bit of a different story.
         13                 THE COURT: I'm not trying to rush you at all. I
         14     just want to make sure we get everything done in the time
         15     that we need to get it done. I notice everybody always
         16     stands up and says I'm going to be brief. I'm really not
         17     trying to rush anybody. But I to want to make sure that we
         18     get as much time in as we need in the next three weeks,
         19     because that's really kind of what we have.
         20                 I'll see you at 9:30 tomorrow morning. We'll take
         21     a 45-minute lunch break.
         22                 MR. LEE: Thank you, Your Honor.
         23                 (Court recessed at 1:18 p.m.)
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           1                           - - - - - - - - - - - -
           2                                 CERTIFICATION
           3

           4                I certify that the foregoing is a correct
           5    transcript of the record of proceedings in the above-entitled
           6    matter to the best of my skill and ability.
           7

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           9

         10     /s/ Joan M. Daly                      October 16, 2018
         11     ______________________                ____________________
         12     Joan M. Daly, RMR, CRR                Date
                Official Court Reporter
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                                   CERTIFICATE OF SERVICE
                I mailed copies of this appendix to the Court and to the following counsel:

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                Dated: February 18, 2020                        s/ William S. Consovoy
